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                   EXHIBIT 75

         4/15/22 EXPERT
           REPORT OF
        BRUCE SCHNEIER

     Redacted Version of
     Document Sought to
         be Sealed
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Brown v. Google

                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                              §
                                              §
                                              §
CHASOM BROWN, WILLIAM BYATT,                  §
JEREMY DAVIS, CHRISTOPHER                     §
CASTILLO, and MONIQUE TRUJILLO,               §
individually and on behalf of all similarly   §
situated,                                     §
                                              §   Case No. 4:20-cv-03664-YGR-SVK
  Plaintiffs,                                 §
                v.                            §
                                              §
GOOGLE LLC,                                   §
                                              §
  Defendant.                                  §
                                              §
                                              §
                                              §
                                              §




                        EXPERT REPORT OF BRUCE SCHNEIER


                                      April 15, 2022




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I.      Executive Summary of Opinions

      Pursuant to the Court’s Standing Order, this section includes an executive summary of
each option to be proffered. My opinions include:

     A. OPINION 1: As described in Section 1, it is my opinion that privacy, including freedom
         from unwanted surveillance, is important and has historical roots in political liberty,
         commercial fairness, and economic competition.

     B. OPINION 2: As described in Section 2, it is my opinion that the rise of the Internet and
         surveillance business models have created greater threats to privacy online, making it
         more important than ever for users to have a privacy refuge from pervasive tracking.

     C. OPINION 3: As described in Section 3, it is my opinion that such privacy concerns are
         justified by the volume and scope of data generated, collected, and used when people
         access the Internet and by the potential for such data to reveal sensitive information about
         individual users.

     D. OPINION 4: As described in Section 4, it is my opinion that personal data about Internet
         users and their browsing activities is highly valuable to commercial actors and users.

     E. OPINION 5: As described in Section 5, it is my opinion that effective protection of
         privacy requires disclosures and controls not just in terms of how data is used but of what
         is collected in the first place and how long it is retained.

     F. OPINION 6: As described in Section 6, it is my opinion that expectations about sharing
         information are easily manipulated by commercial actors with an economic interest in
         fabricating the appearance of consent.

     G. OPINION 7: As described in Section 7, it is my opinion that Google has (and throughout
         the class period had) overwhelming incentives to maximize collection of personal data
         about Internet users and their browsing activities and unmatched power to do so.

     H. OPINION 8: As described in Section 8, it is my opinion that Google has constructed an
         essentially inescapable infrastructure for gathering such information, including without
         limitation with Google’s advertising, analytics, mobile operating system, and browsing
         platforms.

     I. OPINION 9: As described in Section 9, it is my opinion that the scope and quantity of
         information that Google collects has throughout the class period violated the privacy of
         users, including all class members in this action, regardless of how Google uses that
         information.

     J. OPINION 10: As described in Section 10, it is my opinion that Google fails to disclose or
         provide notice of its data collection practices or provide users with effective privacy
         controls, including with respect to the private browsing at issue in this lawsuit.

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      K. OPINION 11: As described in Section 11, it is my opinion that Google offered “Incognito
          Mode” in its Chrome browser in response to competitors’ “private browsing” offerings
          and market demand for the ability to browse the Internet without being monitored by
          advertisers, and Google understood—and continues to understand—that its branding and
          positioning of this feature created precisely that expectation.

      L. OPINION 12: As described in Section 11, it is my opinion that Google’s disclosures give
          rise to a (false) expectation that private browsing mode prevents Google from collecting
          the private browsing information at issue in this lawsuit.

      M. OPINION 13: As described in Section 12, it is my opinion that Google employees,
         documentation, and disclosures throughout the class period and across all class members
         falsely communicated that Google would not collect information about users during their
         private browsing activities on non-Google websites.

      N. OPINION 14: As described in Section 13, it is my opinion that, with respect to private
          browsing, Google throughout the class period was more concerned with being portrayed
          as a champion of user privacy than actually respecting user privacy.

II.        Background

       Counsel for the Plaintiffs in this action (“Counsel”) retained me to review documents and
testimony1 and render opinions concerning issues of privacy and the alleged conduct, as detailed
in the Executive Summary above and sections below. My analysis included issues relating to
Google’s disclosures and practices, the private browsing modes at issue, reasonable privacy
expectations, whether certain practices could be highly offensive or constitute a serious invasion
of privacy, and issues relating to the value of privacy and user data.

       I am compensated at the rate of $675/hour and my research associate, Kathleen Seidel, is
being compensated at the rate of $75/hour. Our compensation does not depend upon the outcome
of the case. In the event of any recovery in this case, I understand that Ms. Seidel and I will be
excluded from any disbursement of funds.

       In preparing my report I have relied upon the documents identified herein, which are listed
in Appendix 1. As part of my research, Ms. Seidel and I had access to a database containing tens
of thousands of confidential Google documents that Google produced during the discovery
process in this case and marked “Confidential.” We were not provided access to documents
designated “Highly Confidential—Attorneys’ Eyes Only.” I used the ILS document review
platform to search for relevant documents. Ms. Seidel and I had free range to conduct our own
searches within this database of “Confidential” documents. We also had access to Google’s
Interrogatory and Request for Admission responses, except for any materials marked as “Highly
Confidential—Attorneys’ Eyes Only.” Finally, we had access to all deposition transcripts, except
for portions that were redacted, which I understand were portions deemed by Google to be


1
    All documents relied on appear in Appendix 1.


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“Highly Confidential—Attorneys’ Eyes Only.” We also had access to all of the named plaintiffs’
deposition transcripts.

      This report has been prepared for purposes of this case only. It may not be used for any
other purpose. This report contains and refers to information designated as “Confidential” under
a Stipulated Protective Order, to which Ms. Seidel and I have agreed to be bound. I have not
reviewed or relied on any discovery produced by Google marked as “Highly Confidential—
Attorneys’ Eyes Only.” Those were not accessible to me.

III.    Expertise

      My name is Bruce Schneier. I hold an MS Degree in Computer Science, which I obtained
from American University in 1986, and a BS Degree in Physics, which I obtained from the
University of Rochester in 1984. I also received an honorary Ph.D. in Computer Science from
the University of Westminster in 2011.

      I work internationally as a security technologist. I presently hold the title of Chief of
Security Architecture at Inrupt, Inc. From 2016 until 2019, I held the titles of Chief Technology
Officer of Resilient Systems, Inc., and then Special Advisor to IBM Security. Prior to that, from
1999 until 2016, I was Chief Technology Officer of Counterpane Internet Security, Inc., and
Chief Security Technology Officer of BT. I am also the President of Counterpane Systems LLC,
and have been since 1991.

      I am an Adjunct Lecturer and fellow at the Harvard Kennedy School, where I teach
cybersecurity policy. I am a fellow at the Berkman Klein Center for Internet and Society at
Harvard University.

       I serve as board member of the Electronic Frontier Foundation and Access Now. I have
formerly been a board member of the Electronic Privacy Information Center and the Tor Project.
I serve as an advisory board member for the Electronic Privacy Information Center, Verified
Voting, and Sightline Security.

      I am the author of approximately twelve books on the topics of cryptography, computer
security, general security technology, trust, surveillance, and privacy, including Applied
Cryptography (1994 and 1996), Beyond Fear: Thinking Sensibly about Security in an Uncertain
World (2003), Data and Goliath: The Hidden Battles to Capture Your Data and Control Your
World (2015), and Click Here to Kill Everybody: Security and Survival in a Hyper-connected
World (2018).

      My work entails the technical aspects of cryptography, computer security, and Internet
security. I also research, write, and speak about the economic, psychological, and sociological
aspects of security and privacy. As such, I study user behavior and human factors related to
many different aspects of security and privacy. My 2014 book, Data and Goliath, discusses
people’s relationship with privacy, and their behaviors regarding privacy, in detail.

      I have also authored or coauthored over 100 academic publications on security technology
subjects, such as cryptographic design and analysis, security protocol design and analysis,


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software security, information security, Internet security, security technologies, data privacy,
data anonymity, AI security, security policy, privacy policy, cyberespionage, and cyberwarfare.

      I have published numerous articles on the subject of security technology and its effects at
personal, corporate, and national levels, for publications such as the New York Times, the
Washington Post, the Wall Street Journal, the Guardian, Atlantic, Foreign Policy, Forbes,
Wired, Nature, the Sydney Morning Herald, the Boston Globe, and the San Francisco Chronicle.
I have repeatedly testified before Congress on these topics.

          I regularly speak at security conferences around the world.

      I am the recipient of many awards, including: (1) Electronic Privacy Information Center
Lifetime Achievement Award, 2015; (2) named one of the IFSEC 40: The Most Influential
People in Security & Fire, January 2013; (3) Honorary Doctor of Science (ScD) from University
of Westminster, London, December 2011; (4) CSO Compass Award, May 2010; (5) Computer
Professionals for Social Responsibility (CPSR) Norbert Weiner Award, January 2008; (6)
Electronic Frontier Foundation (EFF) Pioneer Award, March 2007; (7) Dr. Dobb’s Journal
Excellence in Programming Award, April 2006; (8) InfoWorld CTO 25 Award, April 2005; and
(9) Productivity Award for Secrets and Lies in the 13th Annual Software Development Magazine
Product Excellence Awards, 2000.

     I am the author of a monthly email newsletter about security, “Crypto-Gram,” and the blog
“Schneier on Security,” which have a combined readership of over 250,000 people.

     I am a named co-inventor on eighty-two issued US Patents relating to cryptography,
computer security, security technology, and electronic commerce.

          Yes, I also find time to sleep.2

        I have spent my entire career focused on issues relating to privacy, reviewing articles and
materials regarding online privacy. Before Counsel contacted me about being retained as an
expert in this litigation, I was familiar with private browsing modes in general but was unaware
of the details of the conduct at issue in this litigation: that is, where Plaintiffs allege that Google
collects and stores detailed private browsing information when people visit non-Google websites
in private browsing modes. It was only through my access to Confidential discovery in this
litigation that I understood the extent of these Google practices.

      My detailed CV is included as Appendix 2 to this report. That CV lists declarations and
depositions I have given as an expert witness in previous court cases.




2
    Pretty well; thanks for asking.


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IV.        Data and Privacy Topics

        1. Privacy
              1.1.   “Private” and “Privacy” Have Specific Meanings and Implications

      I understand that this case involves Google’s collection, storage, and use of information
from certain browsing modes labeled as “private”—including Google’s private browsing mode
for Chrome, which is called “Incognito.”

      I also understand from Counsel that, for some of the legal claims that Plaintiffs are
bringing, Plaintiffs seek to establish that they have a reasonable expectation of privacy over their
private browsing communications and that Google’s collection and use of private browsing
information is highly offensive to a reasonable user. I further understand from Counsel that
whether conduct is deemed “highly offensive” depends on the degree of intrusion, the context,
conduct and circumstances surrounding the intrusion as well as the intruder’s motives and
objectives, the setting into which one intrudes, and the expectations of those whose privacy is
invaded.

       To provide context for how a reasonable user would have reasonably expected privacy
over their private browsing communications, and to understand the considerations relating to
why Google’s collection and use of private browsing data is highly offensive, it is important to
begin with a more general overview of data privacy in the context of internet usage. As I will
describe below, people are persistently tracked in today’s internet age, making it all the more
important for people to have a refuge from this surveillance. Google portrayed private browsing
as that refuge. But unfortunately for users, Google “over-promis[ed] and under-deliver[ed],” and
continued collecting and using people’s browsing information even when they chose to browse
in Incognito mode.3

       According to the Oxford English Dictionary, the word “privacy” dates back to the 1500s,
and refers to “The state or condition of being alone, undisturbed, or free from public attention, as
a matter of choice or right; seclusion; freedom from interference or intrusion.” Privacy consists
of freedom from attention by those one can see, and by those one cannot see. With respect to
communication, the OED defines “private” as “intended only for or confined to the person or
persons directly concerned; confidential.”4

     The Oxford English Dictionary defines “incognito” as “Unknown; whose identity is
concealed or unavowed, and therefore not taken as known; concealed under a disguised or
assumed character,” “Done or conducted under disguise,” and “The condition of being unknown,
anonymity.”5 Google’s Incognito mode for Google’s Chrome browser is discussed in Section VI.

       Technologists do not have (and should not apply) a special understanding of such terms
that is different from or narrower than their ordinary sense. When attaching labels like “private”
3
    GOOG-BRWN-00140297 at -299, -302
4
    Oxford English Dictionary Online, “Private” (accessed February 28, 2022).
5
    Oxford English Dictionary Online, “Incognito” (accessed March 2, 2022).


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or “incognito” to products, software developers must assume that user expectations will include
the broadest scope of such words.

       Privacy is linked to the concept of control. The National Institute of Standards and
Technology defines “privacy” as “assurance that the confidentiality of, and access to, certain
information about an entity is protected; the right of a party to maintain control over and
confidentiality of information about itself; freedom from intrusion into the private life or affairs
of an individual when that intrusion results from undue or illegal gathering and use of data about
that individual.”6

           1.2.    Privacy Is a Basic Human Need

      Privacy is central to our ability to control how we relate to the world. Being stripped of
privacy is fundamentally dehumanizing, whether it is conducted by an undercover police officer
following us around or by computer algorithms tracking our online browsing activities.

       There is a strong physiological basis for privacy. Biologist Peter Watts makes the point
that a desire for privacy is innate: mammals in particular don’t respond well to surveillance.
Humans consider surveillance a physical threat, as do animals in the natural world who are
stalked by predators. Surveillance—defined by the US military as “systematic observation”7—
makes people feel like prey, just as it makes the surveillors behave like predators.8

      Based on my experience as a technologist with a special interest not only in the technical
aspects of privacy but its social and historical context, and not as a lawyer, I understand that the
vision of privacy as a fundamental human right is enshrined in both US and international law. It
is my understanding as a security and privacy professional that the right to privacy is implied in
the Fourth, Fifth, and Ninth Amendments of the US Constitution,9 and that it is enumerated in
the Universal Declaration of Human Rights (1948),10 the European Convention on Human




6
 National Institute of Standards and Technology, Computer Security Resource Center, “Glossary,”
https://csrc.nist.gov/glossary/term/privacy (accessed March 23, 2022).
7
 US Department of Defense, Department of Defense Dictionary of Military and Associated Terms, Joint Publication
1-02, https://www.jcs.mil/Portals/36/Documents/Doctrine/pubs/dictionary.pdf (November 2021).
8
 Peter Watts, “The scorched earth society,” Symposium of the International Association of Privacy Professionals,
Toronto, Ontario, https://rifters.com/real/shorts/TheScorchedEarthSociety-transcript.pdf (May 9, 2014).
9
  FindLaw, “Is there a ‘right to privacy’ amendment?” https://www.findlaw.com/injury/torts-and-personal-
injuries/is-there-a-right-to-privacy-amendment.html (September 30, 2019).
10
  United Nations, “Universal Declaration of Human Rights,” https://www.un.org/en/about-us/universal-declaration-
of-human-rights (December 10, 1948) (“No one shall be subjected to arbitrary interference with his privacy, family,
home or correspondence”).


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Rights (1970),11 and the 2000 Charter of Fundamental Rights of the European Union.12 I
understand that privacy is also a right enshrined in California’s Constitution.13

       In 2013, the UN General Assembly approved a resolution titled “The right to privacy in
the digital age,” affirming that a fundamental right to privacy applies online as well as offline,
and that the risk of surveillance undermines this right.14 The right to privacy recognized by all of
these sources informs the normative expectation of ethical software designers that privacy should
be protected.

       One 2013 study found that an increase in users’ perceived control over the privacy of their
personal information—defined as “40 questions, which varied in intrusiveness about the
respondent’s life”—is associated with an increased willingness to disclose such information.15
The study pertained to privacy and data sharing in general, and is relevant when considering
Google’s practice of collecting users’ browsing and demographic information to sell ads
targeting those users, particularly because Google’s Privacy Policy represents (at the start, before
getting into the various subparts) that it works hard to “put you in control” where you can “use
our services in a variety of ways to manage your privacy” and representing that “across our
services, you can adjust your privacy settings to control what we collect and how your
information is used.”16

      Privacy is not a luxury that people only value or seek in times of safety. Instead, privacy is
a value to be preserved at all times. Privacy is essential for liberty, autonomy, and human
dignity. Privacy is something to maintain and protect in order for humans to be truly secure. This
is something I wrote about extensively in my book Data and Goliath.17




11
  Council of Europe, “European Convention on Human Rights,”
https://www.echr.coe.int/Documents/Convention_ENG.pdf (1953) (“Everyone has the right to respect for his private
and family life, his home and his correspondence”).
12
  European Union, “Charter of Fundamental Rights of The European Union,”
https://www.europarl.europa.eu/charter/pdf/text_en.pdf (2000).
13
  Article I, section 1 of the California Constitution provides: “All people are by nature free and independent and
have inalienable rights. Among these are enjoying and defending life and liberty, acquiring, possessing, and
protecting property and pursuing and obtaining safety, happiness, and privacy.” California Constitution, “Article 1
Declaration of Rights,” California Legislative Information,
https://leginfo.legislature.ca.gov/faces/codes_displaySection.xhtml?lawCode=CONS&sectionNum=SECTION%201
.&article=I (Article 1 adopted 1879; Sec. 1 added Nov. 5, 1974, by Proposition 7, Resolution Chapter 90, 1974).
14
  United Nations Office of the High Commissioner for Human Rights, “The right to privacy in the digital age,”
https://www.ohchr.org/EN/Issues/DigitalAge/Pages/cfi-digital-age.aspx (2021).
15
  Laura Brandimarte, Alessandro Acquisti and George Loewenstein, “Misplaced confidences: Privacy and the
control paradox.” Social Psychological and Personality Science 4, no. 3,
https://www.cmu.edu/dietrich/sds/docs/loewenstein/MisplacedConfidence.pdf (May 2013).
16
     Google, “Privacy policy,” https://policies.google.com/privacy?hl=en (accessed April 5, 2022).
17
     Bruce Schneier, Data and Goliath, Norton (2015).


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           1.3.    Privacy Is Crucial for Political Liberty and Justice

       Google and other technology companies collect and store phenomenal amounts of data,
sometimes indefinitely. It would be incredibly dangerous to live in a world without privacy
where, for example, everything a citizen said and did could be stored and brought forward as
evidence against them in the future, or made available to companies that wished to construct
cradle-to-grave dossiers on individual citizens. Surveillance puts citizens at risk of abuse by
those in power, even if they are doing nothing wrong at the time surveillance occurs. The
definition of “wrong” is often arbitrary, and can quickly change. The seventeenth-century French
statesman Cardinal Richelieu recognized this when he said, “Show me six lines written by the
most honest man in the world, and I will find enough therein to hang him.” Lavrentiy Beria, head
of Joseph Stalin’s secret police, declared, “Show me the man, and I’ll show you the crime.”18
Both were saying the same thing: if you have gathered enough data about a person, you can find
sufficient evidence to make them appear guilty of something, even if they are really innocent of
wrongdoing.

       Surveillance leads to self-censorship, which stifles the free exchange of ideas. US Supreme
Court Justice Sonia Sotomayor recognized the potential chilling effect of surveillance on society
in her concurring opinion in United States v. Jones, a 2012 case involving the FBI’s installation
of a GPS tracker on a defendant’s car. Justice Sotomayor wrote: “Awareness that the
Government may be watching chills associational and expressive freedoms. And the
Government’s unrestrained power to assemble data that reveal private aspects of identity is
susceptible to abuse. The net result is that GPS monitoring—by making available at a relatively
low cost such a substantial quantity of intimate information about any person whom the
Government, in its unfettered discretion, chooses to track—may ‘alter the relationship between
citizen and government in a way that is inimical to democratic society.’”19

       Surveillance by private entities is no different. When companies like Google collect and
store information about individuals, that collection undermines user privacy and creates risks of
surveillance and its ensuing harms. Governments can and do seek access to data collected and
stored by Google and other tech companies. Although such demands often pertain to criminal
investigations, they may also be made for the purpose of monitoring and stifling political dissent.
Before Internet-enabled surveillance became common, J. Edgar Hoover spied on Martin Luther
King, Jr., and the FBI’s COINTELPRO program spied on nonviolent protesters during the
Vietnam War. Ubiquitous, digital surveillance makes this unseemly sort of work much easier;
consider the revelation in 2015 that for years, AT&T collaborated with the NSA to
indiscriminately collect US citizens’ communications.20

18
  Harvey Silverglate, Three Felonies a Day: How the Feds Target the Innocent, Encounter Books,
https://archive.org/details/harveya.silverglatethreefeloniesadayhowthefedstargettheinnocentencounterbooks20092
(2011).
19
  US Supreme Court, “Decision,” United States v. Jones, Case No. 10-1259,
http://caselaw.lp.findlaw.com/scripts/getcase.pl?court=US&navby=case&vol=000&invol=10-1259#opinion1
(January 23, 2012).
20
  Julia Angwin, et al., “AT&T helped US spy on internet on a vast scale,” New York Times,
https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html (August 16,
2015).


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           1.4.   Privacy Is Crucial for People’s Business and Personal Relationships

       Google, as a platform for advertising, routinely discriminates by placing people into
various categories to enable its business customers to differentially market goods and services to
them on the basis of that categorization. Such discrimination can be problematic, and even risks
crossing the line into illegality. During the 1960s, banks discriminated against members of
minority groups trying to purchase homes by refusing to approve mortgages in predominantly
minority neighborhoods. Although this practice, known as “redlining,” was eventually outlawed,
a digital variant emerged decades later when Wells Fargo Bank created a web-based “community
calculator” that collected homeseekers’ current zip code, combined it with publicly available
demographic data, then steered them to listings in neighborhoods with a similar racial
composition. Black homeseekers were “weblined” towards predominantly minority
neighborhoods, and White homeseekers were guided to predominantly White areas.21 Although
Wells Fargo discontinued the “community calculator” scheme, other businesses have taken
advantage of the web-facilitated proliferation of data to automatically sort potential customers
and either solicit or discourage their business.22

       Extensive digital surveillance invites surveillance-based discrimination. A 2014 report by
the Obama administration recognized the threat posed by the accumulation and analysis of data
on American citizens, noting that “big data analytics have the potential to eclipse longstanding
civil rights protections in how personal information is used in housing, credit, employment,
health, education, and the marketplace.”23

       Commercial fairness extends to the workplace, and the widespread adoption of digital
surveillance by employers can contribute to unjust workplace conditions. Call center employees,
manufacturing workers, and warehouse and retail staff are commonly surveilled. For example,
Amazon’s workplace surveillance includes navigation software, item scanners, wristbands,
thermal cameras, security cameras, and recorded footage, all of which keep tabs on the location
and performance of warehouse employees and delivery drivers.24 Although 24/7 monitoring is
likely to contribute to the efficiency of a company’s operation, it also has contributed to workers
feeling that they have no privacy whatsoever on the job. One recent report alleged that Amazon
uses surveillance technology to reduce workers’ ability to advocate for improved working



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  Ronna Abramson, “Wells Fargo accused of ‘redlining’ on the Net,” Computer World,
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23, 2000).
Bill Davidow, “Redlining for the 21st century,” The Atlantic,
http://www.theatlantic.com/business/archive/2014/03/redlining-for-the-21st-century/284235 (March 5, 2014).
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  Jinyan Zang, “How Facebook’s advertising algorithms can discriminate by race and ethnicity,” Technology
Science, https://techscience.org/a/2021101901 (October 19, 2021).
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  US Executive Office of the President, “Big data: Seizing opportunities, preserving values,”
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  Nandita Bose, “Amazon’s surveillance can boost output and possibly limit unions: Study.” Reuters,
https://www.reuters.com/article/amazon-com-workers-surveillance/amazons-surveillance-can-boost-output-and-
possibly-limit-unions-study-idUSKBN25S3F2 (September 15, 2020).


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conditions, analyzing heat maps with information on team member sentiments to identify and
limit the effectiveness of potential union organizers.25

           1.5.    Businesses Disregard Privacy at Their Peril

      Threats to privacy are bad for business. In 1993, the US government first tried to restrict
the development and export of products that disclosed and incorporated methods of strong
cryptography26 (products that happened to include my first book, Applied Cryptography).27
Concurrently, it promoted the Clipper Chip, a system of encryption that could be bypassed by the
FBI and NSA; the agencies, it was argued, would hold the key needed to extract plaintext from
encrypted devices “in escrow,” only to be used for authorized purposes.28 However, the first
device to include the chip—an AT&T cell phone—was a bust. Neither business enterprises nor
privacy-minded citizens in the US were inclined to lay their money down for a supposedly
encrypted device that contained a backdoor. Potential customers outside the United States had
backdoor-free alternatives that used strong encryption.29

      Following the 2013 revelations by Edward Snowden regarding the extent of NSA
surveillance of the communications of US and foreign residents,30 many US enterprises suffered
a severe public relations backlash, and lost the trust and business of many overseas clients. US
cloud companies lost customers while their counterparts in countries such as Switzerland gained
them.31 One 2014 survey of British and Canadian companies found that 25% of those queried
were moving their data outside the US, even if it meant decreased performance.32 A 2017 study
by Microsoft’s Office of Chief Economist found that the revelations of mass surveillance

25
  Jay Greene, “Amazon’s employee surveillance fuels unionization efforts: ‘It’s not prison, it’s work’.” Washington
Post, https://www.washingtonpost.com/technology/2021/12/02/amazon-workplace-monitoring-unions (December 2,
2021).
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  Stephen T. Walker, “Oral testimony by Stephen T. Walker, President, Trusted Information Systems, Inc., for
Subcommittee on Economic Policy, Trade and Environment, Committee on Foreign Affairs, US House of
Representatives,” https://irp.fas.org/congress/1993_hr/931012_walker_oral.htm (October 12, 1993).
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  Bruce Schneier, Applied Cryptography: Protocols, Algorithms, and Source Code in C, Wiley,
https://archive.org/details/appliedcryptogra0000schn (1994).
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  Wayne Madsen, “The Clipper controversy,” Information Systems Security 3,
http://www.sciencedirect.com/science/article/pii/1353485894900973 (November 1994).
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  Matt Blaze, “Key escrow from a safe distance: Looking back at the Clipper Chip,” 27th Annual Computer
Security Applications Conference, Orlando, Florida, https://www.mattblaze.org/escrow-acsac11.pdf (December 5-9,
2011).
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  Barton Gellman and Laura Poitras, “U.S., British intelligence mining data from nine U.S. Internet companies in
broad secret program,” Washington Post, http://www.washingtonpost.com/investigations/us-intelligence-mining-
data-from-nine-us-internet-companies-inbroad-secret-program/2013/06/06/3a0c0da8-cebf-11e2-8845-
d970ccb04497_story.html (June 7, 2013).
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  David Gilbert, “Companies turn to Switzerland for cloud storage following NSA spying revelations,”
International Business Times, http://www.ibtimes.co.uk/business-turns-away-dropbox-towards-switzerland-nsa-
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  Ellen Messmer, “NSA scandal spooking IT pros in UK, Canada,” Network World,
http://www.networkworld.com/article/2173190/security/nsa-scandal-spooking-it-pros-in-uk-canada.html (January 8,
2014).


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decreased the growth rate of US cloud provider revenues by 11% from 2013 to 2014, and
estimated losses to the industry of at least $18 billion.33

       Following more recent disclosures of data breaches affecting millions of Facebook users,
and exploitation of the social media platform by foreign actors seeking to influence the 2016
election, some companies have stopped placing ads there, and many users have curtailed their
Facebook activity.34

       Google has strong business incentives to promote itself to as a trustworthy guardian of
privacy in order to sustain the user base that attracts advertisers to its platforms. Specifically,
Google has incentives to continue offering and marketing its Incognito mode, notwithstanding
Google’s knowledge that users misunderstand Incognito mode. For example, in a 2008 email, the
so-called “Father of Incognito” explained that Google was “very reluctant to change the name”
of Incognito despite user misconceptions, and explained that “[a]s long as the user understands”
that Incognito is “some kind of privacy mode, we’ve accomplished what we need to.”35 More
recently, in a November 2019 email, Google Chief Marketing Officer Lorraine Twohill
responded to an email raising concerns about the Incognito name by explaining that “part of the
problem is that there is heritage in incognito from chrome.”36 Ms. Twohill’s “lead on all our
privacy efforts” then responded to note that “Incognito is not optimal (and at worst misleading as
you are not truly incognito when you are in Incognito mode) but it also has a lot of equity and
high awareness.”

       2. Data Privacy
           2.1.   Privacy Has Become a Significant Issue with the Rise of the Internet

       Since its inception in the late 1960s, the Internet has grown from an auxiliary means of
communication for academics and members of the military to the nerve-network of modern
society, facilitating private, government, educational and commercial interaction; personal
intellectual exploration, interpersonal connection and exchange; remote employment and
geographically distributed teamwork. Once a service that many people were happy to do without,
engagement on the Internet is now integral to participation in modern society.

       The Internet’s early adopters—“netizens,” as they were then called—chatted volubly in
virtual spaces like The WELL, CompuServe, and local dial-up bulletin boards. The new frontier

33
  Hyojin Song and Simon Wilkie, “The price of privacy in the cloud: The economic consequences of Mr.
Snowden.” Microsoft Corporation. https://dornsife.usc.edu/assets/sites/586/docs/song_wilkie_2017.pdf (February
2017).
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  Salvador Rodriguez, “Some advertisers are quitting Facebook, chiding the company’s ‘despicable business
model’,” CNBC, https://www.cnbc.com/2019/03/06/some-advertisers-are-quitting-facebook-after-privacy-
scandals.html (March 6, 2019).
Alex Hern, “Facebook usage falling after privacy scandals, data suggests.” The Guardian,
https://www.theguardian.com/technology/2019/jun/20/facebook-usage-collapsed-since-scandal-data-shows (June
20, 2019).
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36
     GOOG-BRWN-00696888


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of “cyberspace” ran on a model of openness, and netizens, in general, were not particularly
concerned about the possibility that their writings might be read by others than those involved in
the conversations. Computers were supposed to be about freeing individuals and businesses from
tedious record-keeping tasks that could be automated, leaving people with more time and energy
to engage in creative pursuits, and in tasks requiring face-to-face interaction.

      Some, however, saw the dark side of the new information and communication regime. In
1994, my late colleague John Perry Barlow, co-founder of the Electronic Frontier Foundation,
helped to raise the alarm against the above-described push by US intelligence agencies to require
the Clipper chip encryption device to be installed in all phones and computers, with the key held
by those agencies in the event that they felt the need to intercept and eavesdrop on citizens’
communications. In an article in Wired magazine, Barlow warned that “the most liberating
development in the history of humankind could become, instead, the surveillance system which
will monitor our grandchildren’s morality. We can be better ancestors than that.”37

          The next twenty-odd years saw the Internet evolve from:

          the era of dial-up bulletin boards and Usenet;
          to the nascent World Wide Web with its hand-crafted HTML, static web pages with little
           to no advertising save for the occasional banner ad, and few enough websites that the best
           could be catalogued by hand;
          to the age of blogging, whereby average citizens with little technical skill could set up a
           website and broadcast their opinions to the world;
          to the new epoch of commercial websites, online stores, and purveyors of entertainment;
          to the era of dynamic databases serving up content and advertising to visitors worldwide;
          to the boom in data-scraping, whereby companies and individuals gathered up publicly
           available information about individuals, which they then categorized and sold to the
           highest bidder;
          to the advent of social media sites such as Myspace and Facebook, where users publicly
           catalogue their friends, their interests, and their photographs;
          to the growth of an advertising ecosystem that homes in on users based on their personal
           characteristics, and relies upon and profits from the collection, storage, and exploitation
           of data from and about those users.

       “Surveillance” is a politically and emotionally loaded term, in spite of its simple definition
as “systematic observation.” Modern-day electronic surveillance is exactly that. Private citizens
are treated as open books to both governments and corporations; their ability to peer into and
analyze our personal lives is greater than it has ever been before.

      Today’s technology enables mass surveillance, and mass surveillance is dangerous. It
enables discrimination based on almost any criterion: race, religion, class, political beliefs. It is
being used to control what one sees, what one can do, and, ultimately, what one can say. It is
being accomplished without any meaningful checks and balances to level the playing field
between individuals and the multinational corporations that control the increasingly complex

37
   John Perry Barlow, “Jackboots on the Infobahn,” Wired, https://www.wired.com/1994/04/privacy-barlow (April
1, 1994).


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structure of the Internet. Surveillance makes us less safe and less free. The rules previously
established to protect citizens from the dangers of surveillance under earlier technological
regimes are now woefully insufficient.

       The development of the Internet has been liberating for humanity, enabling individuals to
access extraordinary amounts of information; connect with others to share their experiences,
opinions and concerns; engage in gainful employment (an increasingly important function during
the COVID-19 pandemic); and find an appreciative audience for their cat videos. It is also a
surveillor’s dream. In a 2012 interview, Barlow clarified that both light and dark could and do
coincide: “The Internet is the most liberating tool for humanity ever invented, and also the best
for surveillance. It’s not one or the other. It’s both.”38 In my 2015 book, Data and Goliath, I
explored at length the competing demands for surveillance and privacy that have emerged in the
two decades that followed Barlow’s prescient statement; I echo some of the language and many
of the sentiments expressed in that book in the remarks that follow here.39

              2.2.   Surveillance Is the Primary Business Model of the Internet

      Surveillance has become the prevailing business model of the Internet for two primary
reasons. One: people like “free.” And two: people like convenient. The truth is, though, that
people aren’t given a choice between free/convenient products and services that come with
surveillance or expensive and/or inconvenient products and services that do not. Even products
and services that aren’t free include surveillance. For the most part, it’s either surveillance or
nothing, and the surveillance is often invisible, without those engaged in it disclosing and
seeking consent to it.

       Before 1993, the Internet was noncommercial. “Free” became the online norm. When
online commercial services first emerged on the Internet, there was a lot of talk about how to
charge for them. It quickly became clear that, with some limited exceptions, people at the time
were unwilling to pay even a small amount for access. Much like the business model for
television, online enterprises turned to advertising as a revenue model, and that revenue model
grew phenomenally profitable for those who engaged in surveillance of their users. Advertising
platforms can and do charge higher prices for personally targeted advertising than for generally
broadcast advertising. This is how the Internet ended up with a plethora of nominally free
websites that collect and sell users’ data in exchange for services, then inundate them with
advertising.

       The ordinary bargain that users repeatedly enter into with tech companies (when they do
not use technologies like private browsing that promise otherwise) is surveillance in exchange
for nominally free services. In 2013, Google’s chairman Eric Schmidt and director of ideas Jared
Cohen laid out their vision in The New Digital Age.40 To paraphrase their basic message: if you
let us have all your data, we will show you advertisements you want to see and we’ll throw in

38
  James Ball (April 20, 2012). “Hacktivists in the frontline battle for the internet,” The Guardian,
https://www.theguardian.com/technology/2012/apr/20/hacktivists-battle-internet (April 20, 2012).
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     Bruce Schneier, Data and Goliath, Norton, https://archive.org/details/datagoliathhidde0000schn (2015).
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  Eric Schmidt and Jared Cohen, The New Digital Age, Knopf,
https://archive.org/details/newdigitalageres0000schm_w0t9 (2013).


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web search, email, and all sorts of other services, at no cost to you. It’s all very convenient, and
seems to come at little cost. This is the bargain that is often referred to as: “If you’re not paying,
then you are the product and not the customer.” To Google, the attention of its users is the
product to be sold to the company’s actual customers: advertisers.

       Data privacy is at the heart of public discussions of the rise of surveillance capitalism. The
term was coined by Shoshana Zuboff, professor of psychology at Harvard University, to describe
a system that “unilaterally claims human experience as free raw material for translation into
behavioral data... We are the sources of surveillance capitalism’s crucial surplus: the objects of a
technologically advanced and increasingly inescapable raw-material-extraction operation ...
Surveillance capitalist firms, beginning with Google, dominate the accumulation and processing
of information, especially information about human behavior. They know a great deal about us,
but our access to their knowledge is sparse: hidden in the shadow text and read only by the new
priests, their bosses, and their machines.”41

       Google offers services to users (such as Search, Gmail, Chrome, and YouTube) that are
both convenient and powerful, and their power can be unlocked by the simple click of a button
indicating that a user consents to Google’s privacy policy and terms of service. (Zuboff notes
that “‘privacy’ policies are more aptly referred to as surveillance policies.”42) The tradeoff for
the use of those services is surveillance.

       To defeat the perception that its services involve an all-or-nothing choice, Google also
promises that users can have control and privacy—such as by using private browsing modes. For
example, in 2008 internal emails sent prior to the launch of the Chrome browser, one Chrome
engineer noted that people “will be happy about incognito mode,” and the “more we can put on
the ‘privacy’ side,” the “more people will use Chrome.”43

       While the promise of privacy control is important in allowing Google to attract and retain
users, the company has strong incentives to overstate the effectiveness of Chrome’s privacy
control mechanisms. Google is able to increase its profits from its actual customers—that is,
advertisers—by reducing the privacy of its intended audience—that is, users. Google counts on
most people to access the Internet using Google’s Chrome browser, check their messages in
Gmail, use Google Search, watch videos on YouTube, or obtain directions from Google Maps,
without thinking about how much personal information they’re revealing to Google when they
search for information, communicate with others, entertain themselves, and get themselves from
here to there.

       As discussed below, this is why it is so important for private browsing modes to actually
deliver privacy. When average citizens wake up in the morning, they don’t consider that they’re
going to allow a bunch of unknown corporations to track them throughout the day; they just put
their cell phone in their pocket and go about their business. It’s different when people use private

41
  Shoshana Zuboff, The Age of Surveillance Capitalism, Public Affairs,
https://archive.org/details/shoshanazubofftheageofsurveillancecapitalism (2019), pp. 14, 17, 186.
42
  Shoshana Zuboff, The Age of Surveillance Capitalism, Public Affairs,
https://archive.org/details/shoshanazubofftheageofsurveillancecapitalism (2019), p. 238.
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browsing modes; when users choose private browsing, they are actually expressing their
expectation of privacy.

      Google executives have belittled such concerns, even though Google has, more than any
other company on the planet, established surveillance as a phenomenally profitable business
model. In a 2009 interview, CEO Eric Schmidt said, “If you have something that you don’t want
anyone to know, maybe you shouldn’t be doing it in the first place.”44

       Schmidt’s 2009 statement is not the only time that Google’s leaders have discounted the
significance of privacy to their users. In an interview with Charlie Rose at TED2014, Google
cofounder Larry Page characterized as overblown public concerns about the privacy of
individual medical records and the risk of entrusting even purportedly anonymized records to
Google. Page suggested that since he had benefited from sharing his own medical troubles with
the world, users of his company’s products should not be concerned by his and his colleagues’
dream of amassing “everyone’s medical records” for the purpose of analyzing them and sharing
them with researchers.45 Also, Google’s internal documents indicate a lack of commitment on
the part of upper management for maximizing user privacy in Google’s Chrome browser. In a
July 2010 meeting of Google’s Platforms and Ecosystems Team Munich, the team leader asked,
“Are we really behind our OKR46 that we want to make Chrome the most privacy-aware
browser? Sundar’s stated is [sic] that if you don’t want to share your data with Google, Chrome
might not be the right browser for you.”47

      Larry Page, Eric Schmidt, Sundar Pichai, and their associates and successors are certainly
aware that they and their enterprise have grown far more powerful than the citizens whose
information they collect. Consider the following statement, from Schmidt’s 2013 book, The New
Digital Age:

             “We believe that modern technology platforms, such as Google, Facebook,
             Amazon and Apple, are even more powerful than most people realize [...], and
             what gives them power is their ability to grow—specifically, their speed to
             scale. Almost nothing, short of a biological virus, can scale as quickly,
             efficiently or aggressively as these technology platforms and this makes the
             people who build, control, and use them powerful too.”48




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  CNBC (December 8, 2009), “Google CEO Eric Schmidt on privacy,”
https://www.youtube.com/watch?v=A6e7wfDHzew (December 8, 2009).
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  Larry Page and Charlie Rose, “Where’s Google going next?” TED,
https://www.ted.com/talks/larry_page_where_s_google_going_next?language=en (March 2014).
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     Presumably, an acronym for Objectives and Key Results, a framework for goal-setting.
47
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  Eric Schmidt and Jared Cohen, The New Digital Age, Knopf
https://archive.org/details/newdigitalageres0000schm_w0t9 (2013), p. 25.
Knopf Doubleday Publishing Group, “Google executives to publish new book with Knopf,”
http://knopfdoubleday.com/2012/12/03/google-executives-to-publish-new-book-with-knopf (December 3, 2012).


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           2.3.    Privacy Has Become More Important with Widespread Corporate Surveillance

      US citizens have been harmed by the vulnerability of personal information stored online.
Major data leaks such as those experienced by Yahoo!,49 Target,50 Facebook,51 and Marriott
Corporation,52 and multiple breaches involving the credit reporting agency Experian,53 have
touched most US citizens. Smaller but equally notorious incidents such as the 2015 Ashley
Madison breach changed the lives of many of its users, and continue to put them at risk.54

      Such incidents provide important context for the expectations of users of private browsing
modes. Given the frequency with which these huge troves of data have been compromised,
including various reported Google data breaches and privacy violations,55 it is not surprising that
a 2021 Ipsos survey found that approximately 80% of respondents expressed great concern about
data privacy and security.56 Now more than ever, people reasonably seek a refuge where they
cannot be tracked, and Google capitalizes on those feelings by offering a private browsing mode.

       Public concern about privacy has also escalated during the rise of online tracking for
purposes of advertising and “website analytics”—that is, the systematic collection, reporting and
analysis of website data for the purpose of understanding site usage and maximizing site
effectiveness. This capability has strengthened with Google’s 2008 introduction of the Chrome
browser.


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  Selena Larson, “Every single Yahoo account was hacked -- 3 billion in all,” CNN Business,
https://money.cnn.com/2017/10/03/technology/business/yahoo-breach-3-billion-accounts/index.html (October 4,
2017).
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   Michael Kassner, “Anatomy of the Target data breach,” ZD Net, https://www.zdnet.com/article/anatomy-of-the-
target-data-breach-missed-opportunities-and-lessons-learned (February 2, 2015).
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Business Insider, https://www.businessinsider.com/stolen-data-of-533-million-facebook-users-leaked-online-2021-4
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million-users-now-have-to-watch-and-wait (February 1, 2020).
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  Michael X. Heiligenstein, “Google data breaches: Full timeline through 2022,” Firewall Times,
https://firewalltimes.com/google-data-breach-timeline (January 18, 2022).
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  Chris Jackson and Catherine Morris, “Americans report high levels of concern about data privacy and security,”
Ipsos, https://www.ipsos.com/en-us/americans-report-high-levels-concern-about-data-privacy-and-security (March
16, 2021).


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     3. User Data
           3.1.    Personal Data Is a Byproduct of Computing

       Computers and other devices (including phones and tablets) constantly produce data. Data
is their input, output, and a by-product of everything they do. In the normal course of operations,
computers and these other devices continuously document their activity. They sense and record
more than most users are informed of.

      Consider a single application: a word processor. Word processors keep a record of
everything a user has written into a document, including their drafts and changes. Hit “save,” and
the word processor records the new version, but doesn’t erase the earlier ones until the computer
needs the disk space for something else. Don’t hit “save,” and the word processor will
automatically save it at some preset interval. When a document is created, the word processor
records who created it; when multiple people edit the document, the word processor keeps a
record of everyone who edits it.

      On the Internet, the data produced by even a single individual multiplies: records of
websites visited, ads clicked on, words typed, location information with browsing, device
information, and other information. An individual user’s computer or device, their ISP’s servers,
and the computers hosting the sites they visit all produce data. While browsing, a user’s browser
may be transmitting data about software installed on their computer, when it was installed, what
features are enabled, and so on. With browsers, data may also be sent to or collected by parties
unknown to the visitor. This data can be enough to uniquely identify a single computer or a
handheld device such as a phone or tablet.57

       Communication with family, friends, co-workers, clients, and casual acquaintances is
increasingly mediated by computers and other user devices by means of email, text messaging,
social media sites, and smartphone apps. Data is a by-product of this high-tech socializing. Both
data (emails, text messages, voice and video recordings) and metadata (sender, receiver, date and
time, size of message, duration of communication, etc.) are collected from these systems.
Computerized systems don’t just transfer data; they also create records of interpersonal
interactions.

       A technically unsophisticated citizen walking around outside, cell phone in pocket, might
not think that they’re producing data, but they are. Their phone is constantly calculating its
location by touching base with nearby cellular towers. Their cellular provider doesn’t have a
personal interest in the location of its customers; it has a business need to know a cell phone’s
location in order to route telephone calls to it.

       Of course, if our citizen actually uses that phone, they produce metadata: numbers dialed,
calls placed and calls received, text messages sent and received, call time and duration, and so
on. If the phone is a smartphone, it’s also a computer; all of the apps installed on it produce data
when they’re used—and sometimes even when they’re not. Modern smartphones often have a
GPS receiver, which produces even more precise location information than cell tower location

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alone. The GPS receiver is capable of pinpointing its host’s location to within 16 to 27 feet; cell
towers, by comparison, are accurate to about a 2,000-foot radius of the tower.58

       When our citizen purchases something in a store, more data is produced. More often than
not, the cash register is a dedicated computer, and it creates a record of all purchases, with their
time and date. That data flows into the merchant’s computer system. Unless cash payment is
made, credit or debit card information is tied to that purchase, enabling the purchaser to be
individually identified. That data is also sent to the credit card company, and is incorporated into
the purchaser’s monthly bill. If the purchaser uses a customer loyalty account, their identity and
purchases will also be recorded, even if they paid in cash. There may be a video camera in the
store, installed to record evidence in case of theft or fraud. Cameras are also installed near many
automatic teller machines. There are more cameras outside, monitoring buildings, sidewalks,
roadways, and other public spaces.

       Snap a photo, and still more data is created. Date, time, and location of the photo’s
capture; information about the camera, lens, and settings; and an ID number of the camera itself
are all embedded in the photo file. If that photo is uploaded to a cloud storage provider or social
media site, its metadata often remains attached to the file.59

       It wasn’t always like this. In the era of newspapers, radio, and television, citizens received
information, but no record of the consumption was created. Now, news and entertainment is
conveyed online. Face-to-face and hardwired telephone communication used to be the norm;
conversations now take place over text, email, and cell phones. Shoppers who used to make their
purchases in cash at brick-and-mortar stores now use credit cards online. Travelers used to pay
their bus and subway fares, road tolls, and parking fees with coins at a tollbooth, turnstile, or
parking meter; now, fare cards, E-ZPass, and pay-and-display systems—usually connected to an
individual’s credit card and always to their license plate—are now de rigueur. (Increasingly,
governments are removing the option of paying for transit fees in cash.)60 Taxis used to accept

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cash only; credit cards now make passengers easier to track—and easier to reunite with their lost
possessions. Smartphones enable access to networked taxi systems like Uber and Lyft, which
produce data records of the transaction, plus pickup and drop-off locations. With a few
exceptions, computers are now ubiquitous in commerce and in a great deal of social life.

      Computers that connect to the Internet are embedded into increasing numbers of consumer
products. Nest, which Google purchased in 2014 for more than $3 billion, manufactures an
Internet-enabled thermostat that adapts to users’ behavior patterns and responds to activity on the
power grid. But to do all that, it records more than a home’s energy usage: it also tracks and
records its temperature, humidity, ambient light, and any movement near the thermostat.61 A
smart refrigerator has been developed that tracks the expiration dates of food, and a smart air
conditioner can learn users’ preferences and maximize energy efficiency.62 Nest also produces a
smart smoke and carbon monoxide detector and is planning a whole line of additional home
sensors.63 Many other companies are working on a variety of smart appliances, widespread
adoption of which will facilitate the smart power grid, which promises to reduce energy use and
greenhouse gas emissions.64

       Modern cars are loaded with computers that record speed, pressure on the pedals, steering
wheel position, and more.65 Much of this data is automatically recorded in a black box recorder,
which facilitates reconstruction of traffic accidents, and can also be deployed to monitor the use
of rental and fleet vehicles. Sensors in each tire gather pressure data, and enable drivers to avoid
a surprise flat. When a car is brought to a mechanic for repairs, the first thing the mechanic will
do is access all that data to diagnose any problems. Modern connected cars generate up to 25
gigabytes of data per hour;66 one fully autonomous car could produce between 380 terabytes to
5,100 terabytes of data in a single year.67


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       In 2010, Google CEO Eric Schmidt stated that “From the dawn of civilization to 2003,
five exabytes of data were created. The same amount was created in the last two days.”68 While
there has been some debate regarding the accuracy of Schmidt’s estimates,69 the impact on
society of the dramatic increase in data, and its potential to enable nearly universal surveillance,
is significant.

       This smog of data that society produces is not necessarily a result of malice or deviousness
on anyone’s part; problems arise, however, when that data is collected, stored and used under
false pretenses, such as when users are persuaded to employ browsing modes that are falsely
described as “private browsing.” In and of itself, most digital data is simply a natural by-product
of computing. This is just the way technology works right now. Data is the exhaust of the
information age.

       Data is not only the exhaust of the information age, it has become the pollution problem of
the information age; and protecting privacy is the environmental challenge. How society deals
with this challenge—how to ethically collect, store, and dispose of data, and how to call to
account those who misuse it—is central to the health of the information economy, and the well-
being of the private citizens who contribute data to that economy. Growing awareness of the
amount of data produced by Internet users and collected by companies such as Google explains
why users seek refuge in the promise and expectation of “going incognito” online.

           3.2.    User Data Includes Many Things, Including Data Generated by User Activities

      User data encompasses a range of information. Certain forms of personally identifying
information—for example, name, address, Social Security number, passport or driver’s license
number, banking and credit card information—are often collected from users of products and
services in the course of establishing accounts.

       The Code of Federal Regulations defines “personally identifiable information” (PII) as
“information that can be used to distinguish or trace an individual’s identity, either alone or when
combined with other personal or identifying information that is linked or linkable to a specific
individual. Some information that is considered to be PII is available in public sources such as
telephone books, public Web sites, and university listings. This type of information is considered
to be Public PII and includes, for example, first and last name, address, work telephone number,
email address, home telephone number, and general educational credentials. The definition of PII
is not anchored to any single category of information or technology. […][N]on-PII can become


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PII whenever additional information is made publicly available, in any medium and from any
source, that, when combined with other available [non-PII] information, could be used to identify
an individual.”70

      The California Consumer Privacy Act likewise defines “personal information” as
“information that identifies, relates to, or could reasonably be linked with you or your household.
For example, it could include your name, social security number, email address, records of
products purchased, internet browsing history, geolocation data, fingerprints, and inferences
from other personal information that could create a profile about your preferences and
characteristics.”71

      These definitions are consistent with my understanding as a technologist and with common
usage in the field of privacy and security, focusing not only on how information is used but how
information could be used (e.g., “can be used”, “could reasonably be linked”).

       Personally identifiable information is also generated in the course of using customer
accounts. In the case of Internet services, these include highly personal records of users’ online
activity. Web browsing results in the accumulation of cookies and the creation of logs containing
information from that web browsing. Full URLs often incorporate page titles, and therefore do
more than just represent a web address; they may also indicate the content of the page.

      Given the information that can be gleaned from these URLs, Google employees recognize
them as personal content.72 In internal documents, Google also recognizes how much can be
learned about a user through the technology industry’s widespread use of “fingerprinting
techniques.” These “rely on collecting several unique attributes about a user’s device such as
operating system, browser version, IP address, browser language, fonts installed, screen
resolution and more. Combined, those details create a unique profile of a user’s device and, by
proxy, the user.”73

      As another example of personal content, user interaction with a device results in mouse
and cursor movement; analysis of mouse movements is the subject of a Google patent, and is
used by many sites for purposes of customer identification.74 Shoshana Zuboff has noted that “in
addition to key words, each Google search query produces a wake of collateral data such as the
number and pattern of search terms, how a query is phrased, spelling, punctuation, dwell times,

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click patterns, and location.”75 Google was among the first enterprises to recognize that this
collateral data generated by its users could be used to improve its search engine, as well as to
generate user profiles and advertising products.

           3.3.   Browsing Information Is Highly Personal, and Reflects Individual Beliefs,
                  Choices, and Thoughts

       A user’s browsing information can be highly personal. It may reflect, for example, their
political and religious beliefs, their sexual orientation and proclivities, their medical history and
diagnoses, their intention to find new employment or move to another location, their experience
of domestic abuse, or other aspects of their personal circumstances. And in the context of private
browsing, users have specifically signaled that they expect their browsing sessions and the
associated content to be in fact private. That datapoint alone is private in and of itself.

      When browsing the Internet, people often start on a search page, then click from that page
to other websites. For example, someone might start with a Google search, then visit a non-
Google website based on those search results. Information tied to that search term and
subsequent browsing, including individual URLs and the record of an entire browsing session,
reveals a great deal of personal information about an individual.

       Web search data is a source of highly intimate personal information. People don’t lie to
their search engines. They are often more candid with their search engines than with friends,
lovers, or family members. Their web searches reveal exactly what they’re thinking about. For
example, Google knows the names of old sweethearts users still think about, who is worried
about their mental health, who is considering fleeing from an abusive partner, who is thinking
about evading taxes, or who is planning to protest a particular government policy. And unlike
human memory, online databases can remember all of this with lasting precision. They can also
use that information to predict human behavior.

       I once conducted a quick experiment with Google’s autocomplete feature, which offers to
finish typing search queries in real time, based on what other people have typed. When I typed
“should I tell my w,” Google suggested “should I tell my wife I had an affair” and “should I tell
my work about dui” as the most popular completions.

      Any Chrome user with a Google account can review their search history, though I
understand that is limited to what Google categorizes as “logged in” searching. The history goes
back for the duration of the account’s existence, probably for years. The results are more
intimate than a diary.

      This can go back many years, and in increasingly many cases can encompass much of a
user’s childhood and adolescence. In a January 2021 email from Google’s Chief Marketing
Officer, Lorraine Twohill, to CEO Sundar Pichai and others, Twohill estimated that
approximately “       accounts are presumably used by underaged users.”76

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  Shoshana Zuboff, The Age of Surveillance Capitalism, New York: Public Affairs,
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      A Stanford University experiment examined the phone metadata of about 500 volunteers
over several months. The personal nature of what the researchers could infer from the metadata
surprised even them:

         Participant A communicated with multiple local neurology groups, a specialty pharmacy,
          a rare-condition management service, and a hotline for a pharmaceutical used solely to
          treat relapsing multiple sclerosis.
         Participant B spoke at length with cardiologists at a major medical center, talked briefly
          with a medical laboratory, received calls from a pharmacy, and placed short calls to a
          home reporting hotline for a medical device used to monitor cardiac arrhythmias.
         Participant C made a number of calls to a firearms store that specializes in the AR
          semiautomatic rifle platform, and also spoke at length with customer service for a firearm
          manufacturer that produces an AR line.
         In a span of three weeks, Participant D contacted a home improvement store, locksmiths,
          a hydroponics dealer, and a head shop.
         Participant E had a long early morning call with her sister. Two days later, she placed a
          series of calls to the local Planned Parenthood location. She placed brief additional calls
          two weeks later, and made a final call a month after.

 That’s a multiple sclerosis sufferer, a heart attack victim, a semiautomatic weapon owner, a
 home marijuana grower, and someone who had an abortion, all identified from a single stream
 of metadata generated through their phone calls.77 Note that this experiment used cell phone
 metadata, but the same users’ web search and browsing information could be used to produce
 similar summaries.

     In a September 2010 interview, Google’s CEO Eric Schmidt unapologetically stated that
“With your permission you give us more information about you, about your friends, and we can
improve the quality of our searches. We don’t need you to type at all. We know where you are.
We know where you’ve been. We can more or less know what you’re thinking about.”78

     Relying on a user’s past thoughts to determine the outcome of their searches limits their
exposure to information that falls outside their previously demonstrated experience.

       Many enterprises manipulate what you see according to your user profile: Google Search,
Yahoo News, online newspapers like the New York Times. This manipulation can be very
profitable. The first listing in a Google Search result gets 28.5% of the clickthroughs; search
results on subsequent pages yield far less engagement.79 The consequence is that what Internet
users see is increasingly tailored to their inferred interests. This leads to a phenomenon that

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political activist Eli Pariser has called the “filter bubble”: an Internet optimized to individual
preferences, where one never need encounter an opinion one doesn’t agree with.80

      In 2018, the privacy-focused search engine DuckDuckGo conducted a study of the Google
Search’s “filter bubble” problem, whereby search results are prioritized according to personal
information that Google has collected about individual users, thereby reducing the diversity of
information and viewpoints displayed to them. The researchers found that in spite of Google’s
claim to have taken steps to reduce the “filter bubble” effect, most searches by study participants
using the Chrome browser yielded results that were unique to them.81

              3.4.   Browsing Information Is Unique for Each User

       American citizens are justified in taking measures to minimize access to their browsing
information, since it can be used to identify them. A 2013 study of 368,284 Internet users
detected a unique browsing history for 69% of participants, and found that out of users for whom
at least four visited websites were detected, 97% could be uniquely identified by their browsing
history.82

      This browsing information is a rich target for those online businesses that deploy CSS-
based detection techniques to collect it. (CSS is an initialism for cascading style sheets, which
are used to format web pages.) An attacker can ascertain URLs visited by a target’s browser
through applying CSS styles that differentiate visited and unvisited links. A study of results
obtained from over a quarter-million web users found that over 94% of Google Chrome users
were vulnerable to CSS-based browser history detection by sites they visited; a test of popular
websites detected an average of 62.6% visited locations per client.83

       A 2015 research paper illustrated how third-party cookies can be used by eavesdroppers—
these are people who are not the owners of the websites visited or the cookies issued and used—
to track people on the Internet. Simulating users browsing the web, the authors found that “the
adversary can reconstruct 62–73% of a typical user’s browsing history.”84




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           3.5.    Targeted Advertising Has Risks for Users

       The rise in targeted advertising has enabled an increase in the ability of hostile nations to
target American citizens for purposes of political manipulation. In 2017, following Facebook’s
acknowledgement that it had sold thousands of political ads to a Russian government agency
seeking to influence the 2016 presidential election,85 Google disclosed that during the leadup to
the election, accounts linked to Russia had purchased an unknown number of ads costing less
than $100,000 for display on the company’s platforms, including YouTube, Gmail, and through
the DoubleClick ad network.86 However, in a Washington Post op-ed, media strategist Jason Kint
observed that it would be impossible to determine how many political ads by foreign actors had
actually been displayed via Google during the 2016 election season, thanks to Google’s
successful lobbying for ads on its platform to be exempt from disclosures generally required of
campaigns.87

       Targeted ads that follow a supposedly “private” search can create problems for users.
Consider a person subject to domestic abuse who uses private browsing to search for emergency
or alternate housing, then is followed by real estate advertisements or public service
announcements from crisis centers, including on a shared computer. This could raise suspicions
on the part of the abuser, and potentially expose the abuse victim to further harm. (In 2020, I
published a paper on this topic in collaboration with Cornell University sociologist and computer
scientist Karen Levy. 88)

      Internet advertising is an enormous drain on computing resources. A 2018 study estimated
that 11.53–159.93 million tons of carbon dioxide were emitted to produce the electricity
consumed by online advertising, and that nearly one-fifth of those emissions was associated with
invalid traffic.89 A 2020 study comparing page load time of computers running ad blockers to
those without them found that page load time dropped between 11% and 28.5% for computers
with ad blockers. It was estimated that users could save more than 100 hours of page load time
per year with the best-performing blocker, and forecast considerable savings in money and
energy if all Internet users were to adopt ad-blocking technology on their devices.90 Additionally,
a 2022 study of French media websites found that “between 32% and 70% of the energy


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consumed by the browser and network is due to monetization,” and that “on average, using an ad
blocker reduces emissions by 37%.”91

     4. The Value of User Data
           4.1.    User Data Generates Billions in Corporate Revenue

       The largest online companies are highly motivated to use their users’ data to generate
billions in revenue. Together, Google and Facebook dominate this field: in 2020, Google took in
$146.92 billion in digital advertising revenue, and Facebook $84.17 billion.92 In 2020, the
Shenzhen-based tech giant Tencent brought in $75.78 billion in ad sales.93 These revenues are
tied to data-driven advertising.

       Here’s an example of the value of personal data. Dataium was a company (acquired in
2015 and retired three years later)94 that tracked people as they shopped for cars online. It
monitored their visits to different manufacturers’ websites: what types of cars they were looking
at, what options they clicked on for more information, what sorts of financing options they
researched, how long they lingered on any given page. Dealers paid for this information—not
just information about the cars they sold, but the cars people looked at that were sold by other
manufacturers. They paid for this information so that when potential buyers walked into a
showroom, they could more profitably sell them a car.95

       For a ballpark estimate, that information might have cost the customer $300 extra on the
final price of the car; that is, it was worth no more than $300 for each customer to protect
themselves from Dataium’s data-scraping. But with 16 million cars sold annually in the US, even
if one assumes that Dataium had customer information relevant to just 2% of them, it was worth
$100 million to the company to ensure that its tactics worked.

     This asymmetry is why market solutions tend to fail. It’s a collective action problem. Even
though it might have been worth $100 million to society to protect citizens from Dataium, those

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citizens couldn’t necessarily coordinate effectively. Dataium effectively banded the car dealers
together, but there was no analogous process whereby customers could band together.

       Problems arise not only in terms of collection but also when that information is being used
in ways we didn’t intend: when it is stored, shared, sold, correlated, and exploited to manipulate
people in some stealthy way. Restrictions on how data can be used are important, especially
restrictions on uses that differ from the purposes for which data was collected.

       Other problems arise when corporations treat their underlying algorithms as trade secrets:
Google’s search algorithms (such as PageRank, which determines what search results you see
and in what order), and credit-scoring systems, are two examples. The companies that use these
algorithms have legitimate concerns about trade secrecy. They’re worried both that competitors
will copy them and that people will figure out how to game them. But this secrecy prevents
transparency, which is critical when the algorithms in question have a direct impact on the
public.96 Google collects user data for its own financial benefit, including to refine Google’s
search and ad bidding algorithms, but there is limited information available in terms of what that
means for user privacy.

       Consumer surveillance is much older than the Internet. Before the Internet, there were four
basic surveillance streams. The first flowed from companies keeping records on their own
customers. The second stream flowed from direct mail marketing, which involved the creation of
lists of people who might welcome a vendor’s promotional or fundraising mail so that time,
money, materials and effort would not be spent to solicit those who would be unreceptive. Direct
mail lists were sorted according to demographic characteristics; many had their beginnings as
aggregated magazine subscription lists, or customer lists from related enterprises.

       The third surveillance stream came from credit bureaus, which collected detailed
information about individuals’ financial transactions, and sold that information to banks needing
to determine the creditworthiness of potential customers. This detailed, expensive form of data
collection was only cost-effective for high-risk matters such as credit card approvals, apartment
leases, mortgages, and the like.

      The fourth surveillance stream flowed from government. This stream consisted of public
records: birth and death certificates, driver’s license records, voter registration records, various
permits and licenses, court documents, and so on. Private enterprises have increasingly been able
to acquire or purchase this public data for their own use; use cases include people search
websites, websites featuring arrest records, and real estate websites.97



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       Credit bureaus and direct marketing companies eventually combined these four streams to
become modern day data brokers like Acxiom.98 Data brokers buy citizens’ personal data from
private businesses, combine it with publicly available information about them, and sell the
results. And they’ve ridden the tides of computerization. The more data an individual produces,
the more information about them can be collected and the more accurately they can be profiled,
leading to still greater revenues for companies.99

       The breadth and depth of information that data brokers possess is astonishing.100 They
collect demographic information: names, addresses, telephone numbers, email addresses, gender,
age, marital status, presence and ages of children in household, education level, profession,
income level, political affiliation, cars driven, and information about homes and other property.
They collect lists of purchases, dates of purchases and forms of payment. They keep track of
deaths, divorces, and diseases that run in families. They scrape the web for information about
their targets. In 2013, the World Privacy Forum estimated that there were about 4,000 data
brokers.101

       Data brokers use publicly available and purchased data to sort people into various
marketable categories.102 For example, Acxiom offers lists of “potential inheritors,” “adults with
senior parent,” households with a “diabetic focus” or “senior needs.”103 InfoUSA has sold lists of
“suffering seniors” and gullible seniors.104 In 2011, the data broker Teletrack sold lists of people
who had applied for nontraditional credit products like payday loans to companies who wanted
to target them for predatory deals.105 In 2012, Equifax sold lists of people who were late on their

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mortgage payments to a discount loan company. Because this was financial information, both
brokers were fined by the FTC for their actions. However, given the lack of regulation on data
collection in other industries, almost everything else is fair game.106

           4.2.    Third Parties Perform Electronic Tracking

       While some businesses seek data about other businesses’ customers, the context is very
different when a third party is intercepting and collecting data flows from individual computers,
phones, or tablets of the first party’s customers. This is akin to installing a classic pen register on
a phone, but even more invasive in that files are installed on users’ devices, without their
knowledge, in order to monitor their subsequent online activity. This interception enables
development of much more extensive and valuable profiles on individuals who have no
relationship to those who are seeking information about them.

      A 2016 analysis of the history of web tracking between 1996 and 2016 found that tracking
has become more prevalent, more complex, and more difficult to avoid, and that trackers capture
an increasing range of users’ browsing behaviors.107

       A 2017 study by Exodus Privacy and the Yale University Privacy Lab of trackers
incorporated into popular Android phone apps available from the Google Play Store concluded
that over 75% of Android apps incorporate at least one third-party tracking plugin. Among these
plugins are those that enable Google subsidiary Crashlytics to track app crash reports; however,
the service also analyzes app users’ behavior.108

       A February 2021 study of web privacy risks arising from the exchange of data between
browsers and their developers’ backend servers found that Chrome shared browser information
and persistent identifiers that enable long-term tracking, including identification of user location
via IP addresses. Chrome assigns persistent identifiers to individual browsers, which are linked
to details of visited web pages via the search autocomplete feature.109



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       The same researchers looked into mobile phone privacy, and found that both iOS and
Android devices communicated with Apple and Google, respectively, an average of once every
4.5 minutes, and that they transmitted telemetry information even when users opted out of this
functionality. Although Google cautions that “turning off this feature doesn’t affect your
device’s ability to send the information needed for essential services such as system updates and
security,” the study’s authors concluded that the supposedly “essential” data was “extensive, and
likely at odds with reasonable user expectations.”110

        5. Limitations on Collecting User Data
              5.1.    Laws Impose Restrictions on How Companies Can Collect Data

       The implementation of the European Union’s General Data Protection Regulation
(GDPR)111 in 2016 precipitated a conspicuous change in the manner in which websites collected
data on their users, or allowed third parties to collect data on their users. Whereas pre-GDPR,
websites usually placed cookies on visitors’ browsers without notifying them, the new regulation
required affirmative notice to and consent by the user before this is done. Although GDPR is in
force in the EU, certain US websites—especially those with many European visitors and
customers—have sought to achieve some sort of compliance with the regulation.

       The 2018 California Consumer Privacy Act requires websites to inform users of the types
of cookies they use, their purpose and function, the sort of information they collect and how it is
used, and whether the information is shared and with whom. Users must also be given the right
to opt out the collection of data that could be linked to them or their family.112 (Note, again, that I
am not an attorney, but am commenting regarding the impact of the GDPR and CCPA on
privacy and websites’ responses to them.)

              5.2.    Restrictions Focus on Collection as Well as Use

       Companies that collect user data must focus not only on collection (subject to restrictions
on the timing of collection) but also on the appropriate use of data, and its retention and eventual
deletion. When storage was expensive, businesses had an incentive to minimize collection, purge
useless data, and enforce time limits for the retention of data in order to minimize the need to pay
for data storage. However, storage is now cheap, thus increasing the risk that companies will
retain data far longer than is needed for the successful conduct of business; and the
commodification of data translates into business opportunities for those enterprises willing to
part with it.

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      Protecting privacy requires regulation in many places: at collection, during storage, upon
use, during disputes. The OECD Privacy Framework, adopted in 1980, delineates a set of basic
principles of data privacy protection that illustrate the scope of this need:

        COLLECTION LIMITATION PRINCIPLE: There should be limits to the collection of
        personal data and any such data should be obtained by lawful and fair means and, where
        appropriate, with the knowledge or consent of the data subject.
        DATA QUALITY PRINCIPLE: Personal data should be relevant to the purposes for
        which they are to be used, and, to the extent necessary for those purposes, should be
        accurate, complete and kept up-to-date.
        PURPOSE SPECIFICATION PRINCIPLE: The purposes for which personal data are
        collected should be specified not later than at the time of data collection and the
        subsequent use limited to the fulfilment of those purposes or such others as are not
        incompatible with those purposes and as are specified on each occasion of change of
        purpose.
        USE LIMITATION PRINCIPLE: Personal data should not be disclosed, made available
        or otherwise used for purposes other than those specified in accordance with Paragraph 9
        except: a) with the consent of the data subject; or b) by the authority of law.
        SECURITY SAFEGUARDS PRINCIPLE: Personal data should be protected by
        reasonable security safeguards against such risks as loss or unauthorized access,
        destruction, use, modification or disclosure of data.
        OPENNESS PRINCIPLE: There should be a general policy of openness about
        developments, practices and policies with respect to personal data. Means should be
        readily available of establishing the existence and nature of personal data, and the main
        purposes of their use, as well as the identity and usual residence of the data controller.
        INDIVIDUAL PARTICIPATION PRINCIPLE: Individuals should have the right: a) to
        obtain from a data controller, or otherwise, confirmation of whether or not the data
        controller has data relating to them; b) to have communicated to them, data relating to
        them i. within a reasonable time; ii. at a charge, if any, that is not excessive; iii. in a
        reasonable manner; and iv. in a form that is readily intelligible to them; c) to be given
        reasons if a request made under subparagraphs (a) and (b) is denied, and to be able to
        challenge such denial; and d) to challenge data relating to them and, if the challenge is
        successful to have the data erased, rectified, completed or amended.
        ACCOUNTABILITY PRINCIPLE: A data controller should be accountable for
        complying with measures which give effect to the principles stated above.113




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       The ACM Code of Ethics and Professional Conduct, which Google, as a leading employer
of computer scientists, should be aware of in formulating its course of conduct, speaks to similar
effect.

         1.1 Contribute to society and to human well-being, acknowledging that all
         people are stakeholders in computing.

         This principle, which concerns the quality of life of all people, affirms an
         obligation of computing professionals, both individually and collectively, to
         use their skills for the benefit of society, its members, and the environment
         surrounding them. This obligation includes promoting fundamental human
         rights and protecting each individual’s right to autonomy. An essential aim of
         computing professionals is to minimize negative consequences of computing,
         including threats to health, safety, personal security, and privacy. When the
         interests of multiple groups conflict, the needs of those less advantaged should
         be given increased attention and priority. [emphasis added]

         1.3 Be honest and trustworthy.

         Honesty is an essential component of trustworthiness. A computing
         professional should be transparent and provide full disclosure of all pertinent
         system capabilities, limitations, and potential problems to the appropriate
         parties. Making deliberately false or misleading claims, fabricating or
         falsifying data, offering or accepting bribes, and other dishonest conduct are
         violations of the Code.

         1.6 Respect privacy.

         The responsibility of respecting privacy applies to computing professionals in
         a particularly profound way. Technology enables the collection, monitoring,
         and exchange of personal information quickly, inexpensively, and often
         without the knowledge of the people affected. Therefore, a computing
         professional should become conversant in the various definitions and forms of
         privacy and should understand the rights and responsibilities associated with
         the collection and use of personal information.

         Computing professionals should only use personal information for legitimate
         ends and without violating the rights of individuals and groups. This requires
         taking precautions to prevent re-identification of anonymized data or
         unauthorized data collection, ensuring the accuracy of data, understanding the
         provenance of the data, and protecting it from unauthorized access and
         accidental disclosure. Computing professionals should establish transparent
         policies and procedures that allow individuals to understand what data is being
         collected and how it is being used, to give informed consent for automatic data
         collection, and to review, obtain, correct inaccuracies in, and delete their
         personal data.

         Only the minimum amount of personal information necessary should be
         collected in a system. The retention and disposal periods for that information
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          should be clearly defined, enforced, and communicated to data subjects.
          Personal information gathered for a specific purpose should not be used for
          other purposes without the person’s consent. Merged data collections can
          compromise privacy features present in the original collections. Therefore,
          computing professionals should take special care for privacy when merging
          data collections.

       There’s been a concerted multi-year effort by US companies to convince the world that
regulations on data collection are unnecessary, and that regulation should only apply to data use.
Many corporations and NGOs advocating for corporate interests seek to eradicate any limitations
on data collection because they know that any use limitations would be narrowly defined, and
could be slowly expanded over time.114 These advocates recognize that once collection
limitations are in place, it will be much harder to revise them. But as with government mass
surveillance, the privacy harms come from the simple collection of the data, not only from its
use.115 Unrestricted collection by companies will result in broad collection, expansive sharing
with the government and others, and a slow chipping away at the necessarily narrowly defined
use restrictions.

           5.3.    There Are Many Privacy Risks Post-Collection

       There are many post-collection risks to consumer privacy that come with the accumulation
of user data. For example, malevolent actors, acting independently or under government
direction, may access user data and either exploit it themselves, or offer it for sale to others.
Personally identifying information may be used for the purpose of identity theft.




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       As of February 2022, Google’s parent company Alphabet had 156,500 employees.116
Additionally, in 2019, Google employed 121,000 temporary employees and contractors. Leaked
internal documents indicate that between 2018 and 2020, Google fired 80 employees for abusing
their access to the company’s data, including mishandling confidential information, misusing the
company’s systems, and improperly accessing user data.117 Like many tech companies, Google
has been forced to acknowledge numerous instances of sexual harassment by managers (some of
whom were handsomely rewarded upon their departure from the company in spite of having
victimized other employees).118 In 2010, the company fired an engineer for accessing the Google
accounts of four minors, including one who had tried to cut off communication with him,119 and
in 2014, a Google employee was arrested for cyberstalking.120 It is to be expected that any large
company will have its share of staff who abuse their power, as well as those who could be
coerced or bribed.

       User data can also be stolen at the behest of hostile governments. For example, in
September 2017, the credit bureau Equifax announced that between May and July 2017, hackers
had stolen personally identifying data of 147.9 million US citizens, as well as another 15 million
citizens of the UK and Canada. The hack was facilitated by the company’s failure to patch a
vulnerability in a dispute resolution portal, its failure to adequately segment its servers, and its
storage of administrative credentials in plain text, rather than in encrypted form. After a two-and-
a-half-year investigation, the FBI charged four members of the People’s Republic of China’s
armed forces with the attack. Investigators suspect that the mainland Chinese government is
working to gather information on US citizens in order to identify US government officials and
intelligence operatives, and to pinpoint targets for bribery or blackmail.121


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       Courts may order the disclosure of user data subject to a subpoena, issued either at the
behest of government actors (such as police and prosecutors), or parties to civil litigation.122
Google’s privacy policy notes this risk, stating that Google “will share personal information
outside of Google is we have a good-faith belief that access, use, preservation, or disclosures of
the information is reasonable necessary to: Meeting any applicable law, regulations, legal
process, or enforceable governmental request.”123

      Datasets may also be merged, enabling the identification of individuals in spite of efforts
to prevent this. (I will discuss the subject of de-anonymization in more depth in Subsection 6.3.)

      6. Privacy and System Design
           6.1.   People’s Privacy Intuition Is Not Suited for the Internet

      People reveal data about themselves all the time: to family, friends, acquaintances, lovers,
even strangers. They share personal information with doctors, investment counselors, and
psychologists. They share a lot of data. But they usually think of that sharing transactionally:
“I’m sharing data with you, because I need you to know things/trust you with my secrets/am
reciprocating because you’ve just told me something personal.” That sharing usually occurs in
the context of face-to-face encounters, in which people are typically in control and aware of what
they are sharing.

       People have evolved all sorts of psychological systems to navigate complex privacy
decisions, systems that are themselves complex, highly attuned, and delicately social. A person
may walk into a party and immediately know how to behave. Whom to talk to, what to tell to
whom, who’s in the vicinity, who’s listening: most humans are equipped to navigate the social
waters. Technology inhibits that ability, as most people relegated to socializing on Zoom during
the COVID-19 pandemic can attest. Move our interactions into an online setting, and suddenly
intuition begins to fail. People forget who’s reading their posts. They accidentally send
something private to a public forum. They don’t understand how their data is monitored in the
background. They don’t realize what the technologies they’re using can and cannot do.

       Humans are social animals, and there are few things more powerful or rewarding to
humans than communicating with other people. Digital means have become the easiest and
quickest way to communicate; they have functioned as a lifeline for millions of people
sequestered in their homes during the COVID-19 pandemic. However, trading privacy for
services isn’t necessarily a good or fair bargain, at least as these bargains are structured today,
absent comprehensive federal legislation comparable to Europe’s GDPR. Users have become too
easily accustomed to accepting invidious deals presented in opaque, frequently modified privacy
policies, and whose terms they do not fully understand (or worse yet, to being accused of
consenting to data collection practices that were never disclosed at all).


122
  Jay Greene, “Tech giants have to hand over your data when federal investigators ask. Here’s why,” Washington
Post, https://www.washingtonpost.com/technology/2021/06/15/faq-data-subpoena-investigation (June 15, 2021).
123
  Google, “Google privacy policy: Sharing your information,” https://policies.google.com/privacy?hl=en-
US#infosharing (February 10, 2022).


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       Internet tracking is also largely invisible. Trackers do not announce themselves or make
themselves apparent. Unless the user is using an ad blocker like Privacy Badger, they do not
know about the dozens of trackers that monitor their every move on the websites they visit. Even
then, those users wouldn’t have insight into how that data is being used. People shouldn’t need to
be technical experts, or learn and use complex developer tools, to understand what is going on.
The sheer amount of Internet surveillance just isn’t apparent.

       This lack of transparency makes it hard for people to make complex privacy decisions
about the browsers they use (and those browsers’ “privacy” modes), websites they visit, and the
amount of personal information they disclose. Intuition fails when thoughts of privacy fade into
the background. Once people can’t directly perceive other people, intuition doesn’t perform so
well. People don’t think, “There’s a multinational corporation recording everything I say and
targeting me with advertising.” People don’t think, “The US and maybe other governments are
recording everything I say and trying to find terrorists, or criminals, or drug dealers, or the
Villain-of-the-Month.” That’s not obvious. What’s obvious is, “I’m at this gathering, with my
friends and acquaintances, and we’re talking about personal stuff.”

       Users’ continual exposure of their private data online cannot serve as evidence of their
consent to be monitored, especially when they seek to affirmatively protect their privacy using a
private browsing mode. People consent to the real-world analogue of social interaction and
intellectual exploration that they have in their heads without fully understanding the
ramifications of moving that model online.

           6.2.   The Industry Uses Dark Patterns to Nudge Users in Particular Directions

      Much user interface design consists of norms and metaphors that people develop to make
sense of what computers do under the hood. The metaphors are just that: files, folders, trashcans,
and directories are to all some extent abstractions and representations. And they’re not always
accurate. When we move a file into a folder, we’re not actually moving anything, just changing a
pointer designating where the file is stored. Deleting a file isn’t the same thing as destroying the
physical object, something that criminal defendants learn over and over again as files they
thought they’d deleted (or redacted) are recovered and used against them by prosecutors. But
they’re close enough for most purposes. And the norms are taken from the real world as much as
possible.

       “Dark patterns” is a term given to subversive user-design tricks intended to manipulate
users into doing things they wouldn’t normally want to do.124 They co-opt common designs to
nudge users towards certain ends, including forfeiting their privacy unawares. Disingenuous
design elements include inaccessible controls, confusing descriptions, default opt-in settings that
maximize data collection, and discouragement of opt-outs by requiring users to click through
many links to get to the opt-out screen. Normally, standardized design guides people through
online interactions, providing a trusted visual language. In habitual behaviors like driving, for
example, green means go, and red means stop. Green and red are similarly used as guides in user
experience design all the time. They become a dark pattern when the guidance that “green means

124
   Madhumita Murgia, “When manipulation is the digital business model,” Financial Times,
https://www.ft.com/content/e24dea0a-6b57-11e9-80c7-60ee53e6681d (May 1, 2019).


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go” established by a series of green “continue” buttons is suddenly subverted to sell an in-app
purchase, as in the mobile game “Two Dots.”125 Or when ads for other software place a green
“click here to download” button as they interrupt a series of “continue” buttons in a sequence of
web pages. Way too often those buttons get the user something other than what they were
expecting; constant vigilance is required.

       An investigation by ProPublica found that Intuit, the developer of TurboTax, has a free tax
filing program called Free File for users who make less than a certain amount per year. But users
are often tricked into paying for the tax filing features in TurboTax, by product design that
intentionally makes it difficult to find and use the free version.126 Amazon uses a dark pattern to
prevent users from canceling their accounts: it takes independent research, then at least five hard-
to-find clicks, and finally a chat with customer service.127 The best example? A banner ad from a
company called Chatmost that has what looks a speck of dust on a touchscreen, tricking users
into clicking on the ad as they try to swipe away the dirty spot.128

       Google’s use of dark patterns has been extensively investigated by France’s data
protection agency, Commission Nationale de l’Informatique et des Libertés (CNIL). In January
2019, CNIL fined Google $63.2 million, citing lack of transparency, insufficient information,
and failure to obtain valid consent to the use of nonessential ad personalization cookies. CNIL
found that Google’s privacy policy and terms of use, and the design of Google’s interface, did
not enable users to readily identify all of the services, websites and apps that processed personal
data, or specify the uses to which that data would be put. Users who did not wish to “Accept All”
cookies could not reject cookies with a single click, but were directed to take another step, by
clicking on a “More options” link. In short: through its user interface, Google encouraged users
to easily accept tracking, but did not fully explain what it was they were being asked to accept,
and made it more difficult to reject some or all cookies.129

      In December 2020, CNIL fined Google again, this time assessing $120 million for placing
tracking cookies on users’ browsers without their consent. CNIL found that Google
automatically placed cookies before a consent screen was displayed, and that the screen did not

125
   Gila Lyons, “An ode to Two Dots, the game that eases my anxious mind,” VICE,
https://www.vice.com/en_us/article/zmkdea/two-dots-iphone-game-anxiety-stress-relief-sleep (September 5, 2018).
126
   Ariana Tobin, Justin Elliott and Meg Marco, “Here are your stories of being tricked into paying by TurboTax.
You often need the money,” ProPublica, https://www.propublica.org/article/here-are-your-stories-of-being-tricked-
into-paying-by-turbotax-you-often-need-the-money (April 26, 2019).
ProPublica, “The TurboTax trap (Series index),” https://www.propublica.org/series/the-turbotax-trap (accessed
February 18, 2022).
127
   Elsie Otachi, “How to delete an Amazon account,” Help Desk Geek, https://helpdeskgeek.com/how-to/how-to-
delete-an-amazon-account (August 11, 2020).
128
      Nerdwriter, “How dark patterns trick you online,” YouTube, https://youtu.be/kxkrdLI6e6M, (March 28, 2018).
129
   Commission Nationale de l’Informatique et des Libertés, “Deliberation of the Restricted Committee SAN-2019-
001 of 21 January 2019 pronouncing a financial sanction against GOOGLE LLC,”
https://www.cnil.fr/sites/default/files/atoms/files/san-2019-001.pdf (January 21, 2019).
Lucie Audibert, “Beware ‘dark patterns’: Data protection regulators are watching,” TaylorWessing,
https://globaldatahub.taylorwessing.com/article/beware-dark-patterns-data-protection-regulators-are-watching
(March 2020).


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disclose that the cookies had already been placed or describe their function. Regulators also
discovered that if a user opted to deactivate personalized advertising, one cookie remained on the
browser and continued to process data. The size of the fine was justified, they stated, by the
widespread use of Google Search in France, by the impact of the company’s practices on nearly
the entire French population, and by the sizeable profits Google derived from cookie-enabled
advertising. Although Google discontinued the on-load cookie placements in September 2020,
CNIL found that a new cookie notice presented to arriving users still did not clearly describe the
function of the tracking cookies, or adequately inform users that they could refuse them.130 The
fine was confirmed in January 2022.131

      In a separate January 2022 action, CNIL came to the defense of French citizens yet again,
fining Google, YouTube, and Facebook for their continued use of “dark patterns” that “do not
make refusing cookies as easy as to accept them.”132 The three companies, regulators observed,
“offer a button allowing the user to immediately accept cookies. However, they do not provide
an equivalent solution (button or other) enabling the Internet user to easily refuse the deposit of
these cookies. Several clicks are required to refuse all cookies, against a single one to accept
them.” It was concluded that this practice violates users’ freedom of consent.133

           6.3.   Personal Data Is Difficult to Anonymize and Easy to De-anonymize

      Maintaining Internet anonymity against a ubiquitous surveillor is nearly impossible. If a
user forgets even once to enable privacy protections, or clicks on the wrong link, or types the
wrong thing, they’ve permanently attached their name to whatever anonymous provider they’re
using. The level of operational security required to maintain privacy and anonymity in the face of
a focused and determined investigation is beyond the resources of even trained government
agents. Even a team of highly trained Israeli assassins was quickly identified in Dubai, based on
surveillance camera footage from around the city.134

     The same is true for large sets of anonymous data. Users might naïvely think that there are
so many users in the world that it’s easy to hide in the sea of data. Or that most data is


130
   Natasha Lomas, “France fines Google $120M and Amazon 42M for dropping tracking cookies without consent,”
Tech Crunch, https://techcrunch.com/2020/12/10/france-fines-google-120m-and-amazon-42m-for-dropping-
tracking-cookies-without-consent (December 10, 2020).
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   Commission Nationale de l’Informatique et des Libertés, “Cookies: The Council of State confirms the sanction
imposed by the CNIL in 2020 on Google LLC and Google Ireland Limited,” https://www.cnil.fr/en/cookies-council-
state-confirms-sanction-imposed-cnil-2020-google (January 28, 2022).
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   Commission Nationale de l’Informatique et des Libertés, “Cookies: the CNIL fines GOOGLE a total of 150
million euros and FACEBOOK 60 million euros for non-compliance with French legislation,”
https://www.cnil.fr/en/cookies-cnil-fines-google-total-150-million-euros-and-facebook-60-million-euros-non-
compliance (January 6, 2022).
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   Scott Ikeda, “Google and Facebook hit with fines over dark patterns allegedly misleading users into cookie
consent,” CPO Magazine, https://www.cpomagazine.com/data-protection/google-and-facebook-hit-with-fines-over-
dark-patterns-allegedly-misleading-users-into-cookie-consent (January 11, 2022).
134
   Ronen Bergman, et al, “An eye for an eye: The anatomy of Mossad’s Dubai operation,” Der Spiegel,
https://www.spiegel.de/international/world/an-eye-for-an-eye-the-anatomy-of-mossad-s-dubai-operation-a-
739908.html (January 17, 2011).


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anonymous. That’s not true. Most techniques for anonymizing data don’t work, and ostensibly
anonymized data can be de-anonymized with surprisingly little information.135

      In 1997, computer scientist Latanya Sweeney—then an MIT graduate student—
demonstrated that she could de-anonymize records by correlating birth dates and ZIP codes with
the voter registration database.136 Several years later, using publicly available, anonymous data
from the 1990 census, Sweeney found that 87% of the population in the United States—216
million of 248 million people—could be uniquely identified by their five-digit ZIP code
combined with their gender and date of birth.137 Other researchers reported similar results using
2000 census data.138 Sweeney and her colleagues have extended her work on de-anonymization
to encompass the Personal Genome Project, hospitalization records, and environmental health
studies.139

        In 2006, AOL released three months of search data for 657,000 users: 20 million searches
in all. The idea was that it would be useful for researchers; to protect people’s identity, they
replaced names with numbers. So, for example, Bruce Schneier might be 608429. They were
surprised when researchers were able to attach names to numbers by correlating different items
in individuals’ search history.140

       In 2008, Netflix published 10 million movie rankings by 500,000 anonymized customers,
as part of a challenge for people to come up with better recommendation systems than the one
the company was using at that time. Researchers were able to de-anonymize people by




135
  Paul Ohm, “Broken promises of privacy: Responding to the surprising failure of anonymization,” UCLA Law
Review 57, https://papers.ssrn.com/sol3/papers.cfm?abstract_id=1450006 (August 13, 2009).
136
  Latanya Sweeney, “Weaving technology and policy together to maintain confidentiality,” Journal of Law,
Medicine and Ethics 25, http://onlinelibrary.wiley.com/doi/10.1111/j.1748-720X.1997.tb01885.x/abstract (June
1997).
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   Latanya Sweeney, “Simple demographics often identify people uniquely,” Carnegie Mellon University Data
Privacy Working Paper 3, https://dataprivacylab.org/projects/identifiability/paper1.pdf (2000).
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   Philippe Golle, “Revisiting the uniqueness of simple demographics in the U.S. population,” 5th ACM Workshop
on Privacy in the Electronic Society (WPES’06), Alexandria, Virginia,
https://crypto.stanford.edu/~pgolle/papers/census.pdf (October 30, 2006).
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   Latanya Sweeney, Akua Abu and Julia Winn, “Identifying participants in the Personal Genome Project by name
(A re-identification experiment),” arxiv.org, https://arxiv.org/abs/1304.7605 (2013).
Latanya Sweeney, “Only you, your doctor, and many others may know,” Technology Science 2018,
https://techscience.org/a/2015092903 (September 28, 2015).
Ji Su Yoo, et al., “Risks to patient privacy: A re-identification of patients in Maine and Vermont statewide hospital
data,” Technology Science 2018, https://techscience.org/a/2018100901 (October 8, 2018).
Katherine E. Boronow, et al., “Privacy risks of sharing data from environmental health studies,” Environmental
Health Perspectives 128, no. 1, https://ehp.niehs.nih.gov/doi/10.1289/EHP4817 (January 2020).
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   Michael Barbaro and Tom Zeller Jr., “A face is exposed for AOL Search No. 4417749,” New York Times,
http://www.nytimes.com/2006/08/09/technology/09aol.html (August 9, 2006).


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comparing rankings and time stamps with public rankings and time stamps in the Internet Movie
Database.141

      A 2015 study of three months’ worth of credit card metadata generated by 1.1 million
people found that four spatiotemporal points were sufficient to uniquely re-identify 90% of
individuals.142

     One 2019 study found that 99.98% of Americans could be correctly re-identified in any
purportedly anonymized dataset using fifteen demographic attributes, and that even in
incomplete datasets, individuals could be re-identified.143

       A 2018 study from Vanderbilt University explored the extent and magnitude of Google’s
collection of data on individual users, and demonstrated anew the ease with which supposedly
anonymized data could be identified. The authors established that mobile advertising identifiers
could be de-anonymized by means of data sent to Google via passing of device-level
identification information to Google servers by an Android device, and that DoubleClick cookie
IDs, which record user activity on third-party web pages, could be connected with a user’s
personal information on their Google account if a user accessed a Google application using the
same browser holding the DoubleClick cookie.144

      A 2020 study found that anonymized user location data could be combined with
anonymized credit card data to identify specific individuals.145 Another recent study
demonstrated means by which sensitive information about minor students could be ascertained
by linking anonymized datasets to publicly available school data.146

      These might seem like special cases, but they’re not; correlation is not difficult. Someone
with access to an anonymous data set of telephone records, for example, might partially de-
anonymize it by correlating it with a catalog merchant’s telephone order database. Or Amazon’s
online book reviews could be the key to partially de-anonymizing a database of credit card
purchase details.

       Joinability is the process of linking two data sets. One definition:

141
   Arvind Narayanan and Vitaly Shmatikov, “Robust de-anonymization of large sparse datasets,” 2008 IEEE
Symposium on Security and Privacy, Oakland, California,
https://web.stanford.edu/class/cs245/win2020/readings/netflix-deanonymization.pdf (May 18-20, 2008).
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  Yves-Alexandre de Montjoye, et al., “Unique in the shopping mall: On the re-identifiability of credit card
metadata,” Science 347, no. 6221, https://www.science.org/doi/full/10.1126/science.1256297 (January 30, 2015).
143
    Luc Rocher, Julien M. Jendrickx and Yves-Alexandre de Montjoye, “Estimating the success of re-identifications
in incomplete datasets using generative models,” Nature Communications 10,
https://www.nature.com/articles/s41467-019-10933-3 (July 23, 2019).
144
   Douglas C. Schmidt, et al., “Google data collection,” Vanderbilt University, https://digitalcontentnext.org/wp-
content/uploads/2018/08/DCN-Google-Data-Collection-Paper.pdf (August 15, 2018).
145
   Dániel Kondor, et al., “Towards matching user mobility traces in large-scale datasets,” arXiv:1709.05772,
https://arxiv.org/pdf/1709.05772.pdf (August 13, 2018).
146
   Eli Yacobson, et al., “De-identification is insufficient to protect student privacy, or What can a field trip reveal?”
Journal of Learning Analytics 8, no 2, https://www.learning-analytics.info/index.php/JLA/article/view/7353 (2021).


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            “Joinability measures whether data sets are linkable by unexpected join keys.
            Sometimes it is necessary to retain multiple data sets with different ID spaces.
            In those cases data custodians should avoid linking the two data sets to respect
            the choices of users who maintain separate identities. As an example, consider
            a website that can be used either signed-in or signed-out. A user may choose to
            use the website signed-out to separate activities from their signed-in identity. If
            the website operator maintains data sets about activities of both signed-in and
            signed-out users, it might accidentally include granular information (e.g. web
            browser user agent) in both data sets that could allow the signed-in and signed-
            out identities to be linked. In that case, we would say that the identities in the
            two data sets are joinable.” 147

       Google, with its database of users’ Internet searches, could de-anonymize a public
database of Internet purchases, or zero in on searches of medical terms to de-anonymize a public
health database. Merchants who maintain detailed customer and purchase information could use
their data to partially de-anonymize any large search engine’s search data. A data broker holding
databases of several companies might be able to use joinability to de-anonymize most of the
records in those databases. Joinability is a risk whether or not data is actually being joined.

      My opinions in this respect are consistent with the internal admissions by Google
employees. In internal discussions, Google employees have admitted that “it is possible for
Google to join regular and Incognito sessions,”148 In an April 2019 email discussing public
communication about Incognito mode, a Google product manager wrote, “just keep in mind that
we don’t actually delete any data and it is saved, just to a pseudonymous ID. The challenge is
that we never actually join this data to signed in data, but, in theory, it’s possible and that’s what
DDG149 and other studies are saying.”150 In other words, Google can connect individuals to
private browsing sessions.

V.         Google-Specific Topics

        7. Google’s Surveillance-Dependent Business Model
             7.1.   Google Makes Money from Harvesting User Data and Serving Personal Ads

       There is a conflict between the needs of corporate surveillance and data collection and
those of user privacy. Users want control over their privacy. This has long been recognized by
Google staff; for example, in an internal document outlining goals and strategy in Q1 2008—
prior to the launch of the Chrome browser—developers noted their concern over “balancing our


147
   Pern Hui Chia, et al., “KHyperLogLog: Estimating reidentifiability and joinability of large data at scale,”
Proceedings of the IEEE Symposium on Security and Privacy, https://milinda-perera.com/pdf/CDPSLDWG19.pdf
(2019).
148
      GOOG-BRWN-00705010
149
      DDG is shorthand for DuckDuckGo.
150
      GOOG-CABR-05270014, cited in Mardini Tr. 346-347


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desire to collect data to help users and concerns about privacy.”151 Although Google’s data
collection was here framed as an effort “to help users,” it has also become increasingly central to
the company’s operations. Google’s business model demands the maximization of data
collection, and creates a strong motivation to overpromise and underdeliver on privacy. In 2021,
Google’s parent company Alphabet announced that year’s revenues of $257.637 billion.152
Google’s average revenue per user (ARPU) is approximately $256 dollars per year.153 This large
number is buoyed by the vast amount of personal information Google collects about people
browsing the Internet.

       Google’s mission statement asserts that the company’s goal is “to organize the world’s
information and make it universally accessible and useful,”154 and the company has pursued that
goal through its search engine. However, this mission statement obscures the fact that the
preponderance of Google’s revenue is derived from advertising. For the quarter ending
December 31, 2021, Google reported $61.239 billion in advertising revenue, out of $75.325
billion total revenue, an 81% share of revenue from advertising.155

       Originally, Google’s advertisements were served up based on the content of searches, but
with the expansion of services to include Gmail and the Chrome browser, the company was able
to capitalize on the information accumulated about users of those products. Google’s ability to
track and analyze individual users’ web activity has enabled it to create comprehensive user
profiles, which allows it to give more granular user information to advertisers, who pay a
premium to more effectively target their desired audience.156

     Google gathers, organizes and monetizes a range of personal data that is far more
comprehensive than generally recognized. In its product description on the Apple App Store,
Google states that Chrome collects the following information linked to users’ identities:

           Location: Coarse Location
           Search History
           Browsing History
           Identifiers: User ID, Device ID
           Usage Data: Product Interaction
           Diagnostics: Performance Data, Other Diagnostic Data
           Other Data: Other Data Types

151
      GOOG-BRWN-00078193
152
   Alphabet, “Alphabet announces Fourth Quarter and Fiscal Year 2021 results,”
https://abc.xyz/investor/static/pdf/2021Q4_alphabet_earnings_release.pdf (February 1, 2022).
153
   Frederic Filloux, “The ARPUs of the big four dwarf everybody else,” Monday Note, https://mondaynote.com/the-
arpus-of-the-big-four-dwarf-everybody-else-e5b02a579ed3?gi=6c8323bc096c (February 11, 2019).
154
      Google, “About Google,” https://about.google (accessed February 3, 2022).
155
   Alphabet, “Alphabet announces Fourth Quarter and Fiscal Year 2021 results,”
https://abc.xyz/investor/static/pdf/2021Q4_alphabet_earnngs_release.pdf (February 1, 2022).
156
   Megan Graham and Jennifer Elias, “How Google’s $150 billion advertising business works,” CNBC,
https://www.cnbc.com/2021/05/18/how-does-google-make-money-advertising-business-breakdown-.html (May 18,
2021).


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          Financial Info: Payment Info
          Contact Info: Physical Address, Email Address, Name, Phone Number
          Contacts
          User Content: Photos or Videos, Audio Data, Other User Content157

              7.2.   Google Has an Overwhelming Market Share in Search

     Google was founded in 1998 as a search engine. Although it was originally one among
many, the turn of the twenty-first century saw it rise to the top of the heap, thanks to its
comprehensive web crawling and superior search results.

        In their 1998 paper “The anatomy of a large-scale hypertextual web search engine,”
Google founders Sergey Brin and Larry Page warned of the potential impact of advertising on
their invention:

             Currently, the predominant business model for commercial search engines is
             advertising. The goals of the advertising business model do not always
             correspond to providing quality search to users. For example, in our
             prototype search engine one of the top results for cellular phone is “The Effect
             of Cellular Phone Use Upon Driver Attention”, a study which explains in great
             detail the distractions and risk associated with conversing on a cell phone
             while driving. This search result came up first because of its high importance
             as judged by the PageRank algorithm, an approximation of citation importance
             on the web [Page, 98]. It is clear that a search engine which was taking money
             for showing cellular phone ads would have difficulty justifying the page that
             our system returned to its paying advertisers. For this type of reason and
             historical experience with other media [Bagdikian 83], we expect that
             advertising funded search engines will be inherently biased towards the
             advertisers and away from the needs of the consumers.

             Since it is very difficult even for experts to evaluate search engines, search
             engine bias is particularly insidious. A good example was OpenText, which
             was reported to be selling companies the right to be listed at the top of the
             search results for particular queries [Marchiori 97]. This type of bias is much
             more insidious than advertising, because it is not clear who “deserves” to be
             there, and who is willing to pay money to be listed. This business model
             resulted in an uproar, and OpenText has ceased to be a viable search engine.
             But less blatant bias are likely to be tolerated by the market. For example, a
             search engine could add a small factor to search results from “friendly”
             companies, and subtract a factor from results from competitors. This type of
             bias is very difficult to detect but could still have a significant effect on the
             market. Furthermore, advertising income often provides an incentive to
             provide poor quality search results. For example, we noticed a major search
             engine would not return a large airline’s homepage when the airline’s name

157
  Apple App Store, “Google Chrome,” https://apps.apple.com/us/app/google-chrome/id535886823 (accessed
February 3, 2022).


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           was given as a query. It so happened that the airline had placed an expensive
           ad, linked to the query that was its name. A better search engine would not
           have required this ad, and possibly resulted in the loss of the revenue from the
           airline to the search engine. In general, it could be argued from the consumer
           point of view that the better the search engine is, the fewer advertisements will
           be needed for the consumer to find what they want. This of course erodes the
           advertising supported business model of the existing search engines. However,
           there will always be money from advertisers who want a customer to switch
           products, or have something that is genuinely new. But we believe the issue of
           advertising causes enough mixed incentives that it is crucial to have a
           competitive search engine that is transparent and in the academic
           realm.158 [emphasis added]

       Google was once the sort of transparent, academic search engine that its founders
envisioned; however, since its discovery that user-generated data could be monetized, Google
has transformed into the world’s largest mechanism for mass surveillance.

       Google Search, in contrast to some competing search engines, collects information from
users, including IP address, user agent, cookie IDs, queries, and clicks. Because of the value of
this information, Google has an interest in making sure that users turn to Google Search as the
“entry point” of their online activities.159

       The Google Chrome web browser debuted in 2008, and was made available at no financial
cost to users. In a 2012 interview, Google CEO Sundar Pichai noted that Chrome’s profitability
lay in the fact that it could run on all platforms, and that by developing its own browser, Google
reduced the necessity of sharing revenue with other browsers that people might use to run
Google searches. Google Search, he stated, contributed the greatest proportion of Google’s
revenue; users who search the web via Google see ads on the search engine, then proceed to
websites hosting Google-enabled display ads.160

     When users search on Google Search on Google’s Chrome browser, Google, through its
Chrome product, also “implicitly has access to search history” because “it can see anything that
happens in the browser.”161

     As of December 2021, Google had an 86% share of the global search market.162 Although
Google doesn’t disclose its exact search volume data, it has been estimated that Google

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   Sergey Brin and Lawrence Page, “The anatomy of a large-scale hypertextual web search engine,” Computer
Networks and ISDN Systems 30, no. 1-7, https://storage.googleapis.com/pub-tools-public-publication-
data/pdf/334.pdf (April 1998).
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      GOOG-BRWN-00148029
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   Stephen Shankland, “Sundar Pichai: Chrome ‘exceptionally profitable’ for Google (q&a),” CNET,
https://www.cnet.com/tech/services-and-software/sundar-pichai-chrome-exceptionally-profitable-for-google-q-a
(June 29, 2012).
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      GOOG-BRWN-00475093 at -094
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   Statista, “Worldwide desktop market share of leading search engines from January 2010 to December 2021,”
https://www.statista.com/statistics/216573/worldwide-market-share-of-search-engines (January 2022).


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processes over 20 petabytes of data every day, including approximately 63,000 search queries
per second, which amounts to 3.5–5.6 billion search queries per day.163

       In August 2020, Google entered into a three-year deal with Mozilla, agreeing to pay $300–
$350 million dollars for Google Search to remain the default search engine for Firefox—a
privilege that carries with it the right to serve advertisements to those Firefox users who don’t
switch to other search providers.164 The Oslo, Norway-based Opera browser has had a similar
“search distribution agreement” with Google since 2001.165 The privacy-focused browser Brave
had a similar arrangement with Google until August 2021, when it introduced its own search
engine.166

       Industry analysts have estimated that Google’s annual search distribution agreement with
Apple, which makes Google Search the default search engine on all Apple products, is between
$7 billion and $10 billion.167 Apple is reportedly developing its own search engine, and is
increasingly providing its own search function for selected applications on its devices.168 The
payments from Google have nonetheless continued; in August 2021, analysts reported that
Google’s payment to Apple would rise to $15 billion in 2021, and to between $18 billion and
$20 billion in 2022.169

           7.3.    It Is Practically Impossible to Avoid Using Google Products and Services

     A Google search for the phrase “you must use Google Chrome” (with quotes) yields
“about 29,900 results” in which website operators such as schools, government agencies and


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   Seed Scientific, “How much data is created every day?” https://seedscientific.com/how-much-data-is-created-
every-day (October 28, 2021).
Meg Prater, “25 Google search statistics to bookmark ASAP,” HubSpot, https://blog.hubspot.com/marketing/google-
search-statistics (June 9, 2021).
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   Matthew Humphries, “Mozilla signs lucrative 3-year Google search deal for Firefox,” PC Magazine,
https://www.pcmag.com/news/mozilla-signs-lucrative-3-year-google-search-deal-for-firefox (August 14, 2020).
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   Opera Limited, “Opera and Google renew search agreement,” PR Newswire, https://www.prnewswire.com/news-
releases/opera-and-google-renew-search-agreement-301448072.html (December 20, 2021).
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   Jon Porter, “Brave browser replaces Google with its own search engine,” The Verge,
https://www.theverge.com/2021/10/20/22736142/brave-browser-search-engine-default-google-quant-duckduckgo-
web-discovery-project (October 20, 2021).
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  Peter Cao, “Google reportedly paying Apple $9 billion to remain default search engine in Safari on iOS,” 9to5
Mac, https://9to5mac.com/2018/09/28/google-paying-apple-9-billion-default-seach-engine (September 28, 2018).
Ben Lovejoy, “Google paid Apple almost $10 billion in 2018, ‘Apple Prime’ service needed in 2019 says Goldman
Sachs,” 9to5 Mac, https://9to5mac.com/2019/02/12/google-paid-apple-prime-service (February 12, 2019).
Eric Savitz, “Apple should buy a search engine, analyst says,” Barron’s, https://www.barrons.com/articles/amazon-
stock-split-51646863502 (June 8, 2020).
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   Tim Bradshaw and Patrick McGee, “Apple develops alternative to Google search,” Financial Times,
https://www.ft.com/content/fd311801-e863-41fe-82cf-3d98c4c47e26 (October 28, 2020).
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   Chance Miller, “Analysts: Google to pay Apple $15 billion to remain default Safari search engine in 2021,”
9to5Mac, https://9to5mac.com/2021/08/25/analysts-google-to-pay-apple-15-billion-to-remain-default-safari-search-
engine-in-2021 (August 25, 2021).


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professional associations require that Chrome be used in order to access programs,
communication channels, and public benefits, and to satisfy regulatory requirements.

          Public schools using DeltaMath software for instruction require students to use Google
           Chrome.170
          University-level desktop users of the Navigate Student Success Management System
           must use Google Chrome.171
          The State of Missouri’s grade-level assessments, taken by all students in grades 3–8,
           require the use of Google Chrome.172
          Applicants for Missouri State Assistance for Housing Relief must use Google Chrome to
           submit their application.173
          The Washington State Department of Licensing requires Google Chrome for use of its
           online services.174
          The Harris County, Texas Public Health Department requires the use of Google Chrome
           for online payment of fees for food permit renewals.175
          The North Carolina Department of Agriculture and Consumer Services requires those
           who take their online pesticide exams to use Google Chrome.176
          The city of Flagstaff, Arizona requires the use of Google Chrome or the long-deprecated
           Internet Explorer to apply for an electronic fingerprint.177
          The Chicago Bar Association requires Google Chrome for members to watch
           professional development webcasts.178




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   See, e.g., Anne Arundel County Public Schools, “DeltaMath Instructions,”
https://www.aacps.org/cms/lib/MD02215556/Centricity/Domain/1495/DeltaMath%20Account%20Instructions%20
2018.pdf (accessed February 3, 2022).
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   See, e.g., Southern Connecticut University, “Navigate,” https://inside.southernct.edu/navigate (accessed February
3, 2022).
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    Missouri Department of Education, “Resources [Missouri Virtual Instruction Program],”
https://mocap.mo.gov/resources (accessed February 3, 2022).
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   Missouri State Assistance for Housing Relief, “Missouri SAFHR for Renters,”
https://www.mohousingresources.com/safhr-renters-apply (accessed February 3, 2022).
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   Washington State Department of Licensing, “How to set up account access,”
https://www.dol.wa.gov/business/accountaccess.html (accessed February 3, 2022).
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   Harris County (TX) Public Health, “Food permit renewals - Fixed food establishments,”
https://publichealth.harriscountytx.gov/Services-Programs/All-Services/Food-Permits/Food-Permit-Renewals/Fixed-
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   North Carolina Department of Agriculture and Consumer Services, “Online pesticide exams,”
http://www.ncagr.gov/SPCAP/OnlinePesticideExams.htm (accessed February 3, 2022).
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   City of Flagstaff, “Electronic fingerprint instructions,”
https://www.flagstaff.az.gov/DocumentCenter/View/69994/Electronic-Fingerprint-Instructions (accessed February
3, 2022).
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   Chicago Bar Association, “Webcast tips,”
https://www.chicagobar.org/chicagobar/CBA/Webcast/wbcst_getting_started (accessed February 3, 2022).


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      From its headquarters in California, Google has established massive data centers around
the world to power its search engine, email, and data storage operations, and to accumulate and
organize the information submitted and generated by users that powers its advertising operations.

       There is no way to completely avoid Google. In 2020, security journalist Kashmir Hill
verified this by trying to validate assertions made by the chief executives of the largest
technology companies in testimony before Congress, assuring legislators that consumers have
numerous options for the services that they provide. She failed. Hill noted that “Amazon and
Google were the hardest companies to avoid by far [...] When I blocked Google, the entire
Internet slowed down for me, because almost every site I visited was using Google to supply its
fonts, run its ads, track its users, or determine if its users were humans or bots. While blocking
Google, I couldn’t sign into the data storage service Dropbox because the site thought I wasn’t a
real person. Uber and Lyft stopped working for me, because they were both dependent on
Google Maps for navigating the world. I discovered that Google Maps had a de facto monopoly
on online maps. Even Google’s longtime critic Yelp used it to tell computer users where
businesses could be found. I came to think of Amazon and Google as so embedded in the
architecture of the digital world that even their competitors had to rely on their services.”
Recalling tech companies’ glib advice, “If you don’t like the company, don’t use its products,”
Hill concluded that “it’s not possible to do that. It’s not just the products and services branded
with the big tech giant’s name. It’s that these companies control a thicket of more obscure
products and services that are hard to untangle from tools we rely on for everything we do, from
work to getting from point A to point B.” After her experiment was over, Hill “went back to
using the companies’ services again, because as it demonstrated, I didn’t really have any other
choice.”179

      8. Google’s Data Collection
           8.1.   Google Collects Data to Serve Personal Ads

      In 2007, when Google acquired the DoubleClick advertising network, the Google privacy
policy promised that “DoubleClick’s ad-serving technology will be targeted based only on the
non-personally-identifiable information.” In 2012, Google’s privacy policy was amended to
permit Google’s sharing of user data between Google services, including Gmail and Google
Search, but DoubleClick data remained separate. However, in 2016, with little fanfare, Google
revised its privacy policy yet again in an effort to allow Google’s combination of DoubleClick’s
web-browsing data with names and personally identifiable information from Gmail and other
login accounts.180




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   Kashmir Hill, “I tried to live without the tech giants. It was impossible,” New York Times,
https://www.nytimes.com/2020/07/31/technology/blocking-the-tech-giants.html (July 31, 2020).
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   Julia Angwin, “Google has quietly dropped ban on personally identifiable web tracking,” ProPublica,
https://www.propublica.org/article/google-has-quietly-dropped-ban-on-personally-identifiable-web-tracking
(October 12, 2016).


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       Soon after the change, Google experienced significant growth in revenues: from $89.98
billion in 2016 to $110.55 billion in 2017; by 2020, annual revenues reached $181.69 billion.181

           8.2.    Google Collects Data from Non-Google Websites via Various Products

       Both Google Search (used within any browser) and Chrome users’ personal and device
data inform Google’s “behaviorally-based” advertising products, including Google Ads
(formerly, Google AdWords, its original advertising product, long-familiar to users of Google
Search), AdMob (its mass-market tool for in-app ads), AdSense (for publishers who want a quick
and easy way to place ads on their sites and earn income), Ad Manager (formerly DoubleClick
for Publisher, for high-end mobile app developers and website publishers who sell advertising on
their own platforms), and Google Analytics (for website owners to track user engagement). In
2018, over 1.1 million Android apps used Google’s ad software, a figure that has surely risen
over the years.182 One 2020 study found that visitors to 86% of the world’s most-visited 50,000
websites contained Google trackers;183 another put the figure at 87%;184 and yet another found
Google trackers on 80.3% of websites globally, and 79.5% of websites in the United States.185

       In January 2012, Google announced its intent to combine information collected from all
Google services, couching the plan as a way to do “cool things” that benefit users. Although
users were assured that the move would result in “sharing more of your information with...well,
you,”186 the years that followed saw an unprecedented rise in the extent to which Google
collected, retained, and exploited that user information to create astonishingly intimate profiles
of its users’ demographics, financial status, interests, and habits.

      Google’s targeted advertising has become widespread due in large part to Google’s
provision of Google Analytics free of charge to websites with less than ten million hits per
month. Over 12,500,000 websites in the United States, including 70% of the country’s 100,000
most-trafficked websites, use Google Analytics.187


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   Statista, “Annual revenue of Google from 2002 to 2020,” https://www.statista.com/statistics/266206/googles-
annual-global-revenue (2022).
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   Paresh Dave, “Google’s app network quietly becomes huge growth engine,” Reuters,
https://www.reuters.com/article/idUSKCN1FZ0F9 (February 15, 2018).
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   John Koetsier, “Google is tracking you on 86% of the top 50,000 websites on the planet,” Forbes,
https://www.forbes.com/sites/johnkoetsier/2020/03/11/google-is-tracking-you-on-86-of-the-top-50000-websites-on-
the-planet (March 11, 2020).
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   Geoffrey Fowler, “87 percent of websites are tracking you,” Washington Post,
https://www.washingtonpost.com/technology/2020/09/25/privacy-check-blacklight (September 25, 2020).
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   Elaine Christie, “Tracking the trackers 2020: Web tracking’s opaque business model of selling users,” Ghostery
Blog, https://www.ghostery.com/blog/tracking-the-trackers-2020-web-trackings-opaque-business-model-of-selling-
users (2020).
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   Alma Whitten, “Updating our privacy policies and terms of service,” Google Official Blog,
https://googleblog.blogspot.com/2012/01/updating-our-privacy-policies-and-terms.html (January 24, 2012).
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   BuiltWith, “Google Analytics usage statistics,” https://trends.builtwith.com/analytics/Google-Analytics (accessed
January 29, 2022).


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      Although Google claims not to sell users’ data, Google transmits sensitive user data,
including geolocation, device IDs, unique cookies containing identifiers, and browsing
information, to sell advertising space through ad auctions.188

     As one Google engineer affirmed, if a user visits a website while in Chrome’s Incognito
mode, it is possible for other sites—including Google—to be sent information about that
browsing activity.189

       To date, Google’s advertising products have relied on placing cookies on computers of
website visitors. These cookies contain information that helps Google track user behavior across
websites.190 When a user visits a website that uses Google advertising products (like Display
Ads), Google tracking beacons will cause cookie(s) to be set. In the case of Display Ads,
Google’s DoubleClick.net sets a cookie which can then be used for cross-site tracking.191 As the
user visits websites with embedded Google scripts, Google collects the information stored in the
cookie to use in its advertising products. Google also sets cookies when users visit its own
properties such as google.com and youtube.com. Until recently, Incognito mode has not
prevented Google from utilizing third-party cookies to track users in this way.192 As to certain
tracking beacons, Google exempts itself from this change by classifying cookies that it places
through scripts that publishers embed in their websites as “first-party cookies.”

      Google’s distinction between first- and third-party cookies is self-serving and misleading.
On its support page, “How AdSense uses cookies,” Google notes that third-party and first-party
cookies are essentially interchangeable: “The difference between a third-party cookie and a first-
party cookie is only a matter of which domain a browser is pointed toward. The exact same kind
of cookie might be sent in either scenario.” Customers who have purchased Custom Search Ads
(including AdSense for Search, AdSense for Shopping, and Programmable Search Engine) are
reassured that the service uses a combination of first-party and third-party cookies to ensure that
ads can be delivered even when third-party cookies are disabled: “First party cookies are relied
upon primarily when access to third party cookies is restricted, and are required to continue ad
serving.”193 The same hybrid approach is referred to in a November 2018 email discussion of the
implementation of Google Analytics in Google’s DV360 (Display and Video 360) marketing
platform, where one product manager explained, “we use 3P cookies where they’re available,


188
   Bennett Cyphers, “Google says it doesn’t ‘sell’ your data. Here’s how the company shares, monetizes, and
exploits it,” Electronic Frontier Foundation, https://www.eff.org/deeplinks/2020/03/google-says-it-doesnt-sell-your-
data-heres-how-company-shares-monetizes-and (March 19, 2020).
Ethan Baron, “Google selling users’ personal data despite promise, federal court lawsuit claims,” Tampa Bay Times,
https://www.tampabay.com/news/2021/05/07/google-selling-users-personal-data-despite-promise-federal-court-
lawsuit-claims (May 7, 2021).
189
      Schuh Tr. 82:11-21
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      Bhatnagar Tr. 188:19-189:23
191
      Bhatnagar Tr. 120: 6-22
192
      GOOG-BRWN-00225976
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  Google, “How AdSense uses cookies,” https://support.google.com/adsense/answer/7549925?hl=en (accessed
March 7, 2022).


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and 1P cookies where they’re not.”194 If access to third-party cookies is restricted at the request
of Google’s users, using first-party cookies to continue personalized ad serving constitutes an
end run around those users’ privacy choices.

      In June 2020, Google publicly announced that it would phase out third-party ad-tracking
from the Chrome browser by 2022, and in March 2021, indicated that it would not build
alternatives to third-party cookies within Google’s advertising products. However, this change
applies only to websites, and not to advertising tools and identifiers used in mobile apps, or to
the YouTube platform.195 The third-party cookie phase-out has, however, been delayed until
2023, ostensibly in order to “move at a responsible pace” and “avoid jeopardizing the business
models of many web publishers which support freely available content.”196 This is in keeping
with sentiments expressed by CEO Pichai in meetings with Chrome staffers: he was reported to
be “overall comfortable with not removing 3P cookies, but wanted to focus on how Chrome is
helping users with 3P cookie concerns [...] Sundar drove the point in the meeting (with several
other examples) that if Chrome removes 3P cookies, it would create a very disruptive situation
for publishers, and is keen to support overall ecosystem health.”197

      In an April 2021 slide deck on ad privacy, one Google developer called out the
problematic nature of profiling and tracking users, and the risk associated with joining user data:
“A core problem is cross-site tracking: the widespread practice of gathering and joining user data
across unrelated sites. As you move from site to site—researching topics of personal interest,
comparison shopping and ordering groceries—your activity is not only tracked but can be joined
by different sites and services to identify and recognize you as you move around the web. You
can control some of it, but other tracking methods are opaque and not within your control at all.
As Google and Chrome we don’t see this as a healthy or sustainable state, and as an ecosystem
we need to do better.”198 Ironically, this unhealthy and unsustainable ecosystem was brought into
being in large part by Google own efforts.

      Another Google engineer characterized Google’s recent efforts to make the web “more
private” as “making that collection of a web-wide browsing history no longer possible.” He
further stated that “I would interpret users ‘giving up their privacy’ as a reference to that same
widespread ability to assemble cross-site browsing information,” including information
contained in pseudonymous identifiers.199

     Some corporate privacy officers have begun to question the wisdom of using Google
Analytics due to Google’s retention of individual user data for Google’s advertising enterprise,

194
      GOOG-CABR-05336392
195
   Sam Schechner and Keach Hagey, “Google to stop selling ads based on your specific web browsing,” Wall Street
Journal, https://www.wsj.com/articles/google-to-stop-selling-ads-based-on-your-specific-web-browsing-
11614780021 (March 3, 2021).
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   Sara Morrison, “Google’s plan to get rid of cookies isn’t going well,” Recode,
https://www.vox.com/recode/2021/6/24/22548700/google-cookies-ban-delay-floc-tracking (June 24, 2021).
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      GOOG-CABR-05126022
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      Kleber January 14, 2022 Tr. 91:5-93:23


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and the difficulty of obtaining truly informed consent from users who are not fully apprised of
the specific data they are being asked to share.200

           8.3.   Google Uses Cookie Matching to Help Identify Users in Real-Time Bidding

       Advertising on the Internet is dynamic. Ads on webpages depend not only on the content
of the webpage, but also on characteristics of the person viewing the ads. In this system, ads are
personalized. In the early days of Internet advertising, the first dynamic placement products like
AdWords were built to service an ecosystem fully controlled by a single entity. This made one
entity responsible for taking bids from advertisers, implementing a matching algorithm, and
publishing ads on the page. However, as the online advertising industry grew more complex, a
new model emerged called Real-Time Bidding (RTB).

       In this model, advertising slots are filled in real time by a bidding process that involves at
least five players. (Note that in some instances the roles of multiple players can be compressed
into a single entity.) These are: (1) the publisher—the website that has an ad slot available and is
looking to sell it; (2) the supply side platform (SSP)—the broker that represents the publisher;
(3) the ad exchange—the exchange where supply from ad slots is met with demand from
advertisers; (4) the demand side platform (DSP)—the broker that represents advertisers and ad
agencies; and (5) the advertiser or agency—the entity looking to place ads.

       This real-time bidding ecosystem is illustrated in the following figure:




       Requests for ads move through this ecosystem from left to right, from the publisher
through all the layers to the advertisers. Each layer creates more value by adding more user
targeting signals as the requests pass through them. At the end of the process, the advertiser (or

200
   Maciej Zawadzinski, “The case against Google Analytics for organizations collecting personal data,” CPO
Magazine, https://www.cpomagazine.com/data-privacy/the-case-against-google-analytics-for-organizations-
collecting-personal-data (September 1, 2020).


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an agency representing it) takes all of these user targeting signals (e.g., age, gender, location,
etc.) and generates a bid for how much it is willing to pay to display an ad to users with those
characteristics. The DSP that represents advertisers picks the highest bid from all of the
advertisers that it represents, then the ad exchange takes the highest bid from the various DSPs.
The highest bidder remaining has its bid relayed to the SSP, at which point the SSP retrieves the
ad and injects it into the publisher’s page.

      While all this technical minutiae may seem superfluous, what’s important here is the
number of times requests for ads and associated user data trade hands. With five players involved
each time an ad is filled on each web page load, there is an unfathomable amount of user data
flying across the Internet. Google’s RTB system currently shares ad targeting data with over
1,000 different companies.201 Even more noteworthy is the fact that each time a request changes
hands, the next party adds additional user targeting information.

       Each of those players has a unique “representation” of the user—that is, the person
browsing the Internet. That representation consists of a unique ID number, and could include
other information such as the user’s cookie—which would give information on the browsing
history—the type of computer and browsers used, and possibly name, location, cell phone ID, or
other personal information. In general, the players to the right of the diagram have more
information—and more personal information—about the user than the players to the left.

           In this context, the following pass-offs occur:

           From the publisher to the SSP. The user identification needs to be translated from the
            publisher’s (e.g., nytimes.com) representation to that of the SSP (e.g., Google).
           From the SSP to the exchange. The user identification needs to be translated from the
            SSP’s representation to that of the Exchange.
           From the exchange to the DSP (the bidder that represents the advertiser). The user
            identification needs to be translated from the exchange’s representation to that of the
            DSP.
           On the DSP. DSPs often buy data from data brokers, and they must match up the user IDs
            that they have already collected with those of the brokers.

       Understanding how this ecosystem works requires understanding two things: (1) how each
of these parties track the same user in sequence, and (2) how each of these parties manages to
accumulate even more data about the user than the previous party. This process provides a lot of
insight into how a user can be tracked even while in Incognito mode. In the following
explanation, I will specifically discuss Google’s practices with these tracking processes. It is
likely that other firms (e.g., TradeDesk, Centro, AppNexus, etc.) do it slightly differently.

     Cookie matching is a feature that allows publishers, DSPs, and advertisers to match their
own cookies with Google’s cookie.202 These DSPs often perform their own cookie matching as

201
   Google, “Ad Manager and Ad Exchange program policies: Ad technology providers,” Google Ad Manager Help,
https://support.google.com/admanager/answer/9012903 (accessed March 30, 2022) (n=1053).
202
   Google, “Cookie matching,” https://developers.google.com/authorized-buyers/rtb/cookie-guide (accessed March
7, 2022).


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well with third-party data providers (e.g., BlueKai). Knowing the other site’s cookie for this user
as well as their own enables users to be individually tracked across more than one site.

       Because a browser will only send a cookie to the site to which it points (e.g., the New York
Times cookie will only be sent with requests to nytimes.com pages), Google has developed a
system to track users across non-Google sites. This system is easier to explain with an example.
Assume Bidder A had an extremely low bid on Google’s ad exchange. Also assume that this low
bid is the result of Google not having a cookie match between Google and Bidder A. As a result,
Bidder A was missing all of its user targeting signals; that is, it didn’t know who the user was.
However, Bidder B had a cookie match, knew more about the user, was able to target the user,
and won the auction. In the future, Google would like to receive higher bids from Bidder A,
because greater competition between the bidders increases the cost of the ad and the revenue to
Google. To make this happen, Google adds an invisible pixel (a 1-pixel by 1-pixel colorless
image) to Bidder B’s ad when it is injected onto the publisher’s page. That pixel is called a
match tag. That match tag includes a link to Bidder A’s cookie domain. Also in that link is an
encrypted version of Google’s cookie. Thus, the browser will attach the user’s cookie for Bidder
A to the request (as the link is for that domain) as well as Google’s own cookie. Bidder A will
then redirect to Google’s cookie matching URL. Thus, without the user ever going to Bidder A’s
site, or even knowing that Bidder A exists, Google has matched Bidder A’s cookie and Google’s
cookie.203 Google can then use this matching to give Bidder A better user information the next
time a cookie auction occurs.

       This is depicted in Google’s documentation:204




     Google stores all of this information in something called a match table: a table that
matches the Google cookie, or Google User ID, to the cookie of all participating websites or

203
  Google, “Cookie matching: Google match tag request parameters,” https://developers.google.com/authorized-
buyers/rtb/cookie-guide (accessed March 7, 2022).
204
   Google, “Cookie matching,” https://developers.google.com/authorized-buyers/rtb/cookie-guide (accessed March
7, 2022).


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domains on the Internet. Google explains this in its own documentation: “A match table can be
used to map an ID or other data from one domain to another. Bidders can use the Cookie
Matching Service to populate their own match tables by mapping their cookie for a given user to
the user’s Google User ID, or to populate a match table hosted by Google. Match tables are
necessary for a bidder’s bidder application to access cookie data for the user being shown the
impression.”205

       While it is evident that Google can track a single user across many sites, what takes this
process to another level is Google’s ability to track a single user across his or her multiple
devices: computers, phones, tablets, and such. Unlike cookie matching, Google does not disclose
much about how match tables or cross-device targeting actually work. However, the help
documentation makes it quite clear that Google Ad’s Analytics tools readily enable viewing of
cross-device tracking reports. These reports can show “that one segment of users searches on a
mobile device and purchases on a tablet within the same day, while another segment clicks an ad
on a mobile device, browses your site on a desktop the next day, and returns to make a purchase
on a tablet a week later.”206

      Google does not publicly disclose how it does cross-device targeting, but it has expended
much effort in implementing it.207 In a 2016 blog post, the company’s Vice President of Display
and Video Advertising announced the introduction of “cross-device remarketing for Google
Display Network and DoubleClick Bid Manager to help [advertisers] reach the same user across
devices, apps, and sites.” This new feature, he explained, was intended to “help brands close the
loop for measurement, reach and engagement.”208

      In the event that a user enters Incognito mode with a clean cookie cache, that user will
purportedly be “new” to Google services. Google’s documentation says: “In Incognito, none of
your browsing history, cookies and site data, or information entered in forms are saved on your
device. This means your activity doesn’t show up in your Chrome browser history, so people
who also use your device won’t see your activity. Websites see you as a new user and won’t
know who you are, as long as you don’t sign in.”209




205
   Google, “Cookie matching: Match tables,” https://developers.google.com/authorized-buyers/rtb/cookie-
guide#match-tables (accessed March 7, 2022).
206
   Google, “About the Cross Device reports,”
https://support.google.com/analytics/answer/3234673?hl=en&ref_topic=3276066 (accessed March 7, 2022).
207
   See, e.g., GOOG-BRWN-00426118 (2015 discussion of Google Analytics + DoubleClick, mentions ability of
cross-device tracking); GOOG-CABR-04760571 (2016 discussion of Google Analytics Cross-Device strategy);
GOOG-CABR-04081967 (2018                Google Analytics Cross-Device Conversion Export to Ads).
208
    Brad Bender, “New digital innovations to close the loop for advertisers,” Google Ads & Commerce Blog,
https://www.blog.google/products/ads/new-digital-innovations-to-close-the-loop-for-advertisers (September 26,
2016).
209
   Google, “How Chrome Incognito keeps your browsing private,”
https://support.google.com/chrome/answer/9845881?hl=en (accessed March 7, 2022).


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      Yet, as noted below, Google employees have admitted that Incognito data can be joined to
a user’s regular browsing data, including by way of the IP address and user agent string.210 This
is completely inconsistent with the popular meaning of “incognito”: to not be identifiable.

      While Google can present cookie tracking as a necessary part of the Internet, this is simply
not the case. In fact, there exists a widely proposed protocol (supported in every major browser,
including Chrome) called “Do Not Track.” This is a signal that can be sent in an HTTP header to
a website, asking that the site to not to track this user, browser, or request. Chrome has this
feature, which is buried within the settings menu, and is turned off by default.211 Any sensible
“incognito” or truly “private” mode would enable this feature by default. For example, other
browsers that explicitly support user privacy, such as the Brave browser, make this setting much
more accessible and in some cases even actively prompt users to turn it on. The “Do Not Track”
signal could be used by Google’s own internal processes to understand when to stop cookie
matching, fingerprinting, and other tracking mechanisms from occurring.

        9. User Risks Caused by Google’s Data Collection
            9.1.   Google Shares Data with Others

       Although Google promises that “we never sell your data to anyone,” the company “shares”
data with its advertising customers, who pay for access to its advertising technology; that is, they
exchange information in the context of a fee-for-service relationship.212 This renders the
distinction between “share” and “sell” meaningless.

       In an undated document on “2020 Privacy Strategy,” a Google employee recommended
that the company “Make the changes in existing services needed to go from ‘we never sell your
data’ to ‘we never share your personal information without your permission.’”213

      In a January 2021 email from Google’s Chief Marketing Officer, Lorraine Twohill, to
CEO Pichai and others, Twohill wrote that        of users believe we sell their data. We need to
do more to communicate to them in-product that their data is never sold and never shared
without their permission.” However, “without their permission” means little if users must
consent wholesale to terms of service and privacy policies that assert the right to share their data
in order to simply use the browser.214

            9.2.   Users Face Risks from Google Joining Disparate Data Sets

       Google has not taken steps to ensure that a user’s choice to sign out of a Google account
will prevent Google from associating the user’s signed-out activity with any signed-in data. The

210
      GOOG-CABR-00501220
211
   Google, “Turn ‘Do Not Track’ on or off,” https://support.google.com/chrome/answer/2790761 (accessed March
8, 2022).
212
      GOOG-CABR-04707982 at -987
213
      GOOG-BRWN-00843328
214
      GOOG-BRWN-00406065


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cookies that Google collects “span signed in and signed out sessions,” allowing Google to
“connect the dots even if [it] can’t write data to a person’s account.”215 And even if Google is not
building user profiles across signed-in and signed-out data, Google’s decision to collect and log
this data creates the potential for data to be joined in this way.216 For example, Google’s storage
of unique identifiers and IP addresses together in logs introduces a risk that data from a users’
private browsing will be joined with a user’s signed-in data.217

     According to internal Google documents, over                          people use Chrome Incognito
mode “every week.”218

       Google employees admit that Google “log[s] all user activities in incognito mode server-
side, and that is more or less linkable to users signed-in data.”219

            9.3.   Google Has a History of Data Breaches

      In late 2009, hackers from the People’s Republic of China exploited an intercept system
Google had incorporated into Gmail in order to comply with US government surveillance
requests. Malware installed on Google’s systems communicated with a server configured to
receive exfiltrated data from Google and at least thirty-three other companies. According to
Google, the hackers sought access to the Gmail accounts of human rights activists focused on the
PRC. Further investigation found that the attack, dubbed “Aurora,” was a state-sponsored
counterespionage operation.220

      In 2020, Awake Security uncovered hundreds of malicious Chrome extensions available
on the Chrome Web Store that were capable of taking screenshots, reading a user’s clipboard,
harvesting credential tokens, and recording user keystrokes (including passwords). All of these
extensions were associated with a single registrar, GalComm. Google did subsequently work
with the researchers to remove these extensions; it is nonetheless concerning that Google
allowed these extensions to be on the Chrome Web Store in the first place.221




215
      GOOG-BRWN-00060463
216
      GOOG-CABR-00358713
217
      GOOG-BRWN-00386570; GOOG-BRWN-00613801; GOOG-BRWN-00386402; GOOG-CABR-00799341
218
      GOOG-BRWN-00422777
219
      GOOG-BRWN-00701189
220
   Kim Zetter, “Google hackers targeted source code of more than 30 companies,” Wired,
https://www.wired.com/2010/01/google-hack-attack (January 13, 2010).
Mathew J. Schwartz, “Google Aurora hack was Chinese counterespionage operation,” Dark Reading,
https://www.darkreading.com/attacks-breaches/google-aurora-hack-was-chinese-counterespionage-operation (May
21, 2013).
221
   Awake Security, “The internet’s new arms dealers: Malicious domain registrars,”
https://awakesecurity.com/blog/the-internets-new-arms-dealers-malicious-domain-registrars (June 16, 2020).


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      In 2021, TikTok bypassed safeguards built into the Android operating system in order to
collect users’ unique mobile device identifiers so that it could surreptitiously track them online,
regardless of the users’ privacy choices. Google banned the practice after discovering it.222

      As these examples show, no computer security system is perfect. Even the best systems
have a failure rate, so it is important for data processors such as Google to collect data
parsimoniously, to provide users with accurate disclosures, and to provide easily understood
privacy controls. Such measures can mitigate the harm when an inevitable security breach
occurs.

       Given its size, Google (and its users) are especially at risk. As noted above, Google has
twenty-three data centers around the world, but does not publicly disclose its exact search
volume or the total amount of data it stores—either cloud-stored data belonging to its users, or
data about its users obtained through their web activity. It has been reported that Apple alone
stores eight million terabytes of data on Google’s servers.223 The absence of statistics from
Google notwithstanding, it is nonetheless safe to say that Google’s size renders it a tempting
target for malicious actors.

      Internal communications reveal that Google employees recognize the risk of Google’s data
collection and storage of vast troves of user data. In considering Google’s practice of logging all
user activities in Incognito mode server-side, one employee commented on the risk to users “if
Google turns evil” where the private browsing activity “is more or less linkable to users signed in
data”.224

            9.4.   Google Has a History of Privacy and Consent Failures

       In 2010, Google admitted that Google Street View cars had been engaged not only in
photography and cartography, but in collection of data—including personal online activity—
from home wireless networks. Speaking as if the company were a white-hat hacker, Google
representatives asserted that its faux pas illustrated the vulnerability of information stored on
private networks.225 In 2012, researchers from Stanford University discovered that Google had
intentionally circumvented the Safari browser’s default third-party cookie blocker, thereby
negating the choice of Safari users not to have their online activity monitored—a practice that




222
   Kevin Poulsen and Robert McMillan, “TikTok tracked user data using tactic banned by Google,” Wall Street
Journal, https://www.wsj.com/articles/tiktok-tracked-user-data-using-tactic-banned-by-google-11597176738
(August 11, 2020).
223
  Joe Rossignol, “Apple reportedly storing over 8 million terabytes of iCloud data on Google servers,”
MacRumors, https://www.macrumors.com/2021/06/29/icloud-data-stored-on-google-cloud-increasing (June 29,
2021).
224
      GOOG-BRWN-00701189
225
   Jemima Kiss, “Google admits collecting Wi-Fi data through Street View cars,” The Guardian,
https://www.theguardian.com/technology/2010/may/15/google-admits-storing-private-data (May 15, 2010).


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violated a prior FTC consent order. A new FTC investigation sparked by the discovery led to a
$22.5 million fine.226

       In July 2017, the UK Information Commissioner ruled that the Royal Free Hospital had
failed to comply with the Data Protection Act during its transfer of personal data of 1.6 million
patients to Google subsidiary DeepMind for the development of Streams, an app intended to
detect kidney injury. Although DeepMind was not held formally responsible for the violation,
representatives acknowledged that their entire focus had been on “building tools that nurses and
doctors wanted,” with little consideration for accountability “to patients, the public and the NHS
as a whole.”227 The Streams app was adopted by numerous NHS trusts, but its use was eventually
discontinued by all but the Royal Free Hospital, and the project was halted altogether in August
2021.228

       Google has demonstrated that it cannot be trusted to disclose in a timely manner its own
failure to protect users’ privacy. In October 2018, the Wall Street Journal reported that private
user data from the Google+ social network had been accessible to outside developers for three
years, from 2015 to 2018; vulnerable data included 500,000 users’ full names, email addresses,
birth dates, gender, profile photos, places lived, occupation and relationship status. Outside
developers using Google’s application programming interface (API) were also able to access
user data designated as nonpublic, including their friends’ profiles. Although Google estimated
that over 400 applications had access to this nonpublic data, it did not contact any of those
applications’ developers to determine whether they had made use of it. Google disabled this
feature after discovering it, but chose not to notify users for fear of damaging the company’s
reputation and attracting the scrutiny of government regulators.229

      After the October 2018 discovery, Google decided to shut down Google+ by August 2019.
However, two months later, the company disclosed a second bug that had permitted the profile
information of 52.5 million users—even from profiles set to private—to be exposed to outside
developers via one of Google’s APIs.230

226
   US Federal Trade Commission, “Google will pay $22.5 million to settle FTC charges it misrepresented privacy
assurances to users of Apple’s Safari internet browser,” https://www.ftc.gov/news-events/press-
releases/2012/08/google-will-pay-225-million-settle-ftc-charges-it-misrepresented (August 9, 2012).
227
   Alex Hern, “Royal Free breached UK data law in 1.6m patient deal with Google’s DeepMind,” The Guardian,
https://www.theguardian.com/technology/2017/jul/03/google-deepmind-16m-patient-royal-free-deal-data-
protection-act (July 3, 2017).
228
   Natasha Lomas, “Google confirms it’s pulling the plug on Streams, its UK clinician support app,” TechCrunch,
https://techcrunch.com/2021/08/26/google-confirms-its-pulling-the-plug-on-streams-its-uk-clinician-support-app
(August 26, 2021).
229
   Douglas MacMillan and Robert McMillan, “Google exposed user data, feared repercussions of disclosing to
public.” Wall Street Journal. https://www.wsj.com/articles/google-exposed-user-data-feared-repercussions-of-
disclosing-to-public-1539017194 (October 8, 2018).
230
    David Thacker, “Expediting changes to Google+.” The Keyword, https://www.blog.google/technology/safety-
security/expediting-changes-google-plus (December 10, 2018).
Jillian D’Onofro, “Google is shutting down its Plus social network sooner than expected after discovering a second
security bug,” CNBC, https://www.cnbc.com/2018/12/10/google-shutting-down-social-network-sooner-because-of-
new-security-bug.html (December 10, 2018).


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       A 2018 Associated Press investigation found that many Google services on Android
devices and iPhones continuously store location data regardless of user privacy settings that
disallow it. Although Google responded to the findings by asserting that users have control over
location settings in all the various tools that use them, the average user without a technical
education cannot be expected to recognize that the “Turn Off Location History” option only
affects a subset of applications, and that their location history continues to be stored by other
applications. In some cases, detailed descriptions of Google’s use of Location History were only
displayed to users in popups that appeared when users paused collection of Location History or
reactivated the Web and App Activity setting.231

       Three days after publication of the Associated Press exposé on the persistence of Google
location tracking, the company revised its help page for Location History settings, removing
“With Location History off, the places you go are no longer stored” and adding “This setting
does not affect other location services on your device” and “Some location data may be saved as
part of your activity on other services, like Search and Maps.”232

       In September 2019, Google and its subsidiary YouTube entered into a settlement with the
FTC over allegations that the companies had illegally collected personal information from
children—including cookies used to track their browsing—and served them with behaviorally
targeted advertising without their parents’ consent. Fines totaling $170 million were assessed, the
largest penalty ever levied under the Children’s Online Privacy Protection Act since its
inception.233

       In February 2019, users of Google’s Nest security devices were shocked to learn that they
contained an undisclosed microphone. Although purportedly included in order to detect
intrusions, breaking glass, and the like, the microphones, whether inadvertently or deliberately
activated, could also record and play back private conversations and the sounds of sexual
activity.234

      In mid-2019, an investigation by Dutch broadcaster VRT found that Google Home “smart
speakers” were recording audio in users’ homes even when the speakers weren’t deliberately
activated, and were passing those recordings along to contractors tasked with helping to improve
the company’s speech recognition technology. When called to account for this invasion of
customers’ privacy, Google representatives replied that users could simply turn the microphone



231
   Ryan Nakashima, “Google tracks your movements, like it or not,” Associated Press,
https://apnews.com/article/north-america-science-technology-business-ap-top-news-
828aefab64d4411bac257a07c1af0ecb (August 13, 2018).
232
   Ryan Nakashima, “Google clarifies location-tracking policy,” Associated Press,
https://www.apnews.com/ef95c6a91eeb4d8e9dda9cad887bf211 (August 16, 2018).
233
   US Federal Trade Commission, “Google and YouTube will pay record $170 million for alleged violations of
children’s privacy law,” https://www.ftc.gov/news-events/press-releases/2019/09/google-youtube-will-pay-record-
170-million-alleged-violations (September 4, 2019).
234
   Nick Bastone, “Google says the built-in microphone it never told Nest users about was ‘never supposed to be a
secret’,” Business Insider, https://www.businessinsider.com/nest-microphone-was-never-supposed-to-be-a-secret-
2019-2 (February 19, 2019).


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off, even though they were required to opt in to voice recording in order to access Google
Home’s features.235

       In November 2019, the Wall Street Journal published an investigative report on Google’s
theretofore-secret “Project Nightingale,” in which the company sought access to the healthcare
data of millions of Americans in twenty-one states—data that included patient names and dates
of birth, lab results, diagnoses, and medication and hospitalization records, comprising an entire
personal health record. The project began as a collaboration with the Ascension hospital chain,
but neither doctors nor patients were informed of it, and were therefore unaware of the fact that
the non-anonymized medical records were available for review by Google staffers.236

      In 2021, Google entered into an agreement with Nashville-based HCA Healthcare to
consolidate and store patients’ medical records and data from their medical devices. Dr. Michelle
Mello, an adviser to Alphabet subsidiary Verily Life Sciences, acknowledged that records
purportedly stripped of identifying information could nonetheless be combined with other data in
a manner that enabled patients to be personally identified.237

      In response to news of the Google–HCA deal, medical ethicist Dr. Arthur Kaplan
expressed deep concern about the appropriateness of giving Google access to personal medical
records, and called for updating US laws to strengthen privacy protection and mandate informed
consent from patients whose records are accessed.238

      In a March 2021 blog post announcing Google’s intention to remove support for third-
party cookies, Google’s Director of Product Management cited to the findings of a Pew Research
Center study that “72% of people feel that almost all of what they do online is being tracked by
advertisers, technology firms or other companies”—a reality accelerated by Google’s own
ambitious efforts.239 Three months later, Google clarified that new technologies for ad delivery
235
   Joshua Bote, “Google workers are eavesdropping on your private conversations via its smart speakers.” USA
Today, https://www.usatoday.com/story/tech/2019/07/11/google-home-smart-speakers-employees-listen-
conversations/1702205001 (July 11, 2019).
236
   Rob Copeland, “Google’s ‘Project Nightingale’ gathers personal health data on millions of Americans,” Wall
Street Journal, https://www.wsj.com/articles/google-s-secret-project-nightingale-gathers-personal-health-data-on-
millions-of-americans-11573496790 (November 11, 2019).
Rob Copeland and Sarah E. Needleman, “Google’s ‘Project Nightingale’ triggers federal inquiry,” Wall Street
Journal, https://www.wsj.com/articles/behind-googles-project-nightingale-a-health-data-gold-mine-of-50-million-
patients-11573571867 (November 13, 2019).
Rob Copeland, Dana Mattioli and Melanie Evans, “Inside Google’s quest for millions of medical records,” Wall
Street Journal, https://www.wsj.com/articles/paging-dr-google-how-the-tech-giant-is-laying-claim-to-health-data-
11578719700 (January 11, 2020).
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   Melanie Evans, “Google strikes deal with hospital chain to develop healthcare algorithms,” Wall Street Journal,
https://www.wsj.com/articles/google-strikes-deal-with-hospital-chain-to-develop-healthcare-algorithms-
11622030401 (May 26, 2021).
238
   Emily DeCiccio, “Privacy laws need updating after Google deal with HCA Healthcare, medical ethics professor
says,” CNBC, https://www.cnbc.com/2021/05/26/privacy-laws-need-updating-after-google-deal-with-hca-
healthcare-medical-ethics-professor-says.html (May 26, 2021).
239
   David Temkin, “Google charts a course towards a more privacy-first web,” Google Ads and Commerce Blog,
https://blog.google/products/ads-commerce/a-more-privacy-first-web (March 3, 2021).


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and measurement would be rolled out in late 2022, and that third-party cookies would be phased
out entirely in the latter half of 2023.

       Simultaneously with these announcements, Google launched a trial of a new feature,
Federated Learning of Cohorts (FLoC), intended to replace third-party cookies. FLoC
algorithmically sorted users into interest-based groups, based on their browsing history, for
purposes of ad targeting. With the implementation of FLoC, it was planned that rather than
allowing third parties to track Chrome users, Chrome would do the tracking.240 Shortly
thereafter, security researcher Lukasz Olejnik discovered a flaw in FLoC whereby information
was conveyed to websites about whether or not a user was employing Incognito mode.241 Up to
5% of Chrome users were enrolled in FLoC’s origin trial without Google having sought or
received their consent.242

       In January 2022, Google announced that it was abandoning plans to institute FLoC in
favor of a new advertising system called “Topics,” in which human curators (rather than
algorithms) would sort users into interest groups based on their browsing history.243 Chrome 94,
introduced in September 2021, was the first version to enable “idle detection”—that is, developer
queries regarding periods of device inactivity, which could be used to ascertain users’ physical
behavior, such as mealtimes and break times.244 Chrome 99, released in March 2022, still has
this feature.

       Although Google employees and others involved in the web development, advertising, and
software industries might assume that mechanisms of online tracking are a routine, ordinary part
of life simply because they have become so prevalent and profitable, it is less likely that the
general population would think that it is any more acceptable to be continuously, automatically
tracked by unseen technologies than it would be to be tracked by flesh-and-blood parties.

       All of these failures by Google to safeguard users’ information underscores the importance
of offering a browsing option in which Google does not collect any information, and explains


240
   Gilad Edelman, “Google and the age of privacy theater,” Wired, https://www.wired.com/story/google-floc-age-
privacy-theater (March 18, 2021).
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  Thomas Claburn, “Google’s ‘privacy-first’ ad tech FLoC squawks when Chrome goes Incognito, says expert.
Web giant disagrees,” The Register, https://www.theregister.com/2021/03/15/google_floc_chrome_incognito
(March 15, 2021).
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  Bennett Cyphers, “Google is testing its controversial new ad targeting tech in millions of browsers. Here’s what
we know,” Electronic Frontier Foundation, https://www.eff.org/deeplinks/2021/03/google-testing-its-controversial-
new-ad-targeting-tech-millions-browsers-heres (March 30, 2021).
Zak Doffman, “Google’s latest tracking nightmare for Chrome comes in two parts,” Forbes,
https://www.Forbes.com/sites/zakdoffman/2021/10/02/stop-using-google-chrome-on-windows-10-android-and-
apple-iphones-ipads-and-macs/?sh=4fcde6092f30 (October 2, 2021).
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   Daisuke Wakabayashi, Kate Conger and Brian X. Chen, “Google introduces a new system for tracking Chrome
browser users,” New York Times, https://www.nytimes.com/2022/01/25/business/google-topics-chrome-
tracking.html (January 25, 2022).
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   Dave LeClair, “Mozilla says Chrome’s latest feature enables surveillance,” How-To Geek,
https://www.howtogeek.com/756338/mozilla-says-chromes-latest-feature-enables-surveillance (September 21,
2021).


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why users would desire and seek to take advantage of the promises that Google made about
private browsing mode.

        10. User Control over Google Tracking and Collection
              10.1. Google’s Notice and Consent Procedures Are Inadequate

       In The New Digital Age, Eric Schmidt and Jared Cohen stated that, “People have a
responsibility as consumers and individuals to read a company’s policies and positions on
privacy and security before they willingly share information,” and shortly thereafter predicted
that technology companies will “also have to hire more lawyers.”245

      As Google staffers have admitted internally, Google’s Privacy Policy is “hard to
understand.”246 “People frequently misunderstand private browsing/Incognito,” one wrote, and
another, “these false expectations are often reinforced by the disclosures themselves.”247

       To test the reasonability of Schmidt and Cohen’s concept of Google users’ responsibility
to read—and presumably understand—every word of every version of every document that
might apply to their use of Google Chrome, I input the texts of three Google policies into an
online readability calculator at https://www.online-
utility.org/english/readability_test_and_improve.jsp. (Readability calculators are a common tool
to test the readability of documentation.) This readability calculator applies several readability
measures—that is, mathematical formulae—that are commonly used to evaluate the
comprehensibility of technical documentation, medical writing and other complex public
communications. The Coleman-Liau Index,248 Flesch Kincaid Grade Level,249 Automated
Readability Index,250 SMOG (Simple Measure of Gobbledygook),251 and Gunning-Fog Index,252
estimate the US grade level required to comprehend a text; the Flesch Reading Ease uses a scale
of 1–100.253 “Lexical density” is a measure of the structure and complexity of a text.254




245
      Eric Schmidt and Jared Cohen, The New Digital Age, Knopf (2013), pp. 65, 66.
246
      GOOG-BRWN-00405069
247
      GOOG-BRWN-00567843
248
  Wikipedia, “Coleman-Liau index,” https://en.wikipedia.org/wiki/Coleman%E2%80%93Liau_index (accessed
March 9, 2022).
249
   Wikipedia, “Flesch-Kincaid readability tests,”
https://en.wikipedia.org/wiki/Flesch%E2%80%93Kincaid_readability_tests (accessed March 9, 2022).
250
  Wikipedia, “Automated readability index,” https://en.wikipedia.org/wiki/Automated_readability_index (accessed
March 9, 2022).
251
      Wikipedia, “SMOG,” https://en.wikipedia.org/wiki/SMOG (accessed March 9, 2022).
252
      Wikipedia, “Gunning fog index,” https://en.wikipedia.org/wiki/Gunning_fog_index (accessed March 9, 2022).
253
   Wikipedia, “Flesch-Kincaid readability tests,”
https://en.wikipedia.org/wiki/Flesch%E2%80%93Kincaid_readability_tests (accessed March 9, 2022).
254
      Wikipedia, “Lexical density,” https://en.wikipedia.org/wiki/Lexical_density (accessed March 9, 2022).


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       Google’s April 14, 2014 Terms of Service, March 15, 2016 Privacy Policy, and September
1, 2015 Chrome Privacy Notice, are the policies that were in force at the beginning of the class
period. (Appendix 3 to this report contains the results of readability tests for all of the versions of
these three Google policies from the beginning of the class period through March 2022, and
information on the various formulae used.) Their readability results:

Google Terms of Service (April 14, 2014)
Number of characters (without spaces)              9,347.00
Number of words                                    1,920.00
Number of sentences                                99.00
Lexical Density                                    49.90
Average number of characters per word              4.87
Average number of syllables per word               1.71
Average number of words per sentence               19.39
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                  12.24
Approximate representation of the U.S. grade level needed to comprehend the text
Coleman Liau index                                 11.33
Flesch Kincaid Grade level                         12.14
ARI (Automated Readability Index)                  11.20
SMOG                                               13.56
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read
Flesch Reading Ease                                42.54




Google Privacy Policy (March 25, 2016)
Number of characters (without spaces)              19,867.00
Number of words                                    3,912.00
Number of sentences                                188.00
Lexical Density                                    53.43
Average number of characters per word              5.08
Average number of syllables per word               1.76
Average number of words per sentence               20.81
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                  14.01
Approximate representation of the U.S. grade level needed to comprehend the text
Coleman Liau index                                 12.67
Flesch Kincaid Grade level                         13.32
ARI (Automated Readability Index)                  12.89
SMOG                                               13.89
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read
Flesch Reading Ease                                36.63

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Google Chrome Privacy Notice (September 1, 2015)
Number of characters (without spaces)              19,611.00
Number of words                                    4,001.00
Number of sentences                                165.00
Lexical Density                                    54.71
Average number of characters per word              4.90
Average number of syllables per word               1.66
Average number of words per sentence               24.25
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                  14.05
Approximate representation of the U.S. grade level needed to comprehend the text
Coleman Liau index                                 11.83
Flesch Kincaid Grade level                         13.43
ARI (Automated Readability Index)                  13.78
SMOG                                               13.66
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read
Flesch Reading Ease                                41.97


      In sum, the three documents that form the backbone of Google’s notification to Chrome
users of its privacy policies are long, dense, and hard to read. The Privacy Policy, in particular,
requires the user to have at least some college education to easily understand on the first reading.

      According to the Pew Research Center, in 2021, 93% of adults in the United States use the
Internet, including 86% of high school graduates or adults without a high school diploma.255
Presumably, a great many of these adults use Google services, including Google Chrome.

      From the beginning of the class period to March 2022, Google has issued a total of 42
versions of these three documents:

          Terms of Service: Four versions between April 14, 2014 and January 25, 2022 (total
           11,335 words);
          Privacy Policy: Eighteen versions between March 25, 2016 and February 10, 2022 (total
           112,825 words); and
          Chrome Privacy Notice: Twenty versions between September 1, 2015 and January 15,
           2021 (total 85,013 words).



255
   Pew Research Center, “Internet/broadband fact sheet,” https://www.pewresearch.org/internet/fact-sheet/internet-
broadband (April 7, 2021).


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      The total word count of all of the versions of these documents in force during the class
period exceeds 209,000 words, which translates to over 418 pages of single-spaced or 836 pages
of double-spaced text, with an estimated reading time of nearly 700 minutes—that is, over eleven
hours.256 Of course, this estimated reading time assumes that the reader is capable of
comprehending the text, which in many cases is unlikely, unless that reader happens to be an
attorney.

      Often, the time span between revisions of these policies has been quite short, with as many
as four revisions issued in the space of a year. Take, for example, revisions of the Privacy Policy:

            Revised June 28, 2016, then again eight weeks later, on August 29, 2016;
            Revised March 1, 2017, then about six weeks later on April 17, 2017;
            Revised October 15, 2019, then eight weeks later on December 19, 2019;
            Revised July 1, 2020, then eight weeks later on August 28, 2020, then four weeks later on
             September 30, 2020.

            The Chrome Privacy Notice also undergoes frequent changes:

            Revised June 21, 2016, then five weeks later on August 30, 2016;
            Revised October 11, 2016, then six weeks later on November 30, 2016;
            Revised January 24, 2017, then five weeks later on March 7, 2017, then six weeks later
             on April 25, 2017;
            Revised September 24, 2018, then four weeks later on October 24, 2018, then six weeks
             later on December 4, 2018;
            Revised January 30, 2019, then six weeks later on March 12, 2019.

       The many versions of these documents notwithstanding, their readability has not improved
over time; in fact, over the course of the class period, the readability scores of the Terms of
Service and Privacy Policy have deteriorated:

            The April 14, 2014, Google Terms of Service had a Flesch Reading Ease score of
             42.54—that is, difficult to read. This particular score dropped with each successive
             version, with the January 25, 2022 version weighing in at 31.21—that is, very difficult to
             read.
            The March 25, 2016, Google Privacy Policy has a Flesch Reading Ease score of 36.63—
             that is, difficult to read; the February 10, 2022 version has a score of 27.21—that is, very
             difficult to read.
            The September 1, 2015, Chrome Privacy Notice had a Flesch Reading Ease score of
             41.97—that is, difficult to read; the September 23, 2021 version is only marginally more
             readable, with a Flesch Reading Ease score of 48.10. 257


256
  Capitalize My Title, “How many pages is 209,000 words?” https://capitalizemytitle.com/page-count/209000-
words (accessed March 9, 2022).
257
      See Appendix 3 for complete readability test results for these documents.


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      In addition to the text, each of these three Google policy documents (including those in
force during the period at issue in this action) contain numerous links to other pages on Google’s
website, which direct users to other notices pertaining to specific Google services, including
Chrome.

              10.2. Google Promises Users Control

      Google has positioned itself as a champion of privacy, declaring that “what’s private is
private, and the government should respect that”—while Google at the same time profits
immensely from the collection of data on private citizens.258

      Google promises control. The first two sentences of the current Google Privacy Policy are
“When you use our services, you’re trusting us with your information. We understand this is a
big responsibility and work hard to protect your information and put you in control.”259 This
promise to “put you in control” is part of Google’s efforts to assure people that they have control,
including over Google’s collection, storage, and use of “your information.” Furthermore, the
Privacy Policy provides that “We will not reduce your rights under this Privacy Policy without
your explicit consent.”

       A similar focus exists in Google’s “privacy and security principles” where Google’s first
principle states, “Respect our users. Respect their privacy.”260 The principles describe how
people should be able to “access and review their data” and “delete it entirely” and “make it easy
for people to control their privacy”—proclaiming that “privacy is always an individual choice
that belongs to the user.”

      Google’s efforts to feature “control” as one of the core principles for Google, both in its
privacy policy and other public-facing documents, creates certain user expectations—including
that Google respects user choices, and that users have the ability to stop Google’s collection,
storage, and use of their data.

      Google also represents to website publishers that Google respects user choices. The
Analytics help page, “Safeguarding your data,” cites to the company’s “commitment to
protecting the confidentiality and security of data,” and links to the Google Privacy Policy.261
Users are told that the policy “describes how we treat personal information when you use
Google’s products and services, including Google Analytics,” and details the methods by which
users may “adjust [their] privacy settings to control what we collect and how [their] information
is used.” Under Google’s Privacy Policy, neither Google nor websites featuring Google services
may gather information in a manner that thwarts users’ privacy choices, including when they are
browsing in Incognito mode.

258
   Google, “Real surveillance reform: What’s private is private, and the government should respect that,”
https://www.google.com/takeaction/issue/surveillance (first archived October 3, 2015).
259
      Google, “Privacy policy,” https://policies.google.com/privacy?hl=en-US (February 10, 2022).
260
  Google, “Our privacy and security principles,” https://safety.google/principles/?hl=en_US (first archived June 5,
2020).
261
  Google, “Safeguarding your data,” https://support.google.com/analytics/answer/6004245 (accessed March 7,
2022).


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      Google has repeatedly touted its efforts to make its records of individual users’ activity
available to them and subject to their control. The “My Activity” page displays a user’s search
history, browsing history, and history of videos watched on YouTube.262 The “Takeout” page
enables signed-in users to download a file containing emails, ad clicks, location, uploaded
documents, and physical activity data.263 The implication of providing these features is that the
data expressly associated with a user’s account is all the data that Google has for that user. This
reinforces the reasonable assumption that Google does not collect such data when users are not
logged in and browsing in Incognito mode.

      Paradoxically, when a user is logged out and is using Incognito’s “private browsing”
mode, they have no control over the data that Google collects about them. Logged out users do
not have access to Google’s privacy controls.

      A 2018 study by the Norwegian Consumer Council found that Google frequently
employed default settings that were preselected to the least privacy-friendly options.264 Settings
were often hidden or obscured so that they would never be seen by users who reflexively click
the “Agree” button without exploring their options. To read the full text of Google’s GDPR
popup required testers to scroll through screens of text. Agreeing with ad personalization took no
more than a click of a vivid, prominently placed blue button, whereas testers who wished to limit
the data collection required for ad personalization needed to take several steps to do so, including
proceeding to a different screen where no mention was made of the fact that ad personalization
was turned on by default.

       Testers who wished to disable ad personalization were directed to Google’s byzantine
“Privacy Dashboard,” which presented numerous settings over many different pages. At Privacy
Dashboard, authorizing personal data collection for the purpose of ad personalization was
described as “Make ads more relevant to you”; in contrast, testers who attempted to disable
personal data collection were confronted with warnings that “You’ll still see ads, but they’ll be
less useful to you.” Data collection was characterized as a positive option; opting out was met
with warnings that functionality of Google products and Android apps might be compromised.
“Nudging” tactics included warnings that disabling ad personalization might also disable users’
ability to “mute” ads, which could lead some users to fear that video advertisements might blare
away at their workplace if they didn’t click “Agree”—an understandable fear given the
commonly understood definition of “mute” as “to deaden, soften, or muffle the sound of (a
person or thing).”265 Google failed to explain in context its idiosyncratic definition of “mute” as
the ability to control ads that they see—a definition that has nothing to do with volume. Testers
had to navigate to a separate page to learn that.266 Testers who wished to delete their Location

262
      Google, “My activity,” https://myactivity.google.com (first archived June 28, 2016).
263
      Google, “Takeout,” https://takeout.google.com (accessed March 3, 2022).
264
   Forbrukerrådet (Norwegian Consumer Council), “Deceived by design: How tech companies use dark patterns to
discourage us from exercising our rights to privacy,” https://fil.forbrukerradet.no/wp-content/uploads/2018/06/2018-
06-27-deceived-by-design-final.pdf (June 27, 2018).
265
      Oxford English Dictionary Online, “Mute” (accessed March 7, 2022).
266
   Google, “Mute ads on sites that partner with Google,”
https://support.google.com/authorizedbuyers/answer/2695260?hl=en (accessed February 16, 2022).


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History were warned that “other apps” “may stop functioning properly,” with no explanation of
what this really means; if they insisted on proceeding with the deletion, they were confronted
with further warnings in red text, implying that the choice was a dangerous one.

       Google trumpets users’ ability to “take control of their data,” and claims that they may
“easily delete specific items or entire topics.” However, the Norwegian Consumer Council’s
Privacy Dashboard testers navigated through thirty to forty different links in their search for the
“delete all location data” option. Another page, vaguely titled named “My Activity,” allowed
bulk deletion of data. The testers found that separate controls were required to manage Google
Maps data and Google Location History. They were unable to locate any option to delete the
entire location history, only individual points, and found that deleting Google Maps data did not
delete their Location History. To do that, they resorted to Google search, which yielded a link to
the company’s support site; an additional tester discovered that the option to delete the entire
Location History was linked only from a small image of a trashcan.

      In sum, the Norwegian investigators found that “by giving users an overwhelming amount
of granular choices to micromanage, Google has designed a privacy dashboard that, according to
our analysis, actually discourages users from changing or taking control of the settings or delete
bulks of data.”267

      The conclusions of the Norwegian Consumer Council are echoed in at least two
presentations to Google’s CEO by Google employees. In an August 2019 presentation to Sundar
Pichai, Google staffers noted that Chrome’s “privacy-related controls are hidden in the advanced
section of settings and on subpages. They are overwhelming and difficult to understand.”268 This
point was reiterated in another presentation to Pichai, made in September 2019, in which
members of Google’s Chrome Trust and Safety team warned that Chrome’s third-party cookie
blocking controls were “very hidden,” and “too hard to find and understand.”269

             10.3. Giving Users Privacy Control Is Important for Google’s Brand, and
                   Getting/Keeping Users

      Privacy controls may result in Google receiving less data, and therefore making less
money, so Google is motivated to ensure that any privacy controls are difficult to navigate and
understand. At the same time, Google’s brand depends in part on Google being perceived as a
company that provides control—as promised and defined by Google.

      For years, Google scanned Gmail users’ emails to serve targeted advertising, but in June
2017, the company announced that it would end the practice—reportedly not so much out of




267
   Forbrukerrådet (Norwegian Consumer Council), “Deceived by design: How tech companies use dark patterns to
discourage us from exercising our rights to privacy,” https://fil.forbrukerradet.no/wp-content/uploads/2018/06/2018-
06-27-deceived-by-design-final.pdf (June 27, 2018).
268
      GOOG-CABR-05269678, cited in Mardini Tr. 365:15-366:6
269
      GOOG-CABR-00413949, p. 28


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concern for individual user privacy, but out of its desire to win the confidence and business of
large corporate customers.270

       The objective of being perceived as pro-privacy, including with Incognito, is reflected in
Google’s internal documents. For example, one internal presentation from 2019 notes,
“Incognito is a pillar of proof that we care about privacy.”271 In a 2019 slide deck entitled,
“Incognito in the context of our brand,” the author wrote that “referencing privacy tools in
general gives a positive impression of Google” where “Incognito mode is recognized as one of
the top tools to demonstrate that ‘Google respects your privacy.’”272 This was reiterated in a June
2020 slide deck for a discussion of strategy for the second half of 2020: “Incognito mode stood
out across all markets as one of the most impactful proof points for demonstrating Google
respects user privacy.”273 Yet another internal presentation created in 2021—after this litigation
was filed—states, “Incognito is perceived as Chrome’s top privacy brand.”274

       All of these Google promises, including its representation of Incognito as a “privacy tool,”
are a key part of the Google brand. Google’s SEC filings recognize that Google’s “business
depends on strong brands, and failing to maintain and enhance our brands would hurt our ability
to expand our base of users, advertisers, customers, content providers, and other partners.”275

       Google’s public relations on the subject of privacy notwithstanding, staffers have noted
that privacy is not the company’s strongest asset. An August 2021 slide deck entitled, “Privacy-
centric Competitive Analysis,” noted that “Chrome doesn’t seem to be competitive in the privacy
space specifically though, and does not promote any specific privacy features” whereas Apple
“has established a strong privacy story” and “Safari’s controls are driven by simplicity.”276

VI.       Private Browsing and Incognito Topics

        11. Private Browsing and User Control
            11.1. Users Want to Browse Privately

      As described above, the expansion of online data collection has been accompanied by
increasing public concern over the practice. A Google query for “‘avoid being tracked’ + online”
yields 513,000 results.

270
   Daisuke Wakabayashi, “Google will no longer scan Gmail for ad targeting,” New York Times,
https://www.nytimes.com/2017/06/23/technology/gmail-ads.html (June 23, 2017).
271
      GOOG-BRWN-00163550
272
      GOOG-BRWN-00156752
273
      GOOG-BRWN-00154707
274
      GOOG-BRWN-00050339
275
   Alphabet, “Form 10-K,” US Securities and Exchange Commission,
https://www.sec.gov/Archives/edgar/data/1652044/000165204421000010/goog-20201231.htm (December 31,
2020).
276
      GOOG-CABR-04487589


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      Users who choose private browsing modes not only seek to shield their activity from the
prying eyes of friends, family, and coworkers; they also reasonably expect to avoid the collection
and retention of personal data.

       In a 2019 internal Google slide deck entitled, “Incognito in the context of our brand,” the
author stated that, “People are driven to use this mode primarily because they want to limit what
others can see and dislike the idea of being ‘tracked.’”277 The author of another January 2019
slide deck acknowledged that “Users want to be able to browse the web without feeling as
though they are being tracked or having to sacrifice their privacy to do so.”278

       In a 2020 slide deck, the author noted that “users use Incognito mode mainly for sensitive
searches or for more privacy and security,” that “users are concerned about (Google) collecting
data in Incognito,” and that users incorrectly believe using a private mode “hides browsing
activity from Google.”279

             11.2. Users Want to Avoid Being Tracked

         Google maintained third-party cookie tracking by default in Incognito mode until mid-
2020,
                         .280

       Prior to Google’s launch of                management’s decision to maintain third-party
cookie tracking by default in Incognito took advantage of a status quo that benefited Google
revenues at the expense of user privacy. Google engineers’ proposals to readily enable blocking
of third-party cookies have been evaluated for their potential to affect the company’s revenue. As
early as July 2008—before the Chrome browser went live—one Google engineer recommended
“enabling third-party cookie blocking by default and matching Safari’s behavior exactly,” but
acknowledged the forces that would keep that from happening—“I realize that there are other
reasons why we’re not doing this (pressure from the ads team, for example).”281

       Google’s decision to block third-party cookies in Chrome came well over a decade after
the browser launched, and only after other browsers implemented this change. In June 2017,
Apple announced its Intelligent Tracking Protection (ITP), a feature for Safari that limited the
use of cookies for cross-site tracking by blocking third-party cookies after twenty-four hours of
inactivity and purging all cookies after thirty days.282 By March 2020—before Google began to




277
      GOOG-CABR-00128941
278
      GOOG-CABR-00111416
279
      GOOG-BRWN-00051239
280
      GOOG-BRWN-00182492, cited in Mardini Tr. 382:4-383:15
281
      GOOG-BRWN-00410076
282
   John Wilander, “Intelligent Tracking Prevention,” WebKit, https://webkit.org/blog/7675/intelligent-tracking-
prevention (June 5, 2017).


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roll out               for Incognito mode—Apple announced even stronger tracking protection
with a version of ITP that would block all cookies used in cross-site tracking by default.283

       By September 2019, other major browser developers had updated their browser features to
block many third-party cookies by default. In June 2019, Mozilla rolled out its Enhanced
Tracking Prevention feature for Firefox, which blocked by default cookies from known third-
party trackers when a user downloaded the Firefox browser.284 In June 2021, Mozilla also made
its Total Cookie Protection feature the default setting for all private browsing in Firefox.285 As a
result, the browser does not share any cookies between websites and blocks additional tracking
mechanisms, like tracking scripts and pixels, when a user is in Firefox’s private browsing
mode.286

       In May 2020, the               rollout precipitated a                                                     ”
effort within Google’s Ads department to ascertain “
           ”287                                                                                                —a
feature which, if implemented, would subvert one common goal of users who browse in
Incognito mode—to browse without having one’s activity monitored by Google and its
advertising customers.

      A July 2020 email discussing the launch of Chrome M83, which featured
default cookie blocking in Incognito, noted that      of our incognito users are now browsing
                                             289
the web with 3rd-party cookie-blocking on.”

       Google’s internal documents demonstrate that its staff have assessed the risk posed by its
own and its competitors’ implementation of third-party cookie blocking to Google’s market
share of private browsing, and to Google’s ability to accumulate and monetize data from users
who opt-in to privacy-protecting browser features.290 In a May 2020 discussion with colleagues,
a Chrome product manager offered her perspective on the
effort: “A dozen more analysts from Ads get added and start engaging with the Ads analysts we
have been talking with. Apparently, there were some other aspects that needed to be taken into
283
   Allison Schiff, “Safari enables full-on third-party cookie blocking by default (aka, no more workarounds ever),”
Adxchanger, https://www.adexchanger.com/online-advertising/safari-enables-full-on-third-party-cookie-blocking-
by-default-aka-no-more-workarounds-ever (March 24, 2020).
284
   Dave Camp, “Firefox now available with enhanced tracking protection by default plus updates to Facebook
Container, Firefox Monitor and Lockwise,” Mozilla Press Center, https://blog.mozilla.org/press/2019/06/firefox-
now-available-with-enhanced-tracking-protection-by-default-plus-updates-to-facebook-container-firefox-monitor-
and-lockwise (June 4, 2019).
285
   Arthur Edelstein, “Firefox 89 blocks cross-site cookie tracking by default in private browsing,” Mozilla Security
Blog, https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-browsing (June 1, 2021).
286
   Arthur Edelstein, “Firefox 89 blocks cross-site cookie tracking by default in private browsing,” Mozilla Security
Blog, https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-browsing (June 1, 2021).
287
      GOOG-CABR-05280888
288
      GOOG-CABR-05280888
289
      GOOG-BRWN-00230425
290
      GOOG-CABR-04487589


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consideration.” Another staffer wrote that the revenue impact analysis “continues to feel fairly
solid, however, there was one flag raised that due to an unprecedented growth of conversion
based on auto-bidding the number might be              .’” The first author replied, “It’s not clear to
me whether Ads will then ask us to roll back to               [from the original
rollout to    of users] if they deem the revenue impact unacceptable.”291 In another internal
Google email, a Chrome product manager observed that “the Ads team analysts have estimated
the impact on revenue [of enhanced third-party cookie blocking in Incognito] to be around 216
                   , per year, with Desktop’s share being about                            and
                                                292
Android’s being about                         .” These numbers pertained only to the potential
impact of Incognito cookie-blocking on search ads; estimates of potential lost revenue that
encompassed search ads, YouTube ads and display ads, ranged from                                   .293

      Following Apple’s 2017 introduction of ITP, Google employees were assigned to both
analyze the extent to which the company’s bottom line would suffer as a result, and develop
alternative ways to gather data from users who choose to block third-party cookies. These
alternatives included storing the Google Click ID used by AdWords customers “in a new first
party Google Analytics cookie” instead of relying on third-party cookies for serving ads and
tracking and measuring users’ online activity.294

       Google’s explainer, “How Private Browsing Works in Chrome,” now states: “You can
choose to block third-party cookies when you open a new incognito window.”295 By the common
definitions of the terms, all Google cookies are third-party ones unless the user is visiting
DoubleClick.net.

              11.3. Google Presented Private Browsing as a Way for Users to Control Their Privacy

      Incognito mode was a feature included in Google Chrome upon the browser’s unveiling in
2008.296 At that time, Apple’s Safari was the first and only browser to offer what Apple called
“Private Browsing,”297 and Safari’s functionality was carefully scrutinized by Chrome’s
developers, both with respect to its “Private Browsing” feature and its privacy-preserving options
such as third-party cookie blocking.298 According to Incognito’s original product manager, the
291
      GOOG-BRWN-00439740, cited in Mardini Tr. 420:25-423:4
292
      GOOG-BRWN-00454633, cited in Mardini Tr. 404:8-408:9
293
      GOOG-CABR-04455208, cited in Mardini Tr. 412
294
      GOOG-CABR-04763358, cited in Bhatnagar Tr. 70:12-74:20
295
    Google, “How private browsing works in Chrome,” https://support.google.com/chrome/answer/7440301
(accessed March 7, 2022).
296
      Rakowski Tr. 69:15-25
David Pogue, “Serious potential in Google’s browser,” New York Times,
https://www.nytimes.com/2008/09/03/technology/personaltech/03pogue.html (September 2, 2008).
297
    Dan Frakes, “Surfing with Safari, Tiger-style,” MacWorld,
https://www.macworld.com/article/175481/tigersafari2.html (April 27, 2005).

Wikipedia, “Private browsing,” https://en.wikipedia.org/wiki/Private_browsing (last edited March 20, 2022).
298
      GOOG-BRWN-00410076


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name “Incognito,” the “Spy Guy” icon, and the catchphrase “Go Incognito” were chosen by
marketing department staff, in part, because they “had a bit of fun to them,” “a bit of
personality,” and, hopefully, “would help users understand what the mode was for.”299 (Not all
staff members thought that the “Spy Guy” was such a fun image; one engineer likened it to “a
flasher on the New York subway,”300 and unsuccessfully lobbied for its replacement.301)

       Around the time Google launched the Chrome browser, internal research had already
established that most testers “did not fully understand” Chrome’s Incognito mode, and that “a
common misconception is that ‘go incognito’ will stop the server storing information”—that is,
that Incognito would stop Google from saving Incognito browsing activity on Google’s
servers.302 One Chrome product manager who was part of the team that originally designed
Incognito mode has acknowledged that Incognito “was never about changing logging behavior,
period.”303 Before Chrome’s launch, he noted that the Incognito team had been unable to find
“anything that alleviates the server logging confusion,” but stated that “as long as the user
understands” that Incognito is “some kind of privacy mode, we’ve accomplished what we need
to.”304 In spite of these well-documented misconceptions, Google has retained the Incognito
name from the launch of the Chrome browser in 2008 to the present day.305

       In 2013, Google’s page entitled “Incognito mode (browse in private)” recommended
Incognito “for times when you want to browse in stealth mode.”306 Although later versions of the
page omitted the reference to “stealth mode,” Google has continued to refer to Incognito as
“private browsing,” and asserted that “If you don’t want Google Chrome to remember your
activity, you can browse the web privately in Incognito mode.”307

       As part of my analysis for this case, I also reviewed Google’s representations during the
class period concerning privacy, control, and private browsing, including the different versions
of Google’s Terms of Service, Google’s Privacy Policy, Google’s Chrome Privacy Notice,
Google’s Chrome Incognito Splash Screen, and Google’s “Search and Browse Privately”
webpage. These were documents that Google made publicly available, and where Google made
certain updates and changes.


299
      Rakowski Tr. 24:9-26:2
300
      Porter-Felt Tr. 38:16-18
301
      GOOG-CABR-04195517-19
302
      GOOG-BRWN-00477487
303
   Rakowski Tr. 18:21-19:17 (on the invention of Incognito); Rakowski Tr. 238:17-18 (on Incognito and logging
behavior)
304
      GOOG-BRWN-00477487
305
      Rakowski Tr. 154:5-8
306
   Google, “Browse in private,”
https://web.archive.org/web/20130607123016/https://support.google.com/chrome/answer/95464# (archived June 7,
2013).
307
   Google, “Browse in private,”
https://web.archive.org/web/20161227175842/https://support.google.com/chrome/answer/95464 (archived
December 27, 2016).


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       None of these Google documents notified users (or anyone else) of Google’s collection,
storage, and use of private browsing information, including the collection of the private browsing
information of users who visit non-Google websites without being signed-in to any Google
account. While these Google documents include some high-level disclosures regarding Google’s
practices, none of them provided notice that Google would be engaging in the collection of data
from users’ private browsing activities. To the contrary, throughout these documents, Google
represented that users were in control of the data that Google collects and uses, and that users
could exercise control through private browsing mode—without Google’s surveillance.

      Google’s Terms of Service throughout the class period expressly pointed users to Google’s
Privacy Policy so that they could understand Google’s obligations with respect to collection,
storage and use of users’ data.308 Google’s Terms of Service dated April 14, 2014, October 25,
2017, and March 31, 2020 uniformly reiterated how “Google’s privacy policies explain how
[Google] treat[s] your personal data and protect[s] your privacy when you use [Google’s]
Services.” Other than referring users to the Google Privacy Policy, Google’s Terms of Service
never disclosed Google’s collection of private browsing activity.

       Google’s Privacy Policy throughout the class period promised that users had control over
Google’s collection of their information, with users able to exercise control by using private
browsing.309 From June 1, 2016 to May 24, 2018, Google’s Privacy Policy represented that
Google wanted to be “clear about what information [Google] collect[s].” In versions of the
Privacy Policy in effect during this period, Google emphasized “transparency and choice,” and
suggested users had “control” of “who [they] share information with,” and “whether certain
activity is stored in a cookie or similar technology.” 310 Nowhere in these versions of the Privacy
Policy did Google disclose Google’s collection of private browsing activity.

      Beginning with the May 25, 2018 version, Google’s Privacy Policy became even more
categorical in emphasizing users’ control over collection of their data through private browsing
modes such as Incognito mode. As referenced above, the first two sentences on the first page of
these versions of the Privacy Policy promise (in enlarged font):




308
   GOOG-BRWN-00023923 (effective April 14, 2014), GOOG-BRWN-00023935 (effective October 25, 2017),
GOOG-BRWN-00023941 (effective March 31, 2020). On January 5, 2022, Google changed its Terms of Service,
but I understand from counsel that Google agreed that modification would not have any effect on this litigation.
309
   GOOG-BRWN-00000001 (effective June 28, 2016), GOOG-BRWN-00000018 (effective August 29, 2016),
GOOG-BRWN-00000035 (effective March 1, 2017), GOOG-BRWN-00000052 (effective April 17, 2017), GOOG-
BRWN-00000069 (effective October 2, 2017), GOOG-BRWN-00000086 (effective December 18, 2017), GOOG-
BRWN-00000096 (effective May 25, 2018), GOOG-BRWN-00000124 (effective January 22, 2019), GOOG-
BRWN-00000152 (effective October 15, 2019), GOOG-BRWN-00000180 (effective December 19, 2019), GOOG-
BRWN-00000209 (effective March 31, 2020), GOOG-BRWN-00000239 (effective July 1, 2020), GOOG-BRWN-
00000270 (effective August 28, 2020), GOOG-BRWN-00000302 (effective September 30, 2020). Additional
archived versions of the Google Privacy Policy are available at: https://policies.google.com/privacy/archive.
310
   Google ostensibly explained how users could exercise this “control” in documents hyperlinked in these policies,
like through privacy controls such as private browsing mode or Incognito mode, but these hyperlinks are no longer
available.


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           When you use our services, you’re trusting us with your information. We understand this
           is a big responsibility and work hard to protection your information and put you in
           control.311

       On the same page, Google tells users: “You can use [Google’s] services in a variety of
ways to manage your privacy.” Google then specifically references “private browsing” and
“Incognito mode” in the same paragraph: “You can also choose to browse the web privately
using Chrome in Incognito mode.” In the very next sentence, Google states that adjusting privacy
settings such as Incognito mode allowed users to control what information Google collects and
uses: “across our services, you can adjust your privacy settings to control what we collect and
how your information is used” (emphasis added). And the Privacy Policy defines “our services”
to include “[p]roducts that are integrated into third-party apps and sites.” No version of Google’s
Privacy Policy disclosed Google’s collection of private browsing activity, instead promising
privacy and control. The policy has made vague references to Google’s practice of
“anonymization” of certain data it collects but it never explained or referenced this practice
within the context of private browsing mode or Incognito mode. Indeed, anonymization of
collected data could not possibly have referred to private browsing mode or Incognito mode
since Google stated that those privacy settings allowed users to control what was collected, not
how that collection might later be treated by Google.

      Google’s Chrome Privacy Notice has likewise consistently promised users control over
collection of their information.312 Notably, the first sentence of the Chrome Privacy Notice
promises users “control [of] the information that’s collected, stored, and shared when you use the
Chrome browser.” The same sentence then assured users that any information Chrome provided
to Google would be “used and protected in accordance with the Google Privacy Policy.” In the
specific section regarding Incognito mode, the policy promised “Chrome won’t store certain
information” including “basic browsing history information like URLs, cached page test, or IP
addresses,” “snapshots of pages you visit,” or “records of your downloads.” Nowhere in Chrome
Privacy Notice did Google disclose Google’s collection of private browsing activity.

      Google’s Chrome Incognito Splash Screen has also promised privacy without ever
disclosing that Google collects users’ private browsing activity.313 Pairing the term “incognito”
with an icon of a faceless person in disguise suggests that a user in Incognito mode cannot be

311
   GOOG-BRWN-00000096 (effective May 25, 2018), GOOG-BRWN-00000124 (effective January 22, 2019),
GOOG-BRWN-00000152 (effective October 15, 2019), GOOG-BRWN-00000180 (effective December 19, 2019),
GOOG-BRWN-00000209 (effective March 31, 2020), GOOG-BRWN-00000239 (effective July 1, 2020), GOOG-
BRWN-00000270 (effective August 28, 2020), GOOG-BRWN-00000302 (effective September 30, 2020).
Additional archived versions of the Google Privacy Policy are available at:
https://policies.google.com/privacy/archive.
312
  GOOG-BRWN-00000771 (effective April 25, 2017), GOOG-BRWN-00000784 (effective March 6, 2019),
GOOG-BRWN-00000800 (effective September 24, 2018), GOOG-BRWN-00000816 (effective October 24, 2018),
GOOG-BRWN-00000832 (effective December 4, 2018), GOOG-BRWN-00000848 (effective January 30, 2019),
GOOG-BRWN-00000864 (effective March 12, 2019), GOOG-BRWN-00000880 (effective October 31, 2019),
GOOG-BRWN-00000896 (effective December 10, 2019), GOOG-BRWN-00000913 (effective March 17, 2020),
GOOG-BRWN-00000930 (effective May 20, 2020). Additional archived versions of the Google Chrome Privacy
Notice are available at: https://www.google.com/chrome/privacy.
313
      GOOG-BRWN-00555223 (collecting Incognito Splash Screen messages since 2016).


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seen, traced, or tracked while browsing online. Further, the Chrome Incognito Splash Screen has
never listed Google as a party to which private browsing might be visible. On February 27, 2017,
Google’s Chrome Incognito Splash Screen was amended to add that users could “browse in
private” or “browse privately.” The Splash Screen also assured users that “Chrome won’t save”
users’ “browsing history” or “cookies and site data.” I discuss the Splash Screen in more detail in
Subsection 12.1.

      Google’s “Search and Browse Privately” webpage has also assured users that they are “in
control of what information [they] share with Google when [they] search. To browse the web
privately, [they] can use private browsing . . . .” 314 Nowhere in “Search and Browse Privately”
page does Google disclose its collection of private browsing information.

      These Google disclosures represent that users are in control of the sort of information that
Google collects, saves, and uses, and that users can exercise control, in part, by using Chrome’s
Incognito mode. Nowhere do they suggest that Google would continue to collect users’ private
browsing activity. Rather, Google’s disclosures give rise to a reasonable expectation that Google
will not collect users’ private browsing information.

       Public statements by Google’s own executives reinforce the perception that Chrome
Incognito mode provides privacy not only from unspecified others but from Google itself. In
September 2014, Google CEO Eric Schmidt publicly stated that “Google allows you to delete the
information that we know about you and in fact, Google is so concerned about privacy that you
could in fact, if you’re using Chrome for example, you can browse in what is called ‘incognito
mode’ where no one sees anything about you.”315 A Chrome user would reasonably conclude
that “no one” would include Google.

      Internally, Google employees recognized that their boss’s statement was false, and that
Mr. Schmidt’s misconceptions were significant. One internal email bemoaned the extent to
which Eric Schmidt’s description of Chrome Incognito mode provided “clear evidence that
people don’t and indeed cannot understand Incognito’s guarantee(s) and non-guarantee(s). Even
Eric Schmidt, and even when accuracy is of paramount importance. Normal people have no
chance.”316

      Google’s behavior is analogous to a hotel that promises there are no secret cameras in your
room recording your activities on videotape, but when discovered, argues that their promise of
“no videotape” is true, and that they only transmitted images via the Internet to a remote,
unknown location, where your data is preserved forever. The latter is even worse than the
former. If the private data were stored locally, a user might be able to find and erase it.




314
      GOOG-BRWN-00062160
315
   Nicole Sawyer, “Google’s Eric Schmidt calls Julian Assange ‘paranoid’ and says Tim Cook is wrong,” ABC
News, https://abcnews.go.com/Business/googles-eric-schmidt-calls-julian-assange-paranoid-tim/story?id=25679642
(September 23, 2014).
316
      GOOG-CABR-05287675


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            11.4. Users Rely on Private Browsing Modes for More Sensitive Browsing

         The authors of an internal 2015 report,




                                  17


      Users may seek anonymity in searches and browsing involving health conditions (for
example, urinary incontinence), hoping that not only will their searches and browsing activities
not be saved on their computer but that advertisements for incontinence products will not follow
them around the web and thereby give off clues about an embarrassing medical concerns.318

       Other very personal and potentially embarrassing medical topics include impotence,
infertility, irritable bowel syndrome, birth control, abortion, mental illness, cancer, HIV status,
COVID-19 status, and drug addiction.

      A user may choose a private browsing mode for searches and browsing tied to their Black
friends’ names because they hope to avoid being confronted by AdSense-enabled ads for
websites featuring arrest records—and they would have good reason to do so. A 2013
investigation of racial profiling in Google AdSense’s online ad delivery found that searches for
personal names in which the given name is more frequently assigned to Black babies (such as
DeShawn, Darnell, and Jermaine) more frequently generated ads for public records search sites
indicative of an arrest record than did searches for names primarily assigned at birth to White
babies (such as Geoffrey, Jill, and Emma), regardless of the existence of an arrest record
associated with the name. “Black-sounding” names generated ads indicative of an arrest record
81–95% of the time, whereas “White-sounding” names did so 23–60% of the time.319


317
      GOOG-BRWN-00477510
318
   Caner Baran, and Safak Yilmaz Baran, “YouTube videos as an information source about urinary incontinence,”
Journal of Gynecology, Obstetrics and Human Reproduction 50, no. 10,
https://www.sciencedirect.com/science/article/abs/pii/S2468784721001343?via%3Dihub (December 2021).
319
   Latanya Sweeney, “Discrimination in online ad delivery: Google ads, Black names and White names, racial
discrimination, and click advertising,” ACM Queue 11, no. 3, https://queue.acm.org/detail.cfm?id=2460278 (April 2,
2013).


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       Users may also seek privacy and anonymity when searching and browsing non-Google
websites for information about ways to deal with or exit from an abusive relationship. As
discussed previously, abusers often employ technological knowledge and means to control their
victims, including inspecting a shared computer, or their victim’s computer or phone, to spy on
their online activity. If detected by a tech-savvy abuser, searches and the subsequent browsing
activities tied to the following searches could lead to domestic violence:

            “Why does my partner/parent hurt me?”
            “Safe houses for victims of domestic violence”
            “How to recognize gaslighting”
            “How to live with a narcissist”
            “Am I gay?”
            “Can I get pregnant if I only did it once?”
            “Where can I get an abortion?”
            “How can I get a coronavirus vaccine without my parents’ approval?”

       As noted above, people use private browsing modes to view online pornography. A 2019
investigation found that Google and its subsidiary OneClick had trackers on 74% of 22,484
pornography sites analyzed, and that 93% transmitted user data to third parties. This, of course,
includes Google. Nearly 45% of URLs of these sites “expose or strongly suggest the site
content.” In other words, URLs can represent far more than a site address. They may enable
strangers to infer a user’s sexual or gender identity, their sexual interests and practices, and may
give rise to accurate or inaccurate profiling.320

      This finding also highlights inconsistencies between the policies that Google enforces on
its own platforms and the policies that apply to its business partners. From the study: “For
example, Google’s YouTube is the largest video host in the world, but does not allow
pornography. However, Google has no policies forbidding websites from using their code
hosting (Google APIs) or audience measurement tools (Google Analytics). Thus, Google refuses
to host porn, but has no limits on observing the porn consumption of users, even without their
knowledge. Table 2 is a breakdown of the use of Google services, and makes clear how Google’s
content policies have an impact on use for their services by pornography websites.”321




320
    Elena Maris, Timothy Libert and Jennifer Henrichsen, “Tracking sex: The implications of widespread sexual data
leakage and tracking on porn websites,” arXiv:1907.06520 [cs.CY], https://arxiv.org/abs/1907.06520. (July 15,
2019).
Charlie Warzel, “Facebook and Google trackers are showing up on porn sites,” New York Times,
https://www.nytimes.com/2019/07/17/opinion/google-facebook-sex-websites.html (July 17, 2019).
321
   Elena Maris, Timothy Libert and Jennifer Henrichsen, “Tracking sex: The implications of widespread sexual data
leakage and tracking on porn websites,” arXiv:1907.06520 [cs.CY], https://arxiv.org/abs/1907.06520 (July 15,
2019).


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     12. Google’s Disclosures about Incognito Mode
          12.1. Incognito’s Branding and Splash Page Are Misleading

      Google does not inform users about the difference between browsing that is not retained in
a user’s browser history and browsing that is not surveilled by the browser’s manufacturer.
Therefore, the Splash Screen’s statement that—“Chrome won’t save [y]our browsing history”
gives rise to a reasonable expectation that the user’s Incognito browsing history will not be
collected or saved by Google.

       In addition, Google’s use of the term “private” to describe Chrome’s Incognito mode gives
rise to a reasonable expectation not just that a user’s Incognito browsing will not be discoverable
by other users of a device, but also that the browsing will not be collected and surveilled by
Google.




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       In a May 4, 2015, internal Google spreadsheet defining and discussing various terms in
relation to their products,
                                                        This demonstrates that even Google
realized that when they make a statement to their users like “now you can browse the web
privately,” it would lead a reasonable user to think it prevents Google from storing their
browsing data.

       In the same document, “Privacy” is defined in the “Product Area” of “Incognito”: “Related
specifically to users’ data and who can collect, see, save, or process it. For Incognito, we refer to
3 tiers: Google, the network (inc. 3P apps, ISPs), local (physical access to a device).” Here it is
admitted that, in connection with Incognito mode, people would think “privacy” would include
privacy from Google unless otherwise stated.323 As one Google engineer has observed,



      As noted previously, the Oxford English Dictionary defines “incognito” as “Unknown;
whose identity is concealed or unavowed, and therefore not taken as known; concealed under a
disguised or assumed character,” “Done or conducted under disguise,” and “The condition of

322
      GOOG-CABR-05836882, row 147
323
      GOOG-CABR-05836882, row 148
324
      Schuh Tr. 14-18


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being unknown, anonymity.”325 Using “incognito” to characterize a mode of web browsing
would lead a reasonable user to assume that by using it, they would remain unidentifiable and
untracked.

      In this case, Google’s Incognito Splash Screen serves as an example of ineffective and
misleading presentment. The first sentence of the Splash Screen begins with the promise, “Now
you can browse privately.” The word “privately” in this context would be understood by a
reasonable consumer to mean “freedom from unwelcome observation,” including observation by
Google. Additionally, the nonverbal, visual imagery incorporated into the Incognito splash
page—the black background and the black-on-grey, black-hatted “Spy Guy” icon—invokes
secrecy and the cover of darkness, and reinforces the inaccurate impression that the users may go
about their business without being tracked by Google.326

       Google’s design guidance instructs developers that “Icons communicate the core idea and
intent of a product in a simple, bold, and friendly way.”327 Incognito mode’s simple, bold, and
friendly “Spy Guy” may communicate Google’s “intent” to lead users to believe that Incognito
will provide them with a virtual cover of darkness, but is inaccurate and misleading regarding
Incognito’s actual functionality, in which their activity continues to be monitored. Reasonable
users conducting purportedly “private” online investigations while in Incognito mode would be
surprised and dismayed to learn that the “Spy Guy” is always being tailed by Google itself.

       Google employees have repeatedly acknowledged that user misconceptions arise from
Google’s visual branding for Incognito and its characterization of Incognito mode as a way to
browse privately. For example, one commented that Google’s Chrome Incognito “spy icon may
be misleading and persuade the user that this is a totally private and safe mode.”328 Another
observed that with Chrome Incognito, “fault lies partly with the name and the iconography”
chosen by Google;329 elsewhere, he wrote that Chrome Incognito “in its current form [...] is
effectively a lie.”330

      Brian Rakowski, the so-called “Father of Incognito,”331 has testified that he would not
describe Incognito mode as a “private browsing mode”332 —even though that is exactly how
Google describes it publicly. Another Google engineer has recommended that Google “ratchet
down Incognito” and replace the name with the more accurate “Temporary Mode.”333

325
      Oxford English Dictionary Online, “Incognito” (accessed March 2, 2022).
326
   Laurie Clarke, “Google Chrome’s Incognito Mode is way less private than you think,” Wired UK,
https://www.wired.co.uk/article/google-chrome-incognito-mode-privacy (July 20, 2019).
327
  Google, “Product icons,” Material Design, https://material.io/design/iconography/product-icons.html (accessed
March 8, 2022).
328
      GOOG-BRWN-00047390
329
      GOOG-CABR-05370279
330
      GOOG-BRWN-00806426
331
      Rakowski Tr. 19:19-21
332
      Rakowski Tr. 83:16-22
333
      GOOG-BRWN-00140297


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            These comments by Google employees are consistent with my own analysis and opinions.

       The Splash Screen’s omission of “Google” from the list of entities to whom “activity
might still be visible” gives rise to a reasonable expectation that Google will not collect
Incognito browsing activity. The Splash Screen states that “Your activity might still be visible to:
Websites you visit / Your employer or school / Your internet service provider.” The Splash
Screen, which is automatically displayed to users at the outset of every Incognito session, omits
that a user’s activity is also visible to Google while the user is visiting a non-Google website.
“[S]ince June 1, 2016, the full-page Incognito Notice (which Plaintiffs refer to as Incognito
Splash Screen) has not specifically identified Google by name as an entity that ‘can view a user’s
activity in private browsing mode.’”334

     Consistent with the plaintiffs’ deposition testimony, no reasonable user would interpret
Google’s disclosures as permitting the collection of their private browsing information.

            Plaintiff Trujillo has testified to her understanding of Google’s promises to her as a user
             of their services: “The privacy policy says that I am in control, and when I am in
             Incognito mode, my information will not be collected.”335
            Plaintiff Brown has testified to his understanding of the function of Incognito mode: “So
             I think anything related to Google in Incognito mode is protected, not collected. I think
             that’s clear by this screen, by the large words that ‘you’ve gone Incognito,’ by, you
             know, the invisible spy man on top. By like this is the opening screen. I’m showing you
             that you are private. Your stuff is not being collected. You’re now safe. Google is
             protecting and not collecting your data and keeping your browsing private as much as
             Google has control over it.”336
            Plaintiff Castillo has testified to his understanding of the Incognito Splash Screen: “And
             logically, it says activity might be visible to websites you visit. Of course, if you go to
             Lowe’s and you want to buy a shovel, they’re going to see you went to Lowe’s and
             wanted to buy a shovel. But what’s precariously—what’s dangerously not on here is that
             it doesn’t say that Google will still see your activity. It doesn’t say that Google will
             record your activity and Google will use that and monetize it. That’s not written here
             under ‘your activity might still be visible to.’”337
            Plaintiff Davis has testified to his understanding of “control” and “privacy” in the Google
             ecosystem: “So, again, my control in this situation, the recourse that Google has indicated
             to me in their own Privacy Policy, that if I want to browse privately and not be observed
             by Google, is to use Chrome in Incognito.”338
            Plaintiff Byatt has testified to his understanding of the significance of Google’s absence
             from the list of potential surveillors that appears on the Incognito Splash Screen: “So if
             we look on the Incognito Splash Screen or what you called the New Tab Page, it lists a
             few entities that the activity may still be visible to. I believe that disclosure, I believe that
334
      Defendant’s Responses and Objections to Plaintiffs’ Third Set of Requests for Admission (Nos. 22-28).
335
      Trujillo Tr. 193:18-195:21; see also 262:7-19 (discussing Safari private browsing mode)
336
      Brown Tr. 122:12-20
337
      Castillo Tr. 154:2-18
338
      Davis Tr. 97:22-25


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           it could be visible to the website, to my employer or school if I’m on the employer or
           school network to the Internet service provider, but it doesn’t say Google here. It doesn’t
           say my activity might still be visible to Google. So I understood this as—and that would
           have been a great place for Google to put Google. So I understood this is my information
           not being visible to Google.”339

       Finally, the current version of the Splash Screen (shown above) contains a toggle that
enables users to “block third-party cookies.” As noted above, Google introduced this feature in
May 2020. This part of the Splash Screen is also misleading. Google’s representation that “sites
can’t use cookies that track you across the web” does not inform users that this feature does not
block Google’s first-party cookies set on other, non-Google websites.

              12.2. Google Has Disseminated Inaccurate Information about Incognito

      By labeling and publicly referring to these browsing modes as “private,” Google is
promising its users (in this case, limited to Google Account holders) that they in fact provide a
means for them to browse the Internet privately. In a December 2014 interview, Google CEO
Eric Schmidt stated that “if you’re concerned, for whatever reason, you do not wish to be tracked
by federal and state authorities, my strong recommendation is to use Incognito mode, and that’s
what people do.”340 That is, even Google’s chief executive didn’t understand—or dissembled
about—the privacy protections of Incognito mode, which only protects against surveillance by
federal and state authorities who happen to be using the same computer as you are.

      Google’s own staff have expressed their exasperation at Schmidt’s inaccurate
characterization of Incognito mode; in one internal email from 2015, a Google engineer wrote,
“The perception that Incognito means ‘I am incognito to servers on the web/to the
government/etc.’ is pretty well-established, and the fault lies partly with the name and the
iconography. Part of the problem is that people really want it to be true. Part of the problem is
that Eric Schmidt tells them ‘it’s true...’”341

       In May 2019, Google CEO Sundar Pichai wrote an op-ed in the New York Times in which
he described Incognito mode as a “popular feature in Chrome that lets you browse the web
without linking any activity to you.”342 Schmidt’s statement above was incorrect, in that federal
and state authorities may “track” users pursuant to a court order; Pichai’s statement was incorrect
in implying that while in Incognito mode, data regarding a user’s browsing activity is not saved
or linked to them, when, in fact, data is continuously collected from Chrome users whether they
are browsing in normal or Incognito mode.



339
      Byatt Tr. 136:4-18
340
   Patrick Howell O’Neill (December 16, 2014), “Top Google exec mistakenly suggests Chrome’s incognito mode
can foil the NSA,” Daily Dot, https://www.dailydot.com/debug/schmidt-incognito-wrong-false-facepalm (December
16, 2014).
341
      GOOG-CABR-05370279
342
   Sundar Pichai, “Google’s Sundar Pichai: Privacy should not be a luxury good,” New York Times,
https://www.nytimes.com/2019/05/07/opinion/google-sundar-pichai-privacy.html (May 7, 2019).


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      Google’s own staff have expressed their concern about CEO Pichai’s perspective on
Incognito. In a February 14, 2020, email discussion, one Google employee stated that “search is
concerned that Sundar’s view of Incognito is more like ‘pause history,’”343 a phrase with a much
more limited connotation than the term “private.”

       Other Google employees have made statements that misrepresent Incognito mode. For
example, in a September 27, 2016 article, Google’s Director of Product Management Unni
Narayanan wrote that Google gives users “more control with incognito mode.”344 And in
December 2019, Google’s Vice President of Product Privacy Rahul Roy-Chowdhury published a
blog post titled “Putting you in control: our work in privacy this year” describing Google’s
“expan[sion of] incognito mode across all our apps” as an example of Google’s “tools to give
you control over your data.”345 Both failed to mention that Google continues collecting browsing
data from users’ Incognito sessions.

       The Incognito Splash Screen states that “other people who use this device won’t see your
activity.” Google itself uses every one of its users’ devices as a means of data extraction, and that
extraction takes place whether a user browses in normal mode or Incognito mode. Google’s
public pages “How private browsing works in Chrome”346 and “Search and browse privately”347
similarly fail to acknowledge that Chrome users’ browsing activity is always discernible to
Google, regardless of whether they are signed in or using Incognito mode.

      Google staff have acknowledged that users choose to browse using Incognito mode to
avoid surveillance by Google. In a 2015 internal report entitled,


                                                          8
                                                    Similarly, in a July 30, 2019, email
discussion of Incognito mode, a Google employee proposed that “instead of the expected result
of ‘Going to Incognito mode stops Google logging in all products,’ we would have ‘Users have a
way to set up Incognito to tell Google to stop logging for all products,’”—but cautioned that
such a proposal “is not what Sundar promised.”349

     Given such repeated assurances of respect for users’ privacy choices made in Google’s
documents and by its executives, it is reasonable that users would expect that their choice of


343
      GOOG-BRWN-00177302
344
   Unni Narayanan, “The latest updates and improvements for the Google app for iOS,” The Keyword,
https://blog.google/products/search/the-latest-updates-and-improvements-for (September 27, 2016).
345
    Rahul Roy-Chowdhury, “Putting you in control: our work in privacy this year,” The Keyword,
https://blog.google/technology/safety-security/putting-you-in-control-privacy-2019 (December 19, 2019).
346
   Google, “How private browsing works in Chrome,” https://support.google.com/chrome/answer/7440301
(accessed March 5, 2022).
347
   Google, “Search and browse privately,” https://support.google.com/websearch/answer/4540094 (accessed March
5, 2022).
348
      GOOG-BRWN-00477510
349
      GOOG-CABR-00501220


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Incognito mode would protect browsing activity that they regarded as confidential from being
discerned by anyone, including Google.

       Google’s own developer documentation style guide cautions, “Avoid making excessive or
unsupported claims about Google products and services.”350 Use of the phrase “private
browsing” to describe Incognito mode constitutes one such excessive claim. Certainly, the word
“private” would not predispose a user to assume that Google continues to peer over their
shoulders, harvesting information from that private browsing so that it can be used by Google for
its financial benefit and possible served up by Google to third parties unknown to them who seek
to gain insight into their personal lives.

      In numerous internal documents, Google developers have acknowledged that the name
“Incognito” and visual branding are misleading.

       As early as July 2008, in a discussion of an internal survey on Chrome usability, Google’s
Head Of User Experience Research described some of the factors contributing to the difficulty of
accurately translating “Go Incognito” into languages other than English. He wrote, “One
challenge was that what ‘Go Incognito’ refers to runs somewhat counter to a widely accepted
definition of the term ‘incognito’: having ‘one’s identity concealed, as under an assumed name,
esp. to avoid notice or formal attentions. Many translators considered this to mean that ‘Go
Incognito’ allows you to visit websites without those websites knowing who you are. [...] [W]e
have found that the semantics of the term ‘Go Incognito’ do not immediately point to its exact
function, or range of functions..”351

        Six years later, in a September 2014 email entitled, “I promise this is my last rant about
Incognito,” a Google software engineer wrote that “Incognito’s confusability is actively harmful
to the Chrome and Google brands.” Google’s “documentation is at odds with the name and icon
[...] the implied guarantee of the name + icon—which we know, from painful experience, users
*do* perceive and expect—is impossible to achieve.” The author noted that ‘Incognito’s
“higher-order bits are the name ‘Incognito,’ and the Spy Guy icon. Incognito is, regardless of
whatever words we say, the Spy Mode that James Bond would use. If people are ongoing to
‘read’ 1 or 2 bits of information, ‘it’s going to be those bits.” He further lamented “five years of
conflict” between the name “Incognito” and the Spy Guy icon and “the reality of the feature.
Five years of users filing confused (and sometimes angry) bug reports. Five years of people
operating under a false sense of privacy.”352

       Another five years, and the “Incognito problem” persisted. The author of a 2019 slide deck
entitled, “Incognito in the context of our brand,” observed that, “our visual identity is not the best
representation of our values and promise to users, conjuring notions of ‘detective,’ ‘spy,’ ‘dark,’
positioning the feature as only for nefarious or shady use cases. Users also overestimate the



350
   Google, “Google developer documentation style guide: Avoid excessive claims,”
https://developers.google.com/style/excessive-claims (February 28, 2022).
351
      GOOG-BRWN-00477487-89
352
      GOOG-BRWN-00457255


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privacy protections that Incognito/private browsing provide, potentially putting users at risk in
the moments when they expect the most privacy.”353

      Google Chrome disables all browser extensions, including privacy extensions and ad-
blockers, when a user opens an Incognito window; however, I have found no indication that
Google informs users of that fact.

            12.3. Google Failed to Adequately Disclose Its Surveillance of Incognito Users

      Google’s assurances that Google Account holders can use Chrome Incognito and other
modes to browse privately and to control their privacy encourage users to increase their
disclosure of their information—including highly personal and sensitive information that is then
collected and stored by Google and used for its own and its business partners’ financial gain.354

      In January 2015, a Google User Experience team and Chrome’s product managers
prepared a report entitled,




                                                                                   355


       Google staff’s concerns were not only limited to Incognito mode. Google employees have
acknowledged that misconceptions existed across other private browsing modes as well. For
example, the author of one document titled “Five ways people misunderstand Incognito and
private browsing,” opened with the statement, “Private browsing has a problem. In both internal
and external research, we’ve seen that the privacy properties of Incognito aren’t well understood,
to say the least. And the same is true for all modern browsers with a private browsing mode.”
The author cites the 2015 internal study (above) and other reports, noting that “Many users
believe private browsing gives them anonymity” and “Most users believe that their private
browsing activity won’t be remembered by Google, even after they sign into their account.” The
author further observed that “these misconceptions could give users the false impression of
privacy in a moment when they expect it most, leading them to inadvertently share sensitive
personal data.” 356




353
      GOOG-CABR-00128941
354
   Laura Brandimarte, Alessandro Acquisti and George Loewenstein, “Misplaced confidences: Privacy and the
control paradox,” Social Psychological and Personality Science 4, no. 3,
https://www.cmu.edu/dietrich/sds/docs/loewenstein/MisplacedConfidence.pdf (May 2013).
355
      GOOG-BRWN-00477510
356
      GOOG-BRWN-00164626


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            12.4. Google Has Long Been Aware of the Inadequacy of Its Disclosures Regarding
                  Incognito

       As noted previously (in Subsection 10.3), Google staff have claimed that “Incognito mode
is recognized as one of the top tools to demonstrate that ‘Google respects your privacy,’”357 and
that “Incognito mode [stands] out across all markets as one of the most impactful proof points for
demonstrating Google respects user privacy.”358 However, this purported public impression of
Incognito’s positive impact on user privacy is at odds with internal discussions among Google’s
developers over the entire duration of Chrome’s existence.

       In July 2008, before the launch of the Chrome browser, one Google employee
recommended that the company publish “exactly what data we normally collect and how we will
use it, now and forever (which we do NOT sufficiently do IMO) and real things that affect
people’s privacy.”359

      Google has collected private browsing information despite awareness of “common
misconceptions about private mode”360 that extend to the highest levels of the company’s
management. Internal communications among Google employees indicate that they have
recognized that their implementations and representations regarding user privacy in Incognito
mode were problematic at best and misleading at worst.

     In July 2008, while serving Google in the capacity of product manager, Google’s current
CEO Sundar Pichai led the team that launched Chrome’s Incognito mode. Internal documents
acknowledge that at that time, “people didn’t understand Incognito.”361

       That same month, Google conducted a study in which a panel of staff members tested
Incognito mode. Most of these staff entertained the “common misconception” that Incognito
mode would stop Google’s servers from storing information.362 Google’s users, however, are not
as technically sophisticated as Google employees could be expected to be. A March 2020 slide
deck on Incognito mode’s user interface noted that      of their users are “followers,” that is,
“less tech savvy.”363

     In October 2008, a Google employee acknowledged that Incognito was not fulfilling its
promise of “privacy,” and suggested introducing a “privacy mode” that goes beyond Incognito
and which would be very strict about any settings that could send additional information to




357
      GOOG-CABR-00128941
358
      GOOG-BRWN-00154707
359
      GOOG-BRWN-00226894-95
360
      GOOG-BRWN-00042388 at -403
361
      GOOG-BRWN-00409986 at -87
362
      GOOG-BRWN-00477487-89
363
      GOOG-BRWN-00042388


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Google or to other sites.364 The kind of enhanced privacy protection described here is what
Google’s representations led Incognito users to believe they were already getting.

        In an internal email discussion from 2009, Chrome engineers discussed the option of
blocking third-party cookies by default. One engineer suggested, “extend Incognito mode so that
it is high privacy by default (all the privacy options are basically turned on). This would really be
the easiest way to provide users with a mode that instantly provides them with complete
privacy!”365 Once again, the kind of enhanced privacy protection described here is what
Google’s representations have led Incognito users to believe they were already getting. Ten years
passed before default third-party cookie blocking in Incognito was seriously considered by
Google’s top management.

       In an undated internal discussion of Incognito mode and Google’s responsibility to provide
better privacy, one participant stated: “When a user asks for Incognito, it’s a huge gift, it’s a
vulnerable moment, the user is telling us I feel at risk, we need to make a better commitment in
respecting that intent.” He further predicted that internal conflict would arise if their
development team tried to disable Google’s data collection during Incognito browsing, warning
that any decision to “make incognito [...] a more attractive state than signed out [...] would affect
monetization, and that’s some pushback from Chrome.”366

      In September 2014, the author of an internal email to Google’s Incognito Team noted the
inconsistency of promising privacy to users in Incognito mode simultaneously with RAM-
backed profile data storage.367

      In March 2015, a bug report to the Chromium Project called attention to the fact that
Incognito mode’s New Tab Page warning was incomplete: “The warning should say: ‘Going
Incognito doesn’t hide your browsing from your employer, your internet service provider, the
websites you visit, or Google, Inc.’”368 The bug was deemed to be not a bug, and the suggested
change was never made.369

          The authors of the 2015 internal report,




364
      GOOG-BRWN-00474874-75
365
      GOOG-BRWN-00408322-24
366
      GOOG-BRWN-00466897.R
367
      GOOG-BRWN-00457255
368
      GOOG-CABR-03938947
369
      Schuh Tr. 76:22-77:11
370
      GOOG-BRWN-00477510 at -11, -14


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      In email discussions of Google’s February 2015 “Incognito-fest,” one developer referred
to Incognito mode as “radioactive; in its current form it is effectively a lie,”371 and elsewhere
expressed concern about ownership of Incognito, asking, “Does Privacy team realize they have
dropped the ball?”372 Staff members discussed “ditching the Incognito name entirely.”373

       An Incognito-fest slide deck acknowledged that “The name ‘Incognito mode’ might create
the false expectation that you’re invisible on the web...... Users are surprised that google gets
information about their browsing while in Incognito mode.”374

      In an undated internal presentation titled “The Future of Incognito,”375 a Google employee
used this arresting image to illustrate the shortcomings with Incognito mode:




       Google employees’ dissatisfaction with the company’s persistent misrepresentation of
Incognito mode’s privacy protections persisted a full decade after the launch of the Chrome
browser. In a 2018 email thread about improving privacy options in Chrome, one developer
stated that “we need to stop calling it Incognito and stop using a Spy Guy icon” to which another


371
      GOOG-BRWN-00806426
372
      GOOG-BRWN-00630517
373
      GOOG-BRWN-00393432
374
      GOOG-CABR-03750737 at -55
375
      GOOG-CABR-05756666


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replied that Incognito “has always been a misleading name.”376 The author of a July 2018
internal email on “The Incognito Problem” wrote that, “the ‘Incognito’/Spy Guy branding, and
the complex disclosures (like all complex disclosures) confuse people as to what exact
guarantees it offers and does not offer. [...] We are over-promising and under-delivering.” He
further recommended that Google “use less loaded terms and iconography” to characterize
Incognito mode.377 Other Google employees agreed that “there is an incognito problem”;378 one
described Incognito mode as a “confusing mess.”379

     The author of a September 2018 document entitled,
                   noted tha
                               380
                                   In November 2018, following critical press coverage of
Incognito, one Google employee reiterated that “ultimately, the blame for people’s
misconceptions about Incognito mode is due to that name and branding.”381

      In a December 2018 email to Google staff, a PDPO (Privacy and Data Protection Office)
product manager stated that internal research had demonstrated that “participants generally
believe that incognito provides more protection than it actually does” and “the mechanics of how
incognito works are poorly understood, leading to user expectations that don’t match how the
experience works.”382

       In a January 2019 internal document, “Incognito: Google-wide summary,” the author
wrote, “People frequently misunderstand private browsing/Incognito: Gives anonymity; obscures
location; blocks ad tracking; stops browsers remembering search history; stops web activity
being saved when logging-in to an account. These false expectations are often reinforced by the
disclosures themselves. False expectations of privacy at the moment they need it most.”383

       At a March 2019 “Incognito Summit” hosted by Google’s PDPO, participants discussed
the potential implementation of “Incognito” modes for a variety of Google products, and how to
go about communicating a “unified Incognito story to the world.” When asked “what I wish were
different about Incognito,” one staffer replied, “Google and others are still tracking me—it’s not
truly private,” and another noted that “functionality does not solve local (on-device) privacy
needs or government surveillance needs, but users think it does.”384




376
      GOOG-BRWN-00475063
377
      GOOG-BRWN-00140297 at -299, -302
378
      GOOG-BRWN-00804212
379
      GOOG-CABR-03827263 at -63
380
      GOOG-BRWN-00047390
381
      GOOG-CABR-03923580
382
      GOOG-CABR-03689232
383
      GOOG-BRWN-00567843
384
      GOOG-BRWN-00028052


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      In April 2019, Google’s Chief Marketing Officer Lorraine Twohill wrote to staff that
while the Incognito name “feels ok,” the “old Incognito icon [feels] less OK.”385

      In an April 2019 email discussing public communication about Incognito mode, one
Google product manager wrote, “We need to drop any statement about that your data isn’t saved
in your account. Because in Chrome Incognito it is;” he said, referring to the “accumulation of
cookies (and sign-ins) that allow the user to be tracked even in incognito mode,” and
acknowledged that “Chrome’s Incognito is not about privacy online.”386

      In a 2019 internal Google document entitled, “How do we talk about Incognito mode?” the
author recommended against using “the words private, confidential, anonymous, off- the-record
when describing benefits of Incognito mode,” in order to prevent “exacerbating known
misconceptions about protections Incognito mode provides,” even though for over a decade
Google had described Incognito as a form of “private browsing,” The author further stated that
Incognito was “not private in ways that many users want, that is, as to Google,” with the
company actually “recording the data you input” and logging “your activity in Incognito,” thus
providing “fewer data controls” and no ability to “delete” that data. The author continued: “We
cannot say the data ‘is deleted,’ ‘not saved,’ ‘removed from history,’ ‘history free’ in absolute
terms. This is because Google sometimes does still store the data (although it’s no longer
personally identifiable—i.e., pseudonymous).”387

       The need for linguistic caution was subsequently reinforced in an April 2019 working
document with proposed Incognito-related talking points for CEO Pichai, in anticipation of I/O
2019, a yearly Google developer’s conference. “The words private, confidential, anonymous, off-
the-record,” it was noted, “run the risk of exacerbating known misconceptions about protections
Incognito mode provides.”388 Those misconceptions, however, were evident in at least one
statement in the same document: “In Incognito mode your activity is cleared off of your device
and apps and not saved to your account.”389 In a subsequent email discussion, one Europe-based
Chrome project manager noted that CEO Pichai’s speech writing team and marketing staff had
failed to consult with Chrome engineers while developing the I/O proposal, and called attention
to “false statements that we should not put out (such as incognito would not store activity to your
account, however, if you log into google in chrome’s incognito, we will store information).”390

      However, at an April 29, 2019, meeting of the PDPO Steering Committee, Pichai
reportedly stated that he “didn’t want to put Incognito under the spotlight so this
iconography/rebranding should not be an I/O topic.”391



385
      GOOG-BRWN-00696751
386
      GOOG-CABR-05270014, cited in Mardini Tr. 345-346
387
      GOOG-BRWN-00153850.C at -55.C, -56.C
388
      GOOG-BRWN-00048967.C
389
      GOOG-BRWN-00048967.C
390
      GOOG-BRWN-00457784
391
      GOOG-BRWN-00388293 at -93


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      In an August 8, 2019, email, another Google developer noted that, “To be perfectly clear,
the data collected while Incognito is strictly NOT anonymous. [emphasis in original] When
using a Google service, data (e.g., search queries) is tied to a pseudonymous ID [...] that is then
stored with the user’s IP address, user agent and other metadata (everything in the gwslog proto).
While we don’t connect it to a user’s identity and there are many internal policies to ensure it
does not happen, it’s not impossible. [...] we potentially might be continuously trying to stay
ahead, while making privacy worse by collecting Incognito when the user has clearly told
Chrome that it wants to be private.”392

      In an August 13, 2019, internal email discussion of options for introducing Incognito to
other Google applications, a PDPO product manager stated, “We also erode user privacy from a
1p Google perspective by continuing to collect/use data. So maybe a mixed story for interactions
with 3p sites, but bad when interacting with Google.”393

       In an August 2019 internal “Incognito Strategy and Creative Brief,” the author stated that
“we know that users today don’t fully understand the privacy protections that Incognito (IM)
provides, potentially putting users at risk in the moments when they expect the most privacy. [...]
They also already strongly associate IM with ‘private’ and ‘anonymous.’ Both are technical
overpromises for the product today. [...] Currently iconography exacerbates confusion around
product expectations and does not accurately represent the x-product product promise we see as
the future of Incognito. [...] Specifically, when shown in isolation, users most freely associate the
current icon (Exhibit I) with words like ‘private,’ ‘secret,’ ‘spy,’ ‘detective,’ ‘mysterious,’ or
‘watch.’”394

      In an August 20, 2019, internal email discussion of the implementation of Incognito across
various Google applications, a PDPO product manager stated, “Maintaining the status quo is bad
for Google as there are potential misrepresentation risks here (and the reason we never talked
about it). People trust Incognito due to the many misconceptions so doing nothing also risks
eroding user trust, especially in today’s landscape.”395

      In 2020, one Google employee wrote that “We already know that they will expect more
from Incognito than what it actually does. I’m struggling to come up with any research for
Incognito that doesn’t highlight how broken it is.”396

       A March 2020 slide deck on Incognito mode’s user interface noted that “Participants
overestimate private mode protections”; misconceptions included “that it prevents all external
parties from accessing user data and search history, safeguards against hacking, and protects




392
      GOOG-CABR-00501220
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      GOOG-BRWN-00700255
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      GOOG-BRWN-00569625
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      GOOG-BRWN-00700347
396
      GOOG-BRWN-00441285


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against tracking and ad targeting... gives anonymity, obscures location, hides browsing activity
from Google...”397

       In mid-2020, Google began blocking third-party cookies within Incognito, updating the
Splash Screen to include a toggle to “block third-party cookies.” The Splash Screen states that,
when this toggle is switched on, “sites can’t use cookies that track you across the web.” A
reasonable user would interpret this feature to mean that switching it “on” would prevent Google
from tracking users across the web, since Google cookies would presumably be third-party
cookies when used on non-Google websites. But in fact, Google cookies are often classified as
first-party cookies even on non-Google websites. Accordingly, this new Incognito feature is
much less useful than it appeared, since it did not stop Google’s use of first-party cookies to
track users across non-Google websites. A December 2019 Google document concludes as
much, when the author states that users did not understand that Google cookies are classified as
first-party even on non-Google websites: “All Google cookies may be seen as 3P trackers even
though they may be mostly used in 1P context.”398

       In a July 2020 email conversation, one Google staffer wrote, “omgosh FYI—for Chrome
users, it’s technically possible on the Search side to distinguish between Incognito and non-
Incognito browsing entirely independently from the cookie state. It has to do with what other
headers Chrome sends to Google. As such, some server-side metrics (e.g., metrics in
can be calculated sliced by Incognito status for Chrome. This is a PR nightmare waiting to
happen... we should be pretty careful with this. I had no idea this was possible!”399

         In July 2021, Google employees worked on a


                                                                                               00

Google has not yet made those changes.

      In an undated internal communication on implementation of Incognito mode on various
Google platforms, a Google employee proposed an alternative design for the Incognito Splash
Screen.




                                                               Google did not adopt this clearer
and more accurate proposal, and the Incognito Splash Screen remains incomplete and



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      GOOG-BRWN-00042388
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      GOOG-BRWN-00844165
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      GOOG-BRWN-00176481
400
      GOOG-CABR-04739841 at -41


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misleading.401




     Commenting on that proposal, another staff member noted that the name “Incognito
mode” “misleads from the very first.”402

      On January 29, 2021, Google’s Chief Marketing Officer Lorraine Twohill emailed four top
Google executives, including CEO Pichai, identifying issues she thought Google needed to
address, including to “make Incognito mode truly private” by “turning cookie blocking on by
default” and “adding cautionary language” while noting that Google was otherwise “limited in
how strongly we can market Incognito because it’s not truly private, thus requiring really fuzzy,
hedging language that is almost more damaging.” (The perception of “Incognito” as a fuzzy term
was shared by other engineering staff.403) Twohill additionally acknowledged the privacy-
invasive, morally problematic nature of real-time bidding, suggesting that the organization
“focus on where we think the long term is in Ads. Be more focused about which parts of the ads
business we want to get behind and stay behind (i.e. real time bidding on user data = bad;
contextual ads in search = good).”404

      Following the filing of this action, Google has proposed modifications to the Incognito
Splash Screen, removing the first paragraph that promises users that Incognito mode enables
them to “browse privately.”405 Such proposals demonstrate the feasibility of offering accurate



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      GOOG-CABR-00094550
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      GOOG-CABR-00094550
403
      Palmer Tr. 124:24-125:2
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disclosures. However, the misleading branding remains, and has been extended to other products
that offer very different forms of privacy protection than Chrome’s Incognito mode.

       For example, in 2016, Google released a messaging app called “Allo” that included a fully
encrypted mode called “Incognito.” This extension of the “Incognito” brand to another Google
product was concerning to at least one Chrome engineer. In an email, she stated, “I think it’s
extremely disappointing that ‘Incognito’ was used for another prominent Google feature that,
unlike Chrome’s Incognito mode, offers e2e [end-to-end] encryption. I expect it will lead to
confusion.”406 Elsewhere she wrote, “Although they both mean ‘private,’ they are completely
different definitions of ‘private.’ One means encryption such as your messages are hidden from
both MITM and Google,” whereas in Chrome’s Incognito mode, “Google can see content on
various services.”407 Others concurred, observing that “We already have a brand problem with
Incognito that this is going to exacerbate,” and, “I’m worried that Allo’s use of Incognito will
reinforce the misperception that people already have—that Chrome Incognito does some kind of
e2e encryption to protect you from surveillance.”408 A product manager filled them in on the
backstory: “The (Allo) team is aware of the fact that end-to-end encryption is the opposite
privacy feature of what Chrome’s Incognito mode provides. [...] We did share our concerns with
them in depth, and also all user research we’ve done over the last two years.” However, the
choice to apply the “Incognito” brand to Allo, she wrote, “was a Sundar-level decision.”409
Elsewhere, she referred to meetings with the Allo team that occurred “after their first Sundar
meeting in which he brought up the idea to call Allo’s privacy feature ‘Incognito mode’ and
another one after their second Sundar meeting in which they decided to go with it.”410 One
software engineer remarked, “Allo effectively ruined the clarity of our message by using our
name for a thing that is very different from our thing. [...] Allo’s definition of the term is much
stronger and makes much more sense.”411 Another agreed that “[Incognito] has always been an
over-reaching name.”412

       Although the original “Incognito” name and “Spy Guy” icon were the product of Google’s
marketing department fourteen years ago,413 Google leadership’s loyalty to these brand elements
persists in spite of evidence from the company’s own research that they contribute to users’
overestimation of Incognito mode’s capabilities, and in spite of numerous warnings from
developers and product managers that this was the case. In February 2019, CEO Pichai sent an
email to all Google employees encouraging “tighter focus and coordination across Google so we

Mike Kilpatrick, “Google set to clarify what Incognito mode does and doesn’t do after being hit with lawsuit,”
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410
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411
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412
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413
      Rakowski Tr. 24:9-26:2


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can launch new privacy features—such as Incognito mode—across major Google products.”
Discussing a meeting with upper management about this endeavor, one staff member recalled
that, “Sundar asked to stick to one brand instead of inventing multiple similar but distinct brands
by the company.”414 Name recognition, it would seem, trumps accuracy; as one engineer recently
put it, “Incognito has always been called Incognito.”415

      Google’s persistence in collecting, storing, and using private browsing information,
notwithstanding its detailed knowledge of users’ misconceptions of the protection afforded by
the ostensibly “private” Incognito mode, is highly offensive because it constitute a serious
invasion of users’ privacy for economic gain and an abuse of people’s trust in moments where
they are most vulnerable, and moments where they seek refuge in privacy.

        13. Conclusion
               13.1. Google is Engaged in “Privacy Theater”

       Google knows it can’t deliver on its promises. In comments on an undated document
entitled, “Why you can’t have privacy,” one Google employee acknowledged that “Our notions
of ‘privacy’ come from the social interactions we have without peers in our communities,” to
which another replied, “Users are increasingly distrustful of ‘Big Tech’ because it collects,
shares, stores, and eventually leaks raw data. We’re a bunch of kids tossing eggs around
promising not to break them, and many users know better.”416

      In 2003, I coined the term “security theater” to describe many ineffective, inconvenient
and potentially dangerous (think certain body scanners) security measures instituted by the
Transportation Security Administration and other government agencies in the wake of the
September 11 attacks. (I discuss this topic at length in my book Beyond Fear.417) The phrase
“privacy theater” has subsequently emerged to describe certain highly publicized moves by
Google and other tech companies to assure users that their data they collect is not being used in a
harmful or exploitative manner.418


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      GOOG-BRWN-00140157, cited in Halavati Tr. 90:21-91:3
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      GOOG-CABR-05766858
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      My extensive experience in the field of computer security and privacy, and the evidence
presented in this case, leads me to concur that Google’s effort to position the company as a
champion of user privacy at the same time that it assiduously accumulates data about users’
online activity—even when they take up the company’s offer to browse in a manner promised to
shield them from unwanted scrutiny—is a form of “privacy theater,” one that is more concerned
with managing users’ impressions than with respecting their privacy intentions. After all,
increasing user privacy would negatively affect Google’s income stream.



Respectfully submitted by,
/s/ Bruce Schneier
Date : April 15, 2022




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               EXPERT REPORT OF BRUCE SCHNEIER


                            April 15, 2022




                             Appendix 1
                         Exhibits Relied Upon
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Paywalled material is marked with an asterisk; full text is appended at the end of this document.

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Deposition Transcripts



 Bhatnagar Transcript

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Case Exhibits



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GOOG-BRWN-00567843

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GOOG-CABR-00799341

GOOG-CABR-03667556

GOOG-CABR-03683841

GOOG-CABR-03689232

GOOG-CABR-03750737

GOOG-CABR-03827263

GOOG-CABR-03923580

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                    Google worker arrested for cyberstalking

                    Erin Allday


                    A Google employee from San Jose is facing federal charges in connection with the
                    alleged cyberstalking of a former college classmate and a threat to reveal naked
                    pictures of her if she didn’t send him more explicit photos and videos.

                    According to documents posted Friday on The Smoking Gun website, Nicholas
                    Rotundo, 23, was arrested Oct. 4 after an investigation by the FBI and the
                    University of Texas at Dallas. According to the FBI documents, Rotundo was an
                    employee of Google in Mountain View and living in San Jose during the 15 months
                    when the online harassment allegedly took place. It’s not known whether he is still
                    employed by Google.

                    The alleged stalking began in June 2013 when a woman, identified in the FBI
                    documents as a University of Texas at Dallas student, received an e-mail inviting
                    her to join a research study on “the public’s perception of different breast types.”
                    The invitation came from the e-mail address breastperceptionstudy @gmail.com.
                    The woman’s named was blacked out in the FBI documents, and she is referred to
                    as “CC” in most cases.

                    The sender asked that CC submit four naked photographs for the study, and in
                    return she would receive $4,500 in compensation, according to the FBI documents.
                    CC did not send the photos. Two weeks later another email arrived from the same
                    address, this time offering $6,000. On Dec. 19, a third e-mail arrived offering
                    $8,500. CC e-mailed photos of herself the next day.

                    On Jan. 26, CC received an unsettling message from another e-mail account,
                    widgerword @gmail.com, which was associated with the name John Smarting. The
                    new message stated that the sender had “stumbled across” naked photos of CC and
                    would “make sure that nobody else” finds them, according to the FBI.

                    In exchange, he told her to send him several more naked photos — more explicit
                    than the ones she’d originally sent — plus a video. He sent several more threatening
                    e-mails over the next several days. He also advised her not to report the threats to
                    authorities, stating that he could “cover (his) tracks better than that,” according to
                    the FBI documents.

                    CC did go to University of Texas authorities, however, and an investigation was
                    launched with the FBI.

                    Investigators requested Internet protocol address activity associated with the
                    breastperceptionstudy and widgerword Gmail accounts. They found the same IP
                    address associated with multiple logins on both accounts, and later traced that IP
                    address to an Internet account belonging to “Google Nick Rotundo,” according to
                    the FBI documents.

                    Investigators later used a search warrant to access e-mail in the widgerword
                    account and found messages connecting Rotundo with the account. They also found


1 of 2                                                                                                               2/28/2022, 12:12 PM
Google worker arrested for cyberstalking                      https://www.sfgate.com/crime/article/Google-worker-arrested-for-cyberst...
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                    evidence of photos taken of two other women, without their knowledge, via web
                    cameras on their laptops, according to the documents.

                    Meanwhile, in April this year, authorities showed a photo of Rotundo to CC, who
                    told them she recognized him from school. According to the FBI documents,
                    Rotundo graduated from the University of Texas in May 2013, just before he started
                    working at Google.

                    In mid-September, CC started to get more e-mails, including one that stated if she
                    didn’t send more naked photos of herself, the original photos she sent would show
                    up on a revenge-porn website, according to the FBI.

                    Rotundo was indicted on Oct. 8 by a federal grand jury on two charges of
                    cyberstalking and one charge of computer intrusion. He pleaded not guilty and is
                    free on $4,500 bond.

                    Erin Allday is a San Francisco Chronicle staff writer. E-mail:
                    eallday@sfchronicle.com




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                                           a Vast Scale


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                                           The National Security Agency’s headquarters in Fort Meade, Md. The agency has gotten
                                           access to billions of emails with the cooperation of AT&T. Saul Loeb/Agence France-Presse — Getty
                                           Images




                                           By Julia Angwin, Charlie Savage, Jeff Larson, Henrik Moltke, Laura Poitras and
                                           James Risen
                                           Aug. 15, 2015



                                           The National Security Agency’s ability to spy on vast quantities of Internet
                                           traffic passing through the United States has relied on its extraordinary,
                                           decades-long partnership with a single company: the telecom giant AT&T.

                                           While it has been long known that American telecommunications
                                           companies worked closely with the spy agency, newly disclosed N.S.A.
                                           documents show that the relationship with AT&T has been considered
                                           unique and especially productive. One document described it as “highly
                                           collaborative,” while another lauded the company’s “extreme willingness to
                                           help.”

                                           AT&T’s cooperation has involved a broad range of classified activities,
                                           according to the documents, which date from 2003 to 2013. AT&T has
                                           given the N.S.A. access, through several methods covered under different
                                           legal rules, to billions of emails as they have flowed across its domestic
                                           networks. It provided technical assistance in carrying out a secret court
                                           order permitting the wiretapping of all Internet communications at the
                                           United Nations headquarters, a customer of AT&T.


                                                                          Julia Angwin and Jeff Larson report for
                                                                          ProPublica.




https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html[4/15/2022 10:16:41 AM]
AT&T Helped U.S. Spy on Internet on a Vast Scale - The New York Times
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                                           The N.S.A.’s top-secret budget in 2013 for the AT&T partnership was more
                                           than twice that of the next-largest such program, according to the
                                           documents. The company installed surveillance equipment in at least 17 of
                                           its Internet hubs on American soil, far more than its similarly sized
                                           competitor, Verizon. And its engineers were the first to try out new
                                           surveillance technologies invented by the eavesdropping agency.
                                                                                                ADVERTISEMENT




                                           One document reminds N.S.A. officials to be polite when visiting AT&T
                                           facilities, noting, “This is a partnership, not a contractual relationship.”



                                           Newly Disclosed N.S.A.
                                           Files Detail Partnerships
                                           With AT&T and Verizon
                                           These National Security Agency
                                           documents shed new light on the
                                           agency’s relationship through the
                                           years with American
                                           telecommunications companies. They
                                           show how the agency’s partnership
                                           with AT&T has been particularly
                                           important, enabling it to conduct
                                           surveillance, under several different
                                           legal rules, of international and
                                           foreign-to-foreign Internet
                                           communications that passed through
                                           network hubs on American soil.




                                           The documents, provided by the former agency contractor Edward J.
                                           Snowden, were jointly reviewed by The New York Times and ProPublica.
                                           The N.S.A., AT&T and Verizon declined to discuss the findings from the
                                           files. “We don’t comment on matters of national security,” an AT&T
                                           spokesman said.

                                           It is not clear if the programs still operate in the same way today. Since the
                                           Snowden revelations set off a global debate over surveillance two years ago,
                                           some Silicon Valley technology companies have expressed anger at what
                                           they characterize as N.S.A. intrusions and have rolled out new encryption


https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html[4/15/2022 10:16:41 AM]
AT&T Helped U.S. Spy on Internet on a Vast Scale - The New York Times
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                                           to thwart them. The telecommunications companies have been quieter,
                                           though Verizon unsuccessfully challenged a court order for bulk phone
                                           records in 2014.
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                                           At the same time, the government has been fighting in court to keep the
                                           identities of its telecom partners hidden. In a recent case, a group of AT&T
                                           customers claimed that the N.S.A.’s tapping of the Internet violated the
                                           Fourth Amendment protection against unreasonable searches. This year, a
                                           federal judge dismissed key portions of the lawsuit after the Obama
                                           administration argued that public discussion of its telecom surveillance
                                           efforts would reveal state secrets, damaging national security.

                                           The N.S.A. documents do not identify AT&T or other companies by name.
                                           Instead, they refer to corporate partnerships run by the agency’s Special
                                           Source Operations division using code names. The division is responsible
                                           for more than 80 percent of the information the N.S.A. collects, one
                                           document states.

                                           Fairview is one of its oldest programs. It began in 1985, the year after
                                           antitrust regulators broke up the Ma Bell telephone monopoly and its long-
                                           distance division became AT&T Communications. An analysis of the
                                           Fairview documents by The Times and ProPublica reveals a constellation of
                                           evidence that points to AT&T as that program’s partner. Several former
                                           intelligence officials confirmed that finding.

                                           A Fairview fiber-optic cable, damaged in the 2011 earthquake in Japan, was
                                           repaired on the same date as a Japanese-American cable operated by
                                           AT&T. Fairview documents use technical jargon specific to AT&T. And in
                                           2012, the Fairview program carried out the court order for surveillance on
                                           the Internet line, which AT&T provides, serving the United Nations
                                           headquarters. (N.S.A. spying on United Nations diplomats has previously
                                           been reported, but not the court order or AT&T’s involvement. In October
                                           2013, the United States told the United Nations that it would not monitor
                                           its communications.)




https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html[4/15/2022 10:16:41 AM]
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                                           The documents also show that another program, code-named Stormbrew,
                                           has included Verizon and the former MCI, which Verizon purchased in
                                           2006. One describes a Stormbrew cable landing that is identifiable as one
                                           that Verizon operates. Another names a contact person whose LinkedIn
                                           profile says he is a longtime Verizon employee with a top-secret clearance.

                                           After the terrorist attacks of Sept. 11, 2001, AT&T and MCI were
                                           instrumental in the Bush administration’s warrantless wiretapping
                                           programs, according to a draft report by the N.S.A.’s inspector general. The
                                           report, disclosed by Mr. Snowden and previously published by The
                                           Guardian, does not identify the companies by name but describes their
                                           market share in numbers that correspond to those two businesses,
                                           according to Federal Communications Commission reports.

                                           AT&T began turning over emails and phone calls “within days” after the
                                           warrantless surveillance began in October 2001, the report indicated. By
                                           contrast, the other company did not start until February 2002, the draft
                                           report said.
                                                                                                ADVERTISEMENT




                                           In September 2003, according to the previously undisclosed N.S.A.
                                           documents, AT&T was the first partner to turn on a new collection
                                           capability that the N.S.A. said amounted to a “ ‘live’ presence on the global
                                           net.” In one of its first months of operation, the Fairview program
                                           forwarded to the agency 400 billion Internet metadata records — which
                                           include who contacted whom and other details, but not what they said —
                                           and was “forwarding more than one million emails a day to the keyword
                                           selection system” at the agency’s headquarters in Fort Meade, Md.
                                           Stormbrew was still gearing up to use the new technology, which appeared
                                           to process foreign-to-foreign traffic separate from the post-9/11 program.

                                           In 2011, AT&T began handing over 1.1 billion domestic cellphone calling
                                           records a day to the N.S.A. after “a push to get this flow operational prior to
                                           the 10th anniversary of 9/11,” according to an internal agency newsletter.
                                           This revelation is striking because after Mr. Snowden disclosed the
                                           program of collecting the records of Americans’ phone calls, intelligence


https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html[4/15/2022 10:16:41 AM]
AT&T Helped U.S. Spy on Internet on a Vast Scale - The New York Times
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                                           officials told reporters that, for technical reasons, it consisted mostly of
                                           landline phone records.

                                           That year, one slide presentation shows, the N.S.A. spent $188.9 million on
                                           the Fairview program, twice the amount spent on Stormbrew, its second-
                                           largest corporate program.

                                           After The Times disclosed the Bush administration’s warrantless
                                           wiretapping program in December 2005, plaintiffs began trying to sue
                                           AT&T and the N.S.A. In a 2006 lawsuit, a retired AT&T technician named
                                           Mark Klein claimed that three years earlier, he had seen a secret room in a
                                           company building in San Francisco where the N.S.A. had installed
                                           equipment.

                                           Mr. Klein claimed that AT&T was providing the N.S.A. with access to
                                           Internet traffic that AT&T transmits for other telecom companies. Such
                                           cooperative arrangements, known in the industry as “peering,” mean that
                                           communications from customers of other companies could end up on
                                           AT&T’s network.

                                           After Congress passed a 2008 law legalizing the Bush program and
                                           immunizing the telecom companies for their cooperation with it, that
                                           lawsuit was thrown out. But the newly disclosed documents show that
                                           AT&T has provided access to peering traffic from other companies’
                                           networks.

                                           AT&T’s “corporate relationships provide unique accesses to other telecoms
                                           and I.S.P.s,” or Internet service providers, one 2013 N.S.A. document
                                           states.
                                                                                                ADVERTISEMENT




                                           Because of the way the Internet works, intercepting a targeted person’s
                                           email requires copying pieces of many other people’s emails, too, and
                                           sifting through those pieces. Plaintiffs have been trying without success to
                                           get courts to address whether copying and sifting pieces of all those emails
                                           violates the Fourth Amendment.




https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html[4/15/2022 10:16:41 AM]
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                                           Many privacy advocates have suspected that AT&T was giving the N.S.A. a
                                           copy of all Internet data to sift for itself. But one 2012 presentation says the
                                           spy agency does not “typically” have “direct access” to telecoms’ hubs.
                                           Instead, the telecoms have done the sifting and forwarded messages the
                                           government believes it may legally collect.

                                           “Corporate sites are often controlled by the partner, who filters the
                                           communications before sending to N.S.A.,” according to the presentation.
                                           This system sometimes leads to “delays” when the government sends new
                                           instructions, it added.

                                           The companies’ sorting of data has allowed the N.S.A. to bring different
                                           surveillance powers to bear. Targeting someone on American soil requires a
                                           court order under the Foreign Intelligence Surveillance Act. When a
                                           foreigner abroad is communicating with an American, that law permits the
                                           government to target that foreigner without a warrant. When foreigners are
                                           messaging other foreigners, that law does not apply and the government
                                           can collect such emails in bulk without targeting anyone.

                                           AT&T’s provision of foreign-to-foreign traffic has been particularly
                                           important to the N.S.A. because large amounts of the world’s Internet
                                           communications travel across American cables. AT&T provided access to
                                           the contents of transiting email traffic for years before Verizon began doing
                                           so in March 2013, the documents show. They say AT&T gave the N.S.A.
                                           access to “massive amounts of data,” and by 2013 the program was
                                           processing 60 million foreign-to-foreign emails a day.

                                           Because domestic wiretapping laws do not cover foreign-to-foreign emails,
                                           the companies have provided them voluntarily, not in response to court
                                           orders, intelligence officials said. But it is not clear whether that remains
                                           the case after the post-Snowden upheavals.

                                           “We do not voluntarily provide information to any investigating authorities
                                           other than if a person’s life is in danger and time is of the essence,” Brad
                                           Burns, an AT&T spokesman, said. He declined to elaborate.

                                                                                                ADVERTISEMENT




https://www.nytimes.com/2015/08/16/us/politics/att-helped-nsa-spy-on-an-array-of-internet-traffic.html[4/15/2022 10:16:41 AM]
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Original Article

Youtube videos as an information source about urinary incontinence
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A R T I C L E            I N F O                            A B S T R A C T

Article History:                                            Aim: Youtube is one of the most popular video-sharing websites, and people use Youtube as a source of infor-
Received 11 March 2021                                      mation. Patients with urinary incontinence may seek information about their condition on Youtube. This
Revised 27 June 2021                                        study aims to assess the videos on Youtube about urinary incontinence and evaluate the information regard-
Accepted 11 July 2021
                                                            ing whether patients can understand and/or act accordingly.
Available online 13 July 2021
                                                            Methods: We performed a Youtube search with the keywords of "incontinence," "urinary incontinence," and
                                                            "overactive bladder" in the English language with the incognito mode on the browser. All links were
Keywords:
                                                            extracted and recorded in an excel ﬁle. Duplicated links were removed, and metadata of the videos were col-
Overactive bladder
Social media
                                                            lected. A custom python language script was used to perform this operation. We selected the most viewed
urinary Incontinence                                        150 videos for the assessment. After removing the non-related videos, 112 of them were included in the
                                                            study. Two researchers separately evaluated all the videos with the Patients Education Material Assessment
                                                            Tool (PEMAT, audiovisual version).
                                                            Results: The total duration of all included (n:112) videos was 12.6 hours, and these videos had been watched
                                                            37,332,178 times until the query date. The vast majority of the videos were about information, management,
                                                            and treatment options (Kegel exercises, surgery modalities) of incontinence, individual experiences of
                                                            patients with incontinence, commercials about the diapers, and healthcare professionals who wanted to
                                                            introduce themselves or their services.
                                                            Mean understandability and actionability scores of the videos were 57.9% and, 44.7% respectively. Our analy-
                                                            sis showed that only 12.5% of the videos on Youtube related to incontinence were understandable, as well as
                                                            actionable, in terms of PEMAT scores.
                                                            Conclusion: According to our study, 87.5% of the videos about incontinence on Youtube.com in the English
                                                            language were not understandable and actionable for users. Development of high-quality content about
                                                            incontinence is needed.
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Introduction                                                                                         A former study in the literature has shown that the majority of con-
                                                                                                 tent on Youtube about urinary incontinence was not created by health-
    The internet has been one of the most important information                                  care professionals or non-informative [5]. Urinary incontinence is a
resources for health issues in recent years [1]. Social media platforms                          serious healthcare problem with high incidence. It also causes substan-
(e.g., Youtube, Facebook, Instagram, and Twitter) provided a medium                              tial costs and diminishes the quality of life of people [6,7]. However,
to a general user to get information and spread their experience for a                           most urinary incontinence patients cannot get proper health counsel-
speciﬁc topic. The healthcare professionals used the same medium to                              ing due to embarrassment and/or lack of knowledge [8]. Social media
spread scientiﬁc knowledge, promote their skills, and advertise their                            platforms ﬁll this gap by providing anonymity and unlimited options
services [2]. Besides other platforms, Youtube, with over 1 billion                              to the user with questionable information. This study aims to evaluate
users and over 5 billion visitors per day, has a particular role in                              the content of urinary incontinence in Youtube by a urologist and a
informing the users about various healthcare problems [3]. However,                              gynecologist and determine whether patients will be able to under-
the relevance and usefulness of the medical content on Youtube are                               stand and act on the provided information.
still controversial. Moreover, the users can easily access content,
make comments and ratings on highly technical topics [4].
                                                                                                 Material and method

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versity, Dr. Turgut Noyan Application and Research Center, Gazi Paşa Mah. Baraj Sok.
                                                                                                    On January 11, 2021, after connecting to Youtube.com with
No:7 Seyhan Adana, Turkey.                                                                       Chrome browser, we made keyword searches for each of "inconti-
    E-mail address: safakyilmazbaran@gmail.com (S. Yilmaz Baran).                                nence," "urinary incontinence," and "overactive bladder" in the

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English language separately with settings of incognito mode on the               major domains as understandability and actionability. The under-
browser. Incognito mode provides the user an online privacy feature              standability domain contains 13, and actionability contains four
that restricts the user's browsing history from being stored and pre-            questions in which the answer can be as "agree," "not agree," or "not
vents individualized search results from the website's search engines.           applicable." Total understandability and actionability scores were cal-
The web page scrolled down until reaching the bottom of the page,                culated for each video with the formula (Total Points/Total Possible
and the entire page recorded to the locale computer as an Html ﬁle. A            Points x100), and mean scores were presented as the mean scores of
custom python script was used to extract all video links, to ﬁnd and             both researchers. If the calculated score was over 70% points, the
remove duplicated ones, to get Youtube statistics such as title of the           video was accepted as understandable or actionable [10]. After calcu-
video, author, view count, like, dislike and comments numbers, dura-             lating the mean understandability and actionability scores of each
tion of the video, broadcast date, rating, and keywords and recorded             video, we created groups in terms of scores in which the point is
all data to a single excel ﬁle. The ﬁrst most viewed 150 videos were             equal/above or below 70%. Also, kappa scores for conceiving inter-
included in the study. Videos other than the English language and/or             rater variability were calculated.
unrelated to the topic (fecal incontinence, animal incontinence, musi-               Since no patient data or materials were used and all videos are
cal clips, the religious aspect of incontinence, frequency therapy vid-          publicly available on the social media website (Youtube.com), there
eos) were excluded from the evaluation, and the remaining videos                 was no need to obtain an institutional review board or ethics com-
were considered as the cohort of the study. As statistical variables,            mittee approval for this study.
type of the video (commercial, amateur, healthcare professional),
intended audience (publicity, patients, medical students, practi-                Statistics
tioners), the narrator of the video (healthcare professional, anony-
mous), the gender polarity of the incontinence in the video (female,                Data were analyzed with SPSS Version 21 (Armonk, NY: IBM
male or child incontinence), accuracy of the information provided in             Corp). Continuous and categorical outcomes were compared using
the video prepared for patients, commercial bias (videos with a sug-             the Student t-test and Fisher's exact test, respectively. Cohen's kappa
gestion to purchase a product, encouragement to create an appoint-               coefﬁcient and conﬁdence intervals were calculated to assess inter-
ment, recommendation to subscribe to a paid service or videos with               rater variability. Bivariate correlation analysis evaluated the correla-
product placement) and also videos with censored material (surgical              tion between PEMAT scores and video metadata. Comparison of
scenes, genital organs, or both) were noted. Two researchers (CB-                PEMAT scores in terms of different multiple grouping variables was
Urologist, SYB-Gynecologist) reviewed the videos for understandabil-             made with the ANOVA test. Bonferroni post-hoc test was used when
ity and actionability using the validated questionnaire, Patients Edu-           ANOVA had a statistically signiﬁcant comparison between groups. A
cation Material Assessment Tool (PEMAT, audiovisual version). Also,              p-value of <0.05 was considered statistically signiﬁcant.
like ratio (like£100/[like + dislike]), view ratio, the number of views/
days, and video power index (VPI) (like ratio£view ratio/100) were               Results
calculated from metadata of the videos.
    The PEMAT is a validated questionnaire developed by Agency for                   We included the analysis of the ﬁrst 150 videos after sorting them
Healthcare Research and Quality and published in 2014 [9]. We used               according to the most-viewed feature. Out of 150 videos, we
PEMAT for audiovisual materials that provide comprehensive evalua-               excluded 38 videos due to irrelevant content. A chart ﬂow demon-
tion and comparable objective scores of the material in terms of two             strating selection steps is presented in Figure 1. All included (n:112)




                                                          Fig. 1. Flowchart of the video selection.

                                                                             2
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Table 1                                                                               Table 2
The content features of the videos.                                                   The characteristics of the metadata of the videos.

                                      Variable                       n (%)                                                       Mean § Standard Deviation   Sum

  Type of Video                                                                         View Count                               333323 § 1011251            37332178
                                      Commercial                      18 (16.1)         Like Count                                1116.4 § 3319.4            120575
                                      Amateur                         25 (22.3)         Dislike Count                              109.6 § 271.8             11619
                                      Healthcare Professional         69 (61.6)         Comment Count                               86.2 § 269.3             8444
  Intended Audience                                                                     Duration (minutes)                           6.8 § 8.46              758.6
                                      Publicity                       36 (32.1)         View Ratio                                 206.7 § 462.1             -
                                      Patients                        51 (45.5)         Like Ratio                                  87.3 § 10.4              -
                                      Medical Students                 3 (2.7)          Video Power Index                          159.9 § 347.8             -
                                      Medical Practitioners           22 (19.6)         Days Published                             2073 § 1144               -
  Narrator                                                                              Understandability Score with               57.9% § 19.8%             -
                                      Healthcare Professional         37 (33)             PEMAT*
                                      Anonymous                      557 (50.9)         Actionability Score with PEMAT             44.7% § 35.9%             -
                                      No Narrator                     18 (16.1)
                                                                                        * Patients Education Material Assessment Tool
  Gender Polarity
                                      General                         36 (32.1)
                                      Female                          56 (50)         commercial bias, censored material, and broadcast time) in terms of
                                      Male                            19 (17)
                                                                                      PEMAT scores. There was a statistically signiﬁcant difference between
                                      Children                         1 (0.9)
  Treatment Explained                                                                 group means in the narrator variables in both understandability and
                                      No                              49 (43.8)       actionability scores. Also, there was a signiﬁcant difference in the
                                      Yes                             63 (56.3)       intended audience variables for only understandability scores.
  Accuracy of the Information
                                                                                          Videos without a narrator had the lowest understandability
    (Videos for Patients)
                                      True Information                46 (90.1)       (40.8§25.5%) and actionability (25§28.7%) scores. Both scores were
                                      False Information                5 (9.9)        the highest when the narrator was a healthcare professional (under-
  Commercial Bias                                                                     standability 62.8§16.7% and actionability 57.3§37.1%, respectively).
                                      No                              77 (68.8)       Anonymous narrator scores were close to the healthcare professional
                                      Yes                             35 (31.3)
                                                                                      group (understandability 60.11§16.9% and actionability 42.8§12.4%,
  Censored Material
                                      None                            95 (84.8)       respectively). There was a statistically signiﬁcant difference between
                                      Visible genitalia                4 (3.6)        group means as determined by the ANOVA test (F=9.42, p<0.001).
                                      Surgical scenes                  3 (2.7)        Post-hoc comparisons revealed that the signiﬁcant differences
                                      Visible genitalia + Surgical     9 (8)
                                                                                      occurred between no narrator and anonymous groups (p=0.001) and
                                        scenes
  Broadcasted
                                                                                      no narrator and healthcare professional (p<0.001) groups, while
                                      2016 − 2021                     52 (46.4)       anonymous and healthcare professional narrator comparison has no
                                      Before 2016                     60 (53.6)       signiﬁcant difference (p=1) in terms of understandability scores. As
                                                                                      for the comparison according to actionability scores, healthcare pro-
                                                                                      fessional and no narrator comparison had signiﬁcant differences
videos' total duration was 12.6 hours, and they had been watched                      (p=0.005).
37,332,178 times until the query date. In the included videos, the ini-                   The evaluation of the intended audience videos revealed that vid-
tial publishing date was February 2007, and the most viewed video                     eos prepared for patients have the highest understandability (62.3§
reached over 9.5 million views count while the least viewed video                     18%) and actionability (52.9§38.2%) scores. When the intended audi-
was watched over 40 thousand times. The vast majority of the videos                   ence was medical practitioners, both scores were decreased (under-
were about information, management, and treatment options (Kegel                      standability 44.9§23.7 and actionability 37.6§8). There was a
exercises, surgery modalities) of incontinence, individual experiences                statistical difference in only understandability scores as determined
of patients with incontinence, commercials about the diapers, and                     by the ANOVA test (F=5.18, p=0.002). In post hoc comparisons, only
healthcare professionals who wanted to introduce themselves or                        differences were detected between the videos prepared for patients
their services.                                                                       and medical professionals (p=0.003).
    Mean understandability and actionability scores of the videos                         Our ﬁnal analysis was on the videos with 100% scores in both
were 57.9% and 44.7%, respectively. The results of the selected 112                   PEMAT understandability and actionability domains. We found three
videos are presented in Tables 1 and 2. Our analysis demonstrated                     videos with full scores, and their mean duration was 3.9 minutes
that only 12.5% of the videos on Youtube related to incontinence                      with over 1.5 million view counts. All videos were published before
were understandable, as well as actionable, in terms of PEMAT scores.                 2016 and had a narrator without any commercial bias or censored
Moreover, 53.6% of videos were neither understandable nor action-                     material.
able, while 22.3% were just understandable and 12.5% were only
actionable.
    None of the metadata variables such as view, like, dislike, com-                  Discussion
ment counts, video duration, view ratio, like ratio, or video power
index were correlated to the PEMAT understandability scores. How-                         The assessment of most viewed 112 videos about urinary inconti-
ever, "like counts" and "duration of the video" showed a weak corre-                  nence broadcasted on Youtube by two researchers from different dis-
lation with PEMAT actionability scores while other variables did not                  ciplines showed that mean understandability and actionability scores
(R2: 0.22, p=0.025 and R2: 0.19, p=0.045, respectively).                              were 57.9% and 44.7%, according to PEMAT, respectively. None of the
    In the Inter-Rater variability comparison, we found that the differ-              metadata (like, dislike, view count, comment count, video duration)
ence was acceptable. The distribution of the replies given by the                     of the videos was related to the PEMAT scores. According to statistical
researchers to the PEMAT questions and the statistical comparison in                  analysis with Kappa scores, there was an acceptable coherence
terms of Kappa scores are shown in Table 3.                                           between researchers in terms of PEMAT answers.
    We made a statistical comparison of the variables (type of video,                     Social media has become an indispensable part of daily life in
intended audience, narrator, gender polarity, treatment explained,                    recent years. People use various social media platforms, not only for
                                                                                  3
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                 Table 3
                 Inter-rater variability of PEMAT* scores.

                    PEMAT Item     Rater: CB*            Rater: SYB*   n (%)            Kappa Score (Standard Error)       95% Conﬁdence Interval

                    1              0                     0              17 (15.2)       0.79 (0.07)                        (0.64 − 0.94)
                                   0                     1               2 (1.8)
                                   1                     0               5 (4.5)
                                   1                     1              88 (78.6)
                    3              0                     0              31 (27.7)       0.78 (0.06)                        (0.65 − 0.90)
                                   0                     1               5 (4.5)
                                   1                     0               6 (5.4)
                                   1                     1              70 (62.5)
                    4              0                     0              40 (35.7)       0.80 (0.06)                        (0.68 − 0,91)
                                   0                     1               5 (4.5)
                                   1                     0               6 (5.4)
                                   1                     1              61 (54.4)
                    5              0                     0              38 (33.9)       0.90 (0.04)                        (0.82 − 0.99)
                                   0                     1               1 (0.9)
                                   1                     0               4 (3.6)
                                   1                     1              69 (61.6)
                    8              0                     0              57 (59.9)       0.71 (0.06)                        (0.59 − 0.84)
                                   1                     0              16 (14.3)
                                   0                     1               1 (0.9)
                                   1                     1              32 (28.6)
                                   N/A*                  N/A             6 (5.4)
                    9              0                     0              67 (59.8)       0.59 (0.08)                        (0.43 − 0.75)
                                   0                     1               8 (7.1)
                                   0                     N/A             1 (0.9)
                                   1                     0              12 (10.7)
                                   1                     1              18 (16.1)
                                   N/A                   N/A             6 (5.4)
                    10             0                     0              27 (24.3)       0.56 (0.08)                        (0.4 − 0.72)
                                   0                     1               7 (6.3)
                                   1                     0              15 (13.5)
                                   1                     1              62 (55.9)
                    11             0                     0              94 (83.9)       0.86 (0.07)                        (0.72 - 1)
                                   0                     1               1 (0.9)
                                   1                     0               3 (2.7)
                                   1                     1               8 (7,1)
                                   N/A                   N/A             6 (5.4)
                    12             N/A                   N/A           112 (100)        1.00 (0.0)                         (1.00 -1.00)
                    13             0                     0               2 (1.8)        0.82 (0.05)                        (0.72 − 0.92)
                                   0                     1               4 (3.6)
                                   1                     0               2 (1.8)
                                   1                     1              53 (47.3)
                                   1                     N/A             5 (4.5)
                                   N/A                   N/A            46 (41.1)
                    14             0                     0               2 (1.8)        0.77 (0.07)                        (0.63 − 0.91)
                                   0                     1               4 (3.6)
                                   1                     0               5 (4.5)
                                   1                     1              84 (75)
                                   N/A                   N/A            17 (15.2)
                    18             0                     0               7 (6.3)        0.66 (0.05)                        (0.56 − 0.77)
                                   0                     1              17 (15.2)
                                   1                     0               5 (4.5)
                                   1                     1              19 (17)
                                   N/A                   N/A            64 (57.1)
                    19             0                     0               1 (0.9)        0.68 (0.08)                        (0.52 − 0.84)
                                   0                     1               3 (2.7)
                                   1                     0               3 (2.7)
                                   1                     1               3 (2.7)
                                   N/A                   N/A           102 (91.1)
                    20             0                     0              41 (36.6)       0.60 (0.07)                        (0.46 − 0.75)
                                   0                     1              11 (9.8)
                                   1                     0              11 (9.8)
                                   1                     1              49 (43.8)
                    21             0                     0              46 (41,1)       0.48 (0.08)                        (0.36 − 0.64)
                                   0                     1              17 (15.2)
                                   1                     0              12 (10.7)
                                   1                     1              37 (33)
                    22             0                     0              63 (56.3)       0.63 (0.08)                        (0.48 − 0.78)
                                   0                     1              11 (9.8)
                                   1                     0               8 (7.1)
                                   1                     1              30 (26.8)
                    25             0                     0               3 (2.7)        0.90 (0.09)                        (0.72 − 1.08)
                                   0                     1               1 (0.9)
                                   1                     1               1 (0.9)
                                   N/A                   N/A           106 (95.5)
                 *PEMAT: Patients Education Material Assessment Tool
                 *CB: Caner Baran, Urologist
                 *SYB: Safak Yilmaz Baran, Gynecologist
                 *N/A: Not applicable

                                                                                    4
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fun but also to get information on almost every subject [11]. Accord-           and lowest for medical practitioners. Despite the videos for patients
ing to Smailhodzic et al., the use of social media by patients for              having better PEMAT scores, both understandability and actionability
health-related reasons has grown, and patients use social media as a            scores did not reach the pre-deﬁned score (70%). On the other hand,
supplement to healthcare professional services when the healthcare              since PEMAT scores do not reﬂect the accuracy of the information in
professionals could not meet their needs [12]. So, the quality of the           the videos, we evaluated the videos prepared for patients in terms of
information on social media is essentially having an impact on                  the accuracy of the presented information. As a result, we have found
patient behavior. For example, the duration of the Youtube content              that 90% of the information presented is correct (Table 1). The
about urinary incontinence is almost 193 hours and has been viewed              remaining 10% of the videos claim that incontinence could
over 50 million times. In this study, we evaluated the most viewed              completely be cured with ayurvedic, herbal, or spiritual practices,
112 related videos and revealed that the total duration of videos was           which are not suggested in current guidelines. These results show
12.6 hours, and they were watched over 37 million times. Therefore,             that even if the information in the video is correct, the presentation
our cohort consisted of almost 75% of the total audience in terms of            of the topic should be considered in order to increase the PEMAT
view count.                                                                     scores.
    There is a growing number of studies in the literature about the                In most viewed 112 videos, there was no content provided by pro-
information on social media, especially for Youtube. However, most              fessional societies. There could be such contents published by the
studies do not have any objective evaluation method and lack a stan-            societies. However, none of them reached at least a 40 thousand view
dard methodology [1]. Moreover, according to the paper published                count, according to our results. Therefore, professional societies
by Google, the videos that a healthcare professional reaches when               should consider Youtube and other social media platforms to dissem-
searching "urinary incontinence", will be different from videos that a          inate reliable information and develop strategies to increase the view
regular person gets when he/she searches the same keyword on You-               count of their content by providing comprehensible material to the
tube [13]. We performed our search in incognito mode to prevent                 public.
getting individualized results to minimize the possible bias, and also,             There are many different types of videos under the incontinence
we sorted all videos according to the most viewed feature to have an            title. Some of them are advertisements, while others are non-medical
objective cohort. Studies evaluating the videos about incontinence on           chitchat videos or music clips. On the other hand, when we consid-
Youtube have some backward in this manner. Small sample size,                   ered the videos' content and comments, we can state that people
inconsistency in the selection of the videos (e.g., selection of the most       have been looking for social support or a solution on social media for
related videos which is decided due to the user's interests, not clean-         their problem when the conventional ways are not helpful about
ing the browser cache, logging to Youtube.com with username), and               their or relatives' incontinence. However, it is quite confusing and
lack of standardized evaluation method may result in variation of the           exhausting to ﬁnd accurate and helpful information on social media.
results [14-17]. We have to emphasize that any research study should            For this reason, we assessed the videos with full points of PEMAT
be reproducible, and the method of the study should be provided                 scores. In addition, these videos' characteristics were being 4 minutes
explicitly in the manuscript.                                                   long with a narrator free of commercial bias and censored material.
    Based on our results, the vast majority of the videos had low               These criteria may be helpful for people who will produce an inconti-
PEMAT scores in both understandability and actionability domains. It            nence video for Youtube.
is crucial to indicate that researchers of the presented study are from             The study's limitations are few numbers of keywords included,
two major ﬁelds of diagnosing and treating urinary incontinence                 getting formerly broadcasted videos due to choosing the ﬁrst most
(urology and gynecology). There was an acceptable coherence                     viewed 150 videos, and both of the authors not being native English
between the researchers' answers to the PEMAT questions in the sta-             speakers. Another limitation is that the PEMAT does not evaluate the
tistical analysis presented with kappa scores in Table 3. Although the          medical correctness of the material. Also, we decided the videos with
PEMAT scores could not summarize the accuracy of the information                PEMAT scores over 70% as understandable or actionable in binary
in the videos, perceiving the videos' understandability and actionabil-         comparisons. However, different values may have resulted in differ-
ity were both similar between researchers.                                      ent results.
    Interestingly, we did not ﬁnd any correlation between PEMAT
scores and the characteristics of the videos. None of the variables
such as view, like, dislike, comment counts, duration of the video,             Conclusion
view ratio, like ratio, or video power index had a statistically signiﬁ-
cant correlation between PEMAT understandability scores. According                 The impact of social media channels on daily life exceptionally
to these results, we can speculate that either audience does not con-           grows. Searching for information over these channels is straightfor-
sider the videos as educational material, or the videos' popularity             ward. However, it is not easy to ﬁnd high-quality and useful informa-
cannot be explained by the information transfer feature. However,               tion. The studies researching the videos about incontinence on
"like counts" and "duration of the video" revealed a weak correlation           Youtube.com are limited. Also, most videos to inform users about
with PEMAT actionability scores while other variables did not. Our              incontinence are far from their purposes. Therefore, we can recom-
comment to this result is that the videos with a message which can              mend that healthcare professionals may advise against browsing
be implemented in daily life and videos with an average duration                Youtube for incontinence advice.
have been liked by the audience. More, users are not interested in
understanding the primary messages of the videos.
    Another critical issue that inﬂuences the PEMAT scores was the              Author contribution
narrator of the video. Videos without a narrator had the lowest
PEMAT scores in both domains. On the other hand, when the narrator                 C Baran: Project development, data collection, manuscript writing
was a healthcare professional, PEMAT scores were the highest. Our                  Ş Yılmaz Baran: Project development, data collection, manuscript
results suggest that choosing a healthcare professional as a narrator           writing
in future videos would provide better results in terms of PEMAT
scores.
    According to their target audience, we divided the videos into four         Declaration of Competing Interest
different groups (publicity, patients, medical students, and medical
practitioners). The PEMAT scores were highest in videos for patients               None.
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A Face Is Exposed for AOL Searcher No. 4417749 - The New York Times    https://www.nytimes.com/2006/08/09/technology/09aol.html
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         A Face Is Exposed for AOL Searcher No. 4417749
         By Michael Barbaro and Tom Zeller Jr.
         Aug. 9, 2006



         Buried in a list of 20 million Web search queries collected by AOL and recently released
         on the Internet is user No. 4417749. The number was assigned by the company to protect
         the searcher’s anonymity, but it was not much of a shield.

         No. 4417749 conducted hundreds of searches over a three-month period on topics ranging
         from “numb fingers” to “60 single men” to “dog that urinates on everything.”

         And search by search, click by click, the identity of AOL user No. 4417749 became easier
         to discern. There are queries for “landscapers in Lilburn, Ga,” several people with the last
         name Arnold and “homes sold in shadow lake subdivision gwinnett county georgia.”

         It did not take much investigating to follow that data trail to Thelma Arnold, a 62-year-old
         widow who lives in Lilburn, Ga., frequently researches her friends’ medical ailments and
         loves her three dogs. “Those are my searches,” she said, after a reporter read part of the
         list to her.

         AOL removed the search data from its site over the weekend and apologized for its
         release, saying it was an unauthorized move by a team that had hoped it would benefit
         academic researchers.

         But the detailed records of searches conducted by Ms. Arnold and 657,000 other
         Americans, copies of which continue to circulate online, underscore how much people
         unintentionally reveal about themselves when they use search engines — and how risky
         it can be for companies like AOL, Google and Yahoo to compile such data.

         Those risks have long pitted privacy advocates against online marketers and other
         Internet companies seeking to profit from the Internet’s unique ability to track the
         comings and goings of users, allowing for more focused and therefore more lucrative
         advertising.

         But the unintended consequences of all that data being compiled, stored and cross-linked
         are what Marc Rotenberg, the executive director of the Electronic Privacy Information
         Center, a privacy rights group in Washington, called “a ticking privacy time bomb.”



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         Mr. Rotenberg pointed to Google’s own joust earlier this year with the Justice
         Department over a subpoena for some of its search data. The company successfully
         fended off the agency’s demand in court, but several other search companies, including
         AOL, complied. The Justice Department sought the information to help it defend a
         challenge to a law that is meant to shield children from sexually explicit material.

         “We supported Google at the time,” Mr. Rotenberg said, “but we also said that it was a
         mistake for Google to be saving so much information because it creates a risk.”

         Ms. Arnold, who agreed to discuss her searches with a reporter, said she was shocked to
         hear that AOL had saved and published three months’ worth of them. “My goodness, it’s
         my whole personal life,” she said. “I had no idea somebody was looking over my
         shoulder.”

         In the privacy of her four-bedroom home, Ms. Arnold searched for the answers to scores
         of life’s questions, big and small. How could she buy “school supplies for Iraq children”?
         What is the “safest place to live”? What is “the best season to visit Italy”?




                                                            Thelma Arnold's identity was betrayed
                                                            by AOL records of her Web searches,
                                                            like ones for her dog, Dudley, who
                                                            clearly has a problem.
                                                            Erik S. Lesser for The New York Times




         Her searches are a catalog of intentions, curiosity, anxieties and quotidian questions.
         There was the day in May, for example, when she typed in “termites,” then “tea for good
         health” then “mature living,” all within a few hours.

         Her queries mirror millions of those captured in AOL’s database, which reveal the
         concerns of expectant mothers, cancer patients, college students and music lovers. User


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         No. 2178 searches for “foods to avoid when breast feeding.” No. 3482401 seeks guidance
         on “calorie counting.” No. 3483689 searches for the songs “Time After Time” and “Wind
         Beneath My Wings.”

         At times, the searches appear to betray intimate emotions and personal dilemmas. No.
         3505202 asks about “depression and medical leave.” No. 7268042 types “fear that spouse
         contemplating cheating.”

         There are also many thousands of sexual queries, along with searches about “child
         porno” and “how to kill oneself by natural gas” that raise questions about what legal
         authorities can and should do with such information.

         But while these searches can tell the casual observer — or the sociologist or the marketer
         — much about the person who typed them, they can also prove highly misleading.

         At first glace, it might appear that Ms. Arnold fears she is suffering from a wide range of
         ailments. Her search history includes “hand tremors,” “nicotine effects on the body,” “dry
         mouth” and “bipolar.” But in an interview, Ms. Arnold said she routinely researched
         medical conditions for her friends to assuage their anxieties. Explaining her queries
         about nicotine, for example, she said: “I have a friend who needs to quit smoking and I
         want to help her do it.”

         Asked about Ms. Arnold, an AOL spokesman, Andrew Weinstein, reiterated the
         company’s position that the data release was a mistake. “We apologize specifically to her,”
         he said. “There is not a whole lot we can do.”

         Mr. Weinstein said he knew of no other cases thus far where users had been identified as
         a result of the search data, but he was not surprised. “We acknowledged that there was
         information that could potentially lead to people being identified, which is why we were
         so angry.”

         AOL keeps a record of each user’s search queries for one month, Mr. Weinstein said. This
         allows users to refer back to previous searches and is also used by AOL to improve the
         quality of its search technology. The three-month data that was released came from a
         special system meant for AOL’s internal researchers that does not record the users’ AOL
         screen names, he said.

         Several bloggers claimed yesterday to have identified other AOL users by examining
         data, while others hunted for particularly entertaining or shocking search histories. Some
         programmers made this easier by setting up Web sites that let people search the
         database of searches.



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         John Battelle, the author of the 2005 book “The Search: How Google and Its Rivals
         Rewrote the Rules of Business and Transformed Our Culture,” said AOL’s misstep, while
         unfortunate, could have a silver lining if people began to understand just what was at
         stake. In his book, he says search engines are mining the priceless “database of
         intentions” formed by the world’s search requests.

         “It’s only by these kinds of screw-ups and unintended behind-the-curtain views that we
         can push this dialogue along,” Mr. Battelle said. “As unhappy as I am to see this data on
         people leaked, I’m heartened that we will have this conversation as a culture, which is
         long overdue.”

         Ms. Arnold says she loves online research, but the disclosure of her searches has left her
         disillusioned. In response, she plans to drop her AOL subscription. “We all have a right to
         privacy,” she said. “Nobody should have found this all out.”




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             JOHN PERRY BARLOW      OPINION   APR 1, 1994 12:00 PM




            Jackboots on the Infobahn
            Clipper is a last ditch attempt by the United States, the last great power
            from the old Industrial Era, to establish imperial control over
            cyberspace.

            C L I P P E R I S A last ditch attempt by the United States, the last great power from the old

            Industrial Era, to establish imperial control over cyberspace.

            On January 11, I managed to schmooze myself aboard Air Force 2. It was flying out of LA,
            where its principal passenger had just outlined his vision of the information superhighway
            to a suited mob of television, show-biz, and cable types who fervently hoped to own it one
            day - if they could ever figure out what the hell it was.

            From the standpoint of the Electronic Frontier Foundation the speech had been wildly
            encouraging. The administration's program, as announced by Vice President Al Gore,
            incorporated many of the concepts of open competition, universal access, and deregulated
            common carriage that we'd been pushing for the previous year.

            But he had said nothing about the future of privacy, except to cite among the bounties of
            the NII its ability to "help law enforcement agencies thwart criminals and terrorists who
            might use advanced telecommunications to commit crimes."

            On the plane I asked Gore what this implied about administration policy on cryptography.
            He became as noncommittal as a cigar-store Indian. "We'll be making some
            announcements.... I can't tell you anything more." He hurried to the front of the plane,
            leaving me to troubled speculation.

            Despite its fundamental role in assuring privacy, transaction security, and reliable identity
            within the NII, the Clinton administration has not demonstrated an enlightenment about
            cryptography up to par with the rest of its digital vision.


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            The Clipper Chip - which threatens to be either the goofiest waste of federal dollars since
            President Gerald Ford's great Swine Flu program or, if actually deployed, a surveillance
            technology of profound malignancy - seemed at first an ugly legacy of the Reagan-Bush
            modus operandi. "This is going to be our Bay of Pigs," one Clinton White House official told
            me at the time Clipper was introduced, referring to the disastrous plan to invade Cuba that
            Kennedy inherited from Eisenhower.

            (Clipper, in case you're just tuning in, is an encryption chip that the National Security
            Agency and FBI hope will someday be in every phone and computer in America. It
            scrambles your communications, making them unintelligible to all but their intended
            recipients. All, that is, but the government, which would hold the "key" to your chip. The
            key would separated into two pieces, held in escrow, and joined with the appropriate "legal
            authority.")

            Of course, trusting the government with your privacy is like having a Peeping Tom install
            your window blinds. And, since the folks I've met in this White House seem like extremely
            smart, conscious freedom-lovers - hell, a lot of them are Deadheads - I was sure that after
            they were fully moved in, they'd face down the National Security Agency and the FBI, let
            Clipper die a natural death, and lower the export embargo on reliable encryption products.

            Furthermore, the National Institutes of Standards and Technology and the National Security
            Council have been studying both Clipper and export embargoes since April. Given that the
            volumes of expert testimony they had collected overwhelmingly opposed both, I expected
            the final report would give the administration all the support it needed to do the right thing.

            I was wrong. Instead, there would be no report. Apparently, they couldn't draft one that
            supported, on the evidence, what they had decided to do instead.

            The Other Shoe Drops

            On Friday, February 4, the other jackboot dropped. A series of announcements from the
            administration made it clear that cryptography would become their very own "Bosnia of
            telecommunications" (as one staffer put it). It wasn't just that the old Serbs in the National
            Security Agency and the FBI were still making the calls. The alarming new reality was that
            the invertebrates in the White House were only too happy to abide by them. Anything to
            avoid appearing soft on drugs or terrorism.



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            So, rather than ditching Clipper, they declared it a Federal Data Processing Standard,
            backing that up with an immediate government order for 50,000 Clipper devices. They
            appointed the National Institutes of Standards and Technology and the Department of
            Treasury as the "trusted" third parties that would hold the Clipper key pairs. (Treasury, by
            the way, is also home to such trustworthy agencies as the Secret Service and the Bureau of
            Alcohol, Tobacco, and Firearms.)

            They reaffirmed the export embargo on robust encryption products, admitting for the first
            time that its purpose was to stifle competition to Clipper. And they outlined a very porous
            set of requirements under which the cops might get the keys to your chip. (They would not
            go into the procedure by which the National Security Agency could get them, though they
            assured us it was sufficient.)

            They even signaled the impending return of the dread Digital Telephony, an FBI legislative
            initiative requiring fundamental reengineering of the information infrastructure; providing
            wiretapping ability to the FBI would then become the paramount design priority.

            Invasion of the Body Snatchers

            Actually, by the time the announcements thudded down, I wasn't surprised by them. I had
            spent several days the previous week in and around the White House.

            I felt like I was in another remake of The Invasion of the Body Snatchers. My friends in the
            administration had been transformed. They'd been subsumed by the vast mindfield on the
            other side of the security clearance membrane, where dwell the monstrous bureaucratic
            organisms that feed on fear. They'd been infected by the institutionally paranoid National
            Security Agency's Weltanschauung.

            They used all the telltale phrases. Mike Nelson, the White House point man on the NII, told
            me, "If only I could tell you what I know, you'd feel the same way I do." I told him I'd been
            inoculated against that argument during Vietnam. (And it does seem to me that if you're
            going to initiate a process that might end freedom in America, you probably need an
            argument that isn't classified.)

            Besides, how does he know what he knows? Where does he get his information? Why, the
            National Security Agency, of course. Which, given its strong interest in the outcome, seems
            hardly an unimpeachable source.


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            However they reached it, Clinton and Gore have an astonishingly simple bottom line, to
            which even the future of American liberty and prosperity is secondary: They believe that it
            is their responsibility to eliminate, by whatever means, the possibility that some terrorist
            might get a nuke and use it on, say, the World Trade Center. They have been convinced that
            such plots are more likely to ripen to hideous fruition behind a shield of encryption.

            The staffers I talked to were unmoved by the argument that anyone smart enough to steal a
            nuclear device is probably smart enough to use PGP or some other uncompromised crypto
            standard. And never mind that the last people who popped a hooter in the World Trade
            Center were able to get it there without using any cryptography and while under FBI
            surveillance.

            We are dealing with religion here. Though only ten American lives have been lost to
            terrorism in the last two years, the primacy of this threat has become as much an article of
            faith with these guys as the Catholic conviction that human life begins at conception or the
            Mormon belief that the Lost Tribe of Israel crossed the Atlantic in submarines.

            In the spirit of openness and compromise, they invited the Electronic Frontier Foundation
            to submit other solutions to the "problem" of the nuclear-enabled terrorist than key escrow
            devices, but they would not admit into discussion the argument that such a threat might, in
            fact, be some kind of phantasm created by the spooks to ensure their lavish budgets into
            the post-Cold War era.

            As to the possibility that good old-fashioned investigative techniques might be more
            valuable in preventing their show-case catastrophe (as it was after the fact in finding the
            alleged perpetrators of the last attack on the World Trade Center), they just hunkered down
            and said that when wiretaps were necessary, they were damned well necessary.

            When I asked about the business that American companies lose because of their inability to
            export good encryption products, one staffer essentially dismissed the market, saying that
            total world trade in crypto goods was still less than a billion dollars. (Well, right. Thanks
            more to the diligent efforts of the National Security Agency than to dim sales potential.)

            I suggested that a more immediate and costly real-world effect of their policies would be to
            reduce national security by isolating American commerce, owing to a lack of international
            confidence in the security of our data lines. I said that Bruce Sterling's fictional data-



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            enclaves in places like the Turks and Caicos Islands were starting to look real-world
            inevitable.

            They had a couple of answers to this, one unsatisfying and the other scary. The unsatisfying
            answer was that the international banking community could just go on using DES, which
            still seemed robust enough to them. (DES is the old federal Data Encryption Standard,
            thought by most cryptologists to be nearing the end of its credibility.)

            More frightening was their willingness to counter the data-enclave future with one in
            which no data channels anywhere would be secure from examination by one government
            or another. Pointing to unnamed other countries that were developing their own
            mandatory standards and restrictions regarding cryptography, they said words to the effect
            of, "Hey, it's not like you can't outlaw the stuff. Look at France."

            Of course, they have also said repeatedly - and for now I believe them - that they have
            absolutely no plans to outlaw non-Clipper crypto in the US. But that doesn't mean that such
            plans wouldn't develop in the presence of some pending "emergency." Then there is that
            White House briefing document, issued at the time Clipper was first announced, which
            asserts that no US citizen "as a matter of right, is entitled to an unbreakable commercial
            encryption product."

            Now why, if it's an ability they have no intention of contesting, do they feel compelled to
            declare that it's not a right? Could it be that they are preparing us for the laws they'll pass
            after some bearded fanatic has gotten himself a surplus nuke and used something besides
            Clipper to conceal his plans for it?

            If they are thinking about such an eventuality, we should be doing so as well. How will we
            respond? I believe there is a strong, though currently untested, argument that outlawing
            unregulated crypto would violate the First Amendment, which surely protects the manner
            of our speech as clearly as it protects the content.

            But of course the First Amendment is, like the rest of the Constitution, only as good as the
            government's willingness to uphold it. And they are, as I say, in the mood to protect our
            safety over our liberty.

            This is not a mind-frame against which any argument is going to be very effective. And it
            appeared that they had already heard and rejected every argument I could possibly offer.


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            In fact, when I drew what I thought was an original comparison between their stand
            against naturally proliferating crypto and the folly of King Canute (who placed his throne
            on the beach and commanded the tide to leave him dry), my government opposition looked
            pained and said he had heard that one almost as often as jokes about roadkill on the
            information superhighway.

            I hate to go to war with them. War is always nastier among friends. Furthermore, unless
            they've decided to let the National Security Agency design the rest of the National
            Information Infrastructure as well, we need to go on working closely with them on the
            whole range of issues like access, competition, workplace privacy, common carriage,
            intellectual property, and such. Besides, the proliferation of strong crypto will probably
            happen eventually no matter what they do.

            But then again, it might not. In which case we could shortly find ourselves under a
            government that would have the automated ability to log the time, origin and recipient of
            every call we made, could track our physical whereabouts continuously, could keep better
            account of our financial transactions than we do, and all without a warrant. Talk about
            crime prevention!

            Worse, under some vaguely defined and surely mutable "legal authority," they also would
            be able to listen to our calls and read our e-mail without having to do any backyard
            rewiring. They wouldn't need any permission at all to monitor overseas calls.

            If there's going to be a fight, I'd rather it be with this government than the one we'd likely
            face on that hard day.

            Hey, I've never been a paranoid before. It's always seemed to me that most governments
            are too incompetent to keep a good plot strung together all the way from coffee break to
            quitting time. But I am now very nervous about the government of the United States of
            America.

            Because Bill 'n' Al, whatever their other new-paradigm virtues, have allowed the very old-
            paradigm trogs of the Guardian Class to define as their highest duty the defense of America
            against an enemy that exists primarily in the imagination - and is therefore capable of
            anything.

            To assure absolute safety against such an enemy, there is no limit to the liberties we will


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            eventually be asked to sacrifice. And, with a Clipper Chip in every phone, there will
            certainly be no technical limit on their ability to enforce those sacrifices.

            What You Can Do
            Get Congress to Lift the Crypto Embargo

            The administration is trying to impose Clipper on us by manipulating market forces. By
            purchasing massive numbers of Clipper devices, they intend to induce an economy of scale
            which will make them cheap while the export embargo renders all competition either
            expensive or nonexistent.

            We have to use the market to fight back. While it's unlikely that they'll back down on
            Clipper deployment, the Electronic Frontier Foundation believes that with sufficient public
            involvement, we can get Congress to eliminate the export embargo.

            Rep. Maria Cantwell, D-Washington, has a bill (H.R. 3627) before the Economic Policy,
            Trade, and Environment Subcommittee of the House Committee on Foreign Affairs that
            would do exactly that. She will need a lot of help from the public. They may not care much
            about your privacy in DC, but they still care about your vote.

            Please signal your support of H.R. 3627, either by writing her directly or e-mailing her at
            cantwell@eff.org. Messages sent to that address will be printed out and delivered to her
            office. In the subject header of your message, please include the words "support HR 3627."
            In the body of your message, express your reasons for supporting the bill. You may also
            express your sentiments to Rep. Lee Hamilton, D-Indiana, the House Committee on Foreign
            Affairs chair, by e-mailing hamilton@eff.org.

            Furthermore, since there is nothing quite as powerful as a letter from a constituent, you
            should check the following list of subcommittee and committee members to see if your
            congressional representative is among them. If so, please copy them your letter to Rep.
            Cantwell.

            Economic Policy, Trade, and Environment Subcommittee:

            Democrats: Sam Gejdenson (Chair), D-Connecticut; James Oberstar, D-Minnesota; Cynthia
            McKinney, D-Georgia; Maria Cantwell, D-Washington; Eric Fingerhut, D-Ohio; Albert R.
            Wynn, D-Maryland; Harry Johnston, D-Florida; Eliot Engel, D-New York; Charles Schumer,


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            D-New York.

            Republicans: Toby Roth (ranking), R-Wisconsin; Donald Manzullo, R-Illinois; Doug
            Bereuter, R-Nebraska; Jan Meyers, R-Kansas; Cass Ballenger, R-North Carolina; Dana
            Rohrabacher, R-California.

            House Committee on Foreign Affairs:

            Democrats: Lee Hamilton (Chair), D-Indiana; Tom Lantos, D-California; Robert Torricelli,
            D-New Jersey; Howard Berman, D-California; Gary Ackerman, D-New York; Eni
            Faleomavaega, D-Somoa; Matthew Martinez, D-California; Robert Borski, D-Pennsylvania;
            Donal Payne, D-New Jersey; Robert Andrews, D-New Jersey; Robert Menendez, D-New
            Jersey; Sherrod Brown, D-Ohio; Alcee Hastings, D-Florida; Peter Deutsch, D-Florida; Don
            Edwards, D-California; Frank McCloskey, D-Indiana; Thomas Sawyer, D-Ohio; Luis
            Gutierrez, D-Illinois.

            Republicans: Benjamin Gilman (ranking), R-New York; William Goodling, R-Pennsylvania;
            Jim Leach, R-Iowa; Olympia Snowe, R-Maine; Henry Hyde, R-Illinois; Christopher Smith,
            R-New Jersey; Dan Burton, R-Indiana; Elton Gallegly, R-California; Ileana Ros-Lehtinen,
            R-Florida; David Levy, R-New York; Lincoln Diaz-Balart, R-Florida; Ed Royce, R-California.

            Boycott Clipper Devices and the Companies Which Make Them.

            Don't buy anything with a Clipper Chip in it. Don't buy any product from a company that
            manufactures devices with Big Brother inside. It is likely that the government will ask you
            to use Clipper for communications with the IRS or when doing business with federal
            agencies. They cannot, as yet, require you to do so. Just say no.

            Learn About Encryption and Explain the Issues to Your Unwired Friends

            The administration is banking on the likelihood that this stuff is too technically obscure to
            agitate anyone but nerds like us. Prove them wrong by patiently explaining what's going on
            to all the people you know who have never touched a computer and glaze over at the
            mention of words like "cryptography."

            Maybe you glaze over yourself. Don't. It's not that hard. For some hands-on experience,
            download a copy of PGP - Pretty Good Privacy - a shareware encryption engine which uses



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            the robust RSA encryption algorithm. And learn to use it.

            Get Your Company to Think Abouat Embedding Real Cryptography in Its Products

            If you work for a company that makes software, computer hardware, or any kind of
            communications device, work from within to get them to incorporate RSA or some other
            strong encryption scheme into their products. If they say that they are afraid to violate the
            export embargo, ask them to consider manufacturing such products overseas and
            importing them back into the United States. There appears to be no law against that. Yet.

            You might also lobby your company to join the Digital Privacy and Security Working Group,
            a coalition of companies and public interest groups - including IBM, Apple, Sun, Microsoft,
            and, interestingly, Clipper phone manufacturer AT&T - that is working to get the embargo
            lifted.

            Enlist!

            Self-serving as it sounds coming from me, you can do a lot to help by becoming a member
            of one of these organizations. In addition to giving you access to the latest information on
            this subject, every additional member strengthens our credibility with Congress.

            Join the Electronic Frontier Foundation by writing membership@eff.org. Join
            Computer Professionals for Social Responsibility by e-mailing cpsr.info@cpsr.org.

            CPSR is also organizing a protest, to which you can lend your support by sending e-mail to
            clipper.petition@cpsr.org with "I oppose Clipper" in the message body. Ftp/gopher/WAIS to
            cpsr.org /cpsr/privacy/crypto/clipper for more info.

            In his LA speech, Gore called the development of the NII "a revolution." And it is a
            revolutionary war we are engaged in here. Clipper is a last ditch attempt by the United
            States, the last great power from the old Industrial Era, to establish imperial control over
            cyberspace. If they win, the most liberating development in the history of humankind could
            become, instead, the surveillance system which will monitor our grandchildren's morality.
            We can be better ancestors than that.

            San Francisco, California
            Wednesday, February 9, 1994



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            OPINION




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                    Google selling users’ personal data despite
                    promise, federal court lawsuit claims

                    Ethan Baron The Mercury News (TNS)


                    Google is making a fortune by selling users’ personal information despite the
                    company’s pledge that it never sells the data, a lawsuit filed this week claims.

                    “Google promises its hundreds of millions of users that it ‘will never sell any personal
                    information to third parties’ and ‘you get to decide how your information is used.’
                    These promises are false,” the lawsuit claims, quoting a 2019 New York Times op-ed
                    by Google CEO Sundar Pichai. “In fact, Google monitors its consumers’ digital
                    footprint, then makes billions of dollars by selling their sensitive personal
                    information.” The suit also cites Google’s terms of service that say, “We don’t sell
                    your personal information to anyone.”

                    The purported sales of data occur “continually and surreptitiously” via the Mountain
                    View technology giant’s “real-time bidding” system for digital advertising spots,
                    according to the suit filed Thursday in U.S. District Court in San Jose by three
                    Google users, who are seeking class-action status.

                    While advertisers use the data to put targeted ads in front of people who will be most
                    receptive, other companies are also “siphoning off” and storing the “bidstream” data
                    of Google users, the suit alleged. “Many participants do not place bids and only
                    participate to conduct surveillance and collect ever more detailed data points about
                    millions of Google’s consumers,” the suit claimed.

                    Google, in a brief emailed statement Thursday, said privacy and transparency are
                    core to how its ad services work. “We never sell people’s personal information and
                    we have strict policies specifically prohibiting personalized ads based on sensitive
                    categories,” spokesman José Castañeda said.

                    The suit alleged Google’s handling of users’ data violates California and federal law.

                    Plaintiffs in the case added to their suit two letters about Google’s data practices sent
                    to the Federal Trade Commission last year and to Google CEO Sundar Pichai last
                    month, signed mostly by Democrats — including Bay Area members of Congress Zoe
                    Lofgren, Anna Eshoo and Ro Khanna — and Republican Sen. Bill Cassidy.

                    “Few Americans realize that companies are siphoning off and storing that
                    ‘bidstream’ data to compile exhaustive dossiers about them,” both letters said.
                    “These dossiers include their web browsing, location, and other data, which are then
                    sold by data brokers to hedge funds, political campaigns, and even to the
                    government without court orders.”

                    While Google says user information is “anonymized” and shared with “just a few
                    partners,” it allows ad-auction participants to match data they already have from
                    other sources with unique identifiers provided by Google to identify individual users
                    — even those who have taken measures to keep from being tracked, the suit claimed.



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                    The suit points to “a history of privacy violations” at Google that have drawn
                    government sanction. In 2010, the Federal Trade Commission charged that the
                    company “used deceptive tactics and violated its own privacy promises to
                    consumers” when it launched a now-defunct social network. Google settled with the
                    FTC. But two years later, after being charged by the FTC with violating the
                    settlement by misrepresenting to users of Apple’s Safari browser that it would not
                    place tracking ‘cookies’ or serve targeted ads to them, the company paid a $22.5
                    million fine.

                    In 2019, Google agreed to pay $170 million to settle claims by the FTC and New York
                    Attorney General that YouTube illegally collected personal information from
                    children without their parents’ consent, the suit noted. Last year, a French high court
                    upheld a 50 million Euro fine against Google over alleged failure to obtain users’
                    consent for using their data for ad targeting, the suit said.

                    The plaintiffs — California residents Meaghan Delahunty and John Kevranian, and
                    Meghan Cornelius of Texas — claim that a “large portion” of Google’s 2020 ad
                    revenue of $147 billion came from collecting and selling user information. They
                    allege Google is breaking laws related to privacy, contracts and unjust enrichment,



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                    and are seeking unspecified damages for themselves and millions of other Americans
                    they seek to bring in as class members.




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          An Eye for an Eye: The Anatomy of Mossad's Dubai
          Operation

          DER SPIEGEL


          At the time, no one knew who exactly the dead man was. Mabhouh was considered to be the chief
          weapons negotiator for Hamas, the Palestinian organization's main contact to Tehran and the
          logistician behind rocket attacks on Israel coming from the Gaza Strip.

          On Sunday, March 29, 2009, two men arrived in Cologne on a Lufthansa flight from Tel Aviv. The
          men sought to avoid all contact with each other. They sat in different rows and waited in different
          lines at passport control. The men, according to their papers, were Alexander Varin and Michael
          Bodenheimer.

          False Names, False Addresses

          Varin and Bodenheimer had an appointment with a Cologne attorney the next morning. Varin, who
          referred to himself as a "crisis consultant," already knew the attorney, who had petitioned for
          German citizenship on behalf Michael's father, Hans Bodenheimer, allegedly a victim of the Nazi
          regime. Under the German constitution, those persecuted by the Nazis, as well as their children and
          grandchildren, can petition for repatriation.

          The Israelis told the German attorney that Bodenheimer was born on July 14, 1967, in the Israeli
          village of Liman on the Lebanese border. The information was apparently false. No one in Liman
          knows a man named Bodenheimer. He also told the attorney that his last address prior to his move
          to Germany was in the Israeli city of Herzliya, in a four-story building at Yad Harutzim Street 7.
          There is an upscale kitchen design store on the ground floor of the building.

          But the address also proved to be false. The name "Michael Budenheimer" appears among 19 names
          on a blue panel in the lobby. The name "Top Office" appears at the top of the panel.

          According to its website, Top Office provides "virtual offices," among other services. "Have your
          company name displayed on the entrance sign," the site promises. When a SPIEGEL representative
          called Top Office, the woman answering the phone said her name was Iris, but she was unwilling to
          provide a surname. When the name Bodenheimer was mentioned, she ended the conversation. Two
          days later, the names "Michael Budenheimer" and "Top Office" had been removed from the panel in
          the lobby of the office building in Herzliya.

          In Cologne, the German attorney filed the necessary documents in March 2009. When
          Bodenheimer and Varin returned three months later and checked into a Cologne hotel, the next
          mistake was made: Alexander Varin checked in under a different name, "Uri Brodsky." But he
          continued to use his old name, Alexander Varin, with the attorney. Confusing two different
          identities was an inexcusable mistake, and investigators with the German federal criminal police
          agency, the BKA, would quickly discover later that it was one and the same man using both names.

          On June 17, 2009, Bodenheimer, in an effort to bolster his German identity, rented a small
          apartment at Eigelstein 85, in a rundown neighborhood near the main train station in Cologne. He
          told the landlord that he was a coach for a triathlon team, and he paid his rent in cash.



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          On June 18, 2009, Bodenheimer picked up his new German passport. He was now a citizen.

          Seven months later, on Jan. 19, 2010, Bodenheimer was standing at the airport in Dubai. He and
          his fellow team members had been told a week earlier that their victim would arrive in Dubai the
          next day. Although they didn't know which hotel the man would check into, they did know that he
          would not be checking out again.

          Everything was in place. All they had to do now was wait for their victim.

          Tuesday, Jan. 19, 2010, Early Morning
          Mabhouh was on his way to the international airport in Damascus. As a VIP, he had his driver take
          him to a back entrance of the terminal, and he was able to wait in the lounge while his luggage was
          being checked and his passport stamped. Mabhouh was traveling alone.

          The previous spring, he had given and interview to Al-Jazeera, the Arab-language news network,
          about the murder of two Israeli soldiers in 1989. The station had disguised Mabhouh's face, but the
          Mossad had no trouble identifying his voice.

          The Hamas agent described, in great detail, how he and an accomplice had dressed as Orthodox
          Jews and how, in the spring of 1989, they had kidnapped, killed and buried the two soldiers Avi
          Sasportas and Ilan Saadon. They had trampled on the bodies and photographed themselves in the
          process. When asked whether he regretted the killings, Mabhouh said that he only regretted not
          having shot the second Israeli in the face. But unfortunately, he added, he had been sitting at the
          wheel of the car.

          "Red Page" is the Mossad's code name for an order to kill someone. Each of these orders is jointly
          authorized by the Israeli prime minister and defense minister. "Red Pages" do not have to be
          executed right away. In fact, they have no expiration date, and the orders remain valid until they are
          expressly cancelled.

          As reported in a recent article on the Dubai attack in the US lifestyle magazine GQ, Mabhouh
          received his "Red Page" back in 1989. The Israelis don't take kindly to the kidnapping or murder of
          one of their soldiers in uniform.

          Mabhouh Planned Murders

          Mabhouh was born in the Jabaliya refugee camp in the Gaza Strip in 1960. His name means "the
          hoarse one." He joined the Muslim Brotherhood as a young man, and he was there when the
          Islamist mob began laying waste to the Palestinian coffeehouses that maintained gambling
          operations.

          In the late 1980s, the Israeli occupying forces caught him with a Kalashnikov in his luggage and he
          was sentenced to a year in prison. He said that he was tortured in prison.

          After his release, Mabhouh joined the military wing of the recently established Islamist movement
          Hamas. It was the period of the first Intifada, when most Palestinians were fighting the Israeli
          occupiers with slingshots and Molotov cocktails. Mabhouh planned murders.

          In 1988, he was placed in command of Hamas's "Unit 101." The kidnapping and murder of the two
          Israeli soldiers in the Negev Desert was enough proof for Hamas that Mabhouh was the right man
          for the job.

          Mabhouh hid in the Gaza Strip for the first few months after the killings, and then he fled to Egypt.


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          The government in Cairo initially contemplated putting him on trial or extraditing him to Israel, but
          fearing that this could trigger an uprising by the Muslim Brotherhood, it decided to deport the
          Hamas agent to Libya instead.

          Escaping Death

          Later on, Mabhouh went to Jordan, where he developed a Hamas base from which he smuggled
          weapons into the Palestinian West Bank and planned attacks against Israeli tourists. He was
          expelled from the country in 1995, just as the entire Hamas leadership would later be expelled.
          Mabhouh moved to Damascus, where he established contact with the Iranian Revolutionary
          Guards.

          He obtained money and rockets in Iran, and he collected donations in the Gulf States to fund
          terrorist attacks during the second Intifada. Until then, Hamas had waged its war against Israel
          with unguided short-range rockets, but under Mabhouh's leadership, militants in the Gaza Strip
          obtained longer-range missiles.

          In February 2009, Mabhouh narrowly escaped death when an Israeli drone attacked a convoy he
          was traveling with in Sudan. The trucks were presumably loaded with Iranian Fajr rockets.

          Hamas and Iran -- hardly anyone embodied Israel's two enemies to the degree that Mahmoud al-
          Mabhouh did. It was time to turn the "Red Page."

          Mabhouh was constantly traveling between China, Iran, Syria, Sudan and the UAE. The Mossad
          agents decided that Dubai was the best place for an assassination. The city is open to tourists and
          businesspeople, and gaining entry with a Western passport is unproblematic.

          A first assassination attempt failed in November 2009. A Caesarea commando unit had tried to kill
          Mabhouh, possibly with poison that had been smeared onto light switches and fixtures in his hotel
          room. The victim fell ill, but he survived. The agents vowed that the next time they would not leave
          Dubai until they could verify Mabhouh's death with their own eyes.

          At 1:10 a.m. on Jan. 19, 2010, the last two Caesarea agents, Gail Folliard and Kevin Daveron, landed
          in Dubai on a flight from Paris. Together with Peter Elvinger, who had flown in from Zurich, they
          formed the operations unit.

          Tuesday, Jan. 19, 2010, Late Morning
          Unlike other intelligence agencies, the Mossad cannot provide its agents with real passports
          corresponding to a false identity. The primary countries in which it operates have no diplomatic
          relations with Israel. Even the most harmless-seeming tourists would be detained upon arrival if
          they were traveling on an Israeli passport. Instead, the Mossad usually uses the passports of Israelis
          with dual citizenship or forged passports from other countries.

          Peter Elvinger and the members of his team checked into various hotels. All of their passports, with
          the exception of the German passport, were forged. They were operating like avatars, using stolen
          identities. The real people whose names were being used would later testify that they had been
          completely unaware of the operation.

          The first part of the operation had succeeded. The Caesarea commando unit had put itself into
          position, safely and unnoticed. Elvinger and his team members paid their hotel expenses in cash or
          with prepaid money cards issued by Payoneer, a US company. This would prove to be a mistake in
          the "Plasma Screen" operation.



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          Because the Payoneer cards used by most of the 27 members of the commando unit are relatively
          rare in Dubai, investigators later managed to narrow down their list of suspects relatively quickly.
          The CEO of Payoneer, Yuval Tal, is a former member of an elite unit in the Israeli army.

          The Same Contact Numbers

          The commando unit made a second mistake when its members used intermediaries in Austria to
          communicate with one another. Under the system an agent would call a number in Vienna to be
          connected to another agent's mobile phone.

          Although this was done to conceal calls, the system had a drawback. As soon as investigators had
          obtained the call list of one suspect, they could easily determine who else was using the same
          contact numbers in Austria.

          Both the use of the prepaid cards and the telephone server in Vienna were not mistakes that would
          jeopardize the entire operation. But they would make it more difficult for the team members to
          cover their tracks. Furthermore, the UAE is not one of the so-called "base countries," where Mossad
          agents in trouble can take refuge in an Israeli embassy or get help from the intelligence agencies of
          Israel's allies.

          The Emirates are referred to as a "target country" in intelligence jargon. If an agent's cover is blown
          there, he or she could face torture or even the death penalty. Given the risk, why were the Caesarea
          team members so careless?

          Underestimating Dubai

          They underestimated Dubai, and they underestimated a man whose office is on the sixth floor of the
          headquarters of the Dubai Police, about three kilometers (1.9 miles) from room 230 at the Al
          Bustan.

          Lieutenant General Dahi Khalfan Tamim is not a man who cares much for diplomacy. He is a gruff
          cop with a biting sense of humor and possessing the kind of self-confidence government officials
          have who enjoy the full support of their superiors. Tamim has only one superior: the ruler of Dubai,
          Sheikh Mohammed bin Rashid Al Maktoum.

          At 19, Tamim graduated from the Royal Police Academy in Amman, Jordan, the most respected
          police academy in the Arab world. Ten years later, in 1980, he was appointed police chief of Dubai.
          Since then, the emirate has boomed more than almost any other part of the world. Lieutenant
          General Tamim's job has been to ensure that Dubai's boom could move forward without significant
          crime problems.

          Planes take off and land by the minute in front of the plate-glass window in Tamim's office. Dubai is
          in a central location, roughly equidistant from Iran, Iraq, Yemen and Afghanistan. There are more
          Iranians and Pakistanis living there than natives of Dubai; the city has attracted hundreds of
          thousands of migrants from some of the world's most explosive regions. People are constantly
          coming and going, large amounts of money are at stake, and the Islamic banking system is a
          nightmare for any police detective. Tamim knows that Dubai has everything it takes to become the
          region's crime hub -- and he has made it his mission to prevent that from happening.

          He has purchased the best available hardware and software in the United States. Government
          funding for surveillance systems is unlimited in the UAE, and to make things even easier for the
          police, no one worries about data privacy.

          Not Even a Proxy War


4 of 11                                                                                                            4/12/2022, 12:39 PM
Google workers are eavesdropping on your private conversations via its ...   https://www.usatoday.com/story/tech/2019/07/11/google-home-smart-sp...
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 179 of 1046



                    Google workers are eavesdropping on your
                    private conversations via its smart speakers

                    As privacy concerns loom large over smart speakers, a new investigation has found
                    that Google's smart speakers might infringe on individual privacy more than buyers
                    realize.

                    Even when Google Home smart speakers aren't activated, the speakers are
                    eavesdropping closely, often to private, intimate conversations, a report by Dutch
                    broadcaster VRT has uncovered.

                     Recordings found by VRT contain startling content: Couples' quarrels that may have
                    potentially resulted in domestic violence, explicit conversations in the bedroom, men
                    searching for pornography, confidential business calls, and talks with children.

                    How does the technology work? The commands to activate Google Home speakers
                    are "Hey, Google" and "OK, Google." Once anyone says something that resembles
                    those commands, Google Home starts to record.

                    The recordings are then sent to Google subcontractors, who review them later to aid
                    Google in understanding how different languages are spoken.

                    There are no policies in place, found VRT, if a subcontractor finds a recording of an
                    individual in danger.

                    A Google spokesperson told USA TODAY that Google Assistant users must opt in to
                    have their voice recordings stored on their account, and that users can still use their
                    Google Home products without enabling the setting.

                    Google adds that it only reviews 0.2% of audio recordings for transcription.

                    Google does, however, require users to turn on voice recording in order to use all of
                    Google Home's features.

                    A confusing 'maze':Amazon secretly recording and storing what your kids say,
                    complaint says

                    Enough information is revealed in these recordings to gather sensitive details, like
                    individual addresses.

                    The whistleblower who reached out to VRT was a Dutch subcontractor hired to
                    transcribe recorded audio for Google to use in its speech recognition technology. He
                    reached out after discovering that Amazon's Alexa, a direct competitor to Google
                    Home, keeps its data indefinitely.

                    Google said in a statement that it is investigating the whistleblower "to prevent
                    misconduct like this from happening again."

                    This reports contradicts what Google states in its "commitment to privacy in the
                    home."



1 of 2                                                                                                                           3/1/2022, 1:33 PM
Google workers are eavesdropping on your private conversations via its ...   https://www.usatoday.com/story/tech/2019/07/11/google-home-smart-sp...
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 180 of 1046

                    "Your device will only send audio to Google if we detect that you or someone in your
                    home is interacting with your Assistant ... or if you use a feature that needs it,"
                    writes the company. "You can always turn the microphone off."




2 of 2                                                                                                                           3/1/2022, 1:33 PM
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 181 of 1046
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 182 of 1046
Apple develops alternative to Google search | Financial Times     https://www.ft.com/content/fd311801-e863-41fe-82cf-3d98c4c47e26?sha...
                     Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 183 of 1046
                   engine.

                   Two and a half years ago, Apple poached Google’s head of search, John Giannandrea.
                   The hire was ostensibly to boost its artificial intelligence capabilities and its Siri
                   virtual assistant, but also brought eight years of experience running the world’s most
                   popular search engine.

                   The company’s growing in-house search capability gives it an alternative if regulators
                   block its lucrative partnership with Google. When the US Department of Justice
                   launched a case last week, over payments that Google makes to Apple to be the
                   iPhone’s default search tool, urgency was added to the initiative.

                   “They [Apple] have a credible team that I think has the experience and the depth, if
                   they wanted to, to build a more general search engine,” said Bill Coughran, Google’s
                   former engineering chief, who is now a partner at Silicon Valley investor Sequoia
                   Capital.




                   Apple’s frequent job advertisements for search engineers are not short on ambition,
                   inviting candidates to “define and implement the architecture of Apple’s
                   groundbreaking search technology”.

                   Search marketing experts also point to increased activity from Applebot, the iPhone
                   maker’s once-obscure web crawler, which is used to build the vast database of online
                   material that forms the foundation of any search engine.


3 of 6                                                                                                               2/18/2022, 2:11 PM
Apple develops alternative to Google search | Financial Times   https://www.ft.com/content/fd311801-e863-41fe-82cf-3d98c4c47e26?sha...
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 184 of 1046
                   Suganthan Mohanadasan, a digital marketing consultant, said Applebot has shown up
                   “a ridiculous number of times” on his clients’ websites in recent weeks. “When the
                   crawl rate increases, that tells us they are trying to gather more information.”

                   Most significantly, iOS 14 nudged aside Google for certain search functions. Queries
                   made in the search window accessed by swiping right from the iPhone’s home screen
                   — which Apple calls the “Today View” — show an Apple-generated list of search
                   suggestions rather than Google results. These results include “autocomplete”-style
                   suggestions generated by Apple, showing that it is learning from its 1bn users’ most
                   common queries.

                   Apple declined to comment.

                   Building a true rival to Google’s search engine could take years. But with profits this
                   year predicted to exceed $55bn and $81bn of net cash reserves at the last count, Apple
                   can afford to make long-term investments.

                   Apple has historically tried to own and control the most important components of its
                   products, from the custom chips that power everything from the iPhone to its AirPods
                   and Watch accessories, to the tight integration between its software and hardware.

                   Yet Apple has stuck with Google as the iPhone’s default search engine for more than a
                   decade.

                   Now, however, Apple has a growing incentive to change that, as regulators force it to
                   choose between defending its relationship with Google or turning against its
                   longstanding partner in search.

                   The US DoJ has put Google’s estimated $8bn-12bn annual payments to be the
                   iPhone’s default search engine at the centre of its antitrust case against the internet
                   group.

                   Sharis Pozen, co-head of the global antitrust practice at law firm Clifford Chance and
                   a former acting assistant attorney-general at the DoJ, said the case “opens up another
                   front for Apple” alongside legal fights with Epic Games and others over its role as App
                   Store gatekeeper. “Apple will be central here,” she said, adding that it must “walk a
                   fine line” in explaining why it took billions of dollars from Google.

                   The DoJ could demand an end to the exclusive agreement, she said, allowing others
                   equal access to the iPhone’s search defaults.

                   Apple has stumbled in creating a rival to Google before. When Apple Maps first

4 of 6                                                                                                             2/18/2022, 2:11 PM
Apple develops alternative to Google search | Financial Times   https://www.ft.com/content/fd311801-e863-41fe-82cf-3d98c4c47e26?sha...
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 185 of 1046
                   launched in 2012, it was so prone to errors that Scott Forstall, one of the company’s
                   top lieutenants to late co-founder Steve Jobs, was forced to resign.




                   But Apple is one of the few companies that have the resources to index the web from
                   scratch. Most of Google’s smaller rivals license their index from Microsoft’s Bing,
                   including DuckDuckGo, a privacy-focused company that Apple already offers as an
                   alternative to Google in its Safari browser, and Neeva, a Silicon Valley start-
                   up founded by two former Google executives.

                   “Apple’s position is very unique because it has the iPhone and iOS. It controls the
                   default browser,” said Sridhar Ramaswamy, Neeva’s co-founder and Google’s former
                   head of advertising. Expanding in search “feels natural” for Apple, he said, as it has
                   the ability to gather data and learn from user behaviour at large scale.

                   More than 20 years after Google was founded, building a search engine today is “still
                   technically very difficult but it’s not as hard as it used to be”, said Mr Coughran, who
                   was among the investors to put $35m into Neeva. That is in part thanks to the
                   cheaper cloud computing infrastructure and open-source tools that are available to
                   both Apple and start-ups such as Neeva.

                   Still, the sheer scale of the problem is daunting. “Any reasonable search engine has to
                   have 20bn-50bn pages in its active index,” Mr Ramaswamy said. When a user runs a
                   query, the retrieval system must sift through vast troves of data then rank them in
5 of 6                                                                                                             2/18/2022, 2:11 PM
Apple develops alternative to Google search | Financial Times   https://www.ft.com/content/fd311801-e863-41fe-82cf-3d98c4c47e26?sha...
                     Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 186 of 1046
                   query, the retrieval system must sift through vast troves of data then rank them in
                   milliseconds.

                   Some observers still dismiss the idea of Apple creating a complete search rival to
                   Google.

                   Dan Wang, associate professor of business at Columbia Business School, said it would
                   be “extremely difficult” for Apple ever to catch up.

                   “Google’s advantage comes from scale,” he said, as the endless user feedback helps to
                   tune results and identify areas of improvement. “Google gets hundreds of millions of
                   queries every minute from users all over the world — that’s an enormous advantage
                   when it comes to data.”

                   Additional reporting by Richard Waters in San Francisco




6 of 6                                                                                                             2/18/2022, 2:11 PM
Quote of the Day: Google CEO Compares Data Across Millennia - The A... https://www.theatlantic.com/technology/archive/2010/07/quote-of-the-da...
                     Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 187 of 1046




1 of 4                                                                                                                       2/16/2022, 2:28 PM
Google Chrome’s Incognito Mode is way less private than you think | ...   https://www.wired.co.uk/article/google-chrome-incognito-mode-privacy
                        Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 188 of 1046




              LAURIE CLARKE        SECURITY      20.07.2019 06:00 AM




             Google Chrome’s Incognito Mode is way
             less private than you think
             Google Chrome 76 is limiting how you can be tracked in its Incognito
             Mode. But that doesn't mean you're not being tracked at all




             GOOGLE / WIRED




             The icon is a detective style hat and glasses, the colour scheme is moody, and many think
             that entering Google Chrome’s Incognito Mode is like slipping under a cloak of invisibility.
             Yet it turns out that this is hopelessly misguided. Despite the long-known fact that
             Incognito isn't truly anonymous, new research has re-emphasised that Google and other
             web browsers are still tracking you in privacy mode, even on the most sensitive of sites.

             A forthcoming research paper, set to be published in the journal New Media & Society and
             first reported on by the New York Times, saw researchers scan 22,484 porn websites. They
             found 93 per cent of them housed trackers sending information to an average of seven
             third party domains. While this may be startling many people, incognito has always made
             for an inadequate privacy tool.

             “Private modes in web browsers were never designed as a general privacy fix,” says Lukasz
             Olejnik, independent cybersecurity and privacy advisor, as well as research associate at the
             Center for Technology and Global Affairs at Oxford University. “In practice, they offer very
             little.”




1 of 4                                                                                                                      3/2/2022, 2:01 PM
Google Chrome’s Incognito Mode is way less private than you think | ...   https://www.wired.co.uk/article/google-chrome-incognito-mode-privacy
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 189 of 1046

             The modes are short-term options that can limit what's recorded on one machine – not an
             all-encompassing way to be private online. The main functionality of incognito mode is not
             saving cookies or browser history on the hard disc, meaning that private browsing sessions
             are isolated from normal ones.

             Third party tracking is generally achieved by websites storing cookies on a visitor’s hard
             drive. Cookies are generally used to track repeat visits from the same user, and build up a
             profile that’s used to serve ads. In incognito mode, your data is tracked in exactly the same
             way as normal mode. “The difference is that in ordinary circumstances, trackers are unable
             to link a "private browsing" session with the "normal session",” says Olejnik. “This means
             that in principle, after the user closes the browser window no trace should be left.”

             But there are of course problems. Notably, third-party sites are able to detect whether site
             visitors are in private browsing mode, something that Olejnik says is being weaponised
             against them. It’s this capability that allows, for example, news sites with paywalls to block
             access to visitors with this mode enabled. If you reach your limit of free articles on the New
             York Times, it's still able to recognise you (and stop access) if you click into incognito.

             However, most browsers have never really considered this a major privacy flaw. This is why
             one loophole that allows third party websites to do this – through Filesystem API detection
             – has remained in place for so long. The FileSystem API is disabled in Incognito mode,
             meaning that if a site searches for it and gets an error message, they can determine that a
             user is in privacy mode. Google has announced the next iteration of its web browser,
             Chrome 76, will close the loophole. When it's released on July 30, it's probably not going to
             please publishers.

             Read more: How to delete your Google search history and stop tracking

             However, despite the loophole being shut, this doesn't mean that Chrome's Incognito Mode
             will become a better way to browse anonymously. Matthew Forshaw, a lecturer in Data
             Science at Newcastle University was involved in research that compared the privacy modes
             of different browsers, and found that a lot of their claims didn't stack up.

             This research, conducted back in 2014, uncovered that third party websites were leveraging
             cookies to identify which users were browsing privately. In normal browsing, cookies are
             written onto the hard disc itself, whereas in incognito mode, they are held in a device's



2 of 4                                                                                                                      3/2/2022, 2:01 PM
Google Chrome’s Incognito Mode is way less private than you think | ...   https://www.wired.co.uk/article/google-chrome-incognito-mode-privacy
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 190 of 1046

             memory. The research demonstrated that a third party website could remotely instruct
             someone's browser to write one million cookies, and track how long it took – in a normal
             browser mode it should take a number of seconds, but when using private mode it’s almost
             instantaneous.

             Another means of determining this mode is almost deceptively simple. Though you may be
             in private mode, there will only be so many people running the same version of your
             operating system with that version of the browser. From this information alone, trackers
             can often identify more personally sensitive and identifiable information. Forshaw says
             internet users can use a programme called Panoptoclick to obtain a ‘uniqueness score’ –
             ostensibly telling you how easily identifiable you are as you browse the web. The research
             project is run by the Electronic Frontier Foundation.

             Is your browsing history at least safe from family members or partners who may have
             access to your computer? Forshaw’s research found that someone with access to your
             machine could discover which websites had been browsed with easily available tools. On
             the hard disc and in the memory, there were traces of which websites had been visited
             when in incognito mode.

             But is this all of this by design? From its inception, Google’s whole business model has been
             predicated on collecting vast collections of data about its users. To create a truly private
             browsing option where no data is tracked would run directly counter to the tech giant’s
             raison d’etre. However, Google doesn’t claim that incognito is a catch-all security salve. In
             fact, it highlights that your activity might still be visible to the websites that you visit, your
             employer or school (if you are accessing content via an institution’s internet connection)
             and your internet service provider.

             However, when it comes to third party tracking, Forshaw dismantles the notion that these
             entities may end up capturing such data ‘by accident’. “There's a possibility than one of
             these trackers makes a decision about what they consider in and out of scope, and that
             through technical fluke, they end up capturing more information than they intended,” he
             says, “but in general, it's probably very well considered.”

             Given privacy modes don't guarantee a true layer of anonymity, it’s not surprising that they
             offer no protection higher up the food chain. Your activity will still be available to your
             internet service provider which can monitor your activity using your public IP address.


3 of 4                                                                                                                      3/2/2022, 2:01 PM
Google Chrome’s Incognito Mode is way less private than you think | ...   https://www.wired.co.uk/article/google-chrome-incognito-mode-privacy
                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 191 of 1046

             There are other options though. If you're looking for a more private online experience, you
             want to consider a privacy-first web browser. You'll get the most protection by using Tor,
             which reroutes and encrypts your online activity in multiple layers, but other alternatives
             such as Brave and DuckDuckGo collect less data than Google's offering.



             More great stories from WIRED

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             � London's minicabs have a cunning plan to beat Uber

             � A vaccine for Alzheimer's is on the verge of reality

             � Reddit’s ‘Am I the Asshole’ is your new guilty pleasure

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             TOPICS     PRIVACY     SECURITY     TECHNOLOGY      GOOGLE




4 of 4                                                                                                                      3/2/2022, 2:01 PM
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Google's Secret 'Project Nightingale' Gathers
Personal Health Data on Millions of Americans
Publication info: Dow Jones Institutional News ; New York [New York]. 11 Nov 2019.

  ProQuest document link




FULL TEXT
 By Rob Copeland


Google is teaming with one of the country's largest health-care systems on a secret project to collect and crunch
the detailed personal health information of millions of Americans across 21 states, according to people familiar
with the matter and internal documents.
The initiative, code-named "Project Nightingale," appears to be the largest in a series of efforts by Silicon Valley
giants to gain access to personal health data and establish a toehold in the massive health-care industry.
Amazon.com Inc., Apple Inc. and Microsoft Corp. are also aggressively pushing into health care, though they
haven't yet struck deals of this scope.
Google launched the effort last year with St. Louis-based Ascension, the country's second-largest health system.
The data involved in Project Nightingale includes lab results, doctor diagnoses and hospitalization records, among
other categories, and amounts to a complete health history, complete with patient names and dates of birth.
Neither patients nor doctors have been notified. At least 150 Google employees already have access to much of
the data on tens of millions of patients, according to a person familiar with the matter.
Some Ascension employees have raised questions about the way the data is being collected and shared,
according to documents, but privacy experts said it appeared to be permissible under federal law. That law, the
Health Insurance Portability and Accountability Act of 1996, generally allows hospitals to share data with business
partners without telling patients, as long as the information is used "only to help the covered entity carry out its
health-care functions."
Google in this case is using the data, in part, to design new software, underpinned by advanced artificial
intelligence and machine learning, that zeros in on individual patients to suggest changes to their care. Staffers
across Alphabet Inc., Google's parent, have access to the patient information, documents show, including some
employees of Google Brain, a research science division credited with some of the company's biggest
breakthroughs.
Representatives for Google and Ascension didn't immediately have a comment.
Write to Rob Copeland at rob.copeland@wsj.com


(END)
November 11, 2019 13:26 ET (18:26 GMT)


DETAILS

 Business indexing term:        Subject: Health Insurance Portability &Accountability Act 1996-US Employees




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 Subject:                        Patients; Personal health; Artificial intelligence; Health Insurance Portability
                                 &Accountability Act 1996-US; Employees

 Location:                       Silicon Valley-California United States--US

 Company / organization:         Name: Amazon.com Inc; NAICS: 334310, 454110, 518210; Name: Alphabet Inc;
                                 NAICS: 519130, 551112; Name: Microsoft Corp; NAICS: 334614, 511210; Name:
                                 Apple Inc; NAICS: 334111, 334220, 511210

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Google's 'Project Nightingale' Triggers Federal
Inquiry; Deal with Ascension health system
aimed at improving patient care provides Google
with health-data gold mine
Copeland, Rob; Needleman, Sarah E . Wall Street Journal (Online) ; New York, N.Y. [New York, N.Y]. 13
Nov 2019.

  ProQuest document link




FULL TEXT
Google's project with the country's second-largest health system to collect detailed health information on 50
million American patients sparked a federal inquiry and criticism from patients and lawmakers.
The data on patients of St. Louis-based Ascension were until recently scattered across 40 data centers in more
than a dozen states. Google and the Catholic nonprofit are moving that data into Google's cloud-computing
system—with potentially big changes on tap for doctors and patients.
At issue for regulators and lawmakers who expressed concern is whether Google and Ascension are adequately
protecting patient data in the initiative, which is code-named "Project Nightingale" and is aimed at crunching data
to produce better health care, among other goals. Ascension, without notifying patients or doctors, has begun
sharing with Google personally identifiable information on millions of patients, such as names and dates of birth;
lab tests; doctor diagnoses; medication and hospitalization history; and some billing claims and other clinical
records.
The Office for Civil Rights in the Department of Health and Human Services "will seek to learn more information
about this mass collection of individuals' medical records to ensure that HIPAA protections were fully
implemented," the office's director, Roger Severino, said.
HIPAA refers to the federal Health Insurance Portability and Accountability Act of 1996, which generally allows
hospitals to share data with business partners without telling patients as long as the information is used "only to
help the covered entity carry out its health-care functions." Privacy experts say Project Nightingale appears to be
permissible under federal law.
A Google spokeswoman said in a statement: "We are happy to cooperate with any questions about the project. We
believe Google's work with Ascension adheres to industry-wide regulations (including HIPAA) regarding patient
data, and comes with strict guidance on data privacy, security, and usage."
The spokeswoman said Ascension data wouldn't be used to sell ads.
Project Nightingale was first reported by The Wall Street Journal on Monday.
Ascension has more than 2,600 facilities like hospitals and nursing homes in 21 states and Washington, D.C.
"The optics are bad. The legal argument is tenuous. Ethically, this is a bad strategy. They need to tell people what
they are doing," said Ellen Wright Clayton, a professor of biomedical ethics at Vanderbilt University. She said the
Alphabet Inc. unit risks running afoul of the rules if it uses the health data to perform independent research outside
the direct scope of patient care.
Share Your Thoughts
How do you view the alliance between a tech company and a health-care provider? Join the conversation below.
Google declined to comment on whether it would conduct research. People familiar with the project said the


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company's staffers are still parsing through Ascension's patchwork of data collections and aren't yet positive what
insights might be found or eventually produced.
Several lawmakers on Tuesday expressed concern about the program , including Sens. Mark Warner (D., Va.), Amy
Klobuchar (D., Minn.), Bill Cassidy (R., La.), Lisa Murkowski (R., Alaska) and Richard Blumenthal (D., Conn.).
Mr. Warner called for Project Nightingale to be halted pending an investigation. He said a moratorium should be
applied to any similar deals involving a company already under a consent-decree agreement for serious privacy
and security violations, as is the case with Google.
Ms. Klobuchar, a presidential candidate, said Google's trove of health data warrants more government oversight
because there are "very few rules of the road in place regulating how it is collected and used." She called for new
legislation to address the issue.
Read more
* Google's 'Project Nightingale' Gathers Personal Health Data on Millions of Americans (Nov. 11)
Other technology companies, including Apple Inc., Amazon.com Inc. and Microsoft Corp., are also aggressively
pushing into health care.
Eventually, experts say, Google could reap tens of millions of dollars—if not more—by repeating its Ascension work
for other health-care clients.
Google cloud President Tariq Shaukat said Monday the company aimed to help "modernize Ascension's
infrastructure," as well as give Ascension staffers tools to communicate and build functions that the health system
could use to improve care.
In meetings and presentations reviewed by the Journal, Google has laid out deep ambitions for the project. Google
executives describe the goal as a "layer" of patient information that is essentially an entire personal health record.
Artificial intelligence would immediately jump in with suggested questions, and its own answers, such as risks of a
given treatment plan. Project Nightingale would then automatically predict and map the outcome of certain
procedures or medications.
Doctors and other Ascension medical staff, as well as Google employees, would be able to pull up far-flung patient
data faster than under Ascension's current system.
Conceptual images of the software under construction show an interface much like Google's flagship search
engine. Begin to type in a first name, and Google will produce a drop-down menu featuring other patients with
similar names. A single click reveals metabolic data, medications, phone numbers and even the patient's
temperature.
Software would be able to automatically read scanned images such as MRIs and upload related data to a central
network accessible to Ascension and some Google employees.
The concept gave some Ascension patients pause.
"Google is not doing this out of the goodness of their heart," said Tim Wiesner, a 63-year-old retired nurse and
Ascension patient in Wichita, Kan. He said he was disappointed not to have been notified of the data sharing
directly by his doctor. "It just seems deceitful. I'm sure they are going to make money off our information."
Google isn't being paid for the work for now, documents show, but Ascension is incurring costs as it trains its staff
in the search giant's systems, people familiar said. Google said Tuesday it wouldn't disclose financials of the deal.
Google and Ascension have signed what is known as a business associate arrangement, which specifies when a
health-care vendor can access patient data. Ascension retains ownership of the data, people familiar with the
matter said. Neither Google nor Ascension would give details on who at Google can access data.
Write to Rob Copeland at rob.copeland@wsj.com and Sarah E. Needleman at sarah.needleman@wsj.com
Credit: By Rob Copeland and Sarah E. Needleman


DETAILS



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Business indexing term:         Subject: Health Insurance Portability &Accountability Act 1996-US Health insurance;
                                Industry: 62211 : General Medical and Surgical Hospitals 62111 : Offices of
                                Physicians 52411 : Direct Life, Health, and Medical Insurance Carriers 51121 :
                                Software Publishers

Subject:                        Patients; Software; Artificial intelligence; Health care; Physicians; Hospitals;
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Inside Google's Quest for Millions of Medical
Records; The company has struck deals that
grant it access to troves of patient data; 'We want
to be helpful'
Copeland, Rob; Mattioli, Dana; Evans, Melanie . Wall Street Journal (Online) ; New York, N.Y. [New York,
N.Y]. 11 Jan 2020.

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FULL TEXT
PALO ALTO, Calif.—Roughly a year ago, Google offered health-data company Cerner Corp. an unusually rich
proposal.
Cerner was interviewing Silicon Valley giants to pick a storage provider for 250 million health records, one of the
largest collections of U.S. patient data. Google dispatched former chief executive Eric Schmidt to personally pitch
Cerner over several phone calls and offered around $250 million in discounts and incentives, people familiar with
the matter say.
Google had a bigger goal in pushing for the deal than dollars and cents: a way to expand its effort to collect,
analyze and aggregate health data on millions of Americans. Google representatives were vague in answering
questions about how Cerner's data would be used, making the health-care company's executives wary, the people
say. Eventually, Cerner struck a storage deal with Amazon.com Inc. instead.
The failed Cerner deal reveals an emerging challenge to Google's move into health care: gaining the trust of health
care partners and the public. So far, that has hardly slowed the search giant.
Google has struck partnerships with some of the country's largest hospital systems and most-renowned health-
care providers, many of them vast in scope and few of their details previously reported. In just a few years, the
company has achieved the ability to view or analyze tens of millions of patient health records in at least three-
quarters of U.S. states, according to a Wall Street Journal analysis of contractual agreements.
In certain instances, the deals allow Google to access personally identifiable health information without the
knowledge of patients or doctors. The company can review complete health records, including names, dates of
birth, medications and other ailments, according to people familiar with the deals.
The prospect of tech giants' amassing huge troves of health records has raised concerns among lawmakers,
patients and doctors, who fear such intimate data could be used without individuals' knowledge or permission, or
in ways they might not anticipate.
Google is developing a search tool, similar to its flagship search engine, in which patient information is stored,
collated and analyzed by the company's engineers, on its own servers. The portal is designed for use by doctors
and nurses, and eventually perhaps patients themselves, though some Google staffers would have access sooner.
Google executives and some health systems say that detailed data sharing has the potential to improve health
outcomes. Large troves of data help fuel algorithms Google is creating to detect lung cancer, eye disease and
kidney injuries. Hospital executives have long sought better electronic record systems to reduce error rates and
cut down on paperwork.
In his first extensive interview since joining the search giant last January, the head of Google Health, Dr. David
Feinberg, says the tech giant's push into health care is motivated more by the greater good than profits. "I came


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here to make people healthy, I'm not here to sell them ads," Dr. Feinberg says. "Google is so good at being helpful.
We want to be helpful with knowledge, success, health and happiness."
A Google spokesman sent an email saying the health systems it works with "own their data, and we can only
process it according to their instructions."
Legally, the information gathered by Google can be used for purposes beyond diagnosing illnesses, under laws
enacted during the dial-up era. U.S. federal privacy laws make it possible for health-care providers, with little or no
input from patients, to share data with certain outside companies. That applies to partners, like Google, with
significant presences outside health care. The company says its intentions in health are unconnected with its
advertising business, which depends largely on data it has collected on users of its many services, including email
and maps.
Medical information is perhaps the last bounty of personal data yet to be scooped up by technology companies.
The health data-gathering efforts of other tech giants such as Amazon and International Business Machines Corp.
face skepticism from physician and patient advocates. But Google's push in particular has set off alarm bells in
the industry , including over privacy concerns. U.S. senators, as well as health-industry executives, are questioning
Google's expansion and its potential for commercializing personal data.
In one previously undisclosed example, Google reached an extensive agreement last year with Intermountain
Healthcare that allowed the Utah hospital system to share with Google medical records including names and other
identity-revealing details, people at both companies say. The hospital system and Google planned to apply
Google's search tool to Intermountain patient records.
An Intermountain spokesman now says that project didn't go forward.
Another partnership with the Rochester, Minn.-based Mayo Clinic allows Google access to personally identifiable
information when needed, Mayo says. When the arrangement was announced in September, the hospital system
said publicly that data wouldn't include names or other identifiable details.
Mayo Clinic and Intermountain say their deals with the search giant are structured to protect patient privacy and
security.
The issue began drawing widespread attention in November, when The Wall Street Journal reported on Google's
"Project Nightingale" partnership with Ascension, a Catholic chain of 2,600 hospitals, doctors' offices and facilities,
to crunch detailed information on 50 million patient records across 20 states and the District of Columbia.
Outcry over the Ascension deal, including a federal inquiry and objections from patients, shocked executives inside
Google, and opened fissures in its top ranks over how to proceed, according to people with knowledge of the
discussions. The head of Google Health, Dr. Feinberg, pushed to tell the public more about his division's
operations, but met resistance from longtime staffers who cite the company's tradition of keeping potential new
products under wraps.
A Google spokesman says the company has been transparent in its work in the field, publishing its research and
making some data sets public.
Dr. Feinberg says the company was mistaken to begin building such a large, sensitive program outside of the
public eye. At the outset, it wasn't clear how the project would advance beyond initial, experimental steps. "We
didn't know what we were doing," says Dr. Feinberg, a trained child psychiatrist and former chief executive of
Pennsylvania hospital system Geisinger.
Dr. Feinberg's triage is ongoing. On its website, Google's cloud computing division until recently listed as a
customer the large nonprofit health system Kaiser Permanente, something hospital representatives say isn't
accurate. Google removed the listing after inquiries from the Journal.
"We are not actively doing anything today with Google," says Kaiser Permanente vice president Elizabeth McGlynn.
"We have to be very clear about who shares our values about protecting patient privacy. Not every tech company
can satisfy that standard, and a lot of them come with baggage they have earned."
The roots of Google's move into health stretch back before the company's founding in 1999.
Three years earlier, President Bill Clinton signed the Health Insurance Portability and Accountability Act, or HIPAA,


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into law. The legislation was intended to help individuals maintain their health plans and combat rising costs by
accelerating a shift to electronic health records. Its more famous legacy, however, has become its rules on health
data.
Though patients commonly believe HIPAA prevents doctors from sharing their data, in practice it can do the
opposite. The rules are written broadly enough for health-care systems to share personally identifiable patient data
with a broad array of business associates for help with functions closely related to health care, such as quality
assurance or practice management.
So long as hospitals post notices that such agreements generally exist, they don't have to tell patients proactively
who these third parties are or what personal data they can access.
Google has long seen health data as a natural extension of its stated mission to organize information. Parent
Alphabet Inc. also boasts divisions that work on extending life, early detection of disease, wearable devices and
drone delivery for prescriptions.
In 2011, Google shut down a one-stop medical-records collection platform that required patients to input personal
information themselves. "Few consumers," said one research analyst, "are interested in a digital filing cabinet for
their records."
A few years later, under the code name "Guardian," Google began building exactly that—except in a way that didn't
give patients choice in the matter.
At first glance, Guardian, currently in testing, looks much like the company's flagship search engine. Type in a
patient name and a pull-down menu offers auto-fill suggestions. One click reveals personal patient information like
vital tests, surgical history and identifiable information—culled in real-time from health system data portals.
Ascension, based in St. Louis, was eager to pilot the program. The chain's records, like many hospitals', are a
patchwork maze with little consistency from state to state, impeding efforts to standardize care.
Ascension executives told a small circle of staff about the project in May at meetings attended by Google staffers
who passed out free Google T-shirts, pins and notebooks. Millions of patient records were soon shared. Among the
goals laid out in internal documents reviewed by the Journal: to predict procedures that patients might need, and
identify "missed opportunities for revenue."
After the Journal's report, Ascension narrowed network access among its own staff and some at Google to
information about Project Nightingale, people familiar with the matter say, adding that Ascension hasn't re-
examined its Google ties.
Federal investigators in the Department of Health and Human Services' Office of Civil Rights in recent weeks began
interviewing people close to Project Nightingale as part of an inquiry into what regulators called the "mass
collection of individuals' medical records" and whether security or privacy were sacrificed. Google earlier said it
would cooperate, and an HHS spokeswoman declined to give an update.
Ascension's innovations and strategy chief, Eduardo Conrado, says hospital officials retain oversight of Google,
control the data and audit access. "In all of this work, access to our private cloud and the clinical information
contained within it is controlled, logged and monitored by Ascension," Mr. Conrado said in an email.
Google Health's roughly 1,000 employees are headquartered in a beige, unmarked office complex a few miles from
Google's sprawling Mountain View, Calif., main campus.
The head of Google Health, Dr. Feinberg, is a former Pennsylvania hospital system executive who joined Google
one year ago. Dr. Feinberg holds medical and business degrees and exercises for two hours each day beginning at
4 a.m. He boasts about his $5 Wal-Mart fleece jacket, and is an astrology enthusiast.
"I'm positive," Dr. Feinberg says to a reporter good naturedly, if inaccurately, "you're Sagittarius."
Dr. Feinberg says Google should be more transparent about its plans in health care, though he won't say how many
personal health records the company can currently view.
Reiterating what Google has told lawmakers and industry executives in private meetings over the past two months,
Dr. Feinberg says he operates on a personal directive from Mr. Schmidt: "Don't worry about making money."
Share Your Thoughts


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How should tech companies balance patient privacy concerns with pursuing health-care advances? Join the
conversation below.
When it comes to Google Health initiatives such as using artificial intelligence to diagnose illnesses, Dr. Feinberg
says the company may give consumers a choice on whether to participate.
"All that other scary stuff—we're going to be so explicit about it," Dr. Feinberg says. "Most people I think would say
'Yeah, it's great.' And some people can say, 'I hate Google, no.' "
He says he wants patients to be fully informed of how their data may be used: "I want to get the moment of
consent there."
Yet he is reluctant to allow people to opt out of Google's core health-search tool. He likens that to a physician
knowingly offering substandard care, he says.
"If you believe me that all we are doing is organizing that information to make it easier for your doctor, I'm going to
get a little paternalistic here: I'm never going to let that get opted out," Dr. Feinberg says. "It's going to screw up
your treatment. We're not going to be able to take care of you."
Dr. Feinberg says he can see how the company's track record might make that a tough pill to swallow. Google
Health's DeepMind unit three years ago admitted errors in accessing 1.6 million U.K. patient records.
"There's a disbelief that what we say we're doing is what we are actually doing. And I think that's Google's fault,"
says Dr. Feinberg, 57. "There's been missteps, right? We've got to own that. And that's why we've got to do even
better."
The Google spokesman's email said the company is proud of its efforts in the field, which are focused on using its
expertise to "boost access to quality care, free up providers' time so they can focus on patients, and expand the
frontiers of medicine."
There are other deals that bear a resemblance to the Ascension arrangement.
Intermountain has for roughly a year had an agreement that permits Google access to patient health records,
according to people familiar with the matter. The scope of the agreement, and its lack of detailed public disclosure,
is similar to Google's Ascension partnership. Intermountain discussed working on a beta version of Google's
Guardian search tool with patient medical records.
Intermountain spokesman Daron Cowley said the hospital didn't share data that identified patients with Google. He
said Intermountain's agreement with Google continues, but said it has no current projects with the company.
Google and its partners say patient data being shared is often "de-identified," or aggregated without personal
information such as names and birth dates, but there are indications that avoiding such details is likely to be a
challenge.
A federal lawsuit from a patient in Illinois alleges that one such arrangement between Google and University of
Chicago Medical Center includes information that could be traced back to an individual using other data the
search-engine holds.
Google and the University of Chicago deny that, saying they comply with federal privacy laws and have moved to
dismiss the lawsuit.
"You can't put knowledge in a box," said Deven McGraw, an advisor to Alphabet's life-sciences arm and chief
regulatory officer of health startup Ciitizen. "If people can learn things, machines can learn things better and faster.
It can't be contained."
In September, Google and the Mayo Clinic announced a partnership to "solve complex health care problems."
Patient data would remain private and devoid of identifiable personal information, Mayo officials said then.
What neither Mayo nor Google disclosed at the time was that the Mayo contract with Google permits Mayo to
share personally identifiable health data in the future, executives say. "It was not our intention to mislead the
public," Mayo Chief Information Officer Cris Ross now says.
Mr. Ross and Google both say Mayo hasn't yet shared personal patient data with the search giant, and that it
would do so only if absolutely necessary. A Mayo spokeswoman says the health system may split with Google
rights to products developed under the partnership.


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"We have a moral obligation," Mr. Ross says, "to pursue discovery and advance cures for people."
As Google has moved to expand its data collection, some potential partners have been put off by what they viewed
as the company's aggressive maneuvers to acquire data without providing enough information on how it would be
used.
Google pushed one medical-data manager not to share data with other companies, according to a person familiar
with the pitch.
As part of its huge offer for Cerner, whose software is embedded in doctors' offices in 30 countries, Google used its
size to its advantage. Google Cloud executives offered that other arms of the conglomerate would buy unspecified
other services from Cerner, people familiar with the matter say.
Cerner ultimately accepted a less generous offer from Amazon, in part because the company decided Amazon was
more trustworthy on security, according to one of these people.
Existing players in the health-care data market also fear that the tech giant will gain too much power in their
industry. Some hospital and technology executives say they declined deals with Google lest it become a future
competitor.
"We could never pin down Google on what their true business model was," says a Cerner executive involved in the
discussions.
Write to Rob Copeland at rob.copeland@wsj.com and Dana Mattioli at dana.mattioli@wsj.com
Credit: By Rob Copeland, Dana Mattioli and Melanie Evans


DETAILS

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Redlining for the 21st Century                                                                                    https://www.theatlantic.com/business/archive/2014/03/redlining-for-the-...
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              Redlining for the 21st Century

              Bill Davidow


              Companies can now use data to constrict which options they offer to certain consumers—and at what prices.

              Using personal information gathered about you on the Internet to provide you with better choice is very different from using the same information to control your behavior. The former is a
              service to the consumer. The latter is exploitation. I call the use of big data to exploit consumers “personal redlining.”

              The term “redlining,” which first emerged in the 1950s, referred to the practice of denying service or charging more for products to particular groups based on race, sex, or where they lived.
              The Fair Housing Act of 1968 made redlining based on race, religion, sex, and the like illegal in mortgage lending.

              Personal redlining is not about using big data in clever ways to influence choice as has been discussed in a recent Atlantic article by Rebecca J. Rosen. It is about using big data to dictate
              choice. When companies engage in personal redlining they use big data to learn everything possible about you as an individual and then decide what information, products, and services you
              should have—and at what price. It is about limiting options and pressuring customers to select one of those options.

              If you are provided with too much information, it becomes impossible to find the information you want. Publications such as The Atlantic filter the information they publish to provide their
              large reader population with the articles they believe will interest them. (It’s called “editing.”) Personal redlining using big data can also be used to provide you with relevant choices and
              make it easier for you to find what you want.

              Businesses would like customers to believe that they use big data only to add value to the consumer experience. But the behavior of many businesses demonstrates a deep interest in customer
              control.

              Here are some of the techniques businesses will have at their disposal. When a consumer applies for automobile or homeowner insurance or a credit card, companies will be able to make a
              pretty good guess as to the type of risk pool they should assign the consumer to. The higher-risk consumers will never be informed about or offered the best deals. Their choices will be
              limited.

              State Farm is currently offering a discount to customers through a program called Drive Safe & Save. The insurer offers discounts to customers who use services such as Ford’s Sync or
              General Motors’ OnStar, which, among other things, read your odometer remotely so that customers no longer have to fuss with tracking how many miles they drive to earn insurer discounts.
              How convenient!

              State Farm makes it seem that it’s only your mileage that matters but imagine the potential for the company once it has remote access to your car. It will know how fast you drive on the
              freeway even if you don't get a ticket. It will know when and where you drive. What if you drive on routes where there are frequent accidents? Or what if you park your car in high-crime
              areas?

              By personal redlining, State Farm will have the ability to offer you your own personalized insurance rate.

              Health insurers, now that health care reform is in effect, cannot refuse you based on prior condition. But they can use other creative techniques. If a company can make a pretty good guess
              that you are a high-risk customer, it can give you a lousy Internet experience. It can deluge you with questions and long, hard-to-navigate forms, and randomly drop Internet connections and
              slow the page response. The goal will be to drive you to another company. As journalist Phil Mattera recently pointed out, “These companies have always found ways to increase profits at the
              expense of coverage, and they always will.”

              By analyzing credit-card transactions, credit-card companies can discover customers who frequently return merchandise for credit. Internet retailers could discourage those customers by
              increasing the charges for shipping.

              With access to enough data, airlines can make a pretty good guess as to whether a customer is morbidly obese. They could decide to charge more for a seat, or indicate that nearly full flights
              have no space.

              Of course, companies can also choose to do none of the above. I’m sure that many will instead use the Internet to provide consumers with better choices; they will use big data because they
              believe the best way to create a profitable business is to provide customers with the best possible service. But others will not. They will use big data to manage information flow, charge
              customers they decide are less desirable higher prices and make doing business with them less, not more, convenient. They will be the pioneers of personal redlining.




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$2B company buys local auto shopping data venture              https://www.nashvillepost.com/2b-company-buys-local-auto-shopping-da...
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                   $2B company buys local auto shopping data
                   venture

                   Geert De Lombaerde


                   A local website analytics company specializing in automotive sales has been bought
                   by a global data and consulting firm.

                   Terms of the sale of Dataium's assets to Colorado-based IHS Inc. aren't being
                   disclosed. Dataium's software aggregates data from more than 20 million online car
                   shoppers each month and turns that information into predictive reports, business
                   intelligence and other tools for companies in the automotive sector.

                   The company will become part of IHS' automotive segment, which has annual
                   revenues of more than $500 million and is home to the Carfax vehicle history
                   business. Dataium was founded in 2009 by Eric Brown and Jason Ezell, who had
                   earlier launched and then sold Dealerskins.

                   Dataium, which is based in the Century City district near Nashville International
                   Airport, employs eight people. But that number could grow as it settles into the IHS
                   family.

                   "This complementary relationship will enable strong growth for Dataium going
                   forward, which will also benefit the continuing Nashville-based operations," a
                   company spokesman wrote in an email. "Dataium adds highly complementary data
                   assets and capabilities to IHS Automotive's existing assets, tools, analytics and
                   overall automotive capabilities that are leveraged by all OEMs and most of their
                   dealer networks."

                   IHS (Ticker: IHS) posted a 2014 profit of $195 million on revenues of $2.2 billion
                   and has a market value of more than $8 billion. In the first quarter of this year, it
                   earned $39.5 million on $546 million in sales.




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                    Unique in the shopping mall: On the
                  reidentifiability of credit card metadata


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Unique in the shopping mall:
On the reidentifiability of credit card metadata

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Large-scale data sets of human behavior have the potential to fundamentally transform the

way we fight diseases, design cities, or perform research. Metadata, however, contain sensi-

tive information. Understanding the privacy of these data sets is key to their broad use and,

ultimately, their impact. We study 3 months of credit card records for 1.1 million people and

show that four spatiotemporal points are enough to uniquely reidentify 90% of individuals.

We show that knowing the price of a transaction increases the risk of reidentification by 22%,

on average. Finally, we show that even data sets that provide coarse information at any or all

of the dimensions provide little anonymity and that women are more reidentifiable than men

in credit card metadata.


           Large-scale data sets of human behavior have the potential to fundamentally transform the

way we fight diseases, design cities, or perform research. Ubiquitous technologies create personal

metadata on a very large scale. Our smartphones, browsers, cars, or credit cards generate infor-
     ∗
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                                                        1
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mation about where we are, whom we call, or how much we spend. Scientists have compared this

recent availability of large-scale behavioral data sets to the invention of the microscope (1). New

fields such as computational social science (2–4) rely on metadata to address crucial questions such

as fighting malaria, studying the spread of information, or monitoring poverty (5–7). The same

metadata data sets are also used by organizations and governments. For example, Netflix uses

viewing patterns to recommend movies, whereas Google uses location data to provide real-time

traffic information, allowing drivers to reduce fuel consumption and time spent traveling (8). The

transformational potential of metadata data sets is, however, conditional on their wide availability.

In science, it is essential for the data to be available and shareable. Sharing data allows scientists

to build on previous work, replicate results, or propose alternative hypotheses and models. Several

publishers and funding agencies now require experimental data to be publicly available (9–11).

Governments and businesses are similarly realizing the benefits of open data (12). For example,

Boston’s transportation authority makes the real-time position of all public rail vehicles available

through a public interface (13), whereas Orange Group and its subsidiaries make large samples of

mobile phone data from Côte d’Ivoire and Senegal available to selected researchers through their

Data for Development challenges (14, 15). These metadata are generated by our use of technology

and, hence, may reveal a lot about an individual (16, 17). Making these data sets broadly avail-

able, therefore, requires solid quantitative guarantees on the risk of reidentification. A data set’s

lack of names, home addresses, phone numbers, or other obvious identifiers [such as required, for

instance, under the U.S. personally identifiable information (PII) “specific-types” approach (18)],

does not make it anonymous nor safe to release to the public and to third parties. The privacy of



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such simply anonymized data sets has been compromised before (19–22). Unicity quantifies the

intrinsic reidentification risk of a data set (19). It was recently used to show that individuals in a

simply anonymized mobile phone data set are reidentifiable from only four pieces of outside in-

formation. Outside information could be a tweet that positions a user at an approximate time for a

mobility data set or a publicly available movie review for the Netflix data set (20). Unicity quanti-

fies how much outside information one would need, on average, to reidentify a specific and known

user in a simply anonymized data set. The higher a data set’s unicity is, the more reidentifiable

it is. It consequently also quantifies the ease with which a simply anonymized data set could be

merged with another. Financial data that include noncash and digital payments contain rich meta-

data on individuals’ behavior. About 60% of payments in the United States are made using credit

cards (23), and mobile payments are estimated to soon top $1 billion in the United States (24).

A recent survey shows that financial and credit card data sets are considered the most sensitive

personal data worldwide (25). Among Americans, 87% consider credit card data as moderately

or extremely private, whereas only 68% consider health and genetic information private, and 62%

consider location data private. At the same time, financial data sets have been used extensively

for credit scoring (26), fraud detection (27), and understanding the predictability of shopping pat-

terns (28). Financial metadata have great potential, but they are also personal and highly sensitive.

There are obvious benefits to having metadata data sets broadly available, but this first requires

a solid understanding of their privacy. To provide a quantitative assessment of the likelihood of

identification from financial data, we used a data set D of 3 months of credit card transactions for

1.1 million users in 10,000 shops in an Organisation for Economic Co-operation and Development



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Figure 1: Financial traces in a simply anonymized data set such as the one we use for this work. Ar-

rows represent the temporal sequence of transactions for user 7abc1a23 and the prices are grouped

in bins of increasing size.

country (Fig. 1). The data set was simply anonymized, which means that it did not contain any

names, account numbers, or obvious identifiers. Each transaction was time-stamped with a resolu-

tion of 1 day and associated with one shop. Shops are distributed throughout the country, and the

number of shops in a district scales with population density (r2 = 0.51, P < 0.001) (fig. S1).


      We quantified the risk of reidentification of D by means of unicity  (19). Unicity is the risk

of reidentification knowing p pieces of outside information about a user. We evaluate p of D as

the percentage of its users who are reidentified with p randomly selected points from their financial

trace. For each user, we extracted the subset S(Ip ) of traces that match the p known points (Ip ).


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A user was considered reidentified in this correlation attack if |S(Ip )| = 1. For example, let’s say

that we are searching for Scott in a simply anonymized credit card data set (Fig. 1). We know two

points about Scott: he went to the bakery on 23 September and to the restaurant on 24 September.

Searching through the data set reveals that there is one and only one person in the entire data set

who went to these two places on these two days. |S(Ip )| is thus equal to 1, Scott is reidentified,

and we now know all of his other transactions, such as the fact that he went shopping for shoes and

groceries on 23 September, and how much he spent. Figure 2 shows that the unicity of financial

traces is high (4 > 0.9, green bars). This means that knowing four random spatiotemporal points

or tuples is enough to uniquely reidentify 90% of the individuals and to uncover all of their records.

Simply anonymized large-scale financial metadata can be easily reidentified via spatiotemporal

information.


      Furthermore, financial traces contain one additional column that can be used to reidentify

an individual: the price of a transaction. A piece of outside information, a spatiotemporal tuple

can become a triple: space, time, and the approximate price of the transaction. The data set

contains the exact price of each transaction, but we assume that we only observe an approximation

of this price with a precision a we call price resolution. Prices are approximated by bins whose

size is increasing; that is, the size of a bin containing low prices is smaller than the size of a bin

containing high prices. The size of a bin is a function of the price resolution a and of the median

price m of the bin. Although knowing the location of my local coffee shop and the approximate

time I was there this morning helps to reidentify me, Fig. 2 (blue bars) shows that also knowing

the approximate price of my coffee significantly increases the chances of reidentifying me. In fact,


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Figure 2: The unicity of the credit card data set given p points. The green bars represent unicity

when spatiotemporal tuples are known. This shows that four spatiotemporal points taken at random

(p = 4) are enough to uniquely characterize 90% of individuals. The blue bars represent unicity

when using spatial-temporal-price triples (a = 0.50) and show that adding the approximate price

of a transaction significantly increases the likelihood of reidentification. Error bars denote the 95%

confidence interval on the mean.




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adding the approximate price of the transaction increases, on average, the unicity of the data set by

22% (fig. S2, when a = 0.50, h∆i = 0.22). The unicity  of the data set naturally decreases with

its resolution. Coarsening the data along any or all of the three dimensions makes reidentification

harder. We artificially lower the spatial resolution of our data by aggregating shops in clusters

of increasing size v based on their spatial proximity. This means that we do not know the exact

shop in which the transaction happened, but only that it happened in this geographical area. We

also artificially lower the temporal resolution of the data by increasing the time window h of a

transaction from 1 day to up to 15 days. Finally, we increase the size of the bins for price a from

50 to 75%. In practice, this means that the bin in which a $15.13 transaction falls into will go

from $5 to $16 (a = 0.50) to $5 to $34 (a = 0.75) (table S2). Figure 3 shows that coarsening the

data is not enough to protect the privacy of individuals in financial metadata data sets. Although

unicity decreases with the resolution of the data, it only decreases slowly along the spatial (v),

temporal (h), and price (a) axes. Furthermore, this decrease is easily overcome by collecting a

few more points (table S1).For instance, at a very low resolution of h = 15 days, v = 350 shops,

and an approximate price a = 0.50, we have less than a 15% chance of reidentifying an individual

knowing four points (4 < 0.15). However, if we know 10 points, we now have more than an 80%

chance of reidentifying this person (10 > 0.8). This means that even noisy and/or coarse financial

data sets along all of the dimensions provide little anonymity.


      We also studied the effects of gender and income on the likelihood of reidentification. Fig-

ure 4A shows that women are easier to reidentify than men, whereas Fig. 4B shows that the higher

somebody’s income is, the easier it is to reidentify him or her. In fact, in a generalized linear


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Figure 3: Unicity (4 ) when we lower the resolution of the data set on any or all of the three

dimensions; with four spatiotemporal tuples [(A), no price] and with four spatiotemporal-price

triples [(B), a = 0.75; (C), a = 0.50]. Although unicity decreases with the resolution of the

data, the decrease is easily overcome by collecting a few more points. Even at very low resolution

(h = 15 days, v = 350 shops, price a = 0.50), we have more than an 80% chance of reidentifying

an individual with 10 points (10 > 0.8) (table S1).




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Figure 4: Unicity for different categories of users (v = 1, h = 1). (A) It is significantly easier

to reidentify women (4 = 0.93) than men (4 = 0.89). (B) The higher a person’s income is,

the easier he or she is to reidentify. High-income people (4 = 0.93) are significantly easier to

reidentify than medium-income people (4 = 0.91), and medium-income people are themselves

significantly easier to reidentify than low-income people (4 = 0.88). Significance levels were

tested with a one-tailed t test (P < 0.05). Error bars denote the 95% confidence interval on the

mean.

model (GLM), the odds of women being reidentified are 1.214 times greater than for men. Simi-

larly, the odds of high-income people (and, respectively, medium-income people) to be reidentified

are 1.746 times (and 1.172 times) greater than for low-income people. Although a full causal anal-

ysis or investigation of the determinants of reidentification of individuals is beyond the scope of

this paper, we investigate a couple of variables through which gender or income could influence

unicity. A linear discriminant analysis shows that the entropy of shops, how one shares his or

her time between the shops he or she visits, is the most discriminative factor for both gender and

income.


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      Our estimation of unicity picks the points at random from an individual’s financial trace.

These points thus follow the financial trace’s nonuniform distributions (Fig. 5A and fig. S3A). We

are thus more likely to pick a point where most of the points are concentrated, which makes them

less useful on average. However, even in this case, seven points were enough to reidentify all of

the traces considered (fig. S4). More sophisticated reidentification strategies could collect points

that would maximize the decrease in unicity.


      Although future work is needed, it seems likely that most large-scale metadata data sets—for

example, browsing history, financial records, and transportation and mobility data—will have a

high unicity. Despite technological and behavioral differences (Fig. 5B and fig. S3), we showed

credit card records to be as reidentifiable as mobile phone data and their unicity to be robust to

coarsening or noise. Like credit card and mobile phone metadata, Web browsing or transportation

data sets are generated as side effects of human interaction with technology, are subjected to the

same idiosyncrasies of human behavior, and are also sparse and high-dimensional (for example, in

the number of Web sites one can visit or the number of possible entry-exit combinations of metro

stations). This means that these data can probably be relatively easily reidentified if released in a

simply anonymized form and that they can probably not be anonymized by simply coarsening of

the data. Our results render the concept of PII, on which the applicability of U.S. and European

Union (EU) privacy laws depend, inadequate for metadata data sets (18). On the one hand, the

U.S. specific-types approach—for which the lack of names, home addresses, phone numbers, or

other listed PII is enough to not be subject to privacy laws—is obviously not sufficient to protect

the privacy of individuals in high-unicity metadata data sets. On the other hand, open-ended defini-


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Figure 5: Distributions of the financial records. (A) Probability density function of the price of a

transaction in dollars equivalent. (B) Probability density function of spatial distance between two

consecutive transactions of the same user. The best fit of a power law (dotted line) and an expo-

nential distribution (dot-dashed line) are given as a reference. The dashed lines are the diameter of

the first and second largest cities in the country. Thirty percent of the successive transactions of a

user are less than 1 km apart (the shaded area), followed by, an order of magnitude lower, a plateau

between 2 and 20 km, roughly the radius of the two largest cities in the country. This shows that

financial metadata are different from mobility data: The likelihood of short travel distance is very

high and then plateaus, and the overall distribution does not follow a power-law or exponential

distribution.




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tions expanding privacy laws to “any information concerning an identified or identifiable person”

(29) in the EU proposed data regulation or “[when the] re-identification to a particular person is

not possible” (30) for Deutsche Telekom are probably impossible to prove and could very strongly

limit any sharing of the data (31). From a technical perspective, our results emphasize the need

to move, when possible, to more advanced and probably interactive individual (32) or group (33)

privacy-conscientious technologies, as well as the need for more research in computational pri-

vacy. From a policy perspective, our findings highlight the need to reform our data protection

mechanisms beyond PII and anonymity and toward a more quantitative assessment of the likeli-

hood of reidentification. Finding the right balance between privacy and utility is absolutely crucial

to realizing the great potential of metadata.



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Acknowledgements For contractual and privacy reasons, we unfortunately cannot make the raw data

available. Upon request we can, however, make individual-level data of gender, income level, resolution

(h, v, a), and unicity (true, false), along with the appropriate documentation, available for replication. This

allows the re-creation of Figs. 2 to 4, as well as the GLM model and all of the unicity statistics. A randomly

subsampled data set for the four points case can be found at http://web.media.mit.edu/

˜yva/uniqueintheshoppingmall/ and in the supplementary materials. This work was supported in

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Ashley Madison Hack Returns To ‘Haunt’ Its Victims: 32 Million Users...   https://www.forbes.com/sites/zakdoffman/2020/02/01/ashley-madison-h...
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                    Ashley Madison Hack Returns To ‘Haunt’ Its
                    Victims: 32 Million Users Now Watch And
                    Wait

                    Zak Doffman


                           The infamous Ashley Madison data breach is back.
                           NurPhoto via Getty Images

                    So-called sextortion campaigns are on the rise. The usual methods are simple and
                    highly effective. Spice a threatening email with some personal details—usually an
                    email address, username and password from a random data breach, then claim to
                    have videos or photos which will be emailed to friends, family and colleagues unless
                    a bitcoin ransom is paid. The advice is to ignore those emails, the threats are empty.

                    But what if an attacker did have the right kind of data with which to threaten
                    victims? That’s what has happened with the latest sextortion campaign to hit the
                    headlines. It appears that attackers have crafted a campaign around data pulled
                    from the infamous Ashley Madison hack in 2015. Back then, hackers calling
                    themselves the "Impact Team" stole 32 million records from users of the world’s
                    leading extramarital affair site. As datasets go, this is one that’s tailor-made for
                    extortion.

                    According to Vade Secure, the Ashley Madison breach “is coming back to haunt
                    users in the form of a highly personalised extortion scam.” The emails sent to
                    victims of the breach are littered with personal detail from the breach itself. Given
                    the nature of the site, these emails are highly personal and embarrassing and revisit
                    a scandal that led to family breakdowns and even suicides in the immediate
                    aftermath.

                           New Ashley Madison sextortion campaign
                           Vade Secure

                    The victims are given a limited amount of time to pay a bitcoin ransom worth
                    around $1,000. The demand is in a password protected PDF attached to the email,
                    a document that has a unique QR code and additional details from the breach, all
                    designed to force the victim to respond. In its January 31 report, Vade Secure says
                    that in the last week alone it has detected “several hundred examples of this
                    extortion scam, primarily targeting users in the United States, Australia, and India.”

                           New Ashley Madison sextortion campaign
                           Vade Secure

                    Last year, I reported on the publication of 200 million email addresses, that the
                    security firm Cofense said were "being targeted by a large sextortion scam." That
                    gives you an idea of the scale of these threats. Even the basic concept—to use


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Ashley Madison Hack Returns To ‘Haunt’ Its Victims: 32 Million Users...   https://www.forbes.com/sites/zakdoffman/2020/02/01/ashley-madison-h...
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                    contextually harmless personal data to trick victims into fearing a threat—has
                    stopped recipients short when they open the email. Attacks that gain momentum do
                    so because they’re working. And the advantage of sexual blackmail, which this is, is
                    that it is unlikely to be reported.

                    Ashley Madison adds spice. And given the public nature of the breach, the risk is
                    that copycats will mimic what’s being done, even as this initial attack generates
                    increasing momentum. With the full 32 million records to pick through, the Vade
                    Secure team expects “many more in the coming weeks,” and also warns that “the
                    threat will likely evolve in response to tweaks by email security vendors.”

                    For its report last year, Cofense analysed "more than 7 million email addresses
                    impacted by sextortion in the first half of 2019 alone." This, the company said,
                    resulted in $1.5 million in payments to bitcoin wallets. Again, that gives an
                    indication of the potential value of these kinds of attacks. Now, Vade Secure warns
                    that with “more than 5,183 data breaches reported in the first nine months of 2019,
                    exposing 7.9 billion records, we expect to see a lot more of this technique in 2020.”

                    Last year I also reported on the changes made by Ashley Madison since its breach,
                    where somewhat astonishingly the company had signed up 30 million users even
                    since the attack, matching its scale when it was hit. "We represent how a company
                    can come back from what could be seen as catastrophic circumstances, if you take
                    the right approach." company exec Paul Keable told me. "We're a business case
                    model—although people may not want to look at us that way."

                    Perhaps this latest attack campaign will give people pause for thought as to the
                    personally compromising data they’re willing to share online. It remains somewhat
                    surprising that the cybersecurity of dating sites of all varieties is so readily trusted
                    by so many millions of users. I would suggest caution, especially where there is such
                    an obvious downside as with an extramarital site.

                    Given the volume of attack emails thus far, this is likely a test run, designed to hone
                    the approach. With that done, there is no reason why many more won’t follow. The
                    specific issue with this data is that it has already been breached, but the initial
                    damage has been done. The risk is that this revisits the original harm or opens new
                    wounds where people may not have been exposed the first time around.

                    "We have a future that believes in what it's doing," Ashley Madison’s Keable told me
                    last year, "and it's building towards a long-term future." Well now the serious
                    damage caused by the “what it’s doing” is about to be thrust centre stage once
                    again.

                    If you receive one of these emails then the advice will always be to contact the
                    authorities and not to make any form of payment. Clearly, though, such a response
                    can be easier said than done given the nature of the threat.




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Google's Latest Tracking Nightmare For Chrome Comes In Two Parts   https://www.forbes.com/sites/zakdoffman/2021/10/02/stop-using-google...
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                   Google's Latest Tracking Nightmare For
                   Chrome Comes In Two Parts

                   Zak Doffman


                   A worrying new update from Google that hasn’t yet made headlines has put
                   Chrome’s 2.6 billion users at risk. If you’re one of those users, this just gave you a
                   reason to quit.

                   Chrome has serious issues when it comes to protecting your security and your
                   privacy. The world’s leading browser has issued one urgent fix after another this
                   year, as high-risk exploits have been found in the wild; and just a few weeks ago,
                   Google finally admitted it had “accidentally” allowed millions of users to be secretly
                   tracked.

                   Google says it wants to change, to put your privacy first, that web tracking is now
                   out of control and has resulted in “an erosion of trust.” But as DuckDuckGo warns,
                   “it’s all noise until Google actually agrees to collect less data and do less behavioral
                   targeting.”

                   The latest tracking nightmare for Chrome users comes in two parts. First, Google
                   has ignored security warnings and launched a new Chrome API to detect and report
                   when you’re “idle,” i.e., not actively using your device. Apple warns “this is an
                   obvious privacy concern,” and Mozilla that it’s “too tempting an opportunity for
                   surveillance.”

                          Position on Chrome's Idle Detection
                          Mozilla

                   Google, though, isn’t listening, reinforcing its fairly narrow use case while staying
                   silent on these warnings. “This feature,” Google told me, “which we only expect to
                   be used by a small fraction of sites, requires the site to ask for the user’s permission
                   to access this data. It was built with privacy in mind, and helps messaging
                   applications deliver notifications to only the device the user is currently using.”

                   According to Brave, “allowing websites to learn when users are active on sites, or
                   have their screen locked, or similar, allows sites to learn sensitive information...
                   Signals like this would be very useful to a malicious site (or script) that wanted to
                   learn patterns.”

                   Vivaldi agrees, telling me: “We are not happy with the privacy implications of this
                   API (since it can be abused for behavioral tracking), or the fact that it can be abused
                   to know about when you might not notice if something is using your CPU... There
                   are privacy implications that a user cannot be expected to realize.”

                   If this release of a controversial Chrome tracking technology despite industry
                   warnings sounds familiar, that’s because we saw the same with FLoC earlier this
                   year: Google was warned that its attempt to anonymize users while still serving the


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Google's Latest Tracking Nightmare For Chrome Comes In Two Parts   https://www.forbes.com/sites/zakdoffman/2021/10/02/stop-using-google...
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                   needs of advertisers was a surveillance disaster in the making. Google refuted any
                   such claims and secretly enrolled millions of users into a trial, before quietly
                   admitting later that those warnings had come true, that it had made the risks of
                   tracking worse.

                   DuckDuckGo warns that Idle Detection “is another example of Google adding an
                   API that has poor privacy properties to the web without consensus—and in this case
                   in the face of active dissent—from other browser vendors. The Idle Detection API
                   has a very narrow motivating use case but exposes new data about a user's behavior
                   to the entire web—data that will ultimately be abused for user surveillance and
                   advertising. The utility this API provides is outweighed by the privacy concerns it
                   introduces.”

                   “Google has been professing their intent to figure out how to place ads in a privacy-
                   preserving way with plans like the Privacy Sandbox,” Mozilla told me, “but those
                   plans keep being delayed, and all the while they build functionalities like this one
                   that tracks people and enables new ad use cases.”

                   Google’s Idle Detection API is worrying enough, but there’s worse to come. In the
                   aftermath of FLoC’s awkward failure, Google is now touting a new idea to serve the
                   needs of its customers—advertisers—while talking up privacy. The issue is that this
                   is an impossible contortion. It just doesn’t work. And Apple has suddenly shown its
                   1.5 billion users just how exposed Chrome’s surveillance business model has now
                   become.

                   Despite Apple versus Facebook stealing the privacy headlines, arguably it’s Google
                   that Apple has more in its sights. And while it’s Firefox, DuckDuckGo and Brave
                   that most vocally push the browser privacy agenda, it’s really Safari that has done
                   the best job of exposing Chrome’s avaricious data harvesting machine at scale.

                          Privacy Labels: Chrome vs Rivals
                          Apple / @UKZak

                   Apple’s campaign against Chrome has been long running. Safari’s war on third-
                   party cookies has shown up Chrome’s unwillingness to do the same—Google’s
                   promise to banish those hidden trackers has been postponed. Mozilla has publicly
                   warned that Chrome is now “the only major browser that does not offer meaningful
                   protection against cross-site tracking... and will continue to leave users
                   unprotected.”

                   Then came Apple’s privacy labels (as you can see in the graphic above), exposing
                   Chrome an an outlier against all other leading browsers. It collects too much of your
                   data and links everything to your identity. None of the others do that.

                   Now, Apple has just gone much, much further. It may not have generated as much
                   PR as iPhone 13 and iOS 15’s glitzy new features, but from a security and privacy
                   perspective the most significant update that Apple has just introduced is a genuine
                   game-changer for the way the internet works and your online privacy.

                   Safari already blocks by default the third-party tracking cookies that follow you
                   around the internet, and other leading browsers do the same to some extent. But
                   not Chrome. The risk here is fingerprinting, that’s where web trackers return
                   information on you as you browse, adding all those bits of data to the profiles held


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                   on you, adding anything that can help identify you—IP address, browser and device
                   details.

                   I think it’s fair to say that Apple has long waged a war on fingerprinting, and now it
                   has introduced its biggest weapon yet—Private Relay. Put simply, this breaks the
                   identity chain between you, the websites you visit and the ISP through which you
                   access the internet. “The opportunities for fingerprinting,” Apple says, “have been
                   removed.”

                   Private Relay has been described as a VPN—but it isn’t: it works differently and has
                   a different purpose. A VPN creates a private, secure tunnel between you and the
                   sites and servers you visit, masking your identity and IP address, even spoofing
                   your location by routing your traffic through a different country to the one you’re
                   in.

                          Private Relay
                          Apple

                   A VPN transfers your risk from the public internet and the various routings
                   between you and the sites you visit to the VPN vendor. You need to trust a VPN
                   provider—they can see everything you do, and they know where you are. Unlike
                   Private Relay, VPNs safeguard all the traffic to and from your device. This is why
                   you should always use a VPN when accessing public WiFi, in hotels and restaurants,
                   airports, public access points. VPNs masquerade their proxy servers to present to
                   web servers as genuine locations, enabling users to defeat web restrictions in places
                   like China.

                   If you travel and use WiFi overseas, or if you use public internet access points, you
                   should install a VPN. There are three golden rules when doing so. First, avoid free
                   VPNs. Second, only install VPNs from reputable western vendors, avoid anything
                   from obscure developers, especially in China. And third, check the reviews. An app
                   with numerous, short five-star reviews with similar keywords is a red flag.

                   Private Relay has a different purpose, one that exposes Chrome’s systemic failings
                   on the privacy front. What Apple has done is stop ISPs/WiFi operators harvesting
                   your Safari web queries, while preventing websites from capturing your identity.
                   Both risk you being fingerprinted. “It is critical to note,” Apple says, “that no one in
                   this chain—not even Apple—can see both the client IP address and what the user is
                   accessing.”

                   Private Relay doesn’t let you spoof your location, albeit it regularly changes your
                   public facing IP address. It doesn’t hide that you’re using a proxy server, and so
                   some websites will not work correctly. It’s a fundamental change in how the
                   internet works, and as such there are teething issues—that’s why it remains in beta
                   for now.

                   Put very simply, Private Relay blocks the exact type of web tracking and
                   fingerprinting for which Chrome is lambasted. And this is the crux. Chrome could
                   never deploy something similar, because to block the combination of identifiers and
                   web queries from even Chrome itself would require technology that would
                   fundamentally break the digital ad ecosystem, with Google at its center.

                   Google is trying to square this circle with its Privacy Sandbox, to find a way to serve


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                   advertisers while preserving user privacy. The issue is that this contradiction is an
                   impossible problem to solve. Google’s first solution was FLoC, a plan to collate
                   users in “anonymised,” likeminded groups. I warned at the time that this would not
                   work, that once out of the lab, the system would be compromised by the wider
                   tracking ecosystem. And so it proved. Google has now headed back to the drawing
                   board.

                   Google’s latest gambit isn’t yet generating headlines, but it will. Rather than take
                   Apple’s approach, that your privacy should be sacrosanct, Google wants to “budget”
                   how invasive data harvesting can be. Rather than simply stopping web trackers
                   from collecting your data, Google plans to introduce a “privacy budget,” whereby it
                   will police just how much data they can take—so much and no more.

                   The theory is understandable. Websites are limited to what they can take from the
                   privacy bank—that currency is obviously your data. Once they're fully drawn down,
                   the privacy bank shuts and they can’t withdraw any more for a time. But just like
                   FLoC, isolated theories don’t survive long on the real web. As Mozilla explains, “the
                   underlying problem here is the large amount of fingerprinting-capable surface that
                   is exposed to the web—there does not appear to be a shortcut around addressing
                   that.”

                   Google is caught in a self-made trap. Unlike Mozilla, Brave, Microsoft,
                   DuckDuckGo and Apple, of course, the company needs to play both sides of the
                   fence. It may talk about safeguarding your privacy, but compromising that privacy
                   to serve the needs of advertisers—its customers—is literally its business model. Just
                   follow the money.

                   “Google has shown time and time again they care more about the perception of
                   privacy than actually respecting it,” DuckDuckGo told me. “In the case of FLoC, for
                   example, Google used privacy washing tactics to make it seem like this new
                   approach would reduce tracking, while in the same breath stated that FLoC was at
                   least 95% as effective as third-party cookie tracking, and would continue the ability
                   to target people based on age, gender, ethnicity, income, and many other factors.”

                   Mozilla agrees, telling me that “browser fingerprinting is a major threat to user
                   privacy; unfortunately, while we appreciate Google's exploration of solutions to this
                   problem, we don't believe that the Privacy Budget is viable in practice."

                   “We appreciate Mozilla and other browsers' engagement throughout this process,”
                   Google told me, “as we all work to build a more private web without third party
                   cookies and other forms of invasive tracking. This is our collaborative process
                   working as intended.”

                   Google initially assured me that FLoC was not the threat it was being painted, that
                   it would reduce the risk of fingerprinting despite all the concerns. But it turned out
                   to be every bit as bad as feared and Google backtracked. And so, here we are again.

                   “As we have previously stated,” Google assured me for this story, “Privacy Budget is
                   an early-stage proposal and we fully expect to make improvements as we iterate
                   based on feedback. Our ultimate goal is to build a solution that restricts
                   fingerprinting effectively without compromising key website functionality or
                   introducing new forms of tracking. We have publicly committed to not self-
                   preference and are working with regulatory bodies and industry groups to reinforce
                   this outcome.”


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                   But according to Brave, “approaches that attempt to maintain an ‘acceptable’
                   amount of identification and tracking online, however well-meaning, are
                   antithetical to the goal of a truly privacy-respecting web. We expect that ‘budget’-
                   based approaches to web privacy will not be effective privacy protections.”

                   The reality is that Google can’t back down—it must meet the needs of advertisers or
                   its machine stops feeding. But there are no good solutions, the fundamental
                   premise of a “privacy-centric” web that’s built around trackers and data brokers is a
                   nonsense.

                   “If the experience with FLoC/removal of third-party cookies tells us anything,”
                   warns DuckDuckGo, “it's that we should take Google's proposals and privacy claims
                   with a huge grain of salt until they're proven to work.”

                   Is it dramatic to suggest you quit Chrome? That depends on the value you place on
                   your own privacy. If Google’s hidden budgeting and monetizing of your data isn’t a
                   reason to quit, what about adding Idle Detection in such a way that you need to
                   change your settings to avoid the intrusion. Just as with FLoC, this is not okay. If
                   new tracking is added, it should be communicated with an opt-in/opt-out upfront.
                   Users should not have to delve into settings to disable new tracking they have been
                   told nothing about.

                          How to disable Privacy Sandbox and Idle Detection
                          Chrome

                   Apple has raised the bar here with App Tracking Transparency and Privacy Labels,
                   Google, it seems, is doing the opposite. Yes, there are always settings to disable its
                   more nefarious technologies, but we all know that the vast majority of users either
                   can’t or won’t make any changes. Conversely, we have seen the vast majority of
                   Apple users opting for privacy when offered clear and simple choices upfront.

                   Google emphasized to me that Apple’s solutions are not a cure-all. We know that
                   apps have been caught “snooping” on users even when asked not to track. But this
                   is a double-edged sword for Google. The lesson from FLoC is that the ad industry is
                   crafty and will find workarounds. Apple has committed to enhancing its
                   technologies to shut down abuses. The abusers in the case of Chrome are Google’s
                   advertising customers.

                   “Fingerprinting is real and we’re seeing it happen,” Google says. “We’d like to stop
                   this highly pervasive tracking of users across the web.” Well maybe it’s time for a
                   wake-up call. If you control the world’s leading browser with 2.6 billion users, if you
                   own the intersection between users and advertisers and websites, if you control
                   search and most back-end web trackers, then stopping that “highly pervasive
                   tracking” is totally within your control. But Google can’t do that, of course. Follow
                   the money.

                          Google Domination of Web Tracking - Illustrative 30-Day Safari Tracker
                          Report
                          Apple Safari / @UKZak

                   Google also says that “72% of users feel that almost all of what they do online is
                   being tracked... and 81% say the potential risks from data collection outweigh the



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                   benefits,” which is why change is needed. Google says a lot of things. But until
                   Chrome’s 2.6 billion users make privacy choices, Google will continue to say more
                   than it does.




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                    Bilking the Elderly, With a Corporate Assist

                    Charles Duhigg




                           Credit...Ozier Muhammad/The New York Times

                           May 20, 2007

                    The thieves operated from small offices in Toronto and hangar-size rooms in India. Every
                    night, working from lists of names and phone numbers, they called World War II
                    veterans, retired schoolteachers and thousands of other elderly Americans and posed as
                    government and insurance workers updating their files.

                    Then, the criminals emptied their victims’ bank accounts.

                    Richard Guthrie, a 92-year-old Army veteran, was one of those victims. He ended up on
                    scam artists’ lists because his name, like millions of others, was sold by large companies


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                    to telemarketing criminals, who then turned to major banks to steal his life’s savings.

                    Mr. Guthrie, who lives in Iowa, had entered a few sweepstakes that caused his name to
                    appear in a database advertised by infoUSA, one of the largest compilers of consumer
                    information. InfoUSA sold his name, and data on scores of other elderly Americans, to
                    known lawbreakers, regulators say.

                    InfoUSA advertised lists of “Elderly Opportunity Seekers,” 3.3 million older people
                    “looking for ways to make money,” and “Suffering Seniors,” 4.7 million people with
                    cancer or Alzheimer’s disease. “Oldies but Goodies” contained 500,000 gamblers over 55
                    years old, for 8.5 cents apiece. One list said: “These people are gullible. They want to
                    believe that their luck can change.”

                    As Mr. Guthrie sat home alone — surrounded by his Purple Heart medal, photos of eight
                    children and mementos of a wife who was buried nine years earlier — the telephone rang
                    day and night. After criminals tricked him into revealing his banking information, they
                    went to Wachovia, the nation’s fourth-largest bank, and raided his account, according to
                    banking records.

                    “I loved getting those calls,” Mr. Guthrie said in an interview. “Since my wife passed
                    away, I don’t have many people to talk with. I didn’t even know they were stealing from
                    me until everything was gone.”

                    Telemarketing fraud, once limited to small-time thieves, has become a global criminal
                    enterprise preying upon millions of elderly and other Americans every year, authorities
                    say. Vast databases of names and personal information, sold to thieves by large publicly
                    traded companies, have put almost anyone within reach of fraudulent telemarketers. And
                    major banks have made it possible for criminals to dip into victims’ accounts without
                    their authorization, according to court records.

                    The banks and companies that sell such services often confront evidence that they are
                    used for fraud, according to thousands of banking documents, court filings and e-mail
                    messages reviewed by The New York Times.

                    Although some companies, including Wachovia, have made refunds to victims who have
                    complained, neither that bank nor infoUSA stopped working with criminals even after
                    executives were warned that they were aiding continuing crimes, according to
                    government investigators. Instead, those companies collected millions of dollars in fees
                    from scam artists. (Neither company has been formally accused of wrongdoing by the
                    authorities.)

                    “Only one kind of customer wants to buy lists of seniors interested in lotteries and
                    sweepstakes: criminals,” said Sgt. Yves Leblanc of the Royal Canadian Mounted Police.
                    “If someone advertises a list by saying it contains gullible or elderly people, it’s like
                    putting out a sign saying ‘Thieves welcome here.’ ”

                    In recent years, despite the creation of a national “do not call” registry, the legitimate
                    telemarketing industry has grown, according to the Direct Marketing Association. Callers
                    pitching insurance plans, subscriptions and precooked meals collected more than $177
                    billion in 2006, an increase of $4.5 billion since the federal do-not-call restrictions were
                    put in place three years ago.

                    That growth can be partly attributed to the industry’s renewed focus on the elderly. Older
                    Americans are perfect telemarketing customers, analysts say, because they are often at
                    home, rely on delivery services, and are lonely for the companionship that telephone
                    callers provide. Some researchers estimate that the elderly account for 30 percent of
                    telemarketing sales — another example of how companies and investors are profiting


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                    from the growing numbers of Americans in their final years.

                    While many telemarketing pitches are for legitimate products, the number of scams
                    aimed at older Americans is on the rise, the authorities say. In 2003, the Federal Trade
                    Commission estimated that 11 percent of Americans over age 55 had been victims of
                    consumer fraud. The following year, the Federal Bureau of Investigation shut down one
                    telemarketing ring that stole more than $1 billion, spanned seven countries and resulted
                    in 565 arrests. Since the start of last year, federal agencies have filed lawsuits or
                    injunctions against at least 68 telemarketing companies and individuals accused of
                    stealing more than $622 million.

                    “Most people have no idea how widespread and sophisticated telemarketing fraud has
                    become,” said James Davis, a Federal Trade Commission lawyer. “It shocks even us.”

                    Many of the victims are people like Mr. Guthrie, whose name was among the millions
                    that infoUSA sold to companies under investigation for fraud, according to regulators.
                    Scam artists stole more than $100,000 from Mr. Guthrie, his family says. How they took
                    much of it is unclear, because Mr. Guthrie’s memory is faulty and many financial records
                    are incomplete.




                           Image




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                    What is certain is that a large sum was withdrawn from his account by thieves relying on
                    Wachovia and other banks, according to banking and court records. Though 20 percent
                    of the total amount stolen was recovered, investigators say the rest has gone to schemes
                    too complicated to untangle.

                    Senior executives at infoUSA were contacted by telephone and e-mail messages at least
                    30 times. They did not respond.

                    Wachovia, in a statement, said that it had honored all requests for refunds and that it was
                    cooperating with authorities.

                    Mr. Guthrie, however, says that thieves should have been prevented from getting access
                    to his funds in the first place.

                    “I can’t understand why they were allowed inside my account,” said Mr. Guthrie, who
                    lives near Des Moines. “I just chatted with this woman for a few minutes, and the next
                    thing I knew, they took everything I had.”

                    Sweepstakes a Common Tactic

                    Investigators suspect that Mr. Guthrie’s name first appeared on a list used by scam
                    artists around 2002, after he filled out a few contest entries that asked about his buying
                    habits and other personal information.

                    He had lived alone since his wife died. Five of his eight children had moved away from
                    the farm. Mr. Guthrie survived on roughly $800 that he received from Social Security
                    each month. Because painful arthritis kept him home, he spent many mornings
                    organizing the mail, filling out sweepstakes entries and listening to big-band albums as
                    he chatted with telemarketers.




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                    “I really enjoyed those calls,” Mr. Guthrie said. “One gal in particular loved to hear
                    stories about when I was younger.”

                    Some of those entries and calls, however, were intended solely to create databases of
                    information on millions of elderly Americans. Many sweepstakes were fakes,
                    investigators say, and existed only to ask entrants about shopping habits, religion or
                    other personal details. Databases of such responses can be profitably sold, often via
                    electronic download, through list brokers like Walter Karl Inc., a division of infoUSA.

                    The list brokering industry has existed for decades, primarily serving legitimate
                    customers like magazine and catalog companies. InfoUSA, one of the nation’s largest list
                    brokers and a publicly held company, matches buyers and sellers of data. The company
                    maintains records on 210 million Americans, according to its Web site. In 2006, it
                    collected more than $430 million from clients like Reader’s Digest, Publishers
                    Clearinghouse and Condé Nast.

                    But infoUSA has also helped sell lists to companies that were under investigation or had
                    been prosecuted for fraud, according to records collected by the Iowa attorney general.
                    Those records stemmed from a now completed investigation of a suspected
                    telemarketing criminal.

                    By 2004, Mr. Guthrie’s name was part of a list titled “Astroluck,” which included 19,000
                    other sweepstakes players, Iowa’s records show. InfoUSA sold the Astroluck list dozens
                    of times, to companies including HMS Direct, which Canadian authorities had sued the
                    previous year for deceptive mailings; Westport Enterprises, the subject of consumer
                    complaints in Kansas, Connecticut and Missouri; and Arlimbow, a European company
                    that Swiss authorities were prosecuting at the time for a lottery scam.

                    (In 2005, HMS’s director was found not guilty on a technicality. Arlimbow was shut
                    down in 2004. Those companies did not return phone calls. Westport Enterprises said it
                    has resolved all complaints, complies with all laws and engages only in direct-mail
                    solicitations.)

                    Records also indicate that infoUSA sold thousands of other elderly Americans’ names to
                    Windfall Investments after the F.B.I. had accused the company in 2002 of stealing
                    $600,000 from a California woman.

                    Between 2001 and 2004, infoUSA also sold lists to World Marketing Service, a company
                    that a judge shut down in 2003 for running a lottery scam; to Atlas Marketing, which a
                    court closed in 2006 for selling $86 million of bogus business opportunities; and to
                    Emerald Marketing Enterprises, a Canadian firm that was investigated multiple times
                    but never charged with wrongdoing.

                    The investigation of Windfall Investments was closed after its owners could not be
                    located. Representatives of Windfall Investments, World Marketing Services, Atlas
                    Marketing and Emerald Marketing Enterprises could not be located or did not return
                    calls.




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                           Image




                           Credit...Ozier Muhammad/The New York Times

                    The Federal Trade Commission’s rules prohibit list brokers from selling to companies
                    engaged in obvious frauds. In 2004, the agency fined three brokers accused of
                    knowingly, or purposely ignoring, that clients were breaking the law. The Direct
                    Marketing Association, which infoUSA belongs to, requires brokers to screen buyers for
                    suspicious activity.

                    But internal infoUSA e-mail messages indicate that employees did not abide by those
                    standards. In 2003, two infoUSA employees traded e-mail messages discussing the fact
                    that Nevada authorities were seeking Richard Panas, a frequent infoUSA client, in
                    connection with a lottery scam.

                    “This kind of behavior does not surprise me, but it adds to my concerns about doing
                    business with these people,” an infoUSA executive wrote to colleagues. Yet, over the next



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                    10 months, infoUSA sold Mr. Panas an additional 155,000 names, even after he pleaded
                    guilty to criminal charges in Nevada and was barred from operating in Iowa.

                    Mr. Panas did not return calls.

                    “Red flags should have been waving,” said Steve St. Clair, an Iowa assistant attorney
                    general who oversaw the infoUSA investigation. “But the attitude of these list brokers is
                    that it’s not their responsibility if someone else breaks the law.”

                    Millions of Americans Are Called

                    Within months of the sale of the Astroluck list, groups of scam artists in Canada, the
                    Caribbean and elsewhere had the names of Mr. Guthrie and millions of other Americans,
                    authorities say. Such countries are popular among con artists because they are outside
                    the jurisdiction of the United States.

                    The thieves would call and pose as government workers or pharmacy employees. They
                    would contend that the Social Security Administration’s computers had crashed, or
                    prescription records were incomplete. Payments and pills would be delayed, they
                    warned, unless the older Americans provided their banking information.

                    Many people hung up. But Mr. Guthrie and hundreds of others gave the callers whatever
                    they asked.

                    “I was afraid if I didn’t give her my bank information, I wouldn’t have money for my
                    heart medicine,” Mr. Guthrie said.

                    Criminals can use such banking data to create unsigned checks that withdraw funds from
                    victims’ accounts. Such checks, once widely used by gyms and other businesses that
                    collect monthly fees, are allowed under a provision of the banking code. The difficult part
                    is finding a bank willing to accept them.

                    In the case of Mr. Guthrie, criminals turned to Wachovia.

                    Between 2003 and 2005, scam artists submitted at least seven unsigned checks to
                    Wachovia that withdrew funds from Mr. Guthrie’s account, according to banking
                    records. Wachovia accepted those checks and forwarded them to Mr. Guthrie’s bank in
                    Iowa, which in turn sent back $1,603 for distribution to the checks’ creators that
                    submitted them.

                    Within days, however, Mr. Guthrie’s bank, a branch of Wells Fargo, became concerned
                    and told Wachovia that the checks had not been authorized. At Wells Fargo’s request,
                    Wachovia returned the funds. But it failed to investigate whether Wachovia’s accounts
                    were being used by criminals, according to prosecutors who studied the transactions.

                    In all, Wachovia accepted $142 million of unsigned checks from companies that made
                    unauthorized withdrawals from thousands of accounts, federal prosecutors say.
                    Wachovia collected millions of dollars in fees from those companies, even as it failed to
                    act on warnings, according to records.

                    In 2006, after account holders at Citizens Bank were victimized by the same thieves that
                    singled out Mr. Guthrie, an executive wrote to Wachovia that “the purpose of this
                    message is to put your bank on notice of this situation and to ask for your assistance in
                    trying to shut down this scam.”

                    But Wachovia, which declined to comment on that communication, did not shut down
                    the accounts.


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                    Banking rules required Wachovia to periodically screen companies submitting unsigned
                    checks. Yet there is little evidence Wachovia screened most of the firms that profited
                    from the withdrawals.

                    In a lawsuit filed last year, the United States attorney in Philadelphia said Wachovia
                    received thousands of warnings that it was processing fraudulent checks, but ignored
                    them. That suit, against the company that printed those unsigned checks, Payment
                    Processing Center, or P.P.C., did not name Wachovia as a defendant, though at least one
                    victim has filed a pending lawsuit against the bank.

                    During 2005, according to the United States attorney’s lawsuit, 59 percent of the
                    unsigned checks that Wachovia accepted from P.P.C. and forwarded to other banks were
                    ultimately refused by other financial institutions. Wachovia was informed each time a
                    check was returned.

                    “When between 50 and 60 percent of transactions are returned, that tells you at gut level
                    that something’s not right,” said the United States attorney in Philadelphia, Patrick L.
                    Meehan.




                           Image




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                           Credit...Ozier Muhammad/The New York Times

                    Other banks, when confronted with similar evidence, have closed questionable accounts.
                    But Wachovia continued accepting unsigned checks printed by P.P.C. until the
                    government filed suit in 2006.

                    Wachovia declined to respond to the accusations in the lawsuit, citing the continuing civil
                    litigation.

                    Although Wachovia is the largest bank that processed transactions that stole from Mr.
                    Guthrie, at least five other banks accepted 31 unsigned checks that withdrew $9,228
                    from his account. Nearly every time, Mr. Guthrie’s bank told those financial institutions
                    the checks were fraudulent, and his money was refunded. But few investigated further.

                    The suit against P.P.C. ended in February. A court-appointed receiver will liquidate the
                    firm and make refunds to consumers. P.P.C.’s owners admitted no wrongdoing.

                    Wachovia was asked in detail about its relationship with P.P.C., the withdrawals from
                    Mr. Guthrie’s account and the accusations in the United States attorney’s lawsuit. The
                    company declined to comment, except to say: “Wachovia works diligently to detect and
                    end fraudulent use of its accounts. During the time P.P.C. was a customer, Wachovia
                    honored all requests for returns related to the P.P.C. accounts, which in turn protected
                    consumers from loss.”

                    Prosecutors argue that many elderly accountholders never realized Wachovia had
                    processed checks that withdrew from their accounts, and so never requested refunds.
                    Wachovia declined to respond.

                    The bank’s statement continued: “Wachovia is cooperating fully with authorities on this
                    matter.”

                    Some Afraid to Seek Help

                    By 2005, Mr. Guthrie was in dire straits. When tellers at his bank noticed suspicious
                    transactions, they helped him request refunds. But dozens of unauthorized withdrawals
                    slipped through. Sometimes, he went to the grocery store and discovered that he could
                    not buy food because his account was empty. He didn’t know why. And he was afraid to


9 of 10                                                                                                            2/18/2022, 5:13 PM
Bilking the Elderly, With a Corporate Assist                                     https://www.nytimes.com/2007/05/20/business/20tele.html
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                    seek help.

                    “I didn’t want to say anything that would cause my kids to take over my accounts,” he
                    said. Such concerns play into thieves’ plans, investigators say.

                    “Criminals focus on the elderly because they know authorities will blame the victims or
                    seniors will worry about their kids throwing them into nursing homes,” said C. Steven
                    Baker, a lawyer with the Federal Trade Commission. “Frequently, the victims are too
                    distracted from dementia or Alzheimer’s to figure out something’s wrong.”

                    Within a few months, Mr. Guthrie’s children noticed that he was skipping meals and was
                    behind on bills. By then, all of his savings — including the proceeds of selling his farm
                    and money set aside to send great-grandchildren to college — was gone.

                    State regulators have tried to protect victims like Mr. Guthrie. In 2005, attorneys general
                    of 35 states urged the Federal Reserve to end the unsigned check system.

                    “Such drafts should be eliminated in favor of electronic funds transfers that can serve the
                    same payment function” but are less susceptible to manipulation, they wrote.

                    But the Federal Reserve disagreed. It changed its rules to place greater responsibility on
                    banks that first accept unsigned checks, but has permitted their continued use.

                    Today, just as he feared, Mr. Guthrie’s financial freedom is gone. He gets a weekly $50
                    allowance to buy food and gasoline. His children now own his home, and his grandson
                    controls his bank account. He must ask permission for large or unusual purchases.

                    And because he can’t buy anything, many telemarketers have stopped calling.

                    “It’s lonelier now,” he said at his kitchen table, which is crowded with mail. “I really enjoy
                    when those salespeople call. But when I tell them I can’t buy anything now, they hang up.
                    I miss the good chats we used to have.”




10 of 10                                                                                                             2/18/2022, 5:13 PM
Google uncovers Russian-bought ads on YouTube, Gmail and other plat...   https://www.washingtonpost.com/news/the-switch/wp/2017/10/09/googl...
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                   Google uncovers Russian-bought ads on
                   YouTube, Gmail and other platforms

                   Elizabeth Dwoskin, Adam Entous, Craig Timberg


                   SAN FRANCISCO — Google for the first time has uncovered evidence that Russian
                   operatives exploited the company’s platforms in an attempt to interfere in the 2016
                   election, according to people familiar with the company's investigation.

                   The Silicon Valley giant has found that tens of thousands of dollars were spent on
                   ads by Russian agents who aimed to spread disinformation across Google’s many
                   products, which include YouTube, as well as advertising associated with Google
                   search, Gmail, and the company’s DoubleClick ad network, the people said,
                   speaking on condition of anonymity to discuss matters that have not been
                   made public. Google runs the world’s largest online advertising business, and
                   YouTube is the world’s largest online video site.

                   The discovery by Google is also significant because the ads do not appear to be from
                   the same Kremlin-affiliated troll farm that bought ads on Facebook -- a sign that
                   the Russian effort to spread disinformation online may be a much broader problem
                   than Silicon Valley companies have unearthed so far.

                   Google previously downplayed the problem of Russian meddling on its platforms.
                   Last month, Google spokeswoman Andrea Faville told The Washington Post that
                   the company is "always monitoring for abuse or violations of our policies and we've
                   seen no evidence this type of ad campaign was run on our platforms."

                   Nevertheless, Google launched an investigation into the matter, as Congress
                   pressed technology companies to determine how Russian operatives used social
                   media, online advertising, and other digital tools to influence the 2016 presidential
                   contest and foment discord in U.S. society.

                   On Monday, the company issued a statement saying, "We have a set of strict ads
                   policies including limits on political ad targeting and prohibitions on targeting
                   based on race and religion. We are taking a deeper look to investigate attempts to
                   abuse our systems, working with researchers and other companies, and will provide
                   assistance to ongoing inquiries."

                   The people familiar with Google's investigation said that the company is looking at
                   a set of ads that cost less than $100,000 and that it is still sorting out whether all of
                   the ads came from trolls or whether some originated from legitimate Russian
                   accounts.

                   To date, Google has mostly avoided the scrutiny that has fallen on its rival
                   Facebook. The social network recently shared about 3,000 Russian-bought ads with
                   Congressional investigators that were purchased by operatives associated with the
                   Internet Research Agency, a Russian-government affiliated troll farm, the company
                   has said.



1 of 3                                                                                                                     2/26/2022, 4:20 PM
Google uncovers Russian-bought ads on YouTube, Gmail and other plat...   https://www.washingtonpost.com/news/the-switch/wp/2017/10/09/googl...
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                   Some of the Facebook ads, which cost a total of about $100,000, touted Donald
                   Trump, Bernie Sanders and the Green party candidate Jill Stein during the
                   campaign, people familiar with those ads said. Other ads appear to have been aimed
                   at fostering division in United States by promoting anti-immigrant sentiment and
                   racial animosity. Facebook has said those ads reached just 10 million of the 210
                   million U.S. users that log onto the service each month.

                   At least one outside researcher has said that the influence of
                   Russian disinformation on Facebook is much greater than the company has so far
                   acknowledged and encompasses paid ads as well as posts published on Facebook
                   pages controlled by Russian agents. The posts were shared hundreds of millions of
                   times, said Jonathan Albright, research director of the Tow Center for Digital
                   Journalism at Columbia University.

                   On Monday he said the revelations about Google suggest the Russian online
                   influence campaign likely used many of the American technology industry’s most
                   prominent online platforms and services.

                   “It’s a system,” Albright said. “It’s not necessarily magic. It’s social media marketing
                   at an expert level… This is very well executed.”

                   Oxford University researchers, meanwhile, reported Monday that Twitter and
                   Facebook accounts linked to Russians targeted online content at U.S. military
                   veterans and active-duty personnel, mixing disinformation alongside other content
                   already being read and shared widely among these communities.

                   In a blog post, Facebook wrote it is also looking at an additional 2,200 ads that may
                   have not come from the Internet Research Agency.

                   "We also looked for ads that might have originated in Russia — even those with very
                   weak signals of a connection and not associated with any known organized effort,"
                   the company wrote last month. "This was a broad search, including, for instance,
                   ads bought from accounts with US IP addresses but with the language set to
                   Russian — even though they didn’t necessarily violate any policy or law. In this part
                   of our review, we found approximately $50,000 in potentially politically related ad
                   spending on roughly 2,200 ads."

                   Meanwhile, Twitter said that it shut down 201 accounts associated with the Internet
                   Research Agency. It also disclosed that the account for the news site RT, which the
                   company linked to the Kremlin, spent $274,100 on its platform in 2016. Twitter has
                   not said how many times the Russian disinformation was shared. The company is
                   investigating that matter and trying to map the relationship between Russian
                   accounts and well-known media personalities as well as influencers associated with
                   the campaigns of Donald Trump and other candidates, said a person familiar
                   with Twitter's internal investigation. RT also has a sizeable presence on YouTube.

                           Facebook, Twitter reveal Russian meddling during 2016 election (The
                           Washington Post)

                   Twitter declined to comment for this story.

                   Executives for Facebook and Twitter will testify before Congressional investigators
                   on Nov. 1. Google has not said whether it will accept a similar invitation to do so.



2 of 3                                                                                                                     2/26/2022, 4:20 PM
Google uncovers Russian-bought ads on YouTube, Gmail and other plat...   https://www.washingtonpost.com/news/the-switch/wp/2017/10/09/googl...
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                   U.S. intelligence agencies concluded in January that Russian president Vladmir
                   Putin intervened in the U.S. election to help Donald Trump win. But Silicon Valley
                   companies have received little assistance from the intelligence community, people
                   familiar with the companies' probes said.

                   Google discovered the Russian presence on its platforms by siphoning data from
                   another technology company, Twitter, the people familiar with Google's
                   investigation said. Twitter offers outsiders the ability to access a small amount of
                   historical tweets for free, and charges developers for access to the entire Twitter
                   firehose of data stemming back to 2006.

                   Google downloaded the data from Twitter and was able to link Russian Twitter
                   accounts to other accounts that had used Google’s services to buy ads, the people
                   said. This was done without the explicit cooperation of Twitter, the people said.

                   Google's probe is still in its early stages, the people said. The number of ads posted
                   and the number of times those ads were clicked on could not be learned. Google is
                   continuing to examine its own records and is also sharing data with Facebook.
                   Twitter and Google have not cooperated with one another in their investigations.

                   Read more:




3 of 3                                                                                                                     2/26/2022, 4:20 PM
Google and the Age of Privacy Theater – Best of Privacy                    https://bestofprivacy.com/surveillance/google-and-the-age-of-privacy-the...
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         Google and the Age of Privacy Theater – Best of Privacy

         Gilad Edelman




         GOOGLE GOT SOME good press a few weeks ago when it announced in a blog post that it would be moving forward with its
         plans to remove third-party cookies from the Chrome browser. The move had been announced early last year as part of the
         company’s Privacy Sandbox initiative, but now Google has clarified that it didn’t intend to replace those cookies with some
         equivalent, substitute technology. Other browsers, including Safari and Firefox, already block third-party trackers, but given
         that Chrome is the most popular browser in the world, by far, with a market share in the 60-something percent range, the
         news was widely billed as a big step toward the end of letting companies target ads by tracking people around the internet.
         “Google plans to stop selling ads based on individuals’ browsing across multiple websites” is how The Wall Street
         Journal put it.

         This news, however, met with a fair bit of skepticism—and not only because Google, like other tech giants, has not always
         honored similar commitments in the past. Even on its face, Google’s plan is hardly a sea change for privacy. It isn’t even true,
         when you dig into it, that Chrome will no longer allow ads based on people’s browsing habits. Google’s announcement is a
         classic example of what you might call privacy theater: While marketed as a step forward for consumer privacy, it does very
         little to change the underlying dynamics of an industry built on surveillance-based behavioral advertising.

         To understand why, you have to look at what the company is actually planning. This is difficult, because there are many
         proposals in Google’s Privacy Sandbox, and it hasn’t confirmed which ones will be implemented, or precisely how. They also
         are all highly technical and leave open questions unresolved. I spoke with several professional online privacy experts, people
         who do this for a living, and interpretations varied. Still, the basic outlines are clear enough.

         The most prominent proposal is something called Federated Learning of Cohorts, or FLoC. (It’s pronounced “flock.” All the
         Google proposals, somewhat charmingly, have bird-themed names.) Under this proposal, instead of letting anyone track you
         from site to site, Chrome will do the tracking itself. Then it will sort you into a small group, or cohort, of similar users based
         on common interests. When you visit a new website, in theory, advertisers won’t see you, Jane C. Doe; they’ll just see
         whatever cohort you belong to, say, thirtysomething unmarried white women who have an interest in Bluetooth headphones.
         As the blog post, by David Temkin, director of product management, ads privacy and trust, puts it, FLoC will allow Chrome
         to “hide individuals within large crowds of people with common interests.” He touts the technology as a step toward “a future
         where there is no need to sacrifice relevant advertising and monetization in order to deliver a private and secure experience.”

         Privacy experts outside Google have raised questions about precisely how secure the experience will be. Writing for the
         Electronic Frontier Foundation, Bennett Cyphers notes that splitting users into small cohorts could actually make it easier to



1 of 2                                                                                                                             3/1/2022, 1:44 PM
Google and the Age of Privacy Theater – Best of Privacy                 https://bestofprivacy.com/surveillance/google-and-the-age-of-privacy-the...
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         “fingerprint” them—using information about someone’s browser or device to create a stable identifier for that person. As
         Cyphers points out, fingerprinting requires pulling together enough information to distinguish one user from everyone else.
         If websites already know someone is a member of a small cohort, they only need to distinguish them from the rest of that
         cohort. Google says it will develop ways to prevent fingerprinting but has not detailed its plans.




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  INVESTIGATIONS


 Cashless tolls: Welcome to the dark
 future
              Frank Esposito Rockland/Westchester Journal News

 Published 6:00 a.m. ET April 11, 2018        Updated 6:44 a.m. ET April 12, 2018

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 Cashless tolls: Welcome to the dark future. Chris Brown/The Journal News



 Editor's note: This story is part of a months-long investigation into cashless tolls
 to find out why drivers are getting escalating fines, who's running the system and
 where the system is breaking down.



https://www.lohud.com/story/news/investigations/2018/04/11/cashless-tolls-dark-future/439131002/[4/13/2022 4:50:01 PM]
Dark Future: Cashless tolls, data collection worry privacy advocates
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 Piermont's main drag — a mix of restaurants, bars and light retail — sees its
 busiest days on the weekends when cyclists pass through on their trek from the big
 city.

 Yet the village's eight-officer Police Department recently bought a high-tech
 surveillance system used by major departments and U.S. military special-
 operations units.

 "(License-plate readers), those are awesome," said Mayor Bruce Tucker.

 For about $26,000, village police are tapping into a vast network of automated
 license-plate readers run by for-profit corporations.

 That network can allow its officers to track every person passing through town:
 moms on their way to drop off kids at school, patient trips to the doctor and the
 faithfuls' visits to religious services get thrown into databases that police may
 retain for up to five years.




 How is technology being used to track the activities of Americans. Ricky Flores/lohud



 SECRET: Much of New York's cashless tolls contract is kept secret

 CASHLESS TOLLS: See the lohud investigation

 GLOSSARY: Top 10 terms to navigate the cashless tolls system

 READING AND WATCHING LIST: Dark future

 Residents like Frank Comito support tracking criminals, but worry about the
 potential misuse.

 "It's scary; Technology has taken us over," he said. "There is so much we can't
 control."




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 The limited use in Piermont worries Comito, but it is just part of a larger system —
 one in which the Metropolitan Transportation Authority and the state Thruway
 Authority are tracking drivers at toll-collection sites and in between.

 CASHLESS TOLLS: State assemblywoman proposes MTA amnesty bill

 He likely did not know about their corporate contractor, Conduent, which wants to
 use similar data for its own new ticketing systems — a system that would allow
 travelers to move from buses to subways with a scan of a smartphone.




 These tracking technologies stem from the cashless tolling apparatus growing in
 the Lower Hudson Valley.

 Cashless-tolling gantries, along with license-plate readers and mobile-ticketing
 apps, are slithering into every crevice of a person's travel data. Privacy advocates
 worry that companies could know the exact location and movements of everyone.

 Private companies boast of their Big Brother capabilities. Take the comments
 by Carol Kline, Conduent’s chief information officer:




 Companies could use plate-travel data to track drivers' daily commutes from
 Piermont to Pasadena. That capability worries some of Piermont's visitors.

 "It's 1984, but 34 years late," said Tim Doran of Mahwah, New Jersey.

 Welcome to the dark future.




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 The idea of technology growing beyond its masters' control has been the staple of
 science fiction writers.

 A future of machines controlling the lives of helpless humans filled pages of books
 and lit film screens for the better part of the last century. Unblinking eyes would
 follow everyone at all times.

 Civil-liberties and data-privacy advocates say that future is already here. Look no
 further than the news of recent weeks. Facebook faces criticism that the company
 is mining members' personal data and selling it to private corporations. Shortly
 after that news broke, additional reports surfaced on how hackers accessed the
 data of 150 million users of Under Armour's MyFitnessPal app and that 5 million
 credit and debit cards were breached from Lord & Taylor and Saks




 FACEBOOK: Cambridge Analytica firm at center of Facebook
 controversy

 An investigation by The Journal News/lohud has found that:

       Private companies are collecting data and selling it to police departments and
       other agencies such as U.S. Immigration and Customs Enforcement.
       Cashless-tolling gantries do more than just catch toll evaders and scofflaws.
       New York state agencies are turning scans into data.
       Systems can quickly know people's exact locations and more applications to
       use the data are in the works




 Nowhere is that Orwellian reality playing out more than in the Lower Hudson
 Valley, where public surveillance for private profit is spreading into communities
 under the cover of promises of convenience and increased safety.



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 As early as 2008, some police departments in Westchester County, and the New
 York City Police Department, began using automated license plate reader
 technology.

 By 2014 multiple police departments in Westchester had 33 plate readers funded
 with special grants from the state Division of Criminal Justice Services. In fact,
 Westchester had more plate readers than any other county — outside of New York
 City — in the state, according to DCJS funding documents.

 What if there was a person following you all the
 time, everywhere you went, constantly following
 you in public and standing outside your house at
 night. There still is a public element to that, but its
 starting to get really creepy and offensive.      DAVE

 MAASS, INVESTIGATIVE RESEARCHER FOR THE EFF.


 Privacy-advocate groups and legislators are concerned that these new technologies
 associated with the growing cashless-tolling system threaten personal privacy in
 ways that were unimaginable just a couple of years ago.

 Rashida Richardson, legislative counsel for the New York Civil Liberties Union,
 thinks the system has blatant problems with how it operates between corporate
 and government spheres.

 “I think there is inherently something wrong with business models with third-party
 vendors that are creating these databases that can be accessed by different types of
 law enforcement with no requirements or limitations on the sharing of
 information,” Richardson said.




 In addition, indications are that this data, gleaned off millions of vehicles traveling
 across the region's bridges, tunnels and highways, could be sold for profit.

 One of the key architects of the cashless-tolling legislation is worried by the
 growing threat. State Sen. David Carlucci, D-Clarkstown, said he crafted legislation
 to protect data that he hopes will help stop unnecessary intrusions into people's
 personal lives.

 “We need a safeguard for our personal data,” Carlucci said.

 Dave Maass, an investigative researcher at the Electronic Frontier Foundation,
 said there’s almost no limit to what could happen when private companies get their


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 hands on data.

 EFF is a non-profit based in California focused on digital rights and protecting
 privacy. Made up of attorneys and technologists and formed in 1990, it has been in
 the middle of many of the nation's high-profile privacy-rights cases.

 “They’re collecting an intense amount of data on people’s comings and goings. You
 have to wonder where that data is going,” Maass said.




 A small police department, such as Piermont, won’t generate enough data to
 provide good tracking. More accurate databases would require that agencies share
 data between their systems.

 But that solution lies with multiple departments that can interlink their databases,
 as well as pull from shared law enforcement databases around the
 county. Westchester County’s 42 police departments, along with federal agencies,
 have designed a way to share some of that data with one another.

 That data gets fed into a little-known law enforcement agency called the
 Westchester Intelligence Center.




 Police departments rely on several companies to store this data. Two private
 companies control most of the license-plate reading market in the United
 States: Vigilant Solutions and ELSAG.

 ELSAG, is actively used the in collection of data as part of New York's cashless-
 tolling apparatus.

 PlateSmart Technologies, had been tapped by the MTA, to help with plate reading
 at its crossings. But the MTA decided use the PlateSmart system for different
 purporse.


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 Some agencies, like the New York state police, tap Vigilant Solutions for extra
 plate-tracking data.

 At $13,000 per system for each squad car, according to Nate Maloney, vice
 president of marketing at ELSAG, some departments use federal grant money to
 buy the plate readers. Other departments in Texas — another state with cashless-
 tolling issues — used another way to pay for the system.

 Vigilant gave credit-card readers to the police, along with the plate readers,
 according to contracts between the entities.

 When police stopped someone who had outstanding fines or warrants, they would
 give drivers two options: pay the fine on the spot — with a 25 percent up-charge —
 or go to jail, according to Maass and the contracts.

 Police in Texas faced pressure from the system, too. Contracts with Vigilant
 included vague references to quotas for how many cars the agencies needed to pull
 over. Failing to meet that quota would mean losing the system for the department.

 Guadalupe County, next to the city of San Antonio, has a contract that states that
 while no exact quota exists, Vigilant says failing to meet a "minimal metric" would
 result in the company reclaiming the system.




 Maass finds problems with that system, and questions the reasons for stops under
 a quota system.

 “Is law enforcement using license-plate readers because it's good for public safety,
 or are they doing that because Vigilant has them over a barrel,” he said.

 Vigilant declined to comment on its practices in Texas.

 Piermont chose a different route. It paid for the service and equipment with
 money from auctioning confiscated property, Police Chief Michael O’Shae said at a


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 meet-the-chief event in February.




 A police car with an automatic license plate reader idles outside Piermont Village Hall in February 2018. Frank Esposito/The
 Journal News




 An automatic license plate reader (ALPR) camera us aimed at traffic outside Piermont Village Hall in February 2018. Frank
 Esposito/The Journal News



 Automatic license plate readers have two main parts: cameras capture the data
 and computers save it.

 People in Piermont can see police cars with the plate readers sitting on Route 9W
 and in front of Village Hall.

 On Feb. 16, one equipped police car idled across the street from Village Hall. From
 9 a.m. to 9:15 a.m. it sat empty, its cameras pointed at passing vehicles.

 It then was moved to the other side of the street. The data it collected can be used


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 to track location.

 License-plate reader location tracking concerns groups like the NYCLU because it
 provides information about personal habits.

 The NYCLU's Richardson says database tracking goes too far.

 “It is a questionable practice when it's used in coordination with a larger database,
 that allows for real-time vehicle searching,” Richardson said.

 The cameras attached to gantries and police cars represent only part of the
 tracking network. To collect as much data as possible, police departments place
 plate readers in speed signs, variable message boards and even orange highway
 barrels.

 A manufacturer's brochure touts the hidden cameras as “becoming best practices
 across the country.”




 Vigilant dominates the market with 5 billion scans in its database and adds another
 150 million each month, according to its website. With more than 263 million cars
 in the country, Vigilant casts a wide net.

 This is a problem that is going to keep getting
 worse, If they are able to get autonomous vehicles
 on the road equipped with ALPRs, they will have
 surveillance vehicles driving around all the time
 collecting data on people.     DAVE MAASS, EFF



 To collect all this data, Vigilant tapped into its sister company, DRN, which
 provides plate readers to civilians. Scans from DRN data equipment get fed into
 the law enforcement database, according to DRN's website.

 “Vigilant Solutions outsources their scans to repo men and other private entities to
 do scanning in addition to the police departments that are signed up,” Richardson
 said.

 DRN's scans end up in for-profit databases like TLO, according to its website. TLO
 offers plate tracking for a price to private investigators and attorneys, for example.




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 Both Vigilant and ELSAG claim to keep the data gathered by their law enforcement
 partners out of civilian hands, but nobody denies the capability exists.

 "There’s nothing stopping some of them from putting personal travel data on the
 internet and charging $10 for it," Maass said.

 He thinks the future could grow darker when self-driving cars hit the streets.

 "This is a problem that is going to keep getting worse,” Maass said. “If they are able
 to get autonomous vehicles on the road equipped with ALPRs, they will have
 surveillance vehicles driving around all the time, collecting data on people.”

 PlateSmart Technologies, one of the Metropolitan Transportation Authority's
 plate-reader providers, wrote a report in which it suggested putting ALPRs on
 buses. Buses could transmit the plates and location of cars to authorities, further
 enhancing tracking capabilities.




 As cashless tolling spreads across New York, plate readers grow with it.

 The technology is allowing police to know immediately what kinds of violations
 people have with a quick scan.

 Maass sees another side to the technology.

 "What if there was a person following you all the time, everywhere you went,
 constantly following you in public and standing outside your house at night," he
 said. "There still is a public element to that, but it's starting to get really creepy and
 offensive."

 Those scans, meanwhile, are checked against a database of vehicles on which the
 police want to keep tabs. A computer also checks the plate number against state
 Department of Mothor Vehicle records, creating a record of where and when the
 car was spotted.




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 Cashless-tolling failures and the plate readers have combined to create a series of
 horror stories for some residents in Rockland and Westchester counties.

 CASHLESS HORROR STORY: Family left on road at night over $12,000
 in fees

 REVEALED: The company behind the camera

 Other stories outside the Lower Hudson Valley show flaws in ALPR systems and
 the legal ramifications of those shortcomings.

 Denise Green found herself on the wrong side of an ALPR scan on a Monday night
 in March of 2009.

 That's when San Fransisco police pulled her over, four to six officers pointed guns
 and ordered her to leave the car. Police forced Green to her knees and handcuffed
 her. They'd confused her 1992 burgundy Lexus with a stolen gray GMC
 truck because the plate reader confused a 3 and a 7, according to court documents.




 Companies developing facial-recognition and traffic-violation tracking technology
 enjoy limited public exposure about their involvement in public systems. Dave
 Amoriell, president of Conduent's public sector division, spoke about its relatively
 low public profile at a company event in December.




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 Piermont PD vehicle plate reader SUV




 Piermont PD vehicle plate reader SUV Frank Esposito/The Journal News



 “I always say in this sector we’re well known in the industry, we’re probably the
 best-kept secret outside our industry,” Amoriell said.

 E-ZPasses and cashless tolling operated by Conduent create similar data as a
 license-plate reader scan when a car goes through a toll. Location, speed and time
 get logged and sent to Conduent's governmental partners. But those partners
 create data when drivers aren't going through tolls, too.

 New York transportation authorities have placed antennae throughout New York’s
 roadway system, according to official responses to Freedom of Information Law
 requests made by the American Civil Liberties Union.

 Jennifer Givner, a Thruway Authority spokeswoman, said it only uses the E-ZPass
 data from those additional antennae to generate estimates for travel time.

 They track any E-ZPass that goes by them. They pick up other signals as well. Even
 if drivers place their E-ZPass transponders in their protective foil bags, other
 signals from their cars can give away their location.

 For example, cars' tire-pressure sensors also send a signal that gets picked up by
 some antennae. A research paper from Rutgers University highlighted this
 vulnerability in 2010.




 Privacy advocates say they are gaining ground in their fight against these systems.

 Green, the San Francisco victim, won a federal lawsuit against the police. It ended
 with a ruling that plate readers aren't enough on their own to warrant a traffic stop.
 However, that ruling doesn't apply to New York. It only applies to the 9th U.S.
 Circuit, a West Coast jurisdiction.

 Carlucci's data-protection act is currently in committee, and he hopes it can help.


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 "This goes a long way to protect us from Conduent," he said.

 Both the ACLU and EFF continue to investigate what they see as problems with
 public surveillance, like ALPRs and other methods of surveillance.

 The EFF helped send nearly 1,000 FOIL requests to agencies that contract with
 Vigilant. That prompted Vigilant to send a letter to its customers offering "support"
 from the "onslaught" of requests.

 Some drivers are already taking the fight to public surveillance systems
 themselves. In Washington, D.C., one person jumped from a car to destroy a
 surveillance camera.




 Reporters at The Journal News/lohud have spent five months investigating
 cashless tolls to find out why drivers are getting fees and escalating fines for tolls
 for which many say they were never billed, who's running the system and where
 the system is breaking down.




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 Cashless tolls: A lohud investigation




 Cashless tolls: A lohud investigation Lohud



 The reporting so far has prompted changes, including:

       an amnesty program forgiving thousands of dollars from individual bills
       a bill introduced in Albany to help toll payers
       a new web page for the amnesty program instead of using the faulty Tolls By
       Mail site
       more distinct envelopes so drivers know they've received a bill
       new toll signs on the Gov. Mario M. Cuomo Bridge
       more responsiveness from state Thruway officials, two of whom attended a
       lohud forum on cashless tolling and personally helped drivers with their
       individual cases
       legislation drafting a tollpayer’s bill of rights
       an apology from the lieutenant governor

 Tell us your story

 Has this happened to you? Tell us your story. Email digital@lohud.com with the
 subject line "cashless tolls" or call 914-510-2181 and leave a message.




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 Chrissy Metz: This Is How The                  Remember Pauley Perrette?                New York: Startup Is Changing
 Famous Actress Looks After                     Take A Deep Breath Before                the Way People Retire
 Weight Loss                                    You See What She Looks Like              With over 110 million Americans over
 Daily Finance Stories |                        Now                                      age 50, it’s no wonder this Princeton
                                                Refinance Gold |                         SmartAsset |




 The genius shopping trick                      Kirstie Alley Wows Her Fans              Meg Ryan Is Probably The
 every Amazon Prime Member                      With Her Recent                          Most Beautiful 60 Year Old
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 Capital One Shopping |                         Real Final Post |                        Clubs Clown |




 Most Affordable Camper Vans                                           How Meghan Markle Looks Without Makeup Is
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Google Strikes Deal With Hospital Chain to
Develop Healthcare Algorithms
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FULL TEXT
 By Melanie Evans


Alphabet Inc.'s Google and national hospital chain HCA Healthcare Inc. have struck a deal to develop healthcare
algorithms using patient records, the latest foray by a tech giant into the $3 trillion healthcare sector.
Nashville, Tenn.,-based HCA, which operates across about 2,000 locations in 21 states, would consolidate and
store with Google data from digital health records and internet-connected medical devices under the multiyear
agreement. Google and HCA engineers will work to develop algorithms to help improve operating efficiency,
monitor patients and guide doctors' decisions, according to the companies.
"Data are spun off of every patient in real time," said Dr. Jonathan Perlin, HCA's chief medical officer. "Part of what
we're building is a central nervous system to help interpret the various signals."
The deal expands Google's reach in healthcare, where the recent shift to digital records has created an explosion
of data and a new market for technology giants and startups. Data crunching offers the opportunity to develop
new treatments and improve patient safety, but algorithm-development deals between hospitals and tech
companies have also raised privacy alarms.
Google has previously reached deals with other prominent U.S. hospital systems, including St. Louis-based
Ascension, that granted access to personal patient information, drawing public scrutiny. Other tech giants have
struck similar deals.
Dr. Perlin said HCA patient records would be stripped of identifying information before being shared with Google
data scientists and that the hospital system would control access to the data. Terms of the deal weren't disclosed
by the companies.
Google will access data when needed with consent from HCA, but the tech giant can develop analytic tools without
patient records and allow HCA to test the models independently, said Chris Sakalosky, managing director of
healthcare and life sciences at Google Cloud. "We want to push the boundaries of what the clinician can do in real
time with data, " he said.
Personal patient information is protected under the federal health-privacy law, known as the Health Insurance
Portability and Accountability Act. The law allows hospitals and some other healthcare companies, such as health
insurers, to share information with contractors, which must also abide by the law's privacy protections.
Some consider the federal law outdated, saying the law's protections haven't kept pace with the technology
sector's growing demand for patient data, said Michelle Mello, a Stanford University professor of law and medicine
who focuses on health-data privacy.
The law allows hospitals to share health records stripped of identifying patient details, but companies are
becoming more sophisticated in how they combine data in ways that can identify someone anyway, said Dr. Mello,
who has served as an adviser to Alphabet's Verily Life Sciences.
Companies may also use the data under the law in ways to develop products that boost corporate profit, with no
visibility or control for patients over how their data is used. Some people don't want their data used in certain ways
by certain parties, she said.

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Health and technology giants have pushed into healthcare data aggregation and algorithm development with
mixed results. International Business Machines Corp. has explored a sale of its IBM Watson Health business, as
the company's healthcare artificial-intelligence unit struggled, The Wall Street Journal reported in February.
Hospitals are uniquely positioned as brokers for data created by patients seeking care and interacting with
doctors, laboratories, pharmacies and medical devices. They have increasingly sought to capitalize on that data in
deals to aggregate patient records or develop products with pharmaceutical and technology companies. "They
aren't sleeping on this opportunity either," said Jeffrey Becker, principal analyst for healthcare at CB Insights.
Fourteen hospital systems in February announced a newly formed company, Truveta Inc., to sell access to their
anonymized records for patients across 40 states. Other hospitals have invested in health-record analytic
companies, such as Health Catalyst Inc., which went public in 2019.
The multiyear HCA-Google agreement will seek to develop algorithms that could help monitor patients and guide
treatment, said Dr. Perlin. During the pandemic, HCA used its own technology to monitor critically ill Covid-19
patients and notify doctors of potentially better treatment options. The company found that survival rates
increased by comparing the outcomes for patients before and after rolling out the algorithm.
The companies will also seek to develop algorithms that would help improve operations, Dr. Perlin said, such as by
automating how hospital units track inventory of critical supplies.
Write to Melanie Evans at Melanie.Evans@wsj.com


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                   What does your car know about you? We
                   hacked a Chevy to find out.

                   Geoffrey A. Fowler


                   Cars have become the most sophisticated computers many of us own, filled with
                   hundreds of sensors. Even older models know an awful lot about you. Many copy
                   over personal data as soon as you plug in a smartphone.

                   But for the thousands you spend to buy a car, the data it produces doesn’t belong to
                   you. My Chevy’s dashboard didn’t say what the car was recording. It wasn’t in the
                   owner’s manual. There was no way to download it.

                   To glimpse my car data, I had to hack my way in.

                   We’re at a turning point for driving surveillance: In the 2020 model year, most new
                   cars sold in the United States will come with built-in Internet connections,
                   including 100 percent of Fords, GMs and BMWs and all but one model Toyota and
                   Volkswagen. (This independent cellular service is often included free or sold as an
                   add-on.) Cars are becoming smartphones on wheels, sending and receiving data
                   from apps, insurance firms and pretty much wherever their makers want. Some
                   brands even reserve the right to use the data to track you down if you don’t pay your
                   bills.

                   When I buy a car, I assume the data I produce is owned by me — or at least is
                   controlled by me. Many automakers do not. They act like how and where we drive,
                   also known as telematics, isn’t personal information.

                   Cars now run on the new oil: your data. It is fundamental to a future of
                   transportation where vehicles drive themselves and we hop into whatever one is
                   going our way. Data isn’t the enemy. Connected cars already do good things like
                   improve safety and send you service alerts that are much more helpful than a
                   check-engine light in the dash.

                   But we’ve been down this fraught road before with smart speakers, smart TVs,
                   smartphones and all the other smart things we now realize are playing fast and
                   loose with our personal lives. Once information about our lives gets shared, sold or
                   stolen, we lose control.

                   There are no federal laws regulating what carmakers can collect or do with our
                   driving data. And carmakers lag in taking steps to protect us and draw lines in the
                   sand. Most hide what they’re collecting and sharing behind privacy policies written
                   in the kind of language only a lawyer’s mother could love.

                   Car data has a secret life. To find out what a car knows about me, I borrowed some
                   techniques from crime scene investigators.

                   What your car knows


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                   Jim Mason hacks into cars for a living, but usually just to better understand crashes
                   and thefts. The Caltech-trained engineer works in Oakland, Calif., for a firm called
                   ARCCA that helps reconstruct accidents. He agreed to help conduct a forensic
                   analysis of my privacy.

                   I chose a Chevrolet as our test subject because its maker GM has had the longest of
                   any automaker to figure out data transparency. It began connecting cars with its
                   OnStar service in 1996, initially to summon emergency assistance. Today GM has
                   more than 11 million 4G LTE data-equipped vehicles on the road, including free
                   basic service and extras you pay for. I found a volunteer, Doug, who let us peer
                   inside his two-year-old Chevy Volt.

                   I met Mason at an empty warehouse, where he began by explaining one important
                   bit of car anatomy. Modern vehicles don’t just have one computer. There are
                   multiple, interconnected brains that can generate up to 25 gigabytes of data per
                   hour from sensors all over the car. Even with Mason’s gear, we could only access
                   some of these systems.

                   This kind of hacking isn’t a security risk for most of us — it requires hours of
                   physical access to a vehicle. Mason brought a laptop, special software, a box of
                   circuit boards, and dozens of sockets and screwdrivers.

                   We focused on the computer with the most accessible data: the infotainment
                   system. You might think of it as the car’s touch-screen audio controls, yet many
                   systems interact with it, from navigation to a synced-up smartphone. The only
                   problem? This computer is buried beneath the dashboard.

                   After an hour of prying and unscrewing, our Chevy’s interior looked like it had been
                   lobotomized. But Mason had extracted the infotainment computer, about the size of
                   a small lunchbox. He clipped it into a circuit board, which fed into his laptop. The
                   data didn’t copy over in our first few attempts. “There is a lot of trial and error,”
                   said Mason.

                   (Don’t try this at home. Seriously — we had to take the car into a repair shop to get
                   the infotainment computer reset.)

                   It was worth the trouble when Mason showed me my data. There on a map was the
                   precise location where I’d driven to take apart the Chevy. There were my other
                   destinations, like the hardware store I’d stopped at to buy some tape.

                   Among the trove of data points were unique identifiers for my and Doug’s phones,
                   and a detailed log of phone calls from the previous week. There was a long list of
                   contacts, right down to people’s address, emails and even photos.

                   For a broader view, Mason also extracted the data from a Chevrolet infotainment
                   computer that I bought used on eBay for $375. It contained enough data to
                   reconstruct the Upstate New York travels and relationships of a total stranger. We
                   know he or she frequently called someone listed as “Sweetie,” whose photo we also
                   have. We could see the exact Gulf station where they bought gas, the restaurant
                   where they ate (called Taste China) and the unique identifiers for their Samsung
                   Galaxy Note phones.

                   Infotainment systems can collect even more. Mason has hacked into Fords that
                   record locations once every few minutes, even when you don’t use the navigation


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                   system. He’s seen German cars with 300-gigabyte hard drives — five times as much
                   as a basic iPhone 11. The Tesla Model 3 can collect video snippets from the car’s
                   many cameras. Coming next: face data, used to personalize the vehicle and track
                   driver attention.

                   In our Chevy, we probably glimpsed just a fraction of what GM knows. We didn’t
                   see what was uploaded to GM’s computers, because we couldn’t access the live
                   OnStar cellular connection. (Researchers have done those kinds of hacks before to
                   prove connected vehicles can be remotely controlled.)

                   My volunteer car owner Doug asked GM to see the data it collected and shared. The
                   automaker just pointed us to an obtuse privacy policy. Doug also (twice) sent GM a
                   formal request under a 2003 California data law to ask who the company shared his
                   information with. He got no reply.

                   GM spokesman David Caldwell declined to offer specifics on Doug’s Chevy but said
                   the data GM collects generally falls into three categories: vehicle location, vehicle
                   performance and driver behavior. “Much of this data is highly technical, not
                   linkable to individuals and doesn’t leave the vehicle itself,” he said.

                   The company, he said, collects real-time data to monitor vehicle performance to
                   improve safety and to help design future products and services.

                   But there were clues to what more GM knows on its website and app. It offers a
                   Smart Driver score — a measure of good driving — based on how hard you brake
                   and turn and how often you drive late at night. They’ll share that with insurance
                   companies, if you want. With paid OnStar service, I could, on demand, locate the
                   car’s exact location. It also offers in-vehicle WiFi and remote key access for Amazon
                   package deliveries. An OnStar Marketplace connects the vehicle directly with third-
                   party apps for Domino’s, IHOP, Shell and others.

                   The OnStar privacy policy, possibly only ever read by yours truly, grants the
                   company rights to a broad set of personal and driving data without much detail on
                   when and how often it might collect it. It says: “We may keep the information we
                   collect for as long as necessary” to operate, conduct research or satisfy GM’s
                   contractual obligations. Translation: pretty much forever.

                   It’s likely GM and other automakers keep just a slice of the data cars generate. But
                   think of that as a temporary phenomenon. Coming 5G cellular networks promise to
                   link cars to the Internet with ultra-fast, ultra-high-capacity connections. As wireless
                   connections get cheaper and data becomes more valuable, anything the car knows
                   about you is fair game.

                   Protecting yourself
                   GM’s view, echoed by many other automakers, is that we gave them permission for
                   all of this. “Nothing happens without customer consent,” said GM’s Caldwell.

                   When my volunteer Doug bought his Chevy, he didn’t even realize OnStar basic
                   service came standard. (I don’t blame him — who really knows what all they’re
                   initialing on a car purchase contract?) There is no button or menu inside the Chevy
                   to shut off OnStar or other data collection, though GM says it has added one to
                   newer vehicles. Customers can press the console OnStar button and ask a



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                   representative to remotely disconnect.

                   What’s the worry? From conversations with industry insiders, I know many
                   automakers haven’t totally figured out what to do with the growing amounts of
                   driving data we generate. But that’s hardly stopping them from collecting it.

                   Five years ago, 20 automakers signed on to volunteer privacy standards, pledging to
                   “provide customers with clear, meaningful information about the types of
                   information collected and how it is used,” as well as “ways for customers to manage
                   their data.” But when I called eight of the largest automakers, not even one offered
                   a dashboard for customers to look at, download and control their data.

                   Automakers haven’t had a data reckoning yet, but they’re due for one. GM ran an
                   experiment in which it tracked the radio music tastes of 90,000 volunteer drivers to
                   look for patterns with where they traveled. According to the Detroit Free Press, GM
                   told marketers that the data might help them persuade a country music fan who
                   normally stopped at Tim Horton’s to go to McDonald’s instead.

                   GM would not tell me exactly what data it collected for that program but said
                   “personal information was not involved” because it was anonymized data. (Privacy
                   advocates have warned that location data is personal because it can be re-identified
                   with individuals because we follow such unique patterns.)

                   GM’s privacy policy, which the company says it will update before the end of 2019,
                   says it may “use anonymized information or share it with third parties for any
                   legitimate business purpose.” Such as whom? “The details of those third-party
                   relationships are confidential,” said Caldwell.

                   There are more questions. GM’s privacy policy says it will comply with legal data
                   demands. How often does it share our data with the government? GM doesn’t offer
                   a transparency report like tech companies do.

                   Automakers say they put data security first. But I suspect they’re just not used to
                   customers demanding transparency. They also probably want to have sole control
                   over the data, given that the industry’s existential threats — self-driving and ride-
                   hailing technologies — are built on it.

                   But not opening up brings problems, too. Automakers are battling with repair shops
                   in Massachusetts about a proposal that would require car companies to grant
                   owners — and mechanics — access to telematics data. The Auto Care Association
                   says locking out independent shops could give consumers fewer choices and make
                   us end up paying more for service. The automakers say it’s a security and privacy
                   risk.

                   In 2020, the California Consumer Privacy Act will require any company that
                   collects personal data about the state’s residents to provide access to the data and
                   give people the ability to opt out of its sharing. GM said it would comply with the
                   law but didn’t say how.

                   Are any carmakers better? Among the privacy policies I read, Toyota’s stood out for
                   drawing a few clear lines in the sand about data sharing. It says it won’t share
                   “personal information” with data resellers, social networks or ad networks — but
                   still carves out the right to share what it calls “vehicle data” with business partners.



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                   Until automakers put even a fraction of the effort they put into TV commercials into
                   giving us control over our data, I’d be wary about using in-vehicle apps or signing
                   up for additional data services. At least smartphone apps like Google Maps let you
                   turn off and delete location history.

                   And Mason’s hack brought home a scary reality: Simply plugging a smartphone into
                   a car could put your data at risk. If you’re selling your car or returning a lease or
                   rental, take the time to delete the data saved on its infotainment system. An app
                   called Privacy4Cars offers model-by-model directions. Mason gives out gifts of car-
                   lighter USB plugs, which let you charge a phone without connecting it to the car
                   computer. (You can buy inexpensive ones online.)

                   If you’re buying a new vehicle, tell the dealer you want to know about connected
                   services — and how to turn them off. Few offer an Internet “kill switch,” but they
                   may at least allow you turn off location tracking.

                   Or, for now at least, you can just buy an old car. Mason, for one, drives a
                   conspicuously non-connected 1992 Toyota.

                   Read more from our Secret Life of Your Data series:




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          87 percent of websites are tracking you. This new tool
          will let you run a creepiness check.

          Geoffrey A. Fowler


          How bad has privacy become on the World Wide Web? Really bad, a new audit shows.

          At least 87 percent of the world’s most-popular Web domains engage in some form of digital
          tracking without you ever signing in, according to investigative journalism nonprofit the Markup.
          Many, it found, even covertly record the way you move your mouse or type. This is the hidden tech
          that lets companies learn who you are, what you like and even the secrets you look at online so they
          can tailor what you see, make ads follow you around — or even sell your information to others.

          Blacklight was created by Surya Mattu, who wanted not just to stop website snooping, but a tool to
          see exactly what was going on when you visit sites with the default Google Chrome, the popular
          browser I once dubbed “spy software.”

          Earlier this month, engineer and journalist Mattu ran Blacklight on a list of the 100,000 most-
          popular domains on the Web. Some of those addresses didn’t have a website on them or wouldn’t
          load. But of the more than 80,000 that he could scan, a grim picture emerged.

               • Only 13 percent of sites didn’t load any ad trackers or third-party cookies, which are snippets
                 of code that sites leave in your browser to identify you.
               • Fifteen percent of websites loaded technology called “session recorders,” the digital equivalent
                 of recording videos as you surf a site, as one tech provider describes it. “For me, this was the
                 biggest shock,” Mattu told me.
               • Four percent logged keys you typed into forms and boxes even without hitting submit.
               • Six percent of websites used a newer, harder-to-avoid form of tracking called canvas
                 fingerprinting. (Last year, an investigation I worked on with privacy company Disconnect
                 found fingerprinting on a third of the 500 most-popular websites.)
               • Seventy-four percent of sites loaded Google tracking technology, and 33 percent loaded
                 Facebook trackers. It’s staggering to see the reach of those two Silicon Valley giants — it’s easy
                 to forget they track you even when you’re not using their websites or apps.

          Worse, Mattu’s numbers are likely conservative. On sites that ask you to accept cookies before
          they’re loaded, particularly common in Europe, Blacklight doesn’t click “accept” — so those sites
          registered as less creepy.

          “I think this is just a reflection of how business operates when it goes unchecked,” Mattu said. “I
          don’t think there is some super-evil person sitting somewhere trying to collect everyone’s
          information. There is economic incentive for having this data, and over the last 15 years that
          incentive has only increased.”

          Blacklight isn’t the perfect or only measure of privacy — it’s a cat-and-mouse game with the
          companies that develop tracking tech. But I hope the Markup updates its audit every year, so we
          can track how the Web changes as more people become concerned about privacy, and new privacy
          laws attempt to outlaw some of the snooping.

          What’s the point for non-techies? Use Blacklight quickly to see whether you want to trust a site — or


1 of 2                                                                                                                             2/28/2022, 4:30 PM
87 percent of websites are tracking you. This new tool will let you run a ...   https://www.washingtonpost.com/technology/2020/09/25/privacy-check-...
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          evaluate the claims of a CEO who touts “privacy is a human right.” You can download your results
          and share anything shocking with me or with the smart team at the Markup.

          Here’s what’s “normal,” for comparison: The median number of third-party cookies on websites is
          three. The median number of ad trackers is seven.

          What you find might surprise you. As of Thursday, pet food-maker Purina notched almost every
          possible kind of tracking Blacklight detects, which Purina can use to learn about the demographics
          and interests of people, their brand loyalty and even to understand how they use their website. It
          had 14 ad trackers, 28 third-party cookies, fingerprinting, and monitoring of keystrokes and mouse
          clicks. (Tell Fluffy to be careful out there.)

          Sensitive websites track people, too. Planned Parenthood had 42 third-party cookies, according to
          Blacklight.

          Joe Biden’s website as of Thursday used fewer third-party cookies, 10, than President Trump’s
          website, 18, according to Blacklight.

          Microsoft had 43 third-party cookies. Apple had zero — in fact, it uses no tracking tech at all,
          according to Blacklight.

          Just remember: You don’t have to give up all hope of preserving your privacy. There are steps you
          can take to protect your privacy on the Web.

          For most people, I recommend making one simple change: switch browsers to one that includes
          automatic protection. I like Mozilla’s Firefox, but Apple’s Safari and the new version of Microsoft
          Edge also provide some protection, as do the privacy-focused DuckDuckGo and Brave.

          But if you just can’t quit Chrome, or you’re forced to use it for work, there are ad-blocking and
          tracker-blocking plugins that can defang Chrome, including Privacy Badger and Ghostery.

          And if you live in the state of California, there’s also a law called the California Consumer Privacy
          Act that gives you the ability to tell any business to stop selling your data. Here’s my citizen’s guide
          for how to use it.




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  The National Security Agency and the FBI are tapping directly into the central servers of nine leading U.S.
  Internet companies, extracting audio and video chats, photographs, e-mails, documents, and connection logs
  that enable analysts to track foreign targets, according to a top-secret document obtained by The Washington
  Post.

  The program, code-named PRISM, has not been made public until now. It may be the first of its kind. The
  NSA prides itself on stealing secrets and breaking codes, and it is accustomed to corporate partnerships that
  help it divert data traffic or sidestep barriers. But there has never been a Google or Facebook before, and it is
  unlikely that there are richer troves of valuable intelligence than the ones in Silicon Valley.

  Equally unusual is the way the NSA extracts what it wants, according to the document: “Collection directly
  from the servers of these U.S. Service Providers: Microsoft, Yahoo, Google, Facebook, PalTalk, AOL, Skype,
  YouTube, Apple.”

  London’s Guardian newspaper reported Friday that GCHQ, Britain’s equivalent of the NSA, also has been
  secretly gathering intelligence from the same internet companies through an operation set up by the NSA.

  According to documents obtained by The Guardian, PRISM would appear to allow GCHQ to circumvent the
  formal legal process required in Britain to seek personal material such as emails, photos and videos from an
  internet company based outside of the country.

  PRISM was launched from the ashes of President George W. Bush’s secret program of warrantless domestic
  surveillance in 2007, after news media disclosures, lawsuits and the Foreign Intelligence Surveillance Court
  forced the president to look for new authority.

  Congress obliged with the Protect America Act in 2007 and the FISA Amendments Act of 2008, which
  immunized private companies that cooperated voluntarily with U.S. intelligence collection. PRISM recruited
  its first partner, Microsoft, and began six years of rapidly growing data collection beneath the surface of a
  roiling national debate on surveillance and privacy. Late last year, when critics in Congress sought changes in
  the FISA Amendments Act, the only lawmakers who knew about PRISM were bound by oaths of office to hold
  their tongues.

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  The court-approved program is focused on foreign communications traffic, which often flows through U.S.
  servers even when sent from one overseas location to another. Between 2004 and 2007, Bush administration
  lawyers persuaded federal FISA judges to issue surveillance orders in a fundamentally new form. Until then
  the government had to show probable cause that a particular “target” and “facility” were both connected to
  terrorism or espionage.

  In four new orders, which remain classified, the court defined massive data sets as “facilities” and agreed to
  certify periodically that the government had reasonable procedures in place to minimize collection of “U.S.
  persons” data without a warrant.

  In a statement issue late Thursday, Director of National Intelligence James R. Clapper said “information
  collected under this program is among the most important and valuable foreign intelligence information we
  collect, and is used to protect our nation from a wide variety of threats. The unauthorized disclosure of
  information about this important and entirely legal program is reprehensible and risks important protections
  for the security of Americans.”

  Clapper added that there were numerous inaccuracies in reports about PRISM by The Post and the Guardian
  newspaper, but he did not specify any.

  Jameel Jaffer, deputy legal director of the American Civil Liberties Union, said: “I would just push back on the
  idea that the court has signed off on it, so why worry? This is a court that meets in secret, allows only the
  government to appear before it, and publishes almost none of its opinions. It has never been an effective
  check on government.”

  Several companies contacted by The Post said they had no knowledge of the program, did not allow direct
  government access to their servers and asserted that they responded only to targeted requests for
  information.

  “We do not provide any government organization with direct access to Facebook servers,” said Joe Sullivan,
  chief security officer for Facebook. “When Facebook is asked for data or information about specific
  individuals, we carefully scrutinize any such request for compliance with all applicable laws, and provide
  information only to the extent required by law.”

  “We have never heard of PRISM,” said Steve Dowling, a spokesman for Apple. “We do not provide any
  government agency with direct access to our servers, and any government agency requesting customer data
  must get a court order.”

  It is possible that the conflict between the PRISM slides and the company spokesmen is the result of
  imprecision on the part of the NSA author. In another classified report obtained by The Post, the arrangement
  is described as allowing “collection managers [to send] content tasking instructions directly to equipment
  installed at company-controlled locations,” rather than directly to company servers.

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  Government officials and the document itself made clear that the NSA regarded the identities of its private
  partners as PRISM’s most sensitive secret, fearing that the companies would withdraw from the program if
  exposed. “98 percent of PRISM production is based on Yahoo, Google and Microsoft; we need to make sure
  we don’t harm these sources,” the briefing’s author wrote in his speaker’s notes.

  An internal presentation of 41 briefing slides on PRISM, dated April 2013 and intended for senior analysts in
  the NSA’s Signals Intelligence Directorate, described the new tool as the most prolific contributor to the
  President’s Daily Brief, which cited PRISM data in 1,477 items last year. According to the slides and other
  supporting materials obtained by The Post, “NSA reporting increasingly relies on PRISM” as its leading
  source of raw material, accounting for nearly 1 in 7 intelligence reports.

  That is a remarkable figure in an agency that measures annual intake in the trillions of communications. It is
  all the more striking because the NSA, whose lawful mission is foreign intelligence, is reaching deep inside the
  machinery of American companies that host hundreds of millions of American-held accounts on American
  soil.

  The technology companies, whose cooperation is essential to PRISM operations, include most of the
  dominant global players of Silicon Valley, according to the document. They are listed on a roster that bears
  their logos in order of entry into the program: “Microsoft, Yahoo, Google, Facebook, PalTalk, AOL, Skype,
  YouTube, Apple.” PalTalk, although much smaller, has hosted traffic of substantial intelligence interest
  during the Arab Spring and in the ongoing Syrian civil war.

  Dropbox, the cloud storage and synchronization service, is described as “coming soon.”

  Sens. Ron Wyden (D-Ore.) and Mark Udall (D-Colo.), who had classified knowledge of the program as
  members of the Senate Intelligence Committee, were unable to speak of it when they warned in a Dec. 27,
  2012, floor debate that the FISA Amendments Act had what both of them called a “back-door search
  loophole” for the content of innocent Americans who were swept up in a search for someone else.

  “As it is written, there is nothing to prohibit the intelligence community from searching through a pile of
  communications, which may have been incidentally or accidentally been collected without a warrant, to
  deliberately search for the phone calls or e-mails of specific Americans,” Udall said.

  Wyden repeatedly asked the NSA to estimate the number of Americans whose communications had been
  incidentally collected, and the agency’s director, Lt. Gen. Keith B. Alexander, insisted there was no way to find
  out. Eventually Inspector General I. Charles McCullough III wrote Wyden a letter stating that it would violate
  the privacy of Americans in NSA data banks to try to estimate their number.




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  PRISM is an heir, in one sense, to a history of intelligence alliances with as many as 100 trusted U.S.
  companies since the 1970s. The NSA calls these Special Source Operations, and PRISM falls under that rubric.

  The Silicon Valley operation works alongside a parallel program, code-named BLARNEY, that gathers up
  “metadata” — technical information about communications traffic and network devices — as it streams past
  choke points along the backbone of the Internet. BLARNEY’s top-secret program summary, set down in the
  slides alongside a cartoon insignia of a shamrock and a leprechaun hat, describes it as “an ongoing collection
  program that leverages IC [intelligence community] and commercial partnerships to gain access and exploit
  foreign intelligence obtained from global networks.”

  But the PRISM program appears to more nearly resemble the most controversial of the warrantless
  surveillance orders issued by President George W. Bush after the al-Qaeda attacks of Sept. 11, 2001. Its
  history, in which President Obama presided over exponential growth in a program that candidate Obama
  criticized, shows how fundamentally surveillance law and practice have shifted away from individual
  suspicion in favor of systematic, mass collection techniques.

  The Obama administration points to ongoing safeguards in the form of “extensive procedures, specifically
  approved by the court, to ensure that only non-U.S. persons outside the U.S. are targeted, and that minimize
  the acquisition, retention and dissemination of incidentally acquired information about U.S. persons.”

  And it is true that the PRISM program is not a dragnet, exactly. From inside a company’s data stream the NSA
  is capable of pulling out anything it likes, but under current rules the agency does not try to collect it all.

  Analysts who use the system from a Web portal at Fort Meade, Md., key in “selectors,” or search terms, that
  are designed to produce at least 51 percent confidence in a target’s “foreignness.” That is not a very stringent
  test. Training materials obtained by The Post instruct new analysts to make quarterly reports of any
  accidental collection of U.S. content, but add that “it’s nothing to worry about.”

  Even when the system works just as advertised, with no American singled out for targeting, the NSA routinely
  collects a great deal of American content. That is described as “incidental,” and it is inherent in contact
  chaining, one of the basic tools of the trade. To collect on a suspected spy or foreign terrorist means, at
  minimum, that everyone in the suspect’s inbox or outbox is swept in. Intelligence analysts are typically taught
  to chain through contacts two “hops” out from their target, which increases “incidental collection”
  exponentially. The same math explains the aphorism, from the John Guare play, that no one is more than “six
  degrees of separation” from any other person.




  In exchange for immunity from lawsuits, companies such as Yahoo and AOL are obliged to accept a
  “directive” from the attorney general and the director of national intelligence to open their servers to the FBI’s

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  Data Intercept Technology Unit, which handles liaison to U.S. companies from the NSA. In 2008, Congress
  gave the Justice Department authority for a secret order from the Foreign Surveillance Intelligence Court to
  compel a reluctant company “to comply.”

  In practice, there is room for a company to maneuver, delay or resist. When a clandestine intelligence
  program meets a highly regulated industry, said a lawyer with experience in bridging the gaps, neither side
  wants to risk a public fight. The engineering problems are so immense, in systems of such complexity and
  frequent change, that the FBI and NSA would be hard pressed to build in back doors without active help from
  each company.

  Apple demonstrated that resistance is possible when it held out for more than five years, for reasons
  unknown, after Microsoft became PRISM’s first corporate partner in May 2007. Twitter, which has cultivated
  a reputation for aggressive defense of its users’ privacy, is still conspicuous by its absence from the list of
  “private sector partners.”

  Google, like the other companies, denied that it permitted direct government access to its servers.

  “Google cares deeply about the security of our users’ data,” a company spokesman said. “We disclose user
  data to government in accordance with the law, and we review all such requests carefully. From time to time,
  people allege that we have created a government ‘back door’ into our systems, but Google does not have a
  ‘back door’ for the government to access private user data.”

  Microsoft also provided a statement: “We provide customer data only when we receive a legally binding order
  or subpoena to do so, and never on a voluntary basis. In addition we only ever comply with orders for requests
  about specific accounts or identifiers. If the government has a broader voluntary national security program to
  gather customer data we don’t participate in it.”

  Yahoo also issued a denial.

  “Yahoo! takes users’ privacy very seriously,” the company said in a statement. “We do not provide the
  government with direct access to our servers, systems, or network.”

  Like market researchers, but with far more privileged access, collection managers in the NSA’s Special Source
  Operations group, which oversees the PRISM program, are drawn to the wealth of information about their
  subjects in online accounts. For much the same reason, civil libertarians and some ordinary users may be
  troubled by the menu available to analysts who hold the required clearances to “task” the PRISM system.

  There has been “continued exponential growth in tasking to Facebook and Skype,” according to the PRISM
  slides. With a few clicks and an affirmation that the subject is believed to be engaged in terrorism, espionage
  or nuclear proliferation, an analyst obtains full access to Facebook’s “extensive search and surveillance
  capabilities against the variety of online social networking services.”

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According to a separate “User’s Guide for PRISM Skype Collection,” that service can be monitored for audio
when one end of the call is a conventional telephone and for any combination of “audio, video, chat, and file
transfers” when Skype users connect by computer alone. Google’s offerings include Gmail, voice and video
chat, Google Drive files, photo libraries, and live surveillance of search terms.

Firsthand experience with these systems, and horror at their capabilities, is what drove a career intelligence
officer to provide PowerPoint slides about PRISM and supporting materials to The Washington Post in order
to expose what he believes to be a gross intrusion on privacy. “They quite literally can watch your ideas form
as you type,” the officer said.

Poitras is a documentary filmmaker and MacArthur Fellow. Julie Tate, Robert O’Harrow Jr., Cecilia Kang
and Ellen Nakashima contributed to this report.

Graphic: NSA slides explain the PRISM data-collection program

Special Report: Top Secret America
Companies Turn to Switzerland for Cloud Storage Following NSA Spyi...   https://www.ibtimes.co.uk/business-turns-away-dropbox-towards-switzer...
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Amazon’s employee surveillance fuels unionization efforts: ‘It’s not prison, it’s work’

Jay Greene


“They basically can see everything you do, and it’s all to their benefit,” Brown said. “They don’t value you as a human being. It’s demeaning.”

That sentiment, that Amazon’s culture of surveillance constitutes inhumane working conditions, has become fuel for unionization efforts to organize hundreds of thousands of workers at the
country’s second-largest private employer. Union organizers who spoke with The Washington Post pointed to strict productivity goals and high-tech monitoring as major factors in driving
employees to seek representation.

The tech giant uses those scanners, along with computers at workstations and software developed to track their performance, to a degree that critics say is unlike any other company. High-
tech monitoring presses warehouse staff to meet onerous metrics and can lead to injuries, workers and regulators have said.

Workers behind the union efforts have focused significant energy countering the company’s tracking — something they also say stymies their efforts to organize.

Amazon’s surveillance of its workers even played a role in the decision by a National Labor Relations Board official to call for a new union vote at its Bessemer, Ala., warehouse Monday,
finding that the company improperly interfered in the first election. Workers earlier this year rejected unionization by more than 2-to-1 in one of the first major bids to organize at Amazon in
years.
Amazon’s employee surveillance fuels unionization efforts: ‘It’s not priso...                                     https://www.washingtonpost.com/technology/2021/12/02/amazon-workp...
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               The workers with whom The Post spoke said rates have fluctuated over time, often rising and falling with the availability of workers. Right now, with a tight labor market and Amazon
               scrambling to fill jobs, workers said the company has dialed back reprimands of workers not meeting targets, Hamilton said. Amazon’s Nantel disputes that the company’s enforcement of
               metrics changes with labor availability.

               Sheheryar Kaoosji, executive director of the Warehouse Worker Resource Center, an employee advocacy group in Ontario, Calif., said some pharmaceutical warehouses also closely monitor
               workers over concerns about theft, but no other company uses the sort of algorithms to track worker performance and to notify employees when they are coming up short.

               “It’s starting to spread but Amazon was much further ahead in that area,” Kaoosji said.

               Critics have said that Amazon’s use of data it gleans from monitoring has led to an injury rate at Amazon facilities that’s higher than industry norms. A Post analysis of Occupational Safety
               and Health Administration data this spring showed Amazon’s serious injury rates are nearly double those at warehouses run by other companies.

               In May, Washington state’s Department of Labor and Industries cited Amazon for the hazardous conditions at its warehouse in DuPont, Wash., calling out the company’s employee
               surveillance.

               “There is a direct connection between Amazon’s employee monitoring and discipline systems and workplace MSDs [musculoskeletal disorders],” according to the citation.

               The agency fined Amazon $7,000, though the company is appealing the citation, disputing its findings.

               Some of that scrutiny is also contributing to labor organizing.

               In late October, workers at the Staten Island Amazon warehouse filed their petition to hold a unionization vote, pressing for pay raises, increases to paid time off and vacation days, and
               longer breaks, among other grievances. They later withdrew the petition because they didn’t have enough signatures, but Smalls has said he plans to refile it. The indignities of constant
               monitoring also motivated workers to fight the company, said Smalls, the leader of the independent Amazon Labor Union.

               Smalls worked for Amazon for five years until he was fired last year after agitating for safer working conditions at the dawn of the coronavirus pandemic. Amazon said he was fired for
               violating a quarantine, since he had been in contact with a co-worker who tested positive.

               He worked as a manager overseeing workers who pick items off warehouse shelves to ship to Amazon’s customers. He walked through the cavernous warehouse as many as 30 miles a day,
               carrying a laptop that showed him how quickly pickers were doing their jobs, using data taken from scanners.

               “I was able to see what they were doing to the second,” Smalls said.

               Smalls noted that much of the time worker productivity slipped was during bathroom breaks: “I didn’t believe in the system.”




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Tech giants have to hand over your data when federal investigators ask. ...   https://www.washingtonpost.com/technology/2021/06/15/faq-data-subpo...
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                     Tech giants have to hand over your data
                     when federal investigators ask. Here’s why.

                     Jay Greene


                     SEATTLE — When the Trump administration’s Justice Department sought to ferret
                     out leakers, it turned to the tech giants where so much of our digital life is stashed.

                     Apple and Microsoft disclosed last week that the agency secretly subpoenaed
                     account data from members of Congress and aides to crack down on leaks during
                     the Trump administration. That followed recent disclosures to media organizations
                     including The Washington Post and the New York Times that the Trump Justice
                     Department had secretly sought reporters’ phone and email records in an effort to
                     identify the sources of leaks.

                     That information — which email addresses and phone numbers we use and when
                     we use them — can be crucial to piecing together a leak in a probe.

                     And there is little the tech giants can do but comply. Because these subpoenas can
                     come with a gag order, the companies were precluded from notifying customers
                     that information was turned over. The data gathering became public only after
                     those orders expired.

                     Here’s what you need to know.




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As Public Records Go Online, Some Say They're Too Public        https://www.nytimes.com/2001/08/24/nyregion/as-public-records-go-onl...
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                   As Public Records Go Online, Some Say
                   They're Too Public

                   Amy Harmon


                       • Aug. 24, 2001

                   See the article in its original context from
                   August 24, 2001, Section A, Page 1Buy Reprints

                   TimesMachine is an exclusive benefit for home delivery and digital subscribers.

                   A new Web site that makes New York City voter registration records -- including
                   home addresses -- freely available on the Internet has become the latest example of
                   a growing tension between the individual's right to privacy and the public's right to
                   public records in an electronic age.

                   As local, state and federal governments begin to make public records of all kinds
                   available online, easy electronic access to personal information is increasingly
                   raising concern. Advocates of open records see the Internet as a means to make
                   records like court proceedings and property rolls accessible to a wide group of
                   citizens. But privacy advocates worry that by making information like a neighbor's
                   home sale price or a battered woman's address or criminal allegations against a
                   prospective employee as convenient as the nearest computer, the Internet in effect
                   makes public records too public.

                   At www.registeredtovoteornot .com, any visitor can type in the last name and birth
                   date of anyone registered to vote in New York City and retrieve that person's
                   address and party affiliation. The site uses data that has always been publicly
                   available on paper at the Board of Elections, and more recently for a fee on compact
                   disc. Run by a nonprofit group called e-the People, the site is intended to encourage
                   voting by letting voters check their registrations, find the proper polling place, or
                   download a voter registration form.

                   But critics say the privacy risks of such an online system may actually discourage
                   voter registration -- particularly among celebrities, people who fear they are targets
                   of stalkers and those who might go out of their way to keep their addresses and
                   other personal information private.

                   ''This site in the long run will do a disservice to the people of New York,'' said Kim
                   Alexander, president of the California Voter Foundation and a longtime advocate of
                   using the Internet to encourage political participation. ''It's an example of the kind
                   of unintended consequences that can result with digital democracy projects.''

                   A handful of the 1,500 or so New Yorkers who have used the site since it was
                   unveiled last week have asked that their information be removed, according to e-the
                   People, which hopes to expand the service to other counties and states.

                   ''One of our personal frustrations living in New York is the difficulty in figuring out


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                   where you can vote,'' said Scott Reents, president of e-the People. ''We could have
                   said, 'Jjust put in your name or ZIP code,' but we felt there was a reasonable
                   assumption that only you, your family and closest friends know your birthday. The
                   potential for abuse is relatively low.''

                   Similar conflicts over the privacy implications of making records available online
                   that in the past were only available on paper are unfolding across the country. In
                   Pittsburgh, the Allegheny County Council is squabbling over a proposal to remove
                   property owners' names on the county's popular Web site showing assessments. In
                   New Jersey, the American Civil Liberties Union has complained to the state's
                   Division of Consumer Affairs about a Web site it began recently containing the
                   addresses of accountants, registered nurses and others who must register to obtain
                   a icense from the state.

                   The New Jersey A.C.L.U is also planning the latest in a series of challenges to state
                   governments that have begun publishing registries of sex offenders on the Internet.
                   At least 30 states now publish such information, which was previously made public
                   in far less accessible -- often only to residents in the vicinity of an offender's home.

                   The limited publication of such registries under what is known as Megan's Law, for
                   the 7-year-old New Jersey girl who was raped and killed by a sex offender who
                   moved into her neighborhood without her family's knowledge, has been widely
                   upheld. But the courts are so far divided about whether the electronic
                   dissemination of such information is legal.

                   In April, the United States Court of Appeals for the Ninth Circuit, based in San
                   Francisco, overturned Alaska's law, arguing that ''because the Internet is much
                   more accessible to the public than records at the police department,'' offenders
                   were much more likely to be subjected to ''obloquy and scorn.'' But courts in other
                   states have upheld similar statutes.

                   And in a move that could have the most far-reaching impact on public records, a
                   committee of federal judges last week concluded a closely watched investigation
                   into whether to make court proceedings electronically accessible. The group's
                   recommendation, to be voted on next month by the full conference of judges, is to
                   put the bulk of civil proceedings online, but to restrict criminal matters to paper,
                   because of concerns about protecting witnesses that cooperate with law
                   enforcement authorities.

                   At the hearings over the hotly contested matter, representatives of the press and
                   private investigators argued that the public's interest was best served by making
                   virtually all of the records available online.

                   Privacy advocates and dozens of individuals testified that online publication of
                   sensitive personal information like transcripts of interviews with children by state-
                   selected psychologists in custody cases or bank account information made them far
                   more vulnerable to identity theft or simply misuse by potential employers,
                   insurance companies, stalkers or others.

                   ''Historically, court records have been presumptively open to the public,'' said
                   Judge John W. Lungstrum, chief judge of the Federal District Court in Kansas, who
                   headed the judges' committee. ''On the other hand, because most people didn't
                   bother to go down to the courthouse to rifle through the files to see what allegations
                   might have been made against their neighbors, the result was only people with a


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As Public Records Go Online, Some Say They're Too Public        https://www.nytimes.com/2001/08/24/nyregion/as-public-records-go-onl...
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                   true interest in the matter ever bothered to access the material. We had to wrestle
                   with the loss of practical obscurity.''

                   The notion that public records are limited by a built-in assumption of ''practical
                   obscurity'' was first advanced by the Supreme Court in a case denying a reporter's
                   request for an F.B.I. rap sheet that compiled conviction records from several states
                   because it would constitute an unwarranted invasion of privacy. Although the
                   individual records were public, the court ruled that they were in a sense protected
                   by the barriers of time and inconvenience involved in collecting them.

                   The precedent of limiting public access to sensitive personal information collected
                   in government records was further endorsed by the Supreme Court last year when it
                   upheld a 1994 federal statute limiting the rights of states to sell individuals' motor
                   vehicle registration information without consent.

                   Now, privacy advocates argue, public records laws need to be re-examined in light
                   of the removal of such physical limitations as time, distance and expense.

                   ''At the time many of the public records laws on the books came about there was no
                   need to build privacy safeguards in because there was no threat,'' said Deirdre
                   Mulligan, director of the Law, Technology and Public Policy Clinic at the University
                   of California at Berkeley's law school. ''Now people are being forced to say those
                   government records contain some exceedingly detailed information about people's
                   personal lives, and the cost of public participation, certainly in elections, is not
                   appropriately going to be paid with our privacy.''

                   But for proponents of open records, the reflex to protect public records comes just
                   when technology could most benefit a public that needs access to such information
                   to monitor how the government is spending its tax dollars.

                   ''The greatest tool in the history of mankind toward promoting access is being
                   turned into this demonic force for the invasion of privacy,'' said Charles Davis,
                   executive director of the Freedom of Information Center at the Missouri School of
                   Journalism. ''We're equating ease of access with privacy, and to me they're two
                   different animals. Either a record is private or it's not.''

                   In some cases, the public may only just be learning from the Internet that records
                   are, in fact, public. The New York City Board of Elections, for instance, gets only a
                   handful of visitors a year requesting access to voter registration records, mostly
                   from the media, lawyers and genealogy groups, although political campaigns have
                   long made use of the data to send out fund-raising requests.

                   But Todd Valentine, special counsel for the New York State Board of Elections, said
                   there is no limitation on the use of the registration data: ''They are defined as public
                   records.''




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The Russia ad story isn’t just about Facebook. It’s about Google, too. - T...   https://www.washingtonpost.com/opinions/the-russia-ad-story-isnt-just-...
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  The Washington Post


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  Opinions

  The Russia ad story isn’t just about Facebook. It’s about Google,
  too.

  Opinion by Jason Kint
  October 31, 2017

  Jason Kint is the chief executive of Digital Content Next.

  As the Senate prepares to conduct hearings into how Russian actors may have influenced our elections, it is
  important that our elected officials demand full transparency from the large digital-platform companies —
  Google and Facebook. Russia’s use of digital platforms to manipulate the 2016 election revealed the power
  these companies now have over our political life, as well as the ways they have dodged the responsibilities that
  such power brings.

  To date, the bulk of public attention has focused on Facebook. But this is not just a Facebook story. This is as
  much, if not more, about America’s gatekeeper to news and information and by far the world’s dominant
  digital advertising platform: Google. As Congress convenes hearings aimed at shedding light on Russia’s
  attempts to interfere in our election, it is crucial that lawmakers demand from Google the full accounting that
  it has yet to provide voluntarily.

  The notion that Russia attempted to influence the 2016 election, but generally neglected Google is, on its face,
  absurd. Moscow is many things, but ignorant of the digital ecosystem isn’t one of them. And Google sits
  astride the digital world as a colossus.

  Google accounts for more than 79 percent of all desktop search traffic and more than 96 percent of all mobile
  search traffic worldwide. Thanks to its dominance, as well as its influence of the technological infrastructure
  that delivers ads to other sites across the web, Google now accounts for more than 40 percent of all digital
  advertising in the United States. In 2016, Google generated $79.4 billion in digital ad revenue worldwide.
  Google is also the owner of YouTube, which delivers 1 billion hours of video per day and reaches more
  Americans ages 18 to 49 than any cable network.

  So when Russia devised a plan to use digital platforms to interfere in our elections, Google could not have
  been peripheral. Yet we may never actually know how many political ads Russia or other foreign entities
  placed on Google during the 2016 election, because, while television stations and cable operators are subject
  to a wide array of federal oversight, no such rules apply to the king of search.

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  Why? Because some years back Google told the Federal Election Commission that ads on its platform are
  character-limited and, therefore, should be eligible for a regulatory exemption originally designed for things
  such as pencils and buttons that are physically too small to carry printed disclosures. Obviously, there is no
  physical limitation on a Google ad. Google simply prefers shorter ads. The FEC exemption was granted and
  the floodgate opened for any entity on the planet to place a political ad on Google with no disclosure
  requirements at all.

  So when Google claimed that Russian agents spent less that $100,000 on ads, how does it actually know that
  the sum wasn't larger? After all, Google never had to ask whether an ad was political in nature, nor the
  identity of the purchaser of that ad. The company needs to explain how it determined that number.

  In addition, Google shares advertising revenue with the content producers who run ads on their YouTube
  videos and on their websites through Google’s AdSense platform. But the company hasn’t disclosed how much
  money it paid through revenue-sharing to entities attempting to undermine our election.

  Over the past few years, Google and Facebook have consolidated their stranglehold over the digital
  advertising marketplace. Today, nearly 100 percent of all new digital advertising dollars in the United States
  go to these two companies frequently called the "Duopoly." The companies have skyrocketed in size and
  influence, in part due to the fact that they deliver an incredible suite of useful and valuable products but also
  because they are in a position to collect data about consumers at an unrivaled scale across the Internet. But
  neither company, nor the government have adjusted to the power that the Duopoly has acquired over what
  information is available and how consumers access it. The nation's focus on the Russia investigation now
  offers a unique opportunity to restore some balance. Congress needs to demand real answers and real
  accountability from Facebook and Google.


                                                                 31 Comments




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                   Google Is Tracking You On 86% Of The Top
                   50,000 Websites On The Planet

                   John Koetsier




                   Edit Story

                   Editors' Pick|Mar 11, 2020,12:06pm EDT|3,400 views




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                   John Koetsier is a journalist, analyst, author, and speaker.

                   Google is tracking website visitors on 86% of the top 50,000 websites on the planet,
                   according to a recent study from DuckDuckGo, the privacy-focused Google
                   competitor.

                   That’s over twice as many as Facebook.

                   In response, the company is releasing DuckDuckGo Tracker Radar, a dataset of
                   trackers that it collects as it spiders millions of websites for the DuckDuckGo search
                   engine. That dataset powers DuckDuckGo’s own privacy-centric browser extensions
                   and mobile apps, and can now be freely incorporated into any other company’s
                   privacy toolset.

                          The most common trackers on websites, from companies like Google,
                          Facebook, and Adobe.

                          The most common trackers on websites, from companies like Google,
                          Facebook, and Adobe.
                          DuckDuckGo

                   Currently, that dataset includes 5,326 different entities with trackers.

                   Other companies tracking your online movements include Adobe and Amazon, on
                   about 22% of those top sites, and other data and advertising-focused companies like
                   Rubicon, TowerData, and Oracle.

                          Using the Internet these days feels like being haunted by the ghosts of
                          browsing past. The shoes or headphones you shopped for yesterday are
                          following you around relentlessly today.


2 of 3                                                                                                                      2/28/2022, 4:22 PM
Google Is Tracking You On 86% Of The Top 50,000 Websites On The P...   https://www.forbes.com/sites/johnkoetsier/2020/03/11/google-is-trackin...
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                   The rationale is simple: knowing what you click on and where you go informs ad
                   networks about your needs and desires. When they know what you want, they can
                   place ads in your path for those products or services.

                   That sounds fairly innocuous, and it can be, but the problem is that at scale — and
                   on the open data market — you now have hundreds of virtual avatars in systems
                   that are not under your control. They’re profiles that match you to varying degrees:
                   age, location, ethnicity, interests, and potentially much more personal information.

                   In some cases, such as Google, advertisers can bid on audiences that include you
                   while never seeing your personal data. In other, less ethical cases, data collectors
                   might sell your profile to the highest bidder.

                   Only 19% of people use some form of tracker blocking, DuckDuckGo says.

                   "Too many people believe that you simply can't expect privacy on the Internet,”
                   DuckDuckGo said in a statement. “We disagree and have made it our mission to set
                   a new standard of trust online.”

                   Follow me on Twitter or LinkedIn. Check out my website or some of my other
                   work here.




                   I forecast and analyze trends affecting the mobile ecosystem. I've been a journalist,
                   analyst, and corporate executive, and have chronicled

                   ...

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Google Exposed User Data, Feared Repercussions
of Disclosing to Public; Google opted not to
disclose to users its discovery of a bug that gave
outside developers access to private data. It
found no evidence of misuse.
MacMillan, Douglas; McMillan, Robert . Wall Street Journal (Online) ; New York, N.Y. [New York, N.Y]. 08
Oct 2018: n/a.

  ProQuest document link




FULL TEXT
Corrections &Amplifications
Google, a unit of Alphabet Inc., exposed the private data of some users of its Google+ social network to outside
developers, but the company said it found no evidence that developers misused data. The phrase "data breach" in
a headline on an earlier version of this article could be interpreted as suggesting that data were misused. (Oct. 9,
2018)
Google exposed the private data of hundreds of thousands of users of the Google+ social network and then opted
not to disclose the issue this past spring, in part because of fears that doing so would draw regulatory scrutiny and
cause reputational damage, according to people briefed on the incident and documents reviewed by The Wall
Street Journal.
As part of its response to the incident, the Alphabet Inc. unit on Monday announced a sweeping set of data privacy
measures that include permanently shutting down all consumer functionality of Google+. The move effectively
puts the final nail in the coffin of a product that was launched in 2011 to challenge Facebook Inc. and is widely
seen as one of Google's biggest failures.
A software glitch in the social site gave outside developers potential access to private Google+ profile data
between 2015 and March 2018, when internal investigators discovered and fixed the issue, according to the
documents and people briefed on the incident. A memo reviewed by the Journal prepared by Google's legal and
policy staff and shared with senior executives warned that disclosing the incident would likely trigger "immediate
regulatory interest" and invite comparisons to Facebook's leak of user information to data firm Cambridge
Analytica.
Chief Executive Sundar Pichai was briefed on the plan not to notify users after an internal committee had reached
that decision, the people said.
The closure of Google+ is part of a broader review of privacy practices by Google that has determined the company
needs tighter controls on several major products, the people said. In its announcement Monday, the company said
it is curtailing the access it gives outside developers to user data on Android smartphones and Gmail.
The episode involving Google+, which hasn't been previously reported, shows the company's concerted efforts to
avoid public scrutiny of how it handles user information, particularly at a time when regulators and consumer
privacy groups are leading a charge to hold tech giants accountable for the vast power they wield over the
personal data of billions of people.
The snafu threatens to give Google a black eye on privacy after public assurances that it was less susceptible to
data gaffes like those that have befallen Facebook. It may also complicate Google's attempts to stave off


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unfavorable regulation in Washington. Mr. Pichai recently agreed to testify before Congress in the coming weeks.
"Whenever user data may have been affected, we go beyond our legal requirements and apply several criteria
focused on our users in determining whether to provide notice," a Google spokesman said in a statement.
In weighing whether to disclose the incident, the company considered "whether we could accurately identify the
users to inform, whether there was any evidence of misuse, and whether there were any actions a developer or
user could take in response," he said. "None of these thresholds were met here."
The internal memo from legal and policy staff says the company has no evidence that any outside developers
misused the data but acknowledges it has no way of knowing for sure. The profile data that was exposed included
full names, email addresses, birth dates, gender, profile photos, places lived, occupation and relationship status; it
didn't include phone numbers, email messages, timeline posts, direct messages or any other type of
communication data, one of the people said.
Google makes user data available to outside developers through more than 130 different public channels known as
application programming interfaces, or APIs. These tools usually require a user's permission to access any
information, but they can be misused by unscrupulous actors posing as app developers to gain access to sensitive
personal data.
A privacy task force formed inside Google, code named Project Strobe, has in recent months conducted a
companywide audit of the company's APIs, according to the people briefed on the process. The group is made up
of more than 100 engineers, product managers and lawyers, the people said.
In a blog post on Monday, Google said it plans to clamp down on the data it provides outside developers through
APIs. The company will stop letting most outside developers gain access to SMS messaging data, call log data
and some forms of contact data on Android phones, and Gmail will only permit a small number of developers to
continue building add-ons for the email service, the company said.
Google faced pressure to rein in developer access to Gmail earlier this year, after a Wall Street Journal examination
found that developers commonly use free email apps to hook users into giving up access to their inboxes without
clearly stating what data they collect. In some cases, employees at these app companies have read people's actual
emails to improve their software algorithms.
The coming changes are evidence of a larger rethinking of data privacy at Google, which has in the past placed
relatively few restrictions on how external apps access users' data, provided those users give permission.
Restricting access to APIs will hurt some developers who have been helping Google build a universe of useful
apps.
The Google+ data problem, discovered as part of the Strobe audit, was the result of a flaw in an API Google created
to help app developers access an array of profile and contact information about the people who sign up to use
their apps, as well as the people they are connected to on Google+. When a user grants a developer permission,
any of the data they entered into a Google+ profile can be collected by the developer.
In March of this year, Google discovered that Google+ also permitted developers to retrieve the data of some users
who never intended to share it publicly, according to the memo and two people briefed on the matter. Because of a
bug in the API, developers could collect the profile data of their users' friends even if that data was explicitly
marked nonpublic in Google's privacy settings, the people said.
During a two-week period in late March, Google ran tests to determine the impact of the bug, one of the people
said. It found 496,951 users who had shared private profile data with a friend could have had that data accessed
by an outside developer, the person said. Some of the individuals whose data was exposed to potential misuse
included paying users of G Suite, a set of productivity tools including Google Docs and Drive, the person said. G
Suite customers include businesses, schools and governments.
Because the company kept a limited set of activity logs, it was unable to determine which users were affected and
what types of data may potentially have been improperly collected, the two people briefed on the matter said. The
bug existed since 2015, and it is unclear whether a larger number of users may have been affected over that time.
Google believes up to 438 applications had access to the unauthorized Google+ data, the people said. Strobe


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investigators, after testing some of the apps and checking to see if any of the developers had previous complaints
against them, determined none of the developers looked suspicious, the people said. The company's ability to
determine what was done with the data was limited because the company doesn't have "audit rights" over its
developers, the memo said. The company didn't call or visit with any of the developers, the people said.
The question of whether to notify users went before Google's Privacy and Data Protection Office, a council of top
product executives who oversee key decisions relating to privacy, the people said.
Internal lawyers advised that Google wasn't legally required to disclose the incident to the public, the people said.
Because the company didn't know what developers may have what data, the group also didn't believe notifying
users would give any actionable benefit to the end users, the people said.
The memo from legal and policy staff wasn't a factor in the decision, said a person familiar with the process, but
reflected internal disagreements over how to handle the matter.
The document shows Google officials felt that disclosure could have serious ramifications. Revealing the incident
would likely result "in us coming into the spotlight alongside or even instead of Facebook despite having stayed
under the radar throughout the Cambridge Analytica scandal," the memo said. It "almost guarantees Sundar will
testify before Congress."
A range of factors go into determining whether a company must notify users of a potential data breach. There is
no federal breach notification law in the U.S., so companies must navigate a patchwork of state laws with differing
standards, said Al Saikali, a lawyer with Shook, Hardy &Bacon LLP. He isn't affiliated with any of the parties.
While many companies wouldn't notify users if a name and birth date were accessed, some firms would, Mr.
Saikali said. Some firms notify users even when it is unclear that the data in question was accessed, he said. "Fifty
percent of the cases I work on are judgment calls," he said. "Only about half the time do you get conclusive
evidence that says that this bad guy did access information."
Europe's General Data Protection Regulation, which went into effect in May of this year, requires companies to
notify regulators of breaches within 72 hours, under threat of a maximum fine of 2% of world-wide revenue. The
information potentially leaked via Google's API would constitute personal information under GDPR, but because
the problem was discovered in March, it wouldn't have been covered under the European regulation, Mr. Saikali
said.
Google could also face class-action lawsuits over its decision not to disclose the incident, Mr. Saikali said. "The
story here that the plaintiffs will tell is that Google knew something here and hid it. That by itself is enough to
make the lawyers salivate," he said.
In its contracts with paid users of G Suite apps, Google tells customers it will notify them about any incidents
involving their data "promptly and without undue delay" and will "promptly take reasonable steps to minimize
harm." That requirement may not apply to Google+ profile data, however, even if it belonged to a G Suite customer.
Newley Purnell contributed to this article.
Write to Douglas MacMillan at douglas.macmillan@wsj.com and Robert McMillan at Robert.Mcmillan@wsj.com
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* RIP Google+. We Hardly Knew Ye.
* Heard on the Street: Google Needs Political Savvy
Google Watch
A history of Google's privacy controversies
2004: Gmail
Gmail scanned messages and sold ads related to their content, a practice that privacy groups said was a violation
of user trust. Google responded that other email providers were already using computers to scan email to protect
against spam and hackers, and that showing ads helped offset the cost of its free service. In 2014, Google stopped
scanning inboxes of student, business and government users and last year said it was halting all Gmail scanning
for ads.
2010: Buzz


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Debut of Google Buzz was fumbled when the social site publicly displayed the contact lists of its users, leading to
a probe by the Federal Trade Commission. Google settled with the FTC in 2011 and agreed to undergo 20 years of
privacy audits by the agency. At the time of the settlement, Google said in a blog post that the Buzz launch "fell
short of our usual standards for transparency and user control."
2010: Street View
Google said its Street View camera cars collected private data through wireless networks while driving by people's
homes. Google stopped collecting Street View images in some countries as a result.
2013: Glass
Google Glass, a wearable computer headset with the ability to record video, was seen by some as a privacy
intrusion when people began wearing them into private spaces like bathrooms. Google stopped selling the device
to consumers and retooled it for professionals .
2013: Prism
Leaks revealed Google was part of a program called Prism , which allowed the U.S. National Security Agency to
collect data on internet users. Google denied it ever gave the government direct access to its servers.
2018: YouTube
Privacy groups complained YouTube violated a federal law protecting children's privacy by collecting data from
users under 13. The company said users under 13 aren't permitted to use YouTube. Google and the FTC have said
they will evaluate the complaint.
2018: Android
The Associated Press found that Google collects location data of Android users even after their "location history"
is turned off, a policy called misleading by privacy groups and lawmakers. Google told the AP that its descriptions
of its location tools are clear.
2018: Google+
A software bug gave outside developers access to the private user profile data of a half-million Google+ users, and
executives decided not to inform the public, partly out of fear of regulatory scrutiny. Google officials said the
incident didn't rise to the threshold of alerting users, and found no evidence any of the data were accessed..
Credit: By Douglas MacMillan and Robert McMillan


DETAILS

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N e t w o r k Security                                                                         N o v e m b e r 1994



                                                                         computer security Initiative.The
The Clipper Controversy                                                  N S A argued strongly that
                                                                         responslbllltyfor computer
                                                                         security was wlthln Itsdomain,
Wayne Madsen                                                             viewing Itas a sort of
                                                                         sub-domain of the
                                                                         communications security
Most of the attention on the Clipper Chip has focused on the             problem, The TOP SECRET
technical Issues surrounding escrowed encryption. The Clipper            memorandum         establishing the
programme represents much more than a $100 VLSlC                         N S A gave the organization
voice-grade microchip. In essence, Clipper represents a                  responsibility for protecting US
coordinated attempt to extend government's ability to                    communications through codes
eavesdrop on citizens In an Increasingly digital world of data           a n d ciphers. The second and
                                                                         more sinisterresponslbllity
superhighways, wireless networks, personal digital assistants,
                                                                         h a n d e d to the a g e n c y was
notebook-size computer terminals and Interactive video.                  communications surveillance.
                                                                         This isthe root of the problem
To understand fully the current          for authenticating and          with the Clipper proposal -- the
controversy we must examine              encrypting electronic mail      NSA views computer
the history of Clipper and its                                           surveillance as a natural a n d
likely future. In addition to the                                        legal right granted Itby
                                         The CATAPULT chip for
technical issues involved, the                                           President Truman in 1952.
                                         cable television set-top
equally important industrial and         boxes
social contexts of Clipper must                                          The issuance of the Orange
be discussed. The software           •   The v-chip for US televisions   Book (the Trusted Computer
component of Clipper, the                                                Security Evaluation Criteria) in
Skipjack algorithm and its digital                                        1983 was itself a sign of things to
                                         Escrowed encryption
cousin, the Capstone chip, are                                           come. The government agency
                                         programmes in the UK,
part of the overall escrowed                                             charged with developing
                                         France, Norway, Singapore,
encryption scheme. The Clipper                                           standards for computer systems
                                         Canada and Italy
programme is not just confined                                           had historically been the
to small microchips and secret                                           National Bureau of Standards
                                     In light of these programmes,
algorithms. Clipper has sister                                           (NBS) [now the National Institute
                                     the legal protection against
programmes that are designed                                             of Standards and Technology
                                     wanton electronic snooping
to extend government                                                     (NIST)]. NSA's problems with NBS
                                     becomes a mere paper
surveillance capabilities to the                                         went back to 1975 and the
                                     safeguard. This article will
international                                                            controversy surrounding the
                                     summarize various methods
telecommunications networks.                                             development of the Data
                                     that may be employed to
In this regard, the following                                            Encryption Standard (DES).
                                     defeat government-mandated
programmes are important to                                              Although it denies it, the NSA
                                     escrowed encryption. These
the overall desire of                                                    forced the NBS and the
                                     include the use of
governments around the world                                             designer of the DES algorithm,
                                     non-escrowed encryption
to monitor telecommunications.                                           IBM, to scale the DES key length
                                     software, attacking the law
                                                                         back to 56 bits from its original
                                     enforcement access field
 •   The US Digital Telephony                                             128-bit LUCIFER key length. 1 NSA
     Amendment                       (LEAF) authentication block
                                                                         contends that it merely
                                     and pre-encryption before
                                                                         requested IBM to shorten the
     The Federal Bureau of           encryption by escrow systems.
                                                                         key length. Anyone familiar with
     Investigation's Operation                                           the NSA knows that a request
     Root Canal                      Predecessor of Clipper              by NSA is tantamount to a
                                                                         direct order. The NSA viewed
 •   The Digital Signature           Clipper's roots extend to 24th      DES as a potential problem for
     Standard (DSS)                  October 1952 when President         its Cray computers to break in
                                     Harry Truman signed an              the amount of time necessary
 •   The extension of US export      executive and TOP SECRET            to make any intelligence
     controls on cryptography        code word memorandum                gleaned from the data useful to
                                     establishing the NSA. Ever since    NSA consumers (i.e. other
     The increased role of the       that autumn day, the NSA has        intelligence agencies]. Rear
     Carnegie-Mellon-based           been chartered by presidential      Admiral Bobby Ray Inman, the
     Computer Emergency              authority to exercise virtual       Director of the NSA at the time
     Response Team (CERT) as a       dictatorial control over the use    of the drafting of the Orange
     central manager of Internet     of codes and ciphers in the
                                     United States and abroad.
     The joint National Security
                                     In 1978, the Department of          ~Statement to the author from a former
     Agency (NSA)-US Postal                                              IBM official involved with the
     Service MOSAIC program          Defense officially launched its     d e v e l o p m e n t of LUCIFER a n d DES,




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Book, had a bitterdislikefor the      The Computer Security Act of         National Democratic
National Bureau of Standards          1987 was thought to have             Committee headquarters
(NBS) and the Department of           resolved the turf battle             located in an office complex
Commerce, itsparent                   between the NSA and NIST, NSA        called Watergate. By 1974
department. Inman was                 would have responsibility for        Nixon had resigned and the
disgusted over the amount of          classified information systems       NSA's involvement in domestic
technical information that            and classified encryption            surveillance was a thing of the
C o m m e r c e routinelyprovided     systems while NIST would retain      past.
to foreign governments                responsibility for unclassified
(includingthe Soviet Union)           computer and encryption              In 1991, the old tenuous
through the National                  systems. The Computer Security       alliance b e t w e e n the NSA and
Telecommunications and                Act, a victory for the anti-NSA      FBI b e g a n to germinate once
Information Administration            lobby, seems to have only            again. The FBI, with the support
(NTIA).                               exacerbated the tension. The         of Attorney-General William
                                      follow-on to NSDD-145, National      Barr, sought to slip language
Inman and his cabal of                Security Directive 42, signed by     into two Congressional bills that
supporters within the NSA and         President Bush in 1990, was said     would require "providers of
the Department of Defense             to codify the division of            electronic communications
began to pressure the White           responsibilities between the NSA     services and manufacturers of
House under President Carter          and NIST. The NSA was anointed       electronic communications
and then President Reagan to          with the responsibility of           systems to permit the
put the brakes on the free flow       providing 'technical assistance'     government to obtain the plain
of technical Information to the       to NIST. Almost immediately the      text contents of voice, data
Soviet bloc. Although Inman left      two agencies clashed over the        and other communications
the NSA in March 1981, his            future of the DES. NIST, which       when appropriately authorized
cause was soon taken up by            had recertified DES in 1988, had     by law". Virtual turn-key access
the Assistant Secretary of            every intention of recertifying it
Defense for Command, Control,                                              to the nation's digital
                                      in 1993. The NSA, which had          telecommunications network
Communications and                    tried to sink DES in 1988, was
intelligence (C31), Donald                                                 was equally viewed with alarm
                                      trying to replace it with its own    by privacy advocates and by
Latham. In September 1984,
                                      new encryption devices for           most members of the US
Latham and Inman's successor
as the NSA Director, Gen.             unclassified use, what it called     telecommunications industry.
Lincoln Faurer, convinced             Low-cost Encryption                  The FBI responded by claiming
President Reagan to sign              Authentication Devices (LEADS).      that its 'Digital Telephony
National Security Decision                                                 Amendment' was merely to
Directive (NSDD-145). This            Domestic surveillance: back to       ensure its continued capabilities
directive e m p o w e r e d the NSA   the future                           to perform wiretaps under the
and other Intelligence agencies                                            provisions of a 1968 wiretap law
to create a new level of              As early as 1967, the NSA            officially known as the Omnibus
classification for information                                             Crime Control and Safe Streets
                                      b e g a n to eavesdrop on certain
within the United S t a t e s -                                            Act (Title III). In a 23rd March
                                      domestic telecommunications
Sensitive Unclassified                                                      1992 message from FBI Director
information (or 'N' data). The        in concert with the FBI. The
                                      reason was to c o m b a t drug        William Sessions to all FBI field
private sector was to comply                                               offices, he explained that the
with this directive by allowing       dealers. Although the relations
                                      between the NSA and the FBI          FBI had "numerous meetings
the government to dictate
                                      under its Director, J. Edgar          with executives and technical
dissemination and use policies
for certain unclassified              Hoover, were less than cordial,      personnel from the major
information. Included in this         this mutual cooperation              companies that provide
category was the public's use         programme soon started to            telephone service and
of cryptography which the NSA         target US citizens for telephonic    manufacture telephone
saw as a threat to national           surveillance. Of special interest    switching equipment in an
security. NSDD-145 gave the           were black power groups and           effort to find a technical
NSA authority to make                 anti-Vietnam War protesters.         solution to the digital telephony
cryptographic systems                 The operation was known as            problem." When Sessions and
available to certain sectors of       MINARET and it was classified         his surveillance protagonists
private industry on a controlled      TOP SECRET(code word TRINE).          were rebuffed, he stated to the
basis. Conceivably, if one could      The programme was continued           FBI field offices that President
not produce a valid reason to         under the Nixon administration.       Bush recently authorized the
 use cryptography, NSDD-145           Its most ardent supporters            Attorney General to seek
would prevent them from using                                               legislation that will force a
                                      included the names
it to protect their                                                         technical solution. The FBI's
                                      Ehrlichman, Haldeman, Mitchell
communications. Although                                                    programme to force the
 NSDD-145 was later rescinded,        and Dean - - ironically these
                                      individuals would be brought          telecommunications industry to
herein we find the seed of the                                              grant it online access to their
Clipper chip.                         down by their involvement in
                                      the electronic surveillance           networks was c o d e - n a m e d
                                      operations directed against the       Root Canal, by the FBI and it



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would prove to live up to its        inauguration, on 16th April 1993,    NSTAC is charged with
name by being a painful              that key escrow was                  overseeing the development of
exercise.                            announced as a proposed              security controls for the National
                                     standard. Many Clinton               Information infrastructure (Nil).
When President Clinton               administration supporters of the     NSTAC brings together
assumed office, he rushed to         Clipper proposal c o n t e n d e d   members of the US
please the law enforcement           that they merely inherited it        telecommunications industry
establishment and intelligence       from the Bush administration.        and the nation's largest
community at a frenetic pace.        Overlooked by the Clinton            Intelligence agencies. To look
After all, Clinton's own             stalwarts was the fact that          at the membership of NSTAC
commitment to national               senior levels within the Bush        one might conclude that
security was subject to doubt.       administration had serious           commercial
 By giving the police and the        reservations about the propriety     telecommunications networks
spies what they wanted he            of Clipper. Notwithstanding the      could be defined as 'federal
could avoid being viewed as          arguments about how Clipper          communications systems'.
soft on crime and national           would assist law enforcement,        Members of NSTAC include
security. However, the Clinton       at least one senior member of        chief executive officers and
administration and his new           the Bush White House was             board chairmen of Sprint, GTE,
Attorney General, Janet Reno,        concerned about the adverse          US West, the US Telephone
were obviously aware that as a       effect that Clipper would have       Association (USTA), Northern
result of the FBI Director's         on the telecommunications            Telecom and PacTel. NSTAC has
request, the FBI Special Agent in    and computer industries. Even        been charged with developing
Charge (SAC) In Newark, New          though Clinton had been              access and privacy rules for US
Jersey, inquired as to the           endorsed by several Silicon          telephone networks with a view
problems faced by the law            Valley chief executive officers,     toward ensuring national
enforcement community of             the administration seemed            security and emergency
New Jersey with regard to            intent on forcing a government       preparedness (NS/EP). Clipper
telecommunications                   standard down the throats of         and key escrow have figured
technology hindering wiretaps.       those who had come to their          prominently in this process. A
In a FBI message from FBI SAC        aid during the campaign. Lost        30th April 1993 letter (partly
Newark to the FBI Director           on the dispirited Clinton            redacted) from Acting Deputy
dated 27th March 1992, it was        supporters at Apple, Silicon         Assistant Secretary of Defense
revealed that none of New            Graphics and Hewlett-Packard         for Counterintelligence and
Jersey's law enforcement             was the fact that Clinton and        Security Countermeasures to
agencies experienced any             his administration favours strong    the Acting Assistant Secretary of
problems with effecting              government regulations often         Defense for Command, Control,
court-ordered wiretaps. These        times at the expense of big          Communications and
agencies included the New            business.                            Intelligence stated that
Jersey State Police, Electronic                                           President Clinton had directed
Surveillance Unit; the Newark        Never before had a federal           the Attorney General to
Drug Enforcement                     standard been initiated directly     "request that manufacturers of
Administration (DEA); the New        as a result of a presidential        communications hardware use
Jersey Attorney's General            directive. In this case, President   the trap door chip, and at least
Office, Division of Criminal         Clinton signed a directive on        AT&T has been reported willing
Justice; the Newark Internal         'Public Encryption                   to do so (having been suitably
Revenue Service ORS) and the         Management' that directed            incentivised by promises of
New Jersey State Police,             the Department of Commerce           Government purchases)." The
Technical - South Division. It was   to "initiate a process to write      Clinton administration
clear, therefore, that digital       standards to facilitate the          understood that by forcing
telephony access by the FBI          procurement and use of               industry to a d o p t a standard,
was being requested to forestall     encryption devices fitted with       the mere purchasing power of
future problems and not              key-escrow microcircuits in          the federal government would
because of any past problems         'federal communications              inevitably lead to widespread
involving wiretapping and new        systems' that process sensitive      industry a c c e p t a n c e .
technology.                          but unclassified information."
                                     Inevitably, the question of what     At the same time the Clinton
The Clipper conundrum                defines a 'federal                   administration decided to
                                     communications system' must          embrace Clipper, NIST
                                     be raised. There is a secret and     doggedly pursued the
Although development of the
                                     high-level panel within the          a c c e p t a n c e of the Digital
Clipper and Capstone key
                                     federal government known as          Signature Standard (DSS) as an
escrow encryption chips and
                                     the President's National Security    approved federal standard. In
their related classified
                                     Telecommunications Advisory          August 1991, NISTannounced
algorithm, Skipjack, began in
                                     Committee (NSTAC).                   that it had selected the Digital
earnest during the Bush
                                                                          Signature Algorithm (DSA) as
administration, it was merely
                                                                          the basis for the DSS. The DSS, as
three months after Clinton's



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advertised by NIST, would             algorithm, Skipjack, was            16-bit checksum as a
provide for authentication of         developed in secret by the          self-authentication mechanism.
electronic messages. However,         NSA, technical experts              By generating one's own 16-bit
unlike the rival Rivest, Shamir,      questioned the validity of the      checksum, outsiders could
Adleman (RSA) public key              key escrow scheme employed          substitute a bogus checksum
algorithm, data encryption is         by Clipper/Capstone. Clipper's      for a valid one. When law
not provided by DSS. The DSA          80-bit key is escrowed through      enforcement agents attempted
was developed by the NSA and          the use of a Law Enforcement        to d e c o d e the LEAF c o d e they
its patent is held by an              Access Field (LEAF). Once the       would be confronted by
employee of that agency.              police have the LEAF at their       unintelligible gibberish. Some
Many critics of the DSS               disposal they would submit it to    members of scientific
c o n t e n d e d that law            two 'independent' escrow            community who had been
enforcement and the                   agents. On 4th February 1994,       noncommittal on the social,
intelligence community wanted         the Clinton administration once     economic and political aspects
to promulgate their own digital       again incurred the wrath of         of Clipper roundly c o n d e m n e d
signature standard in order to        Clipper opponents by naming         the NSA technical
increase the monitoring of            two executive level agencies as     development of Clipper,
international financial               the 'independent' escrow            Skipjack and LEAF as
transactions. The post-Cold War       agents: NISTand the                 amateurish.
search by the intelligence and        Automated Systems Division of
counter-intelligence agencies         the Department of the Treasury.     Matt Blaze actually discovered
for a new mission contributed to      Clipper opponents pointed out       the flaw in the Clipper LEAF
their support for a digital           that NISTwas already                while analyzing a
signature trap door 'looking          considered compromised              NSA-developed
glass' able to examine complex        because of their previous           PC MCIA-compatible smartcard
financial flows at will.              fronting for NSA on the DSS and     that contained the Capstone
                                      the escrowed encryption             chip, The card, c o d e - n a m e d
Throughout 1993 and 1994              standard which was formally         Tessera by NSA, would permit
Clipper was c o n d e m n e d by an   approved as Federal                 the escrowed encryption of
odd coalition of the                  Information Processing              cellular devices and personal
telecommunications/computer           Standard (FIPS) 185 on the same     computers.
industries and civil libertarian,     day that the two escrow agents
computer hackers and                  were named. Not much was            The significance of the Tessera
conservative groups. The              known about the                     program was that the
telecommunications and                 'independence' of the              government's surveillance
computer industries saw               Department of the Treasury, but     capability would be extended
Clipper, along with continued         the presence of at least one        to encrypted computer files
US export controls on                 former NSA employee in the
                                                                          and programs resident on PC
encryption products, as               ranks of the Treasury hierarchy     workstations as well as laptop
adversely affecting their             caused concern. The Treasury
                                                                          and notebook computers. The
business and profits. Civil           Department was also the home        NSA surveillance programme
libertarians saw it as a further      of the dreaded Bureau of            for information technology
encroachment on First                 Alcohol, Tobacco and Firearms       does not end with Tessera. In
Amendment rights. Computer            (BATF) which demonstrated its       1993 it was also announced
hackers (here I use the term          commitment to civil liberties       that NSA's MOSAIC program,
affectionately), were using a         when they attacked and              an attempt to provide
multitude of file encryption          allegedly destroyed the Branch
                                                                          value-added security services
programs [e.g. Pretty Good             Davidian compound in Waco,         for unclassified but sensitive
Privacy (PGP) and Privacy             Texas one year earlier resulting    information, had other targets
Enhanced Mail (PEM)] to                in the deaths of over 80 people.   of opportunity in mind. One of
communicate across                                                        these turned out to be
 'cyberspace'. They saw Clipper       In June 1994, Matt Blaze, a         electronic mail.
as a bold attempt to limit their      research scientist at AT&T Bell
right of free speech and be           Laboratories, discovered a flaw     Through the use of
subject to constant                   in the Skipjack algorithm which     Capstone-infected Tessera
government monitoring of their        would permit scrambling the         cards, users could be assured of
computer communications.              LEAF. This would have the effect    confidentiality, data integrity,
 Conservative groups saw it as        of preventing law enforcement       non-repudiation and
one more Achilles heel for the        agencies from presenting            authentication services through
 Clinton administration as a          intelligible LEAF data to           an X.500/X.509 certificate
 result of their efforts to expand    Clipper/Capstone escrow             m a n a g e m e n t hierarchy. NSA,
 an already bloated Federal           agents. Blaze uncovered the         quite aware that it could not
government.                           properties of the LEAF creation     serve as the electronic mail
                                      method, which had been              certificate authority, found
In addition to the fact that          classified by the NSA. Noting       another willing surrogate in the
Clipper's implementing                that the LEAF used a weak           US Postal Service. One MOSAIC



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proposal would h a v e the US                permitting certain programmes              Valley chiefs who had endorsed
Postal Service a c t as the                  to be blocked from viewing by              Clinton for president In 1992. The
electronic mall certificate                  c o n c e r n e d parents. It does not     a n n o u n c e m e n t showed some
authority for message                        take too much thinking to                  signs that It s u c c e e d e d In Its
encryption and authentication.               realize that In an Interactive             goal. Some members of the US
All operating systems, Including             television environment, the                software industry lauded the
DOS, Windows, Windows NT,                    Federal government could                   administration for its 'new
SCO Unix, Sun OS, Solarls, HP-UX,            easily share this capability with          stand'. It was also an obvious
OS/2, VAX/VMS and Macintosh,                 the parents of young children. It          a t t e m p t to p l a c a t e
would be supported along with                would not take too much                    Representative Cantwell whose
all popular electronic mail                  imagination to ponder a future             Washington State district
application programs Including               presidential election: "Citizens of        included the headquarters of
Lotus Notes, Microsoft Mall,                 the United States: because of              Microsoft Inc. A few days
cc:mail and daVlncl mail.                    the insensitivity shown our                before the White House
Tessera was also thought to                  President by the opposition                a n n o u n c e m e n t on Clipper, the
provide a potential basis for a              political party, c o v e r a g e of        US Justice Department had
super-powerful US national                   their national convention will             a c h i e v e d an out-of-court
identity card. In July 1994 such             not be seen tonight. Any                   settlement with Microsoft on
a proposal was floated by a                  a t t e m p t to remove or otherwise       unfair trade practices. Although
panel appointe_d by the Clinton              t a m p e r with your V chip will be       Microsoft was forced to c h a n g e
administration. 2 NSA also has a             d e t e c t e d and m a y result in your   some of its competitive
program to provide its form of               criminal prosecution under the             procedures there was an
encryption for asynchronous                  child protection laws of the               understanding that its huge
transfer m o d e (ATM)                       United States of America."                 overseas marketing successes
communications. This program                                                            should not be adversely
is c o d e - n a m e d FASTLANE.             The 21st July 1994 issue of The            affected. The White House
                                              Washington Postcarried a front            a n n o u n c e m e n t a few days
The Clinton administration                    p a g e story entitled,                   after the settlement included a
v i e w e d the existing c a b l e           "Administration Steps Back On              statement that the Federal
television network, along with                Computer Surveillance: 'Clipper           g o v e r n m e n t would study how
the national                                 Chip Use to be limited to                  export controls on software hurt
telecommunications network,                   Phones'." Announcing that                 the US economy.
as a natural base for the                     Clipper chips would be limited
proposed Nil. Concerned that                 to phones is like saying                   Export controls and the
interactive television                       automobiles are limited to                 international impact of Clipper
communications might be left                 driving. The Clipper chip itself
out of the surveillance e y e of             was only designed to be used               Practically everyone, apart
the NSA, the Clipper forces                  with phones. The article did not           from the intelligence and law
c o n v i n c e d the US c a b l e           mention once the d a t a                   enforcement communities,
industry to install Capstone                 encryption cousin of Clipper,              view continued US export
chips inside c a b l e television 'set       Capstone. A chorus of Clinton              controls on computers,
top' boxes. This initiative was              supporters hailed the                      telecommunications and
c o d e - n a m e d CATAPULT. This           a n n o u n c e m e n t by exclaiming      software as arcane. Any
term was fitting since it would              that "Clipper is dead'". Vice              seasoned observer of the
c a t a p u l t Clipper into the living       President Gore who m a d e the            political scene in Washington
rooms a n d bedrooms of millions             a n n o u n c e m e n t in a letter to     would agree that when the
of US citizens. It was not the first         Representative Cantwell of                 Majority Leader of the House of
a t t e m p t to p l a c e surveillance      Washington State, said that                Representatives, the Minority
technology inside television                 Capstone-type d a t a encryption           Whip of the House, the
sets. Attorney General Rend, a               would be voluntary (the                    Chairman of the House
c h a m p i o n of television                administration had always                  Subcommittee on Economic
censorship when programmes                   maintained this was the case               Policy, Trade and Environment
b e c o m e too violent for her              with the Clipper chip) and that            and the ranking minority
tastes, launched an initiative in            Capstone-type d a t a encryption           m e m b e r of that same
1993 to p l a c e a d e v i c e called       would be exportable [this                  c o m m i t t e e all sign a letter to
the "v' chip Inside televisions              groundwork had already been                the President outlining their
                                             laid by the NSA international              opposition to US export control
                                             marketers of PC MClA d a t a               policies, the President would
2The dictionary definesTesseraas a small     encryption chips). The White               listen and a c t on the request. In
tablet or die used by the ancient Romans     House statement was not a                  f a c t on 20th September 1993,
as a ticket, tally, voucher or meansof       retrenchment by any means. It              Majority Leader Richard
identification.In reality,such ticketswere   was merely an a t t e m p t to buy
actually tilesthat were used by slavesto                                                Gephardt, Minority Whip Newt
identifythemselves.When an individual        time. Knowing that if had                  Gingrich, Chairman Sam
could not produce such a tile they were      alienated the computer                     Gejdenson and ranking minority
imprisoned and usuallyexecuted. The          software and hardware                      m e m b e r Toby Roth, all signed
dictionary also definesTesseraas a tile      industries, including those Silicon
often used in mosaic work.                                                              such a letter to President



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Clinton. The congressional               democratic ones are expressing         news to those who had
leaders called for decontrol on          concern over the Impunity with         followed such incidents for the
exports of telecommunications            which computer users can               past 10 years, It had the desired
equipment, computers and                 transmit messages, programs,           effect on Congress which went
mass market software. Two                photos and even voice and              along with a Defense
months later Representatives             video over a complex network           Department spending increase
Cantwell and Manzullo                    of computer hosts. Computer            on network security from some
introduced H.R. 3627 in the              users who encrypt their                $19 million In fiscal year 1994 to
House which called for                   communications represent a             between $500 million and $1
                                         significant threat to                  billion for fiscal year 1995. It was
amending the Export
                                                                                also discovered that the FBI was
Administration Act of 1979               governments but not the only
                                                                                e n g a g e d in extraterritorial
removing computers, software             threat. International                  investigations of Internet
and information technology               communities of Interest can            break-ins and, in some cases,
(including encryptlon) from the          rally supporters via Internet to       these were done without the
munitions control list. The result       protest a number of                    knowledge of local police
of this was a continued                  government policies.                   authorities. This was apparently
commitment by the Clinton                Environmentalists can use              the case in the UK with an
administration to the status quo         Internet to plan disruptions of        investigation of Edinburgh
visa vis export controls on              Norwegian whaling fleets,              University computer students in
information technology.                  international shipments of             July 1994.
                                         nuclear materials and World
Not only was the status quo              Bank-financed projects to              Summary
maintained but the NSA began             defoliate the Amazon basin.
to market its escrowed                   The Tibetan Government, in             Using a computer to
encryption technology                    exile from its headquarters in         communicate, perform
overseas. The Deputy Director            Dharamsala, India, can                 research, write novels, develop
of NSA for Information Security          organize simultaneous                  codes and ciphers and even
was moved from NSA                       anti-Chinese protests at               coordinate the overthrow of
headquarters to the UK to                Chinese embassies worldwide            despotic regimes should be as
convince the UK's NSA                    from its Internet connections.         free of government intrusion,
counterpart, the Government              The Computer Professionals for         control and surveillance as
Communications Headquarters              Social Responsibility (CPSR) can       listening to music on one's own
[GCHQ), to endorse a                     even use Internet to distribute        compact-disk player.
Clipper-like scheme for the UK.          an anti-Clipper chip petition          Government-required use of
Other NSA employees and                  and electronically gather over         escrowed encryption systems
                                         55 000 signatures.                     can be undermined by simply
surrogates quietly a p p r o a c h e d
                                                                                not agreeing to use such
other countries with                                                            technology. Continued use of
international Clipper chip               The United States government
                                                                                DES, RSA, IDEA, FEAL, PEM and
technology using, amongst                had reacted to the public's
                                                                                PGP can put a damper on
other techniques,                        increasing use of Internet by
                                                                                government plans to dictate
PC MClA-compatible                       arguing for centralized                use of trap door technology. If
smartcards with 'drop in'                management of Internet                 such technology is mandated,
national flag escrowed                   resources. The government's
                                                                                one merely has to use
encryption chips. France,                chief proponents are found in          non-escrowed encryption prior
Germany, Canada, Australia,              the Computer Emergency                 to its encryption by an
Singapore, Italy, the                    Response Team (CERT), based            escrowed mechanism.
                                         at Carnegie-Mellon University in       Subsequent government
Netherlands, Norway and
                                         Pittsburgh; the Defense                access to escrowed ciphertext
Japan were all interested in
                                         Information Systems Agency             remains ciphertext. Mahatma
such technology to varying               (DISA), based in Washington;
degrees. The NSA seemed to                                                      Gandhi, Martin Luther King, the
                                         the Department of Energy,              Dalai Lama, Lech Walesa,
be arguing that although                 which has its own computer
encryption technology like DES,                                                 Vaclav Havel, Aung San Suu Kyi
                                         incident advisory team; the FBI,       and Nelson Mandela have all
RSA, IDEA, PGP and PEM was               which has a computer crime
available throughout the world,                                                 shown us ways to defeat and
                                         squad based in San Jose,               embarrass despotic regimes. If
users and vendors would be               California; the US Secret Service      despots, through whatever
more willing to avail themselves         which has a computer crime             mechanism, attempt to force
of escrow encryption                     task group based in                    their diktats on computer users
technology.                              Washington; NISTand last, but          worldwide, there must be a
                                         not least, the NSA. In June and        clear and unequivocal
Control of Internet                      July 1994, this c a c o p h o n y of   electronic disobedience
                                         players b e g a n a public             campaign. Refusing to a c c e p t
                                         relations campaign to convince         escrowed encryption may be
Governments are concerned                the government that domestic           the first milestone in that
over the extent to which the             and international hackers were
Internet has b e c o m e ubiquitous                                             campaign.
                                         breaking into sensitive military
around the world. Not only               computers tied to the Internet.
totalitarian governments but             While this was certainly not



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March/April 2014
ESSAY


Privacy Pragmatism
Focus on Data Use, Not Data Collection

Craig Mundie
CRAIG MUNDIE is Senior Adviser to the CEO of Microsoft and the company’s former Chief Research and
Strategy Officer.

Ever since the Internet became a mass social phenomenon in the 1990s, people have worried about its effects on their
privacy. From time to time, a major scandal has erupted, focusing attention on those anxieties; last year’s revelations
concerning the U.S. National Security Agency’s surveillance of electronic communications are only the most recent
example. In most cases, the subsequent debate has been about who should be able to collect and store personal data
and how they should be able to go about it. When people hear or read about the issue, they tend to worry about who
has access to information about their health, their finances, their relationships, and their political activities.

But those fears and the public conversations that articulate them have not kept up with the technological reality.
Today, the widespread and perpetual collection and storage of personal data have become practically inevitable. Every
day, people knowingly provide enormous amounts of data to a wide array of organizations, including government
agencies, Internet service providers, telecommunications companies, and financial firms. Such organizations -- and
many other kinds, as well -- also obtain massive quantities of data through “passive” collection, when people provide
data in the act of doing something else: for example, by simply moving from one place to another while carrying a
GPS-enabled cell phone. Indeed, there is hardly any part of one’s life that does not emit some sort of “data exhaust”
as a byproduct. And it has become virtually impossible for someone to know exactly how much of his data is out there
or where it is stored. Meanwhile, ever more powerful processors and servers have made it possible to analyze all this
data and to generate new insights and inferences about individual preferences and behavior.

This is the reality of the era of “big data,” which has rendered obsolete the current approach to protecting individual
privacy and civil liberties. Today’s laws and regulations focus largely on controlling the collection and retention of
personal data, an approach that is becoming impractical for individuals, while also potentially cutting off future uses
of data that could benefit society. The time has come for a new approach: shifting the focus from limiting the
collection and retention of data to controlling data at the most important point -- the moment when it is used.
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USER ILLUSION

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When manipulation is the digital business model

Murgia, Madhumita . FT.com ; London (May 1, 2019).

  ProQuest document link




ABSTRACT (ENGLISH)
“[Tech companies] recognise the irrational side of human psychology and exploit that, persuasively designing it to
their own end, which is attention,” says James Williams, a researcher at Oxford University who previously worked
for Google and now studies questions of free will in the digital world. [...]there is an incentive to resort to
manipulation — including dark patterns — to boost audience engagement and, through that, the amount
advertisers will pay to reach all those eyeballs. (Poulson left Google last August in protest over its China search
engine.) So the next time you discover unexpected charges on your card for a “free trial” you thought you’d
cancelled, or click on a news story that’s really an advert, try not to blame yourself.


FULL TEXT
We’ve all had that sinking feeling when you realise you’ve signed up for something online that you never meant to.
Maybe a barrage of marketing spam you accepted by failing to tick a tiny box you never saw. Or perhaps you got to
the last step of the checkout process on a shopping site, only to discover extra charges.
These little design tricks have a name: dark patterns. They’re the subtle ploys many digital companies use to
manipulate you into doing something, such as disclosing personal or financial details.
Often, designers exploit loopholes in human psychology. They might use colours such as red and green
interchangeably, to wrongfoot assumptions about consistency, or make “cancel” options less conspicuous by
rendering them in grey, or smaller.
Harry Brignull, a user-experience consultant, has created a website listing 11 dark pattern types to watch out for. A
“roach motel” is when the design makes it simple to sign up but hard to cancel (for example, a subscription);
“disguised ads” masquerade as content that isn’t trying to sell you something; and “privacy Zuckering” —named
after Facebook CEO Mark Zuckerberg —is the trick of getting you to overshare data.
Brignull’s site has a Hall of Shame filled with examples of trickery —such as when, in 2016, Microsoft
recommended users of older versions of Windows to upgrade to Windows 10. Clicking the “x” button, which usually
closes the dialogue box, actually downloaded the software —a classic “bait-and-switch” in Brignull’s taxonomy.
Last month, investigative journalism site ProPublica unearthed another example. It revealed how Intuit, an
accounting software company, in effect tricks Americans into paying to file their taxes each year, even though they
qualify for a fully free service.
These deceptive practices serve to boost revenue: thousands of hard-to-cancel subscriptions generate a lot of
income. But the ultimate aim is to lock in more users.
“[Tech companies] recognise the irrational side of human psychology and exploit that, persuasively designing it to
their own end, which is attention,” says James Williams, a researcher at Oxford University who previously worked
for Google and now studies questions of free will in the digital world. “At the end of the day, that’s their business
model.”
To consumers, companies such as YouTube, Google and Twitter provide a service —be it entertainment or
information. But, as Williams points out, advertising is what they actually sell. So there is an incentive to resort to
manipulation —including dark patterns —to boost audience engagement and, through that, the amount advertisers


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will pay to reach all those eyeballs. “Whole forms of media are designed according to the incentive structures and
logic of advertising,” Williams says.
No segment of the audience is exempt from this logic. Last year, Jack Poulson, a computational scientist, was
asked to work on a project to improve YouTube recommendations based on conversational queries. The team
knew that adults generally use search keywords that computers understand, but that children use natural
language. So the team was given a data set of searches done by children to train a recommendation model on.
“The whole point of modelling children better is to manipulate them better through advertising,” Poulson tells me.
“Am I OK with children being manipulated for some unaccountable business’s purposes? There are all kinds of
fraudulent ads that Google makes a lot of money from selling… you’re going to obviously lead to more cases of
children being [targeted] with fraudulent ads.” (Poulson left Google last August in protest over its China search
engine.)
So the next time you discover unexpected charges on your card for a “free trial” you thought you’d cancelled, or
click on a news story that’s really an advert, try not to blame yourself. Our human brains are fallible, and tech
companies are well aware of their quirks. But being wise to their ruses —and motives —is the first line of defence.
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          mute, v.3
         Pronunciation:         Brit.     /mjuːt/, U.S.         /mjut/
          Frequency (in current use):
          Origin: Formed within English, by conversion. Etymons: ���� adj., ���� n.3
          Etymology: Partly < ���� adj., and partly < ���� n.3



          †1. intransitive. Of a hound: to run with the chase silently, to run mute
          (see ���� adj. 7). Obsolete. rare.
                Only attested in Phillips. Later editions have run mute in full.


             1678 E. P������� New World of Words (new ed.) Mute,..also when Hounds run long, without making any
                  cry they are said to mute.

           2.

           a. transitive. To deaden, soften, or muffle the sound of (a person or
          thing); (Music) to muffle the sound of (a musical instrument) by means
                              3
          of a mute (���� n. 5).

             1841 Musical World 22 Apr. 267 On this occasion..a whimsical sort of retribution was made, by muting
                  the whole of the string instruments, great and small!
             1883 F. C����� in G. Grove Dict. Music III. 637 Berlioz muted the clarinet by enveloping the bell in a bag
                  of chamois leather.
             1906 M. P�������� Hundred Days 101 A heavy Indian carpet muted the footsteps of the Emperor as he
                  paced it.
             1986 A. H������ Also Georgiana (1988) i. 20 Parasols..hid their faces but could not mute their laughter
                  or exclamations of pleasure.
             2004 Classical Guitar Feb. 12/2 A smaller, requinto-sized, travel harp guitar custom made with..an elbow
                  mute for my arm so I can mute the bass strings.
             2006 N.Y. Times (National ed.) 8 June �21/4 A white-noise machine purrs outside Dr. Gibson's office
                  door, muting the exchanges within.



          †b. transitive. To silence (a person). Obsolete. rare.

             1891 G. M������� One of our Conquerors I. xx. 191 They are spirited on, patted, subdued, muted, raised,
                  rushed anew, away, held in hand.




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           c. transitive. Originally Electronics. To suppress the output of (a
          loudspeaker or other circuit component); to turn off the sound of (a
          television, stereo, etc.), esp. temporarily; to turn off a microphone or the
          audio on (a computer, phone, etc.), esp. temporarily. Also with the
          sound as object.

             1962 L. F������ FM Multiplexing for Stereo vii. 153 To prevent operation of the circuit except when
                  stereo is received, this tube..is muted in the absence of an adequate 19-kc signal.
             1995 C. H����� Full Whack (1996) ii. 9 ‘What you been doing the last ten years, Pikey?’ said Noel, turning
                  on the TV set and muting the sound.
             1999 Which? May 37/1 You could, for example, program it to mute your TV and hi-fi and stop your video
                  playing when you answer the phone.
             2013 Computer Power User June 46/3 Gamers can adjust the game volume and mute the microphone
                  without having to switch applications or leave their game.



           d. transitive. To turn off the sound of (a person or a person's voice) on
          a phone, videoconferencing software, etc. Also reflexive: to turn off
          (one's own microphone) on a phone, videoconferencing software, etc.

             1988 Autocar & Motor 21 Sept. 125 (table) Mute... Is used to mute the caller's voice.
             1995 Business Wire (Nexis) 10 Jan. Standard speaker phones mute one party while the other is speaking,
                  resulting in annoying breaks in the normal flow of conversation.
             2010 M. T���������� & G. M��� BlackBerry Bold made Simple x. 204 You may want to be able to mute
                  yourself on a call.
             2020 R. W����� Microsoft Teams for Dummies ���. xviii. 249 To mute one of the participants of the
                  meeting, go to the meeting roster..select the person's name, and choose Mute Participant.



           e. transitive. In electronic communications: to turn off (notifications of
          updates or messages, esp. from a particular user or group); (on social
          media) to choose a setting that stops (posts by a user whom one follows)
          from appearing in ones feed, esp. temporarily. Also with the user as
          object.

             2007 @SoulSoup 8 May in twitter.com (accessed 6 Jan. 2021) Mute the conversation with the Gmail
                  keyboard shortcut ‘m’—all future messages with similar subject line [sic] will be archived
                  automatically.
             2012 @loud_whispers 25 Nov. in twitter.com (accessed 15 Jan. 2021) I wonder how many people muted
                  me on facebook for posting too much.
             2014 Gigaom (Nexis) 22 May It's simple to mute notifications you don't want to see.
             2020 Newstex Blogs (Nexis) 10 Apr. We've shown you how to mute posts on Instagram, but what if you've
                  now changed your mind and want to see that user's content in your feed again?



          3. transitive. To reduce the strength or intensity of (something); to tone
          down, subdue, moderate.


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             1891 G. M������� One of our Conquerors xxvi, in Fortn. Rev. Mar. 505 The tone of neutral colour that,
                  as in sound, muted splendour.
             a1930 D. H. L������� Phoenix II (1968) 251 Everything that everybody feels is keyed down, and muted,
                  so as not to impinge on anybody else's feelings.
             1974 F. F������ Dogs of War (1975) I. vi. 122 The hostility and hatred of the entire Caja population,
                  which, although muted by fear, exists beneath the surface.
             2001 Total DVD Feb. 48/3 There is a fair amount of fine grain in the image which..mutes the colour
                  scheme.
             2010 Philadelphia Daily News (Nexis) 6 Aug. 17 Instead of rejoicing, they muted their celebration.




          C��������



           mute button n. a control or setting which (temporarily) turns off a
          microphone (esp. on a phone, computer, or on videoconferencing
          software, etc.) so that speech and sounds are not picked up and
          transmitted (esp. to the other person or people connected to a phone or
          video call); (also) a button used to turn off the sound of a television,
          stereo, etc. Also figurative.

             1984 Sunday Times 28 Oct. (Colour Suppl.) 118/3 Pressing the mute button on the keypad temporarily cuts
                  off your caller.
             1995 City Paper (Baltimore) 13 Sept. 50/2 Millions of people think, Oh, crap, not another commercial
                  break, and smack that mute button.
             1999 Courier-Jrnl. (Louisville, Kentucky) 19 Jan. �7/5 There is an undeniable appeal to the notion of
                  enforced silence on the usually prolix senators—the equivalent of a national mute button.
             2011 M. G������� et al. Taking OS X Lion to Max x. 162 You can also mute your side of the video call by
                  clicking the mute button.




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          privacy, n.
         Pronunciation:        Brit.      /ˈprɪvəsi/,      /ˈprʌɪvəsi/, U.S.   /ˈpraɪvəsi/
          Forms: 1500s– privacy, 1600s priuacie, 1600s priuacy, 1600s priuasie, 1600s privacie ...
          Frequency (in current use):
          Origin: Formed within English, by derivation. Etymons: ������� adj.1, -��� suffix.
          Etymology: < ������� adj.1: see -��� suffix. Compare earlier ������� n....



           1. The state or condition of being alone, undisturbed, or free from
          public attention, as a matter of choice or right; seclusion; freedom from
          interference or intrusion.
               In quot. 1534 perhaps a scribal error for privity.


              1534 in J. Imrie et al. Burgh Court Bk. Selkirk (1960) 141 That he resaiffit never the bell cros..nouder in
                    prevyce nor part.
              1609 W. S���������� Troilus & Cressida ���. iii. 184 Achil. Of this my priuacie, I haue strong reasons.
                     Vlis. But gainst your priuacie, The reasons are more potent and heroycall.
              1659 T. P���� Parnassi Puerperium 168 Vespasian during his Privacie, Led such a Life, as was
                   Exemplary.
              1700 N. R��� Ambitious Step-mother �. i The thoughts of Princes dwell in sacred Privacy Unknown and
                   venerable to the Vulgar.
              1759 S. J������ Idler 7 Apr. 105 Those that surround them in their domestic privacies.
              1814 J. C������� Rep. Cases King's Bench III. 81 Though the defendant might not object to a small
                   window looking into his yard, a larger one might be very inconvenient to him, by disturbing his
                   privacy, and enabling people to come through to trespass upon his property.
              1832 E. B�����-L����� Eugene Aram I. ��. iv. 265 Your privacy will never be disturbed.
              1864 Daily Tel. 13 Oct. 5/1 All your rusty-fusty British notions about comfort, civility, privacy, and the
                   like.
              1890 W����� & B������� Right to Privacy in Harvard Law Rev. 4 196 The question whether our law
                   will recognize and protect the right to privacy..must soon come before our courts for consideration.
              1891 T. H���� Tess of the D'Urbervilles III. xliii. 62 Tess..entered into the privacy of her little white-
                   washed chamber.
              1901 G. B. S��� Capt. Brassbound's Conversion ��, in Three Plays for Puritans 252 Well, I am afraid I
                   want a little privacy, and, if you will allow me to say so, a little civility.
              1947 A. L. R���� Tudor Cornwall xvi. 434 There was little privacy, for they lived on top of one another.
              1965 D. F������ Odds Against v. 71 The one thing people want when they employ private investigators is
                   privacy.
              1967 J. C����� Long Pursuit iii. 82 I learned..to respect her privacy. And I don't mean just when she went
                   to the dike.
              1978 I. M������ Sea 375 When Titus appeared I decided to go outside to avoid interruption and ensure
                   privacy.



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              1999 J. E����� Unexpected Light (2000) ix. 328 A thermos of tea and a bucket of hot water soon
                   appeared, and I had the luxury of an hour's privacy in the visitors' quarters, a spacious building at the
                   far end of his compound.
              2004 Times Lit. Suppl. 2 Apr. 5/1 Browning was a ferocious preserver of his own and his family's privacy.



          †2. The state of being privy to some act; = ������� n. 6a. Obsolete.
                In quot. 1589 perhaps a scribal error for privity.


              1589 in J. Stuart Misc. Spalding Club (1842) II. 113 Thair is..conventiones of menn, in armes, in sindrie
                    partis of our realme, without oure preuicie or allowance.
              1688 P. H��� Let. 15 June in Marchmont Papers (1831) III. 82 Mr. Stewart's letters, written with the
                   King's privacy to the pensionary Fagel.
              1691 R. K��� Secret Commonw. (1815) i. 6 If any Superterraneans be so subtile, as to practice Slights for
                   procureing a Privacy to any of their Misteries.
              1721 E. Y���� Revenge ��. i And now I come a mutual friend to both, Without his privacy, to let you know
                    it.
              1796 J. B. F����� Hermitage I. 160 The person who had stole her away without her privacy, or consent.
              1888 Pall Mall Gaz. 23 July 1/2 The amendment leaves the whole question as to the privacy to crime
                   alleged against Mr. Parnell and his fellow members before the Commission.

           3.

          a. Absence or avoidance of publicity or display; secrecy, concealment,
          discretion; protection from public knowledge or availability. Now rare,
          or merging with sense 1.

              1602 W. S���������� Merry Wives of Windsor ��. v. 20 Let her descend bully..my chambers are
                   honorable, pah priuasie, fie.
              1641 J. W������ (title) Mercury: or the Secret and Swift Messenger. Shewing how a Man may with
                    Privacy and Speed communicate his Thoughts to a Friend at any Distance.
              1700 in Pennsylvania Arch. (1852) I. 129 I caused this Town to be searched but with some Privacy.
              1761 F. S������� Mem. Miss Sidney Bidulph I. 116 I was married with the utmost privacy.
              1809 D��� �� W��������� Dispatches (1838) V. 164 I have also to observe that privacy is inconsistent
                   with every just notion of punishment.
              1855 T. B. M������� Hist. Eng. III. xiv. 403 The emaciated corpse was laid, with all privacy, next to the
                   corpse of Monmouth in the chapel of the Tower.
              1884 Harper's Mag. June 73/2 The most..commendable feature of the charity is its privacy and
                   unostentation.
              1913 Times 16 Sept. 4/1 Robert Emmet's body was interred in the prison cemetery but was immediately
                   removed and buried with great privacy in one of the Dublin city churchyards.
              1923 Times 10 Aug. 8/4 The utmost privacy will be maintained in the home for several hours whilst the
                   family are alone with their dead.



          †b. The keeping of a secret; reticence. Obsolete.

              1624 P. M�������� Bond-man �. ii. sig. K2v There's for your priuacy. Stay, vnbinde his hands.



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              1741 H. P������ Let. 21 Jan. in G. Eland Purefoy Lett. (1931) I. ii. 29 I desire your Privacy on what I now
                   write.

           4.

           a. A private or personal matter; a secret. Usually in plural.

              a1625 J. F������� Wit without Money (1639) ��. iv. sig. Gv Ile teach you to worme me good Lady sister,
                     and peepe into my privacies to suspect me.
              a1626 J. H����� Relacion Trav. in E. A. Bond Russia at Close of 16th Cent. (1856) 236 Som other
                   privacies comitted to my charge had ben so whispered owt.
              1649 J. M����� Εικονοκλαστης vii. 63 What concernes it us to hear a Husband divulge his Household
                   privacies, extolling to others the vertues of his Wife?
              1702 Eng. Theophrastus 46 A blab, and one that shall make a privacy as public as a proclamation.
              1779 H. L. T����� Diary 1 Mar. in Thraliana (1942) I. 375 Though nobody sees the Thraliana but my self,
                   I can not bear that our Father who seeth in Secret..should know my beastly privacies.
              1860 W. H. R������ My Diary in India I. 7 ‘The confounded public’, as that large and respectable body is
                   frequently styled in the privacies of official and monopolitical life.
              1894 ‘M. T����’ Pudd'nhead Wilson x. 126 Her conversation was made up of racy tattle about the
                    privacies of the chief families of the town.
              1941 W. L���� Vulgar Streak �. iv. 26 A good straight tart was in an abstract category, disinfected of all
                   hypocritical and horrid privacies.
              1990 M. A������ I shall not be Moved 11 Listening winds overhear my privacies spoken aloud.



          †b. In plural. The genitals; = ������� n. 4. Obsolete. rare.

              1656 E��� �� M������� tr. T. Boccalini Ragguagli di Parnasso �. xxxv Plucking up her cloaths, and
                   shewing them her privacies.



          †5. Intimacy; intimate relations. Also in plural. Obsolete.

              1638 R. B���� tr. J. L. G. de Balzac New Epist. II. 20 At that time..you gave me leave to boast of your
                   friendship, I dare not now use the privacie of such tearmes.
              1653 in E. Nicholas Nicholas Papers (1892) II. 17 He..observed that there was great intimacy and privacy
                    between that Col. and Sr John Henderson.
              1683 D. A. Whole Art Converse 42 Those that are our equals or have made us such by their privacy or
                   intimate friendship.
              1715 A. P��� tr. Homer Iliad I. ���. Observ. 30 And even when that Affair is finished, we do not find the
                    Poet dismisses her [sc. Venus] from the Chamber, whatever Privacies the Lovers had a mind to.
              1749 S. J������ Irene �. iv. 14 I come from empty Noise, and tasteless Pomp,..To prove the Sweets of
                   Privacy and Friendship.
              1786 ‘A. P������’ Royal Academicians 22 The ladies' secrets ought only to be revealed to the hallow'd
                    ears of privacy and friendship.




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          6. A private place; a place of concealment or retreat; a private
          apartment. Chiefly in plural. Now rare.

              1648 W. M������ Miscellanea Spiritualia 362 Plentiful and opulent private estates, emblem'd by the
                   pregnancy of the Fields; happy and easie privacies, expressed by the orderly sweetness of Gardens.
              1686 R. P��� Nat. Hist. Staffs. viii. 307 Having rested at Boscobel two days, one in the Oak; the night in a
                   privacy behind the Chimney in one of the Chambers.
              1749 H. F������� Tom Jones VI. ���. vii. 57 Do you think yourself at Liberty to invade the Privacies of
                     Women of Condition, without the least Decency or Notice?
              1783 H. B���� Lect. Rhetoric I. xvi. 329 Let her see him in his most retired privacies.
              1872 ‘G. E����’ Middlemarch I. ��. xix. 339 When George the Fourth was still reigning over the privacies of
                    Windsor [etc.].
              1878 S. L����� Poems (1884) 14 Beautiful glooms..Wildwood privacies, closets of lone desire.
              1987 C. T������ Behind Wall i. 29 As I followed the Imperial Way, the palaces..succeeded each other in
                   even more intense barriers and deeper privacies.




           C��������


           General attributive, designating something which safeguards privacy,
          esp. in legal terms, as privacy equipment, privacy fence, privacy
          law, privacy policy, etc.

              1933 Post Office Electr. Engineers' Jrnl. 26 224/1 Overseas radio telephone services operated by the Post
                   Office are provided with privacy equipment on all channels where the necessary deciphering
                   equipment is provided at the distant end.
              1949 Michigan Law Rev. 47 725 (note) This article..offers a good discussion of privacy law in general.
              1954 Oakland (Calif.) Tribune 24 Oct. �46/5 (advt.) Your own patio with privacy fence!
              1969 Times 5 Dec. 4/6 (headline) Inquiry on privacy law urged.
              1991 Do it Yourself Fall 88 (caption) Here's one way to add substance to an openwork lattice privacy fence.
              2000 Brill's Content Aug. 41/1 DoubleClick's chief privacy officer..says the company's privacy policy was ‘in
                   no way’ contradicted.
              2002 Time 15 Apr. 46/2 The ��� and Louisiana's state highway patrol started an investigation that tiptoed
                   around the state's strict privacy laws.




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          Oxford English Dictionary | The definitive record of the English
          language

           private, adj.1, adv., and n.
          Pronunciation:         Brit.     /ˈprʌɪvᵻt/, U.S.        /ˈpraɪvᵻt/
           Forms: ...
           Frequency (in current use):
           Origin: A borrowing from Latin. Etymons: Latin prīvātus, prīvātum, privata.
           Etymology: < classical Latin prīvātus...

           A. adj.1
           I. Restricted to one person or a few persons as opposed to the wider community; largely in
           opposition to public.

           †1. Of a religious rule: not shared by all Christians. Of an individual or a
           religious order: living according to distinct religious rules; set apart by
           distinct beliefs, religious practices, etc. Obsolete.
                 Applied by Wyclif to the mendicant orders (Franciscans, Augustines, Dominicans, and Carmelites).


              ▸ 1395 Remonstr. against Romish Corruptions (Titus) in Eng. Hist. Rev. (1911) 26 747 (MED)
                    Religiouse possessioneris..shulden ben apaied wiþ scars liflode & cloþinge geten wiþ here owne
                    labour bi here privat rule [L. secundum eorum regulam], which þei seyn þat seynt benet & seynt
                    austin maden to suche religiouse men.
              a1425 J. W����� Sel. Eng. Wks. (1869) I. 67 (MED) Þis asse and hir fole ben comen to þes pryvat ordris
                   but not to alle Cristene men.
              c1475 (▸c1445) R. P����� Donet (1921) 79 Al priuate religiosite stondiþ in keping of þre vowis..vowe of
                    chastite, vowe of wilful pouerte..and vowe of obedience to her prelate.

            2.

           a. Restricted to or for the use or enjoyment of one particular person or
           group of people; not open to the public.
                 Now frequently on a sign or notice indicating this (see, e.g., quot. a1911).


              ▸ a1398 J. T������ tr. Bartholomaeus Anglicus De Proprietatibus Rerum (BL Add.) f. 332 Þe priuate wey
                    longiþ to nyȝe towne and is schort and nyȝ and ofte ygrowe wiþ gras.
              ?a1475 (▸?a1425) tr. R. Higden Polychron. (Harl. 2261) (1865) I. 91 (MED) The seruauntes goe on
                    foote..to commune festes and priuate [a1387 J. Trevisa tr. priue] offices.
              a1600 (▸1535) W. S������ tr. H. Boece Bk. Cron. Scotl. (1858) II. 63 Quhair he wes bureit in ane prevat
                   place.
              1623 W. S���������� & J. F������� Henry VIII ���. i. 28 May it please you Noble Madam, to withdraw
                       Into your priuate Chamber.
              1638 R. B�������� Bessie Bell in Barnabees Journall (new ed.) sig. Ee2 This place it is private.
              1696 Earl of Galloway's Family Papers 6 Aug. Wee..did meet at a privat countrey ale house.
              1759 S. J������ Prince of Abissinia I. i. 2 According to the custom.., he [sc. Rasselas] was confined in a




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                      private palace.
              1817 W. S����� Abridgem. Law Nisi Prius (ed. 4) II. 1242 A person having a private way over the land of
                   another, cannot, when the way is become impassable by the overflowing of a river, justify going on
                   the adjoining land.
              1849 T. B. M������� Hist. Eng. II. vi. 142 News which reached him through private channels.
              1862 W. S����� Hist. Royal Acad. Arts II. 239 It had..been the custom to regard the anniversary dinner
                   as one of a private nature—a gathering of the members of the Royal Academy and of the friends and
                   patrons of art.
              a1911 D. G. P������� Susan Lenox (1917) II. xi. 285 A man strode toward the frosted glass door marked
                    ‘Private’.
              1992 Daily Star 16 Jan. 15/2 A drugs squad detective..has been suspended after claims that a cannabis
                   joint was rolled at a private party.

           b. Of or relating to a service provided on a paying basis, as opposed to through the State or
           another public body (sometimes with implication of benefit to an individual as distinct from a
           group).

           (a) Of, relating to, or designating teaching or other educational facilities
           provided on an individual basis, or for which fees are charged.
                Chiefly in compounds.
                In British use, private schools were originally contrasted with public schools which, while also
                charging fees, were run as charitable institutions for the benefit of the public, while private schools
                were run for the personal profit of the proprietors; this distinction was subsequently lost.


              1574 E. H��� Touchestone Time Present sig. F3 Now tell me whether priuate schoole or publicke better is.
              1574 E. H��� Touchestone Time Present sig. Ov But if the publique care Should happe to cease, then euery
                      man at home must needes prepare To haue a priuate teacher.
              1581 R. M�������� Positions xl. 228 If the maister minde his boorders eitheer only or most, where his
                   charge is ouer moe, where then is his dutie? if not, what gaine haue those boorders, by their maisters
                   priuate?
              1581 R. M�������� Positions xxxix. 183 (heading) Of priuate and publike education, with their generall
                   goods & illes.
              1670 D. L���� State Worthies (ed. 2) 402 When private Tutors had initiated, publick Schools had
                   seasoned, and the University had improved this Gentlemans sprightly and noble parts.
              1695 J. B������ Proposals Raising Colledge Industry 18 And I think such a Colledge-Education, under
                   good Rules, beyond any Private one, having several Advantages the Private will want.
              1756 M. C��������� Lett. & Jrnls. (1884) vi. 153 As for the boys of fashion,..if they are come from the
                   country, they are boarded in what they call a pension, or have a private tutor to teach them.
              1792 M. W������������� Vindic. Rights Woman xii. 361 The good effects resulting from attention to
                   private education will ever be very confined, and the parent who really puts his own hand to the
                   plow, will always, in some degree, be disappointed.
              1848 G. M������ Winchester Serm. II. Pref. What then..is a public school? and wherein does it
                   essentially differ from a private one?
              1875 A. T������� Prime Minister (1876) I. i. 6 He had been at a good English private school.
              1999 Financial Times 9 Oct. (FT 1,000 Schools Suppl.) 3/3 Several schools, including the five King
                   Edward VI grammar schools in the West Midlands, have raised the prospect of ‘going private’ if local
                   parents vote to abolish the 11-plus.




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           (b) Of, relating to, or designating medical treatment or facilities for
           which fees are charged to the patient instead of being provided by the
           State or a public body; spec. (in the United Kingdom since 1948)
           designating medical treatment or facilities outside the National Health
           Service.

              1754 W. S������ Treat. Midwifery II. xxvi. 437 I attended a private patient.
              1826 Lancet 5 Aug. 599/2 Many cases..to increase the revenue of some private practitioner.
              1859 F. N���������� Notes on Nursing vi. 38 I have often seen the private nurse go on dusting..while the
                   patient is eating... The above remarks apply much more to private nursing than to hospitals.
              1934 P. B������ Private Worlds xii. 114 They stood in a small private room off the ward, and looked
                   down at the moaning woman on the bed.
              1956 P. S���� Male Child �. i. 26 I spent most of April in a private nursing home.
              1967 P. W������� Consumer's Guide Brit. Social Services vi. 158 Financial help towards the cost of
                   private treatment is provided by several provident associations.
              1976 N. L����-T����� Doctors & Law iv. 35 The Government has announced that it intends..to abolish
                   private treatment in N.H.S. hospitals.
              1996 Private Eye 13 Dec. 14/2 Presumably some of the patients who get hacked off waiting 18 months for
                   an appointment decide to go private.



            c. Of, designating, or belonging to an industry or business conducted or
           controlled by an individual or independent (commercial) body, rather
           than a public body or the State. Frequently in private company n.,
           private sector n. at Compounds 2.

              1641 T. R�� Speech Parl. 5 We have yet another great help which is our owne..which is our fishing and
                   erecting of Busses..and this by private industry (though to private losse) is beaten out already.
              1723 F. H��������� Let. Member Parl. 3 Improving the Ground must be carried on by private Industry,
                   and Experiments of ingenious Men, more than by publick Laws.
              1790 J. A. P��� Syst. Law Marine Insurances (ed. 2) i. 9 Any policy subscribed by a private firm or
                   partnership, is absolutely void.
              1872 S. A. F��� Autobiogr. 140 I am not aware that any private corporation in this state can sue or be
                   sued except in its corporate name.
              1934 Clearfield (Pa.) Progress 5 Oct. 4/1 The government..has had much to say about certain practices in
                   the private business world by which fictitious values were created and traded on.
              1978 W. W. R����� Getting from Here to There xiii. 227 Growth was driven forward by..the expansion of
                   public and private services facilitated by rapidly rising real incomes.
              2005 Western Daily Press (Bristol) (Nexis) 21 Dec. 32 He has secured around £5million in private
                   backing for his electro-kinetic road ramp which is set to go into production next year.

            3.

            a. Concerning, involving, or affecting a particular person or group of
           people apart from the general community; individual or personal, rather
           than communal or shared.


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              a1400 Clensyng Mannes Sowle in Eng. Misc. presented to Dr. Furnivall (1901) 264 Priuate penaunce is
                   that penaunce which is done alday whan a man will priuely be confessed of his schrift fadir.
              c1475 (▸c1445) R. P����� Donet (1921) 131 (MED) Neiþir bi story which þe disciplis and heerers of þe
                    apostlis han writen, neiþir bi surest priuate reuelacioun, it is open þat crist maad enye suche positive
                    lawe.
              1526 W. B���� Pylgrimage of Perfection ��. sig. Ki Onely for their priuat profyte.
              1560 J. D��� tr. J. Sleidane Commentaries f. xxxiiijv Certen priuate dyspleasures did growe betwixte hym
                     and the Frenche kynge.
              a1616 W. S���������� Julius Caesar (1623) ��. ii. 73 For your priuate satisfaction..I will let you
                     know.
              1651 T. H����� Leviathan ��. xxii. 122 He, whose private interest is to be debated.
              1776 A. S���� Inq. Wealth of Nations I. �. x. 177 When masters combine together in order to reduce the
                     wages of their workmen, they commonly enter into a private bond or agreement.
              1838 C. T�������� Hist. Greece (new ed.) II. xv. 260 In reality they had only consulted their own private
                   ambition.
              1883 Law Rep.: Queen's Bench Div. 11 597 That the censure had been made injuriously and from motives
                   of private malice.
              1949 Archit. Rev. 105 248 The days when the designer ignored everything that didn't fall into line with
                   his own private taste.
              1992 N.Y. Times Mag. 31 May 44/3 Fingers splayed in private ecstasy, [he] starts dancing all over the
                   stage.



           †b. Peculiar to a particular person, community, etc.; particular or
           special. Obsolete.

              1526 Bible (Tyndale) 2 Pet. i. 20 So that ye fyrst knowe this, that no prophesy in the scripture hath eny
                   private interpretacion [ Wyclif ech prophecie..is not maad bi propre interpretacioun; Coverdale no
                   prophecie..is done of eny priuate interpretacion; Geneva is of any priuate motion; Rhem. is made by
                   priuate interpretation; 1611 is of any priuate interpretation.]
              1559 in J. Strype Ann. Reformation (1709) I. App. viii. 20 The realm of Englande hath been alwaies
                    governyd by private lawes and customes.
              1593 T. B����� Perpetual Govt. Christes Church vii. 86 Neither was this priuate to Timothie, but..it was
                   vsuall in the Apostles times.
              1651 C. C��������� Certamen Religiosum �. 120 How can any man assume to himselfe a freedome from
                    Erring by the assistance of a private Spirit?



           c. Biology. Of a protein, mutation, etc.: occurring only in a restricted
           population.

              1956 Science 13 Apr. 633/2 It would seem that the Diego factor is not a ‘private’ blood group, but rather
                   that its incidence is high in Indians.
              1969 Vox Sanguinis 17 305 The new private antigen Pta is probably inherited as a Mendelian dominant.
              1991 New Scientist 7 Dec. 31/2 Some mutations, so-called ‘private’ mutations, are so rare that they occur
                   in only one family.
              2004 Diabetes Care (Nexis) 27 1798 In Ojibwa-Cree indigenous Canadians, a private mutation..present



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                     in 20% of the population predisposes to diabetes.

            4.

            a. Of or relating to a person as an individual or in a non-official
           capacity; not connected with one's work or official position. Frequently
           in private life n. at Compounds 2.

              1421 in W. Fraser Douglas Bk. (1885) III. 242 Archibald erle of Douglas..Giffin onder owr prewait seill.
              a1525 Bk. Chess l. 762 in W. A. Craigie Asloan MS (1923) I. 105 Thir Iudges suld richt veill attend fra
                    pryvate luif.
              1613 S. P������ Pilgrimage 286 In a priuate habit he visited the Markets, and hanged vp the hoorders of
                    coine.
              a1668 W. D������� Play-house to be Let ��, in Wks. (1673) 109 Kings who move within a lowly sphear of
                   private love, Are too domestick for a Throne.
              1713 R. S����� in Guardian 30 May 1/2 The private Letters of great Men are the best Pictures of their
                    Souls.
              1797 W. G����� Enquirer �. vii. 59 A private pupil is too much of a man.
              1830 Chron. in Ann. Reg. 259/1 The eldest of three sons of the grand-duke Charles-Frederick, by his
                   morganique, or private-marriage, with Louisa-Caroline, countess of Hochberg.
              1878 W. E. H. L���� Hist. Eng. 18th Cent. I. i. 161 The influence which his good private character..once
                   gave him had been rapidly waning.
              1885 Atchison (Kansas) Daily Globe 1 May A communication..by the State Veterinary Surgeon... ‘I went to
                   Fulton as a private investigator nearly three weeks ago.’
              1920 H. B����� Mirrors of Downing St. 7 The private opposition he [sc. Lloyd George] encountered in
                   Downing Street.
              2002 D. D. N. N������ Constit. Law in Botswana ��. ii. 82 An interesting issue that is not directly
                   addressed by the Constitution is whether the President can consent to being sued in his private
                   capacity.



           b. Of a person or company of people: not holding public office or official
           position; not officially recognized or authorized.

              1437 Rolls of Parl. IV. 508/1 The commen sale and issue of alle ye Wolles..have been..hindred..by
                   specialle licences graunted to private personnes, a part for to selle hir owne Wolles and Wollefelles at
                   large for his singuler avauntage and ayeinst ye commen prouffit.
              ▸ a1475 J. F�������� Governance of Eng. (Laud) (1885) 125 He lyved..in more subgeccion than doth a
                    priuate person.
              1549 Bk. Common Prayer (STC 16267) Ceremonies f. xxxv* The appoyntmente..pertayneth not to pryuate
                   menne.
              1589 G. P�������� Arte Eng. Poesie �. xxiv. 38 It [sc. war] toucheth the whole state, and euery priuate
                   man hath his portion in the damage.
              1644 J. M����� Areopagitica 16 No Poet should so much as read to any privat man, what he had writt'n.
              1673 J. R�� Observ. Journey Low-countries 305 When the Gallies are at home those [slaves] that belong
                   to private persons are permitted to lodge in their Masters houses.
              1712 R. S����� Spectator No. 429. ⁋8 A Woman of Quality; married to a private Gentleman.




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              1776 A. S���� Inq. Wealth of Nations I. �. ix. 113 As the capital of a private man..may increase beyond
                     what he can employ in it..so may likewise the capital of a great nation.
              1817 J. E���� Excursion to Windsor 72 It was a most uncommon thing for a private man, and a
                    commoner, to be honoured with so long an audience.
              1885 List of Subscribers Exchange Syst. (United Telephone Co.) (ed. 6) 233 (advt.) The Birkbeck Bank
                   opens Drawing Accounts with trading firms and private individuals.
              1930 G. B. S��� Apple Cart p. xix We cannot do this as private persons. It must be done by the
                   Government or not at all.
              1993 Time Internat. 18 Jan. 30/3 Godwin's group is advocating that the government let private
                   individuals use the most powerful encryption systems.



           †c. Of a city or town: not forming a seat of government; not a capital.
           Obsolete. rare.

              1632 W. L������ Totall Disc. Trav. ���. 334 This Citty..was once the Capitall seat of the Kingdom, though
                   now..it is onely become a priuate place.

            5.

            a. Belonging to or forming the exclusive property of a particular
           individual, company, etc.

              1442 in A. H. Thompson Visitations Relig. Houses Diocese Lincoln (1919) II. 52 Ye and thai aftere your
                    rewle lyfe in commune..levyng vtterly all pryuate hydles, chaumbres and syngulere housholdes.
              c1484 (▸a1475) J. �� C������� tr. Secreta Secret. (Takamiya) (1977) 135 (MED) It is conuenient..to
                    haue in hys howsold priuat seruauntys.
              ?1504 W. A������� tr. Thomas à Kempis Ful Treat. Imytacyon Cryste (Pynson) ���. 221 The xxxi.
                    chapiter, the loue of pryuate thynges & of mannys selfe letteth the perfyte goodnes of mannys soule.
              1560 J. D��� tr. J. Sleidane Commentaries f. cxxvij They teache howe it is not lawful for the christians..to
                   haue any thynge priuate, yt al things ought to be common.
              1598 E. F��� Parismus xxi. sig. X Shee went out of the Prison, by a priuate Key which shee had alwayes
                   about her.
              a1616 W. S���������� Julius Caesar (1623) ���. ii. 241 He hath left you all his Walkes, His priuate
                     Arbors,..On this side Tyber.
              1638 F. J����� Painting of Ancients 147 As for private Libraries, Martial teacheth us, That in them the
                   Images of such Writers as were as yet surviving, might bee admitted.
              1690 J. L���� Ess. Humane Understanding ���. xi. 254 For Words..being no Man's private possession,
                   but the common measure of Commerce and Communication.
              1799 W. T���� View Russ. Empire II. 531 The late empress having..relinquished her imperialties on the
                   private mines.
              1840 C. T�������� Hist. Greece VII. 335 He sent back his brother Menelaus..together with his private
                   baggage.
              1899 Westm. Gaz. 21 Sept. 4/1 He hoped it would not go forth from the Conference that they wanted to
                   stamp out all private venture schools.
              1942 Antiquity 16 96 The establishment was certainly built as a private burial-place by a prominent local
                   family.




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              1991 R. F������� Henry Miller vi. 106 He had a large estate in Scarsdale and a private golf course.



            b. Of a ship: (a) privately owned, operating commercially; see also
           private man of war n., private ship of war n. at Compounds 2; (b) (in
           the Royal Navy) under the command of a captain only, rather than a
           commodore or admiral.

              1610 P. H������ tr. W. Camden Brit. 36 What with ships for convoy of corne and victuals, and what with
                   other private vessels that every man had built for to serve his owne turne, there was 800. saile and
                   above.
              1636 Welwood's Abridgem. Sea-lawes (new ed.) xxviii. 240 Captaines of Princes warfare-shippes should
                   be..vigilant, diligent, and carefull... Their commandement and power over their company, not onely
                   surpasseth the power of Masters and Commanders of private shippes, but also that of the Captaines
                   on land.
              1708 T. L������ Neat Duties on All Merchandize 176/1 Imposition... Cloth on Private Ships, 20 per
                   Cent.
              1790 Aberdeen Mag. 23 Sept. 565/1 It was the intention of the Minister that he should embark in a
                   private vessel, without Government appearing to have any concern in it.
              1845 Jrnl. Royal Geogr. Soc. 15 294 Letters are made up by a local post-office, and sent to Lisbon by
                   private ships.
              1909 Times 25 May 14/4 The Boadicea is to commission first as a private ship, but will subsequently
                   relieve the Topaze, flying the broad pennant of commodore.
              1986 N. A. M. R����� Wooden World (1988) i. 18 The decisions of a young commander of a sloop
                   cruising alone might be more difficult than those of a senior post-captain commanding a private ship
                   in a large squadron.
              2005 Malaysia Gen. News (Nexis) 4 Jan. Donations..had been collected for tsunami victims in Acheh and
                   would be sent via Port Klang tomorrow with the help of the Malaysian Navy and private vessels.



            6. Kept or removed from public view or knowledge; secret; †concealed
           (obsolete).

              1472–3 Rolls of Parl. VI. 29/2 After that dyvers of the Lordes and Knyghtes of the Shires were departed,
                    by mervelous pryvat labour a Bille signed by the Kyng was brought to the seid Commens.
              1533 J. B�������� tr. Livy Hist. Rome (1901) I. 225/12 The faderis, movit to hie displeseris be thir
                   persand wourdis, held..mony private consultatiouns.
              1594 W. S���������� Henry VI, Pt. 2 ��. ii. 60 In this priuate place, be we the first to honor him with
                   birthright to the Crown.
              1615 R. B�������� Strappado 120 Which he suspecting, lay in priuate wait, To catch the knaue.
              1669 R. M������� in Buccleuch MSS (Hist. MSS Comm.) (1899) I. 441 She desired..to send it over in my
                   name, because that way it would be privater.
              1700 J. T������ Gen. Hist. Eng. II. 842 He lay private, till his Peace was made with the King.
              1726 G. L���� tr. L. B. Alberti Architecture I. 52/1 If the sound comes to you dead, and flat, it is a sign of
                   some private [It. interna] infirmity.
              1753 S. R��������� Hist. Sir Charles Grandison VI. xliv. 280 No hugger mugger doings—Let private
                   weddings be for doubtful happiness.




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              1839 C. D������ Nicholas Nickleby lx. 594 The same love of gain which led him to contract this marriage,
                   led to its being kept strictly private.
              1890 Lippincott's Monthly Mag. Jan. 13 It should be kept private for a time.
              1977 Audubon May 4 The nest site is kept hidden, the jays approach it secretly, and nest-building and
                   egg-brooding are very private.
              1991 H. B������ Runaway Soul 360 One's illicit uncensored private responses to war stuff was maybe a
                   wistful and vicarious viciousness or a heroic unvicarious viciousness.

            7.

            a. Of a conversation, communication, etc.: intended only for or
           confined to the person or persons directly concerned; confidential.

              1560 J. D��� tr. J. Sleidane Commentaries f. cxiijv The byshoppes hauynge priuate talke with the Quene.
              1650 W. B����� Sacred Princ. 285 Private Confession is reteined in the Reformed Churches.
              1734 B�. J. S������ Let. 25 June in J. Swift Corr. (1965) IV. 236 I shall put off my defence till I have the
                   pleasure of half an hour's private conversation with you.
              1791 A. R�������� Romance of Forest I. vi. 222 I supplicate of you a few moments private discourse.
              1857 A. T������� Barchester Towers xlvii He received a letter, in an official cover, marked ‘private’.
              1894 ‘A. H���’ Prisoner of Zenda ix. 128 I could hear no words, but Detchard's head was close to that of
                    the taller of his companions... ‘H'm! Private communications,’ thought I.
              1940 R. S. L������ Ariel & all his Quality ix. 244 A letter was delivered..addressed ‘H. Brown, Esq.,
                   Broadcasting House’. It was not marked ‘Personal’ or ‘Private’.
              1991 N.Y. Times Mag. 1 Dec. 30/2 Most of us miss these allusions; they are private communications to the
                   cognoscenti.



           †b. Of a person: intimate or confidential (with a person); sexually
           intimate. Obsolete.

              1574 E. H������� tr. A. de Guevara Familiar Epist. 274 The Court is not but for men yt be priuate and in
                     fauour, that can gather the frute thereof.
              1612 J. W������ White Divel ���. i. 20 My lord duke & she have been very private.
              1641 W. M������� in Buccleuch MSS (Hist. MSS Comm.) (1899) I. 286 The King is often very private
                   with Digby and Bristow.
              1648 T. G��� Eng.-Amer. 205 A great Politician, and very familiar, private, and secret with the
                   Archbishop of Canterbury.
              1821 L�. B���� Marino Faliero (2nd issue) ��. i. 102 Dismiss This menial hence; I would be private with
                   you.

            8. Telephony and Telegraphy.

            a. Of a telephone or line: that is permanently for the exclusive use of the
           subscriber, or not connected to the public network. Of a number: (a) ex-
           directory; (b) belonging to a private address rather than business
           premises. Chiefly in private line n., private number n. at Compounds 2.

              1852 L. T������� Lect. on Electro-magnetic Telegr. 137 Nearly all the railroad companies have private



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                     lines for their own use, and preparations are now making, which..will include every town..throughout
                     Germany in this network of communications.
              1878 Telegr. Jrnl. 6 51/1 The regulations concerning the despatch and receipt of telegrams, the tariffs for
                   the same, and for the renting of private wires.
              1924 J. B����� Three Hostages xvi. 235 This must be a private telephone..of which only his special
                   friends knew the number.
              1976 T. H. F������ Introd. Exchange Syst. i. 11 Picture telegraphy..is possible over the telephone service
                   lines but difficulties discourage small users and encourage large users of such services to rent private
                   circuits not subject to switching.
              1990 J. B������� Homecoming x. 203 I changed my private phone number..to an unlisted number.
              1996 Vancouver Sun 13 Apr. �17 (advt.) Service will not provide numbers from cellular callers or call
                   blocked or private numbers.



            b. Designating components of an exchange circuit whose electric
           potential indicates the condition of a particular subscriber's line, used to
           test whether the line is in use without interfering with a call in progress.
           Frequently in private wire n. at Compounds 2.

              1852 Times 20 July 3/6 The merchants and stockbrokers of this country..will form their own opinions as
                   to the propriety of A K messages and private wires.
              1906 J. P���� Pract. Telephone Handbk. (ed. 3) xxx. 486 When a current is started and stopped through
                   the ‘private’ magnet, the end of the side-switch arm slips under the outer tooth.
              1919 R. M����� Strowger Automatic Telephone Exchange i. 23 The whole arrangement of fixed contacts
                   is called the connector bank; the upper half the private bank, and the lower the line bank.
              1942 J. P���� Telephone Handbk. x. 238 The potential on the private conductor throughout the call is
                   normally that of earth.
              1969 S. F. S���� Telephony & Telegr. A vi. 153 A third wire is therefore provided on all connexions
                   through the exchange, the potential of which indicates the condition of the circuit. This avoids
                   intrusion on calls in progress and is called the private wire, usually abbreviated to ‘P-wire’.



           c. Of a telephone exchange: serving private lines. Chiefly in private
           branch exchange n. at Compounds 2.

              1891 J. P���� Pract. Telephone Handbk. vii. 124 Fig. 102 represents a type of switch-board which was
                   designed by the writer in 1881 for the use of private telephone exchanges.
              1983 New Scientist (BNC) 28 Apr. Mercury is waiting for Telecom to connect its equipment with a private
                   telephone exchange.
              1998 What Cellphone Aug. 104/3 (Gloss.) PABX , Private Automated Branch Exchange. Automated multi-
                   extension exchanges or switchboards as used nowadays by most offices.

            II. Relating to or connected with activities restricted to one person or a few people.

           9. Of a place: unfrequented, secluded; affording privacy.

              a1513 R. F����� New Cronycles Eng. & Fraunce (1516) I. clix. f. lxxxviiv Ye sayd Bysshoppes were
                     depryued of theyr dignyties and put into pryuate Houses of Relygyon.




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              1662 J. R�� Three Itin. ��. 162 We went to Shap,..where we saw the ruins of the abbey, very pleasantly
                   situate in a private valley.
              1746 P. F������ & W. D����� tr. Horace Satires �. ix. 145 In private haunt, in public meet, Salute, escort
                   him through the Street.
              1750 Bible (Challoner) III. Psalms x. 8 He sitteth in ambush with the rich in private places, that he may
                   kill the innocent.
              1756 J. W������ Jrnl. (1971) i. 29 I frequently withdrew into private places and often with tears
                   besought the Lord to help me.
              1817 J. E���� Excursion to Windsor 192 I scarce go out of my own house, and then only to two or three
                    very private places, where I see nobody that really knows anything.
              1896 A. R. W���� Youth's Educator iv. 36 She reserves all those disagreeable fashions for a more private
                   place.
              1924 Nevada State Jrnl. 6 Dec. 1/1 The train on which Mr. Coolidge returned was more private.
              1991 J. P������� You'll never eat Lunch in this Town Again (1992) 345 The first thing one needs to find is
                    a private place for bathroom requirements.



            10. Of a person, etc.: retiring, reclusive; living a quiet or secluded life;
           reserved, unsociable.

              1585 R. P������ Christian Directorie ��. i. 191 S. Antony..a little before had professed a priuate and a
                   solitarie life in Egypt.
              1599 M. D������ Idea in Englands Heroicall Epist. (new ed.) sig. P5 O God from you that I could priuate
                   be.
              1630 tr. G. Botero Relations Famous Kingdomes World (rev. ed.) 58 Their women are very private,
                   fearefull to offend.
              1673 R. L���� Transproser Rehears'd 79 How one of his private condition and breeding could arrive to
                   this degree of court-ship.
              1759 R. J������ Hist. Rev. Pennsylvania 379 'Tis true, but..so very private, that in the Herd of Gentry
                   they are hardly to be found.
              1850 L. H��� Autobiogr. xvii. 267 The privatest of all public men found himself complimented.
              1991 Vanity Fair (N.Y.) Sept. 240/2 Unlike the Bloomsburys,..the leading writers in London today tend
                   like Drabble and Holroyd to be very private.



           11. Of a person or two people: alone; undisturbed by others.

              1599 W. S���������� Romeo & Juliet �. i. 134 Away from light steales home my heauie sonne, And
                     priuate in his Chamber pennes himselfe.
              1623 W. S���������� & J. F������� Henry VIII ��. ii. 14 I left him priuate, Full of sad thoughts and
                     troubles.
              1752 S. F���� Taste �. 3 Let us be private.
              1851 H. M������� Moby-Dick iii. 17 No man prefers to sleep two in a bed... I don't know how it is, but
                   people like to be private when they are sleeping.
              1928 D. H. L������� Lady Chatterley's Lover x. 140 A man could no longer be private and withdrawn.
                   The world allows no hermits.
              1983 J. L������ Winter Visitor i. 9 Ed Black wanted to be private, you could tell that at a glance.



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           †12. Privy to; = ����� adj. 4a. Also with with. Obsolete.

              1601 B. J����� Fountaine of Selfe-love �. ii. sig. B3v Had Eccho but beene priuate with thy
                     thoughtes.
              ?1635 F. Q������ Argalus & Parthenia (new ed.) ��. 81 Not making any private to her flight, She quits the
                    house, and steales away by night.
              1742 Cervantes' Novels, Lady C. Bentivoglio 92 That Maid-servant of mine, who was private [1640 privie]
                   to my Actions.



           †13. Of a person: secretive, reticent; discreet, dependable in confidential
           matters. Obsolete.

              a1625 J. F������� Wife for Moneth �. i, in F. Beaumont & J. Fletcher Comedies & Trag. (1647) sig.
                   Ffffff4v/1 You know I am private as your secret wishes, Ready to fling my soule upon your service.
              1660 A. M������ Let. 8 Dec. in Poems & Lett. (1971) II. 9 We hope you will be private in these things
                   communicated to you out of faithfulness to your intrest.
              1824 W. S���� Redgauntlet II. xii. 278 You must give me yours [i.e. your word] to be private in the
                   matter.

            B. adv.

            Privately; secretly, in private. Now chiefly regional and nonstandard.

              ▸ c1443 R. P����� Reule of Crysten Religioun (1927) 364 Alle þe lyuyng of religiose persoones which þei
                    leeden priuate and singuler..comeþ into þe lawe of god.
              a1592 R. G����� Hist. Orlando Furioso (1594) sig. Hiiv Nere had my Lord falne into these extreames,
                     Which we will parle priuate to our selues.
              1660 S. P���� Diary 6 Mar. (1970) I. 79 Everybody now drink the King's health..whereas before it was
                   very private that a man dare do it.
              1704 J. T���� Abra-Mule �. i. 117 I came private, and unattended.
              1759 J. S����� Let. 1 July in Beekman Mercantile Papers (1956) II. 663 The busnes Was Careyed on So
                   privet that I did not know of it until it was all over.
              1821 W. S���� Kenilworth I. viii. 202 He..came not thither so private but what he was espied by one who
                   told me.
              1876 ‘M. T����’ Adventures Tom Sawyer xxxv. 272 I'll smoke private and cuss private.
              1905 A. M. B������� Mop Fair viii. 135 They arranges to stop ‘private’ in Brighton, at a little case in Black
                   Lion Street where Tom Reeder annually took his old woman every August.
              1977 I. S��� Beggarman, Thief �. ii. 25 We got some things to talk about together, private, him and me.
              1996 C. I. M������ Conc. Ulster Dict. 262/2 Private, privately, thus live private live on a private income.

            C. n.
            I. A private affair or thing.
            1.

            a. in private: privately, confidentially, or secretly; in private company;
           in private life. Formerly also †on private.


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              1469 Charter Edinb. Reg. House No. 419 I sall neuer in privat nothr in part be me or ony otheris..hendyr
                   [etc.].
              1581 R. M�������� Positions xxxix. 188 Doth not that deserue to be liked on in priuate, which is
                   thoroughly tryed being showed forth in common?
              1582 R. S��������� tr. Virgil First Foure Bookes Æneis �. 9 Hee walcks on priuat with noane but faythful
                   Achates.
              1615 G. S����� Relation of Journey 171 Confesse they do, but not greatly in priuate.
              1672 R. B����� Church told of Bagshaw's Scandals iii. 32 Could you wish..that the..Protestant Religion
                   were kept up by none but the unconformable Ministers in private?
              1732 T. L������ tr. J. Terrasson Life Sethos II. ��. 273 You are absolutely forbidden speaking to him in
                   private.
              1791 A. R�������� Romance of Forest I. v. 197 If you must be tyrannical, Madam, indulge your humour in
                    private.
              1832 H. M�������� Life in Wilds vi Let each family eat in private.
              1896 C. G. D. R������ Forge in Forest viii. 101 Would you speak with me in private, Father?
              1952 B. D������� Rep. S. Afr. �. i. 27 No serious South African will argue any longer (at least in private)
                   that apartheid..can work.
              1992 Face Feb. 14/2 Ashley..[is] willing to say in print what many more are muttering in private.



           †b. Seclusion, privacy. Obsolete.

              a1616 W. S���������� Twelfth Night (1623) ���. iv. 88 Go off, I discard you: let me enioy my
                     priuate .
              a1641 J. W������ & T. H������ Appius & Virginia (1654) ��. 11 I see there's nothing in such private
                    done, but you must inquire after.
              a1657 G. D����� Idyllia in Poems (1878) IV. i. 58 Perhaps I have To my owne Private, had reflects, as
                    grave On my Condition.

           †2.

           a. A private or personal matter, business, or interest; (in plural) private
           affairs. Obsolete.

              1549 N. R����� Let. in R. Potts Liber Cantabr. (1855) I. 245 [Letters] to signifye..the privits of my hart
                   and consciance.
              1592 H. U���� Corr. (1847) 289 I will no longer hold your Lordship with this my privatt.
              1606 W. W����� Continuance Albions Eng. ��. xcvi. 383 Phocas for his Priuats Rome the Supreme Sea
                   promoted.
              1611 B. J����� Catiline ���. sig. G2v Nor must I be vnmindfull of my priuate .
              1642 J. M���� Argument Militia 7 When it concerns any mans private.
              1674 R. J������� Diary 10 May (1976) 575 My private very afflictive.



           b. A private opinion. Obsolete. rare.

              1599 A. D�� Eng. Secretorie (rev. ed.) �. sig. U1 Yet may you vouchsafe in your owne priuate to reckon



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                     mee with the greatest in willingnesse.



           †3. A lavatory; = ����� n. 1. Obsolete. rare.

              1600 J. H������� Facile Traictise Sacram. 281 Ȝoung wemen..casting thair new borne babes in filthie
                   priuets, vthers in colpots, and in vther secret places.



           4. In plural. The genitals. Cf. private parts n. at Compounds 2.
                In quot. 1604 also punningly with sense C. 9a.


              1604 W. S���������� Hamlet ��. ii. 236 In the middle of her fauours..her priuates we.
              1756 M. M����� Diss. Nature & Cure Venereal Dis. 12 They both affect the Privates in the same Manner.
              1772 N. D. F���� Treat. Venereal Dis. �. ii. 28 Women have naturally many discharges from their privates,
                   to which men are strangers with theirs.
              1835 A. S���� Diary 29 July (1940) II. 136 They had a piece of skin bound round the body and a piece of
                   rag hanging before the privates.
              1900 G. M. G���� & W. L. P��� Anomalies & Curiosities Med. xiv. 734 The man..cut off the whole
                   external genital apparatus, remarking as he flung the parts into a corner: ‘Any—fool can cut his
                   throat, but it takes a soldier to cut his privates off!’
              1940 C. M�C������ Heart is Lonely Hunter ��. iv. 155 He's so fat he hasn't seen his privates for twenty
                   years.
              1955 S. B������ Molloy 77 She..thrust her stick between my legs and began to titillate my privates.
              1993 Sun 31 May (Summer Soccer Special) 7/2 I kicked the ball across the pitch for a throw-in and it hit
                   my old Cambridge team-mate John Francis in the privates. He dropped like a stone.



           †5. A private or confidential communication. Obsolete. rare.

              a1616 W. S���������� King John (1623) ��. iii. 16 The Count Meloone,..Whose priuate with me of the
                     Dolphines loue, Is much more generall, then these lines import.



           6. slang. [Short for private school n. at Compounds 2] In the language
           of British public schools, esp. Eton College: a preparatory school.

              1925 C. C������� Let. 6 Apr. in Romantic Friendship (1975) 64 I met quite a nice small boy who is at my
                   private.
              1932 N. M������ Christmas Pudding v. 81 At my private..we had a most handy little cemetery for the
                   fathers, just behind the cricket pav.
              1965 Listener 22 July 128/1 What private were you at?
              1986 ‘J. �� C����’ Perfect Spy xii. 323 Look here, old boy..I don't think we should go through life wearing
                    hairshirts about what we did at our private.



           7. colloquial. [Short for private ward n. at Compounds 2] = private
           ward n. at Compounds 2.

              1942 M. D������ One Pair of Feet vii. 116 People who told me I should be a house-parlourmaid ‘on



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                      Privates’ had over-estimated. I was Dogsbody.



           8. colloquial. [Short for private bar n. at Compounds 2] = private bar
           n. at Compounds 2.

              1963 N. M���� Dead Water i. 9 There was only one other woman in the Private beside Jenny.
              1975 A. H����� Gently with Love xxxiii. 132 Come into the private—I would not have you leave without a
                   crack.

            II. A private person.
           †9.

           a. A person who does not hold any public office or position. Obsolete.

              1483 Catholicon Anglicum (BL Add. 89074) (1881) 291 A Priuate, priuatus.
              a1616 W. S���������� Henry V (1623) ��. i. 235 And what haue Kings, that Priuates haue not too, Saue
                      Ceremonie, saue generall Ceremonie?
              1671 J. M����� Samson Agonistes 1211 I was no private but a person rais'd With..command from Heav'n
                      To free my Countrey.



            b. the private: people who hold no public office, as a class. Opposed
           to the public. Obsolete.

              1716 A. P��� Corr. 29 Nov. (1956) I. 377 You have already done enough for the Private, do something for
                    the Publick.
              1744 R. N���� & M. N���� Life Sir D. North & Rev. J. North 234 Who hath neither Inclination nor
                   Temptation to court the Public, or flatter the Private.



            10. An ordinary soldier of the lowest ranks; (in the British Army) a
           soldier below the rank of lance corporal; = private soldier n. at
           Compounds 2. Also as title. Formerly also: an ordinary sailor of the
           lowest ranks.
                This rank has many alternative names in different parts of the British Army, as Fusilier,
                Guardsman, Gunner, Highlander, Kingsman, Rifleman, Sapper, Signaller, Trooper, etc.


              [1756 G. W��������� Let. 21 July in Writings (1931) I. 408 John Coke, who was appointed to your
                    Company, a Sergeant, has since been broke for neglect of Duty. You will receive him as private and in
                    his room as Sergeant, Mark Hollies.]
              1775 Jrnl. Continental Congress 2 188 Regular companies of Militia..consist of one Captain,..one
                    drummer, one fifer, and about 68 privates.
              1797 Parl. Reg. 1797–1802 II. 419 The respective increase of monthly pay for able seamen, ordinary
                   seamen, and landmen, with 2d. per day to the non commissioned officers of marines, and 2¼ d. to
                   the privates, would produce a sum total yearly £.351,000.
              1810 D��� �� W��������� Dispatches (1836) VI. 45 One officer, four serjeants and fifty privates of the
                   23rd light dragoons.
              1863 Army & Navy Jrnl. (U.S.) 3 Oct. 84 The privates employed in the Navy are classed in the following




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                     rates.
              1898 Westm. Gaz. 18 July 5/3 The officerless privates then went in and did nobly.
              1918 Aussie: Austral. Soldiers' Mag. Aug. 9/2 The C.O. endeavours to persuade Private Hardcase to
                   accept Blighty Leave.
              1954 W. F������� Fable (1955) 54 Two British privates were resting on the firestep of a frontline trench.
              1991 Combat & Survival Nov. 12/2 Everyone I spoke to, from the most junior Private to the Commander
                   of 3rd Brigade..seemed confident that they belonged to a team of professionals.




           C��������

            C1.
            a. General attributive (chiefly in sense A. 2).

            private assembly n.

              1564 A. B���� tr. J. Jewel Apol. Churche Eng. sig. Pi The Bysshops of the weste parte of the worlde didde
                   call togeather Synodes, and make priuate assemblies in their Prouinces.
              1621 P. H����� Microcosmus 51 These latter being called Hugonotts, so named as they say of a gate in
                   Tours (where they first began) called Hugo's gate, out of which they vsed to goe to their priuate
                   assemblies.
              1651 T. H����� Leviathan ��. xix. 99 If it [sc. the succession] be in any other particular Man, or private
                    Assembly, it is in a person subject, and may be assumed by the Soveraign at his pleasure.
              1797 E. M����� in J. Reynolds Wks. I. p. lv When not engaged..in some publick or private assembly, or at
                   the theatre.
              1842 Times 14 Apr. 4/5 He had summoned only a private assembly in a corner of the Reform Club.
              1910 Encycl. Relig. & Ethics III. 176 The prohibition of public worship drove the people to private
                   assemblies.
              1983 Russ. Rev. 42 143 Dostoevsky committed the indiscretions that resulted at once in his arrest,
                   declaiming Belinsky's radical letter to Gogol at more than one private assembly.
              2013 C. T��� tr. P. Cossart From Deliberation to Demonstration i. 66 If a representative of authority wants
                   to enter a private assembly, the organizer can deny him access.



            private baptism n.

              1549 Bk. Common Prayer (STC 16267) Priuate Baptisme f. v*v, (heading) Of them that be Baptised in
                     priuate houses in tyme of necessitie... Priuate Baptisme.
              1662 Bk. Com. Prayer The Ministration of Private Baptism of Children in houses.
              1774 Philos. Trans. (Royal Soc.) 64 439 The number of children, who died after receiving only private
                   baptism, in consequence of which their deaths were registered, but not their births, amounts to 17.
              1852 J. B����� (title) A manual for the visitation of the sick..to which is added, the office for private
                   baptism.
              1996 Hist. Jrnl. 39 1000 The Breslau messenger Merkert, who had baptised his own child, was acquitted by
                   the courts on the grounds that private baptisms were legal.




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            private boarding house n.

              1795 Times 5 Jan. 4/2 (advt.) Many years established as a private Boarding House.
              1818 Proc. & Rep. Commissioners Univ. Virginia 21 The dieting of the students should be left to private
                   boarding-houses of their own choice.
              1987 Toronto Star (Nexis) 14 Jan. �16 If you're troublesome, alcoholic, or restive, chances are you'll be
                   forced by economics to live in places like Channan Court, a notorious private boarding house.
              2013 S. R������� Preventing Emotional Abuse & Neglect ix. 196 The lack of protections for people living
                   in the private boarding house and hostel sector resulted in many abuses over time.



            private brougham n.

              1848 Spectator 5 Feb. 129/2 Hackney cabs would soon get to rival private broughams in their comfort and
                   appearance.
              1864 A. T������� Can you forgive Her? I. xxxix. 304 He saw Mrs Greenow issue forth from the Close in a
                   private brougham, accompanied by one of the Fairstairs girls.
              1922 J. J���� Ulysses ��. vii. [Aeolus] 143 Hackney cars, cabs, delivery waggons, mailvans, private
                   broughams.
              1999 J. G����� After Dickens ii. 48 Nicholas himself becomes an idol of the town, rich, feted: ladies of the
                   chorus on every chaise longue, while countesses by the dozen wait near the stage door discreetly
                   expectant in their private broughams.



            private carriage n.

              1787 Daily Universal Reg. 17 Jan. 3/2 She was interred in her family-vault at Sutton, in Essex, to which
                   place she was drawn by a hearse and six horses, followed by her own private carriage.
              1826 W. H��� Every-day Bk. (1827) II. 57 Private carriages..draw up to the box door with a vigorous
                   sweep.
              1921 V. W���� String Quartet in Monday or Tuesday 59 Private carriages..have been busy at it, weaving
                   threads from one end of London to the other.
              1999 T. M�� Victorian & Edwardian Horse Cabs 13 The cabs that they ran were only one type of vehicle
                   amongst many that they made available, others often including omnibuses and hearses or mourning
                   coaches, as well as a variety of private carriages.



            private chapel n.

              1564 T. H������ Answere to Iuelles Chalenge i. f. 25v By this decree we learne, that then Masses were
                     commonly sayd in priuat chappelles at home.
              1691 A. W��� Athenæ Oxonienses I. 579 He bequeathed all his books, his two Chalices, his Crewetts, holy
                   water stock [etc.]..to his private chappell in London.
              1786 Daily Universal Reg. 19 Sept. 2/3 Their Majesties attended by four of the Princesses, went to the
                   private Chapel at Windsor, and heard divine service there.
              1839 H. W. L��������� Hyperion I. ��. ix. 195 Besides, he is known as a man of learning and piety;—has
                   his private chapel, and private clergyman.
              1994 Church Times 25 Nov. 9/4 Part of the design includes a tricanale, which came from the designs of



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                     Andrewes's private chapel.
              2009 W. L����� Amico i. 31 The king,..who was known for his piety, heard a simple form of Mass, or
                   devotions, probably early in the morning in the private chapel in the palace.



            private communion n.

              1564 T. H������ Answere to Iuelles Chalenge ii. f. 42 Many of the places that I alleged in the article before
                   this for priuate communion, may serue to this purpose very wel.
              a1649 J. W������� Hist. New Eng. (1853) I. 340 Excommunication is no other but when Christians
                   withdraw private communion from one that hath offended.
              a1776 D. H��� Hist. Eng. (1854–6) IV. xlvii. 443 The rites introduced by James regarded the kneeling at
                    the sacrament, private communion, private baptism, confirmation of children, and the observance of
                    Christmas and other festivals.
              1823 M. W. S������ Valperga III. 267 We know nothing of the private communion of these friends.
              1910 Encycl. Brit. I. 974/1 An invalid may always have his private communion.
              2003 Courier Mail (Queensland) (Nexis) 21 June �6 It's the classic image of a little child, wrapped in
                   private communion with a book, oblivious of the clatter from the kitchen, the dog barking, the car
                   accelerating down the road.



            private education n.
              15812Priuate education [see sense A. 2b(a)].
              1668 D. L���� Memoires 271 He was..against Fathers keeping their Children at home under their own
                   tuition, because private Education hardly raiseth Youths to that vigor, freedom, and generosity of
                   spirit, that a more publick doth.
              1742 S. R��������� Pamela IV. liv. 341 He may teach a young Gentleman, betimes, that necessary
                   Presence of Mind, which those who are confin'd to a private Education, sometimes want.
              1839 H. T. T�������� Isabel 16 Isabel had reaped the advantages of a faithful private education and
                   occasional visits to the principal cities of her country.
              1992 Economist 6 June 30/1 Parents opt for private education because they worry that they will have no
                   choice but to send their children to the lousy comprehensive around the corner.
              2014 A. P���� Educ. in Albuquerque iv. 37 Several entities chose to open their own schooling system,..and
                   that tradition of private education has continued in the Albuquerque area along side of public
                   schooling.



            private funeral n.

              1577 R. W����� & R. E��� tr. Peter Martyr of Angleria Hist. Trauayle W. & E. Indies f. 258v Many Bonzii
                     returne lykewise to these priuate funeralles.
              1676 E. S����� Conquest of China by Tartars ��. i. 41 If 'twere by your Sword her Chance to fall, My hand
                   should give her private Funeral.
              1766 T. A���� Life John Buncle II. v. 162 I gave her a decent private funeral; a hearse, and one mourning-
                   coach, in which I alone attended her remains to the earth.
              1883 Harper's Mag. Mar. 648/1 ‘Well,’ said the Pacific sloper, ‘if it's a private funeral, what do they call it a
                   reception for?’




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              2002 Newsweek 11 Mar. 42/3 The van Dams plan a private funeral, with a public memorial on March 16 at
                   the beach in La Jolla.



            private meeting n.

              1576 A. F������ tr. Isocrates in Panoplie Epist. 175 To thinke of them, as of things in priuate meetings of
                   friends & familiar companions, very requisite & auailable.
              1612 W. S������� Lawes in P. Force Tracts (1844) III. ��. 39 Hee shall command all disordred people
                   vntimely (sitting vp late in vsuall assemblies, whither in priuat meetings, publike tap-houses, or such
                   like places) vnto their rests.
              1748 S. R��������� Clarissa IV. xxxiv. 202 No woman ever gave me a private meeting for nothing; my
                   dearest Miss Harlowe excepted.
              1896 Atlantic Monthly Aug. 274/1 On the eve of her marriage Clorinda has a private meeting in her house
                   with Sir John.
              1995 C. S���� Demon-haunted World vi. 103 I arranged for McDonald to present his best cases in a private
                   meeting with leading physicists and astronomers.



            private play n.

              1603 W. S���������� Hamlet ��. iii. 340 Yfaith my Lord, noueltie carries it away, For the principall publike
                   audience that Came to them, are turned to priuate playes, And to the humour of children.
              1633 W. P����� Histrio-mastix �. ��. v. 495 These Statutes (which are principally intended in private Playes
                   and Enterludes, since they condemne and suppresse all publike,) seeme to allow of popular Stage-
                   playes.
              1790 F. R������� Dramatist �. 12 Whence arises the pleasure at an Opera, a private Play, or a Speech in
                   Parliament?
              1868 P. F��������� Life David Garrick I. vi. 158 It was once determined to get up a private play..and the
                   parts were cast in a moment.
              1989 Independent (Nexis) 27 Jan. 21 The Duchess of Leinster adopted her, and the Duke of Richmond
                   made her supervisor of his private plays.
              2014 D. J. J���� Sexuality & Gothic Magic Lantern Introd. 17 The Comte de Caylus frequently used magic
                   lanterns in his private plays.



            private theatre n.

              1633 W. P����� Histrio-mastix ��. �. 835 Whether the profession of a Playhouse-Poet, or the penning of
                   Playes for publike or private Theaters, be warrantable or lawfull?
              1784 W. H����� (title) Plays of three acts written for a private theatre.
              1807 E. W����� Let. 18 Nov. (1969) 50 She..was never outshone in elegance of movement at a Ball, out-
                   performed at a private Theatre.
              1999 N.Y. Times 19 Oct. �3/4 Grounded in jazz, copping its wit from jump blues, the music Ms. Jones made
                   transformed the American musical canon into her private theater and hiding place.



            private theatrical n.



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              1787 J. P����� (title) The narcotic & private theatricals.
              1818 J. K���� Let. 23 Jan. (1931) I. 96 I began an account of a private theatrical—Well it was of the lowest
                   order, all greasy and oily.
              1831 D. E. W������� Life Sir T. Lawrence I. 50 Nor did he ever take part in any private theatricals.
              1990 Vanity Fair (N.Y.) Nov. 76/1 Lust was trench warfare for him, a private theatrical for her.
              2007 G. R������ in J. Moody & D. O'Quinn Cambr. Compan. Brit. Theatre, 1730–1830 xiii. 191 Probably
                   the best-known example of a private theatrical in the Georgian period is..the scheme to stage Lovers'
                   Vows in Jane Austen's Mansfield Park (1814).



           b. Forming adjectives in combination with participles, as †private-
           humoured, private-looking, private-spirited, etc.

              1602 W. F������� Pandectes 58 Secreat meetinges of male-contents, phantasticall, and priuate humored
                   persons.
              1655 J. S������� Schism Dis-arm'd 19 The Doctors private-spirited opinion.
              1709 J. S��� Lett. to Nobleman iii. 19 The sloathful private spirited and inglorious Stranger.
              1834 J. L. M����� Let. 17 Jan. in Corr. (1889) I. ii. 33 The palaces in Berlin being all very simple, private-
                   looking houses.
              1895 Spectator 21 Sept. 368 Unpatriotic and..private-spirited reason.
              1925 Philos. Rev. 34 25 Selfish and private-spirited activities, no less than noble and public-spirited
                   activities, obey this law.
              1993 Time Out 31 Mar. 41/4 Mostly this is exemplary private-minded, public spirited journalism.
              2004 Bath Chron. (Nexis) 18 May 30 Housed in a long, low, private-looking building of honey-coloured
                   stone, the sanctuary is all that it says it is—a retreat from bustle and stress.

            C2.

            private account n. a bank account relating to one's personal (as
           opposed to business) assets; a credit account for personal purchases.

              1772 Edinb. Advertiser 2 Oct. 210/2 Had James..any conception that you was indebted upon your own
                   private account?
              1785 Daily Universal Reg. 16 Sept. 3/2 Above 600,000..sterling per annum have been drawn off on private
                   accounts, by the way of China alone.
              1854 C. N����� Eng. Laws for Women in 19th Cent. 81 Mr Norton..sent his attorney to make extracts at
                   their bank, of all sums entered in my private account.
              1987 W. J. B����� Wycliffe & Scapegoat (BNC) 66 On the day Mr Riddle disappeared he drew two
                   hundred and ninety pounds from his private account.
              2009 B. K��� Marriage First Aid Kit x. 233 When you have your own private account, you don't have to ask
                   permission for money to implement a private choice.



            private Act n. a British parliamentary Act affecting only the interests
           of a particular individual or small group of individuals (as a corporation,
           local area, etc.); cf. public act n. at ������ adj. and n. Compounds 1b.




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              a1638 R. B������� Rep. Diverse Cases: 2nd Pt. (1651) 325 Coke cheife Justice..did agree that the
                   Arbitrement, the Convaiance, nor the private Act made nothing in the Case, for by these the
                   Commoner cannot be barred of his Common.
              1705 Laws conc. Poor vi. 78 Being a private Act none can be indicted.
              1818 W. C����� Digest Laws Eng. Real Prop. (ed. 2) V. 527 An estate tail, granted by Richard III. to the
                   Derby family..which by a private act of 4 Jac. I. was limited to the heirs male of the family in a different
                   manner from that in which it had been limited by the letters patent.
              1991 J. K������ Local Govt. & Politics in Brit. xiii. 213 Parliament sometimes extended the provisions of a
                    good private Act to cover all areas by passing a public Act.
              2005 E. K. B����� State Immunity Controv. Internat. Law iv. 75 If the act is by its nature such as any
                   private person could engage in, as, for instance, a contract or a loan, the act, whatever its purpose, is a
                   private act.



            private army n. an army not recruited by the State; a mercenary force;
           also figurative and in extended use.

              1857 Times 18 Nov. 8/2 His own Contingent was still so strong as not to be immediately controlable by his
                   private army.
              1933 E. A. M����� Germany puts Clock Back 94 The Steel Helmet, or Confederation of Front-line
                   Soldiers, the most respectable of the private armies, was founded on Christmas Day, 1918.
              1959 M. G������ Blood & Judgement ix. 95 The police were a private army.
              1968 N.Y. Times 23 July 41 (heading) Norman Mailer enlists his private army to act in film.
              1992 Utne Reader Jan. 79/1 With the veneer of the Soviet threat torn away, agency actions prove more than
                   ever a thesis shared by numerous former CIA agents—that the national security apparatus is little more
                   than the private army of the Fortune 500.



            private bank n. a bank owned and run by a small group of people (in
           Britain, the maximum number was traditionally ten, but this was
           increased under the 1967 Companies Act to twenty), each partner having
           unlimited liability.

              1696 W. K�������� Proposal 15 That a distinct Appartment, in this Office, shall be fitted; where all
                   Merchants, and Others, may lodge their Cash, as in the Public, or Private Banks.
              1714 in A. M. Davis Tracts Currency Mass. Bay (1902) 115 Which does most of all import them, the Publick
                    or the Private Bank?
              1802 M. E�������� Let. 1 Dec. in M. Edgeworth in France & Switzerland (1979) 43 Private banks never
                   issue any notes.
              1978 M. B��������� Sleep in Ditch 120 My mother wanted me to be a banker..in one of the small,
                   distinguished private banks.
              2000 Econ. Affairs 20 5/3 Even in countries where private banks do not print the currency today, these
                   institutions do create money when they make loans.



            private banker n. a person who owns and runs a private bank.

              1711 P. H. Impartial View Two Late Parl. 104 The Private Bankers, who look'd upon the Bank with an



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                     envious Eye from its first Establishment.
              1776 A. S���� Inq. Wealth of Nations I. �. ix. 111 Private bankers in London give no interest for the money
                     which is deposited with them.
              1884 Helena (Montana) Independent 29 Apr. 1/4 The secretary had exercised a wise discretion by
                   depositing money with the treasurer rather than with a private banker.
              1978 P. N���� Who is Simon Warwick? viii. 104 A house which only a private banker could possibly have
                   described as a cottage.
              2014 D. C�� Handbk. Anti-Money Laundering viii. 115 When the account is in the name of an individual,
                   the private banker must establish whether the client is acting on his/her own behalf.



            private banking n. the operations of a private bank.

              1757 M. P����������� Great Britain's True Syst. ix. 211 By the Means of public and private Banking.
              1793 Edinb. Advertiser 30 July 74/1 On account of its permanency, such an institution is preferable to
                   private banking.
              1818 Times 9 Apr. 2/3 The Chancellor of the Exchequer replied, that his regulations went solely to the
                   system of private banking.
              1836 in W. L. Mackenzie Life & Times M. Van Buren (1846) 176 If the fetters are knocked off by the repeal
                   of the Restraining Law, private banking associations may be formed.
              1997 Investors Chron. 19 Sept. 32/1 Just two decades ago, reference to private banking in London would
                    only really entail such organisations as Coutts & Co and Hoare & Co.



            private bar n. = lounge bar n. at ������ n. Compounds 2; (also) a bar
           which is not open to the public.

              1892 A. C���� D���� in Strand Mag. Jan. 79/2 Holmes pushed open the door of the private bar, and
                   ordered two glasses of beer from the ruddy-faced, white-aproned landlord.
              1910 H. G. W���� Hist. Mr. Polly viii. 259 The policeman..put his head inside the Private Bar, to the horror
                   of every one there.
              1972 M. G������ Body of Girl xii. 107 She was in here..just after we opened. She came into the private bar.
              1992 Evening Standard 28 Sept. 11/4 The confused housewife with the naff sofa, and the private bar in her
                   garage.
              2007 S. W������� Sugar Walls x. 123 Upstairs would be the two ��� rooms..with a private bar and a private
                   dancing room in each one.



            private bath n. a bath for private use; (now usually) = private
           bathroom n.

              1771 T. S������� Humphry Clinker I. 91 To purify myself from all such contamination, I went to the duke
                    of Kingston's private Bath, and there I was almost suffocated for want of free air.
              1825 E. W����� Jrnl. 14 June (1969) II. 384 I like to bathe alone, and a private bath is just to my taste.
              1906 ‘O. H����’ Four Million 47 The double front room with private bath.
              1995 Common Ground Jan. 32 (advt.) Three bedrooms, each with private bath.




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            private bathroom n. a bathroom set aside for private use, esp. one
           attached to a hotel room or guest room.

              1857 Chambers's Information for People (new ed.) I. 474/2 The establishment should possess washing-
                   rooms, single private bath-rooms, a large plunge bath-room, and waiting-rooms for the several classes
                   of bathers.
              1910 Bradshaw's Railway Guide Apr. 1148 Suites of rooms with private Bathrooms.
              1995 Sun 26 Apr. 23/3 (advt.) All apartments have fully equipped kitchenettes, private bathroom and
                   balconies.



            private beach n. a beach that is privately owned, esp. by a hotel for
           the use of guests.

              1859 N.Y. Times 26 Mar. 6/4 (advt.) The location is..near a fine private beach for sea bathing, fine roads,
                   delightful drives.
              1860 Times 26 Dec. 11/5 All the comforts of a country home, fine sea air, a private beach, and the services
                   of an efficient resident governess.
              1961 Sphere 6 May 212 A new 1st-class hotel, the Hibiscus, with private beach, opens this summer.
              1991 Holiday Which? Mar. 108/3 There are no private beaches in Goa, but in peak season guards
                   unobtrusively try to keep the peddlars away from the cream pickings.



            private bed n. (a) a hospital bed in which a patient has privacy; (b)
           (in the United Kingdom) a place allocated for private inpatients at a
           National Health Service hospital.

              1855 Times 24 Sept. 9/1 For private beds ‘revolving fans’ are used within mosquito curtains.
              1927 Science 4 Nov. 420/2 The new hospital will contain about 415 public beds, seventy-five private beds
                   and an extensive out-patient department.
              1967 P. W������� Consumer's Guide Brit. Social Services vi. 158 Private beds amount to little over one per
                   cent of the total number of beds in use.
              1993 A. G������ Tell them I'm on my Way (BNC) 232 There were..approximately 4,000 private beds in
                   NHS hospitals out of a total of 400,000 hospital beds throughout the country.



            private bill n. (in Britain) a legislative bill affecting only the interests
           of a particular body or individual; cf. private Act n.

              1572 Orig. Commons Jrnls. 2 101 It is ordered by the house to sytte at afternoones, from three of the clock
                   till six, and to proceede but only in private bills.
              1678 S. B����� Hudibras: Third Pt. ���. ii. 145 Who..Can..Lay Publick Bills aside, for Private, And make 'em
                   one another Drive out.
              1785 Daily Universal Reg. 9 Feb. 34/3 The House of Peers came to a resolution not to receive any reports
                   from the Judges on private Bills.
              1844 T. E. M�� Law of Parl. 302 The functions of Parliament in passing private bills, have always retained
                   the mixed judicial and legislative character of ancient times.
              1990 Green Mag. Apr. 16/1 Fighting Parliamentary Private Bills has added to the problems facing


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                     conservationists.



            Private Bill Office n. an office in the Houses of Parliament which
           deals with business relating to private bills.

              1819 Times 26 Mar. 2/5 Leave might be granted them to deposit in the private bill office, a sectional plan of
                   the property through which the rail-road was to run.
              1850 in J. Irving Ann. Our Time 30 Nov. (1872) 315/1 Plans for about 104 new schemes were deposited to-
                   day in the Private Bill Office.
              1981 Legislative Stud. Q. 6 502 The last of the older offices, the Private Bill Office, which looks after bills
                   for the benefit of particular interests, dates from the first appointment of a Clerk of Private Bills in
                   1810.



            private box n. a box in a theatre which may be booked for the
           exclusive use of a group of people.

              a1640 P. M�������� City-Madam (1658) ��. sig. E2 The private Box took up at a new Play For me, and my
                   retinue.
              1787 Daily Universal Reg. 10 Aug. 2/1 Wednesday evening their Highnesses the Prince of Wales and Duke
                   of York were in a private box, at the Hay-market Theatre.
              1897 R. K������ Let. 1 June in C. E. Carrington Rudyard Kipling (1955) x. 254 We went to the Lyceum...
                   Irving put a private box at our disposal.
              2004 Sunday Tel. (Nexis) 28 Mar. 9 It is a beautiful 1,500-seat auditorium with ornate plaster ceilings,
                   faded ruby-red carpets, sloping balcony and gilded private boxes above each side of the stage.



            private branch exchange n. Telephony an exchange on private
           premises by which private lines may be connected to a public network;
           abbreviated PBX.

              1904 N.Y. Electr. Handbk. (Amer. Inst. Electr. Engineers) 107 There are at the present time in New York
                   over 5,000 of these private branch exchanges, with a total of over 60,000 stations.
              1911 W. A����� Man. Telephone xxi. 416 No hotel or warehouse of any standing is now considered
                   complete without a private branch exchange connected to the ‘Central’ by a number of circuits.
              1992 Philadelphia Inquirer 11 Oct. �24/3 The scam targets the multifunction switchboard used by most
                   corporations—the private branch exchange, or PBX.



            private business n. Eton College slang extra tuition.

              1868 Times 25 June 10/4 Their tutor used to have a class list of his own for what was called private
                   business, where the ordinary studies of the school were made to give way in favour of English essays.
              1900 J. S. F����� Public School Word-bk. 158 Private-business,..extra work with the tutor.
              1979 D. N������ On Edge of Paradise ii. 87 Half-an-hour's preparation for his Private Business lecture on
                   Napoleon.
              1995 Evening Standard (Nexis) 14 June 22 Two nights a week boys take part in what the school regards as
                   one of the jewels of its intellectual crown—‘private business’, or tutorials.



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            private call n. a personal telephone call to or from one's place of work.

              1907 Times 2 Nov. 6/5 Is it likely, with the best intentions on the part of the principals, that these various
                   private calls of employés and servants get recorded by the subscriber?
              1942 E. W���� Put out More Flags i. 52 There's a ridiculous woman on the line saying is this a private call?
              1993 S. J���� Love over Gold (BNC) 242 He hoped he at least sounded businesslike, as though it were not
                   a private call.



             private car n. (a) chiefly U.S., a privately owned and used railway
           carriage; (sometimes also) a railway carriage not available for public use;
            (b) a motor car owned and used privately, contrasted with a commercial
           vehicle.

              1826 Times 6 July 2/2 Several private cars, on which were ladies, were stopped opposite Colonel White's
                   committee-room.
              1832 Amer. Rail Road Jrnl. 1 495/3 Parties of twenty or more persons can be accommodated..with a
                   private car.
              1897 R. K������ Captains Courageous ix. 186 Send ‘Constance’, private car, here, and arrange for special
                   [train].
              1926 Brit. Gaz. 12 May 1/3 There were few private cars on the roads and nearly every vehicle was labelled
                   ‘Food only’.
              1990 Time 30 Apr. 23/1 Hanoi's narrow tree-lined streets are filled with bicycles and pedicabs, for private
                   cars are a rarity in the city.



            private collection n. a collection (esp. of works of art) in private
           possession.

              1692 A. W��� Athenæ Oxonienses II. 594 In the possession of the other is his Cabinet of Greek Medals, as
                   curious as any private collection whatsoever.
              1751 T. S������� Peregrine Pickle II. lxix. 253 No private collection in Europe was equal to that of Sir Hans
                    Sloane, which, exclusive of presents, had cost an hundred thousand pounds.
              1864 A. T������� Can you forgive Her? I. x. 76 The library, which was the largest of the three, was a
                   handsome chamber, and so filled as to make it well known in the University as one of the best private
                   collections in that part of England.
              1979 R. C�� Auction i. 24 There were several Memlings in Austrian private collections. Stefan Zweig owned
                   one.
              1995 Victorian Soc. Ann. 1994 27 The exhibition made a profound impression on the young Charles
                   Handley-Read, inspiring him to form the most important private collection of Victorian decorative art
                   ever assembled.



            private company n. a company in private ownership, as opposed to
           an organization owned or operated by the State; (now Law) a registered
           company prohibited from offering shares and debentures to the public,
           and usually having restrictions on membership (cf. sense A. 3a).



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              ?1711 Some Queries relating to Present Dispute Trade to Afr. 1 Whether the Government cannot maintain
                    Settlements abraod as well as a Private Company?
              1788 T. J�������� Memorandum 14 Apr. At the village of Kaeferthal is a plantation of rhubarb, begun in
                   1769 by a private company.
              1846 Jrnl. Statist. Soc. 9 212 The want of any general municipal authority has caused the relinquishment of
                   the street lighting into the hands of private companies.
              1908 Act 8 Edward VII c. 69 §121 For the purposes of this Act the expression ‘private company’ means a
                   company which by its articles—(a) Restricts the right to transfer its shares; and (b) Limits the number
                   of its members..to fifty; and (c) Prohibits any invitation to the public to subscribe for any shares or
                   debentures of the company.
              1928 Britain's Industr. Future (Liberal Industr. Inq.) ��. vii. 84 The most important existing legal
                   distinction is between Public Companies..and Private Companies, limited to not more than 50
                   shareholders.
              1948 Act 11 & 12 Geo. VI c. 38 §31 If at any time the number of members of a company is reduced, in the
                   case of a private company, below two,..and it carries on business for more than six months while the
                   number is so reduced, every person who is a member of the company during the time that it so carries
                   on business..shall be severally liable for the payment of the whole debts of the company contracted
                   during that time.
              1996 Independent 23 Aug. �. 3/1 Growing numbers of agencies from private companies to central and local
                   government hold ever-increasing amounts of..information about individuals.



            private detective n. a detective who is engaged privately, as opposed
           to a member of an official police or security force.

              1857 Chicago Tribune 27 June 1/3 Now if, instead of making indirect charges against private
                   detectives,..the Mayor would employ some effective means to catch the burglars [etc.].
              1861 E. D. C��� Paul Foster's Daughter ii. 31 A private detective, ready to peer into anybody's cupboards
                   and gimletise anybody's doors.
              1936 A. C������� ABC Murders v. 38 ‘Then you're not—anything to do with the police, sir?’ ‘I am a private
                   detective.’
              1995 Independent 23 Nov. 12/7 The authority and the insurers said they would continue to use private
                   detectives to examine claims.



            private developer n. an individual who or company which develops
           land or property for personal profit.

              1911 Nevada State Jrnl. 11 Aug. 3/7 The coal fields given over to private developers on a lease hold system
                    as simple as possible.
              1934 Times 18 June 11/3 Whether public or private developers take the matter in hand, they will have to act
                   quickly, for negotiations nowadays are speedy.
              1972 Country Life 25 May 1330/1 Berkshire has given planning permission for some 18,000 houses, of
                   which private developers build less than 3,000 new houses a year.
              1991 Power Sept. 5/3 The island nation is trying to do all it can to attract private developers.




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            private development n. land or property development undertaken by
           a private individual or company; a property, plot of land, etc., developed
           in this way.

              1910 Times 30 Apr. 9/1 The best picture in England of the effects of a private development grant.
              1924 H. M�������� A. E. Smith xli. 271 In every spot in this State where by our past policy we have
                   permitted private development, nobody has benefited but the individuals who have been lucky enough
                   to secure the rights.
              1961 Recreation Dec. 531/1 Areas should..have room around the edges to protect the values of the area
                   from encroachment by private developments.
              1992 Navajo Times (Window Rock, Arizona) Oct. 1/3 In his ruling to end the only quarter-century federal
                   ban on public and private development on Indian lands in the country, [etc.].
              2004 Independent 15 May 20/1 The project has Britain's first combined head and power (CHP) system in a
                   private development—an on-site power plant which uses waste and solar energy to provide electricity
                   and central heating for the site.



            private dick n. slang (originally and chiefly U.S.) = private detective
           n.

              1912 A. H. L���� Apaches N.Y. vi. 128 But w'at wit' th' stores full of private dicks a booster can't do much.
              1946 E. O'N���� Iceman Cometh �. 14 Yuh remember dey used to send down a private dick to give him the
                   rush to a cure, but de lawyer tells Harry nix, de old lady's off of Willie for keeps dis time and he can go
                   to hell.
              1974 ‘E. M�B���’ Mugger ii. 14 Bert, on the money I make, I can't afford a private dick.
              2002 Loaded July 85/1 Exeter-based Carole-Anne Westcott hired a private dick to track down her runaway
                   husband.



            private family n. a family in its personal capacity, esp. one occupying
           a private home; a family household as distinct from an institution,
           commercial establishment, etc.

              1598 R. B������� Disc. Felicitie of Man ��. 305 Vngodlines troubleth the Church, Iniustice the common
                   wealth, Luxuriousnes priuate families.
              1662 D������ �� N�������� Religious �. xxxviii, in Playes Written 555 Indeed happiness lives more in
                   Cloysters than in Courts, or Cities, or private families.
              1751 E. H������ Hist. Betsy Thoughtless I. ii. 20 Never did the mistress of a private family indulge herself,
                    and those about her, with such a continual round of publick diversions.
              1849 T. B. M������� Hist. Eng. (1871) I. iii. 144 By the Petition of Right, it had been declared unlawful to
                   quarter soldiers on private families.
              1947 A. B. M������ Handbk. for Nursery Nurses 1 The Nursery nurse who prefers the care of individual
                   children..may become a nanny in a private family.
              2004 Frederick (Maryland News-Post) 25 Jan. �7/1 Several churches, private families, individuals,
                   businesses and service organizations.




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            private finance initiative n. (also with capital initials) British a
           government scheme under which private sector finance is used to
           supplement public sector investment in public services, first proposed in
           1989, with official guidelines being issued by the Treasury in 1992;
           abbreviated PFI.

              1989 Hansard Commons 22 May 423 The Government will keep up the momentum of the private finance
                   initiative.
              2002 Metro 20 Sept. (London ed.) 4/4 Gordon Brown..said it would be ‘completely unacceptable’ to
                   suspend the Private Finance Initiative, arguing it would deny the public the services they needed.



            private function n. a private party or other social event.

              1888 Times 3 Dec. 9/5 They held a sort of private function.
              1948 Sunday Gleaner (Kingston, Jamaica) 17 Oct. 9/3 An opportunity may be made to hear him [sc. Paul
                   Robeson] at a private function.
              1995 K. I������� Unconsoled viii. 98 If no one had encouraged him, I'm sure he'd have been happy to melt
                   into the background, give the odd recital at a private function, nothing more.



            private highway n. = private road n.

              1724 Act to inclose Common Fields Sunningwell cum Bayworth 2 The said Commissioners..shall ascertain
                   and appoint the publick and private Highways and Roads already made, or to be made..under their
                   Hands and Seals.
              1894 Oakland (Calif.) Tribune 21 Dec. 8/2 He argued, that their erection would convert a public highway
                   into a private highway for the exclusive use of the railway company.
              1950 Daily Independent Jrnl. (Calif.) 22 July 3/5 [He] made a left turn into a private highway and was
                   sideswiped by the car following.
              2004 R. H. B������ Building Knowledge-driven Organization vi. 85 I do not understand why any
                   company would try to create its own network in today's electronic world, any more than it would try to
                   build a private highway to truck parts from one plant to another.



            private hospital n. a hospital which treats only private patients, and
           which is not funded by the State or a public body.

              1763 J. B��� Trav. from St. Petersburg II. 106 The missionaries also send out people to take up such
                   [children] as have been neglected, who are carried to a private hospital, maintained at their charge.
              1827 Times 14 June 2/2 As a general system, he..preferred public asylums to private hospitals, for lunatic
                   paupers.
              1903 Merck's Ann. Rep. 17 183 Veronal has been thoroughly tested in a large number of noted public and
                   private hospitals.
              1990 Hindu (Madras) 16 Jan. 9/6 Maani Madhava Chakyar died at a private hospital in Ottapalam near
                   here on Monday.




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            private hotel n. a residential hotel or boarding house, usually
           privately owned, which receives guests only by private arrangement.

              1796 Times 22 June 1/2 (advt.) J. Morris..fitted up the same in the first stile of elegance, as a private hotel
                   for families and gentlemen.
              1820 M. E�������� Let. 14 Nov. in M. Edgeworth in France & Switzerland (1979) 274 The Duchesse
                   d'Uzès..has the finest private hotel in Paris.
              1936 N. C����� Fumed Oak i, in To-night at 8.30 II. 41 Mrs. Rockett: I can always go to a boarding-house
                   or a private hotel. Doris: Catch you!
              1962 F. J. B��� & C. R��������� Hotel & Catering Law (rev. ed.) iii. 37 The private hotel proprietor
                   reserves to himself the right to pick and choose his guests, and does not hold himself out as willing to
                   receive anyone who calls. He makes a separate contract, either written or verbal, with his guests.
              1992 M. W����� Indigo (BNC) 130 Madame Davenant kept a clean and respectable and quiet private hotel,
                   which is why it had been chosen for Miranda and why she liked it.



            private income n. income derived from private sources, as
           investments, property, inheritance, etc.; unearned income; = private
           means n.

              1725 L. E����� Hist. Revol. ��. i. 117 By sparing her private Income as to her self, she became eminent in
                   her Charities.
              1788 in Federalist Papers xx. 122 His revenue, exclusive of his private income, amounts to 300,000 florins.
              1897 Lime Springs (Iowa) Sun 2 July 3/3 His wife will make him a small allowance from her private
                   income.
              1952 M. L���� Village iii. 65 Because she's got a private income no one ever expected her to go out and take
                   a job.
              1991 P. B����� Regeneration iv. 31 I've no private income to tide me over.



            private inquiry n. work undertaken by a private detective; usually
           attributive.

              [1850 Househ. Words 27 July 410/1 Sergeant Fendall, a light-haired, well-spoken, polite person, is a
                    prodigious hand at pursuing private inquiries of a delicate nature.]
              1856 Illustr. Times 2 Feb. 70/3 The design was conceived of establishing a private inquiry office with a
                   view of ‘preventing and detecting crime’.
              1874 M. C����� His Nat. Life ���. xxii. 331 I dabbled a little in the Private Inquiry line of business.
              1892 R. K������ & W. B�������� Naulahka xvii. 204 See here, young woman, do you run a private inquiry
                   agency?
              1922 Kelly's Directory Liverpool 1181/3 Ramage & Kelly private inquiry agents.
              1987 D. L������ Haunted Woman 185 The police were out of the question, and private inquiry agents were
                   not much better.




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            private international law n. the branch of law which deals with cases
           of private law involving a foreign element (as the fulfilment of contracts,
           recognition of marriages and other relationships contracted abroad, etc.),
           especially in determining the extent to which courts of one's own country
           have jurisdiction over such cases and whether the domestic or foreign law
           should be applied by the court to resolving the issue.

              1834 J. S���� Comm. Conflict of Laws i. 9 The jurisprudence, then, arising from the conflict of the laws of
                   different nations, in their actual application to modern commerce and intercourse, is a most
                   interesting and important branch of public law... This branch of public law may be fitly denominated
                   private international law, since it is chiefly seen and felt in its application to the common business of
                   private persons.
              1861 R. P��������� Comm. Internat. Law IV. p. iii This volume is devoted to the consideration of Jus
                   Gentium—Private International Law, or Comity: that is, strictly speaking, the law which ought to
                   govern the legal relations of individuals not being the subject of the State which administers the law.
              1938 G. C. C������� Private Internat. Law (ed. 2) i. 22 The expression ‘Private International Law’, coined
                   by Story in 1834,..and used on the Continent by Foelix in 1838,..has been adopted by Westlake and
                   Foote and most French authors. The chief criticism directed against its use is its implication that the
                   subject forms a branch of International Law. There is, of course, no affinity between Private and Public
                   International Law. The latter comprises those universally accepted customs which are recognized by
                   States in their public relations with each other; the former consists of rules which the Courts of each
                   territorial jurisdiction follow when a dispute containing some foreign element arises between private
                   persons.
              1992 J. M. K���� Short Hist. Western Legal Theory viii. 346 Mancini's theory had no large-scale success:
                   except within the more modest area of private international law.



            private investigator n. = private detective n.
                In early quots. not a fixed collocation.


              [1874 W. G. S����� Hist. Amer. Currency i. 75 The banks were as recalcitrant about giving statistics,
                    either to the Secretary of the Treasury or private investigators, as about any of their other duties.
              1885 Atchison (Kansas) Daily Globe 1 May A communication..by the State Veterinary Surgeon... ‘I went to
                   Fulton as a private investigator nearly three weeks ago.’]
              1894 Standard 28 Dec. 1/2 (advt.) Eugene Harvey.—Private Investigator. Missing friends found, private
                   inquiries, secret watchings.
              1909 Northeastern Reporter 86 375 Also Mrs. Eva Herndon, a private investigator for the United States
                   postal authorities, who testified, in substance, that she had a talk with Mrs. Hagenow at her home on
                   January 22, 1907.
              1940 R. C������� Farewell, my Lovely iii. 21 Philip Marlowe, Private Investigator. One of those guys,
                   huh?
              1995 i-D Aug. 48/1 McDonalds sent private investigators to London Greenpeace meetings to sniff out
                    individuals to press charges against.



            private joke n. a joke understood only by a select few.

              1789 Times 29 Oct. 2/1 The serious business of the piece is too often disgraced, and the ‘cunning of the


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                     Scene’ destroyed by their unmeaning merriment and private jokes.
              1875 Harper's Mag. June 105/1 He was not wanting in a fund of wholesome playfulness, and enjoyed his
                   private jokes with each horse, cow, and hen.
              1905 B������� O���� Scarlet Pimpernel ii. 11 The two little kitchen-maids bustled around..giggling over
                   some private jokes of their own, whenever Miss Sally's back was turned for a moment.
              1995 N. H����� High Fidelity (1996) iv. 57 I'd want her to write songs at home, and ask me what I thought
                   of them, and maybe include one of our private jokes in the lyrics.



            private judgement n. personal opinion (esp. in religious matters), as
           opposed to the acceptance of a statement or doctrine on authority or on
           the basis of public opinion.

              1565 T. S�������� Fortresse of Faith f. 6 He interpreteth it after his owne liking and priuat iudgement.
              1656 T. B����� Acad. Eloquence (ed. 2) 11 The more learned have avoided this kinde of flourish, lest their
                   writings should savour more of the general humor, then of private judgement.
              1718 T. H���� (title) Defense of private judgment.
              1841 T. C������ On Heroes iv. 201 Liberty of private judgment, if we will consider it, must at all times have
                   existed in the world.
              1959 P. D����� Enforcement of Morals 9 Are morals always a matter for private judgement?
              2002 Rev. Politics 64 692 The great danger comes in turning all religious questions over to the private
                   judgment of individuals.



            private-label adj. designating a product manufactured or packaged for
           sale under the name of the retailer rather than that of the manufacturer;
           cf. own-label adj. and n. at ��� adj. and pron. Compounds 1.

              1923 Daily Courier (Connellsville, Pa.) 19 Jan. 7/5 No third-rate private label goods are sold at our stores.
              1961 Economist 11 Mar. 984/1 There are the usual ‘private-label’ teas, flour, butter, and dried cereals, fruit
                   and pulses; besides these, private label jams and biscuits are quite common and several companies
                   market their own canned peas, soups, canned fruit and canned vegetables; there is even a private-label
                   pine essence.
              1995 Guardian 14 June �. 17/5 Private label goods are sold by retailers as alternatives to branded products.



            private law n. the branch of law concerning relations and dealings
           between private individuals; see quot. 1923.

              a1638 R. B������� Rep. Diverse Cases: 2nd Pt. (1651) 325 Walmesley..sayd, that it was in vain to dispute
                   if the statute of 22 Ed. 4. was private Law, or if it were repealed.
              1702 G. M�������� Parainesis Pacifica 6 The third Branch, viz. that of Privat Law, cannt [sic] afford the
                   least obstruction.
              1773 J. E������ Inst. Law Scotl. I. �. 9 Public law is that which hath more immediately in view the public
                    weal... Private is that which is chiefly intended for ascertaining the civil rights of individuals. The
                    private law of Scotland is to be the proper subject of this treatise.
              1887 Jrnl. Hellenic Stud. 8 127 Thus the difference between the two cases is the whole difference between
                   private law and public, between Torts and Crimes.



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              1923 W. J. B���� Dict. Eng. Law 519/2 Private or civil law deals with those relations between individuals
                   with which the State is not directly concerned; as in the relations between husband and wife, parent
                   and child,..contracts, torts, trusts, legacies.
              1951 W. H. J������� Canad. Law Bus. & Personal Use i. 6 Private law includes law that is concerned with
                   the regulation of relations between private citizens.
              1997 D. P. K������ Constit. Jurispr. Germany (ed. 2) viii. 363 Every provision of private law must be
                   compatible with this system of values, and every such provision must be interpreted in its spirit.



            private life n. a person's domestic or personal life, as distinct from
           that relating to his or her employment, official position, public image, etc.

              ?a1475 (▸?a1425) tr. R. Higden Polychron. (Harl. 2261) (1872) IV. 419 (MED) Galba Seruius..reigned
                    after Nero vij monethes; The priuate lyfe [Trev. prive lyf; L. vita privata] of whom was noble.
              1526 R. W������� tr. Martiloge f. cxxxiv He resygned his crowne, & lyued a holy pryuate lyfe.
              1660 G. M�������� Aretina ��. 205 They see the poverty of a private life, but are strangers to its
                   contentment, and contemns its lownesse without weighing its security.
              ?1790 J. M. A���� Unanswerable Arguments against Abolition Slave Trade v. 173 I think planters are
                    much too remiss on this head; owing to their not employing a little attention to the private life and
                    manners of their slaves.
              1843 C. D������ Martin Chuzzlewit (1844) xvi. 193 A full account of the Ball..with the Sewer's own
                   particulars of the private lives of all the ladies that was there!
              1943 J. B. P�������� Daylight on Sat. xxii. 169 Her own private life, now in ruins, insisted upon claiming
                   her attention, and she could not pretend to herself that it was less important than the private lives of
                   all the other women in the factory.
              1992 Independent 27 Jan. 20/2 A sense of honour and a degree of self-mastery in private life are virtues in
                   public men and women.



            private line n. Telephony and Telegraphy (a) a line that is
           permanently for the exclusive use of the subscriber or that is not
           connected to a public network; (b) = private wire n. (b).
              1852Private lines [see sense A. 8a].
              1885 List of Subscribers Exchange Syst. (United Telephone Co.) (ed. 6) p. vii The Charge for Private Lines
                   is at a fixed annual rental, payable in advance, varying with the situation and the distance apart of the
                   points connected.
              1927 C. W. W����� Man. Automatic Telephony vi. 55 This wire is comparable with the test wire in a
                   manual system inasmuch as it indicates whether a particular line is free or busy... It is..known as the
                   private line (because it prevents intrusion on a busy trunk).
              1942 A. C������� Body in Libr. vi. 59 I had a private line put in connecting my bedroom with my office.
              1993 Macworld Dec. 189/1 Dial-up routers let users connect LANs over the wide area using switched
                   services instead of costly private lines.



            private man n. now historical = private soldier n.

              1651 Mercurius Politicus No. 53. 848 This Henry..was little less than a Bastard..; he was also a private man;




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                     and not onely so, but an Exile.
              1690 J. M�������� Siege London-derry 47/2 Serjeants, Corporals, Drummers, and private Men 2d. per
                   diem each, besides bread.
              1796 S. P���� Anonymiana (1809) 164 Application..on behalf of a private man that had deserted from an
                   independent company just as they were embarking for North America.
              1844 Queen's Regulations & Orders Army 176 All the Officers, Non-commissioned Officers, Drummers,
                   and Private Men, who may be at Home, are to be accounted for.
              1974 L. E. I���� Brit. Drums on Southern Frontier vi. 79 There were six companies, each of which included
                   a captain, lieutenant, ensign, four sergeants, four corporals, two drummers, and one hundred private
                   men who enlisted for seven years.



            private man of war n. now historical = ��������� n. 1; cf. private
           ship of war n.

              1646 MS. Orders & Instruct. (Adm. Libr.) 22 Instruccions and a fiat in the usuall form were this day signed
                   for Capt. Wm. Davies employing of the ship the 3 kings of dover being of 250 tons and 17 guns as a
                   private man of warre in her way of merchandize.
              1675 G. C���� Severall Considerations offered to Parl. 7 The Zelanders are a people, that upon all
                   occations, serves for private men of warr against England.
              1754 J. L���� Peerage of Ireland I. 391 Kid had a Commission from the Admiralty, as a private Man of
                   War.
              1857 Rep. Commerc. Relations U.S. (U.S. Dept. of State) IV. 83 There are only three circumstances when a
                   foreign ship can be made French: they are, 1st. When a prize on the enemy by state ships, or private
                   men-of-war [etc.]
              1985 William & Mary Q. 42 361 Ideally, the time at sea for each private man-of-war should be determined,
                   but though colonial newspapers reported hundreds of captures, they did not usually state the length of
                   time the cruisers had been on the hunt.



            private means n. income or assets derived from private sources; =
           private income n.

              1805 Times 20 Mar. 2/2 Mr. Fordyce had brought his salary, and other personal private means, to the
                   public account.
              1855 W. S������ Braddock's Exped. 166 To be reminded that such things as a Press of private means for
                   the benefit of the State still existed.
              1994 L. G����� Charlotte Brontë (1995) i. 14 Mr Brontë's failures to secure another wife with private
                   means..had practical consequences for his five daughters.



            private motoring n. motoring in a privately owned vehicle.

              1916 Times 28 June 12/3 It could not be said that the object of the new regulations was either to curtail
                   private motoring or to raise revenue.
              1992 B. E���� Gridlock (BNC) 182 When that happens it's going to revolutionize private motoring.



            private motorist n. a motorist who drives a privately owned vehicle.


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              1907 Times 8 Aug. 13/2 The private motorist has concluded..that France and Germany would, as hitherto,
                   take the lead in initiating any scientific or technical advance when the progress of the industry required
                   it.
              1993 Computing 24 June 31/4 It could also be accessed by private motorists via in-car units.



            private notice question n. a question put before the House of
           Commons by prior private arrangement with the Speaker and the person
           questioned.

              [1871 Hansard Commons 27 Feb. 941 I wish to ask some questions of the Prime Minister, of which
                    circumstances prevented me from giving any other than a private Notice to him.]
              1913 Hansard Commons 21 Jan. 225 Private notice question... May I ask the Chancellor of the Exchequer a
                   question of which I have given him private notice.
              1964 L. A. A������ & S. C. H������ Parl. Dict. (ed. 2) 168 On specially urgent matters, ‘private notice
                   questions’ may be asked after the end of the time allotted by the standing orders to questions for oral
                   answer. A member who wishes to avail himself of this privilege must give notice of the terms of his
                   question to the minister and to the Speaker not later than twelve o'clock on the day on which he is to
                   ask it.
              2001 R. H��� Second amongst Equals (2002) iii. 88 On his first day in the new job and with a hostile
                   private notice question to deal with (from Michael Foot), Jenkins insouciantly took himself off on a
                   lunchtime engagement.



            private nuisance n. Law an unlawful interference with an
           individual's use or enjoyment of land or rights over land; (also) the
           offence arising from such an interference; cf. public nuisance n. at ������
           adj. and n. Compounds 1b.

              1657 W. S���� Regestum Practicale 207 An Action upon the Case ought to be brought against one that
                   makes a private Nusance.
              1799 True Briton 7 Feb. If those Gentlemen..thought fit to proceed to indict for a private nuisance, the
                   Defendant was ready to meet them.
              1865 Amer. Law Reg. 3 380 Courts of equity will exercise a concurrent jurisdiction with courts of law in
                   cases of private nuisance.
              1956 Country Life 26 Apr. 866/1 Excessive and disagreeable noise may constitute a private nuisance.
              2013 M. W���� in P. Bishop & M. Stallworthy Environmental Law & Policy Wales iii. 32 Lord Jersey was
                   moved to commence an action in private nuisance.



            private number n. Telephony (a) a number that is ex-directory; (b) a
           number at a private address rather than business premises.

              1913 Times 28 Nov. 6/1 From my office the operator was instructed to call my private number in the West-
                   end.
              1933 D. L. S����� Murder must Advertise viii. 129 He was not in the telephone-book, but his private
                   number would doubtless be on the telephone-clerk's desk.
              1969 N. F������� Tsing-Boum xiii. 95 Good morning. Police Judiciaire!.. I'm at a private number in



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                     Marseilles; will you..clear me a direct line.
              1992 J. M������ Forgotten Fire (BNC) She would ring Julius at home, with messages that were only just
                   important enough for her to justify ringing his private number.



            private parts n. the genitals; also in extended use.

              1623 G. M������ Country Contentm. i. 35 (margin) The diseases of the priuate parts.
              1723 Oncenia (ed. 8) 159 Tying a string about my neck, and the other end to my private parts.
              1785 F. G���� Classical Dict. Vulgar Tongue at Commodity A woman's commodity; the private parts of a
                   modest woman, and the public parts of a prostitute.
              1888 P. H. P��-S���� Fagge's Princ. & Pract. Med. (ed. 2) I. 188 She mentioned..that she had severe pain
                   in micturition, and that her private parts were swollen.
              a1930 D. H. L������� Last Poems (1932) 157 The reddened limbs..and the half-hidden private parts.
              1971 Farmer & Stockbreeder 23 Feb. 30/1 Major Ogilvie recalls some mothers feeling embarrassed at
                    having to see the ‘private parts’ of an animal's body—like teats and udders—being handled by a man.
              1992 S. A������� Kid 70 And his shoulder-blades were two butchers at the meat-cleaving competition and
                   his belly-button was the Falkland Islands and his private parts were the Bermuda triangle and his
                   backside was a priest hole.



            private patient n. a patient who pays for treatment rather than
           receiving it free or under subsidy from the State or a public body.
              1754Private patient [see sense A. 2b(b)].
              1801 Med. & Physical Jrnl. 5 7 Those to whom I have communicated the infection out of the Hospital, or
                   among my private patients.
              1859 F. N���������� Notes on Nursing vi. 39 Generally, the only rule of the private patient's diet is what
                   the nurse has to give.
              1914 A. B������ Price of Love xii. 256 In those days of State health insurance all doctors were too busy..to
                   be of assistance to private patients.
              1992 Which? Aug. 428/3 You may sometimes be better off in an NHS hospital, whether as an NHS patient
                   or a private patient in a pay-bed.



            private placement n. Finance (originally U.S.) the sale of stocks,
           bonds, or securities directly to a private investor (often without using an
           intermediary), rather than in a public offering; (also) stocks, etc., sold in
           this way.

              1925 N.Y. Times 28 Mar. 21/3 (heading) Kuhn, Loeb & Co..takes $4,735,000 railroad bonds for private
                   placement.
              1939 N.Y. Times 2 Nov. 33/3 From the short term this appears to give borrowers a great advantage in the
                   private placement market, an advantage which they could never find in direct sales to the public.
              1951 Times 24 Jan. 6/7 South Africa had also arranged for the private placement with eight American
                    commercial banks of $10m. of the Union's promissory notes.
              2000 Red Herring May 192/2 We haven't made any decision yet as to whether we'll go public; we've just
                   made a desicion to issue a private placement.



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            private playhouse n. = ������� ����� n. 2; (later also) any theatre
           owned and run by a private individual, esp. one staging performances for
           invited audiences only.

              1609 T. D����� Guls Horne-bk. vi. 28 Whether therefore the gatherers of the publique or priuate Play-
                   house stand to receiue the afternoones rent, let our Gallant (hauing paid it) presently aduance himselfe
                   vp to the Throne of the Stage.
              1795 M. C������� & A. M����� Hist. & Antiq. of Parish of St. Saviour's, Southwark 200 Yet it should
                   seem that persons were suffered to sit on the stage only in the private playhouses (such as Blackfriars
                   &c.) where the audience was more select and of a higher class.
              1829 J. H. R������� One, Two, Three, Four, Five �. ii. 18 I seek in vain for elegant recreation; no private
                   play-houses, no debating society.
              1910 Mansfield (Ohio) News 30 Aug. 2/7 Recently D'Annunzio gave a performance at the private playhouse
                   of a friend of his in Paris.
              1998 S. D���� Prince of Pleasure (2000) v. 132 He spent more than £60,000 on a private playhouse in
                   which he would indulge his passion for drama.



            private practice n. work undertaken for a fee for a private client or
           patient; a privately run business which provides a service for paying
           clients; cf. sense A. 2b(b).

              1724 Philos. Trans. 1722–3 (Royal Soc.) 32 213 The..Regard for the Good of Mankind, which you have
                   always manifested, as well in your extensive private Practice as in that publick Post, which you have so
                   long and so usefully fill'd, must affect you [etc.].
              1843 R. J. G����� Syst. Clin. Med. ix. 99 In private practice the physician is called at an early period of the
                   disease.
              1945 Fortune Mar. 109/2 Tommy Corcoran, no longer part of the janissariat, is back in the law, with a
                   private practice in Washington.
              1967 Brit. Jrnl. Psychiatry 113 1052/2 Private practice is simply a method of making a lucrative racket out
                   of pampering or swindling those who can afford to pay.
              2000 Building Design 18 Feb. 26/4 (advt.) Dynamic private practice with an established list of blue-chip
                   clients requires proactive and driven professionals.



            private press n. a small privately-owned printing and publishing
           house (now usually one issuing small print runs of books embodying
           higher standards of production than those of commercial publishers).

              1643 in D. Neal Hist. Puritans (1855) 456/2 The Company of Stationers and the Committee of
                    Examinations are required to make strict inquiry after private presses, and to search all suspected
                    shops and warehouses for unlicensed books and pamphlets.
              1687 A. B��� Luckey Chance ��. i. 47 Then he keeps a private Press and prints your Amsterdam and
                   Leyden Libels.
              1834 J. M����� Bibliogr. Catal. Bks. Privately Printed p. v The second portion of the work, consisting of an
                   account of the publications from literary clubs, and private presses.
              1900 Library 1 407 Since the days when Horace Walpole started as a master-printer at Strawberry Hill



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                     quite a number of book-lovers have amused themselves with the management, and occasionally with
                     the actual working, of a private press.
              1993 Dict. National Biogr.: Missing Persons (BNC) 65/2 He published on American history and
                   established his own private press, the Guyon House Press.



            private property n. property owned by an individual person,
           company, etc.

              1642 J. M. Reply to Answer 40 It must be agreed that the State hath an interest Paramount in every mans
                   private property.
              1760 C. L����� Lady's Museum No. 7. 527 All matters of importance, or relative to private property, were
                   to be laid before him.
              1868 M. P������� Suggestions Acad. Organisation §1. 7 A great deal of foolish bluster was talked about
                   interference with private property.
              1997 Economist 1 Feb. 57/1 If..the government decided to put a camp-ground on part of the private
                   property, the group would first have to agree and then buy back the grazing rights from Mr Bass.



            private residence n. = ������� ����� n. 1.

              1723 Impartial Hist. Peter Alexowitz 65 He pitch'd upon the place for his Retreat, or private Residence.
              1797 A. R�������� Italian II. vii. 234 She hoped, therefore, that he had only been sent to some private
                   residence belonging to his family.
              1836 C. D������ Pickwick Papers (1837) xxi. 222 At length, late one night, Heyling..appeared at his
                   attorney's private residence, and sent up word that a gentleman wished to see him instantly.
              1974 P. L������ Invitation to Dynamite Party iii. 34 ‘There was a second explosion..at Sir Watkin Wynn's
                   residence.’ ‘A private residence? What have they got against Sir Watkin Wynn?’
              1998 L. F����� Bombay Ice (1999) 76 The family has to slum it on the top floor, but even so it's still the
                   tenth largest private residence in the world.



            private road n. a road maintained at private (rather than public)
           expense, to which public access may or may not be limited, (now) esp.
           one giving access to private property.

              1652 G. F���� Wit for Mony vii. sig. A6 Hind having gotten a good purchase in Gold past away the day very
                   merrily, & towards night rides to an Inne which stood in a private Roade.
              1775 Edinb. Advertiser 21 Apr. Coming to a drawbridge..he desired that it might be immediately let down;
                   but they refused; saying it was a private road, and that he had no authority to demand passage that
                   way.
              1838 R. S. S������ Jorrocks's Jaunts 55 A private road and a line of gates through fields now greet the eyes
                   of our M'Adamisers.
              1903 Times 16 Mar. 4/2 The club decided to make an effort to obtain before next winter a private road,
                   instead of using, as heretofore, the public road to Klosters.
              2001 J. O'B���� At Home in Heart of Appalachia xiii. 204 At the end of the hardtop, I take a short trail to
                   the private road that curves down to the telescopes.




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            private room n. (in a club, hotel, etc.) a room which may be hired for
           private use; (in a hospital) a room which affords privacy for a patient, esp.
           such a room provided on a fee-paying basis.

              1797 T. H������� Adventures Hugh Trevor V. xi. 186 The place of meeting was a private room in a coffee-
                   house.
              1824 W. S���� Redgauntlet III. vii. 197 Walking into the inn, [he] demanded from the landlord breakfast
                   and a private room.
              1878 Times 21 Nov. 6/5 The ‘No. 8’ block, on the west of the hospital,..had the means of providing for
                   upwards of 60 paying patients in wards and private rooms.
              1920 ‘S�����’ Bull-dog Drummond 7 Have we ever had staying in the hotel a man called le Comte de Guy?..
                   Has he ever fed here, or taken a private room?
              1994 R. P������ Hot Zone Ebola River 87 At the Ngaliema Hospital in Kinshasa, Nurse Mayinga had been
                   put into a private room, which was accessible through a kind of entry room, a gray zone, where the
                   nurses and staff were supposed to put on bioprotective gear before they entered.
              1995 Guardian 16 Feb. �. 10/7 Karaoke parlours..comprise a warren of private rooms in which customers
                   sing to the words of tunes played on television screens.



            private school n. a fee-paying school run for the personal profit of the
           proprietors; a school which does not receive state funding and is not
           subject to the state education authority; (in quot. 1857) a preparatory
           school (cf. sense C. 6).
              15741Priuate schoole [see sense A. 2b(a)].
              1676 Cramond Kirk Session II. 5 Nov. Considereing how much the public schoole at the church is
                   prejudged by privat schooles.
              1751 Mem. Lady of Quality in T. Smollett Peregrine Pickle III. lxxxviii. 66 I was the only child of a
                   man..who indulged me..with..paternal affection; and when I was six years old, sent me to a private
                   school, where I stayed till my age was doubled.
              1857 T. H����� Tom Brown's School Days �. iii. 67 A private school, where he went when he was nine years
                   old.
              1914 C. M�������� Sinister St. II. ���. iii. 547 I don't think it is snobbishness... It's a throw back to primitive
                   life in a private school.
              1997 N.Y. Times Bk. Rev. 29 June 24/1 Everdell..is dean of humanities at St. Ann's, a private school in
                   Brooklyn, where he has taught history for 25 years.



            private schoolmaster n. a personal tutor; a schoolmaster at a private
           school.

              1588 W. K���� Educ. Children sig. E4v Some heere do counsell the Father to seeke out a priuat
                     Schoolemaister for his child.
              a1691 R. B����� Reliquæ Baxterianæ (1696) 96 A Man of great sincerity and zeal, and desire to do good,
                    and devotedness to God,..falling into the Life of a private Schoolmaster.
              1857 T. H����� Tom Brown's School Days �. iii. 69 Were I a private schoolmaster.
              1930 E. W���� Vile Bodies viii. 143 My private schoolmaster used to say, ‘If a thing's worth doing at all, it's



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                     worth doing well.’
              1988 R. S������ Alternative Saints (BNC) 102 He remained in Wales as a private schoolmaster until he
                   became chaplain and tutor to the family of Lord Carbery.



           † private seal n. Obsolete = ����� ���� n. 3a.

              1440 Chancery Proc. Ser. C1 File 9 No. 447 (MED) William Gargrave of Holme and Cristofere Banastre of
                   Merton, Esquiers, haue ben ij tymes send for by the kyngis priuat seel at the Instaunce and costages of
                   your said suppliaunt.
              1531 in I. S. Leadam Select Cases Court of Requests (1898) 33 To graunte vnto your seid Orator your most
                    dredd wrytte of pryuatte seale to be dyrected vnto the seid abbot.



            private secretary n. (a) a secretary employed by a government
           minister, dealing with official correspondence, etc.; (b) a secretary in the
           employ of a particular individual, rather than of a society, department,
           etc.

              1677 S. P���� Portugal Hist. 76 Gaspar de Faria, private Secretary, by order of the King, put into his hands
                   oftentimes papers of greatest Concerns.
              1773 R. J������ Let. 2 Mar. in D. Garrick Private Corr. (1831) I. 530 Our friend Tighe is much engaged in
                   his office of Private Secretary to the Lord Lieutenant, but is getting better health and more strength
                   every day.
              1891 W. F����� Disraeli & his Day (ed. 2) 42 Mr Algernon Greville became, some years afterwards, Private
                     Secretary to the Duke.
              1930 J. B. P�������� Angel Pavement v. 207 I can't bear those private secretary jobs. Yours is one of them,
                   isn't it?
              1991 Sanity Jan. 7/1 He became private (i.e. political) secretary to two government ministers in the Home
                    Office.



            private secretaryship n. the office or position of private secretary.

              1789 Hartly House, Calcutta II. xx. 116 The peace-offering..was no less than an appointment to a private
                   secretaryship.
              1812 Times 16 Apr. 2/3 This private secretaryship, with the salary annexed, is an after-device.
              1880 E. W. H������� Diary 25 Apr. (1972) I. 3 Horace Seymour and Henry Primrose are the two between
                   whom the other private secretaryship lies.
              1954 K. A��� Lucky Jim iv. 48 Our influencial friend will shortly be declaring his private secretaryship
                   vacant.
              1981 Times 25 Mar. 14/1 The interconnection of junior ministers and parliamentary private secretaryships
                   is striking.



            private sector n. that part of an economy, industry, etc., which is
           privately owned and free from direct state control.

              1930 H. J. S������� tr. A. Feiler Russ. Exper. 89 In this sphere the programme contemplates a determined



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                     onslaught on the private sector for the benefit of the socialized, the nationalized, or the co-operative
                     sector.
              1996 Outlook (New Delhi) 28 Aug. 36/1 This year's Olympics taught the Americans that there's a flip side to
                   relying solely on the private sector.



            private service n. service to an individual rather than to the
           community, state, etc.; (in later use) spec. domestic service in a private
           house.

              a1652 R. B���� Eng. Moor ���. i. 39 in Five New Playes (1659) And though I outwardly appear your
                   Drudge, 'Tis fit I have a Maid for private service.
              1718 R. S����� tr. C. Ancillon Eunuchism Display'd �. i. 7 He might have none to attend him in his private
                   Service but Eunuchs.
              1843 C. D������ Martin Chuzzlewit (1844) vii. 85 All them trades I thought of was a deal too jolly; there
                   was no credit at all to be got in any of 'em. I must look for a private service... I might be brought out
                   strong..in a serious family.
              1934 D. L. S����� Nine Tailors 139 Deacon was a waiter in some club... He wanted to try private service.
              1978 M. W��� & N. W��� Home in Twenties & Thirties 38/1 There was..an inexorable reduction in the
                   number of people engaged in private service.



            private ship of war n. now historical = ��������� n. 1a; cf. private
           man of war n.

              1702 tr. P. de la Court True Interest Republick Holland & W.-Friesland ��. i. 207 Private Ships of War
                   [were] by great Rewards perswaded to take and destroy the Enemys Ships.
              1804 Times 3 May 3/3 Those beautiful private ships of war the Sir Thomas Trowbridge, of 16 guns, and the
                   Sir John Colpays, of 14 guns..have been surveyed by the proper officers.
              1988 P. O'B���� Let. of Marque i. 7 Stephen Maturin had bought her as a private ship of war, a letter of
                   marque, to cruise upon the enemy.



            private soldier n. an ordinary soldier of the lowest rank; = sense C.
           10; cf. common soldier n. at ������ adj. and adv. Compounds 2.

              1566 W. P������ tr. O. Landi Delectable Demaundes ���. f. 68 He knewe well that by his natiuitie, he was
                   appointed to be generall of armies, and not a simple souldior: wherfore he behaued him selfe according
                   to the Maiestie of that office, and not like a priuate souldior.
              1579 L. D����� & T. D����� Stratioticos 152 They can doe no more than Privat Souldiors.
              1698 Mem. E. Ludlow I. 192 Pretending..to keep the private soldiers, for they would no longer be called
                   common soldiers, from running into greater extravagancies and disorders.
              1760 C. J�������� Chrysal II. iv. 177 A man, in the habit of a private soldier, threw himself prostrate
                   across his way, crying, ‘Mercy! O great king! have mercy on the sufferings of a wretch in despair, and
                   shew yourself the substitute of heaven by impartial justice.’
              1898 E. J. H���� in United Service Mag. Mar. 646 Another expression, which is far more objectionable
                   [than the name ‘Tommy Atkins’], is to speak of a ‘common soldier’ instead of a private soldier.
              1992 G. M. F����� Quartered Safe out Here p. xiv I must emphasise that at private soldier level you




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                     frequently have no idea where you are, or precisely how you got there, let alone why.



            private trade n. trade carried on by an individual for his or her
           personal profit.

              [1601 J. W������ Treat. Commerce 46 Diuers of the Company had..erected vnto themselues a priuate,
                    irregular, and stragling Trade.]
              1612 J. S���� Map of Virginia 50 There was ten-times more care, to maintaine their damnable and private
                    trade, then to provide for the Colony things that were necessary.
              1736 H. F������� Pasquin ��. i. 51 But Priests, and Lawyers, and Physicians made These general Goods to
                   each a private Trade.
              1821 G. S������ Jrnl. 8 Jan. in Publ. Hudson's Bay Rec. Soc. (1938) I. 212 Chastellan & Lamallice..are
                   renewing their old practice of carrying on Private Trade with the Indians.
              1991 C. A������� Grain p. i The so-called ‘private’ companies—those companies in the hands of private
                   trade as opposed to the farmer-owned wheat pools.



            private trader n. a person who carries on trade for his or her personal
           profit.

              1616 in W. Foster Lett. received by E. India Co. (1901) V. 119 With the intelligence concerning the private
                    traders of Captain Downton's merchants.
              1784 A. S���� Inq. Wealth of Nations (ed. 3) III. �. iii. 133 The competition of the two companies with the
                   private traders..is said to have well nigh ruined both.
              1830 J. F. C����� Water Witch I. xi. 203 Prudence is a cardinal quality, in a private trader; and it is a
                   quality that I esteem in Master Skimmer, next to his punctuality.
              1991 South Aug. 95/4 From time to time the government tries to take the video-business in hand but it
                    cannot compete against private traders.



            private trading n. = private trade n.

              1640 H. M��� Nights Search xlvii. 233 She keeps her private trading, To help at need; her husbands trade is
                   fading.
              1739 L�. H�������� in Rep. Cases Chancery (1765) I. xci. 546 For the benefit of the Captain, who staid
                   there six days merely for the sake of private trading.
              a1894 R. L. S�������� In South Seas (1896) ��. vii. 369 Tembinok' had two brothers. One, detected in
                   private trading, was banished.
              1929 Times 26 Feb. 17/5 He courageously scrapped his own Bolshevist economic theories in 1921 and
                   reinaugurated private trading.
              1990 Farmer's Weekly (Perth) 11 Oct. 25/3 (advt.) Private trading through Grain Pool Permits is possible
                   for domestic consumption.



            private treaty n. a form of property sale effected by a private
           agreement between the seller and a bidder, rather than by auction, public
           tender, etc.; see also quot. 1973.



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              1858 Estates Gaz. 16 Aug. 16/1 (advt.) To be sold, by private treaty, a substantial and well-built house.
              1922 V. S��������-W��� Heir i. 19 Are we to try for auction or private treaty? Personally I think the house
                   at any rate will go by private treaty.
              1973 P. W������� & A. R����� Place of your Own i. 11/2 In Scotland..houses are more often sold ‘by
                   private treaty’. This way, the owner places a reserve, or ‘upset’ price on the property and invites those
                   interested to make offers, in writing, by a specified date. On that date, the offers are examined, and the
                   property will usually go to the highest bidder. An offer made this way is binding by law, unless you
                   withdraw it before it is formally accepted... Some properties in England and Wales are offered for sale
                   on these terms.
              1988 Home Finder May 51/1 Ask the auctioneer if offers will be considered prior to auction, in other words,
                   whether you can purchase by private treaty.



            private view n. a viewing (now esp. of an exhibition) to which the
           general public is not admitted; = private viewing n.

              1706 T. D'U���� Wonders in Sun ���. 43 Ambassador from the Kingdom of the Birds; who, thro' Curiosity
                   desiring a private View of you, and being gratify'd, has strangely accus'd ye of Murder upon one of the
                   Brothers of Plumply Lord Pheasant.
              1746 N.Y. Evening Post 29 Dec. (advt.) If any Gentlemen or Ladies, hath a Mind to have a private View of
                   the same, they may, by giving two Hours Warning before hand.
              1862 W. S����� Hist. Royal Acad. Arts II. 240 The art-critics for the newspapers, etc., were admitted to
                   the private view of the exhibition.
              1996 Independent 14 Oct. �. 3/4 He is seen in the film coaching staff for the private view of the William
                   Morris exhibition.



            private viewer n. a person attending a private viewing.

              1897 Daily News 28 Apr. 6/6 The galleries..soon to be refilled by the critics, the private viewers, and the
                   outside crowd.
              1997 Northern Echo (Nexis) 19 Mar. 5 We aren't interested in private viewers who have a couple of pirates
                   in their collection. We want to catch the big fish.



            private viewing n. = private view n.

              1850 Punch 19 88/2 As to the privilege of private views [of the Exhibition], the whole thing is a farce when
                   compared with the privilege of private viewing claimed..by our young friends.
              1898 Westm. Gaz. 28 Apr. 5/3 On the whole the private viewing ladies have had the excellent taste of
                   coming in the morning in morning dress.
              1965 Observer 28 Feb. 2/6 The occasion was the private viewing of the most important show of the New
                   York art season.
              2000 G. F��� Art, Power & Modernity iv. 82 With its rituals of dining and private viewing, the �� and its
                   Exhibition translated the status struggles of Victorian Society into the hierarchies of art.



            private war n. a war fought by a restricted number of participants
           from personal or private motives; also in extended use.


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              1548 Hall's Vnion: Henry VII f. lvii He more detested & abhorred intestine and priuate warre, then death
                   or any thynge more terrible.
              a1599 E. S������ View State Ireland 197 in J. Ware Two Hist. Ireland (1633) The English Lords and
                   Gentlemen, who then had great possessions in Ireland, began thorough pride and insolency, to make
                   private warres one against another.
              1728 E. C������� Cycl. at Treve de Dieu The Disorders and Licences of private Wars..oblig'd the Bishops
                   of France to forbid such Violences within certain Times.
              1866 C. M. Y���� Dove in Eagle's Nest I. p. vi An offended nobleman, having sent a Fehdebrief to his
                   adversary, was thenceforward at liberty to revenge himself by a private war.
              1974 ‘G. B����’ Golden Cockatrice xi. 194 A killing that was one incident in the continuing private war the
                    Russians and the Chinese have been waging against each other.
              1987 ‘J. G���’ Moonspender (1988) vii. 76 I don't believe that you..suddenly decide to recruit him in your
                    private war with a load of moonspenders.



            private ward n. a hospital ward, usually containing a single bed, that
           gives a patient privacy or is for fee-paying patients.

              a1832 W. S���� Surgeon's Daughter vii, in Waverley Novels (1855) 498 Symptoms are dubious yet... That
                   was an alarming swoon. You must have him carried into the private ward.
              1935 D. L. S����� Gaudy Night ix. 191 He's in a private ward, so you can get in any time.
              1960 C. W����� Bump in Night i. 15 He lay in a small private ward of Chalmsbury General Hospital.
              1991 J. S����������� Undertaken with Love (BNC) 73 He had apparently been..so disturbing the other
                    patients that he had been moved, temporarily, to a private ward.



            private wire n. Telephony (a) = private line n. (a); (b) a wire in an
           exchange used to test whether a line is in use without intrusion on a call
           in progress.
              1852Private wires [see sense A. 8b].
              1878 Telegr. Jrnl. 6 51/1 The regulations concerning the despatch and receipt of telegrams, the tariffs for
                   the same, and for the renting of private wires.
              1940 War Illustr. 16 Feb. p. ii/1 Taking the final proof of his commentary on the foreign news of the day to
                   the ‘private wire’ room, to be telegraphed or telephoned to Manchester.
              1969 S. F. S���� Telephony & Telegr. A vi. 153 A third wire is therefore provided on all connexions through
                   the exchange, the potential of which indicates the condition of the circuit. This avoids intrusion on
                   calls in progress and is called the private wire, usually abbreviated to ‘P-wire’.
              1998 What Cellphone Nov. 29/1 A further benefit is that a private wire system can be set up in such a way
                   as [sic] a company's mobile phones effectively behave like extensions of the office switchboard.



            private world n. the realm of personal thoughts, perceptions,
           interests, etc., within which one moves or lives; a person's private
           consciousness (frequently implying a degree of fantasy or isolation from
           the real world).

              1873 T. H���� Pair of Blue Eyes I. xi. 234 It was the first time that she had had an inner and private world



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private, adj.1, adv., and n. : Oxford English Dictionary                        https://www-oed-com.ezp-prod1.hul.harvard.edu/view/Entry/151601?rs...
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                      apart from the visible one about her.
              1921 A. H����� Crome Yellow xiii. 128 He determined to retire absolutely from it [sc. the great world] and
                   to create..at Crome a private world of his own.
              1989 G. D��� Pre-Raphaelites in Love vi. 250 Ned retreated into a private world of his own making.




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                                            https://www.nytimes.com/2019/05/07/opinion/google-sundar-pichai-privacy.html




                                                                                 Google’s Sundar Pichai: Privacy Should Not Be a Luxury Good
                                                                            Yes, we use data to make products more helpful for everyone. But we also protect your information.
                                                                                                                           May 7, 2019




         By Sundar Pichai
         Mr. Pichai is the chief executive of Google.




         MOUNTAIN VIEW, Calif. — Google products are designed to be helpful. They take the friction out of daily life (for example, by showing you the fastest route home at the end of a long day) and give you back
         time to spend on things you actually want to do. We feel privileged that billions of people trust products like Search, Chrome, Maps and Android to help them every day.

         It’s a trust we match with a profound commitment to responsibility and a healthy dose of humility. Many words have been written about privacy over the past year, including in these pages. I believe it’s one
         of the most important topics of our time.

         People today are rightly concerned about how their information is used and shared, yet they all define privacy in their own ways. I’ve seen this firsthand as I talk to people in different parts of the world. To
         the families using the internet through a shared device, privacy might mean privacy from one another. To the small-business owner who wants to start accepting credit card payments, privacy means
         keeping customer data secure. To the teenager sharing selfies, privacy could mean the ability to delete that data in the future.

         Privacy is personal, which makes it even more vital for companies to give people clear, individual choices around how their data is used. Over the past 20 years, billions of people have trusted Google with
         questions they wouldn’t have asked their closest friends: How do you know if you’re in love? Why isn’t my baby sleeping? What is this weird rash on my arm? We’ve worked hard to continually earn that
         trust by providing accurate answers and keeping your questions private. We’ve stayed focused on the products and features that make privacy a reality — for everyone.

         “For everyone” is a core philosophy for Google; it’s built into our mission to create products that are universally accessible and useful. That’s why Search works the same for everyone, whether you’re a
         professor at Harvard or a student in rural Indonesia. And it’s why we care just as much about the experience on low-cost phones in countries starting to come online as we do about the experience on high-
         end phones.

         Our mission compels us to take the same approach to privacy. For us, that means privacy cannot be a luxury good offered only to people who can afford to buy premium products and services. Privacy must
         be equally available to everyone in the world.

         Even in cases where we offer a paid product like YouTube Premium, which includes an ads-free experience, the regular version of YouTube has plenty of privacy controls built in. For example, we recently
         brought Incognito mode, the popular feature in Chrome that lets you browse the web without linking any activity to you, to YouTube. You can view YouTube as a logged-in user or in Incognito mode.

         To make privacy real, we give you clear, meaningful choices around your data. All while staying true to two unequivocal policies: that Google will never sell any personal information to third parties; and
         that you get to decide how your information is used. Here’s how it works:

         First, data makes the products and services you use more helpful to you. It’s what enables the Google Assistant to book a rental car for your trip, Maps to tell you how to navigate home and Photos to share
         vacation pictures with a click of a button.

         Second, products use anonymous data in aggregate to be more helpful to everyone. Traffic data in Google Maps reduces gridlock by offering people alternate routes. Queries in Google Translate make
         translations more accurate for billions of people. Anonymized searches over time help Search understand your questions, even if you misspell them.

         Third, a small subset of data helps serve ads that are relevant and that provide the revenue that keeps Google products free and accessible. That revenue also sustains a broad community of content
         creators, which in turn helps keep content on the web free for everyone. The data used in ads could be based on, for example, something you searched for or an online store you browsed in the past. It does
         not include the personal data in apps such as Docs or Gmail. Still, if receiving a customized ads experience isn’t helpful, you can turn it off. The choice is yours and we try to make it simple.

         Eight years ago, we introduced an easy way to export all your data from Google services — and even take it elsewhere. A few years later, we created the Google Account page as a place to review and adjust
         all of your privacy controls. Nearly 20 million people now visit it every day. But we know our work here is never done, and we want to do more to stay ahead of user expectations.

         Last week, we announced significant new privacy features, including one-click access to privacy settings from all our major products and auto-delete controls that allow you to choose how long you want
         data to be saved. And to protect your data from security threats, we just introduced a security key built into Android phones that can provide two-factor authentication.

         [Technology has made our lives easier. But it also means that your data is no longer your own. We’ll examine who is hoarding your information — and give you a guide for what you can do about it. Sign up for
         our limited-run newsletter.]

         We’re also working hard to challenge the assumption that products need more data to be more helpful. Data minimization is an important privacy principle for us, and we’re encouraged by advances
         developed by Google A.I. researchers called “federated learning.” It allows Google’s products to work better for everyone without collecting raw data from your device. Federated learning is how Google’s
         Keyboard can recognize and suggest new words like “YOLO” and “BTS” after thousands of people begin typing them — without Google ever seeing anything you type. In the future, A.I. will provide even
         more ways to make products more helpful with less data.

         Even as we make privacy and security advances in our own products, we know the kind of privacy we all want as individuals relies on the collaboration and support of many institutions, like legislative
         bodies and consumer organizations.

         Europe raised the bar for privacy laws around the world when it enacted the General Data Protection Regulation. We think the United States would benefit from adopting its own comprehensive privacy
         legislation and have urged Congress to pass a federal law. Ideally, privacy legislation would require all businesses to accept responsibility for the impact of their data processing in a way that creates
         consistent and universal protections for individuals and society as a whole.

         Legislation will help us work toward ensuring that privacy protections are available to more people around the world. But we’re not waiting for it. We have a responsibility to lead. And we’ll do so in the same
         spirit we always have, by offering products that make privacy a reality for everyone.
         Sundar Pichai is the chief executive of Google.

         Follow @privacyproject on Twitter and The New York Times Opinion Section on Facebook and Instagram.




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                    Serious Potential in Google’s Browser

                    David Pogue


                    State of the Art




                           Credit...Illustration by The New York Times

                        • Sept. 2, 2008

                    Does the world really need another Web browser?

                    Google thinks so. Chrome, its new browser, was developed in secrecy and released
                    to the world Tuesday. The Windows version is available for download now at
                    google.com/chrome; the Mac and Linux versions will take a little longer.

                    Google argues that current Web browsers were designed eons ago, before so many
                    of the developments that characterize today’s Web: video everywhere, scams and
                    spyware, viruses that lurk even on legitimate sites, Web-based games and ambitious


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                    Web-based programs like Google’s own Docs word processor. As Google’s blog puts
                    it, “We realized that the Web had evolved from mainly simple text pages to rich,
                    interactive applications and that we needed to completely rethink the browser.”

                    What this early version of Chrome accomplishes isn’t quite that grand. But it is a
                    first-rate beginning.

                    With no status bar, no menu bar and only a single toolbar (for bookmarks), Chrome
                    is minimalist in the extreme.

                    Some might even call it stripped-down. This initial version is labeled “beta,”
                    meaning it is still in testing. True, Google labels almost everything beta -- four-year-
                    old Gmail is still in beta -- but this time it’s serious.

                    At the moment, for example, there’s no way to e-mail a Web page to someone, no
                    full-screen mode, no way to magnify the page (rather than just the text), and no
                    bookmarks organizing screen. Google says that these features are at the top of its
                    to-do list.

                    Chrome is, nonetheless, full of really smart features that seem to have been inspired
                    by other browsers -- or ripped off from them, depending on your level of cynicism.

                    Take the address bar. As you start to type, a menu of suggestions appears
                    immediately beneath -- a list culled not just from pages you’ve visited before, but
                    also from your bookmarks, search suggestions and popular Web pages that you
                    haven’t yet visited. That works even the first time you try it, since Chrome auto-
                    imports your bookmarks, history and even stored passwords from your old browser.
                    (See also: the similar address bars in Firefox and Internet Explorer 8, also now in
                    beta testing.)

                    If you’ve ever searched Amazon, eBay, nytimes.com or another popular site,
                    another cool shortcut awaits. You can just type the site’s first letter in the address
                    bar and then press Tab. Do that with“A,” for example, and the address bar changes
                    to “Search amazon.com,” allowing you to search within that site without even going
                    there first. You’ve saved one big step.

                    As your start-up page, Chrome displays pictures of nine mini-Web pages,
                    representing your most frequently visited sites. (See also: the Opera browser’s
                    Speed Dial feature.) This start-up page also lists several of your most recently
                    visited sites and searches, making it a natural, time-saving starting point. (You can
                    designate a more standard Home page if you prefer by clicking on the Options
                    command that hides in one of the two menu icons.)

                    The “Create application shortcuts” command (also hiding in those menus)
                    generates an icon on your desktop. When you click it, the corresponding site opens
                    without the usual address bar and buttons -- in other words, it now works exactly
                    like a regular desktop program. For services like Gmail or blogging software, this
                    feature further blurs the line between online and offline software.

                    Downloading files is really easy. A status button appears at the bottom of your
                    browser window -- there’s no Downloads window to get in your way. You click that
                    button to open the downloaded file, without having to worry about what folder it
                    wound up in.



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                    If you believe Google, though, the best stuff is all under the hood. For example,
                    Google chose, as the underlying Web-page processing software, the same existing
                    “rendering engine” inside Apple’s Safari browser.

                    As a result, Chrome is quick -- faster than Internet Explorer, although not quite as
                    fast as Firefox or Safari. Since Chrome came out only Tuesday, I haven’t had time to
                    test it on all 40 billion Web pages on the Internet (I gave up around dinnertime).
                    Very few Web sites gave Chrome problems, though. NBCOlympics.com, for
                    example, failed to recognize Chrome and therefore refused to play its videos, but
                    that will change; nobody ignores Google these days.

                    Also under the hood are what Google considers some of Chrome’s most important
                    features -- the security enhancements. Google says that each tab runs in its own
                    “sandbox,” so that if there’s nasty spyware-type software running on one Web site,
                    it has no access to the rest of your computer, or even the other tabs. Google asserts
                    that this is much stronger protection than Internet Explorer 8 gives you, especially
                    in Windows XP. (Internet Explorer 8 supplies its best protection only in Windows
                    Vista.)

                    Also in the security category: something called Incognito mode, in which no
                    cookies, passwords or cache files are saved, and the browser’s History list records
                    no trace of your activity. (See also: Safari, Internet Explorer 8.) Google cheerfully
                    suggests that you can use Incognito mode “to plan surprises like gifts or birthdays,”
                    but they’re not fooling anyone; the bloggers call it “porn mode.”

                    For more of the techie details about Chrome security, Google has created what may
                    be the most innovative feature of all: an utterly charming comic book -- yes, comic
                    book -- that explains the browser and its features.

                    Already, speculation is running rampant online. Will Chrome catch on? What about
                    Google’s business relationships with its competitors?

                    And above all: what is Google up to?

                    Is it trying to build a platform for running the software of the future, thereby de-
                    emphasizing Windows and other operating systems?

                    That’s a yes. Google even went to the trouble of rewriting Javascript, the
                    programming language that underlies many such online programs. According to
                    online Javascript speed tests, Google’s version is twice as fast as IE7’s.

                    Will Google ensure that its own services run better in Chrome than in other
                    browsers? Is this part of Google’s great conspiracy?

                    That’s a no and a no. Chrome is open-source, meaning that its code is available to
                    everyone for inspection or improvement -- even to its rivals. That’s a huge,
                    promising twist that ought to shut up the conspiracy theorists.

                    For now, it’s best to think of Chrome as exactly what it purports to be: a promising,
                    modern, streamlined, nonbloated, very secure alternative to today’s browsers. You
                    should do exactly what Microsoft, Apple and the Firefox folks will all be doing: try it
                    out and keep your eye on it.

                    Because every now and then, Google’s fresh approach ends up dominating its once


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                    much bigger competitors (See also: AltaVista, Lycos, Ask ...)




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TikTok Tracked User Data Using Tactic Banned
by Google; The tactic, which experts in mobile-
phone security said was concealed through an
unusual added layer of encryption, appears to
have violated Google policies
Poulsen, Kevin; McMillan, Robert . Wall Street Journal (Online) ; New York, N.Y. [New York, N.Y]. 11 Aug
2020.

  ProQuest document link




FULL TEXT
TikTok skirted a privacy safeguard in Google's Android operating system to collect unique identifiers from millions
of mobile devices, data that allows the app to track users online without allowing them to opt out, a Wall Street
Journal analysis has found.
The tactic, which experts in mobile-phone security said was concealed through an unusual added layer of
encryption, appears to have violated Google policies limiting how apps track people and wasn't disclosed to TikTok
users. TikTok ended the practice in November, the Journal's testing showed.
The findings come at a time when TikTok's Beijing-based parent company, ByteDance Ltd., is under pressure from
the White House over concerns that data collected by the app could be used to help the Chinese government track
U.S. government employees or contractors . TikTok has said it doesn't share data with the Chinese government
and wouldn't do so if asked.
The identifiers collected by TikTok, called MAC addresses, are most commonly used for advertising purposes. The
White House has said it is worried that users' data could be obtained by the Chinese government and used to build
detailed dossiers on individuals for blackmail or espionage.
TikTok, which said earlier this year that its app collects less personal data than U.S. companies such as Facebook
Inc. and Alphabet Inc.'s Google, didn't respond to detailed questions. In a statement, a spokesperson said the
company is "committed to protecting the privacy and safety of the TikTok community. Like our peers, we
constantly update our app to keep up with evolving security challenges."
The company said "the current version of TikTok does not collect MAC addresses."
Most major mobile apps collect a range of data on users, practices that privacy advocates have long found
alarming but that tech companies defend as providing highly customized experiences and targeted advertising.
Data collection varies by company.
About 1% of Android apps collect MAC addresses, according to a 2018 study by AppCensus, a mobile-app analysis
firm that consults with companies on their privacy practices.
A Google spokesperson said the company was investigating the Journal's findings and declined to comment on
the loophole allowing some apps to collect MAC addresses.
The Trump administration's national-security concerns prompted ByteDance to explore a sale of TikTok's U.S.
operations with several suitors , including Microsoft Corp. When asked if the company was aware of this data-
collection issue, a Microsoft spokesman declined to comment.
The issue involves a 12-digit "media access control," or MAC, address, which is a unique number found in all
internet-ready electronics, including mobile devices.


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All About TikTok
The MAC address is useful to advertising-driven apps because it can't be reset or altered, allowing app makers and
third-party analytics firms to build profiles of consumer behavior that persist through any privacy measure short of
the owner getting a new phone. The Federal Trade Commission has said MAC addresses are considered personally
identifiable information under the Children's Online Privacy Protection Act.
"It's a way of enabling long-term tracking of users without any ability to opt-out," said Joel Reardon, an assistant
professor at the University of Calgary and co-founder of AppCensus, Inc. "I don't see another reason to collect it."
Apple Inc. locked down iPhone MAC addresses in 2013, preventing third-party apps from reading the identifier.
Google did the same two years later in Android. TikTok bypassed that restriction on Android by using a workaround
that allows apps to get MAC addresses through a more circuitous route, the Journal's testing showed.
The security hole is widely known, if seldom used, Mr. Reardon said. He filed a formal bug report about the issue
with Google last June after discovering the latest version of Android still didn't close the loophole. "I was shocked
that it was still exploitable," he said.
Mr. Reardon's report was about the loophole in general, not specific to TikTok. He said that when he filed his bug
report, the company told him it already had a similar report on file. Google declined to comment.
TikTok collected MAC addresses for at least 15 months, ending with an update released Nov. 18 of last year, as
ByteDance was falling under intense scrutiny in Washington, the Journal's testing showed.
TikTok bundled the MAC address with other device data and sent it to ByteDance when the app was first installed
and opened on a new device. That bundle also included the device's advertising ID, a 32-digit number intended to
allow advertisers to track consumer behavior while giving the user some measure of anonymity and control over
their information.
Privacy-conscious users can reset the advertising ID from the settings menu of the device, an action roughly
equivalent to clearing cookies in a browser.
Google's Play Store policies warn developers that the "advertising identifier must not be connected to personally-
identifiable information or associated with any persistent device identifier," including the MAC address, "without
explicit consent of the user."
Storing the unchangeable MAC address would allow ByteDance to connect the old advertising ID to the new one—a
tactic known as "ID bridging"—that is prohibited on Google's Play Store. "If you uninstall TikTok, reset the ad ID,
reinstall TikTok and create a new account, that MAC address will be the same," said Mr. Reardon. "Your ability to
start with a clean slate is lost."
Despite the prohibition, ID bridging is fairly widespread, according to AppCensus, particularly among free gaming
apps. But it seldom involves the MAC address, the most persistent identifier accessible in the current version of
Android.
In a random study by AppCensus of 25,152 popular internet-enabled Android apps in 2018, only 347, or 1.4%, were
seen using the Android loophole to send the MAC address. Of those, only 90 were also transmitting the built-in
Android ID, which changes if the device is reset.
The Journal's analysis confirmed some of the behavior detailed in a widely-discussed anonymous Reddit post in
April charging that TikTok transmitted a range of personal data to ByteDance servers, including the MAC address.
Google said it's investigating the claims in that post.
The Journal examined nine versions of TikTok released on the Play Store between April 2018 and January 2020.
The Journal's analysis was limited to examining what TikTok collects when freshly installed on a user's device,
before the user creates an account and accepts the app's terms of service.
SHARE YOUR THOUGHTS
How worried are you about TikTok accessing your personal data? Join the conversation below.
Apart from the MAC address, the Journal's testing showed that TikTok wasn't collecting an unusual amount of
information for a mobile app, and it disclosed that collection in its privacy policy and in pop-ups requesting the
user's consent during installation.


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Less typical are the measures ByteDance takes to conceal the data it captures. TikTok wraps most of the user
data it transmits in an extra layer of custom encryption.
As with virtually all modern apps, TikTok's Internet traffic is protected by the web's standard encryption protocols,
making it unlikely that an eavesdropper can steal information in transit. That makes the additional, custom
encryption code TikTok applies to user data seemingly extraneous—unless it was added to prevent the device
owner from seeing what TikTok was up to, said Nathan Good, a researcher at the International Digital
Accountability Council, a watchdog group that analyzes app behavior.
"TikTok's obfuscation of this data makes it harder to determine what it's doing," Mr. Good said. That added layer of
encryption makes it harder for researchers to determine whether TikTok is honoring its privacy policy and various
laws. He said he isn't aware of a business purpose for the encryption.
"It doesn't provide any extra level of Internet security," agreed Mr. Reardon. "But it does mean that we have no
transparency into what's being sent out."
It is common for mobile apps to hide parts of their software to prevent them from being copied by competitors, but
TikTok's encryption doesn't appear to be hiding a proprietary secret, said Marc Rogers, vice president of
cybersecurity strategy at Okta, Inc., which provides services that help users securely log in online.
"My guess is that the reason they do that is to bypass detection by Apple or Google because if Apple or Google
saw them passing those identifiers back they would almost certainly reject the app," Mr. Rogers said.
Google should remove TikTok from its platform, said Sen. Josh Hawley (R., Mo.), in a statement to the Journal,
when apprised of the findings. Sen. Hawley has been critical of TikTok and a hawk toward China generally.
"Google needs to mind its store, and TikTok shouldn't be on it," he said. "If Google is telling users they won't be
tracked without their consent and knowingly allows apps like TikTok to break its rules by collecting persistent
identifiers, potentially in violation of our children's privacy laws, they've got some explaining to do."
Liza Lin contributed to this article.
Credit: By Kevin Poulsen and Robert McMillan


DETAILS

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          Full Text | Trade Journal

          Apple Should Buy a Search Engine, Analyst Says
          Savitz, Eric J.Barron's (Online); New York        (Jun 8, 2020).



                 Full text


                 Details




                Full Text

                Should Apple buy a search engine?

                That fascinating question is explored in detail in a new research report Monday by Bernstein analyst
                Toni Sacconaghi. And he thinks there is a case to make that Apple ought to consider it.

                Sacconaghi estimates that Alphabet (ticker: GOOGL) pays Apple (AAPL) between $7 billion and $8
                billion a year for Google to be the default search engine for iOS and Siri—or about 30% of the
                estimated $25 billion that Google generates in ad revenue from search on Apple devices. Neither
                Apple nor Alphabet disclose the size of the payment Google makes to Apple every year, but the
                analyst says there is evidence that the figure is in that neighborhood.

                In Sacconaghi's view, Google pays that large sum to Apple in part out of concern about what
                Microsoft (MSFT) might be willing to pay Apple to supplant Google with Bing as the default search
                engine on iOS devices.

                Google, meanwhile, has another option—Sacconaghi says that the company could choose to pull
                the plug on its Apple deal if it believes it can capture 70% of its current iOS search revenue by
                spurring consumers to go to Google.com to do their searching even if it were removed from the
                Safari search bar. (The idea being that less volume would be the trade-off for not paying a search tax
                to Apple.)

                "Yes, Google is clearly the dominant force in search today," Sacconaghi writes. "However, we suspect
                the company's fear of 'rocking the boat'—which could compromise $15 billion in profits it captures
                today from iOS—may ultimately limit its freedom of action with Apple. Conversely, Apple may be in a
                stronger position than at first glance, given it controls the keys to the kingdom on who can monetize
                iOS search. However, it remains uncomfortably dependent on Bing to act as a counterweight to
                Google—hence our suggestion that Apple acquire its own search engine."

                Sacconaghi thinks Apple should consider acquiring the No. 4 search engine (after Google, Bing, and
                Yahoo)—privately held DuckDuckGo . He thinks Apple could likely buy it for under $1 billion, "or less



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                than a week's worth of cash flow." According to Crunchbase , DuckDuckGo has raised just $13
                million in venture capital.

                "To be certain, we doubt an Apple-owned DuckDuckGo could ever generate profits sufficient to make
                back the $7 billion to $8 billion a year currently paid by Google," Sacconaghi writes, in particular the
                lack of ad targeting in the privacy-centric DuckDuckGo search engine. "Nevertheless, Apple would
                still likely be better off than a worst-case scenario where it had no backup, and Google or Microsoft
                (one or the other) withdrew from the bidding process altogether."

                He adds that "acquiring DuckDuckGo would be compatible with Apple's privacy-focused brand
                image, given DuckDuckGo's raison d'être as a privacy-focused, anti-Google search engine." And he
                says a deal would be fairly easy to digest given DuckDuckGo's small size, with fewer than 100
                employees.

                On the other hand, he adds, "any smartphone OEM acquiring a search engine raises obvious
                regulatory concerns, given the EU's recent scrutiny on Google bundling Android smartphones with
                Google Search." And he also writes that "If Apple attempts to acquire DuckDuckGo but is blocked by
                regulators, it would arguably put Apple in a worse position than ever, given that Google and
                Microsoft would then know Apple has no alternatives."

                He adds that a move to buy DuckDuckGo "could attract unwanted attention from regulators about
                Apple and Google's existing search deal." Not least, Sacconaghi says he understands that
                "DuckDuckGo's search results primarily rely on licensing the Bing crawler, meaning Apple would still
                be partly reliant on Microsoft."

                Apple, Alphabet, and DuckDuckGo did not immediately respond to requests for comment.

                Apple was down 0.4% in trading Monday, at $330.22.

                Write to Eric J. Savitz at eric.savitz@barrons.com

                Credit: By Eric J. Savitz

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Google to Stop Selling Ads Based on Your
Specific Web Browsing; Citing privacy concerns,
Google says it won't use technologies that track
individuals across multiple websites
Schechner, Sam; Keach Hagey . Wall Street Journal (Online) ; New York, N.Y. [New York, N.Y]. 03 Mar
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FULL TEXT
Google plans to stop selling ads based on individuals' browsing across multiple websites, a change that could
hasten upheaval in the digital advertising industry.
The Alphabet Inc. company said Wednesday that it plans next year to stop using or investing in tracking
technologies that uniquely identify web users as they move from site to site across the internet.
The decision, coming from the world's biggest digital-advertising company, could help push the industry away from
the use of such individualized tracking, which has come under increasing criticism from privacy advocates and
faces scrutiny from regulators.
Google's heft means that its move is also likely to stoke a backlash from some competitors in the digital ad
business, where many companies rely on tracking individuals to target their ads, measure their effectiveness and
stop fraud. Google accounted for 52% of last year's global digital ad spending of $292 billion, according to Jounce
Media, a digital-ad consultancy.
"If digital advertising doesn't evolve to address the growing concerns people have about their privacy and how their
personal identity is being used, we risk the future of the free and open web," David Temkin, the Google product
manager leading the change, said in a blog post Wednesday.
Google had already announced last year that it would remove the most widely used such tracking technology,
called third-party cookies, in 2022. But now the company is saying it won't build alternative tracking technologies,
or use those being developed by other entities, to replace third-party cookies for its own ad-buying tools.
Instead, Google says its ad-buying tools will use new technologies it has been developing with others in what it
calls a "privacy sandbox" to target ads without collecting information about individuals from multiple websites.
One such technology analyzes users' browsing habits on their own devices, and allows advertisers to target
aggregated groups of users with similar interests, or "cohorts," rather than individual users. Google said in January
that it plans to begin open testing of buying using that technology in the second quarter.
Google's abandonment of individualized tracking across multiple sites has the potential to reshape the industry,
given the market power of its ad-buying tools. About 40% of the money that flows from advertisers to publishers
on the open internet—meaning the part of digital advertising outside of closed systems such as Google Search,
YouTube or Facebook—goes through Google's ad-buying tools, according to Jounce.
Google says its announcement on Wednesday doesn't cover its ad tools and unique identifiers for mobile apps,
just for websites. But its plan is the latest sign that the tide might be turning on user tracking more broadly.
Apple Inc. is pursuing its own plans to limit tracking of app usage by requiring developers to get opt-in permission
from users before collecting an advertising identifier for iPhones. At the same time, European Union privacy
regulators have fielded multiple complaints about the information that websites share with third parties about


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what content users are viewing as part of such tracking.
One set of complaints comes from Brave Software Inc., maker of a privacy-focused web browser, where Google's
Mr. Temkin was chief product officer until last summer. Google says Mr. Temkin's involvement in its plan
demonstrates its commitment to user privacy. Brave didn't immediately respond to a request for comment.
Google's changes come as big tech companies face multiple antitrust investigations. Smaller digital-ad companies
that use cross-site tracking have accused Apple and Google of using privacy as a pretext for changes that hurt
competitors. And Facebook Inc. Chief Executive Mark Zuckerberg in January said in an earnings call that " Apple
has every incentive to use their dominant platform position to interfere with how our apps and other apps work."
In the U.K., the Competition and Markets Authority, the country's top antitrust regulator, last month opened a
formal probe into Google's phasing out of third-party cookies from its Chrome browser. The probe stemmed from a
complaint from a group of marketers that argued Google's plan would cement the company's heft in the online
advertising space.
A Google spokesman said the company has been briefing the U.K.'s CMA on its plan to end its own use of unique
tracking across multiple websites.
Google's announcement complicates advertising-industry efforts to come up with an alternative, more privacy-
friendly technology for targeting individual consumers, such as the one being led by the Partnership for
Responsible Addressable Media, a group of advertisers and advertising technology companies, that would rely on
new identifiers, like strings of numbers and letters derived from users' email addresses. Without mentioning the
partnership's effort directly, Mr. Temkin referred to identifiers "based on people's email addresses" as examples of
tools Google won't use.
Google acknowledged that other companies may push ahead with other ways to track users. Companies that use
parts of Google's advertising infrastructure, such as its ad exchange, could potentially still sell ads that use their
own unique identifiers, Google said. But the company said it won't use or invest in such tools for ads it sells.
"We realize this means other providers may offer a level of user identity for ad tracking across the web that we will
not," Mr. Temkin wrote in the blog post. "We don't believe these solutions will meet rising consumer expectations
for privacy, nor will they stand up to rapidly evolving regulatory restrictions."
There are exceptions to Google's plan. The company's limit on unique tracking identifiers doesn't extend to so-
called first-party data—information a company gets directly from a customer. For instance, websites will be able to
sell ads based on users' activity only on that specific site.
It also means Google will continue to allow advertisers to aim ads on Google services like YouTube at specific
clients for whom they already have contact information. But when the changes go into effect, Google will stop
targeting such ads at those people when they are browsing other websites.
Nestlé SA, a large advertiser that Google had briefed on the changes, said it welcomed the initiative on privacy
grounds.
"We have long since recognized and advocated for the importance of first-party data, and it'll become even more
vital in a privacy-first world," said Aude Gandon, Nestle's global chief marketing officer.
Write to Sam Schechner at sam.schechner@wsj.com and Keach Hagey at keach.hagey@wsj.com
Google to Stop Selling Ads Based on Your Specific Web Browsing
Credit: By Sam Schechner and Keach Hagey


DETAILS

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                   Acxiom Lets Consumers See Data It Collects

                   Natasha Singer




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                          Credit...Jacob Slaton for The New York Times

                       • Sept. 4, 2013

                   Aboutthedata.com, a Web site introduced on Wednesday by a leading marketing
                   technology firm called the Acxiom Corporation, is offering individual consumers a
                   glimpse of some of the details the company has collected about them.

                   Visitors who log in to the site may review many seemingly innocuous facts, such as
                   whether someone in their household owns a dog or a cat, or is interested in jogging
                   or biking.

                   Aboutthedata.com delivers a soothing message about Acxiom, a data broker that
                   collects, stores, analyzes and sells billions of pieces of information about consumers
                   with the aim of helping corporate clients like banks, insurers and retailers aim
                   marketing pitches at specific audience segments.

                   “We have come to expect companies will make their interactions with us personal,”
                   the site says. “We no longer want to receive mass marketing — getting bombarded
                   with ads that have no relevancy to our lives.”

                   Yet critics say the new consumer site omits so many details about Acxiom’s data-
                   gathering and analysis practices that it sanitizes the data mining behind data-driven
                   marketing.

                   Aboutthedata.com, at least in its initial incarnation, leaves out many data elements
                   that Acxiom markets to its corporate clients — intimate details like whether a
                   person is a “potential inheritor” or an “adult with senior parent,” or whether a
                   household has a “diabetic focus” or “senior needs.” Without a more complete
                   picture of industry practices, privacy advocates say, consumers cannot make


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                   informed decisions about whether to share personal information with companies.

                   “It does not give an accurate picture of how this works,” Jeff Chester, the executive
                   director of the Center for Digital Democracy, a consumer group in Washington, said
                   of Aboutthedata.com. “The language is so innocuous that the average consumer
                   would think there’s no privacy concern.”

                   Acxiom executives said that the initial version of the site included what it
                   considered its core data about consumers, but that they planned to add information
                   categories to the site on a regular basis.

                   For the last several years, members of Congress and federal regulators have been
                   pressing the data brokerage industry to make its practices more transparent. Much
                   of their criticism has focused on Acxiom, an industry leader that has amassed
                   information on the financial means, residential status and shopping habits of a
                   majority of adults in the United States.




                          Image




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                   Last year, the Federal Trade Commission issued a report on consumer privacy that
                   recommended that Congress pass a law requiring greater transparency for data
                   brokers. Unlike consumer reporting agencies, which are required by federal law to
                   give consumers free copies of their credit reports and allow them to correct errors,
                   companies that collect marketing data are not required to show consumers
                   information that has been collected about them.

                   Some regulators have warned that the industry’s data-mining could be used for
                   discriminatory practices — such as offering elite consumers better pricing or
                   identifying financially troubled consumers who might be susceptible to predatory
                   lending.

                   Now the new site positions Acxiom as the industry leader in responding to
                   regulators’ concerns. Julie Brill, a member of the F.T.C., described the Acxiom site
                   as “a first step down this important road towards greater transparency.”

                   In addition to allowing consumers to view their records or to opt out of Acxiom’s
                   marketing databases, the site lets them change individual data elements in their
                   files.

                   Scott E. Howe, the chief executive of Acxiom, based in Little Rock, Ark., said in an
                   interview last week that the company wanted to give consumers greater control over
                   their data.

                   “The whole role of the consumer as another voice in the equation hasn’t been heard
                   effectively by folks who deal in data until now,” Mr. Howe said. If consumers en
                   masse correct or update their Acxiom files, the company would benefit by being
                   able to offer its corporate clients better-quality data, he said. But, he said, it could
                   be a problem if consumers opt out in large numbers.

                   Aboutthedata.com received mixed reviews on its opening day. Some consumers,
                   privacy advocates and data security specialists said that they had trouble logging in,
                   or logged in only to find that no information was available about them. Some
                   criticized the site’s identity verification system — which requires name, address,


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                   date of birth and the last four digits of the Social Security number — as
                   insufficiently secure. Others noted that, while consumers could opt out of Acxiom’s
                   marketing database, they were not given the opportunity to opt out of every Acxiom
                   product.

                   “Consumers are not fully in control of their information until they can request
                   Acxiom permanently delete their data and prevent the company from using their
                   information for purposes other than marketing,” said Senator Edward J. Markey,
                   Democrat of Massachusetts, who last year opened an investigation into data
                   brokers including Acxiom. “I plan to continue my oversight and investigation into
                   the data broker industry to make sure Americans know how this industry operates
                   and consumers have power over their own information.”

                   But mostly critics faulted the site for promoting data-driven marketing without
                   explicitly describing some of Acxiom’s more sophisticated consumer-tracking
                   techniques. In marketing materials, for instance, Acxiom describes one of its
                   products, called AbiliTec Digital, as a data-powered “customer recognition” service
                   that helps companies link a customer’s history with his or her name, nickname,
                   e-mail address, home address, and mobile and landline phone numbers.

                   While that kind of pervasive surveillance may be useful for companies, it could also
                   make consumers more vulnerable to pitches for products that are not necessarily
                   good for them, said Ryan Calo, an assistant professor at the University of
                   Washington School of Law who studies consumer privacy. In a recent research
                   paper on industry practices, he imagined a hypothetical obese consumer who tries
                   to avoid snacking but receives an ad on his mobile phone from the nearest
                   doughnut shop exactly when he is least likely to resist.

                   “That is a dangerous direction,” Mr. Calo said, “because it starts to figure out what
                   makes each of us vulnerable.”




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                 Acxiom, the Quiet Giant of Consumer Database Marketing

                 Natasha Singer

                 You for Sale

                 Mapping, and Sharing, the Consumer Genome




                       Credit...Justin Bolle for The New York Times

                       June 16, 2012

                 IT knows who you are. It knows where you live. It knows what you do.

                 It peers deeper into American life than the F.B.I. or the I.R.S., or those prying digital eyes at Facebook and Google. If
                 you are an American adult, the odds are that it knows things like your age, race, sex, weight, height, marital status,
                 education level, politics, buying habits, household health worries, vacation dreams — and on and on.

                 Right now in Conway, Ark., north of Little Rock, more than 23,000 computer servers are collecting, collating and
                 analyzing consumer data for a company that, unlike Silicon Valley’s marquee names, rarely makes headlines. It’s called



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                 the Acxiom Corporation, and it’s the quiet giant of a multibillion-dollar industry known as database marketing.

                 Few consumers have ever heard of Acxiom. But analysts say it has amassed the world’s largest commercial database on
                 consumers — and that it wants to know much, much more. Its servers process more than 50 trillion data “transactions”
                 a year. Company executives have said its database contains information about 500 million active consumers worldwide,
                 with about 1,500 data points per person. That includes a majority of adults in the United States.

                 Such large-scale data mining and analytics — based on information available in public records, consumer surveys and
                 the like — are perfectly legal. Acxiom’s customers have included big banks like Wells Fargo and HSBC, investment
                 services like E*Trade, automakers like Toyota and Ford, department stores like Macy’s — just about any major
                 company looking for insight into its customers.

                 For Acxiom, based in Little Rock, the setup is lucrative. It posted profit of $77.26 million in its latest fiscal year, on
                 sales of $1.13 billion.

                 But such profits carry a cost for consumers. Federal authorities say current laws may not be equipped to handle the
                 rapid expansion of an industry whose players often collect and sell sensitive financial and health information yet are
                 nearly invisible to the public. In essence, it’s as if the ore of our data-driven lives were being mined, refined and sold to
                 the highest bidder, usually without our knowledge — by companies that most people rarely even know exist.

                 Julie Brill, a member of the Federal Trade Commission, says she would like data brokers in general to tell the public
                 about the data they collect, how they collect it, whom they share it with and how it is used. “If someone is listed as
                 diabetic or pregnant, what is happening with this information? Where is the information going?” she asks. “We need to
                 figure out what the rules should be as a society.”

                 Although Acxiom employs a chief privacy officer, Jennifer Barrett Glasgow, she and other executives declined requests
                 to be interviewed for this article, said Ines Rodriguez Gutzmer, director of corporate communications.

                 In March, however, Ms. Barrett Glasgow endorsed increased industry openness. “It’s not an unreasonable request to
                 have more transparency among data brokers,” she said in an interview with The New York Times. In marketing
                 materials, Acxiom promotes itself as “a global thought leader in addressing consumer privacy issues and earning the
                 public trust.”

                 But, in interviews, security experts and consumer advocates paint a portrait of a company with practices that privilege
                 corporate clients’ interests over those of consumers and contradict the company’s stance on transparency. Acxiom’s
                 marketing materials, for example, promote a special security system for clients and associates to encrypt the data they
                 send. Yet cybersecurity experts who examined Acxiom’s Web site for The Times found basic security lapses on an
                 online form for consumers seeking access to their own profiles. (Acxiom says it has fixed the broken link that caused
                 the problem.)

                 In a fast-changing digital economy, Acxiom is developing even more advanced techniques to mine and refine data. It
                 has recruited talent from Microsoft, Google, Amazon.com and Myspace and is using a powerful, multiplatform
                 approach to predicting consumer behavior that could raise its standing among investors and clients.

                 Of course, digital marketers already customize pitches to users, based on their past activities. Just think of “cookies,”
                 bits of computer code placed on browsers to keep track of online activity. But Acxiom, analysts say, is pursuing far
                 more comprehensive techniques in an effort to influence consumer decisions. It is integrating what it knows about our
                 offline, online and even mobile selves, creating in-depth behavior portraits in pixilated detail. Its executives have called
                 this approach a “360-degree view” on consumers.

                 “There’s a lot of players in the digital space trying the same thing,” says Mark Zgutowicz, a Piper Jaffray analyst. “But
                 Acxiom’s advantage is they have a database of offline information that they have been collecting for 40 years and can
                 leverage that expertise in the digital world.”

                 Yet some prominent privacy advocates worry that such techniques could lead to a new era of consumer profiling.

                 Jeffrey Chester, executive director of the Center for Digital Democracy, a nonprofit group in Washington, says: “It is
                 Big Brother in Arkansas.”

                 SCOTT HUGHES, an up-and-coming small-business owner and Facebook denizen, is Acxiom’s ideal consumer.
                 Indeed, it created him.

                 Mr. Hughes is a fictional character who appeared in an Acxiom investor presentation in 2010. A frequent shopper, he
                 was designed to show the power of Acxiom’s multichannel approach.




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                       Credit...Steve KeeseeArkansas Democrat-Gazette

                 In the presentation, he logs on to Facebook and sees that his friend Ella has just become a fan of Bryce Computers, an
                 imaginary electronics retailer and Acxiom client. Ella’s update prompts Mr. Hughes to check out Bryce’s fan page and
                 do some digital window-shopping for a fast inkjet printer.

                 Such browsing seems innocuous — hardly data mining. But it cues an Acxiom system designed to recognize
                 consumers, remember their actions, classify their behaviors and influence them with tailored marketing.



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                 When Mr. Hughes follows a link to Bryce’s retail site, for example, the system recognizes him from his Facebook
                 activity and shows him a printer to match his interest. He registers on the site, but doesn’t buy the printer right away, so
                 the system tracks him online. Lo and behold, the next morning, while he scans baseball news on ESPN.com, an ad for
                 the printer pops up again.

                 That evening, he returns to the Bryce site where, the presentation says, “he is instantly recognized” as having
                 registered. It then offers a sweeter deal: a $10 rebate and free shipping.

                 It’s not a random offer. Acxiom has its own classification system, PersonicX, which assigns consumers to one of 70
                 detailed socioeconomic clusters and markets to them accordingly. In this situation, it pegs Mr. Hughes as a “savvy
                 single” — meaning he’s in a cluster of mobile, upper-middle-class people who do their banking online, attend pro
                 sports events, are sensitive to prices — and respond to free-shipping offers.

                 Correctly typecast, Mr. Hughes buys the printer.

                 But the multichannel system of Acxiom and its online partners is just revving up. Later, it sends him coupons for ink
                 and paper, to be redeemed via his cellphone, and a personalized snail-mail postcard suggesting that he donate his old
                 printer to a nearby school.

                 Analysts say companies design these sophisticated ecosystems to prompt consumers to volunteer enough personal data
                 — like their names, e-mail addresses and mobile numbers — so that marketers can offer them customized appeals any
                 time, anywhere.

                 Still, there is a fine line between customization and stalking. While many people welcome the convenience of
                 personalized offers, others may see the surveillance engines behind them as intrusive or even manipulative.

                 “If you look at it in cold terms, it seems like they are really out to trick the customer,” says Dave Frankland, the
                 research director for customer intelligence at Forrester Research. “But they are actually in the business of helping
                 marketers make sure that the right people are getting offers they are interested in and therefore establish a relationship
                 with the company.”

                 DECADES before the Internet as we know it, a businessman named Charles Ward planted the seeds of Acxiom. It was
                 1969, and Mr. Ward started a data processing company in Conway called Demographics Inc., in part to help the
                 Democratic Party reach voters. In a time when Madison Avenue was deploying one-size-fits-all national ad campaigns,
                 Demographics and its lone computer used public phone books to compile lists for direct mailing of campaign material.

                 Today, Acxiom maintains its own database on about 190 million individuals and 126 million households in the United
                 States. Separately, it manages customer databases for or works with 47 of the Fortune 100 companies. It also worked
                 with the government after the September 2001 terrorist attacks, providing information about 11 of the 19 hijackers.

                 To beef up its digital services, Acxiom recently mounted an aggressive hiring campaign. Last July, it named Scott E.
                 Howe, a former corporate vice president for Microsoft’s advertising business group, as C.E.O. Last month, it hired Phil
                 Mui, formerly group product manager for Google Analytics, as its chief product and engineering officer.

                 In interviews, Mr. Howe has laid out a vision of Acxiom as a new-millennium “data refinery” rather than a data miner.
                 That description posits Acxiom as a nimble provider of customer analytics services, able to compete with Facebook
                 and Google, rather than as a stealth engine of consumer espionage.

                 Still, the more that information brokers mine powerful consumer data, the more they become attractive targets for
                 hackers — and draw scrutiny from consumer advocates.

                 This year, Advertising Age ranked Epsilon, another database marketing firm, as the biggest advertising agency in the
                 United States, with Acxiom second. Most people know Epsilon, if they know it at all, because it experienced a major
                 security breach last year, exposing the e-mail addresses of millions of customers of Citibank, JPMorgan Chase, Target,
                 Walgreens and others. In 2003, Acxiom had its own security breaches.

                 But privacy advocates say they are more troubled by data brokers’ ranking systems, which classify some people as
                 high-value prospects, to be offered marketing deals and discounts regularly, while dismissing others as low-value —
                 known in industry slang as “waste.”

                 Exclusion from a vacation offer may not matter much, says Pam Dixon, the executive director of the World Privacy
                 Forum, a nonprofit group in San Diego, but if marketing algorithms judge certain people as not worthy of receiving
                 promotions for higher education or health services, they could have a serious impact.

                 “Over time, that can really turn into a mountain of pathways not offered, not seen and not known about,” Ms. Dixon
                 says.



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                 Until now, database marketers operated largely out of the public eye. Unlike consumer reporting agencies that sell
                 sensitive financial information about people for credit or employment purposes, database marketers aren’t required by
                 law to show consumers their own reports and allow them to correct errors. That may be about to change. This year, the
                 F.T.C. published a report calling for greater transparency among data brokers and asking Congress to give consumers
                 the right to access information these firms hold about them.




                       Image




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Acxiom, the Quiet Giant of Consumer Database Marketing                         https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant...
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                       Credit...Ken Cedeno/Bloomberg News

                 ACXIOM’S Consumer Data Products Catalog offers hundreds of details — called “elements” — that corporate clients
                 can buy about individuals or households, to augment their own marketing databases. Companies can buy data to
                 pinpoint households that are concerned, say, about allergies, diabetes or “senior needs.” Also for sale is information on
                 sizes of home loans and household incomes.

                 Clients generally buy this data because they want to hold on to their best customers or find new ones — or both.



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Acxiom, the Quiet Giant of Consumer Database Marketing                           https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant...
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                 A bank that wants to sell its best customers additional services, for example, might buy details about those customers’
                 social media, Web and mobile habits to identify more efficient ways to market to them. Or, says Mr. Frankland at
                 Forrester, a sporting goods chain whose best customers are 25- to 34-year-old men living near mountains or beaches
                 could buy a list of a million other people with the same characteristics. The retailer could hire Acxiom, he says, to
                 manage a campaign aimed at that new group, testing how factors like consumers’ locations or sports preferences affect
                 responses.

                 But the catalog also offers delicate information that has set off alarm bells among some privacy advocates, who worry
                 about the potential for misuse by third parties that could take aim at vulnerable groups. Such information includes
                 consumers’ interests — derived, the catalog says, “from actual purchases and self-reported surveys” — like “Christian
                 families,” “Dieting/Weight Loss,” “Gaming-Casino,” “Money Seekers” and “Smoking/Tobacco.” Acxiom also sells
                 data about an individual’s race, ethnicity and country of origin. “Our Race model,” the catalog says, “provides
                 information on the major racial category: Caucasians, Hispanics, African-Americans, or Asians.” Competing
                 companies sell similar data.

                 Acxiom’s data about race or ethnicity is “used for engaging those communities for marketing purposes,” said Ms.
                 Barrett Glasgow, the privacy officer, in an e-mail response to questions.

                 There may be a legitimate commercial need for some businesses, like ethnic restaurants, to know the race or ethnicity
                 of consumers, says Joel R. Reidenberg, a privacy expert and a professor at the Fordham Law School.

                 “At the same time, this is ethnic profiling,” he says. “The people on this list, they are being sold based on their ethnic
                 stereotypes. There is a very strong citizen’s right to have a veto over the commodification of their profile.”

                 He says the sale of such data is troubling because race coding may be incorrect. And even if a data broker has correct
                 information, a person may not want to be marketed to based on race.

                 “DO you really know your customers?” Acxiom asks in marketing materials for its shopper recognition system, a
                 program that uses ZIP codes to help retailers confirm consumers’ identities — without asking their permission.

                 “Simply asking for name and address information poses many challenges: transcription errors, increased checkout time
                 and, worse yet, losing customers who feel that you’re invading their privacy,” Acxiom’s fact sheet explains. In its
                 system, a store clerk need only “capture the shopper’s name from a check or third-party credit card at the point of sale
                 and then ask for the shopper’s ZIP code or telephone number.” With that data Acxiom can identify shoppers within a 10
                 percent margin of error, it says, enabling stores to reward their best customers with special offers. Other companies
                 offer similar services.

                 “This is a direct way of circumventing people’s concerns about privacy,” says Mr. Chester of the Center for Digital
                 Democracy.

                 Ms. Barrett Glasgow of Acxiom says that its program is a “standard practice” among retailers, but that the company
                 encourages its clients to report consumers who wish to opt out.

                 Acxiom has positioned itself as an industry leader in data privacy, but some of its practices seem to undermine that
                 image. It created the position of chief privacy officer in 1991, well ahead of its rivals. It even offers an online request
                 form, promoted as an easy way for consumers to access information Acxiom collects about them.

                 But the process turned out to be not so user-friendly for a reporter for The Times.

                 In early May, the reporter decided to request her record from Acxiom, as any consumer might. Before submitting a
                 Social Security number and other personal information, however, she asked for advice from a cybersecurity expert at
                 The Times. The expert examined Acxiom’s Web site and immediately noticed that the online form did not employ a
                 standard encryption protocol — called https — used by sites like Amazon and American Express. When the expert
                 tested the form, using software that captures data sent over the Web, he could clearly see that the sample Social
                 Security number he had submitted had not been encrypted. At that point, the reporter was advised not to request her
                 file, given the risk that the process might expose her personal information.

                 Later in May, Ashkan Soltani, an independent security researcher and former technologist in identity protection at the
                 F.T.C., also examined Acxiom’s site and came to the same conclusion. “Parts of the site for corporate clients are
                 encrypted,” he says. “But for consumers, who this information is about and who stand the most to lose from data
                 collection, they don’t provide security.”

                 Ms. Barrett Glasgow says that the form has always been encrypted with https but that on May 11, its security
                 monitoring system detected a “broken redirect link” that allowed unencrypted access. Since then, she says, Acxiom has
                 fixed the link and determined that no unauthorized person had gained access to information sent using the form.



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                 On May 25, the reporter submitted an online request to Acxiom for her file, along with a personal check, sent by
                 Express Mail, for the $5 processing fee. Three weeks later, no response had arrived.

                 Regulators at the F.T.C. declined to comment on the practices of individual companies. But Jon Leibowitz, the
                 commission chairman, said consumers should have the right to see and correct personal details about them collected
                 and sold by data aggregators.

                 After all, he said, “they are the unseen cyberazzi who collect information on all of us.”




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WSJ BLOG/Digits: How Dataium Watches You
Publication info: Dow Jones Institutional News ; New York [New York]. 07 Dec 2012.

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FULL TEXT

(This story has been posted on The Wall Street Journal Online's Digits blog at http://blogs.wsj.com/digits.)


By Jeremy Singer-Vine
If you've shopped for a car online on Cars.com or other automotive websites recently, there's a good chance
Dataium LLC was watching most of your mouse-clicks.
Dataium, which is the subject of an article in Saturday's Wall Street Journal, says 10,000 automotive websites use
its code.
The Wall Street Journal observed Dataium logging information about a visitors' nearly every action -- not just what
pages were viewed, but also what parts of the page were clicked, which dropdown options were selected, and what
information (such as name, email address, and phone number) were entered in dealer-contact forms.
The Journal's tests indicated that Dataium does not collect Social Security numbers and credit card numbers, even
if users enter them on a dealer-contact form.
Click-tracking is common among analytics programs, says Jules Polonetsky, director of the Future of Privacy
Forum. Many companies use such tracking to see, for example, how well new page-layouts perform. But some
techniques may overstep visitors' expectations of privacy, Polonetsky says. "The question is, are you reaching
further than I can reasonably imagine?"
The Journal also saw on several occasions that Dataium software used a controversial technique to attempt to
determine whether a visitor had been to nearly 100 other sites, including edmunds.com, bmw.com, usatoday.com,
google.com, and linkedin.com.
Known as "CSS history sniffing", this technique exploits a security vulnerability in older Web browsers, such as
Internet Explorer 8. Modern browsers have plugged this privacy hole. Dataium CEO Eric Brown told the Journal it
has used the technique intermittently for testing.
On December 5, the Federal Trade Commission announced it had settled with Epic Marketplace, Inc., an advertising
network that had been using history sniffing to target ads. "This type of unscrupulous behavior undermines
consumers' confidence, and we won't tolerate it," FTC Chairman Jon Leibowitz said in the announcement.
Dataium obscures its techniques under layers of ciphers and other obfuscation methods.
Here's how Dataium's code works: Websites load a computer file, written in the JavaScript language, called vcu.js
from Dataium's servers.
This file sets tracking cookies, small text files that are associated with a person's Web browser and can follow a
person from website to website. The vcu.js file also loads Dataium's main tracking code, JavascriptInsert.js.
The purpose of the JavascriptInsert.js computer code is buried behind at least four layers of obfuscation.
The bulk of the JavascriptInsert.js file is a string of 53,000 characters that, at first glance, looks like gibberish, with
bits such as "ff.ot;zs-=;}=zm-tetAzt=oaj;Aj+=o;}h.z=buzsi+;e;hifffyCkee;od(baX'&.otXs e+=)f." The meaning of this
huge chain of characters doesn't become clear until a separate bit of code transforms the gibberish into computer
code.
This code unscrambles yet another set of gibberish and turns that into more computer code, which in turn creates
a code (specifically, a set of rules know as a function) named "ste."

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The "ste" computer code unscrambles the 53,000-character original string of gibberish, swaps around its
characters, and replaces certain symbols with others. The result is the JavaScript code that runs Dataium's actual
tracking program.
Companies that want to hide their code's mechanisms from competitors often use such obfuscation techniques,
says Nicholas C. Zakas, an independent web technologist and consultant who has written several books on
JavaScript. But obfuscation can only deter, rather than prevent, outsiders from understanding a given piece of
code.
Dataium also uses a homegrown -- and reversible -- cipher to scramble the information it collects about visitors to
Web pages containing its code. (Dataium opts not to send the data using the industry standard encryption known
as "HTTPS" by default.) The Journal decoded the cipher, which works roughly like this:
Let's say we're scrambling the string "THEQUICKBROWNFOXJUMPSOVERTHELAZYDOG". First, we'll break up the
data into two-character chunks:
TH EQ UI CK BR OW NF OX JU MP SO VE RT HE LA ZY DO G
Then, we'll swap the characters in each pair:
HT QE IU KC RB WO FN XO UJ PM OS EV TR EH AL YZ OD G
And recombine into a single string:
HTQEIUKCRBWOFNXOUJPMOSEVTREHALYZODG
Next, we'll split what we have so far into alternating eight-character and five-character chunks:
HTQEIUKC RBWOF NXOUJPMO SEVTR EHALYZODG
... swap neighboring chunks:
RBWOF HTQEIUKC SEVTR NXOUJPMO EHALYZODG
And finally recombine them:
RBWOFHTQEIUKCSEVTRNXOUJPMOEHALYZODG
Dataium also scrambles the history-sniffing data with a cipher known as ROT13. This cipher replaces each letter in
the alphabet with the letter 13 places later in the alphabet. It is not considered to be "secure."
Ashkan Soltani contributed to this article.


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Weaving Technology and
Policy Together to Maintain
Coddentiality

Latanya Sweeney




0
           rganizations often release and receive medical data         tion concerning a person’s health or treatment that enables
           with all explicitidentifiers,such as name, address,         someone to identify that person. The expression personal
           telephone number, and Social Security number                health information refers to health information that may
(SSN), removed on the assumption that patient confidenti-              or may not identify individuals. As I will show, in many
ality is maintained because the resulting data look anony-             releases of personal health information, individuals can be
mous.However, in most of these cases, the remaining data               recognized. Anonymous personal health information, by
can be used to reidenafy individuals by linking or match-              contrast, contains details about a person’s medical condi-
ing the data to other data bases or by looking at unique               tion or treatment but the identity of the person cannot be
characteristics found in the fields and records of the data            determined.
base itself When these less apparent aspects are taken into                 In general usage, confidentiality of personal informa-
account, each released record can map to many possible                 tion protects the interests of the organization while pri-
people, providing a level of anonymity that the record-                vacy protects the autonomy of the individual; but, in medi-
holder determines. The greater the number of candidates                cal usage, both terms mean privacy. The historical origin
per record, the more anonymous the data.                               and ethical basis of medical confidentiality begins with the
     I examine three general-purpose computer programs                 Hippocratic Oath, which was written between the sixth
for maintainingpatient confidentialitywhen disclosing elec-            century B.C.and the first century AD. It states:
tronic medical records: the Scrub System, which locates
and suppresses or replaces personally identifying informa-                   Whatsoever I shall see or hear in the course of my
tion in letters between doctors and in notes written by cli-                 dealings with men, if it be what should not be pub-
nicians; the Datafly System, which generalizesvalues based                   lished abroad, I d never divulge, holding such things
on a profile of the data recipient at the time of disclosure;                to be holy secrets.
and the p-Argus System, a somewhat similar system which
is becoming a European standard for disclosing public use                   Various professional associations world-wide reiterate
data. These systems have limitations. Even when they are               this oath, and by pledging this oath, clinicians-licensed
completely effective, wholly anonymous data may not con-               professionals such as doctors, nurses, pharmacists, radi-
tain sufficient details for all uses; hence, care must be taken        ologists, and dentists who access in the line of duty identi-
when released data can identify individuals and such Care              fiable personal health information-assume the responsi-
must be enforced by coherent policies and procedures.                  bility of securing this information. The resulting trust is
                                                                       the cornerstone of the doaor-patient relationship, allowing
                                                                       patients to communicatewith their physicians and to share
Background                                                             information regarding their health status. However, the doc-
Identifiable personal health information is any informa-               tor-patient pnbikge offers no real protection to patients re-
                                                                       gardingthe confidentiality of their health information.Legal
] O U T of Z ~ Medicine 6Ethh, 25 (1997):98-110.
        WLAW,                                                          protection is very narrow, only applying in some cases when
6 1997 by the American Soaety of Law,Medicine & Ethics.                a physician is testifying in COW or in related proceedings.


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      The role of information technology is critical to c o d -          percent)? By extension, this survey implies strong public
 dentiality. On the one hand, information technology offers              support for releases of personal health information in which
 comprehensive, portable electronicrecords that can be easily            persons contained in the information cannot be identified
 accessed on behalf of a given patient no matter where or               at all.
 when a patient may need medical care.’ That very port-                      Analysis of the detailed information contained within
 ability, on the other hand, makes it much easier to transmit           electronic medical records promises many social advan-
 quickly and cheaply records containing identifiable per-               tages, including improvements in medical care, reduced
 sonal health information widely and in bulk, for a variety             institutional costs, the development of predictive and di-
 of uses within and among health m e institutions and other             agnosticsupport systems: and the integration of applicable
 organizations and agencies. The Office of Technology As-               data from multiple sources into a unified display for clini-
 sessment (OTA) found that current laws generally do not                cians;6 but these benefits require sharing the contents of
 provide consistentor comprehensive protection of personal              medical records with secondary viewers, such as research-
 health information.2 Focusing on the impact of computer                ers, economists, statisticians, administrators, consultants,
 technology, OTA concluded that computerization reduces                 and computer scientists, to name a few. The public would
 some concerns about privacy of personal health informa-                probably agree that these secondary parties should know
 tion while increasing others.                                          some of the information buried in the record, but such
      Previous policy efforts to protect the privacy of per-            disclosure should not risk identifying patients.
sonal health information were Iimited to decisions about                     Beverly Woodward makes a compelling argument that
who gets access to which fields of information. I examine               to the public, patient confidentiality implies that only people
here three new computer programs that attempt to dis-                   directly involved in one’s health care will have access to
close information in such a way that individuals contained              one’s medical records and that these health professionals
in the released data cannot be identified. These programs               will be bound by strict ethical and legal standards that pro-
provide a spectrum of policy options. Decisions are no                  hibit further dis~losure;~  the public is not likely to accept
longer limited to who gets what information, but to how                 the notion that records are “confidential” if large numbers
much generality or possible anonymity will exist in the                 of people have access to their contents. In 1996, the Na-
released information.                                                   tional Association of Health Data Organizations o 0 )
      The public’s concern about the confidentiality of per-            reported that thirty-seven states had legislative mandates
sonal health information is reflected in a 1993 poll con-              to gather electronically copies of personal health informa-
ducted by Harris and Associates for Equifax. The results               tion from hospitalsSfor cost-analysis purposes. Commu-
of the survey found that 96 percent of respondents believe             nity pharmacy chains, such as Revco, maintain electronic
federal legislation should designate all personal health in-           records for over 60 percent of the 2.4 billion outpatient
formation as sensitive and impose severe penalties for un-             prescriptions dispensed annuallp Insurance claims typically
authorized disclosure. Eighty percent of respondents were              include diagnosis, procedure, and medication codes along
worried about medical record privacy, and 25 percent had               with the name, address, birth date, and SSN of each pa-
personal experience of abuse related to personal health in-            tient. Pharmaceutical companies run longitudinal studies
formation..’                                                           on identified patients and providers. As more health main-
     A 1994 Harris-Equifax consumer privacy survey fo-                 tenance organizations and hospitals merge, the number of
cused on how the American public feels about having their              people with authorized accessto identifiablepersonalhealth
medical records used for medical research and how safe-                information will increase dramatically because, as the Na-
guards would affect their opinions about such systems and              tional Research Council (NRC) recently warned, many of
uses. Among a list of thirteen groups and organizations,               these systems allow full access to all records by any autho-
doctors and nurses ranked first in terms of the percentage             rized person? For example, assume a billing clerk at hospital
of Americans who were ccvery”confident (43 percent) that               X can view all information in all medical records within the
this group properly handled personal and confidential in-              institution. When hospital X merges with hospitals Y and Z,
formation. After hearing a description about how medical               that same clerk may then be able to view all records at all
records are used by researchers to study the causes of dis-            three hospitals even though the clerk may not need to know
ease, 41 percent of those surveyed said they would find it             information about the patients at the other institutions.
at least somewhat acceptable if their records were used for                 The NRC report also warns against inconsistent prac-
such research. If a federal law made it illegal for any medi-          tices concerning releases of personal health information. If
cal researcher to disclose the identity or any identifiable            I approach a hospital as a researcher, I must petition the
details of a person whose health records had been used, 28             hospitaI‘s institutional review board (nrt3) and state my
percent of those who initially opposed having their records            intentions and methodologies; then the IRBdecideswhether
used would change their position. This would increase ac-              I get data and in what form. But, if I approach the same
ceptance of this practice to over half those surveyed (58              hospital as an administrative consultant, data are given to


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me without IRB review. The decision is made locally and
acted on.
     Recent presentations by the secretary of the Depart-
ment of Health and Human Services emphasize the threats
to privacy stemming from misuse of personal health infor-
mation.l0 There have been abuses; here are just a f w . A
banker cross-referenceda list of patientswith cancer against
a list of people who had outstanding loans at his bank.
Where he found matches, he called in the outstanding
loans." Asurvey of 87Fortune 500 companies with a total
of 3.2 million employees found that 35 percent of respon-
dents used medical records to make decisions about em-
ployees.12 Cases have been reported of snooping in large
hospital computer networks by hospital employees," even
though the use of a simple audit trail-a list of each person           of this table -
who looked up a patients record-could curtail such be-                 are a subset of ZIP Code Birth Date Gender Race
havior." -C         Reports found that 40 percent of insurers          an extremely 33171        7/15/71 m         Caucasian
disclose personal health informationto lenders, employers, or          large and di- 02657       U18/73 f          Black
marketers without customer permission.1s Abuses like the               versedatabase,.
preceding underscore the need to develop safeguards.                   then the three 20612      3/12/75 m         Asian
                                                                                               I          I      I           I
                                                                       records may'
                                                                       amear anonv- Table 2. Deidentified Data that Are Not
Data and anonymity
I begin by statingdefinitions of &identified data and unony-
mom data. In deidentified data, all explicit identifiers, such
as SSN, name, address, and telephone number, are removed,
generalized, or replacedwith a made-up alternative. Deiden-
tifying data does not guarantee that the result is anony-
mous. The term unonymom implies that the data cannot
be manipulated or linked to identify an individual. ,Even
when information shared with secondary parties is deiden-
tified, it is often far from anonymous.
     There are three major difficulties in providing anony-
mous data. The first problem is that anonymity is in the
eye of the beholder. The knowledge a viewer of the data
may hold or bring to bear on the data is usually not known
beforehand by the person releasing the data, and such
knowledge may be useful in identifying individuals. Con-
sider an HIV testing center located in a heavily populated
community within a large metropolitan area. If Table 1
shows the results for two days, then it may not appear very
anonymous if the leftmost column contains the date, the
middle column c o n k the patient's telephone number, and
                                  the rightmost column
I970202   I    4973251 I    N  1  holds the results. An elec-

 970202
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          1 8324820
            2018492
            9353481
            3856592
                             can match each phone
                             number to a name and
                             address. Although this
                             does not idenufy the spe-
                             cifk member of the house-
                                                                       list by just birth birth date alone
                                                                       date and gender, birth date and gender
                                                                       69 Dercent with birth date and 5-didt ZIP code 69%
                                                                                        I
                                                                                                                          12%
                                                                                                                          29%

                                                                       01.; a birth date birth date and full Vpostal code 97%I
                             hold tested, the possible                 and a 5-digit ZIP Table 3. Uniqueness of Demographic
 Table 1. Possibly Anonymous choiceshavebeennarrmed                    code, and 97 per- Fields in CAbridge, Massachus~tts,
 HIV test data.              to a particular address.                  cent (53,033 vot- Voter List.


                                                                 100
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 ers) when the fullpostal code and birth date are used. These                   As a final example, suppose a hospital's maternity
 values are listed in Table 3. Clearly, the risks of reidentify-          records contain only one patient who gave birth to triplets.
 ing data depend both on the content of the released data                 Knowledge of the uniqueness of thispatient's record may
 and on related information available to the recipient.                   appear in many places, including insurance claims, per-
       The second problem in producinganonymousdata con-                  sonal financial records, local census information, and in-
 cerns unique and unusual information appearing within                    surance enrollment forms. If her clinical data contains sen-
 the data themselves. Instances of uniquely occurring char-               sitive information about medical complications, then any
 acteristics found within the origrnal data can be used by a              release of clinical data contained in her record may iden-
 reporter, private investigator, or others to discredit the ano-          tify her and provide additional information about her medi-
 nymity of the released data, even when these instances are               cal condition, even though the released data may not con-
 not unique in the general population. And, unusual cases                 tain any references to her age or residence. When releasing
 are often also unusual in other sources of data, making                  data for public and semi-public use, records containing
 them easier to identify. Consider the data base in Table 4.              notable characteristics must be suppressed or masked.
 It is not surprising that the SSN is uniquely identifying, or,                The third problem concerns measuring the degree of
 given the size of the data base, that the birth date is unique.          anonymity in released data when producing anonymous
To a lesser degree, the ZIP codes in Table 4 identify indi-               data for practical use. The Social Security Administration
viduals because they are almost unique for each record.                   (SSA) releases public use files based on national samples
What may not have been known without closer examina-                     with small sampling fractions (usuallyless than 1 in 1,000);
tion of the particulars of this data base is that the designa-           the files contain no geographic codes, though some may
tion of Asian as a race is uniquely idenafymg. In an inter-              contain regional or size of place designators.16 SSA recog-
view, for example, a janitor may recall an Asian patient                 nizes that data containing individuals with unique combi-
whose Iast name was Chan and who worked as a stockbro-                   nations of characteristics can be linked or matched with
ker, because that patient gave the janitor some good in-                 other data sources. So, SSA's general rule is that any subset
vesting tips. Any single uniquely occurring value or group               of the data that can be defmed in terms of combinations of
of values can be used to identify an individual. Remember                characteristics must contain at least five individuals. This
that the unique characteristic may not be known before-                  notion of a minimum bin size, which reflects the smallest
hand: it could be based on diagnosis, treatment, birth year,             number of individualsmatching the characteristics, is quite
visit date, or some other minor detail or combination of                 useful in providing a degree of anonymity within data. The
details available to the memory of a patient or a doctor, or             larger the bin size, the more anonymous the data, because,
knowledge about the data base from some other source.                    as the bin size increases, the number of people to whom a
      As another example, consider the medical records of a              record may refer often increases, thereby masking the iden-
pediatric hospital in which only one patient is older than               tity of the actual person.
forty-five years. Suppose a deidentified version of the                        In medical data bases, the minimumbin size should be
hospital's records is to be released for public use that in-             much larger than the SSA guidelines suggest. Consider these
cludes age and city of residence but not birth date or ZIP               three reasons: (1)most medical data bases are geographi-
code. Many would believe the resulting data is anonymous                cally located, hence, one can presume, for example, the
because thousands of people age forty-five live in that city.           ZIP codes of a hospital's patients; (2) the fields in a medi-
However, the rare occurrence of a forty-five-year-old pedi-             cal data base provide a tremendous amount of detail, hence
atric patient at that facility can become a focal point for             any field can be a candidate for linking to other data bases
anyone seeking to discredit the anonymity of the data.                  in an attempt to reidentify patients; and (3) most releases
Nurses,clerks, and other hospital personnel will often re-              of medical data are not randomly sampled with small sam-
member unusual cases and, in interviews, may provide                    pling fractions, but instead include most, if not all, of the
additional details that help identify the patient.                      data base.
  SSN*            Race         Birth Date Sex       ZTP Code                   Determining the optimal bin size to ensure anonymity
                                                                        is tricky. It depends on the frequencies of characteristics
 819491049,     Caucasian     10123164     m       02138
                                                                        found within the data as well as within other sources for
 749201844      Caucasian     03/15/65     m       02139                reidentification. In addition, the motivation and effort re-
1819181496
I
           I Black           I 09/20/65 I rn I 02141 I        I
                                                                        quired to reidentify released data in cases where virtually
                                                                        all possible candidates can be identified must be consid-
1859205893 I Asian           I 10/23/65 I m I 02157 I                   ered. For example, if we release data that maps each record
1985820581    I Black        I 08/24/64 1 m I 02138 I                   to ten possible people and the ten people can be identified,
Table 4. Sample Data Base in which Asian is a Uniquely                  then all ten candidates could be contacted or visited in an
Identifying Characteristic.                                             effort to locate the actual person. Likewise, if the mapping
 * Social Security number.                                              is 1in 100, visits may be impractical, but all 100 could be


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telephoned; and in a mapping of 1 in 1000, a direct mail                 much of the medical content resided in the letters between
campaign could be employed. The amount of effort a re-                   physiciansand in the shorthand notes of clinicians. In these
cipient is willing to expend depends on his/her motivation.              letters and notes, providers discuss findings, explain cur-
Some medical files are quite valuable, and valuable data                 rent treatment, and furnish an overall view of patients’
merits more effort. In these cases, the minimum bin size                 conditions.
must be further increased or the sampling fraction reduced                    Most institutions have few releases of data that in-
to render these efforts useless.                                        clude these notes and letters, but new uses for this infor-
      Of course, the expression of anonymity most semanti-              mation are increasing, and, not surprisingly, so is the de-
cally consistent with our intention is simply the probabil-             sire to release this text. After all, these letters and notes are
ity of identifyinga person given the released data and other             a valuable research tool and can corroborate the record.
possible sources. This conditional probability depends on               The fields containing the diagnosis, procedure, and medi-
frequencies of characteristics (bin sizes) found within the             cation codes when examined alone can be incorrect or
data and the outside world. Unfortunately, this probability             misleading. A prominent physician recently stated that he
is very difficult to compute without omniscience. In ex-                purposely places incorrect codes in the diagnosis and pro-
tremely large data bases like that of SSA, the data base                cedure fields when such codes would reveal sensitive in-
itself can be used to compute frequencies of characteristics            formation about the patient.2O Similarly, the diagnosis
and combinations of charadteristics found in the general                and procedure codes may be up-coded for billing purposes.
population because it contains almost all the generalpopula-            The General Accounting Office estimates that as much as
tion; small, specializeddata bases, however, must estimate these         10 percent of annual federal health care expenditures, in-
values. In the nexx section, I present computer programs                cluding Medicare, are lost to fraudulent provider claims?’
that generalize data based on bin sizes and estimates. I then           If these practices become widespread, they wiU render the
report results using these programs and discuss their limi-             administrative medical record useless for clinical research
tations and the need for complementary policies.                        and may already be problematic for retrospective investi-
                                                                        gation. Clinical notes and letters may prove to be the only
                                                                        reliable artifacts.
Methods                                                                       The Scrub System provides a methodology for remov-
Many possible tools can be used to maintain confidential-               ing personally identifymg information in medical writings
ity when disclosing medical data. These include changing                so that the integrity of the medical information remains
singletons to median values, inserting complementary                    intact even though the identity of the patient remains con-
records, generalizing codes, swapping entries, scrambling               fidential. This process is termed scnrbbing. Protecting pa-
records, suppressing information, and encrypting fields.                tient confidentiality in raw text is not as simple as search-
Which technique, or combination of techniques, is best                  ing for a patient‘s name and replacing all occurrences with
depends on the nature of the data and its intended use; but             a pseudonym. References to a patient are often quite ob-
each of these techniques is narrowly focused and there is               scure. Consider, for example, the statement “He developed
little literature that addresses their use with medical data. I         Hodgluns while acting as the U.S. Ambassador to England
discuss three systems that are among the few complete ar-               and was diagnosed by Dr. Frank at Brigham’s.” Clinicians
chitectures currently available for use. Not only do they               write text with little regard to word choice and, in many
provide effective solutions, but they also help us under-               cases, without concern for grammar or spelling. Although
stand many of the underlying issues. The Scrub System                   the resulting “unrestricted text” is valuable for understand-
locates and replaces personally identifying information in              ing the medical condition and treatment of the patient, it
letters and notes. The Datafly System generalizes data base             poses tremendous difficulty to scrubbing because the text
information to satisfi bin size requirementsbased on a pro-             often includes names of other care-takers, family mem-
file of the recipient. And the p-Argus System generalizes               bers, employers, and nick-names.
information for disclosing public use data. I examine each                    Table 5 shows a sample letter and its scrubbed result.
in turn and then discuss their limitations.                             Actual letters are often several pages in length. With clini-
                                                                        cal notes, the recorded messages are often cryptic abbre-
                                                                        viations specific to the institution or known only among a
The Scrub System                                                        group of physicians within the facility. The traditional ap-
In 1996,I presented the Scrub System,” which locates and                proach to scrubbing is straightforward search and replace,
replaces personally identifying information in text docu-               which misses these references.
ments and in textual fields of the data base. A close exami-                 The Scrub System was modeled on a human approach
nation of two different computer-based patient record sys-              to the problem. It uses templates and localized knowledge
tem, one at Boston’s Children’s Hospital*8and another at                to recognize personally identifying information. In fact,
Massachusetts General H~spital,’~     quickly revealed that             Scrub demonstrated that recognition of personally identi-


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 Wednesdax February 2,1994                     Wednesday, February 2,1994                  February, 1994
 Marjorie Long,M.D. RE:ViTownsend Marjorie Long, M.D. RE: -he1 Wdlam E+isa Cosborn, M.D. RE: Kathel Wallams
 St John‘s Hospital CH#32-841-09787 St. John‘s Hospital CH#l8-512-32871 Bn’ghaul Hospital                        CH#1 8-512-32871
  Huntington 18         DOB 05/26/86           Huntington 18          DOB 05/26/86         Alberdam Way          DOB 05/86
 Boston, MA 02151                              Boston, MA 02151                            Peabon, MA 02100
 Dear Dr. Lang:                                Dear Dr. Lang:                              Dear Dr. landel:

 time. As you know, Dot is a 7 and 6/l2 year time. As you know, Dot is a 7 and 6/12 year time.
 I feel much better after seeing Viginia this I feel much better after seeing Katbel this I feel much better after seeing Katbel this
                                                                                                 As you know, Cob is a 7 and 6/12
 old female in followup for insulindependent old female in follow up for insulin depen- lyear old female in follow up for insulin
 diabetes mellitus diagnosed in June of 1993 dent diabetes mellitus diagnosed in June of dependent diabetes mellitus diagnosed in
 by Dr. Frank at Brigham’s. She is currentlyon 1993 by Dr. Frank at Brigham’s. She is cur- June of 1993 by Dr. Wandel at Naming-
 Lily Human Insulinand is growing and gain- rently on Lily Human Insulin and is grow- ham’s. She is currently on Lily Human In-
 ing weight normally She will start competing ing and gaining weight normally. She will sulin and is growing and gaining weight
 again with the US.Junior Gymnastics team. start competing again with the U.S.Junior normally. She will start Competing again
 We will contact Mrs. Hodgkins in a week at Gymnastics team. We will contact Mrs. with the .We will contact Mrs. Lead in
 Marina Corp 473-1214 to schedule a follow- Hodgkins in a week at Marina Corp 473- a week at Garlaw Corp 912-8205to sched-
 up visit for her daughter.                    1214 to schedule a follow-up visit for her ule a follow-up visit for her daughter.
                                               daughter.
                 Patrick Hayes, M.D. 34764                                                               Mank Brones, M.D. 21075
                                                             Mank Brones, M.D. 21075
                   Sample A                                   Sample B                                   Sample C

  Table 5. Sample letter reporting back to a referring physician. Sample A is a made-up original text containing the name
  and address of the referring physician, a typo in the salutation line, the patient‘s nick name, and references to another
  care-taker, the patient‘s athletic team, and the patient‘s mother and her mother’s employer and telephone number.
  Sample B is the result &om simple search and repIace, and Sample C is the result from the Scrub System. Notice in Scrub
  that the name of the medication remained but the mother’s last name was correctly replaced. The reference “U.S. Junior
  Gymnastics team” was suppressed because Scrub was not sure how to replace it.
 fying information is strongly linked to the common re-                   At the age of MO, she was sexually assaulted. At the
 cording practices of society. For example, Fred and Bill are             age of three, she set fire to her home. At the age of
 common first names and Miller and Jones are common                       four, her parents divorced. At the age of five, she was
surnames; and knowing these facts makes it easier to rec-                 placed in foster care after stabbing her nursery school
 ognize them as likely names. Common facts along with                     teacher with scissors.
their accompanying templates of use are considered com-
mon-sense knowledge and the itemization and use of com-                 If this child’s life progresses in this manner, by age
mon-sense knowledge is the backbone of Scrub.                     eight she may be headline news; but nothing in the narra-
     Scrub accurately found 99 to 100 percent of all per-         tive required scrubbing even though only one such child
sonally identifying references in more than 3,000 letters         with this exact history would probably exist. An overall
between physicians, while the straightforward search-and-         sequence of events can provide a preponderance of details
replace approach properly located no more than 30 to 60           that identify an individual. This is often the case in mental
percent of all such references.= The higher figure of 60          health data and discharge notes.
percent for search and replace includes using additional
information stored in the data base to help identify the
attending physician’s name, identifying number, and other         The Datafly System
information. Results of the search-and-replacemethod lo-          Although Scrub reliably deidentifies clinical letters, the
cated as many as 84 percenP by taking advantage of the            greatest volume of medical data found outside the origi-
format of the letter and compositional cues like “Dear.”          nating institutionflows from administrativebilling records,
However, most references to family members, additional            which Scrub does not address. In 1996, NAHDO reported
telephone numbers, nick-names, and references to the phy-         that thirty-seven states had legislative mandates to gather
sician receiving the letter were still not detected, whereas      hospital-level data, and that seventeen states had started
Scrub correctly identified and replaced these instances.          collecting ambulatory care (outpatient) data from hospi-
However, Scrub merely deidentifies information; it cannot         tals, physician offices, clinics, and so f0rth.2~Table 6 con-
guarantee anonymity. Even though all explicit identifiers         tains a list of the fields of information that NAHDO rec-
such as name, address, and telephone number are removed           ommends these states accumulate. Many of them have sub-
or replaced, it may be possible to infer the idennfy of an        sequently given data to researchers and sold data to indus-
individual. Consider the following.                               try. As stated earlier, there are many other sources of ad-


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Patient Number                    ministrative billing              The overall anonymity level is a number between 0
Patient ZIP Code                  records withsimilar          and 1 that specifies the minimum bin size for every field.
Patient Racial Background         fields of informa-           An anonymity level of 0 provides the original data and a
Patient Birth Date
Patient Gender                    tion. What remains           level of 1forces Datafly to produce the most general data
Visit Date                        alarming is that             possible given the profile of the recipient. AU other values
Principal Diagnosis Code (ICD9)   most of these                of the overall anonymity level between 0 and 1determine
Procedure Codes (up to 14)        deidentifiedrecords          the minimum bin size b for each field. (The institution is
Physician ID#                     can be reidentified          responsible for mapping the anonymity level to actual bin
Physician ZIP code
Total Charges                     because patient de-          sizes.z6)Information within each field is generalized as
                                                               needed to attain the minimum bin size; outliers, which are
                                                               extreme, atypicalvalues in the data, may be removed. When
                                                               examining the resulting data, every value in each field will
                                                               occur at least b times, with the exception of one-to-one
                                                               replacement values, as is the case with SSNs.
                                                                    Table 7 shows the relationship between bin sizes and
                                                               selected anonymity levels using the Cambridge, Massachu-
                                                               setts, voters data base. As the anonymity level increases,
                                                               the minimum bin size increases; and, in order to achieve
                                                               the minimum bin size requirement, values within the birth
                                                               date field, for example, are recoded as shown. Outliers are
                                                               excluded from the released data and their corresponding
                                                               percentages of the total number of records are noted. An
                                                               anonymity level of 0.7, for example, requires at least 383
                                                               occurrences of every value in each field. To accomplish
                                                               thisin the birth date field, dates are recoded to reflect only
                                                               the birth year. Even after generalizing over a twelve-month
                                                               window, the values of 8 percent of the voters do not meet
                                                               the requirement, so these voters are dropped from the re-
                                                               leased data.
                                                                    In addition to an overall anonymity level, the user also
                                                               provides a profile of the person who receives the data by
                                                               specifying for each field in the data base whether the re-
                                                               cipient could have or would use information external to
                                                               the data base that indudes data within that field. That is,
                                                               the user estimates on which fields the recipient might link
                                                               outside knowledge. Thus each field has associated with it a
                                                               profile value between 0 and 1,where 0 represents fullm s t




                                                         1            SS"       Race      Birth Date Sex ZIP Code
                                                                      444444444 Caucasian 1964       m 02100
                                                                      555555555 Caucasian 1965       m 02100
                                                                      333333333 Black     1965       m 02100
                                                                      222222222 Black     1964       m 02100




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Anonymity       Bin SIje   Birth Date       Drop %           number as close to 1 as possible but not so much so that
                                                             the resulting generalizations fail to provide useful data to
      1                                                      the recipient. Because researchers or administratorsbound
_I
 - I  .g        493        24               4%               by contractual and legal constraints prohibiting their link-
                                                             ing of the data can be trusted, if they make a request that
                                                             includes sensitive fields, the profile values would ensure
                                                             that each sensitive field adheres only to the minimum bin
- .5 --         274        12               4%               size requirement.
--.4 -          219        12               3%                    The goal is to provide the most general data that are
  -3
-a-        I
                164         6               5%               acceptably specific to the recipient. Because the profile
- .2-           109         4               5%              values are set independently for each field, particular fields
I-    .1--       54         2               5%               that are important to the recipient can result in smaller bin
      0                                                      sizes than other requested fields in an attempt to limit gen-
                                                             eralizing the data in those fields. However, a profile for
                                                             data being released for public use should be 1for all sensi-
                                                            tive fields to ensure maximum protection. The purpose of
                                                            the profile is to quantify the specificity required in each
                                                            field and to identify fields that are candidates for linking.
                                                            In so doing, the profile identifies the associated risk to pa-
                                                            tient confidentiality for each release of data.
                                                                  Numerous tests were conducted using Datafly to ac-
                                                            cess a pediatric medical record ~ystem.2~      Datafly processed
                                                            all queries to the data base over a spectrum of recipient
                                                            profiles and anonymity levels to show that all fields in
                                                            medical records can be meaningfully generalized as needed
                                                            because any field is a candidate for Iinking. Of course, which
                                                            fields are most important to protect depends on the recipi-
                                                            ent. Diagnosis codes have generalizations using the Inter-
                                                            national Classificationof Disease (ICD-9 or ICD-10) hier-
                                                            archy. Geographic replacements for states or ZIP codes
                                                            generalize to use regions and population size. Continuous
                                                            variables, such as dollar amounts and clinical measurements,
                                                            can be treated as categorical values. If so, their replace-
                                                            ments must be based on meaningful ranges in which to
                                                            classify the values, and this reclassification is only done in
                                                            cases where generalizing these fields is necessary.
                                                                  For example, in Massachusetts, the Group Insurance
                                                            Commission (GIC) is responsible for purchasing health
                                                            insurance for state employees. GIC collected deidentified,
                                                            medical encounter-level data with nearly 100 fields of in-
                                                            formation per encounter, including the fields in Table 6,
                                                            for approximately 135,000state employeesand their fami-
                                                            lies.** In a public hearing, GIC reported giving a copy of
                                                            the data to a researcher, who in turn stated that she did not
                                                            need the full date of birth, just the birth yeat. The average bin
                                                            size based only on birth date and gender for that population is
                                                            3,but, had the researcher received only the year of birth in
                                                            the birth date field, the average bin size based on birth year
                                                            and gender would have increased to 1125 people. It is esti-
                                                            mated that most of this data could be reidentified because
                                                            collected fields also included residential ZIP codes and city,
                                                            occupational departmentor agency,and provider information.
                                                            Furnishingthe most generalinformation the recipient can use
                                                            minimizes unnecessary risk to patient confidentiality.
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The p -Argus System                                                 argue that too many specifics remain in the data for it to be
In 1996, the European Union began funding an effort that            released for public use.
involves statistical offices and universities from the Neth-              Each unique combination of values found within sen-
erlands, Italy, and the United Kingdom. The main objec-             sitive fields constitutes a bin. When the number of occur-
tive of this project is to develop specialized software for         rences of such a combination are less than the minimum
disclosing public use data such that the identity of any in-        required    bin size, the combination is considered sensitive
dividual contained in the released data cannot be recog-            and  hence    ari outlier. For all combinationsthat indude the
nized. StatisticsNetherlands has already produced, but not          SSN,   al
                                                                            l  such   combinations are unique. One value of each
yet released, the first version of a program called pArgus,         outlier  combination      must be suppressed. For optimal re-
which seeks to accomplish this goal.- The p-Argus System            sults, p-Argus    suppresses     values that occur in multiple out-
is considered by many as the official confidentiality soft-         liers where   precedence      is given to the value occurring most
ware of the European community, even
though Statistics Netherlands considers this SSN*                Ethnicity      Birth Date Sex ZIP Code Problem
a preliminary version?”                               819181496 Black           09/20/65          m 02141           shortness of breath
     p-Argus, like Datafly, makes decisions
                                                                                02/14/65          m 02141           chest vain
based on bin sizes, generalizes values within 195925972 Black
fields as needed, and removes extreme out- 902750852 Black                       10/23/65         f     02138       hypertension
lier information from the released data. The 985820581 Black                    08/24/65          f     02138       hypertension
user provides an overall bin size and specifies


                                                                                                   1 i 1E2::
                                                                 Black         -11/07/64                           /obesity
which fields are sensitive by assigning a value 209559459
between 0 and 3 to each field. The program 679392975 Black                       12/01/64                           chest pain
then identifies rare and therefore unsafe corn- 819491049 Caucasian 10123164                            02138       chestvain
binations by testing all 2- or 3-combinations
across all fields. Unsafe combinations are
eliminated by generalizing fields within the 985302952 Caucasian 08/13/64                         m 02139           obesity
combination and by local cell suppression. 874593560 Caucasian 05/05/64                           m 02139           shortness of breath
Rather than removing entire recordswhen one
or more fields contain outlier information, as 1703872052 I Caucasian 1 02/13/67 I m I 02138 lchest pain                                 I
is done in Dataflr, p-Argus simply suppresses
or blanks out the outlier values at the cell level.
This process is called cell supptession?’ The
resulting data typically contain all the rows
and columns of the original data, but values SSN*                Ethnicity      BirtbDate Sex ZIPCode Problem
may be missing from some cell locations.
     Table 8a lists many Caucasiansand many 902387250 Black                      1965           m        02140       shortness of breath
females, but only one female Caucasian is in 197150725 Black                     1965           m        02140       chestpain
the data base. Tables 8b and 8c show the result- 1486062381 I Black           I 1965          I f I 02130 I hypertension                 I
ing data bases after Datafly and p-Argus were
applied to this data. I now step through how 1235978021 I Black               I 1965          I f I 02130 I hypertension                 I
p-Argus produced the results in Table 8c.           1214684616 I Black      TG64- I f I 02130 I obesity                                  I
     The first step is to check that each identi- 135434342 Black               1964            f        02130       chest pain
fying field adheres to the minimum bin size.
Then, pairwise combinations are examined 458762056 Caucasian 1964                               m        02130       chest pain
for each pair that contains the “most identi- 1860424429
                                                    I
                                                               I Caucasian I 1964 I m I 02130 I obesity
                                                                  I              I             I      I
                                                                                                                                         I
                                                                                                                                         I
fying” field (in this case, SSN) and those that 259003630 Caucasian 1964                        m        02130       shortness of breath
contain the “more identifying” fields (in this
case, birth date, sex, and ZIP code). Finally, 410968224 Caucasian 1967                         m        02130       chestpain
3-combinationsare examined that include the 664545451 Caucasian 1967                            m        02130       chest pain
“most” and ‘cmore”identifying fields. Obvi- Table 8b. Results of applying the D a d y System to the data in Table 8a.
ously, there are many ways to rate these iden- The minimum bin size is 2. The given profile identifies only the demo-
ufying fields, and unfortunately different rat- graphic fields as being likely for linking. The data are being made available
ings yield different results. The ratings pre- for semi-publicuse, hence the Caucasian female record was dropped as an
sented in this example produced the most se- outlier.
cure result UsingpArgus, although one could * Social Security number.


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                                                                           Discussion
                                                                          The Scrub System demonstrates that medical data,
                                                                          including textual documents, can be deidentified,
                                                                          but, as shown, deidentification alone is not suffi-
                                                                          cient to ensure confidentiality. Not only can
                                                                          deidentified information often be reidentified by
                                                                          linking data to other data bases, but specific indi-
                                                                          viduals can also be identified by releasing too
                                                                          many patient-specific facts. Unless we are proac-
                                                                          tive, the proliferation of medical data may be-
                                                                          come so widespread that it will be impossible to
                                                                          release medical data without further breach of
                                                                          confidentiality. For example, the existence of
                                                                          rather extensive registers of business establish-
                                                                          ments in the hands of government agencies, trade
                                                                          associations, and private businesses like Dun and
                                                                          Bradstreet has virtually ruled out the possibility
  Table 8c. Results of applying the approach of the p-Argus System to of releasing data base information about busi-
  the data in Table 8a. The minimum bin size is 2. The Social Security ne~ses.3~
  number was marked as being most idenafying; the birth, sex, and ZIP          The Datafly and p-Argus systems illustrate
  code fields were marked as being more identifying; and the ethnicity that medical information can be generalized, re-
  field was simply marked as identifying. Combinations across these placed, or suppressed so that fields and combina-
  were examined; the resulting suppressions are shown. The uniqueness tions of fields adhere to a minimumbin size, and,
  of the Caucasian female is suppressed; but, a unique record still re- by so doing, confidentiality can be maintained.
  mains for the Caucasian male born in 1964 who lives in the 02138 By using such systems, we can even provide
  ZIP code.                                                               anonymous data for public use. These systems
                                                                          have two drawbacks, as discussed below, but these
often. The final result is shown in Table 8c. Responsibility   shortcomings can be counteracted by policy.
 for when to generalize and when to suppress rests with the         One concern with p-Argus and Datafly is the determi-
user. For this reason, p-Argus operates in an interactive      nation of the proper bin size and its corresponding mea-
mode so the user can see the effect of generalizing and may    sure of disclosure risk No standard can be applied to as-
undo a step.                                                   sure that the h a l results are adequate. What is customary
      I now briefly compare the results of these two sys-      is to measure risk against a specific compromising tech-
         In the Datafly System, generalization across a sub-   nique, such as linking to known data bases that we assume
set of sensitive fields ensures that the combination across    a recipient is using. Several researchers have proposed
those fields will adhere to the minimum bin sue. This is       mathematical measures of the risk, which compute the
demonstrated in Table 8b. The p-Argus program, however,        conditional probability of the linker’s suc~ess.3~
only checks 2- or 3-combinations; hence, sensitive combi-           A policy could be mandated that would require the
nations across 4 or more fields would not be detected. For     producer of data released for public use to guarantee, with
example, Table 8c still contains a unique record for a Cau-    a high degree of confidence, that no individual within the
casian male born in 1964who lives in the 02138 ZIP code,       data can be identified using demographic, public, or semi-
because 4 characteristics combine to make this record          public information. Of course, guaranteeing anonymity in
unique, not 2. Treating a subset of identifying fields as a    data requires a criterion against which to check resulting
single field that must adhere to the minimumbin size, as is    data and to locate sensitive values. I€ this is based only on
done in Dataflr, appears to provide more secure releases of    the data base itself, the minimum bin sizes and sampling
data. Further, because the number of fields, especially de-    fractions may be far from optimal and not reflect the gen-
mographic fields, in a medical data base is large, this may    eral population. Researchers have developed and tested
prove to be a serious handicap when using pArgus with          several methods for estimating the percentage of unique
medical data. In recent work, I have developed a program       values in the general population based on a smaller data
that examines combinationsof valueswithin sensitive fields            These methods are based on subsamplingtechniques
and produces an optimal solution with respect to mini-         and equivalence class structure. Absent these techniques,
mum cell suppression.33Though more specificity remains         uniqueness in the population based on demographic fields
in the resulting data, making it more useful to the recipi-    can be determined using population registers that include
ent, the underlying issues remain the same.                    patients from the data base, such as local census data, voter


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 registration lists, city directories, as well as information           alties for improper use or conduct should apply, because
 from motor vehicle agencies, tax assessors, and real estate            remedy for abuse lies outside technology and statistical
 agencies. To produce an anonymous data base, a producer                disclosure techniques and resides in contracts, laws, and
 could use population registers to identify sensitive demo-             policies.
 graphic values within a data base, and thereby obtain a
 measure of risk for the release of the data.
      The second drawback concernsthe dichotomy between                 Conclusion
 researcher needs and disdosure risk. If data are explicitly            A few researchers may not find the magnitude and scope
 identifiable, the public expects patient permission to be              of the problems concerning the identifiability and disclo-
 required. If data are released for public use, then the pro-           sure of medical records surprising, but such revelations
 ducer must guarantee, with a high degree of confidence,                have alarmed legislators, scientists, and federal agencies?'
 that the identity of any individual cannot be determined               I must caution, therefore, against overreaction that may
 using standard and predictable methods and reasonably                  lead to inappropriate and inoperable policies. I argue that
 available data. But when sensitive deidentified, but not               knowledge of the problems with current practices and the
 necessarily anonymous, data are to be released, the likeli-            avdability of incremental solutions, not ignorance of their
 hood that an effort will be made to reidentify an individual           existence or nature, provides the best foundation for good
 may increase based on the needs of the recipient. The onus,            policy. What is needed is a rational set of disclosure prin-
 therefore, is on the recipient of the data who should be               ciples, based on comprehensive analysis of the fundamen-
 bound by a trust relationship with society and the pro-                tal issues, which are unlikely to evolve from piecemeal re-
 ducer of the data to handle, store, use, and release result-           actions to random incidents. The technology describedhere
 ing information properly. The recipient should be held ac-             is quite helpful, but society must still make informed deci-
 countable for the confidentiality of the data.                         sions.
      Datafly and p-Argus quantify this trust by profiling                    There is a danger in oversimplifyingthis work. It does
 the fields requested by a recipient. But profiling requires            not advocate giving all the data on all the people without
guesswork in identifying fields on which a recipient could              regard to whether individuals can be identified. It also does
link.Suppose a profile is incorrect, that is, the producer              not advocate releasing data that is so general it cannot be
misjudges which fields are sensitive for linking. In this case,         useful; substantial suppression does not appear to be the
the Datafly and CGArgUs systems might release data that                 norm. From the viewpoint of a person who receives the
are less anonymous than what was required by a recipient,               data, these systems seek to provide the most general data
and, as a result, individuals may be more easily identified.            possible that is practically useful to that person. From the
This risk cannot be perfectly resolved by the producer of               viewpoint of privacy, if that level of generality does not
the data because the producer cannot always know what
                                                                           There must be a legitimate and important research or admini-
resourcesa recipient holds. The obviousdemographicfields,                  strative purpose served by the release of the data. The recipi-
physician identifiers, and billing information fields can be               ent must identify and explain which fields in the data base
consistentlyand reliably protected. However, there are too                 are needed for this purpose.
many sources of semi-public and private information, such                  The recipient must be strictly and legally accountable to the
as pharmacy records, longitudinalstudies, financial records,               producer for the security of the data and must demonstrate
                                                                           adequate security protection.
survey responses, occupational lists, and membership lists,                The data must be deidentified. The release must not contain
to account a pion' for all linking possibilities.                          explicit individual identifiers or data that would be easily asso-
      What is needed is a contractual arrangement between                  ciated with an individual.
the recipient and the producer to make the trust explicit                  Of the fields the recipient requests,the recipient must iden-
and to share the risk. Table 9 contains some guidelines,                   tify which of these fields, during the specified lifetime of
                                                                           the data, the recipient could Iink to other data the recipient
which, if applied, would clarify which fields need to be                   will have access to, and whether the recipientintends to link to
protected against linking. Using this additional knowledge                 such data. The recipient must also identify those fields to
and the techniques presented in Datafly and p-Argus,the                    which the recipientwill link the data. If such linking iden-
producer can best protect the anonymity of patients in data                tifies patients, then patient consent may be warranted.
even when sensitive information is released. It is surprising              The data provider should have the opportunity to review
                                                                           any publication of information from the data to ensure that no
that, in most releases of medical data, no contractual ar-                 potential identifying disclosures are published.
rangements limit further dissemination or use of the data.                 At the conclusion of the project, and no later than some speci-
Even in cases that include IRB review, no contract usually                 fied date, the recipient must destroy all copies of the data.
results. Further, because the harm to individuals can be                   The reapient must not give, sell, loan, show, or disseminatethe
extreme and irreparable and can occur without the                          data to any other parties.
individual's knowledge, the penalties for abuses must be                Table 9. Contractual Requirements for Restricted Use of
stringent. Significant legal and monetary sanctions or pen-             Data Based on Federal Guidelines and the Datafly System.


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  provide sufficientprotection, then the techniques presented             Acknowledgments
  here identify the nature and extent of trust required for a            I thank Beverly Woodward, Ph.D., for many discussions
  given release of data. Polices and regulations regarding the           and comments. I also thank Peter Szolovits, Ph.D., at the
  agreements necessary to make that trust explicit and to                Massachusetts Institute of Technology, for providing an
  enforce its terms lie outside the technology.                          environment that made it possible for me to explore my
       Consider, for example, the case of data released to               own ideas, Patrick Thompson and Sylvia Barren for edito-
 researchers. When anonymous data is useful, the data                    rial suggestions, and Professor Pierangela Samarati of the
 should be released in that form. In some cases, completely              University of Milan for discussions. I acknowledge the con-
 anonymous data is not practically useful; in those instances,           tinued support of Henry Leitner, Ph.D., of Harvard Uni-
 we can quantify the trust given to researchers who receive              versity. This work has also been supported by a Medical
 more identifiable data. Changes should be made such that                Informatics Training Grant (1 T1S LM07092) from the
 public use files adhere to a reasonably high level of ano-              National Library of Medicine.
 nymity. In cases where more identifiable data is needed,
 society should consciously decide how to release such data
 and a recipient should be held responsible not to violate               References
 the contractual agreements that spell out the conditions of                    1. I. Kohane et al., “Sharing Electronic Medical Records
                                                                          Across Heterogeneous and Competing Institutions,” in J. Cimino,
 trust.                                                                   ed., Proceedings, American Medical Informatics Association
      Finally, I warn against doing nothing. The burden of                (washington, D.C.: Hanley & Beifus, 1996): 608-12.       ~




 determining the risk of disclosure may appear cumbersome,                     2. Office of Technology Assessment, Protecting Privacy in
 which is not a realistic assumption given that these sys-                ComputerizedMedical Information (Washington, D.C.: U.S. Gov-
 tems operate in real-time and that their development costs               ernment Printing Office, 1993).
                                                                               3. See L.O.Gostin et al., “Privacy and Security of Personal
 have been nominal. Nevertheless, consider an alternative                 Information in a New Health Care System,”JAMA, 270 (1993):
 to autonomous data base systems in which we have a cen-                  at 2487 (citing Louis Harris and Associates, The Eguifax Report
 tralized federal repository for medical data, like those found           on Commers in the Information Age (Atlanta:Equifax, 1993)).
 in Canada and other countries. Though institutions and                        4. Louis Harris and Associates, The Equifax-Hak Con-
 businesses could maintain their own data for internal pur-              sumer Privacy Survey (Manta: Equifax, 1994).
                                                                               5. G. Cooper et al., “An Evaluation of Machine-Learning
poses, they could not sell or give data away in any form,                Methods for Predicting Pneumonia Mortality,”Artificial Intelli-
 except for disclosure to the federal repository, remunera-              gence in Medicine, 9, no. 2 (1997): 107-38.
tion for services, and required reporting. The recipients of                   6. See Kohane et al., supra note 1.
these data would, in turn,be.equally restricted from fur-                      7. B. Woodward, “Patient Privacy in a Computerized
 ther dissemination. The trusted authority that maintains                World,” 1997Medical and Health Annual (Chicago: Encyclope-
                                                                         dia Britannia, 1996): 256-59.
the central repository would have nearly perfect omni-                         8. National Association of Health Data Organizations, A
science and could confidently release data for public use.               Gui& to State-Level Ambulatory Care Data Collection Activi-
Questions posed by researchers, administrators, or others                ties (Falls Church: National Association of Health Data Organi-
could be answered without releasing any data; instead, the               zations, Oct. 1996).
trusted authority would rundesired queries against the data                    9. l? Clayton et d., National Research Council, For the
                                                                         Record: Protecting Electronic Health Information (Washington,
and provide noncompromising results to the investigators.                D.C.: National Academy Press, 1997).
In releases of deidentified data, the exact risk could be com-                10. See, for example, Donna E. Shalala, Address at the Na-
puted and accompanying penalties for abuse incorporated                  tional Press Club, Washington, D.C. (July 31, 1997).
into the dissemination process.                                               11. B. Woodward, “The Computer-BasedPatient Record and
      This type of system may have advantages for main-                  Confidentiality,” N. Engl. J. Med., 333 (1995): 1419-22.
                                                                              12. D. Linowes and R. Spencer, “Privacy: The Workplace
taining confidentiality, but it requires a single point of trust         Issue of the ‘~OS,” John Marshall Law Review, 23 (1990):591-
or failure. Current societal inclinations suggest that the               620.
American public would not trust a single authority in such                    13. D. Grady, “Hospital Files as Open Book,” New York
a role and would feel safer with distributed, locally con-               Zimes, Mar. 12, 1997, at C8.
trolled data. Ironically, if current trends continue, a hand-                 14. See Clayton et al., supra note 9.
                                                                              15. ‘Who’s Reading Your Medical Records,” Conrumer Re-
ful of independent information brokers may assume the                    ports, Oa. (1994): 628-32.
role of the trusted authority anyway. If information bro-                     16. L. Alexander and T. Jabine, Social Security Bulletin:
kers emerge as the primary keepers of medical data, as                   Access to Social Security Microdata Files for Research and Statis-
Dun and Bradstreet does for business data, then they may                 tical Purposes, 41, no. 8 (1978).
eventually rank among the most conservative advocates                         17. L. Sweeney, “Replacing Personally-Identifying Morma-
                                                                         tion in Medical Records, the Scrub System,” in C i o , supra
for maintaining confidentiality and limiting dissemination,              note 1, at 333-37.
because their economic survival would hinge on protect-                       18. I. Kohane, “Getting the Data In: ThreeXear Experience
ing what would be their greatest asset, our medical records.             with a Pediatric Electronic Medical Record System,” in J. Ozbolt,


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    22. See Sweeney, supra note 17.                                         35. G. Duncan and D. Lambert, “The Risk of Disclosure for
    23. See id.                                                        Microdata,” Proceedings of the Bureau of the Census Third An-
    24. See National Association of Health Data Organizations,         nual Research Conference (Washington, D.C.: Bureau of the
supra note 8 .                                                         Census, 1987): 263-74.
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Medical Microdata, the Datafly System,” Proceedings of the             Uniqueness,” Proceedings of the International Seminar on Sta-
Bureau of the Census Record Linkage Workshop (Washington,              tistical Confidentiality (Dublin: International Statistical Insti-
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ity When Sharing Medical Data, the Datafly System,” Proceed-           Massachusetts Health Care Committee had a chilling effect on
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    27. See id.                                                        Committee on Health Care, Massachusetts State Legislature,
    28. M. Lasalandra, “Panel Told Releases of Med Records             (Mar. 19,1997)(testimony of Latanya Sweeney, computer sci-
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    29. A. Hundepool and L. Wdenborg, “mu- and tau-Argus:              reau of the Census has always been concerned with the ano-
Software for Statistical Disclosure Control,” Third International      nymity of public use files, they began new experiments to mea-
Seminar on Statjstical Confidentiality(1996)(availableat <http:/       sure uniqueness in the population as it relates to public use files.
/www.cbs.nVsddargusl.html>.                                            Computer scientists who specialize in data base security are re-
   30. For a presentation of the concepts on which p-Argus is          examining access models in light of these works.




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Google's CEO: 'The Laws Are Written by Lobbyists'               https://www.theatlantic.com/technology/archive/2010/10/googles-ceo-the...
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                   Google's CEO: 'The Laws Are Written by
                   Lobbyists'

                   Derek Thompson


                   Eric Schmidt on the power of lobbyists, a Google "implant", and how China
                   resembles a big business

                   Watch the full video of this session

                   "The average American doesn't realize how much of the laws are written by
                   lobbyists" to protect incumbent interests, Google CEO Eric Schmidt told Atlantic
                   editor James Bennet at the Washington Ideas Forum. "It's shocking how the system
                   actually works."

                   In a wide-ranging interview that spanned human nature, the future of machines,
                   and how Google could have helped the stimulus, Schmidt said technology could
                   "completely change the way government works."

                   "Washington is an incumbent protection machine," Schmidt said. "Technology is
                   fundamentally disruptive." Mobile phones and personal technology, for example,
                   could be used to record the bills that members of Congress actually read and then
                   determine what stimulus funds were successfully spent.

                   Schmidt pushed back on the claim that the White House doesn't understand
                   business. He acknowledged that the American business community distrusts the
                   administration, but he said the criticism are mostly about tone. He also brushed off
                   the idea that the White House needs more business executives as an argument
                   about "symbolism" rather than substance.
                   Washington Ideas Forum
                   On the hot topic of China versus America, he made an pithy distinction between
                   what makes the world's leading powers uniquely successful. America is a bottoms-
                   up entrepreneurial engine, and China is more like "a well-run large business."

                   "America's research universities are the envy on the world," he said. "We have 90
                   percent of the top researchers in the world. We also have a bizarre policy to train
                   people and then kick them out by not giving them visas, which makes no sense at
                   all."

                   China governs like a large industrial company, he added. "It wants to maximize its
                   cash flow. It wants to maximize its internal and external demand. All of the
                   interesting new ideas [for example, doubling down on solar tech] can be understood
                   as a business expansion."

                   The end of the interview turned to the future of technology. When Bennet asked
                   about the possibility of a Google "implant," Schmidt invoked what the company
                   calls the "creepy line."

                   "Google policy is to get right up to the creepy line and not cross it," he said. Google


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Google's CEO: 'The Laws Are Written by Lobbyists'             https://www.theatlantic.com/technology/archive/2010/10/googles-ceo-the...
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                   implants, he added, probably crosses that line.

                   At the same time, Schmidt envisions a future where we embrace a larger role for
                   machines and technology. "With your permission you give us more information
                   about you, about your friends, and we can improve the quality of our searches," he
                   said. "We don't need you to type at all. We know where you are. We know where
                   you've been. We can more or less now what you're thinking about."

                   Full session below




2 of 2                                                                                                             2/26/2022, 3:19 PM
Brokers use ‘billions’ of data points to profile Americans - The Washingt...   https://www.washingtonpost.com/business/technology/brokers-use-billio...
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  Are you a financially strapped working mother who smokes? A Jewish retiree with a fondness for Caribbean
  cruises? Or a Spanish-speaking professional with allergies, a dog and a collection of Elvis memorabilia?

  All this information and much, much more is being quietly collected, analyzed and distributed by the nation’s
  burgeoning data-broker industry, which uses billions of individual data points to produce detailed portraits of
  virtually every American consumer, the Federal Trade Commission reported Tuesday.

  The FTC report provided an unusually detailed account of the system of commercial surveillance that draws
  on government records, shopping habits and social-media postings to help marketers hone their advertising
  pitches. Officials said the intimacy of these profiles would unnerve some consumers who have little ability to
  track what’s being collected or how it’s used — or even to correct false information. The FTC called for
  legislation to bring transparency to the multibillion-dollar industry and give consumers some control over
  how their data is used.

  Data brokers’ portraits feature traditional demographics such as age, race and income, as well as political
  leanings, religious affiliations, Social Security numbers, gun-ownership records, favored movie genres and
  gambling preferences (casino or state lottery?). Interest in health issues — such as diabetes, HIV infection and
  depression — can be tracked as well.

  With potentially thousands of fields, data brokers segment consumers into dozens of categories such as “Bible
  Lifestyle,” “Affluent Baby Boomer” or “Biker/Hell’s Angels,” the report said. One category, called “Rural
  Everlasting,” describes older people with “low educational attainment and low net worths.” Another, “Urban
  Scramble,” includes concentrations of Latinos and African Americans with low incomes. One company had a
  field to track buyers of “Novelty Elvis” items.

  “The extent of consumer profiling today means that data brokers often know as much — or even more —
  about us than our family and friends,” FTC Chairman Edith Ramirez said in a statement. “It’s time to bring
  transparency and accountability to bear on this industry on behalf of consumers, many of whom are unaware
  that data brokers even exist.”

  The brokers gather the information from public records and private sources, such as advertising networks

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Brokers use ‘billions’ of data points to profile Americans - The Washingt...   https://www.washingtonpost.com/business/technology/brokers-use-billio...
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  that follow a consumer’s online activities, traditional media companies that record a subscriber’s billing
  history or the loyalty programs that track a shopper’s purchases at a grocery store.

  The individual profiles are largely sold to marketers, determining what ads and offers consumers see online,
  or to banks that use the data to verify the identity of customers. Laws prohibit using such information to set
  insurance rates, make job offers or measure creditworthiness, although the FTC expressed concern about
  potential abuses.

  FTC officials, who based their report on documents gathered by issuing subpoenas to nine data brokers in
  December 2012, found “a fundamental lack of transparency” in the industry but no evidence of illegal activity.
  Ramirez said the FTC does not know how many data brokers exist.

  The profiles they produce could affect what products are offered to consumers and how well consumers are
  treated by customer service, officials said. A “financially challenged” couple, for example, might see ads for
  subprime loans while their affluent friends are offered premium credit cards and vacation options. Some
  consumers might face long waits when they call companies with complaints, while others receive speedy,
  responsive service.

  The collection of data about health-related issues also concerned the FTC. Brokers had categories for people
  interested in weight loss or high cholesterol. One tracked whether consumers preferred brand-name drugs or
  looked for medical information online.

  Stuart P. Ingis, general counsel for the Direct Marketing Association, which represents nearly 2,000
  companies that collect and distribute consumer data, said the industry helps prevent consumer fraud and
  improves the effectiveness of online advertising — the main revenue source for free services, such as e-mail
  and social-networking sites.

  He said the FTC’s inability to find documented abuse of personal information suggests that data brokers
  should continue operating through self-regulation rather than new government intervention. “You’d think if
  there was a real problem, they’d be able to talk about something other than potential” abuses, Ingis said.

  The report included several legislative proposals intended to help Americans learn what data has been
  gathered about them and to correct errors. Consumers would be able to opt out of data-
  gathering about themselves.

  Ingis said that the FTC’s proposals, such as a requirement for a centralized portal for consumers who want to
  know what information data brokers collect about them, are unnecessary and cumbersome. “I’m not sure that
  there’s a problem that requires a law here,” he said.

  The Software & Information Industry Association, whose members in some cases collect and share personal
  data, endorsed the FTC’s call for greater transparency but warned that new legislation would struggle to keep

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  up with the pace of innovation online. “It just gets very challenging because of the dynamic nature of data,”
  said David LeDuc, senior director of public policy for the group.

  But FTC commissioner Julie Brill urged Congress to act, and said Americans should learn more about how
  their data is being collected and used. “Consumers can’t manage this process by themselves,” she said. “It’s
  too big. It’s too complex. There are too many moving parts.”

  Data-broker firms typically have no direct dealings with the public, relying on third-party sources or trading
  information with one another. Of the nine companies subpoenaed by the FTC — Acxiom, CoreLogic,
  Datalogix, eBureau, ID Analytics, Intelius, PeekYou, Rapleaf and Recorded Future — seven share information
  with one another, the FTC report said.

  Among the most striking findings in the reports, officials said, was the extent that data brokers connect the
  online and offline behaviors of consumers. This process, called “onboarding,” allows markets to load offline
  information — from magazine subscriptions, store loyalty cards or government records — into cookies that
  digital advertisers use to target consumers for pitches. Cookies, which are a small bit of computerized code
  stored in a computer’s Web browser, allow advertisers to feature a single product across many Internet
  services.

  The issue of data collection has generated increasing attention in recent years — and especially since former
  National Security Agency contractor Edward Snowden revealed how intelligence agencies vaccum up
  information collected by the private sector. The White House issued a report on the collection and use of Big
  Data on May 1.

  Sens. Edward J. Markey (D-Mass.) and John D. Rockefeller IV (D-W.Va.) proposed legislation in February
  that largely tracks with the FTC’s goal of greater transparency for the data-broker industry.

  Yet privacy advocates see little hope of action on Capitol Hill. “There’s no political pressure on Congress,
  really, to act. The data-broker lobby is incredibly powerful,” said Jeffrey Chester, executive director of the
  Center for Digital Democracy.

  He noted that political campaigns routinely use information collected by data brokers to tailor their election
  and fund-raising messages to targeted groups. “They’re not going to vote against their political self-interest,”
  he said.

  The American Civil Liberties Union said in a statement: “This report’s intentions are good, but waiting for
  Congress to pass new regulations isn’t going to help protect Americans’ privacy rights anytime soon. The FTC
  needs to start using its existing authority to root out bad practices now.”

  More from Craig Timberg:



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  Right to be forgotten vs. free speech

  E.U. court: People entitled to control own online histories

  Research in India suggests Google can tip an election

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         I manage our technology coverage.
The Web Is Much Bigger (And Smaller) Than You Think                                     https://www.forbes.com/sites/ciocentral/2012/04/24/the-web-is-much-bi...
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                   But if our concern is quality, and what is relevant to me in particular, then
                   so much new content is only providing more friction between me and the
                   content I really want to discover.

                   And let’s be honest, when we’re talking relevant Web content, we have
                   certainly reached a point where more is less, quantity drowning quality. In
                   addition to the torrent created every second by Twitter and Facebook, a lot
                   of growth comes from spam. By various estimates, spam accounts for over
                   90% of all email traffic and the proliferation of junk aggregators and so-
                   called content farms places spam in your search results. Content farms are
                   nothing more than a scourge to users and upstanding publishers, who
                   often find their content “scraped” into these rogue sites.

                   Whether it is porn, male enhancement products, or pictures of your high
                   school buddy’s dog, the web is growing faster than a Kim Kardashian
                   betrothal; changing faster than a Lady Gaga wardrobe.




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                   Drowning in a flood of data

                   So in this expanding pool of increasingly worthless data, what are we to
                   do? Consider the daunting task of finding what you need in a search of
                   “about 606,000 results (0.13 seconds).” The companies providing search
                   services, faced with the same “TMI” problem, are apt to shortcut the issue


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The Web Is Much Bigger (And Smaller) Than You Think        https://www.forbes.com/sites/ciocentral/2012/04/24/the-web-is-much-bi...
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                   by simply returning the information that is most “popular” (translation:
                   the information that has paid the most to be placed at the top of the
                   queue).

                   The cold hard fact of Internet search is that there is little motivation for a
                   search service to find exactly what YOU really need – but a lot of incentive
                   to find what makes the search company the most money. If you’re looking
                   for a fact – a phone number, a historical date, etc. – search is fine. And it
                   makes a great Internet-age Yellow Pages. But as a means of finding
                   quality, in-depth information about a topic, wading through those
                   606,000 links is not feasible.

                   Which leads to an Internet age conundrum: despite the hyper-growth, for
                   you the web is actually getting smaller. That is, the percentage of the
                   Internet that represents content that is actually relevant to you – your
                   signal-to-noise ratio - is shrinking. Even on a steady diet of crystal meth
                   and caffeine, one’s interests cannot possibly expand at web speed. So
                   rather than drown in spam, we employ new ways of coping with data
                   overload.

                   And that would be… our friends! You know, all of your BFFs who are
                   hanging out on social networks, finding all kinds of interesting
                   information – like “The Ten Stupid Things My Boyfriend Said.” But unless
                   your friends are named Sergi, Larry, or Wolfram, they haven’t figured this
                   out anymore than you have. On their best days, your friends are simply
                   recyclers of the same Top Ten Web sites that consume up to 70% of the
                   web traffic.

                   The Web of relevance

                   The social graph provides only one layer of personalization, and it is an
                   echoing, myopic layer at best. But as the reach of the web that we actually
                   consume has shrunken into this bubble of popularity, what is needed is a



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The Web Is Much Bigger (And Smaller) Than You Think         https://www.forbes.com/sites/ciocentral/2012/04/24/the-web-is-much-bi...
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                   Web of Relevance.

                   The web of relevance is not about shrinking the web that you personally
                   consume to a manageable size, like a customized Yahoo or Google
                   homepage presenting blocks of topics that you care about. That was a
                   feasible and acceptable approach at one point, but such customizations
                   have proven banally shallow in real quality content and more in the
                   service of surfacing headlines.

                   Instead, the web of relevance is about extracting the deep content that
                   would not otherwise rise above the flotsam and jetsam of aggregations.
                   And it’s about content that you, individually, actually care about - quality
                   content that you want but would be unable to find within the current
                   systems of search or social surfacing.

                   Your capacity for data consumption cannot keep pace with the fire hose of
                   new data spewing from of social networks, blogs, news sites, and Viagra
                   shysters. Some web users, admitting defeat, have turned to services that
                   don’t even pretend relevance, promising only to waste time by
                   entertaining the user by returning random results. Can sites like
                   StumbleUpon and be fun? You bet. And Pinterest? - a brilliantly simple
                   and elegant service that could be described as social networking for the
                   ADD set or the cloning of one million budding Martha Stewarts. But are
                   these efficient ways of finding interesting information when you need it?
                   No way. And in fairness, that is not their goal.

                   A life preserver to the drowning

                   I like to think of this problem of creating a web of relevance as the
                   proverbial needle in a haystack. When the web was young, maybe that
                   haystack could fit in a coffee cup. But now that haystack fills Yankee
                   Stadium, and the old methods of sort-and-see are no longer adequate.
                   New technology is needed – analogous to a giant, extremely powerful



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The Web Is Much Bigger (And Smaller) Than You Think        https://www.forbes.com/sites/ciocentral/2012/04/24/the-web-is-much-bi...
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                   electric magnet that hovers over the stadium, extracting the needle from
                   the chaff.

                   This is not a new need. In the aftermath of 9/11, US intelligence agencies,
                   found buried intelligence, which if discovered in real time, theoretically
                   could have prevented the attacks. But the sea of data simply outstripped
                   human capacity to sort the meaningful from the worthless. Artificial
                   intelligence was needed, leading to SRI’s DARPA-funded “CALO” project
                   (a Cognitive Agent that Learns and Organizes). Apple’s iPhone 4S “Siri,”
                   which promises to forever change the way people use mobile phones, is
                   the most famous commercial product derived from SRI’s CALO.

                   So to attack this shrinking web, AI is suddenly in vogue again. Outgunned
                   by overwhelming data, humans are turning to machines to tame the
                   Internet for them, sophisticated AI algorithms with the capability of
                   understanding context and semantic relationships.

                   Companies like Hunch, recently acquired by eBay come to mind, as well
                   Israeli-based Genieo are harnessing machine learning technologies. And
                   then there is upstart Percolate, using AI to sort social feeds. Many of these
                   technologies, like Siri, learn user behavior, getting better the more it is
                   used. This new web of “discovery” promises to be void of porn, spam, or
                   dancing kittens and singing dogs; not what your friends like, not what the
                   “Top Ten” think is important, or what search engines want you to see.
                   These new technologies shrink a web that has gotten too big to be
                   personal, getting back the excitement in those magic days when the web
                   was young.

                   And that is essentially what we want with a web of relevance. We want
                   personalization, but a personalization built upon quality, of discovery and
                   new sources. This is not an easy problem, but many of the aggregators and
                   content readers currently touting personalization and customization in
                   fact only contribute to the surface layer of noise rather than diving deeper


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                   and providing quality relevance.

                   The vast amount of content on the Web has long been too large for us to
                   consume in any manageable, sophisticated way, but instead of choosing to
                   simply skim the top and shrink the web, let’s choose to pierce deeper and
                   realize a web of relevance at the service of us as individuals.




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They Know What You're Shopping For; 'You're
looking at the premium package, right?'
Companies today are increasingly tying people's
real-life identities to their online browsing
habits.
Valentino-DeVries, Jennifer; Singer-Vine, Jeremy . Wall Street Journal (Online) ; New York, N.Y. [New
York, N.Y]. 08 Dec 2012: n/a.

  ProQuest document link




ABSTRACT
[...]recently he sent a note to a showroom near Atlanta, using a form on the dealer's website to provide his name
and contact information. In separate research, the Journal examined what happens when people logged in to
roughly 70 popular websites that request a login and found that more than a quarter of the time, the sites passed
along a user's real name, email address or other personal details, such as username, to third-party companies.


FULL TEXT

Georgia resident Andy Morar is in the market for a BMW. So recently he sent a note to a showroom near Atlanta,
using a form on the dealer's website to provide his name and contact information.


His note went to the dealership--but it also went, without his knowledge, to a company that tracks car shoppers
online. In a flash, an analysis of the auto websites Mr. Morar had anonymously visited could be paired with his real
name and studied by his local car dealer.


When told that a salesman on the showroom floor could, in effect, peer into his computer activities at home, Mr.
Morar said: "The less they know, the better."


The widening ability to associate people's real-life identities with their browsing habits marks a privacy milestone,
further blurring the already unclear border between our public and private lives. In pursuit of ever more precise and
valuable information about potential customers, tracking companies are redefining what it means to be
anonymous.


Consider Dataium LLC, the company that can track car shoppers like Mr. Morar. Dataium said that shoppers' Web
browsing is still anonymous, even though it can be tied to their names. The reason: Dataium does not give dealers
click-by-click details of people's Web surfing history but rather an analysis of their interests.


The use of real identities across the Web is going mainstream at a rapid clip. A Wall Street Journal examination of
nearly 1,000 top websites found that 75% now include code from social networks, such as Facebook's "Like" or
Twitter's "Tweet" buttons. Such code can match people's identities with their Web-browsing activities on an
unprecedented scale and can even track a user's arrival on a page if the button is never clicked.



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In separate research, the Journal examined what happens when people logged in to roughly 70 popular websites
that request a login and found that more than a quarter of the time, the sites passed along a user's real name,
email address or other personal details, such as username, to third-party companies. One major dating site passed
along a person's self-reported sexual orientation and drug-use habits to advertising companies.


As recently as late 2010, when the Journal wrote about Rapleaf Inc., a trailblazing company that had devised a way
to track people online by email address, the practice was almost unheard-of. Today, companies like Dataium are
taking the techniques to a new level.


Tracking a car-shopper online gives dealers an edge because not only can they tell if the person is serious--is he
really shopping for red convertibles or just fantasizing?--but they can also gain a detailed understanding of the
specific vehicles and options the person likes. "So when he comes in to the dealership, I know now how to
approach" him, said Dataium co-founder Jason Ezell to a car-dealer conference last year, which was videotaped
and posted online.


Mr. Morar, a 38-year-old hotel owner who lives in Savannah, Ga., has been looking carefully at the 2013 BMW X5
sport-utility vehicle, checking recent sale prices for specific configurations. Dataium declined to say specifically
what, if anything, it knows about him.


Dataium said dealers can see only an analysis of the person's behavior, not the raw details of every car site a
person visits. The information is tied to people's email addresses only when people provide them to a dealer
voluntarily, Dataium said.


The company that owns the dealership Mr. Morar visited, Asbury Automotive Group Inc., said it gives privacy
notices to customers "regarding the use of nonpublic personal information." It declined to comment on whether it
had used information about Mr. Morar provided by Dataium.


Companies that conduct online tracking have long argued that the information they collect is anonymous, and
therefore innocuous. But the industry's definition of "anonymous" has shifted over time.


After an epic regulatory battle in the early 2000s over Web privacy, the online ad industry generally concluded that
"anonymous" meant that a firm had no access to "PII," the industry term for "personally identifiable information."
Now, however, some companies describe tracking or advertising as anonymous even if they have or use people's
real names or email addresses.


Their argument: It's still anonymous because the identity information is removed, protected or separated from
browsing history. Facebook Inc., for example, offers a service that shows ads to groups of people based on email
address, but only if advertisers already have that address. Facebook says that it doesn't give people's email
addresses to the advertiser.


"We will serve ads to you based on your identity," said Erin Egan, chief privacy officer at Facebook, "but that doesn't
mean you're identifiable." Facebook, Rapleaf and other companies also say that they anonymize their data.


How does anonymization work? A website uses a formula to turn its users' email addresses into jumbled strings of
numbers and letters. An advertiser does the same with its customer email lists. Both then send their jumbled lists
to a third company that looks for matches. When two match, the website can show an ad targeted to a specific
person, but no real email addresses changed hands.


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Still, the sheer ease with which personal details can be shared online makes it difficult for people to know whether
their information is safe. A Wall Street Journal survey of 50 popular websites, plus the Journal's own site, found
that 12 sent potentially identifying information such as email addresses or full real names to third parties.


The Journal tested an additional 20 sites that deal with sensitive information, including sites dealing with personal
relationships, medical information and children. Nine of these sent potentially identifying information elsewhere.


Sometimes the information was encoded and sent in a special transmission to another company. Other times,
though, people's names were simply included in the title or address of the Web page. This information gets sent
automatically to every ad company with a presence on a Web page unless the website owner takes steps to
prevent it.


The Journal's own website shared considerable amounts of users' personal information. It sent the email
addresses and real names of users to three companies. The site also transmitted other details, including gender
and birth year, which WSJ.com allows people to submit when they fill out their website profile.


A Journal spokeswoman said that most of the sharing of personally identifiable information was unintentional and
was being corrected. The only intentional sharing of identity information, she said, was an encoded version of the
user's email address, provided to a company that sends marketing emails to readers who opt to receive them. She
said the Journal makes companies it works with sign a policy that would prevent them from using improper data
they receive.


Another site sharing considerable information, the free dating service OKCupid, sent usernames to one company;
gender, age and ZIP Code to seven companies; sexual orientation to two companies; and drug-use information--do
you use drugs "never," "sometimes" or "often"?--to six companies. It also sent an anonymized version of email
addresses to a firm that says it uses them to help businesses get information about customers in their email lists.


"None of this information is personally identifiable," said OKCupid's chief executive officer, Sam Yagan. He said
OKCupid, owned by IAC/InterActiveCorp, is upfront with users about the amount of data it collects. "Advertising is
and always will be part of the business model. It allows the product to be free," he said.


The regulatory clash over Web privacy in the early 2000s established ground rules that today are being tested. At
that time, the Federal Trade Commission investigated the merger of the online-ad company DoubleClick Inc. with a
traditional mailing-list giant, Abacus Direct, over concerns that Abacus would merge its lists of people's real names
and addresses with DoubleClick's Web-browsing profiles.


DoubleClick (now owned by Google Inc.) eventually agreed not to do that. The dispute spawned an industry self-
regulatory group that pledged not to link personally identifiable information to Web browsing unless the person
opted in.


But the allure of real identities remains. After all, that's how most companies keep track of their customers. Brick-
and-mortar shops can "capture things like name, city and email address" when a person buys something or signs
up for a loyalty card, said a Yahoo Inc. official.


Yahoo offers a service, Audience Match, that lets retailers find and target their customers online. Yahoo says that
it uses anonymization and doesn't give names or Web-browsing information to advertisers.


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In the past, tracking companies and retailers had a tougher time identifying online users. Today, a single Web page
can contain computer code from dozens of different ad companies or tracking firms. These separate chunks of
code often share information with each other. For example: If, like Mr. Morar the car-shopper, you give your name
to a website, it can sometimes be seen by other companies with ads or special coding on the site.


It's so easy to share such information that many of the sites the Journal contacted said they were doing so
accidentally. The problem is easy to solve, but it has persisted for years.


Craig Wills, a computer-science professor at Worcester Polytechnic Institute, published research in 2011 showing
that 56% of more than 100 websites leaked pieces of private information in ways similar to those found in the
Journal's study. "Information goes in, but we don't know if it's being dropped and ignored or saved for later use," he
said.


The rise of social networks is also making it easier to tie people's real identities to their online behavior. The "Like"
button, for instance, can send information back to Facebook whenever Facebook users visit pages that have the
button, even if they don't click it.


These buttons and related code give social networks, which often know people's real names, an unprecedented
overview of online behavior. The Journal found that Facebook code appears on 67% of the more than 900 sites of
the top 1,000 that were scanned by BuiltWith.com, a service that examines websites and the technologies they
use. That is up from about 63% a year or so ago. Code from Twitter Inc. was on nearly 54% of sites, up from 43%.
Code from the Google+ social network was on almost 30% of sites examined, up from just 12% in December 2011.


Google said it keeps its social-networking data separate from its ad-tracking network and doesn't use the data
from unclicked Google+ buttons. Twitter says it analyzes the data from its unclicked buttons to recommend other
people a user might want to follow, but not for other purposes. Facebook says it uses data from unclicked "Like"
buttons only for security purposes and to fix bugs in its software.


Facebook has been expanding its ad services that use identification data. This year, the company began telling
advertisers how much sales in stores increased as a result of ads on Facebook--even if the products were
purchased offline. To achieve this, Facebook says it works with a company, Datalogix, that controls a vast
database culled from people's use of loyalty-card programs.


Dataium, the company that watches car shoppers, is also able to tie online shopping data to people's names,
according to its public statements. Based in Nashville, Tenn., Dataium was founded in 2009 by Mr. Ezell, who had
previously founded a company that created websites for auto dealers, and by Eric Brown, who had experience in
marketing.


The two realized that the auto industry "is trying to sell the consumer a car they want the consumer to buy, not a
car the consumer wants to buy," Mr. Brown, the company's chief executive, said in an email.


Mr. Brown said that the vast majority of Dataium's business involves providing general data about online car-
shopping trends. But the company also enables dealers to see information about people in their customer
database--in other words, people who have given the dealer their names and email addresses.


On its website, Dataium says it observes more than 20 million shoppers across 10,000 car websites, although it


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doesn't claim to have identification information on everyone. Mr. Brown said personally identifiable information is
"less than 1%" of total data sent to Dataium.


Dataium knows "all the websites [a] person has visited in the shopping process" and "all the vehicles this person
has looked at," Mr. Ezell said at last year's car-dealer conference. So if someone looked only at Nissans, the
salesman will know he needn't discuss other cars, "because I know he's a loyal Nissan shopper." For users who are
identifiable, Dataium is able to add analysis based on these observations to their name.


Asbury Automotive Group, which owns 77 dealerships including Nalley BMW, the site Mr. Morar visited, announced
last year that it was using Dataium's code "to obtain a greater understanding of how auto shoppers are engaging"
with its stores.


Mr. Morar, the Savannah car-shopper, is still in the market for a BMW sport-utility vehicle. He has twin 8-year-olds,
and they need some elbow room, he says.


But scoring the best price will be important to him, which is why he has been doing lots of research online. "I'm just
trying to get as much information as I can so when I do go to the dealer I'm prepared," he said. "There's that
mentality that all car dealers are out to get you."


Ashkan Soltani contributed to this article.


Write to Jennifer Valentino-DeVries at


Credit: By Jennifer Valentino-DeVries and Jeremy Singer-Vine




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                    Cashless tolls on Mass. Pike raise revenue, privacy
                    concerns

                    Christian M. Wade Statehouse Reporter

                    BOSTON — Beginning next month, drivers on the Massachusetts Turnpike won't have to
                    fumble for cash or coins to pay tolls or slow down to go through the E-ZPass lane.

                    The state Department of Transportation is replacing dozens of aging toll booths along the
                    138-mile Turnpike from Boston to the New York border with a cashless, electronic tolling
                    system.

                    The system, developed by Raytheon as part of a 10-year, $130 million contract,
                    photographs license plates with overhead cameras as vehicles pass under gantries over the
                    highway. It charges drivers with E-ZPass transponders or sends bills to those who don’t
                    have them.

                    The electronic system is expected eventually to replace every toll booth in Massachusetts.

                    MassDOT has used the high-tech gadgets on the Tobin Bridge since mid-2014 and recently
                    installed 16 spans over the Turnpike. Cameras are expected to begin full operation by Oct.
                    28.

                    But the technology has critics. Civil liberties groups say the cashless tolling system will
                    widen an already sprawling network of government cameras that capture, store and share
                    data about citizens.

                    "There are major privacy issues at stake here,” said Kade Crockford, director of the
                    Technology for Liberty Project at the American Civil Liberties Union of Massachusetts.
                    "The government and private companies are amassing huge quantities of data, not just
                    showing where people are going every day but where they end up."

                    Massachusetts doesn’t regulate how long the state and police can keep information from toll
                    cameras or license-plate readers mounted on police cars, road signs and traffic lights.
                    MassDOT says data it collects from cameras will be kept confidential.

                    In New Hampshire, police are prohibited from conducting video surveillance without
                    warrants on all public ways, though video use is allowed on E-ZPass toll booths. Maine
                    requires its toll-takers to delete license plate data three weeks after images are collected.

                    Out-of-state drivers?

                    Another issue is collecting tolls from motorists who don't use E-ZPass, or whose vehicles
                    are registered in other states.




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                    Massachusetts has agreements with New Hampshire and Maine to share motor vehicle
                    registry files with the names and addresses of those whose license plates are photographed.
                    It is negotiating similar pacts with Connecticut, New York and other states, but so far it
                    hasn’t reached agreements.

                    "That raises serious questions about whether the state is going to collect enough toll money
                    to maintain the roadway," said Mary Connaughton, director of government transparency at
                    the Pioneer Institute and a former member of the Turnpike Authority board.

                    Expanding the number of E-ZPass transponder customers, who now represent about 85
                    percent of motorists who pass over the Tobin Bridge, is one of MassDOT’s stated goals in
                    switching over to a cashless tolling system.

                    “Many people don’t want or can’t afford E-ZPass,” Connaughton said. “So there’s always
                    going to be a portion of the population that won’t get a transponder."

                    In the first six months of the Tobin Bridge's cashless tolls, motorists who were billed
                    through the mail using the pay-by-plate system racked up more than $2.7 million in late fees
                    and other charges for unpaid tolls.

                    At the time, the late fee was $90 per unpaid toll.

                    In response to a public outcry, the state waived some of those fines and capped late fees at
                    $6 per unpaid toll.

                    Eliminating 500 jobs

                    Pricing for cashless tolls along the Turnpike has not been set yet, but Transportation
                    Secretary Stephanie Pollack has said the system will be "revenue neutral," meaning the state
                    will take in the same amount it now does at toll plazas.

                    Under proposed rates, a motorist with an E-ZPass transponder will pay $6.15 to travel the
                    length of the Turnpike. Someone without a transponder will be charged slightly more,
                    $6.54, which breaks down to 37 cents at each gantry plus a 60-cent administrative fee for
                    the monthly bill.

                    MassDOT's board of directors is expected to vote on the proposed Turnpike tolls at an Oct.
                    6 meeting.

                    Tolls make big bucks for the state. Last year, MassDOT took in more than $426 million
                    from tolls on the Tobin Bridge, two harbor tunnels and the Turnpike. Combined, the state’s
                    toll booths register more than 574,000 tolls on an average weekday.

                    MassDOT expects to save more than $45 million a year in expenses by going cashless.
                    Savings will come from eliminating the jobs of more than 500 toll-takers who make an
                    average of $30 an hour.

                    Christian Wade covers the Massachusetts Statehouse for The Salem News and its sister
                    newspapers and websites. Reach him at cwade@cnhi.com.

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                                  https://www.nytimes.com/2017/06/23/technology/gmail-ads.html



         Google Will No Longer Scan Gmail for Ad Targeting
         By Daisuke Wakabayashi
         June 23, 2017




                                                                                            Google said it plans to carry out the
                                                                                            changes to the Gmail ad policy “later
                                                                                            this year.”
                                                                                            Matt Rourke/Associated Press




         SAN FRANCISCO — Google plans to abandon its longstanding practice of scanning user email in its Gmail service to serve targeted advertising.

         Google said it does not scan the email of paying corporate customers of its G Suite of services, but it made the policy change — announced in a company blog
         post on Friday — on its free consumer version to eliminate confusion and create one uniform policy toward Gmail.

         As it builds its Google Cloud business for selling internet infrastructure and services to corporate customers, Google is trying to ease concerns that it will use
         data from corporate customers to help its mainstay advertising business.

         Google said it plans to carry out the changes to the Gmail ad policy “later this year.” It will continue to scan Gmail to screen for potential spam or phishing
         attacks as well as offering suggestions for automated replies to email.

         The company will continue to serve ads in Gmail, which has more than 1.2 billion users, but it will target those ads based on information it has already
         gathered from other Google services like search or YouTube, instead of the content of email.

         “This decision brings Gmail ads in line with how we personalize ads for other Google products,” Diane Greene, Google’s senior vice president in charge of
         Google Cloud, wrote in the post.

         Google introduced Gmail in 2004, and it quickly gained popularity because it offered improved search options and more storage, eliminating the
         inconvenience of deleting email to stay within capacity limits. Gmail is now the most widely used web email service.

         But the service has been criticized by privacy advocates for scanning email to generate contextually aware ads. The ads in email bothered users more than
         other targeted advertising found across the web, because users are more touchy about the privacy of email versus, for example, browsing history.

         “This action was driven by concerns from business users — not regular individuals,” said Seth Schoen, a senior staff technologist from the Electronics
         Frontier Foundation, a digital rights group. “Some of the regular people who use Google services disliked the way their email contents were being used to
         target ads way back in 2004. Yet their concerns couldn’t get much traction until Google became aware 13 years later that some current or prospective paying
         enterprise customers were uncomfortable with this practice.”

         The decision to stop combing email to distribute specific ads in Gmail is a sign of Google’s seriousness in winning over corporate customers to use its internet
         infrastructure and services. Ads still represent a vast majority of Google’s revenue, but the company sees Google Cloud as a growth area.

         Google had said its policy was not to target ads in Gmail based on personal information, such as race, religion, sexual orientation, health, or financial data,
         and that information extracted from a user’s email will only be used for ads in Gmail. Users may now opt out of receiving personalized ads in Gmail, but they
         may not opt out of email scanning.




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                  Google’s Shadow Work Force: Temps Who
                  Outnumber Full-Time Employees

                  Daisuke Wakabayashi




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Google’s Shadow Work Force: Temps Who Outnumber Full-Time Empl... https://www.nytimes.com/2019/05/28/technology/google-temp-workers.html
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                         Credit...Jessica Eve Rattner for The New York Times

                      • May 28, 2019

                  SAN FRANCISCO — Mindy Cruz had an offer for a full-time position at another big
                  tech company when she accepted a temporary job as a recruiter at Google in 2017.
                  The pay was less and the benefits were not as good, but it was one step closer to her
                  dream of becoming a Google employee.

                  Ms. Cruz became one of Google’s many temps and contractors — a shadow work
                  force that now outnumbers the company’s full-time employees. But she never made
                  the jump to full time. She was swiftly fired after a Google manager, who she said
                  had harassed her for months, told the temp agency that had hired her that he
                  wanted her gone.

                  High-tech companies have long promoted the idea that they are egalitarian, idyllic
                  workplaces. And Google, perhaps more than any other, has represented that image,
                  with a reputation for enviable salaries and benefits and lavish perks.

                  But the company’s increasing reliance on temps and contractors has some Google
                  employees wondering if management is undermining its carefully crafted culture.
                  As of March, Google worked with roughly 121,000 temps and contractors around
                  the world, compared with 102,000 full-time employees, according to an internal
                  document obtained by The New York Times.

                  Though they often work side by side with full-timers, Google temps are usually
                  employed by outside agencies. They make less money, have different benefits plans
                  and have no paid vacation time in the United States, according to more than a
                  dozen current and former Google temp and contract workers, most of whom spoke
                  on the condition of anonymity because they had signed nondisclosure agreements.


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                  Better treatment for those workers was one of the demands made by organizers of a
                  Google employee walkout last year to protest the company’s handling of sexual
                  harassment complaints.

                      • Did you know you can share 10 gift articles a month, even with
                        nonsubscribers?

                  Share this article.

                  “It’s time to end the two-tier system that treats some workers as expendable,” the
                  walkout organizers wrote on Twitter in March.

                  When Sundar Pichai, Google’s chief executive, did not respond to those demands, a
                  group of anonymous contractors sent an open letter demanding equal pay and
                  better opportunities for advancement. In April, hundreds of Google employees
                  signed another letter protesting the dismissal of about 80 percent of a 43-person
                  team of contingent workers working on the company’s artificial intelligence
                  assistant.

                  In response, Google said it was changing a number of its policies to improve
                  conditions for its temps and contractors.

                  The reliance on temporary help has generated more controversy inside Google than
                  it has at other big tech outfits, but the practice is common in Silicon Valley.
                  Contingent labor accounts for 40 to 50 percent of the workers at most technology
                  firms, according to estimates by OnContracting, a site that helps people find tech
                  contracting positions.

                  OnContracting estimates that a technology company can save $100,000 a year on
                  average per American job by using a contractor instead of a full-time employee.

                  “It’s creating a caste system inside companies,” said Pradeep Chauhan, who runs
                  OnContracting.

                  In statements to The Times, Google did not directly address concerns that it had
                  created a two-tiered work force, but said it did not hire contractors simply to save
                  money.

                  Eileen Naughton, Google’s vice president of people operations, said that if a
                  contingent worker “is not having a good experience, we provide lots of ways to
                  report complaints or express concerns.”

                  She added, “We investigate, we hold individuals to account and we work to make
                  things right for any person impacted.”

                  ‘Googlers Are Everything’
                  When Google became a public company in 2004, its founders, Larry Page and
                  Sergey Brin, wrote that they believed in rewarding employees with unusual benefits
                  because “our employees, who have named themselves Googlers, are everything.”

                  But not everyone doing work for Google over the years has been a Googler. The
                  company has been using temps and contractors since its early years in projects like



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                  scanning books for online search. According to one former Google employee, temps
                  and contractors accounted for about a third of the work force about a decade ago,
                  and that share has steadily climbed.

                  Google’s contractors handle a range of jobs, from content moderation to software
                  testing. Their hourly pay varies, from $16 per hour for an entry-level content
                  reviewer to $125 per hour for a top-shelf software developer.

                  Google usually pays staffing companies, which find the workers and provide them
                  with salaries and benefits as their employer.

                  But the current and former contract and temp workers, as well as four Google
                  employees, said Google was the employer in all but name. It decides what jobs they
                  do, dictates where and what hours they work, and often decides if and when to fire
                  them.

                  Google’s contractors are barred from company events like holiday parties and all-
                  hands meetings. They are not permitted to look at internal job postings or attend
                  company job fairs.

                  In some instances, email messages about workplace security concerns that went out
                  to full-time staff were not shared with contract workers even though they worked in
                  the same offices, the contractors and temps told The Times.

                  In their letter to Mr. Pichai, the temp workers said the company sent security
                  updates only to full-time employees during a shooting at YouTube’s offices last
                  year, leaving contractors “defenseless in the line of fire.” They were also barred
                  from a meeting the next day to discuss the attack.

                  Andrea Faville, a YouTube spokeswoman, said that the exclusion had been an
                  oversight and that contractors had been invited to another companywide meeting
                  later that week. She said all security updates went out to all staff, including
                  contractors and temps, although two contractors working at YouTube said they had
                  not received notices.




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Google Introduces a New System for Tracking Chrome Browser Users -...   https://www.nytimes.com/2022/01/25/business/google-topics-chrome-tra...
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                                         https://www.nytimes.com/2022/01/25/business/google-topics-chrome-
                                         tracking.html

         Daily Business Brieﬁng




         Google introduces a new system for tracking Chrome
         browser users.
         The company is scrapping another plan that would have blocked so-called cookies after
         privacy groups and regulators complained that Google needed to do more to ensure
         privacy.
         By Daisuke Wakabayashi, Kate Conger and Brian X. Chen
         Jan. 25, 2022


         When Google announced a plan to block digital tracking cookies from its Chrome web
         browser two years ago, the advertising industry and regulators worried that the proposal
         would further entrench the search giant’s dominance over online ads.

         The outcry eventually forced Google to delay its rollout by nearly two years to late 2023.

         On Tuesday, Google said it was scrapping its old plan and offered a new way to block
         third-party trackers in Chrome with an online advertising system called Topics. The new
         system would still eliminate cookies, but it would inform advertisers of a user’s areas of
         interest — such as “fitness” or “autos and vehicles” — based on the last three weeks of
         the user’s web browsing history. The Topics will be kept for three weeks before they are
         deleted.

         Google’s plan to eliminate cookies by the end of next year is a potentially huge shift for
         the digital advertising industry, though it is not clear if the new method, which the
         company will start testing in the first quarter this year, will be any less alarming to
         advertisers and regulators. Google Chrome, the world’s most widely used web browser, is
         used by two of every three people surfing the internet, according to StatCounter.

         Google said in 2019 that it would do away with third-party trackers in Chrome through an
         initiative called the Privacy Sandbox. The trackers allow ad services to follow users
         around the web to learn about their browsing habits. The company later unveiled a plan
         known as federated learning of cohorts, or FLoC. It was intended to allow advertisers to
         target groups of users, based on common browsing history, instead of individuals.



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Google Introduces a New System for Tracking Chrome Browser Users -...   https://www.nytimes.com/2022/01/25/business/google-topics-chrome-tra...
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         Apple has also cracked down on advertisers, limiting their ability to track users as they
         browse the web. Last year, the company introduced App Tracking Transparency, which
         allows users to block apps from tracking them, a decision that caused concern at
         Facebook and other major advertisers.

         Since marketers rely heavily on cookies to target ads and measure their efficacy, Google’s
         privacy proposal led to worries that it would strengthen the company’s hold on the
         industry because Google already knows so much about the interests and habits of its
         users. Privacy experts feared that the cohorts could expose users to new forms of
         tracking.

         Google’s proposal also caught the eye of regulators. The European Union said it was
         investigating the plan as part of an inquiry into Google’s role in the digital advertising
         market. Last year, Britain’s Competition and Markets Authority reached an agreement
         with Google to allow the regulator to review changes to trackers in Chrome as part of a
         settlement of another investigation.

         Topics will address some of the concerns raised by privacy advocates about FLoC,
         preventing more covert tracking techniques, Google said. It aims to preserve user
         privacy by segmenting its audience into larger groups.

         Google said there had been tens of thousands of potential cohorts under the previous
         plan, but that it would reduce the number of Topics to fewer than a few thousand. The
         company said users would be able to see what topics were associated with them, and
         remove them if they chose.

         “It’s slightly more privacy-protective than FLoC,” said Sara Collins, a senior policy
         counsel at the public interest nonprofit Public Knowledge. The larger topic groups would
         grant users more anonymity, but Google’s plan could still be circumvented by
         fingerprinting techniques meant to track individual users, she said.

         Google said Topics would use human curators rather than allow machine learning
         technology to generate user groups, as the FLoC plan did. This will eliminate the
         possibility that groups might be based on sensitive characteristics like sexual orientation
         or race, Google said.

         “There were a couple of research studies that showed concern over this happening,”
         Vinay Goel, who oversees the Privacy Sandbox initiative at Google, said in an interview.
         “We didn’t find evidence that it was happening.”

         Peter Snyder, director of privacy at Brave, a privacy-minded search engine, said the
         changes with Topics did not address the core issues with Google’s previous proposal.

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         “At root is Google’s insistence on sharing information about people’s interests and
         behaviors with advertisers, trackers and others on the web that are hostile to privacy,”
         Mr. Snyder said in a statement. “These groups have no business — and no right — to
         learn such sensitive information about you.”

         Google’s Topics plan echoes a revision made to its search product several years ago. In
         2019, the company gave users the ability to set up their search history to automatically
         purge every three or 18 months. That made it harder for advertisers to target individuals
         with highly personalized ads based on their web traffic. Google also gave users the ability
         to disable it from recording search histories altogether.

         Critics noted that the privacy controls were ineffective because they were difficult for the
         average person to find, and by default, Google continues to keep a permanent record of
         people’s search histories.




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Opinion | Facebook and Google Trackers Are Showing Up on Porn Sites   https://www.nytimes.com/2019/07/17/opinion/google-facebook-sex-webs...
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         Opinion | Facebook and Google Trackers Are
         Showing Up on Porn Sites

         Charlie Warzel


         A new study scanned 22,484 pornography sites and found them riddled with trackers from major
         technology companies.

         July 17, 2019




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Opinion | Facebook and Google Trackers Are Showing Up on Porn Sites   https://www.nytimes.com/2019/07/17/opinion/google-facebook-sex-webs...
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                Credit...Erik Carter

         Silicon Valley’s biggest companies are always watching you — even when you’re browsing
         pornography websites in incognito mode.

         Trackers from tech companies like Google and Facebook are logging your most personal browsing
         details, according to a forthcoming New Media & Society paper, which scanned 22,484
         pornography websites. Where that data ultimately goes is not always clear.

         “These porn sites need to think more about the data that they hold and how it’s just as sensitive as
         something like health information,” said Elena Maris, a postdoctoral researcher at Microsoft and
         the study’s lead author. “Protecting this data is crucial to the safety of its visitors. And what we’ve
         seen suggests that these websites and platforms might not have thought all of this through like they
         should have.”

         The study’s other authors — Jennifer Henrichsen, a doctoral candidate at the University of
         Pennsylvania, and Tim Libert, a Carnegie Mellon computer science instructor — found that 93
         percent of the pornography websites they scanned sent data to an average of seven third-party
         domains. The authors used webXray, an open-source software tool, which detects and matches
         third-party dataData acquired from a source, instead of directly from the subject of the data.
         Glossary requests to scan sites. Most of that information (79 percent of websites that transmitted
         user data) was sent via tracking cookiesA small file stored by a website on computers that allows
         companies to track browser activity, remember user preferences and keep users logged in for
         subsequent sessions. First-party cookies are placed by the website that is visited, while third-party
         cookies are placed by a party other than the visited website. Glossary from outside companies.

         Web tracking varies around the web. Frequently users are tracked via cookies, which are bits of text
         downloaded by your web browser when you visit a site. Other times trackers come in the form of


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         invisible embedded pixels on your screen. In most cases, these trackers help sites identify and
         classify repeat visitors. They can help you stay logged onto a site, record your preferences and help
         manage your advertising profiles.

         The study found that Google (or one of its subsidiary companies like the advertising platform
         DoubleClick) had trackers on 74 percent of the pornography sites. Trackers from the software
         company Oracle showed up on 24 percent of sites, and Facebook, which does not permit
         pornographic content or nudity on any of its platforms, had trackers on 10 percent of the sex
         websites scanned by the study.

         “The fact that the mechanism for adult site tracking is so similar to, say, online retail should be a
         huge red flag,” Dr. Maris said. “This isn’t picking out a sweater and seeing it follow you across the
         web. This is so much more specific and deeply personal.”

         The study found that only 17 percent of the 22,484 sites scanned were encrypted, suggesting that
         troves of user data could be vulnerable to hacking or breaches.

         Why are the trackers there in the first place? Most of the third-party code embedded in these
         websites is currently standard practice in the publishing industry. The New York Times embeds
         similar trackers and collects, uses and shares data about readers as part of its business practices.
         Some trackers, like those for Google Analytics, provide mundane traffic data to the site.
         DoubleClick and others provide the infrastructure to run advertising.

         In exchange, these third-party companies receive data from the website’s visitors. Advertisers and
         platforms argue that this data is anonymous. And while some of it is basic (device type), other
         information (your I.P. address or your phone’s advertising identification number) could be used to
         reverse engineer your identity and match you with already existing marketing profiles.

         What these companies might be doing with pornography-site browsing data is a mystery. Oracle,
         which owns a number of large data brokersEntities that collect, aggregate and sell individuals’
         personal data, derivatives and inferences from disparate public and private sources. Glossary and
         has been called a “privacy deathstar,” could, for example add data collected by trackers to its
         current profiles. In the cases of Google and Facebook, which refuse to host pornographic sexual
         content on a number of their platforms, it’s not always clear why they are collecting such sensitive
         information, even if unintentionally.

         Facebook and Google denied that potential information collected by their trackers on pornography
         websites was used for creating marketing profiles intended to advertise to individuals.

         “We don’t allow Google Ads on websites with adult content and we prohibit personalized
         advertising and advertising profiles based on a user’s sexual interests or related activities online,” a
         Google spokeswoman wrote in a statement. “Additionally, tags for our ad services are never allowed
         to transmit personally identifiable informationAny information about an individual, including any
         information that can be used to distinguish or trace an individual’s identity, such as name, Social
         Security number, date and place of birth, mother’s maiden name or biometric records; and any
         other information that is linkable to an individual, such as medical, educational, financial and
         employment information. Glossary to Google.”

         A Facebook spokesman offered a similar explanation, noting that the company’s community
         guidelines forbid sex websites to use the company’s tracking tools for business purposes like
         advertising. Though Facebook’s pixel tracker is open for any third party to install on its website —
         you don’t need permission to embed it — the company suggested it blocks pornography sites and, in
         those cases, does not collect information from those properties. The spokesman suggested that
         when alerted to new sex websites using the tools, the company will enforce against them.


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Google Hackers Targeted Source Code of More Than 30 Companies                 https://www.wired.com/2010/01/google-hack-attack/
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                  Google Hackers Targeted Source Code of
                  More Than 30 Companies

                  Kim Zetter


                  A hack attack that targeted Google in December also hit 33 other companies,
                  including financial institutions and defense contractors, and was aimed at stealing
                  source code from the companies, say security researchers at iDefense.

                  The hackers used a zero-day vulnerability in Adobe Reader to deliver malware to
                  many of the companies and were in some cases successful at siphoning the source
                  code they sought, according to a statement distributed Tuesday by iDefense, a
                  division of VeriSign. The attack was similar to one that targeted other companies
                  last July, the company said.

                  A spokeswoman for iDefense wouldn't name any of the other companies that were
                  targeted in the recent attack, except Adobe.

                  Adobe acknowledged Tuesday in a blog post that it discovered Jan. 2 that it had
                  been the target of a "sophisticated, coordinated attack against corporate network
                  systems managed by Adobe and other companies."

                  The company didn't say whether it was a victim of the same attack that struck
                  Google. But Adobe's announcement came just minutes after Google revealed that it
                  had been the target of a "highly sophisticated" hack attack originating in China in
                  December.

                  Neither Google nor Adobe provided details about how the hacks occurred. Google
                  said only that the hackers were able to steal unspecified intellectual property from
                  it, and that they had focused their attack on obtaining access to the Gmail accounts
                  of human rights activists who were involved in China rights issues.

                  But according to iDefense, whose customers include some of the 33 companies that
                  were hacked, the attacks were well targeted and "unusually sophisticated" and
                  aimed at grabbing source code from several hi-tech companies based in Silicon
                  Valley as well as financial institutions and defense contractors.

                  The hackers gained access to the company networks by sending targeted e-mails to
                  employees, some of which contained a malicious PDF attachment. The malicious
                  code exploited a zero-day vulnerability in Adobe's Reader application.

                  Zero day vulnerabilities are security flaws in software for which there is currently
                  no patch. Adobe announced in mid-December that a new zero-day vulnerability in
                  its Reader and Acrobat programs was being actively targeted by attackers. The
                  company made the announcement after security researchers not affiliated with
                  Adobe discovered attacks being conducted against the vulnerability. Adobe patched
                  the critical vulnerability only on Tuesday this week.

                  In the recent attack on some of the companies, once a recipient clicked on the


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Google Hackers Targeted Source Code of More Than 30 Companies                    https://www.wired.com/2010/01/google-hack-attack/
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                  malicious PDF attachment, a backdoor Trojan program called Trojan.Hydraq was
                  installed on their machine in the form of a Windows DLL, according to iDefense.

                  IDefense says that when Google discovered malware on its systems in December, it
                  found that the code was communicating with a server set up to receive information
                  stolen from the targeted companies.

                  "It was configured in such a way that it was able to receive a massive amount of
                  data being exfiltrated to it," says an iDefense spokeswoman who asked not to be
                  named.

                  Google was able to determine, by examining the server, that the hackers had struck
                  numerous other companies, she said. Google said in its Tuesday announcement
                  that 20 other companies had been hacked. But iDefense found evidence that at least
                  33 were targeted.

                  The recent attacks bear a strong resemblance to another attack that occurred in
                  July 2009, which targeted about 100 IT companies, iDefense says. In that earlier
                  attack, the hackers also sent targeted e-mail to companies with a malicious PDF
                  attachment, but it's unclear how successful that attack was.

                  According to Ryan Olson, an analyst for iDefense, the attacks in July and December
                  targeted different vulnerabilities. The one in July affected Adobe's Reader, Acrobat
                  and Flash applications, which it patched Jul. 30. The vulnerability the hackers are
                  believed to have used in December also affected Reader and Acrobat.

                  iDefense obtained samples of the malicious codes used in the July attack and the
                  more recent one and found that although the malware was different in the two
                  attacks, the programs both communicated with similar command-and-control
                  servers. The servers each used the HomeLinux DynamicDNS to change their IP
                  address, and both currently point to IP addresses belonging to a subset of addresses
                  owned by Linode, a U.S.-based company that offers Virtual Private Server hosting.

                  "The IP addresses in question are ... six IP addresses apart from each other,"
                  iDefense said in its statement. "Considering this proximity, it is possible that the
                  two attacks are one and the same, and that the organizations targeted in the
                  [recent] Silicon Valley attacks have been compromised since July."

                  Linode spokesman Philip Paradis says the VPS iDefense is referring to was never
                  compromised and that the command-and-control servers were pointing to Linode
                  IP addresses because Google itself took control of the VPS on Jan. 1 and was using it
                  to conduct tests as part of its investigation.

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                  From artificial intelligence and self-driving cars to transformed cities and new
                  startups, sign up for the latest news.

                  Olson told Threat Level that the attackers are "incredibly good" at finding new
                  exploits and infecting the right people but that nothing he'd seen in the malware
                  indicated they were above average in writing malicious code.

                  "The sophistication here is all about the fact they were able to target the right
                  people using a previously unknown vulnerability," he says.


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                  The iDefense spokeswoman told Threat Level that her company waited a week to
                  disclose details about the attack until after Google went public with the news that it
                  had been hacked. She said it's her understanding that Google's source code was
                  targeted in the hack attack.

                  Google declined to publicly discuss the details of iDefense's report.

                  Adobe's announcement didn't discuss specifically whether hackers had stolen its
                  source code but said that it had "no evidence to indicate that any sensitive
                  information -- including customer, financial, employee or any other sensitive data
                  -- has been compromised" in the attack.

                  This post was updated with information from Olson about the malware used in
                  the attack and to add comment from Linode. It also was updated to clarify that
                  the Hydraq trojan and PDF exploit were used to breach some of the companies,
                  but not all of them.

                  See also:

                      • Google to Stop Censoring Search Results in China After Hack Attack




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            EXPERT REPORT OF BRUCE SCHNEIER


                           April 15, 2022




                            Appendix 2
                         Curriculum Vitae
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Bruce Schneier CV: Background                                                             1


                              Bruce Schneier

Contact: schneier@schneier.com


Background
Bruce Schneier is an internationally renowned security technologist, called a “security
guru” by the Economist. He is the New York Times best-selling author of 14 books—
including Click Here to Kill Everybody—as well as hundreds of articles, essays, and
academic papers. His influential newsletter Crypto-Gram and blog Schneier on Security
are read by over 250,000 people. Schneier is a fellow at the Berkman-Klein Center for
Internet and Society at Harvard University; a Lecturer in Public Policy at the Harvard
Kennedy School; a board member of the Electronic Frontier Foundation, AccessNow,
and the Tor Project; and an advisory board member of EPIC and VerifiedVoting.org. He
is the Chief of Security Architecture at Inrupt, Inc.


Professional Experience
2019–present, Chief of Security Architecture, Inrupt, Inc., Boston, MA.
2016–2019, Chief Technology Officer, IBM Resilient, and special advisor to IBM
Security, Cambridge, MA.
2014–2016, Chief Technology Officer, Resilient Systems, Inc. (formerly called Co3
Systems, Inc.), Cambridge, MA.
2006–2013, Chief Security Technology Officer, British Telecom, London, UK.
1999–2006, Chief Technology Officer, Counterpane Internet Security, Inc., Cupertino,
CA.
1993–1999, President, Counterpane Systems, Oak Park, IL and Minneapolis, MN.
1991–1993, Member of Technical Staff, AT&T Bell Labs., Schaumburg, IL.
1990, Director of Operations, Intelligent Resources Information Systems, Inc., Chicago,
IL.
1987–1990, Program Manager, Space and Naval Warfare Systems Command, Arlington,
VA.
1984–1987, Electronics Engineer, Naval Electronics Systems Security Engineering
Center, Washington, DC.
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Bruce Schneier CV: Academic Experience                                               2


Academic Experience
2016+, Lecturer in Public Policy, John F. Kennedy School of Government, Harvard
University.
2016–2018, Research Fellow in the Science, Technology, and Public Policy program at
the Belfer Center for Science and International Affairs, Kennedy School of Government,
Harvard University.
2013+, Fellow, Berkman Klein Center for Internet and Society, Harvard University.


Board Membership
2017+, Board Member, AccessNow, New York, NY
2013+, Board Member, Electronic Frontier Foundation, San Francisco, CA.
2016–2021, Board Member, Tor Project, Cambridge, MA.
2004–2013, Board Member, Electronic Privacy Information Center, Washington DC.


Education
MS Computer Science, American University, 1986.
BS Physics, University of Rochester, 1984.


Books
We Have Root: Even More Advice from Schneier on Security, John Wiley & Sons, 2019.
Click Here to Kill Everybody: Security and Survival in a Hyper-connected World, WW
Norton & Company, 2018.
Data and Goliath: The Hidden Battles to Capture Your Data and Control Your World,
WW Norton & Company, 2015.
Carry On: Sound Advice from Schneier on Security, John Wiley & Sons, 2013.
Liars and Outliers: Enabling the Trust that Society Needs to Thrive, John Wiley &
Sons, 2012.
Cryptography Engineering (with Niels Ferguson and Tadayoshi Kohno), John Wiley &
Sons, 2010.
Schneier on Security, John Wiley & Sons, 2008.
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Bruce Schneier CV: Academic Publications                                                    3


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Business Leader in Cybersecurity Award from Boston Global Forum, December 2015.
Named as one of the 20 top security influencers by eSecurity Planet, June 2015.
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Bruce Schneier CV: Legislative Testimony                                              12


EPIC Lifetime Achievement Award, June 2015.
Named as one of the top ten information security bloggers of 2014 by the ISO 27001 and
ISO 22301 blog, December 2014.
Named as an industry pioneer in information security by SC Magazine, December 2014.
Berkman Fellow at the Berkman Center for Internet and Society at Harvard University,
2013–2015 academic years.
Named one of the IFSEC 40: The Most Influential People in Security & Fire, January
2013.
Honorary Doctor of Science (ScD) from University of Westminster, London, December
2011.
CSO Compass Award, May 2010.
Named as one of the top 25 most influential people in the security industry by Security
magazine, December 2008
Inducted into the Infosecurity Europe Hall of Fame, April 2008.
Computer Professionals for Social Responsibility (CPSR) Norbert Wiener Award,
January 2008.
Electronic Frontier Foundation (EFF) Pioneer Award, March 2007.
Dr. Dobb’s Journal Excellence in Programming Award, April 2006.
Named as one of the top five influential IT security thinkers by SC magazine, December
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Secrets and Lies won a Productivity Award in the 13th Annual Software Development
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                 EXPERT REPORT OF BRUCE SCHNEIER


                                April 15, 2022




                                 Appendix 3
                              Readability Tests
                                      of
                           Google Terms of Service
                            Google Privacy Policy
                        Google Chrome Privacy Notice




                                  tested with
                            Readability Calculator
    https://www.online-utility.org/english/readability_test_and_improve.jsp
                           (accessed March 8, 2022)
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Google Terms of Service
      4 versions from April 14, 2014 to January 25, 2022.
      Total number of words: 11,335
      Flesch Reading Ease range: 42.54 to 31.21; highest score 42.54 (increasingly difficult to read,
       graduating from difficult to very difficult)



Google Terms of Service (January 25, 2022)
 Number of characters (without spaces)                 17,323.00
 Number of words                                       3,517.00
 Number of sentences                                   111.00
 Lexical Density:                                      52.97
 Average number of characters per word                 4.93
 Average number of syllables per word                  1.70
 Average number of words per sentence                  31.68
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     17.25
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    12.26
 Flesch Kincaid Grade level                            16.78
 ARI (Automated Readability Index)                     17.61
 SMOG                                                  16.05
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   31.21


Google Terms of Service (March 31, 2020)
 Number of characters (without spaces)                 19,718.00
 Number of words                                       3,978.00
 Number of sentences                                   130.00
 Lexical Density:                                      53.62
 Average number of characters per word                 4.96
 Average number of syllables per word                  1.71
 Average number of words per sentence                  30.60
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     17.14
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    12.41
 Flesch Kincaid Grade level                            16.49
 ARI (Automated Readability Index)                     17.22
 SMOG                                                  16.04
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   31.35
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                                                                                                   2




Google Terms of Service (October 25, 2017)
 Number of characters (without spaces)                 9,349.00
 Number of words                                       1,920.00
 Number of sentences                                   98.00
 Lexical Density                                       49.90
 Average number of characters per word                 4.87
 Average number of syllables per word                  1.71
 Average number of words per sentence                  19.59
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     12.34
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    11.35
 Flesch Kincaid Grade level                            12.23
 ARI (Automated Readability Index)                     11.30
 SMOG                                                  13.63
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   42.29


Google Terms of Service (April 14, 2014)
 Number of characters (without spaces)                 9,347.00
 Number of words                                       1,920.00
 Number of sentences                                   99.00
 Lexical Density:                                      49.90
 Average number of characters per word                 4.87
 Average number of syllables per word                  1.71
 Average number of words per sentence                  19.39
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     12.24
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.33
 Flesch Kincaid Grade level                            12.14
 ARI (Automated Readability Index)                     11.20
 SMOG                                                  13.56
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   42.54
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Google Privacy Policy
      18 versions from March 25, 2016 to February 10, 2022.
      Total number of words: 112,825
      Flesch Reading Ease range: 36.63 to 27.21; highest score 36.79 (increasingly difficult to read)



Google Privacy Policy (February 10, 2022)
 Number of characters (without spaces)                 28,275.00
 Number of words                                       5,528.00
 Number of sentences                                   205.00
 Lexical Density:                                      55.25
 Average number of characters per word                 5.11
 Average number of syllables per word                  1.80
 Average number of words per sentence                  26.97
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     16.58
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    13.21
 Flesch Kincaid Grade level                            16.16
 ARI (Automated Readability Index)                     16.14
 SMOG                                                  15.68
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   27.21


Google Privacy Policy (July 1, 2021)
 Number of characters (without spaces)                 43,242.00
 Number of words                                       8,579.00
 Number of sentences                                   357.00
 Lexical Density                                       54.75
 Average number of characters per word                 5.04
 Average number of syllables per word                  1.77
 Average number of words per sentence                  24.03
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.11
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    12.64
 Flesch Kincaid Grade level                            14.63
 ARI (Automated Readability Index)                     14.33
 SMOG                                                  14.64
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   32.97
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                                                                                                   4




Google Privacy Policy (February 4, 2021)
 Number of characters (without spaces)                 42,947.00
 Number of words                                       8,515.00
 Number of sentences                                   354.00
 Lexical Density                                       54.76
 Average number of characters per word                 5.04
 Average number of syllables per word                  1.77
 Average number of words per sentence                  24.05
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.13
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.66
 Flesch Kincaid Grade level                            14.65
 ARI (Automated Readability Index)                     14.35
 SMOG                                                  14.66
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   32.88


Google Privacy Policy (September 30, 2020)
 Number of characters (without spaces)                 42,583.00
 Number of words                                       8,446.00
 Number of sentences                                   353.00
 Lexical Density                                       54.70
 Average number of characters per word                 5.04
 Average number of syllables per word                  1.77
 Average number of words per sentence                  23.93
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.11
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    12.64
 Flesch Kincaid Grade level                            14.60
 ARI (Automated Readability Index)                     14.28
 SMOG                                                  14.61
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   32.98
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Google Privacy Policy (August 28, 2020)
 Number of characters (without spaces)                 42,756.00
 Number of words                                       8,488.00
 Number of sentences                                   358.00
 Lexical Density                                       54.72
 Average number of characters per word                 5.04
 Average number of syllables per word                  1.77
 Average number of words per sentence                  23.71
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.01
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    12.60
 Flesch Kincaid Grade level                            14.50
 ARI (Automated Readability Index)                     14.15
 SMOG                                                  14.55
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   33.31


Google Privacy Policy (July 1, 2020)
 Number of characters (without spaces)               42,684.00
 Number of words                                     8,476.00
 Number of sentences                                  357.00
 Lexical Density                                      54.71
 Average number of characters per word               5.04
 Average number of syllables per word                1.77
 Average number of words per sentence                23.74
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                   15.02
 Approximate representation of the U.S. grade level needed to comprehend the text

 Coleman Liau index                                    12.60
 Flesch Kincaid Grade level                            14.51
 ARI (Automated Readability Index)                     14.16
 SMOG                                                  14.55
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   33.30
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Google Privacy Policy (March 31, 2020)
 Number of characters (without spaces)                 39,932.00
 Number of words                                       7,954.00
 Number of sentences                                   337.00
 Lexical Density                                       54.63
 Average number of characters per word                 5.02
 Average number of syllables per word                  1.76
 Average number of words per sentence                  23.60
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.86
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.50
 Flesch Kincaid Grade level                            14.39
 ARI (Automated Readability Index)                     14.02
 SMOG                                                  14.47
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   33.93


Google Privacy Policy (December 19, 2019)
 Number of characters (without spaces)                 39,638.00
 Number of words                                       7,892.00
 Number of sentences                                   330.00
 Lexical Density                                       54.60
 Average number of characters per word                 5.02
 Average number of syllables per word                  1.76
 Average number of words per sentence                  23.92
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.02
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.53
 Flesch Kincaid Grade level                            14.52
 ARI (Automated Readability Index)                     14.18
 SMOG                                                  14.57
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   33.52
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Google Privacy Policy (October 15, 2019)
 Number of characters (without spaces)                 37,106.00
 Number of words                                       7,441.00
 Number of sentences                                   303.00
 Lexical Density                                       54.47
 Average number of characters per word                 4.99
 Average number of syllables per word                  1.75
 Average number of words per sentence                  24.56
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.12
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.35
 Flesch Kincaid Grade level                            14.64
 ARI (Automated Readability Index)                     14.34
 SMOG                                                  14.55
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   33.87


Google Privacy Policy (January 22, 2019)
 Number of characters (without spaces)                 36,330.00
 Number of words                                       7,276.00
 Number of sentences                                   298.00
 Lexical Density                                       54.60
 Average number of characters per word                 4.99
 Average number of syllables per word                  1.75
 Average number of words per sentence                  24.42
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.07
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.38
 Flesch Kincaid Grade level                            14.57
 ARI (Automated Readability Index)                     14.30
 SMOG                                                  14.52
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   34.07
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Google Privacy Policy (May 25, 2018)
 Number of characters (without spaces)                 36,114.00
 Number of words                                       7,233.00
 Number of sentences                                   297.00
 Lexical Density                                       54.62
 Average number of characters per word                 4.99
 Average number of syllables per word                  1.75
 Average number of words per sentence                  24.35
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.02
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.38
 Flesch Kincaid Grade level                            14.55
 ARI (Automated Readability Index)                     14.26
 SMOG                                                  14.49
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   34.12


Google Privacy Policy (December 18, 2017)
 Number of characters (without spaces)                 13,998.00
 Number of words                                       2,707.00
 Number of sentences                                   116.00
 Lexical Density                                       53.97
 Average number of characters per word                 5.17
 Average number of syllables per word                  1.82
 Average number of words per sentence                  23.34
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     15.69
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    13.37
 Flesch Kincaid Grade level                            14.94
 ARI (Automated Readability Index)                     14.59
 SMOG                                                  15.19
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   29.54
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Google Privacy Policy (October 2, 2017)
 Number of characters (without spaces)                 20,722.00
 Number of words                                       4,086.00
 Number of sentences                                   193.00
 Lexical Density                                       53.57
 Average number of characters per word                 5.07
 Average number of syllables per word                  1.76
 Average number of words per sentence                  21.17
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.13
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.65
 Flesch Kincaid Grade level                            13.43
 ARI (Automated Readability Index)                     13.04
 SMOG                                                  13.97
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   36.50


Google Privacy Policy (April 17, 2017)
 Number of characters (without spaces)                 20,675.00
 Number of words                                       4,078.00
 Number of sentences                                   194.00
 Lexical Density                                       53.51
 Average number of characters per word                 5.07
 Average number of syllables per word                  1.76
 Average number of words per sentence                  21.02
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.05
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.63
 Flesch Kincaid Grade level                            13.36
 ARI (Automated Readability Index)                     12.96
 SMOG                                                  13.91
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   36.69
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Google Privacy Policy (March 1, 2017)
 Number of characters (without spaces)                 20,663.00
 Number of words                                       4,075.00
 Number of sentences                                   194.00
 Lexical Density                                       53.52
 Average number of characters per word                 5.07
 Average number of syllables per word                  1.76
 Average number of words per sentence                  21.01
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.05
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.64
 Flesch Kincaid Grade level                            13.36
 ARI (Automated Readability Index)                     12.96
 SMOG                                                  13.91
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   36.68


Google Privacy Policy (August 29, 2016)
 Number of characters (without spaces)                 20,673.00
 Number of words                                       4,075.00
 Number of sentences                                   194.00
 Lexical Density                                       53.52
 Average number of characters per word                 5.07
 Average number of syllables per word                  1.76
 Average number of words per sentence                  21.01
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.05
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.65
 Flesch Kincaid Grade level                            13.36
 ARI (Automated Readability Index)                     12.97
 SMOG                                                  13.91
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   36.66
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Google Privacy Policy (June 28, 2016)
 Number of characters (without spaces)                 20,613.00
 Number of words                                       4,064.00
 Number of sentences                                   194.00
 Lexical Density                                       53.47
 Average number of characters per word                 5.07
 Average number of syllables per word                  1.76
 Average number of words per sentence                  20.95
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.02
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.64
 Flesch Kincaid Grade level                            13.33
 ARI (Automated Readability Index)                     12.93
 SMOG                                                  13.89
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   36.79


Google Privacy Policy (March 25, 2016)
 Number of characters (without spaces)                 19,867.00
 Number of words                                       3,912.00
 Number of sentences                                   188.00
 Lexical Density                                       53.43
 Average number of characters per word                 5.08
 Average number of syllables per word                  1.76
 Average number of words per sentence                  20.81
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.01
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.67
 Flesch Kincaid Grade level                            13.32
 ARI (Automated Readability Index)                     12.89
 SMOG                                                  13.89
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   36.63
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Chrome Privacy Notice
20 versions from September 1, 2015 to January 15, 2021
Total number of words: 85,013
Flesch Reading Ease range: 41.97 to 48.10; highest score 48.31 (consistently difficult to read)



Chrome Privacy Notice (September 23, 2021)
 Number of characters (without spaces):                23,210.00
 Number of words                                       4,685.00
 Number of sentences                                   270.00
 Lexical Density                                       55.75
 Average number of characters per word                 4.95
 Average number of syllables per word                  1.67
 Average number of words per sentence                  17.35
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.45
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    11.65
 Flesch Kincaid Grade level                            10.86
 ARI (Automated Readability Index)                     10.58
 SMOG                                                  12.18
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   48.10


Chrome Privacy Notice (January 15, 2021)
 Number of characters (without spaces)                 23,439.00
 Number of words                                       4,727.00
 Number of sentences                                   271.00
 Lexical Density                                       55.87
 Average number of characters per word                 4.96
 Average number of syllables per word                  1.67
 Average number of words per sentence                  17.44
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.52
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.69
 Flesch Kincaid Grade level                            10.92
 ARI (Automated Readability Index)                     10.65
 SMOG                                                  12.22
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   47.83
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Chrome Privacy Notice (May 20, 2020)
Number of characters (without spaces)                 23,069.00
Number of words                                       4,657.00
Number of sentences                                   267.00
Lexical Density                                       56.04
Average number of characters per word                 4.95
Average number of syllables per word                  1.67
Average number of words per sentence                  17.44
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                     11.49
Approximate representation of the U.S. grade level needed to comprehend the text:
Coleman Liau index                                    11.66
Flesch Kincaid Grade level                            10.90
ARI (Automated Readability Index)                     10.62
SMOG                                                  12.19
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
Flesch Reading Ease                                   48.00


Chrome Privacy Notice (March 17, 2020)
Number of characters (without spaces)                 22,657.00
Number of words                                       4,584.00
Number of sentences                                   263.00
Lexical Density                                       56.04
Average number of characters per word                 4.94
Average number of syllables per word                  1.66
Average number of words per sentence                  17.43
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                     11.44
Approximate representation of the U.S. grade level needed to comprehend the text:
Coleman Liau index                                    11.59
Flesch Kincaid Grade level                            10.85
ARI (Automated Readability Index)                     10.56
SMOG                                                  12.14
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
Flesch Reading Ease                                   48.31
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Chrome Privacy Notice (December 10, 2019)
 Number of characters (without spaces)                 22,875.00
 Number of words                                       4,622.00
 Number of sentences                                   264.00
 Lexical Density                                       56.04
 Average number of characters per word                 4.95
 Average number of syllables per word                  1.67
 Average number of words per sentence                  17.51
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.52
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.64
 Flesch Kincaid Grade level                            10.90
 ARI (Automated Readability Index)                     10.63
 SMOG                                                  12.19
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   48.13


Chrome Privacy Notice (October 31, 2019)
 Number of characters (without spaces)                 21,829.00
 Number of words                                       4,385.00
 Number of sentences                                   255.00
 Lexical Density                                       56.37
 Average number of characters per word                 4.98
 Average number of syllables per word                  1.68
 Average number of words per sentence                  17.20
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.51
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.78
 Flesch Kincaid Grade level                            10.91
 ARI (Automated Readability Index)                     10.61
 SMOG                                                  12.22
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   47.46
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Chrome Privacy Notice (March 12, 2019)
 Number of characters (without spaces)                 21,613.00
 Number of words                                       4,342.00
 Number of sentences                                   254.00
 Lexical Density                                       56.40
 Average number of characters per word                 4.98
 Average number of syllables per word                  1.68
 Average number of words per sentence                  17.09
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.48
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.76
 Flesch Kincaid Grade level                            10.88
 ARI (Automated Readability Index)                     10.56
 SMOG                                                  12.21
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   47.48


Chrome Privacy Notice (January 30, 2019)
 Number of characters (without spaces)                 21,965.00
 Number of words                                       4,408.00
 Number of sentences                                   257.00
 Lexical Density                                       56.33
 Average number of characters per word                 4.98
 Average number of syllables per word                  1.68
 Average number of words per sentence                  17.15
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.54
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.80
 Flesch Kincaid Grade level                            10.94
 ARI (Automated Readability Index)                     10.62
 SMOG                                                  12.24
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   47.19
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Chrome Privacy Notice (December 04, 2018)
 Number of characters (without spaces)                 21,349.00
 Number of words                                       4,288.00
 Number of sentences                                   250.00
 Lexical Density                                       56.41
 Average number of characters per word                 4.98
 Average number of syllables per word                  1.68
 Average number of words per sentence                  17.15
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.54
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.78
 Flesch Kincaid Grade level                            10.95
 ARI (Automated Readability Index)                     10.60
 SMOG                                                  12.24
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   47.10


Chrome Privacy Notice (October 24, 2018)
 Number of characters (without spaces)                 21,325.00
 Number of words                                       4,278.00
 Number of sentences                                   249.00
 Lexical Density                                       56.52
 Average number of characters per word                 4.98
 Average number of syllables per word                  1.68
 Average number of words per sentence                  17.18
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.55
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.81
 Flesch Kincaid Grade level                            10.97
 ARI (Automated Readability Index)                     10.64
 SMOG                                                  12.24
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   46.99
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Chrome Privacy Notice (September 24, 2018)
Number of characters (without spaces)                 21,235.00
Number of words                                       4,254.00
Number of sentences                                   242.00
Lexical Density                                       56.42
Average number of characters per word                 4.99
Average number of syllables per word                  1.69
Average number of words per sentence                  17.58
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                     11.71
Approximate representation of the U.S. grade level needed to comprehend the text:
Coleman Liau index                                    11.89
Flesch Kincaid Grade level                            11.17
ARI (Automated Readability Index)                     10.87
SMOG                                                  12.37
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
Flesch Reading Ease                                   46.26


Chrome Privacy Notice (March 6, 2018)
Number of characters (without spaces)                 21,188.00
Number of words                                       4,240.00
Number of sentences                                   237.00
Lexical Density                                       56.39
Average number of characters per word                 5.00
Average number of syllables per word                  1.69
Average number of words per sentence                  17.89
Indication of the number of years of formal education that a person requires in order to easily
understand the text on the first reading
Gunning Fog index                                     11.86
Approximate representation of the U.S. grade level needed to comprehend the text:
Coleman Liau index                                    11.96
Flesch Kincaid Grade level                            11.32
ARI (Automated Readability Index)                     11.05
SMOG                                                  12.47
Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
Flesch Reading Ease                                   45.73
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Chrome Privacy Notice (April 25, 2017)
 Number of characters (without spaces)                 21,037.00
 Number of words                                       4,206.00
 Number of sentences                                   237.00
 Lexical Density                                       56.28
 Average number of characters per word                 5.00
 Average number of syllables per word                  1.69
 Average number of words per sentence                  17.75
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.85
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.97
 Flesch Kincaid Grade level                            11.30
 ARI (Automated Readability Index)                     11.00
 SMOG                                                  12.48
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   45.67


Chrome Privacy Notice (March 7, 2017)
 Number of characters (without spaces)                 20,228.00
 Number of words                                       4,052.00
 Number of sentences                                   231.00
 Lexical Density                                       56.24
 Average number of characters per word                 4.99
 Average number of syllables per word                  1.69
 Average number of words per sentence                  17.54
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.74
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.89
 Flesch Kincaid Grade level                            11.19
 ARI (Automated Readability Index)                     10.85
 SMOG                                                  12.42
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   46.10
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Chrome Privacy Notice (January 24, 2017
 Number of characters (without spaces)                 19,484.00
 Number of words                                       3,890.00
 Number of sentences                                   221.00
 Lexical Density                                       56.48
 Average number of characters per word                 5.01
 Average number of syllables per word                  1.69
 Average number of words per sentence                  17.60
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.79
 Approximate representation of the U.S. grade level needed to comprehend the text
 Coleman Liau index                                    12.00
 Flesch Kincaid Grade level                            11.27
 ARI (Automated Readability Index)                     10.96
 SMOG                                                  12.48
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   45.61


Chrome Privacy Notice (November 30, 2016)
 Number of characters (without spaces)                 19,859.00
 Number of words                                       3,963.00
 Number of sentences                                   222.00
 Lexical Density                                       56.50
 Average number of characters per word                 5.01
 Average number of syllables per word                  1.70
 Average number of words per sentence                  17.85
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.92
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    12.03
 Flesch Kincaid Grade level                            11.39
 ARI (Automated Readability Index)                     11.10
 SMOG                                                  12.58
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   45.22
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Chrome Privacy Notice (October 11, 2016)
 Number of characters (without spaces)                 19,333.00
 Number of words                                       3,867.00
 Number of sentences                                   218.00
 Lexical Density                                       56.37
 Average number of characters per word                 5.00
 Average number of syllables per word                  1.69
 Average number of words per sentence                  17.74
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.84
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.96
 Flesch Kincaid Grade level                            11.27
 ARI (Automated Readability Index)                     10.99
 SMOG                                                  12.47
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   45.86


Chrome Privacy Notice (August 30, 2016)
 Number of characters (without spaces)                 19,172.00
 Number of words                                       3,840.00
 Number of sentences                                   216.00
 Lexical Density                                       56.43
 Average number of characters per word                 4.99
 Average number of syllables per word                  1.69
 Average number of words per sentence                  17.78
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.81
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.92
 Flesch Kincaid Grade level                            11.27
 ARI (Automated Readability Index)                     10.97
 SMOG                                                  12.49
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   45.94
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Chrome Privacy Notice (June 21, 2016)
 Number of characters (without spaces)                 18,634.00
 Number of words                                       3,724.00
 Number of sentences                                   212.00
 Lexical Density                                       56.61
 Average number of characters per word                 5.00
 Average number of syllables per word                  1.69
 Average number of words per sentence                  17.57
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     11.74
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.96
 Flesch Kincaid Grade level                            11.21
 ARI (Automated Readability Index)                     10.92
 SMOG                                                  12.46
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   45.98


Chrome Privacy Notice (September 1, 2015)
 Number of characters (without spaces)                 19,611.00
 Number of words                                       4,001.00
 Number of sentences                                   165.00
 Lexical Density                                       54.71
 Average number of characters per word                 4.90
 Average number of syllables per word                  1.66
 Average number of words per sentence                  24.25
 Indication of the number of years of formal education that a person requires in order to easily
 understand the text on the first reading
 Gunning Fog index                                     14.05
 Approximate representation of the U.S. grade level needed to comprehend the text:
 Coleman Liau index                                    11.83
 Flesch Kincaid Grade level                            13.43
 ARI (Automated Readability Index)                     13.78
 SMOG                                                  13.66
 Scale of 1-100, with lower scores more difficult to read and higher scores easier to read:
 Flesch Reading Ease                                   41.97
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Method

The texts of the current and archived versions of the following documents were copied and entered into
the Readability Calculator at https://www.online-utility.org/english/readability_test_and_improve.jsp
(accessed March 8, 2022):

       Google Terms of Service: https://policies.google.com/terms?hl=en-US
       Google Privacy Policy: https://policies.google.com/privacy?hl=en-US
       Google Chrome Privacy Notice: https://www.google.com/chrome/privacy
The Readability Calculator applies a variety of mathematical formulae to analyze the readability and
comprehensibility of a text. The measures cited here are commonly used formulas for determining the
readability of texts in English.



Readability Formulas

Gunning-Fog Index
https://en.wikipedia.org/wiki/Gunning_fog_index
In linguistics, the Gunning fog index is a readability test for English writing. The index estimates the
years of formal education a person needs to understand the text on the first reading. For instance, a fog
index of 12 requires the reading level of a United States high school senior (around 18 years old). The test
was developed in 1952 by Robert Gunning, an American businessman who had been involved in
newspaper and textbook publishing.
The Gunning fog index is calculated with the following algorithm:

       Select a passage (such as one or more full paragraphs) of around 100 words. Do not omit any
        sentences;
       Determine the average sentence length. (Divide the number of words by the number of
        sentences.);
       Count the “complex” words consisting of three or more syllables. Do not include proper nouns,
        familiar jargon, or compound words. Do not include common suffixes (such as -es, -ed, or -ing)
        as a syllable;
       Add the average sentence length and the percentage of complex words; and
       Multiply the result by 0.4.
The complete formula is
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Coleman Liau index
https://en.wikipedia.org/wiki/Coleman%E2%80%93Liau_index
The Coleman–Liau index is a readability test designed by Meri Coleman and T. L. Liau to gauge the
understandability of a text. Like the Flesch–Kincaid Grade Level, Gunning fog index, SMOG index, and
Automated Readability Index, its output approximates the U.S. grade level thought necessary to
comprehend the text.
Like the ARI but unlike most of the other indices, Coleman–Liau relies on characters instead of syllables
per word. Although opinion varies on its accuracy as compared to the syllable/word and complex word
indices, characters are more readily and accurately counted by computer programs than are syllables.
The Coleman–Liau index is calculated with the following formula:


L is the average number of letters per 100 words and S is the average number of sentences per 100 words.



Flesch Kincaid Grade level
https://en.wikipedia.org/wiki/Flesch%E2%80%93Kincaid_readability_tests
These readability tests are used extensively in the field of education. The “Flesch–Kincaid Grade Level
Formula” instead presents a score as a U.S. grade level, making it easier for teachers, parents, librarians,
and others to judge the readability level of various books and texts. It can also mean the number of years
of education generally required to understand this text, relevant when the formula results in a number
greater than 10. The grade level is calculated with the following formula:




The result is a number that corresponds with a U.S. grade level.



ARI (Automated Readability Index)
https://en.wikipedia.org/wiki/Automated_readability_index
The automated readability index (ARI) is a readability test for English texts, designed to gauge the
understandability of a text. Like the Flesch–Kincaid grade level, Gunning fog index, SMOG index, Fry
readability formula, and Coleman–Liau index, it produces an approximate representation of the US grade
level needed to comprehend the text.
The formula for calculating the automated readability index is given below:




where characters is the number of letters and numbers, words is the number of spaces, and sentences is
the number of sentences, which were counted manually by the typist when the above formula was
developed. Non-integer scores are always rounded up to the nearest whole number, so a score of 10.1 or
10.6 would be converted to 11.
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Unlike the other indices, the ARI, along with the Coleman–Liau, relies on a factor of characters per word,
instead of the usual syllables per word. Although opinion varies on its accuracy as compared to the
syllables/word and complex words indices, characters/word is often faster to calculate, as the number of
characters is more readily and accurately counted by computer programs than syllables. In fact, this index
was designed for real-time monitoring of readability on electric typewriters.



SMOG (Simple Measure of Gobbledygook)
https://en.wikipedia.org/wiki/SMOG
The SMOG grade is a measure of readability that estimates the years of education needed to understand a
piece of writing. SMOG is an acronym for “Simple Measure of Gobbledygook”.
The formula for calculating the SMOG grade was developed by G. Harry McLaughlin as a more accurate
and more easily calculated substitute for the Gunning fog index and published in 1969. To make
calculating a text's readability as simple as possible an approximate formula was also given — count the
words of three or more syllables in three 10-sentence samples, estimate the count's square root (from the
nearest perfect square), and add 3.
To calculate SMOG Index

       Count a number of sentences (at least 30)
       In those sentences, count the polysyllables (words of 3 or more syllables).
       Calculate using




Flesch Reading Ease
https://en.wikipedia.org/wiki/Flesch%E2%80%93Kincaid_readability_tests
In the Flesch reading-ease test, higher scores indicate material that is easier to read; lower numbers mark
passages that are more difficult to read. The formula for the Flesch reading-ease score (FRES) test is:




Scores can be interpreted as shown in the table below.

 Score             School level (US)        Notes
 100.00–90.00      5th grade                Very easy to read. Easily understood by an average 11-year-
                                            old student.
 90.0–80.0         6th grade                Easy to read. Conversational English for consumers.
 80.0–70.0         7th grade                Fairly easy to read.
 70.0–60.0         8th & 9th grade          Plain English. Easily understood by 13- to 15-year-old
                                            students.
 60.0–50.0         10th to 12th grade       Fairly difficult to read.
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 50.0–30.0         College                  Difficult to read.
 30.0–10.0         College graduate         Very difficult to read. Best understood by university
                                            graduates.
 10.0–0.0          Professional             Extremely difficult to read. Best understood by university
                                            graduates.




Lexical Density
https://en.wikipedia.org/wiki/Lexical_density
Lexical density is a concept in computational linguistics that measures the structure and complexity of
human communication in a language.[1] Lexical density estimates the linguistic complexity in a written
or spoken composition from the functional words (grammatical units) and content words (lexical units,
lexemes). One method to calculate the lexical density is to compute the ratio of lexical items to the total
number of words. Another method is to compute the ratio of lexical items to the number of higher
structural items in a composition, such as the total number of clauses in the sentences.

Ure proposed the following formula in 1971 to compute the lexical density of a sentence

        Ld = The number of lexical items/The total number of
        words * 100
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                    EXHIBIT 76

             4/15/22 EXPERT
               REPORT OF
               GEORGIOS
              ZERVAS, PHD
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                    UNITED STATES DISTRICT COURT

     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION



   CHASOM BROWN, WILLIAM BYATT,
   JEREMY DAVIS, CHRISTOPHER                          Case No. 5:20-cv-03664-YGR
   CASTILLO, and MONIQUE TRUJILLO,
   individually and on behalf of all other
   similarly situated,

                Plaintiff,
       v.
   GOOGLE LLC,
             Defendants.




             EXPERT REPORT OF GEORGIOS ZERVAS, PHD

                               APRIL 15, 2022
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        I.        EXECUTIVE SUMMARY

             1.   I have been engaged in this matter by counsel for Google LLC (“Google”) to

explain certain aspects of the technology at issue, including features and operation of Private

Browsing Modes 1 in Chrome and other browsers, and data transmissions that occur when a user

visits websites in Regular or Private Browsing Mode. Based on my experience, the materials I

reviewed in this matter, and my testing of Chrome and other browsers, I have reached the following

opinions.


Opinion 1 (See Section IV)

             2.   Private Browsing Modes ensure that other people who use the same device won’t

see the user’s activity after the Private Browsing Session is closed. Private Browsing Modes also

ensure that cookie values generated during the Private Browsing Session cannot be used to provide

a link to the user or her device after the session is closed.

             3.   Private Browsing Modes on the major browsers provide similar functionality, with

some differences in implementation between browsers. For example, Google describes that

Incognito Mode in Chrome will not save information like browser history and cookies after the

Incognito session ends, so that other people who use the same device won’t see the user’s Incognito

browsing activity. Other companies like Apple (Safari), Microsoft (Edge), and Mozilla (Firefox)




1
    Throughout this report, I use the term “Private Browsing Mode” to refer generally to private
    browsing modes of various browsers, and I use the term “Private Browsing Session” to refer
    to browsing sessions where the browser is in Private Browsing Mode. I use the term “Incognito
    Mode” or simply “Incognito” to refer to the Private Browsing Mode of the Chrome browser in
    particular. I use the term “Regular Mode” to refer to browsing modes other than Private
    Browsing Mode. Regular Mode can encompass multiple modes of browser operation
    depending, for example, on a user’s sign-in state.

                                                   1
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describe the Private Browsing Modes of their browsers in a similar manner—in each case, the

browser will not save browsing activity data after the Private Browsing Session ends.

         4.    The way browsers accomplish this is to start a Private Browsing Session with a

“clean” browser—when the session starts, the user is not logged into her accounts and browsing

history or cookies from prior sessions are not accessible within the Private Browsing Session.

Then, when the user ends the Private Browsing Session, the browser discards any browsing history

or cookies that were stored by the browser during the Private Browsing Session, so that data is not

accessible in subsequent sessions. By starting with a “clean” browser when Private Browsing

Mode is launched, and discarding data associated with the user’s browsing activity when the

session is closed, Private Browsing Modes ensure that other people who use the same device won’t

see the user’s activity from the Private Browsing Session. This also ensures that the cookie values

generated during the Private Browsing Session cannot be used to provide a link to the user or her

device after that session is closed, unless the user explicitly enables a website to make this

association by signing into the website during the Private Browsing Session, or enables Google to

do so by signing into their Google account during the Private Browsing Session.

         5.    As demonstrated in this report, I have tested the Private Browsing Modes of the

major browsers on several popular operating systems and have confirmed that the Private

Browsing Modes work as described in public documentation. For example, I tested the Chrome

browser by visiting websites in Regular and Incognito mode, and observed that in subsequent

Regular Mode sessions only the websites that I visited in Regular Mode were shown in the browser

history—the websites I visited in Incognito mode were not recorded in the browser history. My

tests further confirmed that Private Browsing Modes (1) prevent browsing history from being

saved on the device, (2) prevent the user and browser in Private Browsing Sessions from accessing

                                                2
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browsing history and cookies from Regular Mode sessions, and (3) discard cookies placed on the

browser during the Private Browsing Session when that session is closed. I also performed tests

confirming that users are not logged into any accounts (including Google accounts) upon initiation

of a Private Browsing Session, and browser download records and “autofill” information from a

Private Browsing Session are not available after that session is closed.

          6.    Because cookie values associated with Private Browsing Sessions are not shared

with other browsing sessions, this information cannot be used to link the Private Browsing Mode

activity to a user or her device after that Private Browsing Session is closed. Based on my

experience, information I have reviewed, and testing I have performed, it is also my opinion that,

to the extent Google receives cookie values when a user (who is not logged into a Google account)

visits in Private Browsing Mode a third-party website containing Google analytics or advertising

code, those cookie values would be distinct from any cookie values that Google may receive when

the user is in Regular Mode. As a result, these cookie values cannot be used to link the Private

Browsing Mode activities to a user or her device after that Private Browsing Session is closed,

which would prevent Google from using the cookie values to create a “cradle-to-grave profile of

users,” as Plaintiffs allege.

          7.    Private Browsing Modes do not and are not designed to provide users complete

anonymity or invisibility as they browse the web. Even in Private Browsing Mode, web browsing

necessarily involves transmission of messages from a user’s browser—otherwise the webpages

would not render. The transmission of those messages must conform to protocols and standards,

such as the HTTP protocol, and include information such as IP addresses.




                                                 3
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Opinion 2 (See Section V)

         8.    Whether Google receives information when a user in a Private Browsing Mode

visits a third-party website that uses Google services, and how that information can be used if

received by Google, depends on multiple choices available to website developers and users. There

are several settings available to websites that use products like Google Analytics or Google Ad

Manager that will impact data transmissions to Google. User settings also impact data

transmissions to Google that may occur when the user visits such a website.

         9.    Private Browsing Modes are not designed to block all communications between the

browser and third-party web-services that the website owner has incorporated in their website.

And those communications would necessarily conform to multiple industry standards and

protocols, including HTTP messages with required fields and IP addresses required to deliver those

HTTP messages. However, browsers (including Chrome) have numerous other settings and

available features that prevent the transmission of certain categories of At-Issue Data. These

settings include, but are not limited to, cookie settings, JavaScript extensions and settings, and

various extensions and standalone applications that are designed to prevent certain data

transmissions. I have tested these features in both Private Browsing Mode and Regular Mode. My

tests confirm that they function as explained in public documentation and that they impact data

transmissions to Google, whether or not the user is browsing in Private Browsing Mode. And even

though my tests focus separately on each setting, users can use combinations of these settings and

extensions to select the optimal balance of privacy and user experience.




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       II.     INTRODUCTION

       A.      Qualifications

        10.    I am an Associate Professor of Marketing at Boston University Questrom School

of Business, a founding member of the Faculty of Computing & Data Sciences, and Affiliated

Faculty of the Department of Computer Science. I am also a visiting researcher at Microsoft

Research New England. Prior to joining the Boston University faculty, I held academic roles

including visiting scholar at the MIT Sloan School of Management, Simons Postdoctoral Fellow

at Yale University, and affiliate at the Center for Research on Computation and Society at Harvard

University’s John A. Paulson School of Engineering and Applied Sciences. I am an associate editor

of ACM Transactions on Economics and Computation, and I sit on the editorial review boards of

Marketing Science, the Journal of Marketing Research, and the Journal of Marketing.

        11.    My research, which falls in the broader area of digitization, combines methods from

computer science and economics to study online marketplaces to understand their impact on

consumer and firm behavior. I have conducted studies on online marketplaces such as Airbnb,

Yelp, TripAdvisor, and Expedia. My work is empirical in nature and relies on assembling and

analyzing novel sources of data that I collect from these marketplaces to study their operation. I

hold a Bachelor of Engineering and a Master of Science in Computer Science from Imperial

College in London, a Master of Arts in Interactive Media from London College of Communication,

and a Ph.D. in Computer Science from Boston University. Before pursuing my Ph.D. in computer

science, I ran a small information technology (IT) company. My C.V. is attached as Appendix A,

and a list of my prior testimony is attached as Appendix B.

        12.    I am being compensated at the rate of $700 per hour for my time on this case.

Research and analysis for this report was also performed by Analysis Group personnel under my


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direction and guidance. My compensation is not contingent upon my findings, the testimony I may

give, or the outcome of this litigation.

       B.         Summary of Plaintiffs’ Allegations

        13.       It is my understanding that the alleged Class Period in this case is June 1, 2016

through the present. 2 I further understand that Plaintiffs allege that Google improperly intercepted,

received, or collected data from Chrome browser users and non-Chrome browser users who (i)

have a Google account; (ii) accessed a non-Google website containing “Google tracking or

advertising code;” while (iii) having private browsing mode enabled in a browser; and (iv) not

logging into a Google account. 3

        14.       I understand Plaintiffs allege that Google, by means of services like Google

Analytics, “fingerprinting” techniques, “concurrent Google applications and processes on a

consumer’s device,” and Google Ad Manager, collects the following categories of information that

enable Google to identify users, their devices, and activity (“At-Issue Data”). Specifically, the At-

Issue Data includes the following:

       a.         GET requests a browser sends to a website instructing what information to display

in the browser.

       b.         IP address of the browser’s connection to the internet.

       c.         Information identifying the browser software that the user is using, including any

“fingerprinting” data.

       d.         Any “User-ID” issued by the website to the user.



2
    Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States
    District Court Northern District of California, February 3, 2022 (“Complaint”), ¶ 2.
3
    Complaint, ¶ 192.

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        e.      Geolocation of the user.

        f.      Information contained in “Google cookies.” 4,5

        15.     I further understand Plaintiffs allege that Google builds “profiles” on individuals

and their devices “[b]y tracking, collecting and intercepting users’ (including Plaintiffs’ and Class

members’) personal communications indiscriminately—regardless of whether users attempted to

avoid such tracking pursuant to Google’s instructions—Google has gained a complete, cradle-to-

grave profile of users.” 6

        16.     I understand Plaintiffs further allege that: 7

                a.      In many cases, Google is able to associate the data collected from
        users in “private browsing mode” with specific and unique user profiles through
        Google Analytics User-ID. Google does this by making use of a combination of the
        unique identifier of the user it collects from Websites, and Google Cookies that it
        collects across the internet on the same user;
                b.      Information collected from Google Cookies, which includes
        identifying information regarding the user from private browsing sessions and non-
        private browsing sessions, across multiple sessions;
               c.     Identifying information regarding the consumer from various
        Google fingerprinting technologies that uniquely identify the device, such as X-
        Client-Data Header, GStatic, and Approved Pixels;
               d.     Geolocation data that Google collects from concurrent Google
        processes and system information, such as from the Android Operating System;
        and
               e.      The IP address information, which is transmitted to Google’s servers
        during the private and non-private browsing sessions. Google correlates and
        aggregates all of this information to create profiles on the consumers.




4
    Complaint, ¶¶ 8, 63, 69-70, 100, 105-108.
5
    I also understand that Plaintiffs refer to the X-Client-Data header as a field they contend to be
    used to identify Incognito users. See Complaint, ¶ 96.
6
    Complaint, ¶ 93.
7
    Complaint, ¶ 93.

                                                    7
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       C.      Assignment

        17.    I have been engaged by counsel for Google to explain the relevant technology at

issue: Private Browsing Modes in Chrome and other browsers and Google’s advertising or

analytics services offered to third party websites. My opinions are described in this report.

Specifically, I was asked to explain and analyze:

       a.      how internet communications and web browsing operate;

       b.      how Private Browsing Modes operate across different browsers and operating

systems;

       c.      how Google’s analytics and advertising products operate and which information

they require to function;

       d.      what data is transmitted to Google when a user visits a website that uses Google

analytics and advertising products in Private Browsing Mode, and how those transmissions are

impacted by user and website owner settings.

       D.      Facts and Data Considered

        18.    In forming my opinions, I have relied upon my professional and academic

experience and reviewed documents obtained from public sources. These materials include data

produced from my experiments discussed in this report. I have also reviewed and relied upon the

deposition testimony of Google witnesses and documents produced by Google in this case.

        19.    The sources I considered in forming my opinions are identified in this report and

the accompanying exhibits and are listed in the attached Appendix C.

        20.    Should additional relevant documents or information be made available to me, I

reserve the right to supplement my opinions as appropriate.



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        III.   BACKGROUND

        A.     How Internet Communications Operate

         21.   The Internet can be understood as a network connecting computing devices (e.g.,

desktop computers, laptops, phones, TVs, tablets, and home appliances). These computing devices

are connected by communication links such as cables and radio spectrum systems that transmit

data between them. Because these communication links have constraints on how much data can

be transferred per unit of time, transmitted data is split into packets and is then “reassembled” upon

delivery. 8

         22.   All data transmissions on the Internet rely on protocols that define the rules of how

data are transmitted and interpreted. Widely used protocols include Transmission Control Protocol

(TCP), User Datagram Protocol (UDP), Internet Protocol (IP), and Hypertext Transfer Protocol

(HTTP). 9 These and many other protocols are a part of Internet standards that are set by the Internet

Engineering Task Force (IETF). 10

         23.   Web browsing operates as a network of clients (e.g., devices that users use to

browse the Internet) that send requests for information to servers which respond to these requests

by sending back requested data (e.g., data the device can use to display a web page) or modifying

data on the server. Examples of servers include website and email servers.




8
     Zola, Andrew, Alexander S. Gillis, “network packet,” TechTarget, available at
     https://www.techtarget.com/searchnetworking/definition/packet.
9
        “Types of Network Protocols, Explained,” CDW Research Hub, available at
https://www.cdw.com/content/cdw/en/articles/networking/types-of-network-protocols.html.

10
     “About the IETF”, Internet Society, available at https://www.internetsociety.org/about-the-
     ietf/.

                                                  9
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        24.    In addition to clients and servers, another essential component of the client-server

architecture are IP addresses. IP addresses are a sequence of numbers that provide the network

location of a device, such as a server or client. To send an IP message to a server, a client must

know the IP address of the server.

        25.    There are two formats of IP addresses used today: IP version 4 (IPv4) and IP version

6 (IPv6). 11 As the Internet was gaining popularity, IPv4 addresses were being allocated at a fast

pace and work began to develop the next version of the IP protocol, IPv6, which allowed for more

internet addresses. 12 Since IPv6 allows for more addresses than IPv4, the formats of these

addresses are different. 13 An IPv4 address has a format where four decimal numbers between 0

and 255 are separated by a period (e.g., 192.1.1.0). 14 An IPv6 address has a format where 8

hexadecimal    numbers     between    0   and    FFFF    are   separated   by    a   colon   (e.g.,

2001:0db8:3333:4444:5555:6666:7777:8888). 15

        26.    Because IP addresses are a sequence of numbers, they are not a convenient way for

a typical user to navigate the Internet. IP addresses are therefore mapped to a more user-friendly



11
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021., p. 330.
12
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021., pp. 347-348.
13
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021., pp. 348.
14
   “IPv4 and IPv6 address formats,” IBM, March 2, 2021, available at
https://www.ibm.com/docs/en/ts3500-tape-library?topic=functionality-ipv4-ipv6-address-
formats.

15
   “IPv4 and IPv6 address formats,” IBM, March 2, 2021, available at
https://www.ibm.com/docs/en/ts3500-tape-library?topic=functionality-ipv4-ipv6-address-
formats.


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domain name, such as “google.com.” This mapping is done using the Domain Name System

(“DNS”). The DNS acts as a directory for the Internet by mapping domain names to IP addresses. 16

When a user types a domain name in the address bar of their browser, as illustrated in Figure 1

below, the browser may submit a request to a DNS server to obtain an IP address corresponding

to the domain name. 17


                                         Figure 1
                          Example of Domain in Browser Address Bar




         27.    IP addresses can also be shared among multiple devices. For example, when

multiple devices are connected to the Internet in an office via a router, the IP address of the router

can be shared among multiple devices and acts as their “public” IP address. Devices connected to

the Internet through the router can be assigned “private” IP addresses inside the home or business

network, and those private IP addresses are not observed publicly on the Internet. 18



16
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021, p. 123 (“People prefer the more mnemonic hostname identifier, while
     routers prefer [] IP addresses. In order to reconcile these preferences, we need a directory
     service that translates hostnames to IP addresses. This is the main task of the Internet’s domain
     name system (DNS).”).
17
     Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
     Edition, Pearson, 2021, p. 124 (“The browser extracts the hostname [] from the URL and passes
     the hostname to the client side of the DNS application.”).
18
     Specifically, this type of network setup refers to the widely deployed Network Address
     Translation (NAT) address allocation approach. See Kurose, James F. & Ross, Keith W.,
     “Computer Networking: A Top-Down Approach,” 8th Edition, Pearson, 2021, pp. 344-347
     (“The NAT-enabled router does not look like a router to the outside world. Instead, the NAT
     router behaves to the outside world as a single device with a single IP address…In essence, the
     NAT-enabled router is hiding the details of the home network from the outside world.”).

                                                  11
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         28.   Further, IP addresses for devices may be dynamic or static. As the names suggest,

a dynamic IP address is one that is assigned by the internet service provider and changes

periodically depending on the ISP. The reason for this is that it is more cost effective for the

internet service provider to reuse IP addresses. 19 A static IP address is a fixed IP address that is

assigned by the internet service provider and does not change in most circumstances. Static IP

addresses are typically used by internet service providers and businesses, not by individuals, whose

devices would typically be assigned a dynamic IP address. 20


        B.     How Web Browsing Operates

         29.   Web browsing is a type of Internet communication that relies on client-server

architecture in which websites and third-party services typically play the role of servers, while

devices with browsers play the role of clients.

         30.   Web browsers are applications that communicate with servers and display

information for users on a screen. Browsers contain three main components that enable their

functionality. One is a rendering engine that renders the layout of the website to display it for a

user. This involves transforming Hypertext Markup Language (HTML) and Cascading Style

Sheets (CSS) documents to webpages that users can interact with. A second component is a

scripting engine that enables the functionality of dynamic elements of webpages such as banners,



19
     “Static vs. dynamic IP addresses,” Google Fiber Help, Google, available at
     https://support.google.com/fiber/answer/3547208?hl=en; Prime, Joshua, “What is a Dynamic
     IP      Address?”      OpenDNS,      available   at     https://support.opendns.com/hc/en-
     us/articles/227987827-What-is-a-Dynamic-IP-Address-.
20
     “Static vs. dynamic IP addresses,” Google Fiber Help, Google, available at
     https://support.google.com/fiber/answer/3547208?hl=en; Prime, Joshua, “What is a Dynamic
     IP      Address?”      OpenDNS,      available   at     https://support.opendns.com/hc/en-
     us/articles/227987827-What-is-a-Dynamic-IP-Address-.

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pop-up messages, or drop-down menus. Third, browsers contain a user interface to access features

such as bookmarks, browsing history, or navigation buttons.

         31.    While there are many different browsers, their functionality is similar in many key

aspects. For example, across browsers, a user enters a website address in the form of a Uniform

Resource Locator (URL) in the respective bar of the browser as illustrated in Figure 2 below. 21


                                          Figure 2
                             Example of URL to Access a Webpage




         32.    A URL generally has four sections. First, https://, specifies the protocol that is used

to fetch this webpage. In the illustration above, https:// is hidden but is indicated by the lock icon

and would be displayed if the user clicks on the address bar to display the full URL. Second,


21
     Modern browsers do not even require users to know the exact URL of the Web resource. If a
     user enters a non-exact address or even words related to the desired Web resource, a browser
     will direct a user to the selected search engine which provides the user with a choice of the
     websites to visit.

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en.wikipedia.org specifies the domain name of a website as was discussed above. Third, the

remaining part of the URL, /wiki/Internet, provides a path to a specific webpage on the website.

Fourth, and not included in the example above, URLs may contain other parameters required by

the server to process the information request or anchors, which instruct the browser to display a

certain part of the webpage first.

         33.   Browsers and servers communicate via a series of request and response messages,

using the HTTP protocol. HTTP is governed by a standardized set of rules and can deliver a variety

of data types. 22 There are several types of HTTP requests, called “methods.” GET and POST

requests are two methods that are ubiquitous in modern web communications and are supported

by all browsers. Other methods are PUT, HEAD, DELETE, PATCH, OPTIONS, CONNECT, and

TRACE. 23

         34.   An HTTP GET request is used by browsers to retrieve specific information from a

server. A typical example of a GET request is illustrated in Figure 3. 24 All HTTP requests contain

information on the method (e.g., GET) and the version of HTTP protocol (e.g., HTTP/1.1). The

remaining part of the request are headers that include different fields depending on website

functionality. Most HTTP requests contain such headers as “User-Agent” (informs the server about




22
       Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,”
8th Edition, Pearson, 2021, pp. 96-101.

23
     “HTTP        Request        Methods,”       W3             Schools,        available        at
     https://www.w3schools.com/tags/ref_httpmethods.asp.
24
     An example presented below is obtained by visiting https://www.hbr.org. I record
     transmissions using Fiddler Everywhere. The examples illustrated in Figure 3 and Figure 4
     are screenshots from a Fiddler Everywhere window of the request associated with domain
     hbr.org. This request is one of many requests that are triggered while accessing
     https://www.hbr.org. I select to report a given request for illustrative purposes.

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the web browser and is used to improve browsing experience), “Accept-Language” (informs a

server about the language of a user), and “Host” (contains information of the domain that receives

a request). HTTP requests can also in certain instances contain cookie information, which I discuss

in paragraph 38 below. Cookie values may be included in a “Cookie” HTTP header, or

alternatively may be included as a URL parameter. The example of an HTTP request presented in

Figure 3 is not an exhaustive list of headers that could be present in an HTTP request.


                                          Figure 3
                                  Example of HTTP Request




        35.    After it receives a GET request such as the one illustrated in Figure 3, the server

typically sends back a response. An example of such a response is illustrated in Figure 4.

Responses typically contain the status of the request which is “200” in Figure 4. The status of a

request can take different values such as “200” denoting success (“OK”) or “400” denoting failure

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(“Bad Request”). 25 A response to a GET request would typically contain headers such as “Date”

(displays date and time of the request), “Content-Length” (displays the size of an HTTP response

message), or “Content-Language” (informs about the language of the response text). Responses

can also contain cookie information sent from the server to a browser. In the HTTP response shown

in Figure 4, cookie information is contained in a “Set-Cookie” header.


                                         Figure 4
                                 Example of HTTP Response




25
     “HTTP        Status       Messages,”        W3           Schools,        available        at
     https://www.w3schools.com/tags/ref_httpmessages.asp.

                                               16
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          36.   In contrast to GET requests, POST methods are typically used to create or update

records on the server. 26 An example of a POST request could be a message sent by a browser when

a user fills in and submits a form on a website. However, POST requests are not always triggered

by a web form and can also be a result of website functionality such as XMLHttpRequest which

is a technology that allows servers to retrieve information from a URL without refreshing a

webpage and interrupting user’s interactions with a website. 27,28,29 In many instances, web

developers’ choice whether to use GET or POST requests is affected not only by whether they

intend to display or modify the data but also by other technical and security considerations.

Therefore, it is common to see GET and POST requests being used interchangeably in certain

instances. 30

          37.   An example of a POST request is illustrated in Figure 5 below. It has a similar

structure to GET requests and contains similar headers. This POST request also contains a body,

shown in Figure 6, which contains information that the server could use to update records.

However, not all POST requests will contain information in the body, and whether a POST request

does contain that information depends on the implementation of the webpage. Also similar to GET




26
      “HTTP        Request        Methods,”       W3          Schools,        available       at
      https://www.w3schools.com/tags/ref_httpmethods.asp.
27
      “POST,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
      US/docs/Web/HTTP/Methods/POST.
28
     “XMLHttpRequest,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
      US/docs/Web/API/XMLHttpRequest.
29
      “XML HttpRequest,” W3 Schools, available at https://www.w3schools.com/xml/xml_http.asp.
30
     “URIs, Addressability, and the use of HTTP GET and POST,” World Wide Web Consortium,
      March                  21,               2004,              available            at
      https://www.w3.org/2001/tag/doc/whenToUseGet.html#checklist.

                                               17
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requests, after receiving a POST request the server typically sends an HTTP response with similar

structure to responses associated with GET requests, as illustrated in Figure 7. 31


                                           Figure 5
                                Example of HTTP POST Request




31
     Figure 5, Figure 6, and Figure 7 are examples obtained using Fiddler as a result of accessing
      https://www.hbr.org.

                                                 18
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                                        Figure 6
                           Example of HTTP POST Request Body




                                          Figure 7
                              Example of HTTP POST Response




        38.    It is common for a request for a webpage to trigger many other requests to the same

or other domains. There are multiple reasons for this. One reason is that the content of a webpage


                                               19
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may reside on many different servers. For example, a website owner might choose to store the

HTML code for a webpage on one server, and files containing images and other content to be

displayed on a different server. In this simple example, when a browser contacts the website server

for the HTML code, the browser’s execution of that code will trigger multiple additional requests

from the browser to other servers to retrieve images and other content that the designer desires to

be displayed on the webpage.

         39.    Another reason that a request for a webpage may trigger additional requests is that

many websites make use of third-party services that provide features or functionality that the

website owner desires but does not have the resources to develop themselves. Use of these third-

party services allows for efficient software development by leveraging code reusability, allowing

separate entities to develop and maintain a smaller part of code. Examples of third-party services

include Google Analytics (a website analytics product), Google Ad Manager (an ad management

platform for publishers), Stripe and PayPal (allows websites to accept payments), Adobe Analytics

(website analytics), Meta Pixel (personalized advertising), and Bootstrap (website styling).32

These complex services would be infeasible to develop and maintain for most large websites let

alone small websites in terms of both costs and required expertise. 33 Instead, website owners utilize


32
     “Analytics anywhere in the customer journey,” Adobe Analytics, Adobe, available at
     https://www.adobe.com/analytics/adobe-analytics.html; Bacinger, Tomislav, “What is
     Bootstrap? A Short Bootstrap Tutorial on the What, Why, and How,” TopTotal, available at
     https://www.toptal.com/front-end/what-is-bootstrap-a-short-tutorial-on-the-what-why-and-
     how; Kopachovets, Oleg, “3rd Party API [Benefits, Our Experience, How-To],” PRCoders,
     October 6, 2021, available at https://procoders.tech/blog/how-to-integrate-third-party-api/ and
     Vrountas, Ted, “What is Meta Pixel & What Does it Do?” Instapage by Postclick, February
     14, 2022, available at https://instapage.com/blog/meta-pixel.
33
       For example, Uber relied on the Google Maps API to create its app. Without this third-
party API, Uber would have had to develop its own mapping software, which would have
required a huge hiring increase, or make drivers responsible for their own route. See “APIs: The
Proven Tool for Efficient Business Growth,” Axos Bank, July 1, 2020, available at

                                                 20
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one or more third-party services by incorporating HTML code in their webpages that results in

HTTP requests being sent to domains associated with the third-party services.

         40.   HTTP messages may also contain cookies. Cookies are small files stored on a

browser. Information contained in cookies allows websites to associate and recall information to

enable certain website functionalities and improve user experience. For example, some cookies

contain information about user preferences such as language or login status. 34 When a user opens

the website again, their preferred language is automatically chosen for display. Similarly, a user

will not need to spend time to login to a website again if cookies allow the website to “remember”

a user’s login status. Cookies also enable other functionalities such as website analytics and

personalized advertising.

         41.   Cookies sent in an HTTP request contain various fields as displayed in Figure 8.

For example, they include such fields as “name” (name of the cookie), “domain” (website to which




https://www.axosbank.com/blog/APIs-The-Proven-Tool-for-Efficient-Business-Growth#.
Businesses can benefit from using APIs. See e.g., “Growing your business with APIs,” Visa,
available at https://usa.visa.com/content/dam/VCOM/download/partner-with-us/growing-
business-api-whitepaper.pdf, “Three Ways APIs Are Keeping Small Businesses Digitally
Competitive,” Small Business Trends, February 10, 2022, available at
https://smallbiztrends.com/2022/02/api-and-digital-transformation.html (“Yet, many small
businesses aren’t set up to collect the data and insights they need to truly understand their
customers. And to be fair, terms like “database” and “SQL” don’t exactly signal an easy learning
curve. With APIs, however, small businesses can easily and affordably capture the customer
insights they need to drive better customer experiences.”).

34
     “What     are    cookies     |   Cookies     definition,”   Cloudflare,      available     at
     https://www.cloudflare.com/learning/privacy/what-are-cookies/.

                                               21
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the cookie belongs), “expires” (date and time when the cookie record will expire), and “value” (the

value associated with the cookie). 35


                                               Figure 8
                                     First-Party Cookie Example




          42.    There are several types of cookies:

          a.     Session cookies are stored on a user’s device only for the duration of the current

browsing session after which they are deleted. 36

          b.     Persistent or permanent cookies, in contrast to session cookies, are not deleted from

a user’s device after the session is over. Instead, these cookies persist on the user’s device until

they expire or until they are deleted by the user. 37

          c.     First-party cookies are set by the website that a user is currently visiting. For

example, if a user visits https://hbr.org/, first-party cookies would be those that are set by the



35
      Figure 8 is obtained by accessing https://hbr.org/ and recording data transmission using
      Developer Tools for illustrative purposes. The screenshot is taken of the associated HAR file
      that contains data transmission logs. This HAR file is provided in my backup “hbr.har”.
36
     “Using HTTP cookies,” MDN Web Docs, Mozilla, available at https://developer.mozilla.org/en-
      US/docs/Web/HTTP/Cookies.
37
      Persistent cookies can also be deleted based on certain browser settings, as discussed in Section
      IV below. “Using HTTP cookies,” MDN Web Docs, Mozilla, available at
      https://developer.mozilla.org/en-US/docs/Web/HTTP/Cookies; “Client-side Storage,” World
      Wide                 Web                 Consortium,                  available                 at
      https://www.w3.org/2001/tag/2010/09/ClientSideStorage.html.

                                                   22
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hbr.org domain. Figure 8 above is an example of a first-party _hbr_u cookie set by

https://hbr.org/.38 A first-party cookie can also be set by a website in conjunction with its use of a

third-party service. For example, if a website owner chooses to make use of Google Analytics, the

Google Analytics JavaScript code that the website owner incorporates into the website’s HTML

code will set one or more first-party cookies that are associated with the website and are used to

facilitate the website analytics functionality provided by Google Analytics. 39

        d.     In contrast to first-party cookies, third-party cookies are those set by an entity or

service other than the website that a user is currently visiting. Third-party cookies are often set

because the website developer has chosen to use an entity or service that sets these cookies for a

specific purpose such as advertising. 40 For example, after visiting http://www.hbr.org/, I observe

the demdex cookies associated with third-party domain demdex.net as illustrated in Figure 9 below.


                                           Figure 9
                                  Third-Party Cookie Example




38
     “What is a First-Party Cookie?” CookiePro Knowledgebase, September 17, 2021, available at
     https://www.cookiepro.com/knowledge/what-is-a-first-party-cookie/.
39
     JavaScript is a programming language that enables complex features on web pages.
40
     “Guide to Third-party Cookies,” CookieYes, March                   24,   2022,    available    at
     https://www.cookieyes.com/blog/third-party-cookies/.

                                                 23
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IV.      PRIVATE BROWSING MODE

         A.      Overview of Private Browsing Mode

          43.    Private Browsing Modes are offered on all major browsers. These modes have

different names depending on the browser: e.g., Incognito in Chrome, InPrivate in Microsoft Edge,

private window in Firefox. Across browsers, Private Browsing Mode is generally not designed to

provide complete user anonymity on the Web. Instead, it is designed to conceal the user’s activity

from other people who may use the same device and to prevent linking the user’s browsing activity

in Private Browsing Mode with the user’s browsing activity in Regular Mode. 41

          44.    Private Browsing Mode functionality varies by browser. However, most browsers’

Private Browsing Mode behaves as follows: Each Private Browsing Session begins with an empty

“cookie jar,” such that cookies previously set on the browser in Regular Mode or in previous

Private Browsing Sessions are not associated with or available in the current Private Browsing

Session. When the browser is in Private Browsing Mode, however, new cookies are set in the new

“cookie jar” (to the extent websites attempt to do so and it is allowed by the browser’s cookie

settings), and browsing history is maintained (within the Private Browsing Session or specific

Private Browsing Tab). A Private Browsing Session can involve multiple browser tabs or

windows, and cookies and browsing history within the Private Browsing Session will be available

to each tab and window that is part of that Private Browsing Session. 42 Most browsers’ Private


41
     “W3C TAG Observations on Private Browsing Modes,” World Wide Web Consortium, April 9,
      2020, available at https://w3ctag.github.io/private-browsing-modes/#evolving.
42
      See, e.g., “Google Chrome Privacy Notice,” Google Chrome, Google, September 23, 2021,
      available at https://www.google.com/chrome/privacy/ (“[s]ites may deposit new cookies on
      your system while you are in these modes, but they’ll only be stored and transmitted until you
      close the last incognito or guest window.”); “Search & browse privately”, Google Search Help,
      Google,                                        available                                     at

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Browsing Modes will discard cookies, browsing history, passwords and any information entered

into Web forms once the Private Browsing Session is closed. 43 In contrast, in Regular Mode these

types of information are retained in the browser’s memory and thus would be available in

subsequent Regular Mode sessions. 44

         45.    For example, consider a user who opens a Private Browsing Session, visits a retail

website (e.g., https://www.amazon.com/), and adds an item to her cart without logging in to the

website. 45 The retail site can place a cookie (subject to the browser’s cookie settings) to remember


     https://support.google.com/websearch/answer/4540094?hl=en&co=GENIE.Platform%3DDes
     ktop (“[c]ookies are deleted after you close your private browsing window or tab” and “you
     might see search results and suggestions based on your location or other searches you’ve done
     during your current browsing session.”); “How private browsing works in Chrome,” Google
     Chrome                   Help,              Google,                 available                at
     https://support.google.com/chrome/answer/7440301?hl=en. (“[c]ookies and site data are
     remembered while you're browsing, but deleted when you exit Incognito mode.”); “How
     Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available at
     https://support.google.com/chrome/answer/9845881 (“[a]fter you close all Incognito
     windows, websites won’t be able to serve ads to you based on your signed-out activity during
     that closed session.”); “How Google uses information from sites or apps that use our services,”
     Google           Privacy        &          Terms,          Google,         available         at
     https://policies.google.com/technologies/partner-sites (“Incognito mode in Chrome allows you
     to browse the web without recording webpages and files in your browser or Account history
     (unless you choose to sign in). Cookies are deleted after you’ve closed all of your incognito
     windows and tabs…”).
43
     “How private browsing works in Chrome,” Google Chrome Help, Google, available at
     https://support.google.com/chrome/answer/7440301?hl=en&ref_topic=9845306.            “Browse
     InPrivate in Microsoft Edge,” Microsoft Support, Microsoft, https://support.microsoft.com/en-
     us/microsoft-edge/browse-inprivate-in-microsoft-edge-cd2c9a48-0bc4-b98e-5e46-
     ac40c84e27e2; “Incognito browser: What it really means,” Mozilla, available at
     https://www.mozilla.org/en-US/firefox/browsers/incognito-browser/; “Use Private Browsing
     in       Safari     on     Mac,”        Apple     Support,       Apple,      available     at
     https://support.apple.com/guide/safari/browse-privately-ibrw1069/mac.
44
       “Computer Cookies: What They Are and How They Work,” HP Tech Takes, November
26, 2018, available at https://www.hp.com/us-en/shop/tech-takes/what-are-computer-cookies.

45
     If a user logs in to the website in Private Browsing Mode, the website might keep records of a
     user’s cart associated with the user’s account. In this scenario, where shopping cart information

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that this browser was used to place an item into a shopping cart. If the user navigates away from

the retail website and then returns to the website in the same Private Browsing Session (for Safari

within the same tab), the item can still appear in her cart based on the stored cookie value, which

is available within the Private Browsing Session. However, if the user ends the Private Browsing

Session completely and then opens another session (either in Private Browsing Mode or Regular

Mode), the item will not appear in her cart because cookies set in Private Browsing Mode are

discarded at the end of each Private Browsing Session and the Web server would have no cookie

to associate the user’s prior visit while in Private Browsing Mode with the subsequent visit after

that session has closed. This behavior is illustrated in the following screenshot. I visited

https://www.amazon.com/ in Incognito Mode in Chrome and added an item to a cart. Next, I closed

the Incognito Mode session and opened a Regular Mode session where I was not logged into

Amazon. I observed no items in the cart.




   associated with the user’s website account is maintained at the website’s server, deleting
   cookies after the session would not prevent the website from remembering what is in the cart,
   even after the Private Browsing Session is over.

                                                26
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                              Figure 10
                   Amazon.com Cart in Incognito Mode




                               Figure 11
        Empty Amazon.com Cart in Subsequent Normal Mode Session




                                  27
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         46.   Private Browsing Mode is not designed to and does not affect many aspects of data

transmission. 46 For example:

                   ● The Setting and Sending of Cookies Placed on the Browser During a

            Private Browsing Session. In Private Browsing Sessions, cookies are still set and sent

            as required by functionality of websites, to the extent allowed by the browser’s cookie

            settings. However, any cookie values set during a Private Browsing Session are only

            available for the duration of that session. 47 Once the Private Browsing Session ends




46
         See, e.g., “Browse in private,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/95464?hl=en&co=GENIE.Platform%3DDesktop
(“[y]our activity isn’t hidden from websites you visit, your employer or school, or your internet
service provider.”); “How private browsing works in Chrome,” Google Chrome Help, Google,
available at https://support.google.com/chrome/answer/7440301?hl=en (“[y]our activity, like
your location, might still be visible to: [w]ebsites you visit, including the ads and resources on
those sites[;] [w]ebsites you sign in to; [y]our employer, school, or whoever runs the networks
you’re using[;] [y]our internet service provider[; and] [s]earch engine.”); id. (“[a] web service,
website, search engine, or provider may be able to see [y]our IP address, which can be used to
identify the general area you’re in[;] [y]our activity when you use a web services[;] [y]our
identity if you sign into a web services, like Gmail.”); “How Chrome Incognito keeps your
browsing private,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/9845881 (“[w]hat Incognito mode doesn’t do”
including: “[p]revent your activity or location from being visible to the websites you visit, your
school, employer, or your Internet Service provider” or “[p]revent the websites you visit from
serving ads based on your activity during an Incognito session.”); “How Google uses information
from sites or apps that use our services,” Google Privacy & Terms, Google, available at
https://policies.google.com/technologies/partner-sites (“when you visit a website that uses
advertising services like AdSense, including Analytics tools like Google Analytics, or embed
video content from YouTube, your web browser automatically sends certain information to
Google. This includes the URL of the page you’re visiting and your IP address. We may also set
cookies on your browser or read cookies that are already there.”).

47
     Cranor, Lorrie & Habib, Hana, “Private browsing: What it does - and doesn’t do - to shield
     you from prying eyes on the web,” The Conversation, July 30, 2020, available at
     https://theconversation.com/private-browsing-what-it-does-and-doesnt-do-to-shield-you-
     from-prying-eyes-on-the-web-142445.

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               (e.g., when the user closes all Incognito Mode tabs in Chrome), those cookies set during

               the Private Browsing Session are discarded and not available in subsequent sessions.

                      ● Execution of JavaScript Code. Private Browsing Modes generally do not

               prevent execution of JavaScript code embedded in website source code. As a result,

               actions triggered by JavaScript would not be prevented in Private Browsing Mode,

               unless those actions would require use of functionality that is otherwise restricted (e.g.,

               if third-party cookies were blocked). 48

                      ● A User’s External IP Address: Private Browsing Modes are not designed

               to mask a user’s external IP address. IP addresses (whether the device’s actual IP

               address or one that has been masked by a VPN service) will still be sent to websites

               because an IP address is required for Internet communications. Specifically, IP

               addresses identify where information should be delivered, and Web communication

               cannot occur without use of IP addresses.


        B.        Implementation of Private Browsing Mode in Popular Browsers

         47.      The specifics of how Private Browsing Mode is implemented varies depending on

the browser and browser version. 49 One dimension along which Private Browsing Mode can differ




48
     See e.g., “Does firefox prevent sites and javascript code from accessing existing cookies and
     web sites data when browsing in Private Browsing mode?” Support Mozilla, Mozilla
     Corporation, February 24, 2019, available at https://support.mozilla.org/en-
     US/questions/1251227.
49
     Implementation of Private Browsing Mode has changed over time. Unless otherwise noted,
     my description is focused on the current implementation of Private Browsing Modes on various
     browsers.

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by browser is its default treatment of cookies. 50 For example, Incognito Mode in Chrome blocks

third-party cookies by default but this setting can be adjusted by the user. 51 The current Private

Browsing Mode implementation of Firefox blocks some cookies by default, but this cookie setting

can be modified by the user. 52 In Safari’s Private Browsing Mode, a user’s cookie settings are

carried over from their Regular Mode settings, which block third-party cookies by default (again,

those cookie settings can be changed by the user). 53 Similarly, for InPrivate mode in Edge, tracking

prevention is set to “Balanced” by default, meaning that the browser blocks potentially harmful




50
     See e.g., Mardini, AbdelKarim, “More intuitive privacy and security controls in Chrome,” The
     Keyword, Google, May 19, 2020, available at https://blog.google/products/chrome/more-
     intuitive-privacy-and-security-controls-chrome/; “How do I turn on the Do Not Track feature,”
     Support Mozilla, Mozilla Corporation, available at https://support.mozilla.org/en-US/kb/how-
     do-i-turn-do-not-track-feature; “Temporarily allow cookies and site data in Microsoft Edge,”
     Microsoft Edge Support, Microsoft, available at https://support.microsoft.com/en-
     us/microsoft-edge/temporarily-allow-cookies-and-site-data-in-microsoft-edge-597f04f2-
     c0ce-f08c-7c2b-541086362bd2; “Tracking prevention in Microsoft Edge,” Microsoft,
     available      at    https://docs.microsoft.com/en-us/microsoft-edge/web-platform/tracking-
     prevention.
51
     Chrome’s Incognito Mode blocks third-party cookies starting from version 83, released in May
     2020 (See e.g., Protalinski, Emil, “Chrome 83 arrives with redesigned security settings, third-
     party cookies blocked in Incognito” VentureBeat, May 19, 2020, available at
     https://venturebeat.com/2020/05/19/google-chrome-83/.
52
     Firefox’s Private Browsing Mode blocks third party cookies starting from version 89, released
     in June 2021 (See e.g., Edelstein, Arthur, “Firefox 89 blocks cross-site cookie tracking by
     default in private browsing,” Mozilla Security Blog, Mozilla Corporation, June 1, 2021,
     available at https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-
     browsing/).
53
     “cookies     and      website    data,”     Apple     Support,    Apple,    available    at
     https://support.apple.com/guide/safari/aside/glos0126d795/15.1/mac/12.0; Blumenthal, Eli,
     “Apple updates Safari on iOS to block third-party cookies,” CNET, March 25, 2020, available
     at https://www.cnet.com/tech/computing/apple-updates-safari-on-ios-and-mac-to-block-third-
     party-cookies/.

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content, and trackers from sites the user has not visited before, but does not block ads and still

permits some degree of ad personalization. 54

          48.   Private Browsing Modes in popular browsers also differ in their implementation of

extensions. Browser extensions can perform various actions including but not limited to executing

additional tracker blocking and privacy measures. In Chrome, 55 Firefox, 56 and Edge, 57 Private

Browsing Mode disables extensions by default. However, users can also enable extensions on all

of these browsers in Private Browsing Mode. By contrast, Safari’s Private Browsing Mode allows

extensions by default, and a user can opt to disallow them. 58

          49.   Private Browsing Mode is not the default browsing mode in the browsers described

in this report; a user has to take an explicit action to enter Private Browsing Mode. However,

opening a Private Browsing Mode window normally requires no more than a few clicks. To

illustrate, I will focus on how to open a Private Browsing Mode window on a Windows desktop.

In Chrome, a user can open an Incognito window by navigating to the Chrome control panel in the

upper right-hand corner of the browser and selecting “New Incognito Window.” Another way to

open an Incognito window is by pressing Ctrl+Shift+N, a keyboard shortcut that is displayed next



54
      “Which Tracking Prevention Setting Should You Use in Microsoft Edge,” How-To Geek,
      February 11, 2020, available at https://www.howtogeek.com/569951/which-tracking-
      prevention-setting-should-you-use-in-microsoft-edge/.
55
      “Allow private browsing,” Chrome Enterprise and Education Help, Google, available at
      https://support.google.com/chrome/a/answer/9302896?hl=en.
56
      “Extensions in Private Browsing,” Support Mozilla, Mozilla,                  available    at
      https://support.mozilla.org/en-US/kb/extensions-private-browsing.
57
      “Browse InPrivate in Microsoft Edge,” Microsoft Support, Microsoft, available at
      https://support.microsoft.com/en-us/microsoft-edge/browse-inprivate-in-microsoft-edge-
      cd2c9a48-0bc4-b98e-5e46-ac40c84e27e2.
58
     “Does Safari Web Extensions include Private Browsing?” Developer Forums, Apple, available
      at https://developer.apple.com/forums/thread/650294.

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to the “New Incognito Window” option. Opening a Private Browsing Mode window works in

much the same way for Edge, Firefox, and Safari.

         50.    Browsers typically include a page that explains the functionality of Private

Browsing Mode every time a user opens a Private Browsing Mode window. For example, the

Chrome Incognito splash screen, as seen below in Figure 12, states, among other things, that

“other people who use this device won’t see your activity.” 59


                                           Figure 12
                                Incognito User Notification Page




59
     A splash screen is an introductory web page to greet visitors in a browser before they access
     any websites. See Kyrnin, Jennifer, “Splash Pages: Pros and Cons,” ThoughtCo., February 25,
     2021, available at https://www.thoughtco.com/splash-pages-pros-cons-3469116.

                                                32
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         51.    It also states that “Chrome won’t save the following information: Your browsing

history; Cookies and site data; Information entered in forms.” This is data that is typically stored

locally on the user’s browser in Regular Mode. However, the Incognito splash screen states that

“downloads, bookmarks and reading list items will be saved.” The Incognito splash screen also

states that “Your activity might still be visible to: Websites you visit; Your employer or school;

Your internet service provider.” 60

         52.    The Incognito splash screen also contains a link that provides a more detailed

description of Incognito Mode. The linked page currently provides the following under the heading

“How Incognito mode works”: 61

                When you first open a new Incognito window, you’re creating a new
        Incognito browsing session. Any Incognito windows you open after that are part
        of the same session. You can end that Incognito session by closing all open
        Incognito windows.

               In Incognito, none of your browsing history, cookies and site data, or
        information entered in forms are saved on your device. This means your activity
        doesn’t show up in your Chrome browser history, so people who also use your
        device won’t see your activity. Websites see you as a new user and won’t know
        who you are, as long as you don’t sign in.

               If you’re browsing in Chrome Incognito mode, you are, by default, not
        signed into any accounts or sites.




60
     Version 99.0.4844.82 (Official Build) (64-bit) as an example.
61
     Currently, the “Learn more” hyperlink (https://support.google.com/chrome/?p=incognito)
     redirects users to the “How Chrome Incognito keeps your browsing private” page, Google
     Chrome Help, Google, available at https://support.google.com/chrome/answer/9845881.
     Previously, the “Learn more” hyperlink redirected users to the “How private browsing works
     in      Chrome”      page,    Google     Chrome       Help,      Google,    available   at
     https://support.google.com/chrome/answer/7440301?hl=en. See, e.g., “How private browsing
     works,” Google, archived by the Wayback Machine, May 03, 2020, available at
     https://web.archive.org/web/20200503180118/https://support.google.com/chrome/?p=incogn
     ito.

                                                33
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              Your school, Internet Service Provider, or any parental tracking software
        may be able to see your activity. You can check if your Chrome browser is
        managed.

               You can choose to block third-party cookies when you open a new
        incognito window. Learn more about cookies.

        53.     The linked page also currently provides the following under the heading “How

Incognito mode protects your privacy”; 62

                What Incognito mode does
        ●       Browsing in Incognito mode means your activity data isn’t saved on your
                device, or to a Google Account you’re not signed into.
            ●      For example, you may use Incognito mode to shop online for a
                   birthday gift for a family member who shares your device. If you don’t
                   sign in to your Google account, your shopping activity will not appear
                   in your Chrome browsing activity and won’t be saved to your Google
                   Account.
        ●       Each time you close all Incognito windows, Chrome discards any site data
                and cookies associated with that browsing session.
        ●       Chrome doesn’t tell websites, including Google, when you're browsing
                privately in Incognito mode.
                What Incognito mode doesn’t do
        ●       Prevent you from telling a website who you are. If you sign in to any
                website in Incognito mode, that site will know that you’re the one
                browsing and can keep track of your activities from that moment on.
        ●       Prevent your activity or location from being visible to the websites you
                visit, your school, employer, or your Internet Service provider.
        ●       Prevent the websites you visit from serving ads based on your activity
                during an Incognito session. After you close all Incognito windows,
                websites won’t be able to serve ads to you based on your signed-out
                activity during that closed session.




62
     “How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google,
     available at https://support.google.com/chrome/answer/9845881.

                                                34
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         54.    The Incognito splash screen also currently contains a toggle to block third-party

cookies and further states that “When on, sites can't use cookies that track you across the web.

Features on some sites may break.” 63 In Chrome versions since Chrome 83, released in May 2020,

this toggle is turned on by default. 64

         55.    By contrast, the description of Private Browsing Mode on Safari consists of two

sentences at the top of the splash screen. The first sentence states that Safari will keep browsing

history private for all tabs in this window. The second sentence states that the browser will not

remember the “pages you visited, your search history, or your AutoFill information” once a user

closes the window. Unlike the Chrome Incognito splash screen, there is no explicit clarification in

the Safari screen that other entities on the web may still be able to see the user’s activity while in

Private Browsing Mode. 65

         56.    Further, and as seen below in Figure 13, the Firefox Private Browsing Mode splash

screen reads “Private window: Firefox clears your search and browsing history when you close all

private windows. This doesn’t make you anonymous.” Below this statement there is a “learn more”

link that directs users to a list of four “Common Myths About Browsing,” one of which is that

“private browsing makes you anonymous on the internet.” 66,67




63
     Chrome Version 98.
64
     Protalinski, Emil, “Chrome 83 arrives with redesigned security settings, third-party cookies
     blocked      in    Incognito”    VentureBeat,     May     19,     2020,      available    at
     https://venturebeat.com/2020/05/19/google-chrome-83/.
65
     Safari Version 14.
66
     “Common Myths about Private Browsing,” Support Mozilla, Mozilla, available at
     https://support.mozilla.org/en-US/kb/common-myths-about-private-
     browsing?as=u&utm_source=inproduct.
67
     Firefox Version 98.

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                                         Figure 13
                   Firefox Private Browsing Mode User Notification Page




        57.    As seen below in Figure 14, Microsoft Edge’s Private Browsing Mode screen

specifies that it deletes all user browsing information from the browser once all private windows

are closed; saves collections, favorites, and downloads; and prevents Microsoft Bing searches from

being associated with the user. It also states that Private Browsing Mode does not hide a user’s

browsing history from their school, employer, or Internet service provider; and does not give them

additional protection from tracking by default. There is also a toggle to turn on “Strict” tracking

prevention in Private Browsing Mode. Users can also scroll down this page for more details as

indicated in below Figure 14 and shown in Figure 15. The additional details contain brief

descriptions about what browsing information users can see, the data Edge collects, how Private

Browsing Mode with Bing provides protection, and additional settings to control tracking. These




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descriptions also provide “learn more” links that direct users to additional articles as well as to a

more comprehensive statement. 68


                                          Figure 14
                             Edge InPrivate User Notification Page




68
     Microsoft Edge Version 100.

                                                 37
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                                         Figure 15
                              Edge InPrivate Description Page




       C.     Illustrations and Tests of Private Browsing Mode Behaviors in Chrome

        58.   As discussed above, although each browser has a different implementation of

Private Browsing Mode, there are many common behaviors. In the sections below, I illustrate

certain of these common behaviors, focusing on Incognito Mode in the Chrome Browser. I also

describe tests conducted in both Regular and Private Browsing Modes with several browser-

operating system variations. The detailed methodology of these tests is described in Appendix D.


              1.      Browsing History from a Private Browsing Session Is Not Saved

        59.   To illustrate how browsing history is not saved in Private Browsing Mode, I

accessed certain websites identified in the Complaint in either Regular Mode or Incognito Mode

in Chrome. Figure 16 below lists the browsing mode when I visited the site.




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                                            Figure 16
                               Websites Visited and Browser Modes
               Website                                          Browser Mode
               #1 https://www.nytimes.com/                      Regular
               #2 https://www.apartments.com/                   Regular
               #3 https://www.cnn.com/                          Incognito
               #4 https://www.latimes.com/                      Incognito
               #5 https://www.washingtonpost.com/               Regular




         60.     Prior to visiting the first website, I cleared my browsing history, cookies, and cache.

I then opened a Regular Mode browsing session and accessed websites #1 and then #2. I closed

the Regular Mode session and then opened an Incognito Mode session directly by right-clicking

the Chrome icon and selecting “New Incognito window”. Then I accessed websites #3 and #4 in

the Incognito Mode session. I closed the Incognito Mode session and then opened a new Regular

Mode session and accessed website #5. I then opened Chrome’s browsing history and reviewed

the websites listed. I also reviewed a file on my device that stores Chrome browsing history

locally. 69 Only websites that I visited in Regular Mode were shown in the browser history

(displayed in browser and in a file stored locally on the device), and the websites that I visited in

Incognito mode were not recorded in the browser history (See Figure 17 below). 70




69
     File path on my device is "C:\Users\<username>\AppData\Local\Google\Chrome\User
     Data\Default\History". The location of the file might vary. <username> denotes the name of a
     user in Windows, and “Default” might be called differently depending on which profile is used
     in Chrome. The History file is a SQLite database that I opened using
     https://inloop.github.io/sqlite-viewer/ and navigated to “urls”.
70
     “How Chrome Incognito keeps your browsing private” Google Chrome Help, available at
     https://support.google.com/chrome/answer/9845881.

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                                           Figure 17
                              Websites Visited and Browser Modes




         61.    I also visited these websites with Firefox, Edge, and Safari on a desktop device and

found consistent results that the websites visited in Private Browsing Mode were not recorded in

the web browser’s history. Based on my testing, I conclude that browsing activity during a Private

Browsing Session is not saved in a web browser’s history. 71


                2.     Cookies Are Not Shared Between Regular and Private Browsing Modes

         62.    Cookies are not shared between Regular and Private Browsing Modes when

browsing websites. This behavior manifests in two ways. First, the websites visited while in Private

Browsing Sessions do not use cookies from prior Regular Mode sessions. Second, any cookies

generated during Private Browsing Sessions are discarded when the Private Browsing Session is

ended such that subsequent Private Browsing Sessions or Regular Mode sessions cannot access

them. In the sections below, I first illustrate these behaviors by showing cookies stored on Chrome




71
     See backup materials for screenshots of browser history tests in Firefox, Edge, and Safari.

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using Chrome’s Developer Tools. I then demonstrate how cookies are not shared between Regular

and Private Browsing Mode for popular browser and operating system combinations.


                       a.      Pre-Existing Cookie Values are Not Accessible in Private
                               Browsing Mode

         63.    As discussed above, pre-existing cookies from Regular Mode browsing are not

available for Private Browsing Sessions since each session starts with an empty cookie jar. To

illustrate how a Private Browsing Session does not have access to pre-existing cookies, I performed

visits to Apartments.com. Prior to visiting this website, I cleared my browsing history, cookies,

and cache. I opened Chrome in Regular Mode, visited Apartments.com, and searched for

apartments in Boston, MA. Figure 18 below shows a screenshot of my apartment search and the

_ga cookie value set by apartments.com, as displayed in Chrome’s Developer Tools. 72




72
     Chrome Developer Tools is a set of web developer tools that are built in directly to the Chrome
     Browser. Among other features, it allows a user of Chrome to access technical details of
     Chrome’s interaction with websites including cookies that have been set as well as HTTP
     requests triggered by viewing the website (see Chrome Developer Tools website for more
     information at https://developer.chrome.com/docs/devtools/).

                                                 41
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                                         Figure 18
                               Regular Mode _ga Cookie Value




        64.    I then closed the Regular Mode session and opened an Incognito Mode session

directly by right-clicking the Chrome icon and selecting “New Incognito window.” In this session

I opened Chrome developer tools before visiting any websites. I did not find any cookies stored in

the Incognito Mode session (See Figure 19).




                                               42
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                                       Figure 19
                            Empty Cookie Jar in Incognito Mode




         65.   I then visited https://apartments.com/ in this Incognito Mode session, and observed

cookies placed on my browser. The _ga cookie value set in Incognito Mode was different from

the _ga cookie value set in Regular Mode. As shown in Figure 18 above, the _ga cookie value in

the Regular Mode session was ‘GA1.2.87786511.1649551414’, and as shown in Figure 20 below,

the     _ga    cookie   value     in   the    Incognito     Mode     browsing      session    was

‘GA1.2.120385586.1649551797.’ This illustrates that Incognito Mode browsing uses a cookie jar

that is separate from the Regular Mode cookie jar.




                                               43
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                                        Figure 20
                            Apartment Search in Incognito Mode




                      b.      Cookies Are Discarded after Incognito Mode Browsing Sessions

        66.    Cookies and site data stored by the browser during a Private Browsing Session are

discarded and not available to subsequent browsing sessions, whether in Private Browsing Mode

or Regular Mode. To illustrate this behavior, I performed a second series of website visits to

Apartments.com. As a first step, I cleared my browsing history, cookies, and cache. I then visited

Apartments.com in Incognito Mode in Chrome and searched for apartments in Los Angeles, CA.

Apartments.com placed several cookies on my browser. Figure 21 below shows a screenshot of

my browser with the Apartments.com cookies stored in the Incognito Mode session shown via

Chrome’s      Developer    Tools.   We     can        see    the   _ga   cookie   value   set   to

“GA1.2.1375334868.1649552395.”



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                                       Figure 21
                 Apartments.com Cookies on the Browser in Incognito Mode




        67.    I then closed the Incognito Mode session and in Regular Mode opened my browser

settings to see what websites had stored cookies on the device. I did this by navigating to the “See

all site data and permissions” setting under “Privacy and Security” in Chrome settings. As shown

in Figure 22, my browser did not have any saved cookies at that point.




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                                           Figure 22
                                 Site Data in Chrome Settings




        68.   I then navigated to Apartments.com in Regular Mode, searched for apartments in

Los Angeles, and found that the _ga cookie value was different than the value in the Incognito

Mode Session (Figure 21), as I would expect since the cookies set in Incognito Mode were

automatically removed from the device once I closed the Incognito Mode session. More precisely,

the _ga cookie value in the Regular Mode session was ‘GA1.2.26270693.1649552739,’ which

differs from the _ga cookie value of ‘GA1.2.1375334868.1649552395’ set in the Incognito Mode

browsing session (See Figure 23). This illustrates that cookies and site data obtained during a

Private Browsing Session are discarded after the session has ended.




                                               46
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                                         Figure 23
              Apartments.com in Regular Mode with a Different _ga Cookie Value




                       c.    Testing Confirmed that Private Browsing Mode Restricted the
                             Sharing of Certain Types of Data Across Browsing Sessions on
                             Popular Browsers

        69.     To evaluate whether cookies are shared between Regular and Private Browsing

Sessions for popular browser and operating system combination, I conducted a series of tests on

five websites identified in the complaint: https://www.nyimes.com/, https://apartments.com/,

https://www.cnn.com/, https://www.latimes.com/, https://www.washingtonpost.com/. I then

summarized the results of these tests in Exhibits 1.1-1.20. 73 For all testing variations, which



73
       I also tested Chrome Version 81 before third-party cookies were blocked by default.
These results are included in Appendix E.


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include various websites, browsers, and operating systems described in Appendix D, I observed

that cookie values are often the same across Regular Mode sessions, which indicates that Regular

Mode sessions share cookies and cookie values. 74 For example, when I visited

https://www.apartments.com/ in Chrome on Windows, the _ga cookie value was the same across

all three Regular Mode sessions.

         70.    While cookie values are often the same across Regular Mode sessions, I observe

that cookie values stored from prior Regular Mode sessions are not used in the Private Browsing

Sessions; instead, the Private Browsing Mode cookies have different values. In addition, cookie

values are also not shared between consecutive Private Browsing Sessions, indicating that when a

new Private Browsing Session is initiated, any cookies set in that session would contain new values

that are not carried over from prior Regular Mode or Private Browsing Mode sessions. Further,

cookie values set in Private Browsing Mode will not be carried over to subsequent Regular or

Private Browsing Mode sessions. For example, for https://www.apartments.com/ in Chrome on

Windows, the _ga cookie values are not only different when compared between Regular Mode

and Private Browsing Mode but are also different when compared between two Private Browsing

Sessions. 75



74
     There are some instances when cookie values are transmitted in one session but not another.
     For example, in my test of https://www.nytimes.com/, I observed CMID values being sent to
     Google-associated domains for Regular Mode (Initial Session) but not Regular Mode (Session
     1). These instances do not indicate that cookie values from Regular Mode and Private
     Browsing Sessions are shared and therefore do not change my conclusions.
75
     In some limited instances, I observed the same cookie values across Regular Mode and Private
     Browsing Sessions. However, I have seen no indication that this is a result of the cookie values
     having been shared between the two sessions. To the contrary, in my opinion these are
     examples of websites separately setting the same cookie value in different sessions, for a
     purpose other than identification of a user or their device. For example, I observed general
     settings-related cookies such as a DSID (value “NO_DATA”). Additionally,

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        71.   Based on my testing, I conclude that cookies are not shared between Regular Mode

and Private Browsing Mode sessions. The cookies that are set during a Private Browsing Session

are also discarded following the end of the Private Browsing Session.


              3.      Private Browsing Sessions Will Not Be Logged into Any Accounts or Sites

        72.   As described above, since Private Browsing Sessions do not access cookies and site

data of Regular Mode Sessions, when a user enters Private Browsing Mode, they will not be logged

into any sites or their Google Account when browsing websites. To illustrate this feature of

Incognito Mode in Chrome, I opened a Regular Mode Session and logged into drive.google.com

with a test account (See Figure 24). I then opened an Incognito Mode browsing session and

accessed drive.google.com, while the Regular Mode browsing session was still open and the test

account was logged into drive.google.com. As shown in Figure 25, in Incognito mode, I was not

logged into Google using the test account and had no access to any files from my Google Test

account.




   https://www.washingtonpost.com/ uses the Google Analytics _gaexp cookie for experiments
   across its website. The _gaexp cookie is used when the website is running experiments with
   variations of its site design using Google Analytics, and I have seen no evidence indicating
   that it is or can be used for any purpose other than identification of these experiments. I provide
   a more extensive discussion of other, similar examples of cookie value transmissions in
   Appendix F.

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                               Figure 24
         Regular Mode Google Drive Logged in with a Test Account




                               Figure 25
         Incognito Mode Automatically Logged Out of Google Drive




                                   50
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         73.    I also replicated these tests with Firefox, Edge, and Safari on a desktop device and

found consistent results. Based on my testing, I conclude that the user will not be logged into any

accounts upon initiation of a Private Browsing Session. 76


                4.      Downloaded Files Do Not Appear in Download Lists

         74.    When in Private Browsing Mode, browsers typically do not keep records of files

downloaded while browsing. However, the files are still saved to a user’s device, even after exiting

Private Browsing Mode. 77 To illustrate this behavior, I downloaded webpages both in Regular and

in Incognito Mode using Chrome. First, I cleared my browsing history, cookies, and cache. I then

navigated to the https://www.nytimes.com/ home page and downloaded a copy of that webpage to

my local device. Then, I opened an Incognito Mode session and accessed the

https://www.washingtonpost.com/ home page and downloaded a copy of that webpage to my local

device, while the Regular Mode Session was still open. I reviewed the list of downloaded files

Chrome stores through Chrome’s “Customize and Control Chrome” menu and selecting

“Downloads” (also accessible by pressing Control + J, or navigating to chrome://downloads/).

When I accessed the list of downloads, only the download from the Regular Mode Session was

listed, not the download from Incognito Mode (See Figure 26).




76
     See backup materials for screenshots of login tests in Firefox, Edge, and Safari.
77
     “How private browsing works in Chrome,” Google Chrome Help, Google, available at
     https://support.google.com/chrome/answer/7440301?hl=en.

                                                 51
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                                          Figure 26
                              Incognito Mode Download Not listed




        75.    Consistent with the descriptions of how Incognito Mode operates, only the file

downloaded in a Regular Mode Session is listed under Chrome downloads, though both files still

appear in the “Downloads” folder of the device (outside of Chrome).


               5.      Autofill Web Forms from Private Browsing Mode Are Not Available in
                       Regular Mode

        76.    Browsers have features to fill out forms automatically with information that has

already been entered into forms on webpages, such as login or address information. When in

Private Browsing Mode, browsers typically do not keep the information being entered in forms,

so any new information entered into forms while in Private Browsing Mode will not be available

to users in Regular Mode. To illustrate this behavior, I navigated to https://www.nytimes.com in

Regular Mode and attempted to create a New York Times account with the username

“regularmodetest@Test.com” and a password of “RegularMode.” After submitting the form,

Chrome recorded my input for the email address to autofill the field the next time I attempted to

log into the New York Times website. Figure 27 below shows Chrome displaying the autofilled

email address as an option to fill in the login form.



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                                         Figure 27
                                       Autofill Option




        77.   Next, I opened Chrome in Incognito Mode, navigated to the New York Times

website login page, and clicked in the Email Address field. As indicated by Figure 28 below, the

email address “regularmodetest@Test.com” was presented as an option.


                                      Figure 28
                  Regular Mode Form Information Available in Incognito




        78.   I then repeated the steps described above to log into the New York Times website

but with the username “incognitomodetest@test.com” and a password of “incognitomode” (see

Figure 29).


                                              53
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                                       Figure 29
                         Nytimes.com Log in Page Incognito Mode




       79.    After submitting the form, I closed both the Incognito Mode and Regular Mode

sessions. I then opened a new Regular Mode session and navigated to the New York Times login

page. When I clicked into the email field of the form, only the Regular Mode email address was

suggested, not the Incognito Mode email address (See Figure 30). Based on my testing, I have

concluded that when forms are filled out in Chrome Incognito Mode, the form information will

not be available in Regular Mode. However, when forms are filled out in Regular Mode, the form

information will be available during Incognito Mode.


                                       Figure 30
                          Nytimes.com Log in Page Regular Mode




                                              54
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       D.      Conclusions Regarding Private Browsing Mode

        80.    Based on my experience, analysis of documents, and testing, in my opinion Private

Browsing Modes work as described by Google and other companies by concealing users’ browsing

activity from other people who may use the same device, and by ensuring that cookie values

generated during the Private Browsing Sessions cannot be used to provide a link to the user’s

browsing activity in Regular Mode.

        81.    Private Browsing Modes conceal users’ browsing activity from other people who

may use the same device by discarding any browsing history or cookies that were stored by the

browser during the Private Browsing Session, so that data is not accessible in subsequent sessions.

My testing confirmed this. For example, I tested the Chrome browser by visiting websites in

Regular and Incognito mode, and observed that in subsequent Regular Mode sessions only the

websites that I visited in Regular Mode were shown in the browser history—the websites I visited

in Incognito mode were not recorded in the browser history.

        82.    Private Browsing Modes also ensure that the cookie values generated during the

Private Browsing Session cannot be used to provide a link to the user or her device after that

session is closed (unless the user explicitly enables a website to make this association by signing

into the website during the Private Browsing Session, or enables Google to do so by signing into

their Google account during the Private Browsing Session). Private Browsing Modes accomplish

this by starting each Private Browsing Session with a “clean” browser (the user is not logged into

her accounts and browsing history or cookies from prior sessions are not accessible) and discarding

data associated with the user’s browsing activity when the session is closed. My testing also

confirmed these aspects of Private Browsing Mode. I have confirmed that Private Browsing Modes

(1) prevent browsing history from being saved on the device, (2) prevent the user and browser in

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Private Browsing Sessions from accessing browsing history and cookies from Regular Mode

sessions; and (3) discard cookies placed on the browser during the Private Browsing Session when

that session is closed.

        83.     Because Private Browsing Modes handle cookies and other browsing data in this

manner, it is my opinion that, the cookie value transmissions to Google-associated domains—

when a user who is not logged into a Google account and uses Private Browsing Mode to visit a

third-party website containing “Google tracking or advertising code”—constitute “orphaned”

islands of data that cannot be used to provide a link to a user’s Google Account or other Private

Browsing Sessions. In my opinion, these cookie values cannot be used to link the Private Browsing

Mode activities to a user or her device after that Private Browsing Session is closed, which would

prevent Google from using the cookie values to create a “cradle-to-grave profile of users,” as

Plaintiffs allege.

        84.     I have also concluded that Private Browsing Modes are neither designed to nor do

provide users complete anonymity or invisibility as they browse the web. Even in Private Browsing

Mode, web browsing necessarily involves transmission of messages from a user’s browser, and

those messages must conform to protocols and standards, such as the HTTP protocol, and include

information such as IP addresses. Private Browsing Modes are also not designed to block all

communications between the browser and websites or third-party web-services that the website

owner has incorporated in their website.


V.      GOOGLE SERVICES USED BY THIRD PARTY WEBSITES AND
        ASSOCIATED DATA TRANSMISSIONS

        85.     As described above in my Summary of Plaintiffs’ Allegations, I understand

Plaintiffs allege that Google improperly intercepted, received, or collected data of Chrome and

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non-Chrome browser users who have a Google account and accessed a non-Google website

containing “Google tracking or advertising code” while in Private Browsing Mode and not logged

into their Google account. 78 In this section, I provide a summary of examples of “Google tracking

or advertising code” that I understand are at issue in this case and the Google products with which

that code is associated. I also provide my opinion as to whether Private Browsing Modes have an

impact on whether information is sent to Google when a user visits a website that uses the “Google

tracking or advertising code.” I then describe various settings, browser extensions, and other

factors that do have an impact on the extent to which information is sent to Google when a user

visits a website that uses the “Google tracking or advertising code.”


        A.      Google Analytics

         86.    Google Analytics is a product that customers can use to collect, configure, process,

and report on user interactions with their online content. 79 Thus, Google Analytics helps customers

understand how visitors interact with their websites and gain insight into metrics such as user

engagement and retention. Visibility into such metrics is important for developing user-friendly

websites. 80 For example, by understanding visitors’ language settings (in the aggregate), a Google


78
     Complaint, ¶ 192.
79
     “Learn about Google Analytics,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/platform. Google Analytics customers
     (i.e., website operators) are migrating from Universal Analytics to Google Analytics 4, which
     is intended to fully replace the preceding service by July 1, 2023. My description is applicable
     to both versions of the service unless stated otherwise. See “Universal Analytics will be going
     away,”             Analytics           Help,            Google,          available            at
     https://support.google.com/analytics/answer/11583528?hl=en.
80
       See also, Garett, Renee et al., “A Literature Review: Website Design and User
Engagement,” Online journal of communication and media technologies, Vol. 6,3 (2016): 1-14,
available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4974011/; Rodden, Kerry et al.,
“Measuring the User Experience on a Large Scale: User-Centered Metrics for Web

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Analytics customer might realize that a large percentage of visitors prefer a language that is not

currently offered on the customer’s website, leading the customer to create an additional website

version that supports this language.

         87.    Google Analytics is not the only product on the market that provides web traffic

analysis services. Other free and paid services that similarly allow website developers to measure

and analyze traffic to their website include Hotjar, 81 Mixpanel, 82 Matomo, 83 Piwik PRO, 84 Adobe

Analytics, 85 and many others. Most of these services are “tag-based,” requiring the website

developer to include code in their website to transmit data to a third-party server for analysis and

reporting. 86

         88.    Customers use the Google Analytics product by creating an Analytics account and

setting up the product on their website. To set up Google Analytics on their website, the customer

incorporates “tags,” which are short snippets of JavaScript code, into the HTML source code for

their website. The tag is highly customizable to satisfy the customer’s analytics and privacy needs,

and Google offers a tag management system called Google Tag Manager that allows Google


Applications,” ACM Press, April 2010, available at
https://static.googleusercontent.com/media/research.google.com/en//pubs/archive/36299.pdf.

81
     “Understand how users behave on your site, what they need, and how they feel, fast,” Hotjar,
     available at https://www.hotjar.com/.
82
     “Build Better Products,” Mixpanel, available at https://mixpanel.com/.
83
     “Google Analytics alternative that protects your data and your customers’ privacy,” Matomo,
     available at https://matomo.org/.
84
     “Analyze the customer journey across websites and apps,” PIWIK PRO, available at
     https://piwik.pro/.
85
     “Analytics anywhere in the customer journey,” Adobe Analytics, Adobe, available at
     https://www.adobe.com/analytics/adobe-analytics.html.
86
        “Tag,” At Internet, available at https://www.atinternet.com/en/glossary/tag-3/.


                                                58
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Analytics customers to configure and deploy tags on their website via a web-based user interface. 87

Below is an illustration of a “gtag.js” tag generated by Google Analytics: 88,89


                                            Figure 31
                              Installation of Google Analytics Tag




         89.    As described in Google’s public developer documentation, the Google Analytics

tag can be configured by the customer to measure specific user interactions with their website and

change the types of data that can be sent to Google Analytics. 90 However, the Google Analytics



87
     “Tag      Manager     overview,”   Tag    Manager    Help,          Google,    available     at
     https://support.google.com/tagmanager/answer/6102821?hl=en.
88
     “About      Google    Tag     Manager,”     Tag     Manager,      Google,  available    at
     https://developers.google.com/tag-platform/tag-manager; “Add gtag.js to your site,” Google
     Analytics,                     Google,                      available                   at
     https://developers.google.com/analytics/devguides/collection/gtagjs.
89
     I understand that gtag.js, the tag used for Universal Analytics and Google Analytics 4,
     superseded a previous tag called analytics.js. See “Migrate from analytics.js to gtag.js
     (Universal      Analytics),”      Google      Analytics,     Google,        available at
     https://developers.google.com/analytics/devguides/migration/ua/analyticsjs-to-gtagjs.
90
     “Cookies and user identification with gtag.js,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/collection/gtagjs/cookies-user-id; “Google

                                                 59
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Terms of Service state that “[y]ou will not and will not assist or permit any third party to, pass

information to Google that Google could use or recognize as personally identifiable

information.” 91

         90.   According to Google’s public documentation, when a user of any browser visits a

website that uses Google Analytics, the following data may be sent to Google Analytics: 92

        ●      First-party cookie values. This is explicitly enabled by the website which sets first-

               party cookies and embeds Google Analytics tags in the website source code;

        ●      Data about a user’s browser and devices. This is the same information contained in

               HTTP messages that any other website would receive when a user attempts to

               access it;

        ●      IP address;

        ●      Metrics related to user activity on the first-party website.

         91.   Google Analytics uses cookies to provide services to customers. When user visits

a website that includes the Google Analytics tag, the tag will attempt to set the following first-

party HTTP cookies on the user’s browser: “_ga”, “_gid”, “_ga_<container-id>,” and

“_gac_gb_<container-id>” for Google Analytics 4, and “_ga”, “_gid”, “_gat”, “AMP_TOKEN” ,




     Analytics      4     tags,”   Tag      Manager     Help,          Google,      available      at
     https://support.google.com/tagmanager/answer/9442095.
91
     “Google Analytics Terms of Service,” Google Marketing Platform, available at
     https://marketingplatform.google.com/about/analytics/terms/us/.
92
         “Safeguarding your data,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/6004245.


                                                 60
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“_gac_<property-id>” for Universal Analytics. 93 The Google Analytics customer can change

various field settings for these cookies, such as cookie domain, when the cookie expires, or the

cookie name. This is described, for example, in the excerpts of Google’s public documentation

shown in the following figure: 94


                                        Figure 32
                   Configuring Cookie Field Settings for Google Analytics




93
     “Google Analytics Cookie Usage on Websites,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/collection/gtagjs/cookie-usage.
94
        “Cookies and User Identification,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id.


                                               61
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         92.    A Google Analytics customer can also optionally create a User-ID to identify

website visitors that have signed into their website. How and whether visitors are assigned a User-

ID is a choice of the customer, who must actively enable this functionality in their Google

Analytics account. 95 Google Analytics does not set or manage the User-ID, and Google prohibits

Google Analytics customers from using data that could be used to personally identify an

individual, or data that permanently identifies a particular device. 96

         93.    Google Analytics customers that have a Google Ads account may also link those

accounts to enable Google Analytics advertising reporting tools. 97 As Google’s public

documentation explains, these features are governed by the Google Analytics customers’ and

users’ Ads settings and policy requirements of Google Analytics Advertising Features. 98 At the


95
     “About      the    User-ID    feature,”   Analytics   Help,  Google,       available  at
     https://support.google.com/analytics/answer/3123662#zippy=%2Cin-this-article;     “[GA4]
     Measure activity across platforms,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/9213390?hl=en.
96
     “User-ID         limits,”      Analytics       Help,       Google,         available     at
     https://support.google.com/analytics/answer/3123668; “Measurement Protocol, SDK, and
     User      ID     Feature    Policy,”    Google     Analytics,    Google,      available  at
     https://developers.google.com/analytics/devguides/collection/protocol/policy;        “[GA4]
     Measure activity across platforms,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/9213390?hl=en; “Measurement Protocol, SDK,
     and User ID Feature Policy,” Google Analytics, Google, available at
     https://developers.google.com/analytics/devguides/collection/protocol/ga4/policy.
97
     “About      Advertising      Features,”     Analytics   Help,      Google,   available    at
     https://support.google.com/analytics/answer/3450482; “Enable Remarketing and Advertising
     Reporting Features in Analytics,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/2444872; “Activate Google signals,” Analytics
     Help, Google, available at https://support.google.com/analytics/answer/7532985. “[GA4] Link
     Google      Ads     and     Analytics,”      Analytics   Help,     Google,   available    at
     https://support.google.com/analytics/answer/9379420?hl=en.
98
     “Policy requirements for Google Analytics Advertising Features,” Analytics Help, Google,
     available at https://support.google.com/analytics/answer/2700409; “[GA4] Activate Google
     signals for Google Analytics 4 properties,” Analytics Help, Google, available at
     https://support.google.com/analytics/answer/9445345?hl=en; “Google Analytics 4 SDK, and

                                                  62
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customer’s choice, Advertising Features enable Google Analytics to collect data via Google

advertising cookies in addition to Google Analytics cookies. As shown in Figure 33 below, if a

customer enables these Advertising Features, Google requires the customer to notify its visitors

accordingly, and encourages customers to point users to the Google Analytics opt-out add-on,

which is available on Chrome, Firefox, Edge, and Safari. 99


                                          Figure 33
                        Google Analytics Advertising Privacy Features




      1.        Data Transmissions to Google Analytics Are Impacted by the Choices of Website
Developers

         94.    As described above, Google Analytics customers have control over whether Google

collects and uses data relating to users’ interactions with the customer’s website. For example,



     User      ID     Feature    Policy,”     Analytics    Help,     Google,    available     at
     https://developers.google.com/analytics/devguides/collection/ga4/policy.
99
     “Policy requirements for Google Analytics Advertising Features,” Analytics Help, Google,
     available at https://support.google.com/analytics/answer/2700409; “Google Analytics Opt-out
     Browser          Add-on,”        Google         Tools,      Google,       available      at
     https://tools.google.com/dlpage/gaoptout/; “Google Analytics 4 SDK, and User ID Feature
     Policy,”            Analytics          Help,           Google,         available         at
     https://developers.google.com/analytics/devguides/collection/ga4/policy.

                                               63
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Google’s “Manage user privacy” page states: “At Google, we are keenly aware of the trust you

place in us and our responsibility to keep your privacy and data secure. As part of this

responsibility, we provide information and tools that developers can use to help enable and manage

user privacy.” 100

          95.    For example, Google Analytics customers can disable Google Analytics

functionality on a webpage to honor visitors’ opt-out choices, without removing the Google

Analytics tag itself. 101 A customer can do this by simply setting a window property to “true.”

          96.    In August 2020, Google Analytics also launched “Consent mode” for its

customers. 102 For customers who choose to implement Consent Mode, the Google Analytics tag

will alter its settings based on the websites’ implementation of Consent Mode and the users’

consent statuses. 103 For instance, the Latham & Watkins LLP website (lw.com) immediately asks

users, irrespective of the browsing mode, whether they consent to analytics cookies:



100
      “Manage user privacy,” Tags, Google, available at https://developers.google.com/tag-
      platform/devguides/privacy.
101
      “Disable Google Analytics measurement,” Google Analytics, Google, available at
      https://developers.google.com/analytics/devguides/collection/gtagjs/user-opt-out; “Manage
      user privacy,” Tags, Google, available at https://developers.google.com/tag-
      platform/devguides/privacy.
102
         “Consent Mode,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9976101?hl=en; Herman, Scott, “Measure
conversions while respecting user consent choices,” Google Marketing Platform, Google,
September 3, 2020, available at https://blog.google/products/marketingplatform/360/measure-
conversions-while-respecting-user-consent-choices/.

103
      Deposition of Steve Ganem, March 23, 2022, pp. 78-80 (“The Witness: I believe what Consent
      Mode refers to here in this context is an API of that name to help our customers provide cookie
      consent options and banners to their end users should they need to…Consent Mode does
      govern some of the data collection to Google Analytics when it’s used…The Consent Mode
      settings that are in place for a given client, browser client, govern whether or not cookies, both
      Analytics-related cookies and ads-related cookies, can be read or written.”).

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                                          Figure 34
                                 Cookie Consent Form Example




          97.    As another example, websites that enable Google Analytics Advertising Features

can use the allow_google_signals and allow_ad_personalization_signals controls to prevent

events sent from gtag.js from being used for ads personalization. 104 Further, websites can signal

to Google that “events sent from the tag will not be used for ads personalization and demographics

and interests reports” and can even restrict data processing by Google. 105

          98.    As yet another example, and as explained in public documentation, Google uses IP

addresses to provide security for customers and for IP geolocation purposes. 106 Google Analytics

offers customers the option to anonymize users’ IP addresses (known as IP address




104
      As noted in public documentation, events from gtag.js can still be used for demographics and
      interests reporting. See “Manage user privacy,” Tags, Google, available at
      https://developers.google.com/tag-platform/devguides/privacy.
105
      “Manage user privacy,” Tags, Google, available at https://developers.google.com/tag-
      platform/devguides/privacy.
106
      “Safeguarding      your     data,”      Analytics    Help,      Google,     available     at
      https://support.google.com/analytics/answer/6004245.

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anonymization). 107 IP address anonymization is an option in both Universal Analytics and Google

Analytics 4 and is enabled by default in Google Analytics 4. 108


         2.     Users Can Affect Data Transmissions to Google Analytics

          99.   Internet users can also affect whether data relating to their interactions with a

website is sent to Google Analytics. For example, users can prevent transmission of cookies to

Google Analytics by using browser cookie settings. In Chrome, these settings can be accessed by

typing chrome://settings/cookies to the address bar or by accessing settings through navigation

panes on the browser. This allows users to select their desired cookie settings in both Regular and

Private Browsing Modes.




107
      “IP Anonymization (or IP masking) in Google Analytics,” Analytics Help, Google, available
      at https://support.google.com/analytics/answer/2763052.
108
      “IP Anonymization (or IP masking) in Google Analytics,” Analytics Help, Google, available
      at https://support.google.com/analytics/answer/2763052.

                                                66
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                                            Figure 35
                                    Chrome Cookie Settings Page




         100.    The “Block all cookies” option prevents first- and third-party cookies from being

set and transmitted, which will block Google Analytics first-party cookie values. 109 Users also can

enable the “Clear cookies and site data when you close all windows” option, which erases cookie



109
      The option to “Block all cookies” as shown in the Figure was first available in Chrome 82
      starting in March 2020, and in earlier versions, since at least 2013, users could block cookies
      by turning on “Block sites from setting any data” in the settings. See, e.g., Spadafora, Anthony
      “New Chrome build will allow you to block all cookies,” TechRadar, March 17, 2020,
      available at https://www.techradar.com/news/new-chrome-build-will-allow-you-to-block-all-
      cookies; “Manage your cookies and site data,” Google, archived by the Wayback Machine,
      May                   17,                  2013,                    available                  at
      https://web.archive.org/web/20130517102706/https://support.google.com/chrome/answer/95
      647?hl=en#.

                                                   67
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values set in browser memory. 110 This means that cookies would be cleared each time the user

closes the browser, preventing tracking of the user’s interactions with a website based on the

cleared cookie values.

         101.    The cookie settings page shown in Figure 35 also gives users the option to “Block

third-party cookies,” which prevents the setting and transmission of third-party cookies, but not

first-party cookies. For example, if a Google Analytics customer enables Analytics Advertising

Features, which will enable the collection of Google third-party advertising cookies by Google

Analytics, the “Block third-party cookies” option would prevent Google Analytics from collecting

those cookies when a user visits the customer’s website. However, this option would not prevent

Google Analytics first-party cookies from being set and sent by the website to Google Analytics.

         102.    Users can also install an extension called the “Google Analytics Opt-out Browser

Add-on,” which is described in Google Analytics documentation. 111,112 According to the Chrome

extension page illustrated below, this extension prevents the Google Analytics JavaScript code

from transmitting information to Google Analytics, and there are more than a million users of this

extension in Chrome. This extension can be used in both Regular and Private Browsing Modes.




110
      This option to clear cookies when a browser session is closed has been available since at least
      2014 when it was called “Keep local data only until you quit your browser.” See, e.g., Paul,
      Ian, “How to automatically delete your cookies every time you close your browser,” PCWorld,
      November 11, 2014, available at https://www.pcworld.com/article/436317/how-to-
      automatically-delete-your-cookies-every-time-you-close-your-browser.html.
111
      “Google Analytics Opt-out Browser Add-on,” Google Tools, Google, available at
      https://tools.google.com/dlpage/gaoptout/.
112
      “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
      https://chrome.google.com/webstore/detail/google-analytics-opt-
      out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.

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To be used in Private Browsing Mode, a user must allow for this explicitly in Chrome Settings for

Extensions as illustrated in Figure 37 below.


                                        Figure 36
                      Google Analytics Opt-out Add-on Extension Page




                                         Figure 37
                       Google Analytics Opt-out Add-on Settings Page




                                                69
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         103.   Users can also block JavaScript, which is how Google Analytics functionality is

executed. 113 Modern browsers contain built-in settings that disable JavaScript, irrespective of the

browsing mode. 114 Users also can install add-ons or extensions that would block JavaScript

execution. 115 To disable JavaScript using settings on Chrome, for example, users can enter

chrome://settings/content/javascript in the address bar or navigate to the same page using setting

pages. Then a user can select if JavaScript is allowed as illustrated below:


                                           Figure 38
                                   JavaScript Chrome Settings




113
        “Hello Analytics API: JavaScript quickstart for web applications,” Google Analytics,
Google, available at
https://developers.google.com/analytics/devguides/config/mgmt/v3/quickstart/web-js.

114
       “Disable JavaScript in Chrome, Edge, Firefox, Opera, Internet Explorer on Windows
11/10,” The Windows Club, available at https://www.thewindowsclub.com/disable-javascript-
chrome-ie-firefox-opera.

115
      “Sybu      JavaScript  Blocker,”   Chrome       Web     Store,     Google,     available    at
      https://chrome.google.com/webstore/detail/sybu-javascript-
      blocker/ceicidjdokcfbnkdenbhmnonehglgilk?hl=en.

                                                70
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         104.    Such settings block execution of any JavaScript code and therefore block

transmission of cookie values triggered by the JavaScript code embedded in websites in both

Regular and Private Browsing Modes. Disabling JavaScript permanently is generally not

recommended as it might interfere with some website functionalities that rely on JavaScript

execution such as login forms and advanced interactive features. 116 However, depending on the

user’s browsing behavior, it may not lead to reduced functionality for many websites. 117 Disabling

JavaScript still allows users to select their desired cookie settings in both Regular and Private

Browsing Modes.

         105.    Users can also mask their IP address from Google Analytics and any other Internet

services by using a VPN in both Regular and Private Browsing Modes. 118 There are many VPN

extensions available for browsers, as well as standalone applications that will mask IP addresses

not only for Web browsing but also other types of Internet communications. Some prominent VPN

services are ExpressVPN, Surfshark, NordVPN, ProtonVPN, and IPVanish. 119 In fact, 41% of US

and UK users use VPN services at least once a week. 120



116
      Patwegar, Waseem “How to Enable or Disable JavaScript In Chrome Browser,” Techbout,
      available at https://www.techbout.com/enable-disable-javascript-chrome-36943/; Hoffman,
      Chris, “What Is NoScript, and Should You Use It to Disable JavaScript?” How-To Geek,
      November 21, 2017, available at https://www.howtogeek.com/138865/htg-explains-should-
      you-disable-javascript/.
117
      Finley, Klint, “I Turned Off JavaScript for a Whole Week and It Was Glorious,” Wired,
      November 18, 2015, available at https://www.wired.com/2015/11/i-turned-off-javascript-for-
      a-whole-week-and-it-was-glorious/.
118
      See VPN test results, described further in Section V.D.5 below and in my backup materials.
      The user’s IP address would not be masked from the VPN provider itself.
119
      Hodge, Rae, Holly, Russell, & David Gewirtz, “Best VPN Service of 2022,” CNET, March 26,
      2022, available at https://www.cnet.com/tech/services-and-software/best-vpn/.
120
      “How      often       do     you      use     a      VPN?”      Statista,    available    at
      https://www.statista.com/statistics/1219770/virtual-private-network-use-frequency-us-uk/.

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         B.     Google Ad Manager

        106.    Google Ad Manager is an ad management platform targeted to publishers who have

significant direct sales. 121 It offers a central location for publishers to define their ad inventory and

create, manage, and analyze reports on their advertising campaigns. It also offers ad-serving

capabilities, connecting to ad-exchanges to select the best ad to display on a website. 122

        107.    Google Ad Manager is a solution for publishers who are interested in displaying

ads but might not have the technical expertise to develop their own ad server. To use Google Ad

Manager, the publisher must create an account and accept the Google Ad Manager terms, then

insert a “tag,” which is a small snippet of code, for each location where the publisher wants to

show an ad. Below is an example of instructions for a website to use Google Ad Manager tag: 123




121
      “Advertising with Google Ad Manager,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/6022000?hl=en.
122
      “Advertising with Google Ad Manager,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/6022000?hl=en.
123
      “Get Started with Google Publisher Tags,” Google Publisher Tag, Google, available at
      https://developers.google.com/publisher-tag/guides/get-started.

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                                       Figure 39
                        Google Ad Manager Instructions to Publishers




        108.   After placing the tag code on the website, the website developer must select

“campaigns,” which are the settings that determine how and where ads will be shown on the

website. 124 When a website loads, the ad tag initiates an HTTP request from the user’s browser to

an ad server that can include the following information: the HTTP header, an IP address, a user

identifier, custom targeting criteria set by the publisher, and a “correlator” value shared between

ad requests on the same page. Google Ad Manager then selects the best ad available and serves it




124
       “Get started with ads in Google Ad Manager,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/6027116?hl=en&ref_topic=7506292.


                                                73
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back to the user’s browser. 125 The following excerpt from Google Ad Manager documentation

illustrates how the various types of data in an ad request are used. 126


                                            Figure 40
                               Use of Data by Google Ad Manager




        109.   Google Ad Manager is not the only product on the market that offers ad serving

capabilities by connecting publishers to ad exchanges. There are several competing services that

allow website developers to incorporate ads through the use of tags and a third-party ad-

management platform. These companies operate in the field of “programmatic advertising,” which




125
      “Ad selection white paper,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/1143651#zippy=%2Csummary-of-data-types-
      table.
126
      “Ad selection white paper,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/1143651#zippy=%2Csummary-of-data-types-
      table.

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is the “use of technology to buy and sell digital ads.” 127 Some of Google Ad Manager’s competitors

are Facebook Ads Manager, 128 Amazon DSP, 129 OpenX, 130 and AdButler. 131 The use of third-

party code is essential to enable these services, as they simplify the ad-serving process for

publishers who do not have the technical expertise to develop their own ad-serving technology

from scratch.


       1.        Data Transmissions to Google Ad Manager Are Impacted by the Choices of
Publishers

         110.    Publishers can adjust several parameters that change how Google Ad Manager

functions in their website. For example, they can modify the type of ads served, change the size

and resolution of the ad, 132 or alter privacy parameters. These modifications have a direct impact

on the type of data Google receives and how the data is transferred. Google offers several privacy

settings to publishers. One of these settings is the ability to serve “limited ads,” which are ads that

“disable all personalization and features that require use of a local identifier.” 133 This setting allows




127
      “A beginner’s guide to programmatic advertising,” Amazon Ads, Amazon, March 11, 2021,
      available at https://advertising.amazon.com/blog/programmatic-advertising.
128
      “Facebook Advertisers: Direct vs Programmatic Buying Trends,” MediaRadar, May 27, 2021,
      available at https://mediaradar.com/blog/facebook-advertisers-direct-vs-programmatic/.
129
      “What       is     Amazon     DSP?”       Amazon     Ads,     Amazon,              available      at
      https://advertising.amazon.com/solutions/products/amazon-dsp.
130
      “OpenX,” OpenX, available at https://www.openx.com/.
131
      “AdButler,” AdButler, available at https://www.adbutler.com/.
132
      “Ad        sizes,”     Google      Publisher       Tag,      Google,             available       at
      https://developers.google.com/publisher-tag/guides/ad-sizes.
133
      “Limited      Ads,”     Google   Ad     Manager     Help,            Google,       available     at
      https://support.google.com/admanager/answer/9882911.

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publishers to restrict data processing by Google. 134 In addition, website developers can opt out of

the use of personalized ads, 135,136 and they are required to have and abide by a privacy policy that

clearly discloses to their users that third parties may be placing and reading cookies on their users’

browsers. 137 For example, publishers can opt out of showing users who are signed into their Google

account personalized ads across devices. 138 Developers also have a choice of whether or not to

send publisher provided identifiers (PPID), which are used for ad frequency capping, audience

segmentation, and other delivery controls across devices. 139 Though using first-party cookies to

implement programmatic frequency caps is the default, publishers have the ability to disable the

use of these first-party cookies. 140 If a publisher decides not to share these with Google, these

identifiers will not appear anywhere on Google’s systems. 141 Publishers can also opt out of first-




134
      “Restricted data processing (CCPA) settings in Google’s publisher ad tags,” Google Ad
      Manager                  Help,           Google,                available           at
      https://support.google.com/admanager/answer/9598414#other-tags.
135
      “Ad personalization settings in Google’s publisher ad tags,” Google Ad Manager Help,
      Google, available at https://support.google.com/admanager/answer/7678538.
136
      “Personalized and non-personalized Ads,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/9005435.
137
      “Google Publisher Policies,” Google Ad Manager                    Help,   Google,    available    at
      https://support.google.com/admanager/answer/10502938?.
138
      This option is available from the Admin section of the publisher’s Google Ad Manager
      account. See “Enable Google signed-in, cross-device personalized ads,” Google Ad Manager
      Help, Google, https://support.google.com/admanager/answer/7204537?hl=en.
139
      “About publisher provided identifiers,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/2880055?hl=en.
140
      “Use first-party cookies for programmatic frequency caps,” Google Ad Manager Help, Google,
      available at https://support.google.com/admanager/answer/10650804?hl=en.
141
      Deposition of Glenn Berntson Volume I, March 18, 2022, pp. 166 (“There are additional
      publisher controls that could have an indirect impact here. An example is if a publisher chooses
      to not use PPID, they wouldn't provide PPID, and so therefore there would be no PPID. And
      so, it is a publisher choice as to whether the PPID available in the first place for our systems.”).

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party pseudonymous identifiers set by Google Ad Manager to support functions like frequency

capping, in which case the cookie value is not created. 142

         111.    Website developers can also use Google Ad Manager’s privacy and messaging tool

to select the particular privacy regulations their website complies with and optionally message the

website’s users about these practices to obtain consent. 143 When a user visits a website that displays

the optional message and does not accept the terms, they will be served ads that are not

personalized, meaning that they will not be based on information about user behavior and will

instead be based on context such as city-level geo-targeting and website content. 144


         2.      Users Can Affect Data Transmissions to Google Ad Manager

         112.    There are also tools available to browser users that affect data flows to Google Ad

Manager. These tools include blocking all cookies, blocking third-party cookies, and enabling

“clear cookies and site data when you close all windows.” I discuss the use of cookie options in

Section V.D.1 and similar conclusions apply to Google Ad Manager, namely that Internet users

can affect the transmission of cookie values to Google Analytics for both Regular and Private

Browsing Modes.



142
      Deposition of Glenn Berntson Volume I, March 18, 2022, pp. 166-7 (“There are other cases,
      the first-party IDs, pseudonymous identifiers, that we’ll set to the publisher domain to support
      things like frequency capping, which I described previously. And if the publisher says, ‘No, I
      don’t want you to set that cookie,’ then we won’t. It’s under the publisher control.”).
143
      The tool allows for messaging related to GDPR, CCPA, IDFA, and ad blocking recovery
      messages. See “About privacy & messaging,” Google Ad Manager Help, Google, available at
      https://support.google.com/admanager/answer/10075997?hl=en.
144
      “Google and TCF 2.0: how to collect consent for personalized ads,” iubenda, available at
      https://www.iubenda.com/en/help/16041-google-tcf-consent-personalized-ads; “Personalized
      and      Non-Personalized     Ads,”    Google     Ad     Manager       Help,    Google,
      https://support.google.com/admanager/answer/9005435.

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         113.    Similar to Google Analytics, functionality of Google Ad Manager relies on

JavaScript code such that blocking JavaScript through settings would prevent data from being sent

to Google Ad Manager.

         114.    Chrome users can also install extensions that may alter the flow of data to Google

Ad Manager, such as Ad Blocker extensions. For example, Chrome users can install the uBlock

or AdBlock extensions which both are used by more than 10 million users according to the

extension pages. 145 Users can also install the Interest-Based Advertising (IBA) Opt-out extension

provided by Google which allows opting out of personalized ads. This extension allows users to

opt out of DoubleClick advertising cookies, which are used by Google to display personalized

ads. 146 In addition, users can also opt out of personalized ads on the NAI Consumer Opt Out page.

This service allows users to “choose to opt out of Interest-Based Advertising from one, some or

all participating NAI member companies on your browser.” 147 Further, users can choose to install

a dedicated standalone application that would block ads, such as AdGuard. 148

         115.    Users can also affect personalized advertising functionalities by visiting

https://adssettings.google.com/. If the user is signed in, they will be redirected to a page similar to

the one shown below in Figure 41, where they can choose what types of ads they would like to



145
      “uBlock       Origin,”     Chrome       Web       Store, Google,     available    at
      https://chrome.google.com/webstore/detail/ublock-
      origin/cjpalhdlnbpafiamejdnhcphjbkeiagm?hl=en; “AdBlock –- best ad blocker,” Chrome
      Web Store, Google, available at https://chrome.google.com/webstore/detail/adblock-
      %E2%80%94-best-ad-blocker/gighmmpiobklfepjocnamgkkbiglidom?hl=en-US.
146
      “IBA Opt-out (by Google),” Chrome Web Store,                          Google,     available    at
      https://chrome.google.com/webstore/detail/iba-opt-out-by-
      google/gbiekjoijknlhijdjbaadobpkdhmoebb?hl=en.
147
      “Manage my Browser’s Opt Outs,” NAI, available at https://thenai.org/opt-out/.
148
      “AdGuard,” AdGuard, available at https://adguard.com/en/welcome.html.

                                                  78
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see or turn off ad personalization. If the user is not signed in, they will be redirected to a page

similar to the one shown below in Figure 42, where they can turn off ad personalization on Google

Search, YouTube, and Web. 149 In either case, they can also receive more information about online

advertising. 150 Users can also arrive at these ad personalization settings through the use of

AdChoices, an industry standard service implemented on some websites in the Google Display

Network. The AdChoices icon appears on ads for users to click on. When users click on this icon,

they are directed to the Google Ads personalization settings page.


                                          Figure 41
                         Ad Personalization Options - Signed in User




149
       If the user is not signed into a Google account and disables ad personalization on the
web, the browser will remember this setting by setting the value of the ANID cookie to
“OPT_OUT.”

150
      “Ad Choices for the Google Display Network,” Google Ad Manager Help, Google, available
      at https://support.google.com/admanager/answer/2695279?hl=en; “Block certain ads,” Ads
      Help, Google, available at https://support.google.com/ads/answer/2662922?hl=en.

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                                         Figure 42
                        Ad Personalization Options - Signed Out User




      116.    Similar to Google Analytics, users also have an option to install standalone

applications that change data flow to Google Ad Manager and other services. For example, users

can install VPN applications that mask IP addresses and firewall applications that would block

data transmissions to certain domains.


     C.      Private Browsing Modes Do Not Block All Transmissions to Third-Party
Web-Services

      117.    As described in Section IV, Private Browsing Modes (1) prevent browsing history

from being saved on the device, (2) prevent the user and browser in Private Browsing Sessions

from accessing browsing history and cookies from Regular Mode session; and (3) discard cookies

placed on the browser during the private browsing session when the session is closed. However,

Private Browsing Modes are not designed to prevent browsers from sending all messages to web

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services that a website developer has chosen to embed in their website. 151 Further, those messages

would necessarily conform to multiple industry standards and protocols that are established by the

community and are not unilaterally set by Google or any other company that offers a browser.

These protocols and standards include, but are not limited to, HTTP messages with required fields,

and IP addresses required to deliver those HTTP messages.

        118.   However, there are numerous other settings and features available in most major

browsers (including Chrome) that would further enhance a user’s privacy, for example by

preventing the transmission of certain categories of At-Issue Data or obscuring that data. These

settings include, but are not limited to, cookie settings, JavaScript extensions and settings, and

various extensions and standalone applications that are designed to affect certain data

transmissions. I have tested these features in both Private Browsing Mode and Regular Mode, and

my tests confirm that they function as explained in public documentation and affect data flows to

Google, irrespective of whether a user is browsing in Private Browsing Mode (these tests are

described further in Section V.D below). And even though my tests focus separately on each

setting, users can use combinations of these settings and extensions to select their optimal balance

of privacy and user experience.


       D.     Testing of Browser Settings and Extensions that Impact Transmissions of At-
Issue Data in Both Regular and Private Browsing Modes

        119.   As stated in Section IV, Private Browsing Modes in all major browsers conceal the

user’s browsing activity from other people who may use same device and ensure that cookie values



151
      For example, when accessing https://www.nytimes.com/ in Private Browsing Mode for
      Chrome, Firefox, and Edge on Windows 10, there are several HTTP requests made to
      news.google.com. These requests are included in my backup materials.

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generated during a Private Browsing Session are not shared with other browsing sessions and

cannot be used to link Private Browsing Mode Activity to the user or her device after the Private

Browsing Session is closed. However, Private Browsing Modes do not prevent websites—or the

web-services deployed by websites—from knowing the simple fact that a user is interacting with

the site or the service. 152

         120.    To provide additional privacy, browsers (including Chrome) allow for the

installation and modification of various settings and extensions, which significantly impact the

extent to which browsers transmit certain data to Google and other domains in Regular and Private

Browsing Modes. 153

         121.    To evaluate the impact various settings and extensions have on the data that

browsers may transmit to Google, I visited the same set of websites described in Section IV.C.2.c

for Chrome (version 100) on Windows 10 (version 20H2). Based on my professional experience,

these settings and extensions operate similarly across browsers and operating systems. Even

though some settings might differ in how they are enabled or operate, users of all browsers and

operating systems can find comparable options. I use Chrome to illustrate how settings affect the

flow of the At-Issue Data.




152
      For example, when accessing https://www.nytimes.com in Private Browsing Mode for
      Chrome, Firefox, and Edge on Windows 10, there are several HTTP requests made to
      news.google.com. These requests are included in my backup materials.
153
      See e.g., Hodge, Rae, “If You Care About Your Privacy, You Need to Change These Browser
      Settings     Right      Now,”     CNET,      February     26,     2022,      available   at
      https://www.cnet.com/tech/services-and-software/if-you-care-about-your-privacy-you-need-
      to-change-these-browser-settings-right-now/; “Choose your privacy settings,” Google Chrome
      Help,                       Google,                       available                      at
      https://support.google.com/chrome/answer/114836?hl=en&co=GENIE.Platform%3DDeskto
      p.

                                                82
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        122.    I performed the following tests related to settings and extensions:

         a.     Cookie blocking test: all cookies allowed, third-party cookies blocked, and all

cookies blocked;

         b.     JavaScript blocking test: JavaScript enabled, JavaScript disabled through browser

settings, and JavaScript blocked through the Sybu browser extension;

         c.     uBlock extension test: uBlock Origin extension disabled and uBlock Origin

extension enabled; and

         d.     Google Analytics Opt-out Add-on extension test: Google Analytics Opt-out Add-

on disabled and Google Analytics Opt-out Add-on enabled.

        123.    I describe the testing process in Appendix D.


         1.     Browser Settings that Affect the Transmission of Cookie Values

        124.    As discussed in Section III.B, cookies are a sequence of characters that contain

information used for various purposes, including but not limited to core website functionalities

(e.g., remembering which items a user placed for the checkout during online shopping or a time

zone a user is located in) and for the delivery of targeted ads. Many browsers, including Chrome,

Firefox, Edge, and Safari, give users the option to (1) allow all cookies, (2) block third-party

cookies, and (3) block all cookies. These options are available for both Regular and Private

Browsing Modes. 154,155



154
      See Chrome cookie blocking settings example in Section V.A.2.
155
      See     e.g.,    “Cookie     Rejection    Report   2020,”  Flashtalking,   available  at
      https://static1.squarespace.com/static/5c17fee58ab722e19b765b9d/t/5ebb2cad66d47b4c5c9f
      21a9/1589324990858/Flashtalking_Cookie_Rejection_Report_2020.pdf. In 2020, an ad-
      serving company called Flashtalking published its annual Cookie Rejection Report, which

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         125.    Exhibits 2.1-2.5 and 2.21-2.25 summarize the results of my cookie blocking tests

across the selected five websites in Regular and Private Browsing Modes. The results demonstrate

that Chrome cookie settings impact data transmissions in both Regular Mode and Private Browsing

Modes. The “All Cookies Blocked” setting does block all cookie values from being transmitted to

Google-associated domains.

         126.    The “Block Third-Party Cookies” setting blocks all third-party cookie value

transmission to Google-associated domains. For example, third-party cookies such as IDE and

NID are transmitted when all cookies are allowed but not when third-party cookies are blocked. 156

         127.    Based on my testing, I conclude that cookie settings impact the transmission of

cookie values in Regular and Private Browsing Modes. The cookie blocking settings allow users

to block third-party or all cookies. If a user blocks third-party cookies, no third-party cookies will

be sent to third-party domains, which includes Google-associated domains. If a user blocks all




      examines cookies being blocked or deleted by web browsers. The company evaluated data
      from 36 different advertisers over a 30-day period in 2019, covering over six billion
      impressions. The report found that on average, 64% of cookies were rejected across devices,
      with a 41% rejection rate for desktop, 73% rejection rate for tablet, and 79% rejection rate for
      mobile devices. Cookie rejection occurs because users are in an environment where cookies do
      not function or because browsers implement cookie blocking settings.
156
      There are a limited number of instances that require further clarification. The third-party cookie
      named DSID is associated with a transmitted value of “NO_DATA” in the cases of
      https://www.cnn.com/, https://www.washingtonpost.com/, and https://www.latimes.com/.
      DSID cookie “is used to identify a signed-in user on non-Google sites and to remember
      whether the user has agreed to ad personalization.” As the value suggests, no data are
      transmitted in these cases as I performed my testing without being signed in. Therefore, the
      DSID with a value of “NO_DATA” cannot be used to track users or to serve targeted ads. See
      “How Google Uses Cookies,” Google Privacy & Terms, Google, available at
      https://policies.google.com/technologies/cookies?hl=en-US. I provide a more extensive
      discussion of other, similar examples of cookie value transmissions in Appendix F.

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cookies, then no cookies are sent to any domains including Google-associated domains,

irrespective of the browsing mode.


         2.     Users Can Block Execution of JavaScript Code on Webpages

        128.    JavaScript is a programming language widely used to enable dynamic and

responsive content of websites such as content updated based on user actions, interactive maps,

and others. 157 Even though JavaScript is present on most modern websites, it is not as fundamental

of a component of webpages as HTML. Therefore, websites that do not rely on certain advanced

and complex features would still be functional for most users if JavaScript were disabled. An

example of the features that typically would not work and might impact user experience is logging

in to the website. Not all websites contain this functionality and even if they do, a website login

often is not required to browse the website. Since in many cases JavaScript is used to enable

advertising and analytics services, restricting the use of JavaScript in webpages may reduce the

amount of advertising content and the amount of time required to load a webpage. For example,

as Figure 43 shows, when I visit https://www.thesaurus.com/browse/analyses/ with JavaScript

execution allowed, the top part of the website even without scrolling down contains three ads. In

contrast, as Figure 44 shows, when I visit the same webpage after blocking JavaScript, the banners

ads are gone, which some users may find desirable.




157
      “What is JavaScript?” MDN Web Docs, Mozilla Corporation, available at
      https://developer.mozilla.org/en-US/docs/Learn/JavaScript/First_steps/What_is_JavaScript.

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                                Figure 43
           Example of Website with Allowed JavaScript Execution




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                                        Figure 44
                   Example of Website with Blocked JavaScript Execution




      129.     As Figure 43 and Figure 44 suggest, browsers have settings to block JavaScript

execution. Furthermore, restricting execution of JavaScript code may limit the transmission of At-

Issue Data to Google. Such settings, however, will not impact data transmissions that are not

triggered by JavaScript code.

      130.     Users can restrict the execution of JavaScript on web pages either through browser

settings or by using browser extensions that are designed to restrict JavaScript execution such as

the Sybu extension. Though I present only this example in my report, many similar extensions are

available on all major browsers.




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        131.    To disable JavaScript execution in the Chrome browser, a user can visit

chrome://settings/content/javascript either through the address bar or by using settings navigation

buttons, and then select “Don’t allow sites to use JavaScript,” as illustrated in Figure 45 below.


                                          Figure 45
                           JavaScript Execution Settings in Chrome




        132.    Users can install extensions by visiting the Chrome Web Store. To illustrate an

extension that disables JavaScript, I used the Sybu extension which has more than 10,000 users. 158

The key difference between browser setting- and extension-based JavaScript blocking is that

extensions may include additional settings that allow users to choose how strict JavaScript

blocking should be. For example, the settings page of the Sybu extension includes a “My Rules”

option that by default blocks several types of Google-related JavaScript code from executing.




158
        “Sybu JavaScript Blocker,” Chrome Web Store,                     Google,     available       at
      https://chrome.google.com/webstore/detail/sybu-javascript-
      blocker/ceicidjdokcfbnkdenbhmnonehglgilk.

                                                88
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        133.    Exhibits 2.6-2.10 and 2.26-2.30 illustrate the results of my JavaScript blocking

tests. Blocking JavaScript through settings prevents all cookies from being sent to Google-

associated domains.

        134.    Similarly, the Sybu extension limits certain transmissions of cookie values to

Google-associated domains. Compared to JavaScript settings, it allows users to define custom

rules to block or allow certain domains.

        135.    Based on my JavaScript blocking tests, I conclude that settings and extensions

available to browser users are effective at blocking JavaScript execution and transmission of

certain cookie values to Google-associated domains.


       3.       Add-Ons and Extensions Can Be Used to Restrict Data Transmission to Google
Analytics

        136.    As I mentioned above, Chrome allows for the installation of extensions and add-

ons that prevent or restrict certain data transmissions. For example, to affect the At-Issue Data

being transmitted to Google Analytics, users can install Google Analytics Opt-out Add-on

extension, which focuses on restricting data transmissions associated with Google Analytics.159

This extension has been installed by more than 1 million users. 160




159
      “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
      https://chrome.google.com/webstore/detail/google-analytics-opt-
      out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.
160
      “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
      https://chrome.google.com/webstore/detail/google-analytics-opt-
      out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.

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                                        Figure 46
                  Google Analytics Opt-out Add-on Page on Chrome Store




      137.     My testing of the impact of Google Analytics Opt-out Add-on extension on data

transmissions is illustrated in Exhibits 2.11-2.15 and 2.31-2.35. My results show that cookies

associated with Google Analytics, including _ga, _gid, and _gaexp, are not transmitted to Google

Analytics domains when I enabled the Google Analytics Opt-out Add-on extension.

      138.     My tests illustrate that users who wish to restrict data transmissions to Google

Analytics can use the Google Analytics Opt-out Add-on extension that effectively restricts data

transmission of cookie values associated with Google Analytics.


       4.      Users Can Block Ads and Other Content Using Add-Ons and Extensions

      139.     Similar to the Google Analytics Opt-out Add-on extension that focuses on

restricting data transmissions associated with Google Analytics, users have the ability to install

extensions that block advertisements and other content from loading on websites. One example of




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such an extension is uBlock Origin (“uBlock”) which has more than 10 million installs on Chrome

as illustrated in Figure 47 below. 161


                                          Figure 47
                            uBlock Extension Page on Chrome Store




         140.   Exhibits 2.16-2.20 and 2.36-2.40 illustrate results of my testing for the uBlock

extension. I did not observe any cookies being transmitted to Google-associated domains in Private

Browsing Mode. I similarly observe most cookies being blocked in Regular Mode except an NID

cookie on https://www.nytimes.com/ which is transmitted to https://news.google.com/ and

https://accounts.google.com/. I understand that uBlock filtering relies on several default lists of

domains which a user can supplement as shown in the settings page of uBlock illustrated below in

Figure 48. As https://news.google.com and https://accounts.google.com/ are not by default

included in the filter list, the extension will only block these transmissions if a user modifies the

setting page as illustrated in Figure 49 below.



161
      “uBlock       Origin,”     Chrome       Web       Store,       Google,       available       at
      https://chrome.google.com/webstore/detail/ublock-
      origin/cjpalhdlnbpafiamejdnhcphjbkeiagm?hl=en.

                                                  91
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                              Figure 48
                         uBlock Settings Page




                                 92
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                                           Figure 49
                                   Accessing uBlock Settings




       141.    My tests demonstrate that extensions that aim at preventing data transmissions

related to advertising are effective tools that may limit certain transmissions to Google-associated

domains.


       5.      VPN Services Mask Users’ IP Addresses

       142.    As discussed in Section IV.A, VPN services can be used for many reasons such as

masking (i.e., replacing) the user’s IP address with that of the VPN server, encrypting the

communications of the user’s device, or for bypassing geographic restrictions on content (e.g., if

certain content is not available in a country where a user is located, they might use a VPN with an

IP address associated with a different geographic region to gain access to that content).




                                                93
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          143.   To illustrate that VPN services are an effective tool to mask users’ IP addresses, I

accessed a website that shows IP addresses with and without VPN services enabled while in Private

Browsing Mode. First, I observed an IP address of the test machine by navigating to

https://whatismyipaddress.com/service without having enabled a VPN service. Figure 50

illustrates the IP address. Because IP addresses can be used to approximate a geographic location,

this Figure shows that my location at the time of conducting this test was in Massachusetts, United

States.


                                             Figure 50
                            Illustration of Actual External IP address




          144.   I then used NordVPN, which is a popular VPN service. The desktop application of

NordVPN replaces the external IP address not only for browsing purposes but also generally for

any communication over the Internet. NordVPN is available on many platforms including

Windows, iOS, macOS, and Android. 162




162
      “Download      NordVPN app for Windows                  PC,”     NordVPN,       available    at
      https://nordvpn.com/download/windows/.

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         145.    NordVPN, similarly to other VPN services, has a network of VPN servers around

the world that allow users to change where they wish to have their VPN IP “be located”. Figure

51 illustrates the map of countries which a NordVPN user can choose from denoted by circled

numbers or blue dots. 163


                                            Figure 51
                     Country Options for IP Address in NordVPN Application




         146.    I   selected   Italy   as   a   country   of   my   IP   destination   and   visited

https://whatismyipaddress.com/ again. As Figure 52 shows, the service detected an IP address

now located in Italy, which confirms that VPN services allow users to select an IP address

associated with a different device and geographical area.




163
      There are many servers located in each represented country. It allows users to not only select
      a country but also a location or a server inside a country.

                                                   95
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                                          Figure 52
                                   IP Address with VPN Use




      147.     My tests demonstrate that VPN services are an effective tool to mask users’ IP

addresses and would prevent the user’s true IP address from being sent in transmissions to Google-

associated domains.




Signed on the 15th day of April, 2022, at Brookline, MA.




                                                ____________________________________

                                                Georgios Zervas




                                               96
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                                                                                         Exhibit 1.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                            https://www.nytimes.com/ (Part 1)

                                                                                                                                    Chrome
                                 Regular Mode                                    Regular Mode                               Private Browsing Mode                            Private Browsing Mode                                 Regular Mode
 Cookie Name              (Initial Session)                                        (Session 1)                                     (Session 1)                                      (Session 2)                                      (Session 2)
CMID         Yks9Y.SWIUDA.aPxaxuzcwAA
DSID         NO_DATA                                            NO_DATA                                          NO_DATA                                                                                          NO_DATA
ID           4a6ec1651f2677fb01344e9b7922b5
IDE          AHWqTUkoq2dX3NoxwRtTab-zSG35qq                     AHWqTUkoq2dX3NoxwRtTab-zSG35qq                                                                                                                    AHWqTUkoq2dX3NoxwRtTab-zSG35qq
                                                                511=cQIn3wCGiq3VdDmUobp8Q4u4tJ

NID             511=cQIn3wCGiq3VdDmUobp8Q4u4tJ                  511=eQ1j2bH0KvR_e62lB7-u7SBcp7                                                                                                                    511=eQ1j2bH0KvR_e62lB7-u7SBcp7
TDID            275837f2-b26d-4845-9eb0-30a820
__gads                                                          ID=4938b38a824c7925:T=16490980                   ID=e54e47e3f11c2720-227caa17ed                   ID=34671794ba3272dc-2269826e19                  ID=4938b38a824c7925:T=16490980
__gpi                                                                                                            UID=000003b279b401f0:T=1649098
_ga             1835220652.1649098083                           1835220652.1649098083                            1638073241.1649098353                            257801265.1649098499                            1835220652.1649098083
_gcl_au         885089998.1649098084                            885089998.1649098084                             1863613158.1649098355                            696086320.1649098501                            885089998.1649098084
_gid            2121132959.1649098084                           2121132959.1649098084                            1956093198.1649098355                            990005167.1649098501                            2121132959.1649098084
_rxuuid         AYg5qPL1EljYkiXQ4sY5ZiD8sia0hG
nyt-a           XEdGEKPloF_lOs-E8lWqWR                          XEdGEKPloF_lOs-E8lWqWR                           ehP5FH2EknnaiSTeRQ6ik7                           I6qhfsOaq7E4HVkMlHY-4O                          XEdGEKPloF_lOs-E8lWqWR
nyt-jkidd       anon                                            anon                                             anon                                             anon                                            anon
test_cookie     CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent to
Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                         Exhibit 1.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                            https://www.nytimes.com/ (Part 2)

                                                                                                                                     Edge
                                 Regular Mode                                    Regular Mode                               Private Browsing Mode                            Private Browsing Mode                                 Regular Mode
Cookie Name              (Initial Session)                                     (Session 1)                                      (Session 1)                                      (Session 2)                                     (Session 2)
__gads      ID=1bc638bb52f6726e-22feb323ff                      ID=1bc638bb52f6726e-22feb323ff                   ID=b3e99924fd921ef6-22a4d6edfd                   ID=fe420d50499a8f2d-22a5445cfc                  ID=1bc638bb52f6726e-22feb323ff
_ga         1980542796.1649463052                               1980542796.1649463052                            1552015100.1649463349                            1870558466.1649463497                           1980542796.1649463052
_gcl_au     541175046.1649463053                                541175046.1649463053                             1630133533.1649463349                            293630192.1649463497                            541175046.1649463053
_gid        2146859059.1649463053                               2146859059.1649463053                            205049718.1649463350                             1674661127.1649463497                           2146859059.1649463053
nyt-a       6PO-6nit6_GBAXzfYx2PMC                              6PO-6nit6_GBAXzfYx2PMC                           8IdoLsIImk62tQX0AExbTy                           ckC0z3y6Xy9SvjpatIwr97                          6PO-6nit6_GBAXzfYx2PMC
nyt-jkidd   anon                                                anon                                             anon                                             anon                                            anon

                                                                                                                                    Firefox
                                 Regular Mode                                    Regular Mode                               Private Browsing Mode                            Private Browsing Mode                                 Regular Mode
Cookie Name                      (Initial Session)                                 (Session 1)                                     (Session 1)                                      (Session 2)                                      (Session 2)
NID             511=ag1AD-6jNa_fOekuMR94fApuxT                  511=ag1AD-6jNa_fOekuMR94fApuxT                   511=Wuzrn5Y9zfOvixbDnErBJQM-mU                   511=tt4Zr3DvRoZZS7fWxpqXmQbSK2                  511=ag1AD-6jNa_fOekuMR94fApuxT
OTZ             6452731_56_56__56_                              6452731_56_56__56_                               6452734_56_56__56_                               6452735_56_56__56_                              6452731_56_56__56_
TDID                                                                                                                                                                                                              c3d20942-99c9-4190-b86f-236d2f
                                                                                                                                                                                                                  ID=ce039df8d1ffc580:T=16494678

__gads          ID=ce039df8d1ffc580:T=16494678                  ID=ce039df8d1ffc580:T=16494678                                                                                                                    ID=ce039df8d1ffc580-226cd95afc
_ga             1719483127.1649467862                           1719483127.1649467862                                                                                                                             1719483127.1649467862
_gcl_au         541199004.1649467861                            541199004.1649467861                                                                                                                              541199004.1649467861
_gid            2115386837.1649467862                           2115386837.1649467862                                                                                                                             2115386837.1649467862
nyt-a           DqtxykWB4vCfOzPtJCpBht                          DqtxykWB4vCfOzPtJCpBht                                                                                                                            DqtxykWB4vCfOzPtJCpBht
nyt-jkidd       anon                                            anon                                                                                                                                              anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent to
Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                          Exhibit 1.2: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                               https://www.apartments.com/

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                   Regular Mode
 Cookie Name              (Initial Session)                                  (Session 1)                                            (Session 1)                                       (Session 2)                    (Session 2)
IDE          AHWqTUkVCdi9Unh_6axnSrQRHf9e3-                      AHWqTUkVCdi9Unh_6axnSrQRHf9e3-                                                                                                          AHWqTUkVCdi9Unh_6axnSrQRHf9e3-
TDID         c95f593d-78d1-44f3-86c7-925b2d
_ga          741820916.1649093540                                741820916.1649093540                             1654030093.1649093665                            1113805356.1649093720                 741820916.1649093540
_gcl_au      1275291120.1649093540                               1275291120.1649093540                            122495526.1649093665                             579581357.1649093720                  1275291120.1649093540
_gid         369248429.1649093540                                369248429.1649093540                             296377553.1649093665                             708541216.1649093720                  369248429.1649093540
test_cookie  CheckForPermission

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                   Regular Mode
Cookie Name              (Initial Session)                                      (Session 1)                                      (Session 1)                                      (Session 2)                           (Session 2)
_ga         597464165.1649623202                                 597464165.1649623202                             1256957579.1649623368                            922922173.1649623431                  597464165.1649623202
_gcl_au     222147690.1649623202                                 222147690.1649623202                             261178691.1649623368                             1968876362.1649623431                 222147690.1649623202
_gid        796645681.1649623202                                 796645681.1649623202                             753400918.1649623368                             240078578.1649623431                  796645681.1649623202

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                   Regular Mode
Cookie Name              (Initial Session)                                      (Session 1)                                         (Session 1)                                       (Session 2)                       (Session 2)
_ga         677770063.1649465050                                 677770063.1649465050                                                                                                                    677770063.1649465050
_gcl_au     1879048979.1649465050                                1879048979.1649465050                                                                                                                   1879048979.1649465050
_gid        1926130038.1649465050                                1926130038.1649465050                                                                                                                   1926130038.1649465050
_sctr       1649462400000                                        1649462400000                                                                                                                           1649462400000

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                          Exhibit 1.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                               https://www.cnn.com/ (Part 1)

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                  Regular Mode
Cookie Name             (Initial Session)                                          (Session 1)                                      (Session 1)                                       (Session 2)                     (Session 2)
CMID        YksuFMusio6QBKUnOattzgAA                                                                                                                                                                     YksuFMusio6QBKUnOattzgAA
DSID        NO_DATA                                              NO_DATA                                                                                                                                 NO_DATA

                AHWqTUnMeZmUfdziMkbQah0KMNdxbs

IDE             AHWqTUl2XhJlmw74VfJg3g-N3EjYND                   AHWqTUl2XhJlmw74VfJg3g-N3EjYND                                                                                                          AHWqTUl2XhJlmw74VfJg3g-N3EjYND
TDID            3ea37b7d-4212-420b-96ee-6cd385
                                                                                                                                                                   oy8L2Hh9RuXf

V               gEn2iwNwRQ1v                                                                                                                                       s2tKHPyHOy7X
__106_cid       3ea37b7d-4212-420b-96ee-6cd385
__gads                                                           ID=2e3b16973ad1c208:T=16490941                   ID=e9906127e1685e9b-22fc8bb7ed                   ID=b731f294f0bcf29c-22a54dfbec        ID=2e3b16973ad1c208:T=16490941
__io_cid        3ea37b7d-4212-420b-96ee-6cd385
_kuid_                                                           Owjms0IS                                                                                                                                Owjms0IS
indxexcg        YksuFMusio6QBKUnOattzgAAA54AAA                                                                                                                                                           YksuFMusio6QBKUnOattzgAAA54AAA
ljt_reader      201961fbd447ea19e3977301
ptrpp           gEn2iwNwRQ1v
ptrstk          h88zR_LZR3VeoalZQjghhBTnUu4
ptrt            3ea37b7d-4212-420b-96ee-6cd385
test_cookie     CheckForPermission
ttd             3ea37b7d-4212-420b-96ee-6cd385
ug              624b2e110106ca0a3f9083001438a3                   624b2e110106ca0a3f9083001438a3                   624b303f0ee9f40a3f9b5b00173ae8                   624b3108015bb90a3f85a100151760        624b2e110106ca0a3f9083001438a3
ug1             624b2e110106ca0a3f9083001438a3                                                                    624b303f0ee9f40a3f9b5b00173ae8                   624b3108015bb90a3f85a100151760

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                          Exhibit 1.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                               https://www.cnn.com/ (Part 2)

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                  Regular Mode
Cookie Name                      (Initial Session)                                 (Session 1)                                      (Session 1)                                       (Session 2)                       (Session 2)
                                                                 ID=8cc9ee5e237302cc-222e2b5cff

__gads          ID=8cc9ee5e237302cc-222e2b5cff                   ID=8cc9ee5e237302cc:T=16495634                   ID=af22eb073c41cd68-22ca0d9126                   ID=2190aa990814fbc6:T=16495640        ID=8cc9ee5e237302cc:T=16495634
ug              6252570b04dcd30a3f8d7c0015f782                   6252570b04dcd30a3f8d7c0015f782                   625258b50aaf3f0a3f908300169892                   625259610a98670a3f85a1001610b1        6252570b04dcd30a3f8d7c0015f782
ug1             6252570b04dcd30a3f8d7c0015f782                                                                    625258b50aaf3f0a3f908300169892                   625259610a98670a3f85a1001610b1

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                  Regular Mode
 Cookie Name              (Initial Session)                                        (Session 1)                                      (Session 1)                                       (Session 2)                      (Session 2)
DSID                                                             NO_DATA                                                                                                                                 NO_DATA
__gads       ID=306369aa2bdc333a-22fd95db25                      ID=306369aa2bdc333a-22fd95db25                                                                                                          ID=306369aa2bdc333a-22fd95db25
dc_id        4d20a2b4851a4e81adf37e57e0bb3b
ug           6250d8e207fab30a3f8d7c0016cc55                      6250d8e207fab30a3f8d7c0016cc55                                                                                                          6250d8e207fab30a3f8d7c0016cc55
ug1          6250d8e207fab30a3f8d7c0016cc55
uuid         41ab32316e714eb5b9d5971624d816

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 626 of 1046
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                                                                                          Exhibit 1.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                             https://www.latimes.com/ (Part 1)

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                  Regular Mode
Cookie Name              (Initial Session)                                         (Session 1)                                      (Session 1)                                       (Session 2)                       (Session 2)
CMID        YksztUu5-Odb-876ih.opAAA
DSID                                                             NO_DATA                                          NO_DATA                                                                                NO_DATA

IDE             AHWqTUmcZ4r4YEBqWCvorm8RnYFn6W                   AHWqTUmcZ4r4YEBqWCvorm8RnYFn6W                                                                                                          AHWqTUmcZ4r4YEBqWCvorm8RnYFn6W
TDID            91e01a4e-542d-4f70-9812-b3cd8d
                ID=12900160c988ae12-22c463b0ed                                                                    ID=ed6accefacec9948-220735e8ec                   ID=b254a586fbefdcad-22f262bbee

__gads          ID=12900160c988ae12:T=16490956                   ID=12900160c988ae12:T=16490956                   ID=ed6accefacec9948:T=16490960                   ID=b254a586fbefdcad:T=16490961        ID=12900160c988ae12:T=16490956
_ga             1046244586.1649095605                            1046244586.1649095605                            1929415882.1649096015                            1999179419.1649096141                 1046244586.1649095605
_gid            1006204224.1649095605                            1006204224.1649095605                            474539410.1649096016                             1180894715.1649096141                 1006204224.1649095605
                AYg5qPIDmGplemylkpuuFdUXC2A22G

_rxuuid         AYg5qPJspe23BEbQlsw7vMJ43T-3n3
b                                                                624B34A614A89BDE61DB6890BLIS
                                                                                                                                                                                                         AYg5qPJY2vLmrxrlifd36PjW3JFUvw

google_push                                                                                                                                                                                              AYg5qPJJ9vkOO6TeIozhCP6HckoF24
ljt_reader                                                       7d01d1656cdbc95b772b714e
permutive-id                                                     704a7fad-03c4-4a2e-b43a-8ed374                   5cca0f8d-5f26-4392-917f-8f9054                   84293d41-a539-44ee-a7d7-641dfd        704a7fad-03c4-4a2e-b43a-8ed374
sa-user-id-v2   RSX1qNzrTglvDZC9K8PwIhTnUu4                                                                                                                                                              RSX1qNzrTglvDZC9K8PwIhTnUu4
ssh             triplelift
suid                                                             8E1BE579BCC7492FB56128D60FA4C5
suid_legacy                                                      8E1BE579BCC7492FB56128D60FA4C5
test_cookie     CheckForPermission
uuid            d1da6296-a849-4e07-a320-38946e                   d1da6296-a849-4e07-a320-38946e                   2b59a04a-8894-45a0-b684-4fab66                   a961437b-ad51-4b42-848a-1b5c88        d1da6296-a849-4e07-a320-38946e

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 627 of 1046
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                                                                                          Exhibit 1.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on Windows 10
                                                                                                             https://www.latimes.com/ (Part 2)

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                  Regular Mode
Cookie Name               (Initial Session)                                        (Session 1)                                      (Session 1)                                       (Session 2)                       (Session 2)
DSID         NO_DATA                                             NO_DATA                                          NO_DATA                                          NO_DATA                               NO_DATA
__gads       ID=905b2d82ddaaadac-224952effd                      ID=905b2d82ddaaadac:T=16494621                   ID=24b544a1662565d0-2235c83efc                   ID=71c1f237eb803732-22af934fff        ID=905b2d82ddaaadac:T=16494621
_ga          1200003065.1649462122                               1200003065.1649462122                            1638692517.1649462394                            1104984448.1649462516                 1200003065.1649462122
_gid         352573928.1649462122                                352573928.1649462122                             1329120513.1649462394                            792753936.1649462516                  352573928.1649462122
_sctr                                                                                                                                                              1649462400000
permutive-id                                                     4e26ce71-d419-4008-926c-6be891                   d42ae05d-b1ab-4cdc-9f48-4a017e                   49afd594-c2d9-4dc0-9cc0-5f5af2        4e26ce71-d419-4008-926c-6be891
uuid         9eecb0d2-3a70-4aa2-bc40-641373                      9eecb0d2-3a70-4aa2-bc40-641373                   cf36c165-5762-4404-9200-726283                   c1357280-9545-45c8-8fdf-3f655e        9eecb0d2-3a70-4aa2-bc40-641373

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                  Regular Mode
Cookie Name               (Initial Session)                                        (Session 1)                                      (Session 1)                                       (Session 2)                       (Session 2)
DSID         NO_DATA
__gads       ID=abbc5452537fcadb-22ef4d47fd                      ID=abbc5452537fcadb:T=16494673                                                                                                          ID=abbc5452537fcadb:T=16494673
_ga          1909485602.1649467321                               1909485602.1649467321                                                                                                                   1909485602.1649467321
_gid         1568002468.1649467321                                                                                                                                                                       1568002468.1649467321
permutive-id 6a13c7ed-b525-403f-babd-920943                      6a13c7ed-b525-403f-babd-920943                                                                                                          6a13c7ed-b525-403f-babd-920943
uuid         c0aa635c-4bc8-4a5c-9b11-c60e78                      c0aa635c-4bc8-4a5c-9b11-c60e78                                                                                                          c0aa635c-4bc8-4a5c-9b11-c60e78

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 628 of 1046
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                                                                                          Exhibit 1.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                               Browsers Tested on Windows 10
                                                                                                          https://www.washingtonpost.com/ (Part 1)

                                                                                                                                      Chrome
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                   Regular Mode
 Cookie Name             (Initial Session)                                         (Session 1)                                      (Session 1)                                       (Session 2)                       (Session 2)
CMID         YktAw08aiLE0oOKr7xJYYAAA
DSID         NO_DATA                                             NO_DATA                                          NO_DATA                                                                                NO_DATA
IDE          AHWqTUkE9eVNy1cRjx1K27ctAumt7I                      AHWqTUkE9eVNy1cRjx1K27ctAumt7I                                                                                                          AHWqTUkE9eVNy1cRjx1K27ctAumt7I
SCM          82c54452
SCMg         82c54452
             ID=9a82f095d4dbd4cb-22ffab57ed

__gads          ID=9a82f095d4dbd4cb:T=16490989                   ID=9a82f095d4dbd4cb:T=16490989                   ID=4379d0eb84f9f8ed-222cfaefed                   ID=90bd2ac36f34153a-22a68620ed        ID=9a82f095d4dbd4cb:T=16490989
_ga             25199709.1649098946                              25199709.1649098946                              973215853.1649099124                             1211309450.1649099213                 25199709.1649098946
_ga_WRCN6
8Y2LD           1649098945                                       1649099065                                       1649099123                                       1649099212                            1649099297
_gaexp          3gY8TfBUQy645wcR55Xl0w.1                         3gY8TfBUQy645wcR55Xl0w.1                         3gY8TfBUQy645wcR55Xl0w.1                         3gY8TfBUQy645wcR55Xl0w.1              3gY8TfBUQy645wcR55Xl0w.1
_gid            1090736128.1649098946                            1090736128.1649098946                            1771791117.1649099124                            1380715884.1649099213                 1090736128.1649098946
suid            912FE61A0F9B4BD187DF04AF759C4E
suid_legacy     912FE61A0F9B4BD187DF04AF759C4E
test_cookie     CheckForPermission
wp_ak_subs      0|20220331                                                                                        0|20220331                                       0|20220331
wp_ak_v_m       0|20220331                                       0|20220331                                       0|20220331                                       0|20220331                            0|20220331
wp_geo          US|VA|511||                                      US|VA|511||                                      US|VA|511||                                      US|VA|511||                           US|VA|511||
wp_usp          1---                                             1---                                             1---                                             1---                                  1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                       Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 629 of 1046
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                                                                                          Exhibit 1.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                               Browsers Tested on Windows 10
                                                                                                          https://www.washingtonpost.com/ (Part 2)

                                                                                                                                       Edge
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                   Regular Mode
Cookie Name                      (Initial Session)                                 (Session 1)                                      (Session 1)                                       (Session 2)                       (Session 2)
DSID                                                             NO_DATA
                                                                 ID=3b2e5a84ab44c87a-22a4c754fd                                                                    ID=7cf6e7dadb5e075b:T=16494616        ID=3b2e5a84ab44c87a-227f3e73fc

__gads          ID=3b2e5a84ab44c87a-22a4c754fd                   ID=3b2e5a84ab44c87a:T=16494613                   ID=f1285943f0100d75-2213bf41fd                   ID=7cf6e7dadb5e075b-220943b7fd        ID=3b2e5a84ab44c87a:T=16494613
_ga             899250726.1649461337                             899250726.1649461337                             1826560173.1649461556                            52084918.1649461642                   899250726.1649461337
_ga_WRCN6
8Y2LD           1649461336                                       1649461466                                       1649461555                                       1649461641                            1649461727
_gaexp          3gY8TfBUQy645wcR55Xl0w.0                         3gY8TfBUQy645wcR55Xl0w.0                         3gY8TfBUQy645wcR55Xl0w.0                         3gY8TfBUQy645wcR55Xl0w.0              3gY8TfBUQy645wcR55Xl0w.0
_gid            645015223.1649461337                             645015223.1649461337                             223744946.1649461556                             1645226885.1649461642                 645015223.1649461337
wp_ak_subs      0|20220331                                                                                                                                         0|20220331
wp_ak_v_m       0|20220331                                       0|20220331                                       1|20220331                                       0|20220331                            0|20220331
wp_geo          US|VA|560||                                      US|VA|560||                                      US|VA|560||                                      US|VA|560||                           US|VA|560||
wp_usp          1---                                             1---                                             1---                                             1---                                  1---

                                                                                                                                      Firefox
                                 Regular Mode                                    Regular Mode                                 Private Browsing Mode                            Private Browsing Mode                   Regular Mode
Cookie Name              (Initial Session)                                      (Session 1)                                         (Session 1)                                       (Session 2)                       (Session 2)
__gads      ID=d1aaade5c37056ee-222b6c40ff                       ID=d1aaade5c37056ee-222b6c40ff                                                                                                          ID=d1aaade5c37056ee-222b6c40ff
_ga         1643073982.1649466845                                1643073982.1649466845                                                                                                                   1643073982.1649466845
_ga_WRCN6
8Y2LD       1649466847                                           1649466908                                                                                                                              1649467049
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                             3gY8TfBUQy645wcR55Xl0w.1                                                                                                                3gY8TfBUQy645wcR55Xl0w.1
_gid        222965876.1649466850                                 222965876.1649466850                                                                                                                    222965876.1649466850
wp_ak_subs  0|20220331
wp_ak_v_m   0|20220331                                           0|20220331                                                                                                                              0|20220331
wp_geo      US|VA|560||                                          US|VA|560||                                                                                                                             US|VA|560||
wp_usp      1---                                                 1---                                                                                                                                    1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                    Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 630 of 1046
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                                                                                      Exhibit 1.6: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on MacOS
                                                                                                             https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
 Cookie Name             (Initial Session)                                       (Session 1)                                    (Session 1)                                    (Session 2)                               (Session 2)
CMID         YlGnSQWw.AhehnyajMLFJgAA                                                                                                                                                                        YlGnSQWw.AhehnyajMLFJgAA
ID           41986b8187c383ad299652da8bd807

IDE             AHWqTUk2pt1v4p3AvRJ8Bp4SMTag-N                 AHWqTUk2pt1v4p3AvRJ8Bp4SMTag-N                                                                                                                AHWqTUk2pt1v4p3AvRJ8Bp4SMTag-N
                511=ErMhlTP5teg3H7UOTI1mh5YIY0                                                                                                                                                               511=WQKwerudOJqJM3v-jDy_0qIbvX

NID             511=WQKwerudOJqJM3v-jDy_0qIbvX                 511=WQKwerudOJqJM3v-jDy_0qIbvX                                                                                                                511=fdF34QAqltTRsJZQfjudWSToti
TDID            c552f04c-8884-4b8d-9e62-ac6ce7                                                                cc96810a-201c-48c3-a8c4-dfdbeb
                ID=586c9d0bf19ce1db-22be9ad426

__gads          ID=586c9d0bf19ce1db:T=16495184                 ID=586c9d0bf19ce1db:T=16495184                 ID=ef5550874ebe12b3-22241480ff                  ID=8605b9dec37c6d98-220ec231ff                 ID=586c9d0bf19ce1db:T=16495184
_ga             1364005265.1649518408                          1364005265.1649518408                          1166568481.1649518533                           1449434366.1649518599                          1364005265.1649518408
_gcl_au         1265247173.1649518411                          1265247173.1649518411                          179557806.1649518537                            282959307.1649518602                           1265247173.1649518411
_gid            881624777.1649518412                           881624777.1649518412                           1489659359.1649518538                           1168375711.1649518602                          881624777.1649518412
nyt-a           DtHEoMLfpp4tDTJTfaJDyW                         DtHEoMLfpp4tDTJTfaJDyW                         SNIq3lcyk8xh_M9L_-MIbl                          _ScK56cMj9RW07j18KM-6o                         DtHEoMLfpp4tDTJTfaJDyW
nyt-jkidd       anon                                           anon                                           anon                                            anon                                           anon
test_cookie     CheckForPermission
tv_UIDF         CAESENc-SVCHxILvB9mworPG_Es

                                                                                                                                  Safari
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
Cookie Name                      (Initial Session)                               (Session 1)                                    (Session 1)                                    (Session 2)                                    (Session 2)
                                                                                                                                                                                                             ID=61cbf7e5a03ed9d1-22a5ff75ff

__gads          ID=61cbf7e5a03ed9d1-22a5ff75ff                 ID=61cbf7e5a03ed9d1-22a5ff75ff                 ID=9961355b5c845d22-22dff2bc26                  ID=4a361d48129eac30-22736d1226                 ID=61cbf7e5a03ed9d1-22a5ff75ff
_ga             876028807.1649473718                           876028807.1649473718                           789988728.1649473926                            732824226.1649474003                           876028807.1649473718
_gcl_au         1633697201.1649473720                          1633697201.1649473720                          1801524897.1649473926                           1364278623.1649474004                          1633697201.1649473720
_gid            1109884847.1649473723                          1109884847.1649473723                          1922564748.1649473927                           1380442505.1649474005                          1109884847.1649473723
nyt-a           GEVS5mJi1RQtDX4i5N_lyN                         GEVS5mJi1RQtDX4i5N_lyN                         L9IFlRHvIiFh9hc9zAyEJI                          wZyIPuhxuCVAR1XrcCSOF-                         GEVS5mJi1RQtDX4i5N_lyN
nyt-jkidd       anon                                           anon                                           anon                                            anon                                           anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                       Exhibit 1.7: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on MacOS
                                                                                                            https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name             (Initial Session)                                     (Session 1)                                       (Session 1)                                     (Session 2)                        (Session 2)
IDE          AHWqTUkquDSpiaEWyojC2CXpXlpuCc                     AHWqTUkquDSpiaEWyojC2CXpXlpuCc                                                                                                           AHWqTUkquDSpiaEWyojC2CXpXlpuCc
TDID                                                            790583b5-ede2-4b06-9ade-959235
_ga          761064299.1649520844                               761064299.1649520844                            2041799495.1649520913                          1375465460.1649520952                     761064299.1649520844
_gcl_au      203245146.1649520845                               203245146.1649520845                            1932284121.1649520914                          1894760233.1649520953                     203245146.1649520845
_gid         295033893.1649520844                               295033893.1649520844                            683045336.1649520913                           1679466380.1649520952                     295033893.1649520844
test_cookie  CheckForPermission

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
_ga         1956423945.1649187733                               1956423945.1649187733                           56642298.1649187842                            1353171259.1649187904                     1956423945.1649187733
_gcl_au     1056780030.1649187734                               1056780030.1649187734                           36293318.1649187843                            601872010.1649187904                      1056780030.1649187734
_gid        200632100.1649187733                                200632100.1649187733                            1362391677.1649187842                          407875132.1649187904                      200632100.1649187733

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                           Exhibit 1.8: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                                 Browsers Tested on MacOS
                                                                                                                    https://www.cnn.com/

                                                                                                                                          Chrome
                                       Regular Mode                                    Regular Mode                               Private Browsing Mode                          Private Browsing Mode               Regular Mode
    Cookie Name             (Initial Session)                                            (Session 1)                                     (Session 1)                                    (Session 2)                    (Session 2)
CMID            YlEShrVdZUvaVCTZUj.quwAA
DSID                                                                   NO_DATA                                         NO_DATA                                         NO_DATA                           NO_DATA
IDE             AHWqTUnu_Vx_CIcUivsBYH-ZT0Ml9n                         AHWqTUnu_Vx_CIcUivsBYH-ZT0Ml9n                                                                                                    AHWqTUnu_Vx_CIcUivsBYH-ZT0Ml9n
KRTBCOOKIE_860                                                                                                                                                                                           x9Mk56wkT758O4qVPXnTUWQAw8Q
SCM                                                                    554c6e2a
SCM1001299                                                             554c6e2a
SCM1001609                                                             554c6e2a
SCMg                                                                   554c6e2a
SCMo                                                                   554c6e2a
SCMsas                                                                 554c6e2a
SCMtmp1001299                                                          554c6e2a
SCMtmp1001609                                                          554c6e2a
TDID                                                                   9183d6d9-353f-4b4e-aa39-c56e9f
V                                                                      ayiI00R9BRG2
__106_cid                                                              9183d6d9-353f-4b4e-aa39-c56e9f
                ID=89fb9468ddae041d-22b71b50ff

__gads                 ID=89fb9468ddae041d:T=16494803                  ID=89fb9468ddae041d:T=16494803                  ID=3619eb5f9d30a432-22410a84fc                  ID=0434968cb45b04fe-22d61af6fd    ID=89fb9468ddae041d:T=16494803
__gpi                  UID=000003f241fafe1a:T=1649480
__io_cid                                                               9183d6d9-353f-4b4e-aa39-c56e9f
_kuid_                                                                 OxHkcpL1                                                                                                                          OxHkcpL1
google_push                                                            AYg5qPIVdXfevXD-wjPA3lqnyJC978
indxexcg               YlEShrVdZUvaVCTZUj-quwAAA6kAAA                  YlEShrVdZUvaVCTZUj-quwAAA6kAAA                                                                                                    YlEShrVdZUvaVCTZUj-quwAAA6kAAA
ljt_reader             a6b4c2dc8242500acbf177d6
ptrpp                                                                  ayiI00R9BRG2
ptrt                                                                   9183d6d9-353f-4b4e-aa39-c56e9f
sa-user-id-v2                                                                                                                                                                                            x9Mk56wkT758O4qVPXnTUWQAw8Q
smaato                                                                 554c6e2a
suid                                                                   0E070E7EA1C54C9FA0F6405FCB040A
test_cookie            CheckForPermission
ttd                                                                    9183d6d9-353f-4b4e-aa39-c56e9f
ug                     6251128806d11a0a3f8d7c0015e2d8                  6251128806d11a0a3f8d7c0015e2d8                  6251133603bc700a3f9b5b0019c2f6                  6251138101670d0a3f85a100154115    6251128806d11a0a3f8d7c0015e2d8
ug1                    6251128806d11a0a3f8d7c0015e2d8                                                                  6251133603bc700a3f9b5b0019c2f6                  6251138101670d0a3f85a100154115

                                                                                                                                           Safari
                                       Regular Mode                                    Regular Mode                               Private Browsing Mode                          Private Browsing Mode               Regular Mode
   Cookie Name                         (Initial Session)                                 (Session 1)                                     (Session 1)                                    (Session 2)                    (Session 2)
DSID                   NO_DATA                                         NO_DATA                                         NO_DATA                                         NO_DATA                           NO_DATA
                                                                                                                                                                                                         ID=14254880f1ff44f6-22599d5600

__gads                 ID=14254880f1ff44f6-22599d5600                  ID=14254880f1ff44f6-22599d5600                  ID=f9b37754d51d93d8-226f2c6ffc                  ID=9a3ae2126314460e-223ee32fff    ID=14254880f1ff44f6-22599d5600
__gpi                  UID=000003f22783f069:T=1649472
dc_id                  71525275afd247a6b1005d9b98d597                  dc2e73e4ea5042fa9742be95eaaa6f                  15c3328082814e29bd67e932bb8674                  fe90cce0175d47fab5ce8004451b25    ad82a9f8b0d04ff1ba253cef37bc49
ug                     6250f2030954220a3f8d7c0015e0b9                  6250f2030954220a3f8d7c0015e0b9                  6250f2c006de5f0a3f908300156c77                  6250f31f0e8bf90a3f8d7c0016ccd1    6250f2030954220a3f8d7c0015e0b9
ug1                    6250f2030954220a3f8d7c0015e0b9                                                                  6250f2c006de5f0a3f908300156c77                  6250f31f0e8bf90a3f8d7c0016ccd1
uuid                   759e7b245f7445f1abaf1dfd0a68cd                  2a2a9fe8dd6b4bd88ee12b508ed763                  bdc5f1c702dd406bad8f362214847d                  fce404341bb146a6b37fbb606a2d30    a1144147f70348bcbb687857f2b195

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 633 of 1046
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                                                                                       Exhibit 1.9: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on MacOS
                                                                                                              https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name            (Initial Session)                                         (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
CMID        YlGrlUnS.YK7NARJ8H8naQAA
DSID        NO_DATA                                             NO_DATA                                         NO_DATA                                                                                  NO_DATA

                AHWqTUmkQTnqDxnORDLdwaCVvSMK6
                U

                AHWqTUk5vH_WaROcriubLJkCHrHMBU

IDE             AHWqTUkB5_d8Jq8-o88-KwPdTCFYL-                  AHWqTUkB5_d8Jq8-o88-KwPdTCFYL-                                                                                                           AHWqTUkB5_d8Jq8-o88-KwPdTCFYL-
NID                                                                                                                                                                                                      511=J9ryIwZBDCbTLYF19HQjQ0VDo8
TDID                                                            a149f5d6-a734-4680-a52f-5bdd1e
TapAd_DID                                                       a149f5d6-a734-4680-a52f-5bdd1e
                ID=9765afb399b41c5d-223e9b5cfc

__gads          ID=9765afb399b41c5d:T=16495195                  ID=9765afb399b41c5d:T=16495195                  ID=35528094fe5f08ba-226f93fcfd                 ID=e973b71f15587c0a-22a2e45700            ID=9765afb399b41c5d:T=16495195
_ga             1346638155.1649519509                           1346638155.1649519509                           1683537768.1649519626                          244998600.1649519686                      1346638155.1649519509
_gid            1544315240.1649519510                           1544315240.1649519510                           1724929403.1649519627                          432544252.1649519689                      1544315240.1649519510
b                                                                                                                                                                                                        6251ABDCF42572FC64BB9C47BLIS

google_push     AYg5qPIkCo42wiVZ_Dye6VE8SQhXu2
ljt_reader                                                      b82b7f6e17d609009c1e596b
permutive-id                                                    fe4d5d65-babe-4192-8848-c1ebd0                  fa0565f3-b63d-4f8b-9d61-79a32e                 4d0a7ee6-3eae-4f6d-a452-ad9ea8            fe4d5d65-babe-4192-8848-c1ebd0
sa-user-id-v2                                                   cO6UEbjSQZxi8wU6RoCJhGQAw8Q
suid                                                                                                                                                                                                     E1C195C16E2B493FA97FD551D65EEE
test_cookie     CheckForPermission
uuid            02e7b3f7-a6d9-4445-8e72-3e76fc                  02e7b3f7-a6d9-4445-8e72-3e76fc                  38ef5827-1d9d-4039-ae91-9faeb0                 a37406f4-1446-477f-9e6e-3b6278            02e7b3f7-a6d9-4445-8e72-3e76fc

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                      (Session 1)                                   (Session 2)                               (Session 2)
__gads      ID=3be5ea35554fca86-227f3a38ef                      ID=3be5ea35554fca86:T=16491886                  ID=1f7125f6c4f4a73b-22d5743aef                 ID=207ffb148426bd0a-229a1120ef            ID=3be5ea35554fca86:T=16491886

                ID=3be5ea35554fca86:T=16491886                                                                  ID=1f7125f6c4f4a73b:T=16491887
_ga             457594635.1649188629                            457594635.1649188629                            859545785.1649188755                           769416170.1649188825                      457594635.1649188629

_gid            1188808681.1649188633                           1188808681.1649188633                           1458161203.1649188759                          821401968.1649188829                      1188808681.1649188633

permutive-id                                                    85d92a15-45d0-4fa3-adf8-e9e61b                  3dd54268-de18-4ada-b976-054c1f                                                           85d92a15-45d0-4fa3-adf8-e9e61b
uuid            a67027a7-8a44-45fa-89ce-92625a                  a67027a7-8a44-45fa-89ce-92625a                  ec367644-d8e3-4a90-b86b-41c20e                 4a8bb92a-4c5a-4e5d-a1b6-13e71d            a67027a7-8a44-45fa-89ce-92625a

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 634 of 1046
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                                                                                      Exhibit 1.10: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on MacOS
                                                                                                         https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                        (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
CMID        YlGt8eoLnzTSfNA-qaSJgQAA
DSID        NO_DATA                                             NO_DATA                                                                                                                                  NO_DATA

IDE             AHWqTUnesxoZVUUDIiJY3WAJXG80xZ                  AHWqTUnesxoZVUUDIiJY3WAJXG80xZ                                                                                                           AHWqTUnesxoZVUUDIiJY3WAJXG80xZ
SCM                                                             53825b64
SCMg                                                            53825b64
__gads                                                          ID=61e844ac4a23a18a:T=16495201                  ID=dc6c554802a0303f-2223051bff                 ID=da4833ce6db11f45-22e428cd25            ID=61e844ac4a23a18a:T=16495201
_ga             459707053.1649520112                            459707053.1649520112                            1776625633.1649520222                          922131970.1649520278                      459707053.1649520112
_ga_WRCN6
8Y2LD           1649520111                                      1649520166                                      1649520220                                     1649520277                                1649520322
_gaexp          3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid            198550334.1649520112                            198550334.1649520112                            1918595905.1649520222                          1957861325.1649520278                     198550334.1649520112
test_cookie     CheckForPermission
wp_ak_v_m       2|20220331                                      2|20220331                                      1|20220331                                     1|20220331                                2|20220331
wp_geo          US|MA|506||                                     US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp          1---                                            1---                                            1---                                           1---                                      1---

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
__gads      ID=23b1bfa17f37a4f9-22004b2f26                      ID=23b1bfa17f37a4f9-22004b2f26                  ID=0af56b5bbee3501a-22d41ec025                 ID=7e5fd83e524337cc-22f35afc25            ID=23b1bfa17f37a4f9-22004b2f26
_ga         1917203225.1649478958                               1917203225.1649478958                           632485580.1649479068                           1185711301.1649479118                     1917203225.1649478958
_ga_WRCN6
8Y2LD       1649478957                                          1649479003                                      1649479066                                     1649479116                                1649479181
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                            3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.1
_gid        183146015.1649478958                                183146015.1649478958                            238236868.1649479068                           2014669845.1649479118                     183146015.1649478958
wp_ak_subs  0|20220331                                                                                          0|20220331                                     0|20220331
wp_ak_v_m   0|20220331                                          0|20220331                                      0|20220331                                     0|20220331                                0|20220331
wp_geo      US|MA|506||                                         US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp      1---                                                1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 635 of 1046
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                                                                                     Exhibit 1.11: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                           Browsers Tested on Android
                                                                                                            https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
 Cookie Name             (Initial Session)                                       (Session 1)                                    (Session 1)                                    (Session 2)                                    (Session 2)
CMID         YlCrtRsITzZLTa8a3S7N.gAA
IDE          AHWqTUkEFDxaqbhRBq1q8edRZYO3jA                    AHWqTUkEFDxaqbhRBq1q8edRZYO3jA                                                                                                                AHWqTUkEFDxaqbhRBq1q8edRZYO3jA
             511=Tr2u8L4SDRzDqGx2AGD1a_Ge51

NID             511=ECmW6x7l0DI-qpZDKFMaNFbzjx                 511=ECmW6x7l0DI-qpZDKFMaNFbzjx                                                                                                                511=ECmW6x7l0DI-qpZDKFMaNFbzjx
TDID                                                           1cb4582e-69ad-445f-b42d-9e3b39
__gads          ID=96b055f8d88c6171:T=16494540                 ID=96b055f8d88c6171:T=16494540                 ID=3f24f38b7b1737e9-2227894226                                                                 ID=96b055f8d88c6171:T=16494540
_ga             2046280019.1649454006                          2046280019.1649454006                          2049931615.1649454125                                                                          2046280019.1649454006
_gcl_au         836349450.1649454005                           836349450.1649454005                           864673463.1649454125                                                                           836349450.1649454005
_gid            1560838507.1649454006                          1560838507.1649454006                          376221583.1649454125                                                                           1560838507.1649454006
nyt-a           SGm9_fTP7L2We59V4lQaKO                         SGm9_fTP7L2We59V4lQaKO                         A-8Rdj8gak2tBcw4ZHsXlH                                                                         SGm9_fTP7L2We59V4lQaKO
nyt-jkidd       anon                                           anon                                           anon                                                                                           anon
test_cookie     CheckForPermission                             CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                      Exhibit 1.12: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                            https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                      Regular Mode
 Cookie Name             (Initial Session)                                  (Session 1)                                          (Session 1)                                     (Session 2)                         (Session 2)
IDE          AHWqTUn-MtscG_ayK452agrBIam27d                     AHWqTUn-MtscG_ayK452agrBIam27d                                                                                                           AHWqTUn-MtscG_ayK452agrBIam27d
TDID         1c714a60-7d46-4a0a-b5c0-5d8bb2
_ga          454986845.1649456431                               454986845.1649456431                            971397072.1649456551                           660890431.1649456611                      454986845.1649456431
_gcl_au      566103971.1649456431                               566103971.1649456431                            1138193668.1649456551                          1783034376.1649456612                     566103971.1649456431
_gid         282083662.1649456431                               282083662.1649456431                            1562971562.1649456551                          1907930620.1649456611                     282083662.1649456431
test_cookie  CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                      Exhibit 1.13: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                                https://www.cnn.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name          (Initial Session)                                        (Session 1)                                       (Session 1)                                     (Session 2)                            (Session 2)
2_C_18                                                          2de27a3d7cba7fd27e8aafa1
CMID                                                            YlCpfY3UG8Qq9b9vyShnBwAA
DSID                                                            NO_DATA                                                                                                                                  NO_DATA
IDE          AHWqTUm9azoDAjmcnox5PA8ePEjVpT                     AHWqTUm9azoDAjmcnox5PA8ePEjVpT                                                                                                           AHWqTUm9azoDAjmcnox5PA8ePEjVpT
V                                                               1wHocdEMeHe1
__gads                                                          ID=defa4b8c27a0ed17:T=16494534                  ID=f610230b8a4f05d4-2272156226                                                           ID=defa4b8c27a0ed17:T=16494534
google_push                                                                                                                                                                                              AYg5qPJxsxh5Hc74tcaH03vZHGtTw3

indxexcg                                                        YlCpfY3UG8Qq9b9vyShnBwAAAY4AAA
ljt_reader                                                      2de27a3d7cba7fd27e8aafa1                                                                                                                 2de27a3d7cba7fd27e8aafa1
ptrm                                                            10e26250-a979-4100-bd87-836b61
ssh             yieldmo
test_cookie     CheckForPermission
ug                                                              6250a9b40192ef0a3f85a1001602f6                  6250a9f0022f5a0a3f8d7c0015dae5                                                           6250a9b40192ef0a3f85a1001602f6
ug1                                                             6250a9b40192ef0a3f85a1001602f6                  6250a9f0022f5a0a3f8d7c0015dae5
uid-bp-529                                                      10e26250-a979-4100-bd87-836b61
uuid                                                            10e26250-a979-4100-bd87-836b61

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                      Exhibit 1.14: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                              https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                   (Session 1)                                        (Session 1)                                     (Session 2)                            (Session 2)
CMID                                                            YlCuvsJZ4Pyhh9OrFDI2oAAA
DSID                                                                                                            NO_DATA                                        NO_DATA                                   NO_DATA
IDE          AHWqTUlZntLLEAp5qSERLlrJ0vG4PN                     AHWqTUlZntLLEAp5qSERLlrJ0vG4PN                                                                                                           AHWqTUlZntLLEAp5qSERLlrJ0vG4PN
SCM                                                             6b870045
SCMg                                                            6b870045
TDID         46612b92-f315-47a9-8427-96d546
                                                                                                                ID=6e37fb1a9e3c783f-2201f8ea25

__gads                                                          ID=60b016050e04c2c3:T=16494547                  ID=6e37fb1a9e3c783f:T=16494548                 ID=b15b0bac8cd13ef3:T=16494549            ID=60b016050e04c2c3:T=16494547
__gpi                                                           UID=0000045b5f02f881:T=1649454
__uis                                                           1ccb9747-4abe-4ee9-83c9-d21b76
_ga             1357651461.1649454723                           1357651461.1649454723                           1568643583.1649454842                          1754243864.1649454902                     1357651461.1649454723
_gcl_au         1446559399.1649454723                           1446559399.1649454723                           909784794.1649454842                           120056235.1649454902                      1446559399.1649454723
_gid            2067910102.1649454723                           2067910102.1649454723                           562276455.1649454842                           1639857143.1649454903                     2067910102.1649454723
_rxuuid                                                         AYg5qPIrW2RkZHWGIiPp9mN2B28Ds7
indxexcg                                                        YlCuvsJZ4Pyhh9OrFDI2oAAAADAAAA
ljt_reader                                                                                                                                                                                               ed96f5acb8dc0feea01e5643
permutive-id                                                    681c1821-2ffb-469e-856f-046854                  dcbb7820-6192-44be-882a-dd219a                 48ba868e-61e6-4a7f-b99f-e6e96f            681c1821-2ffb-469e-856f-046854
ssh                                                             triplelift
test_cookie     CheckForPermission
uuid                                                            e4930c66-ebc4-4731-acb5-61b225                  41e467d4-8e56-4997-8fd9-59939f                 38c2772b-6549-461b-802e-698bf5            e4930c66-ebc4-4731-acb5-61b225

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 639 of 1046
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                                                                                      Exhibit 1.15: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                            Browsers Tested on Android
                                                                                                         https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name            (Initial Session)                                         (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
1P_JAR      2022-04-08
CMID        YlCxOKhasUkZtlblkM-7dgAA                            YlCxOKhasUkZtlblkM-7dgAA
DSID        NO_DATA                                             NO_DATA                                         NO_DATA                                        NO_DATA                                   NO_DATA

IDE             AHWqTUm94RDjDksPaWGZfqIRSMHXxe AHWqTUm94RDjDksPaWGZfqIRSMHXxe                                                                                                                            AHWqTUm94RDjDksPaWGZfqIRSMHXxe
SCM                                                                                                                                                                                                      d6a38ad
SCMg                                                                                                                                                                                                     d6a38ad
TDID                                                                                                                                                                                                     581b0a00-8906-48f1-8bce-7a6bf4
                ID=6b63382e564b13a5-220e0b85fc

__gads          ID=6b63382e564b13a5:T=16494554                  ID=6b63382e564b13a5:T=16494554                  ID=bffa67ba3eaf3d0c:T=16494555                 ID=654435610230d2f7-2204c64026            ID=6b63382e564b13a5:T=16494554
_ga             1657852058.1649455414                           1657852058.1649455414                           1435654157.1649455534                          1426105914.1649455594                     1657852058.1649455414
_ga_WRCN6
8Y2LD           1649455413                                      1649455473                                      1649455534                                     1649455593                                1649455651
_gaexp          3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid            601731851.1649455414                            601731851.1649455414                            1497313869.1649455534                          1237172094.1649455594                     601731851.1649455414
test_cookie     CheckForPermission
wp_ak_subs      0|20220331                                                                                      0|20220331
wp_ak_v_m       0|20220331                                      0|20220331                                      0|20220331                                     1|20220331                                0|20220331
wp_geo          US|MA|506||                                     US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp          1---                                            1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 640 of 1046
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                                                                                     Exhibit 1.16: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                             Browsers Tested on iOS
                                                                                                            https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
Cookie Name              (Initial Session)                                       (Session 1)                                    (Session 1)                                    (Session 2)                                  (Session 2)
DSID                                                           NO_DATA                                                                                        NO_DATA                                        NO_DATA
TDID        8545e132-0e8d-4dfb-bb94-6c6058                                                                                                                                                                   b0393b7f-3707-4d08-8412-6dc08a
__gads                                                         ID=ae484d0ff5797ff9-223de360f8                 ID=f32763d4499cc10c-2225b660f8                  ID=dc3af9b268aeae77-225c3624f8                 ID=ae484d0ff5797ff9-223de360f8
_ga         609226067.1649286542                               609226067.1649286542                           1321434774.1649286665                           94138977.1649286723                            609226067.1649286542
_gcl_au     880518413.1649286542                               880518413.1649286542                           1621042455.1649286665                           1300394778.1649286724                          880518413.1649286542
_gid        686709648.1649286542                               686709648.1649286542                           212826784.1649286665                            668196665.1649286724                           686709648.1649286542
nyt-a       1v7b5uT-OEi3cV99UySWw7                             1v7b5uT-OEi3cV99UySWw7                         IvTzlq-Wqq-RfGLQIIa_hp                          O3w3RGofMBQVYBnQl_d2IZ                         1v7b5uT-OEi3cV99UySWw7
nyt-jkidd   anon                                               anon                                           anon                                            anon                                           anon

                                                                                                                                  Safari
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
Cookie Name             (Initial Session)                                        (Session 1)                                    (Session 1)                                    (Session 2)                                    (Session 2)
DSID        NO_DATA                                            NO_DATA                                        NO_DATA
TDID                                                                                                          89e16966-da4a-43eb-a99d-bb2b6b                  e27dd315-8bf3-4a88-97a0-2fadd3
__gads      ID=14b3c74663f317f5-22694201f2                     ID=14b3c74663f317f5-22694201f2                 ID=77ccf1d59da01fbd-22cda615f4                  ID=48228a63e81c41eb-22bfebe8f1                 ID=14b3c74663f317f5-22694201f2
_ga         1275231825.1649253871                              1275231825.1649253871                          607645829.1649253994                            406951478.1649254057                           1275231825.1649253871
_gcl_au     69090282.1649253871                                69090282.1649253871                            1779474278.1649253995                           1007541296.1649254057                          69090282.1649253871
_gid        1389587030.1649253871                              1389587030.1649253871                          783507812.1649253995                            1226584434.1649254057                          1389587030.1649253871
nyt-a       lCMF3dkXm1LtOX9zM4KWq-                             lCMF3dkXm1LtOX9zM4KWq-                         5bryYuTTaUXqwqtq-NQYQV                          OJnbOpV0PtDISv_6nTMlAF                         lCMF3dkXm1LtOX9zM4KWq-
nyt-jkidd   anon                                               anon                                           anon                                            anon                                           anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 641 of 1046
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                                                                                      Exhibit 1.17: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                              Browsers Tested on iOS
                                                                                                                https://www.cnn.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name               (Initial Session)                                     (Session 1)                                     (Session 1)                                     (Session 2)                           (Session 2)
DSID         NO_DATA                                            NO_DATA                                                                                                                                  NO_DATA
__gads       ID=dc76151c9f730ede-22bf7b45ff                     ID=dc76151c9f730ede-22bf7b45ff                  ID=11d2e1045d8a6311-22b415da26                 ID=c3b8ba15512c4b20-22f512cd25            ID=dc76151c9f730ede-22bf7b45ff
dc_id        ee5f4ff5c9de42a7977ef8ddcbd300                                                                     8e58b8483c034e01a385ed2c3e6c8c                 3fce806803744583899832b8b7c399
ug           62522c130d9aee0a3f85a1001445f2                     62522c130d9aee0a3f85a1001445f2                  62522c8a077bac0a3f908300169703                 62522cc60639e00a3f85a1001547ac            62522c130d9aee0a3f85a1001445f2
ug1          62522c130d9aee0a3f85a1001445f2                                                                     62522c8a077bac0a3f908300169703                 62522cc60639e00a3f85a1001547ac
uuid         72a978b1c687498197c23155fc3ef2                                                                     2e8d63a58dcd43c28b0148d3b62de8                 534d8334e5604db99f73c8a9055752

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                    (Session 1)                                     (Session 1)                                   (Session 2)                                (Session 2)
__gads       ID=3595a639744a8d80-22f37b5925                     ID=3595a639744a8d80-22f37b5925                  ID=247981b324f7b222-22ca219924                 ID=ccb96a7d32cef561-2223d45c25            ID=3595a639744a8d80-22f37b5925
dc_id        c0e926af2073405c9c13172128b1e7                     17b84fccb9fd41f3aa8991b74038cc                  9dad98e98123434b80d03989a40a48                                                           9e452973f6c04f03bbdd37f61c00f4
ug           624eefda0a60a40a3f8d7c0016c0ab                     624eefda0a60a40a3f8d7c0016c0ab                  624ef04101e17c0a3f85a1001793d3                 624ef08007201d0a3f908300155e2a            624eefda0a60a40a3f8d7c0016c0ab
ug1          624eefda0a60a40a3f8d7c0016c0ab                                                                     624ef04101e17c0a3f85a1001793d3                 624ef08007201d0a3f908300155e2a
uuid         4fce07d59bb84fb8bb7fce41f136ec                     4f0a65c2f0994769973bed3f43da45                  ef0b53dda69544f299a2583afcb418                                                           426c06abe05b48dd9096aa5fe0e53f

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 642 of 1046
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                                                                                      Exhibit 1.18: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                               Browsers Tested on iOS
                                                                                                            https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
_ga         1215918531.1649278474                               1215918531.1649278474                           904324615.1649278592                           1470994837.1649278654                     1215918531.1649278474
_gcl_au     68406730.1649278475                                 68406730.1649278475                             1976975808.1649278592                          483202882.1649278654                      68406730.1649278475
_gid        1971561414.1649278474                               1971561414.1649278474                           682329440.1649278592                           165650196.1649278654                      1971561414.1649278474

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
_ga         913533915.1649246581                                913533915.1649246581                            173766356.1649246699                           1227956426.1649246760                     913533915.1649246581
_gcl_au     867042350.1649246582                                867042350.1649246582                            1238963312.1649246699                          2123622132.1649246761                     867042350.1649246582
_gid        1381506130.1649246581                               1381506130.1649246581                           161524131.1649246699                           1899095100.1649246760                     1381506130.1649246581

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                    Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 643 of 1046
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                                                                                      Exhibit 1.19: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                              Browsers Tested on iOS
                                                                                                              https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name                      (Initial Session)                               (Session 1)                                     (Session 1)                                     (Session 2)                            (Session 2)
                                                                                                                ID=3fe4f2c48675f7e7-227cbd77f8

__gads          ID=981e87be546bbac2:T=16492837                  ID=981e87be546bbac2:T=16492837                  ID=3fe4f2c48675f7e7:T=16492839                 ID=e33d24566c38f61d:T=16492839            ID=981e87be546bbac2:T=16492837
__gpi                                                                                                           UID=000003cdd6764c94:T=1649283
_ga             826127504.1649283782                            826127504.1649283782                            974125148.1649283902                           1110771125.1649283963                     826127504.1649283782
_gid            1689258322.1649283782                           1689258322.1649283782                           1504429100.1649283903                          1842974166.1649283964                     1689258322.1649283782
permutive-id                                                    a3e50f8a-c572-40a9-bc31-fa73ff                                                                                                           a3e50f8a-c572-40a9-bc31-fa73ff
uuid            74e01dde-cdba-4d90-be8e-10c248                  74e01dde-cdba-4d90-be8e-10c248                  d4546d93-bfce-4c17-8ab9-47eeed                 a476408a-4990-4e92-a95a-8d005c            74e01dde-cdba-4d90-be8e-10c248

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
Cookie Name                 (Initial Session)                                 (Session 1)                                      (Session 1)                                   (Session 2)                               (Session 2)
                ID=9c9ebbf8ad5f59f5-2215c89ff3                  ID=9c9ebbf8ad5f59f5:T=16492473                  ID=f9f0b0c394ce59d6-22e8969ef3                 ID=457e5cd3303f940c-2228d610f2            ID=9c9ebbf8ad5f59f5:T=16492473

__gads          ID=9c9ebbf8ad5f59f5:T=16492473                                                                  ID=f9f0b0c394ce59d6:T=16492474                 ID=457e5cd3303f940c:T=16492475
__gpi                                                           UID=000003c76dfb24d1:T=1649247
_ga             1310634745.1649247332                           1310634745.1649247332                           826099050.1649247456                           847134733.1649247512                      1310634745.1649247332
_gid            1721851811.1649247332                           1721851811.1649247332                           2086054811.1649247456                          1794537520.1649247513                     1721851811.1649247332
permutive-id                                                    99de973b-577f-45bb-811a-6b3b8b                                                                 86fd053b-dffa-41aa-ab18-b8be1a            99de973b-577f-45bb-811a-6b3b8b
uuid            7856be3d-32a9-4313-a9ff-b314e7                  7856be3d-32a9-4313-a9ff-b314e7                  4d3387f6-9f3b-471a-b11c-92672b                 8a421678-5c1f-4acf-ace3-3df2d5            7856be3d-32a9-4313-a9ff-b314e7

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                      Exhibit 1.20: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                              Browsers Tested on iOS
                                                                                                         https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                        (Session 1)                                     (Session 2)                           (Session 2)
__gads      ID=46a38265bd177d35-2258097bf8                      ID=46a38265bd177d35-2258097bf8                                                                                                           ID=46a38265bd177d35-2258097bf8
_ga         1529774417.1649285421                               1529774417.1649285421                           84592648.1649285529                            2143282438.1649285586                     1529774417.1649285421
8Y2LD       1649285420                                          1649285468                                      1649285528                                     1649285585                                1649285643
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                            3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.1
_gid        1042611665.1649285421                               1042611665.1649285421                           57941596.1649285529                            1778662269.1649285586                     1042611665.1649285421
wp_ak_subs  0|20220331
wp_ak_v_m   0|20220331                                          0|20220331                                      2|20220331                                     1|20220331                                0|20220331
wp_geo      US|MA|506||                                         US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp      1---                                                1---                                            1---                                           1---                                      1---

                                                                                                                                   Safari
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
Cookie Name             (Initial Session)                                     (Session 1)                                     (Session 1)                                    (Session 2)                               (Session 2)
__gads      ID=64e4ce0a583468d6-22b76cf8f1                      ID=64e4ce0a583468d6-22b76cf8f1                  ID=62d3d68d475f31ad-2232ec22f4                 ID=1990c1b27e4d681a-229d7afef1            ID=64e4ce0a583468d6-22b76cf8f1
_ga         1459139403.1649248533                               1459139403.1649248533                           465309642.1649248653                           1955154597.1649248714                     1459139403.1649248533
_ga_WRCN6
8Y2LD       1649248531                                          1649248593                                      1649248651                                     1649248712                                1649248770
_gaexp      3gY8TfBUQy645wcR55Xl0w.1                            3gY8TfBUQy645wcR55Xl0w.1                        3gY8TfBUQy645wcR55Xl0w.0                       3gY8TfBUQy645wcR55Xl0w.1                  3gY8TfBUQy645wcR55Xl0w.1
_gid        818063765.1649248533                                818063765.1649248533                            923378556.1649248653                           163207506.1649248714                      818063765.1649248533
wp_ak_subs  0|20220331
wp_ak_v_m   0|20220331                                          0|20220331                                      2|20220331                                     1|20220331                                0|20220331
wp_geo      US|MA|506||                                         US|MA|506||                                     US|MA|506||                                    US|MA|506||                               US|MA|506||
wp_usp      1---                                                1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                              Exhibit 2.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                       Cookie Blocking Test
                                                Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                     https://www.nytimes.com/

   Cookie Name                    All Cookies Allowed                            Third-Party Cookies Blocked                           All Cookies Blocked
   CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA
   DSID                  NO_DATA

   IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG
   NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD
   TDID                  55f3c6bb-be1a-47c6-a02f-708492
                         ID=7daab1ea7e0c2bfd-229c5916ef

   __gads                ID=7daab1ea7e0c2bfd:T=16491130                   ID=c812a6115292ec74-22e4581eef
   _ga                   2086276930.1649113029                            1874936498.1649113314
   _gcl_au               1104313509.1649113031                            1661519211.1649113316
   _gid                  159707026.1649113031                             2082113795.1649113317
   nyt-a                 oy1qGEePBBoEyfGfuiXEgB                           RABLaoBVSl-w7akUWOiGnx
   nyt-jkidd             anon                                             anon
   test_cookie           CheckForPermission
   tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd

   Notes:
   [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file
   “settings_full_value.xlsx” of the backup production.
   [2] Bold, italicized cookie names and values denote first-party cookies.
   [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
   [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

   Source:
   [1] Network transmission data.
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                                                     Exhibit 2.2: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                              https://www.cnn.com/

Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
CMID                  YktiyrJeL4230ZaiKS1D5wAA
IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT
V                     EGP4VCLm7HML
                      ID=b1feac9e314e9ca5-222ac105ef

__gads                ID=b1feac9e314e9ca5:T=16491076                          ID=a6ce9bde480e43d9-22d2ef0eef
__gpi                                                                         UID=000003b2c2d7402a:T=1649108
bdswch                256892f1-2deb-4ba1-ad03-f83b5f
buid                  256892f1-2deb-4ba1-ad03-f83b5f
indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA
ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
ptrpp                 EGP4VCLm7HML
test_cookie           CheckForPermission
tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
ug                    624b62c8005b1c0a3f908300165dcd                          624b64e80c4ccc0a3f908300154520
ug1                   624b62c8005b1c0a3f908300165dcd                          624b64e80c4ccc0a3f908300154520

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                     Exhibit 2.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                          https://www.apartments.com/

Cookie Name                       All Cookies Allowed                                   Third-Party Cookies Blocked                                  All Cookies Blocked
IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu
_ga                   2136294989.1649106224                                   1104986070.1649106543
_gcl_au               2140085877.1649106224                                   796005447.1649106543
_gid                  71093476.1649106224                                     380695983.1649106543
test_cookie           CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                     Exhibit 2.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                            https://www.latimes.com/

Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
CMID                  YktrAIIf3Zd5iNP2SiHpqAAA
DSID                  NO_DATA                                                 NO_DATA
IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO
TDID                  025216e0-ff41-4fd3-a113-c87854
                      ID=a60a78df2b4d7cfa-224aa90cef                          ID=8219a7932f875459-22cd4c35ef

__gads                ID=a60a78df2b4d7cfa:T=16491097                          ID=8219a7932f875459:T=16491101
__uis                 b8071472-7593-4c4a-a903-279140
_ga                   2132850896.1649109759                                   182528510.1649110193
_gid                  2118316826.1649109760                                   1173053119.1649110193
permutive-id                                                                  19744878-8f64-4514-84c4-cbc522
ssh                   triplelift
test_cookie           CheckForPermission
ttd                   025216e0-ff41-4fd3-a113-c87854
uid-bp-892            025216e0-ff41-4fd3-a113-c87854
uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54                          529f8d48-3dff-408a-a971-24104d

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                     Exhibit 2.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                               Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                        https://www.washingtonpost.com/

Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
CMID                  Ykt.RiKyIVI68lkLc3ItFgAA
DSID                  NO_DATA
IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O
                      ID=f8245f857df1b360-22937904ef

__gads                ID=f8245f857df1b360:T=16491146                          ID=7b12db9ffc3853a2-22f8362def
_ga                   632871189.1649114693                                    403485201.1649114924
_ga_WRCN68Y2
LD                    1649114692                                              1649114923
_gaexp                3gY8TfBUQy645wcR55Xl0w.0                                3gY8TfBUQy645wcR55Xl0w.1
_gid                  372893291.1649114693                                    814725271.1649114924
test_cookie           CheckForPermission
wp_ak_subs            0|20220331
wp_ak_v_m             0|20220331                                              1|20220331
wp_geo                US|VA|511||                                             US|VA|511||
wp_usp                1---                                                    1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                  Exhibit 2.6: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                         https://www.nytimes.com/

Cookie Name                            JavaScript Enabled                                                     Sybu Enabled                                                 JavaScript Disabled
CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA
DSID                  NO_DATA
IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG
NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD
TDID                  55f3c6bb-be1a-47c6-a02f-708492
                      ID=7daab1ea7e0c2bfd-229c5916ef

__gads                ID=7daab1ea7e0c2bfd:T=16491130
_ga                   2086276930.1649113029
_gcl_au               1104313509.1649113031
_gid                  159707026.1649113031
nyt-a                 oy1qGEePBBoEyfGfuiXEgB
nyt-jkidd             anon
test_cookie           CheckForPermission                                               CheckForPermission
tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd                                   3f54261b-68a1-4b16-bd48-1ffaaf

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                  Exhibit 2.7: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                           https://www.cnn.com/

Cookie Name                            JavaScript Enabled                                                Sybu Enabled                                                      JavaScript Disabled
CMID                  YktiyrJeL4230ZaiKS1D5wAA                                         YldiK-TzeYjLgaKtRQFwkQAA
IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT                                   AHWqTUlXtZQxbB40YS5Cadv7ggV0hd
V                     EGP4VCLm7HML
                      ID=b1feac9e314e9ca5-222ac105ef

__gads                ID=b1feac9e314e9ca5:T=16491076
bdswch                256892f1-2deb-4ba1-ad03-f83b5f
buid                  256892f1-2deb-4ba1-ad03-f83b5f
indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA
ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
ptrpp                 EGP4VCLm7HML
test_cookie           CheckForPermission                                               CheckForPermission
tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
ug                    624b62c8005b1c0a3f908300165dcd
ug1                   624b62c8005b1c0a3f908300165dcd

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                  Exhibit 2.8: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                       https://www.apartments.com/

Cookie Name                            JavaScript Enabled                                                     Sybu Enabled                                                 JavaScript Disabled
IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu
_ga                   2136294989.1649106224
_gcl_au               2140085877.1649106224
_gid                  71093476.1649106224
test_cookie           CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                  Exhibit 2.9: Comparison of Cookie Values Transmitted to Google Domains
                                                                                         JavaScript Blocking Test
                                                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                         https://www.latimes.com/

Cookie Name                             JavaScript Enabled                                                    Sybu Enabled                                                 JavaScript Disabled
CMID                  YktrAIIf3Zd5iNP2SiHpqAAA
DSID                  NO_DATA
IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO
TDID                  025216e0-ff41-4fd3-a113-c87854
                      ID=a60a78df2b4d7cfa-224aa90cef

__gads                ID=a60a78df2b4d7cfa:T=16491097
__uis                 b8071472-7593-4c4a-a903-279140
_ga                   2132850896.1649109759
_gid                  2118316826.1649109760
ssh                   triplelift
test_cookie           CheckForPermission
ttd                   025216e0-ff41-4fd3-a113-c87854
uid-bp-892            025216e0-ff41-4fd3-a113-c87854
uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                  Exhibit 2.10: Comparison of Cookie Values Transmitted to Google Domains
                                                                                          JavaScript Blocking Test
                                                                     Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                                     https://www.washingtonpost.com/

Cookie Name                            JavaScript Enabled                                                     Sybu Enabled                                                 JavaScript Disabled
CMID                  Ykt.RiKyIVI68lkLc3ItFgAA
DSID                  NO_DATA
IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O
                      ID=f8245f857df1b360-22937904ef

__gads                ID=f8245f857df1b360:T=16491146
_ga                   632871189.1649114693
_ga_WRCN68Y2
LD                    1649114692
_gaexp                3gY8TfBUQy645wcR55Xl0w.0
_gid                  372893291.1649114693
test_cookie           CheckForPermission
wp_ak_subs            0|20220331
wp_ak_v_m             0|20220331
wp_geo                US|VA|511||
wp_usp                1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                 Exhibit 2.11: Comparison of Cookie Values Transmitted to Google Domains
                                                 Google Analytics Opt-Out Extension Test
                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                        https://www.nytimes.com/

         Cookie Name                 Google Analytics Opt-Out Disabled                      Google Analytics Opt-Out Enabled
         CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA                               Ykt71xG8Sbyit5c4hafbEgAA
         DSID                  NO_DATA                                                NO_DATA
         IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG                         AHWqTUmUSHJkfpdgBl6QY8PEJXBVws
         NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD                         511=IjA2XAoGdJx_FjMCFHQ4H_FNfm
         TDID                  55f3c6bb-be1a-47c6-a02f-708492
                               ID=7daab1ea7e0c2bfd-229c5916ef                         ID=5d83d68676d09653-222ec42bef

         __gads                ID=7daab1ea7e0c2bfd:T=16491130                         ID=5d83d68676d09653:T=16491140
         _ga                   2086276930.1649113029
         _gcl_au               1104313509.1649113031                                  1916057142.1649114074
         _gid                  159707026.1649113031
         nyt-a                 oy1qGEePBBoEyfGfuiXEgB                                 RXnfezEaR8UvdGRKa-xnVS
         nyt-jkidd             anon
         test_cookie           CheckForPermission                                     CheckForPermission
         tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd

         Notes:
         [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
         value is included in file “settings_full_value.xlsx” of the backup production.
         [2] Bold, italicized cookie names and values denote first-party cookies.
         [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
         production.
         [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

         Source:
         [1] Network transmission data.
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                                 Exhibit 2.12: Comparison of Cookie Values Transmitted to Google Domains
                                                 Google Analytics Opt-Out Extension Test
                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                           https://www.cnn.com/

         Cookie Name                  Google Analytics Opt-Out Disabled                     Google Analytics Opt-Out Enabled
         CMID                  YktiyrJeL4230ZaiKS1D5wAA                               YktneWgCqMmmICitT-W0kgAA
         IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT                         AHWqTUmwBsyhCEOmnm-IaqGsKjsGow
         V                     EGP4VCLm7HML
                               ID=b1feac9e314e9ca5-222ac105ef                         ID=664c721f0a03cd49-22bf211def

         __gads                ID=b1feac9e314e9ca5:T=16491076                         ID=664c721f0a03cd49:T=16491088
         bdswch                256892f1-2deb-4ba1-ad03-f83b5f
         buid                  256892f1-2deb-4ba1-ad03-f83b5f
         indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA                         YktneWgCqMmmICitT_W0kgAAA74AAA
         ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
         ptrpp                 EGP4VCLm7HML
         test_cookie           CheckForPermission                                     CheckForPermission
         tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
         ug                    624b62c8005b1c0a3f908300165dcd                         624b6776052e150a3f85a10016d5a0
         ug1                   624b62c8005b1c0a3f908300165dcd                         624b6776052e150a3f85a10016d5a0

         Notes:
         [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
         value is included in file “settings_full_value.xlsx” of the backup production.
         [2] Bold, italicized cookie names and values denote first-party cookies.
         [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
         production.
         [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of
         CNN.
         [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

         Source:
         [1] Network transmission data.
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                                 Exhibit 2.13: Comparison of Cookie Values Transmitted to Google Domains
                                                 Google Analytics Opt-Out Extension Test
                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                       https://www.apartments.com/

         Cookie Name               Google Analytics Opt-Out Disabled                        Google Analytics Opt-Out Enabled
         IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu                         AHWqTUlG62-jYn2lHxd7i1J5XG-TPH
         TDID                                                                         e4c0e944-bf51-4c67-9a49-3e3b7e
         _ga                   2136294989.1649106224
         _gcl_au               2140085877.1649106224                                  1767913044.1649107071
         _gid                  71093476.1649106224
         test_cookie           CheckForPermission                                     CheckForPermission

         Notes:
         [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
         value is included in file “settings_full_value.xlsx” of the backup production.
         [2] Bold, italicized cookie names and values denote first-party cookies.
         [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
         production.
         [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

         Source:
         [1] Network transmission data.
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                                 Exhibit 2.14: Comparison of Cookie Values Transmitted to Google Domains
                                                 Google Analytics Opt-Out Extension Test
                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                         https://www.latimes.com/

         Cookie Name                 Google Analytics Opt-Out Disabled                     Google Analytics Opt-Out Enabled
         CMID                  YktrAIIf3Zd5iNP2SiHpqAAA                               YktvGN2clHmCx28oTPE14gAA
         DSID                  NO_DATA
         IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO                         AHWqTUl_ZbR6k8L1JzchJYMDpinniJ
         TDID                  025216e0-ff41-4fd3-a113-c87854                         4427e8d9-1752-4a3b-b97f-8a5074
                               ID=a60a78df2b4d7cfa-224aa90cef

         __gads                ID=a60a78df2b4d7cfa:T=16491097                         ID=c89cf5d553be072e:T=16491108
         __uis                 b8071472-7593-4c4a-a903-279140
         _ga                   2132850896.1649109759
         _gid                  2118316826.1649109760
         _rxuuid                                                                      AYg5qPJPWB2BYGkvJxuQfbDT7novZQ
         google_push                                                                  AYg5qPLsUoaI7TaWYE5vjYzQ_VFSQV
         permutive-id                                                                 2aaeb062-2e32-4406-b30e-065dae
         sa-user-id-v2                                                                wCMjxm_iTW1Hva6HXgaz7RTnUu4
         ssh                   triplelift                                             triplelift
         test_cookie           CheckForPermission                                     CheckForPermission
         ttd                   025216e0-ff41-4fd3-a113-c87854
         tv_UIDF                                                                      CAESEFznsLkm0y_OQIaOf2uiFEU
         uid-bp-892            025216e0-ff41-4fd3-a113-c87854
         uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54                         7f2ea8be-c8a3-4e08-95b0-34d954

         Notes:
         [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
         value is included in file “settings_full_value.xlsx” of the backup production.
         [2] Bold, italicized cookie names and values denote first-party cookies.
         [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
         production.
         [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

         Source:
         [1] Network transmission data.
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                                 Exhibit 2.15: Comparison of Cookie Values Transmitted to Google Domains
                                                 Google Analytics Opt-Out Extension Test
                                    Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                    https://www.washingtonpost.com/

         Cookie Name                 Google Analytics Opt-Out Disabled                     Google Analytics Opt-Out Enabled
         CMID                  Ykt.RiKyIVI68lkLc3ItFgAA                               YkuBqOQnm2lH-bn4fLb01QAA
         DSID                  NO_DATA                                                NO_DATA
         IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O                         AHWqTUmZ7Refb7gTkcM5hzTayBORmW
                               ID=f8245f857df1b360-22937904ef                         ID=29d1dc3fab2891b3-22305c0fef

         __gads                ID=f8245f857df1b360:T=16491146                         ID=29d1dc3fab2891b3:T=16491155
         _ga                   632871189.1649114693
         _ga_WRCN68Y2
         LD                    1649114692
         _gaexp                3gY8TfBUQy645wcR55Xl0w.0
         _gid                  372893291.1649114693
         test_cookie           CheckForPermission                                     CheckForPermission
         wp_ak_subs            0|20220331
         wp_ak_v_m             0|20220331
         wp_geo                US|VA|511||
         wp_usp                1---                                                   1---

         Notes:
         [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full
         value is included in file “settings_full_value.xlsx” of the backup production.
         [2] Bold, italicized cookie names and values denote first-party cookies.
         [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup
         production.
         [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

         Source:
         [1] Network transmission data.
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                                       Exhibit 2.16: Comparison of Cookie Values Transmitted to Google Domains
                                                                uBlock Extension Test
                                          Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                              https://www.nytimes.com/

      Cookie Name                              uBlock Disabled                                   uBlock Enabled
      CMID                  Ykt3xkNL4d2RB-ccS4d.EAAA
      DSID                  NO_DATA
      IDE                   AHWqTUna_YBa1VlgiS4PvIMhqPWCmG
      NID                   511=dXb2DsuyaVRWxI1OEWu_3ShxKD                      511=mhOfLbkN9lyhJUFLWam-U9s8Ps
      TDID                  55f3c6bb-be1a-47c6-a02f-708492
      __gads                ID=7daab1ea7e0c2bfd-229c5916efID=7daab1ea7e0c2bfd:T
      _ga                   2086276930.1649113029
      _gcl_au               1104313509.1649113031
      _gid                  159707026.1649113031
      nyt-a                 oy1qGEePBBoEyfGfuiXEgB
      nyt-jkidd             anon
      test_cookie           CheckForPermission
      tuuid                 cd9d156c-e16c-48b2-ae69-c2ccfd

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                       Exhibit 2.17: Comparison of Cookie Values Transmitted to Google Domains
                                                                uBlock Extension Test
                                          Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                                 https://www.cnn.com/

      Cookie Name                             uBlock Disabled                                                     uBlock Enabled
      CMID                  YktiyrJeL4230ZaiKS1D5wAA
      IDE                   AHWqTUmo3IWU5r_-wP3WVzVYJVuPiT
      V                     EGP4VCLm7HML
                            ID=b1feac9e314e9ca5-222ac105ef

      __gads                ID=b1feac9e314e9ca5:T=16491076
      bdswch                256892f1-2deb-4ba1-ad03-f83b5f
      buid                  256892f1-2deb-4ba1-ad03-f83b5f
      indxexcg              YktiyrJeL4230ZaiKS1D5wAAA7QAAA
      ptrbsw                256892f1-2deb-4ba1-ad03-f83b5f
      ptrpp                 EGP4VCLm7HML
      test_cookie           CheckForPermission
      tuuid                 256892f1-2deb-4ba1-ad03-f83b5f
      ug                    624b62c8005b1c0a3f908300165dcd
      ug1                   624b62c8005b1c0a3f908300165dcd

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
      [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                       Exhibit 2.18: Comparison of Cookie Values Transmitted to Google Domains
                                                                 uBlock Extension Test
                                          Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                             https://www.apartments.com/

      Cookie Name                              uBlock Disabled                                                    uBlock Enabled
      IDE                   AHWqTUnPoC9ZcjLX3rBJP1dmBdlYnu
      _ga                   2136294989.1649106224
      _gcl_au               2140085877.1649106224
      _gid                  71093476.1649106224
      test_cookie           CheckForPermission

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                       Exhibit 2.19: Comparison of Cookie Values Transmitted to Google Domains
                                                                uBlock Extension Test
                                          Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                               https://www.latimes.com/

      Cookie Name                               uBlock Disabled                                                   uBlock Enabled
      CMID                  YktrAIIf3Zd5iNP2SiHpqAAA
      DSID                  NO_DATA
      IDE                   AHWqTUmfYMJH7_jyOL__9TCchFnGXO
      TDID                  025216e0-ff41-4fd3-a113-c87854
                            ID=a60a78df2b4d7cfa-224aa90cef

      __gads                ID=a60a78df2b4d7cfa:T=16491097
      __uis                 b8071472-7593-4c4a-a903-279140
      _ga                   2132850896.1649109759
      _gid                  2118316826.1649109760
      ssh                   triplelift
      test_cookie           CheckForPermission
      ttd                   025216e0-ff41-4fd3-a113-c87854
      uid-bp-892            025216e0-ff41-4fd3-a113-c87854
      uuid                  a872e0ba-bcde-44ef-b6ae-a5ba54

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                       Exhibit 2.20: Comparison of Cookie Values Transmitted to Google Domains
                                                                uBlock Extension Test
                                          Chrome Browser Tested on Windows 10 in Regular Browsing Mode
                                                          https://www.washingtonpost.com/

      Cookie Name                              uBlock Disabled                                                    uBlock Enabled
      CMID                  Ykt.RiKyIVI68lkLc3ItFgAA
      DSID                  NO_DATA
      IDE                   AHWqTUmVj-VjMQZ8aD41TxtACOsH_O
                            ID=f8245f857df1b360-22937904ef

      __gads                ID=f8245f857df1b360:T=16491146
      _ga                   632871189.1649114693
      _ga_WRCN68Y2
      LD                    1649114692
      _gaexp                3gY8TfBUQy645wcR55Xl0w.0
      _gid                  372893291.1649114693
      test_cookie           CheckForPermission
      wp_ak_subs            0|20220331
      wp_ak_v_m             0|20220331
      wp_geo                US|VA|511||
      wp_usp                1---

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                             Exhibit 2.21: Comparison of Cookie Values Transmitted to Google Domains
                                                                       Cookie Blocking Test
                                                Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                    https://www.nytimes.com/

   Cookie Name                      All Cookies Allowed                          Third-Party Cookies Blocked                           All Cookies Blocked
   CMID                  YkSm6cGa8vBVshi-1svQ5AAA
   IDE                   AHWqTUkIT-yqMsUNu3cbkrW3r4Htdq
   NID                   511=E6GMvYAlEN_gpE_wCyehptITCz
   TDID                  fea87c34-72ba-4e52-8034-66aa66
                         ID=3bc9fc006ac6d5ba-22941fdf12

   __gads                ID=3bc9fc006ac6d5ba:T=16486663                   ID=3c96f2ea57947042-2249e2afe4
   _ga                   1608007200.1648666345                            1838268510.1648666801
   _gcl_au               1380625421.1648666346                            157853512.1648666802
   _gid                  1052484163.1648666346                            619398206.1648666802
   nyt-a                 Ag3lx0c716TuLX0Wf6jid2                           8Rls1jZfEdlyWm-M5VB98t
   nyt-jkidd             anon                                             anon
   test_cookie           CheckForPermission

   Notes:
   [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file
   “settings_full_value.xlsx” of the backup production.
   [2] Bold, italicized cookie names and values denote first-party cookies.
   [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
   [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

   Source:
   [1] Network transmission data.
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                                                    Exhibit 2.22: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                              https://www.cnn.com/

Cookie Name                      All Cookies Allowed                                    Third-Party Cookies Blocked                                  All Cookies Blocked
CMID                  YkOY8S14hoZyRefj4pJ27wAA
DSID                  NO_DATA                                                 NO_DATA
IDE                   AHWqTUlDhvnsjX9rw3qdlu0e6RqoWd
V                                                                             HOmxJXMhswcM
                      ID=3eb5ab291c6b5b44-22bdec2a10

__gads                ID=3eb5ab291c6b5b44:T=16485972                          ID=1e2d765b0fbeab4a:T=16485977
indxexcg              YkOY8S14hoZyRefj4pJ27wAAA8kAAA
test_cookie           CheckForPermission
ug                    624398ed0cef2f0a3f9b5b0016a2c3                          62439ae900f8050a3f85a100173520
ug1                   624398ed0cef2f0a3f9b5b0016a2c3                          62439ae900f8050a3f85a100173520

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                    Exhibit 2.23: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                          https://www.apartments.com/

Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
IDE                   AHWqTUkPbb2UC8BHZKez6UJYfwWCar
TDID                  d076f26e-7627-40ee-b467-b52ec6
_ga                   472975019.1648608753                                    1733023998.1648609275
_gcl_au               1583386961.1648608754                                   1736737948.1648609275
_gid                  420769323.1648608753                                    2027979523.1648609275
test_cookie           CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                    Exhibit 2.24: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                            https://www.latimes.com/

Cookie Name                        All Cookies Allowed                                  Third-Party Cookies Blocked                                  All Cookies Blocked
CMID                  YkTDtIS-ihY3vf6uYAWLvAAA
DSID                  NO_DATA                                                 NO_DATA
IDE                   AHWqTUlOb8GMSb6siXdw21AtjQLFMO
TDID                  7dceb479-b2b4-4cae-a8b0-d185e2
__gads                ID=28131598daf97978-22a072a6e4                          ID=c7d409668150a0fb-22636d5513
__uis                 75271540-1260-4982-83d8-e9aca9
_ga                   1248574119.1648673716                                   1173847638.1648674216
_gid                  1259003467.1648673716                                   1397726901.1648674217
                      AYg5qPJGHaE5RMRghcVF_0ZyoZPsRV

_rxuuid               AYg5qPJ0SD_m6nQPo5rT-Vyrnoqc5K
                      AYg5qPL2QduhQQE3oHFbhQvqbI9ivz

google_push           AYg5qPJo9WJdRJdOaYRXuwAeQN8OZq
ljt_reader            b80ed4f7864894252f7b05b1
permutive-id          74f04ab6-e373-4380-ac5c-f2b695                          282078e5-2c9f-4363-a1ef-4acd31
sa-user-id-v2         NXPuFFGjSPJ_m-PWFUOHaBTnUu4
ssh                   triplelift
suid                  5943A252DD7143BAB83FF9326084B7
suid_legacy           5943A252DD7143BAB83FF9326084B7
test_cookie           CheckForPermission
uuid                  d3d51d00-18c7-4a02-91f1-94b062                          aba50388-dce8-49d9-9bda-83a543

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                    Exhibit 2.25: Comparison of Cookie Values Transmitted to Google Domains
                                                                              Cookie Blocking Test
                                                       Chrome Browser Tested on Windows 10 in Private Browsing Mode
                                                                       https://www.washingtonpost.com/

Cookie Name                         All Cookies Allowed                                 Third-Party Cookies Blocked                                  All Cookies Blocked
CMID                  YkTOfQQp2SdTVT3cJA5OWwAA
DSID                  NO_DATA                                                 NO_DATA
IDE                   AHWqTUlll7nlxljrl1oi9QVtssikcp
TDID                  ff574a88-7f6b-4e6c-80d1-da6d01
                      ID=6dc3dcbe2105f2af-22bcd07913

__gads                ID=6dc3dcbe2105f2af:T=16486764                          ID=dd603e395fd45b34-228b18c0e4
_ga                   1297367007.1648676476                                   921166568.1648676776
_ga_WRCN68Y2
LD                    1648676475                                              1648676775
_gaexp                3gY8TfBUQy645wcR55Xl0w.0                                3gY8TfBUQy645wcR55Xl0w.0
_gid                  481785167.1648676476                                    394318624.1648676776
test_cookie           CheckForPermission
wp_geo                US|VA|511||                                             US|VA|511||
wp_usp                1---                                                    1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the
backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                         Exhibit 2.26: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                                https://www.nytimes.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
__gads                ID=3c96f2ea57947042-2249e2afe4
_ga                   1838268510.1648666801
_gcl_au               157853512.1648666802
_gid                  619398206.1648666802
nyt-a                 8Rls1jZfEdlyWm-M5VB98t
nyt-jkidd             anon

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                         Exhibit 2.27: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                                   https://www.cnn.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
DSID                  NO_DATA
V                     HOmxJXMhswcM
__gads                ID=1e2d765b0fbeab4a:T=16485977
ug                    62439ae900f8050a3f85a100173520
ug1                   62439ae900f8050a3f85a100173520

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                         Exhibit 2.28: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                               https://www.apartments.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
_ga                   1733023998.1648609275
_gcl_au               1736737948.1648609275
_gid                  2027979523.1648609275

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                         Exhibit 2.29: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                                 https://www.latimes.com/

Cookie Name                           JavaScript Enabled                                                  Sybu Enabled                                               JavaScript Disabled
DSID                  NO_DATA
__gads                ID=c7d409668150a0fb-22636d5513
_ga                   1173847638.1648674216
_gid                  1397726901.1648674217
permutive-id          282078e5-2c9f-4363-a1ef-4acd31
uuid                  aba50388-dce8-49d9-9bda-83a543

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                         Exhibit 2.30: Comparison of Cookie Values Transmitted to Google Domains
                                                                                 JavaScript Blocking Test
                                           Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                                            https://www.washingtonpost.com/

Cookie Name                          JavaScript Enabled                                                   Sybu Enabled                                               JavaScript Disabled
DSID                  NO_DATA
__gads                ID=dd603e395fd45b34-228b18c0e4
_ga                   921166568.1648676776
_ga_WRCN68Y2
LD                    1648676775
_gaexp                3gY8TfBUQy645wcR55Xl0w.0
_gid                  394318624.1648676776
wp_geo                US|VA|511||
wp_usp                1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “settings_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 675 of 1046
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                                   Exhibit 2.31: Comparison of Cookie Values Transmitted to Google Domains
                                                   Google Analytics Opt-Out Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                          https://www.nytimes.com/

      Cookie Name                     Google Analytics Opt-Out Disabled                              Google Analytics Opt-Out Enabled
      __gads                ID=3c96f2ea57947042-2249e2afe4                                  ID=9dcbd1eb652322be-22e80ec926
      _ga                   1838268510.1648666801
      _gcl_au               157853512.1648666802                                            1589155738.1649656530
      _gid                  619398206.1648666802
      nyt-a                 8Rls1jZfEdlyWm-M5VB98t                                          BPayFwhF7hj0avAC05npjS
      nyt-jkidd             anon

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 676 of 1046
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                                   Exhibit 2.32: Comparison of Cookie Values Transmitted to Google Domains
                                                   Google Analytics Opt-Out Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                             https://www.cnn.com/

      Cookie Name                    Google Analytics Opt-Out Disabled                                  Google Analytics Opt-Out Enabled
      DSID                  NO_DATA
      V                     HOmxJXMhswcM                                                    tBZBxoJtH4fe
      __gads                ID=1e2d765b0fbeab4a:T=16485977                                  ID=50cdc1fcbd2f7e90-22ab1f2e28
      __gpi                                                                                 UID=000004690a9dbf40:T=1649653
      ug                    62439ae900f8050a3f85a100173520                                  6253b8880da7500a3f9b5b00181a23
      ug1                   62439ae900f8050a3f85a100173520                                  6253b8880da7500a3f9b5b00181a23

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
      [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 677 of 1046
                                                                                                                       CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                   Exhibit 2.33: Comparison of Cookie Values Transmitted to Google Domains
                                                   Google Analytics Opt-Out Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                         https://www.apartments.com/

      Cookie Name                    Google Analytics Opt-Out Disabled                                  Google Analytics Opt-Out Enabled
      _ga                   1733023998.1648609275
      _gcl_au               1736737948.1648609275                                           1489613522.1649652675
      _gid                  2027979523.1648609275

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                   Exhibit 2.34: Comparison of Cookie Values Transmitted to Google Domains
                                                   Google Analytics Opt-Out Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                           https://www.latimes.com/

      Cookie Name                     Google Analytics Opt-Out Disabled                                 Google Analytics Opt-Out Enabled
      DSID                  NO_DATA
      __gads                ID=c7d409668150a0fb-22636d5513                                  ID=7346b03642f9b0f7:T=16496552
      _ga                   1173847638.1648674216
      _gid                  1397726901.1648674217
      permutive-id          282078e5-2c9f-4363-a1ef-4acd31                                  c26699b9-978b-4fe5-b0ec-df3241
      uuid                  aba50388-dce8-49d9-9bda-83a543                                  0a3efc60-5d68-40b8-a8cb-067e74

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 679 of 1046
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                                   Exhibit 2.35: Comparison of Cookie Values Transmitted to Google Domains
                                                   Google Analytics Opt-Out Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                      https://www.washingtonpost.com/

      Cookie Name                    Google Analytics Opt-Out Disabled                                  Google Analytics Opt-Out Enabled
      DSID                  NO_DATA
      __gads                ID=dd603e395fd45b34-228b18c0e4                                  ID=2509e86e03197d5d-222a606927
      _ga                   921166568.1648676776
      _ga_WRCN68Y2
      LD                    1648676775
      _gaexp                3gY8TfBUQy645wcR55Xl0w.0
      _gid                  394318624.1648676776
      wp_geo                US|VA|511||
      wp_usp                1---                                                            1---

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                   Exhibit 2.36: Comparison of Cookie Values Transmitted to Google Domains
                                                            uBlock Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                          https://www.nytimes.com/

      Cookie Name                             uBlock Disabled                                                     uBlock Enabled
      __gads                ID=3c96f2ea57947042-2249e2afe4
      _ga                   1838268510.1648666801
      _gcl_au               157853512.1648666802
      _gid                  619398206.1648666802
      nyt-a                 8Rls1jZfEdlyWm-M5VB98t
      nyt-jkidd             anon

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
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                                   Exhibit 2.37: Comparison of Cookie Values Transmitted to Google Domains
                                                            uBlock Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                             https://www.cnn.com/

      Cookie Name                             uBlock Disabled                                                     uBlock Enabled
      DSID                  NO_DATA
      V                     HOmxJXMhswcM
      __gads                ID=1e2d765b0fbeab4a:T=16485977
      ug                    62439ae900f8050a3f85a100173520
      ug1                   62439ae900f8050a3f85a100173520

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
      [5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 682 of 1046
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                                   Exhibit 2.38: Comparison of Cookie Values Transmitted to Google Domains
                                                             uBlock Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                         https://www.apartments.com/

      Cookie Name                             uBlock Disabled                                                     uBlock Enabled
      _ga                   1733023998.1648609275
      _gcl_au               1736737948.1648609275
      _gid                  2027979523.1648609275

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 683 of 1046
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                                   Exhibit 2.39: Comparison of Cookie Values Transmitted to Google Domains
                                                            uBlock Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                           https://www.latimes.com/

      Cookie Name                              uBlock Disabled                                                    uBlock Enabled
      DSID                  NO_DATA
      __gads                ID=c7d409668150a0fb-22636d5513
      _ga                   1173847638.1648674216
      _gid                  1397726901.1648674217
      permutive-id          282078e5-2c9f-4363-a1ef-4acd31
      uuid                  aba50388-dce8-49d9-9bda-83a543

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 684 of 1046
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                                   Exhibit 2.40: Comparison of Cookie Values Transmitted to Google Domains
                                                            uBlock Extension Test
                     Chrome Browser Tested on Windows 10 in Default Private Browsing Mode with Third-Party Cookies Blocked
                                                      https://www.washingtonpost.com/

      Cookie Name                             uBlock Disabled                                                     uBlock Enabled
      DSID                  NO_DATA
      __gads                ID=dd603e395fd45b34-228b18c0e4
      _ga                   921166568.1648676776
      _ga_WRCN68Y2
      LD                    1648676775
      _gaexp                3gY8TfBUQy645wcR55Xl0w.0
      _gid                  394318624.1648676776
      wp_geo                US|VA|511||
      wp_usp                1---

      Notes:
      [1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in
      file “settings_full_value.xlsx” of the backup production.
      [2] Bold, italicized cookie names and values denote first-party cookies.
      [3] The Google-associated domain that each cookie value is sent is included in file “settings_sent_domains.xlsx” of the backup production.
      [4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

      Source:
      [1] Network transmission data.
                              Appendix
    Case 4:20-cv-03664-YGR Document    A Filed 03/21/23 Page 685 of 1046
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Georgios Zervas
Boston University                    Phone:            (617) 358-3319 (office)
Questrom School of Business          Email:            zg@bu.edu
595 Commonwealth Ave (Ofc. 605)      Homepage:         http://people.bu.edu/zg/
Boston, MA 02215                     Google Scholar:   https://scholar.google.com/citations?user=5L8vEA4AAAAJ
Last updated: Dec. 21, 2021


Employment & Affiliations
Current
Associate Professor of Marketing                                                        2019–to date
Questrom School of Business, Boston University, Boston, MA

Faculty Director, MS in Business Analytics                                              2019–to-date
Questrom School of Business, Boston University, Boston, MA
Founding Member, Faculty of Computing & Data Science                                    2019–to date
Boston University, Boston, MA
Affiliated Faculty in Computer Science                                                  2016–to date
Boston University, Boston, MA
Visiting Researcher                                                                     2013–to date
Microsoft Research New England, Cambridge, MA

Prior
Assistant Professor of Marketing                                                          2013–2019
Questrom School of Business, Boston University, Boston, MA
Visiting Scholar                                                                         Spring 2018
MIT Sloan, Cambridge, MA
Simons Postdoctoral Fellow                                                                2011–2013
Yale University, New Haven, CT
Advisor: Joan Feigenbaum

Affiliate at the Center for Research & Computation in Society                             2011–2013
Harvard University, Cambridge, MA
Research Scientist                                                                        2006–2012
CogoLabs Inc., Cambridge, MA, USA
Cofounder                                                                                 2000–2005
Perlfect Solutions, London, UK




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Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University          2


Education
Ph.D. Computer Science                                                                              2005–2011
Boston University, Boston, MA, USA.
Thesis: Data-Driven Analysis of Electronic Commerce Systems.
Advisors: John W. Byers (BU) & Michael Mitzenmacher (Harvard).
M.A. Interactive Media                                                                              1999–2000
London College of Communication, London, UK.
Thesis: Automatic Website Generation Using Genetic Algorithms.
Advisor: Alan Sekers.

M.Sc. Computer Science                                                                              1998–1999
Imperial College, London, UK.
Thesis: Thesis: Advanced Clustering Algorithms.
Advisor: Stefan Rüger.
B.Eng. Computer Science                                                                             1995–1998
Imperial College, London, UK.
Thesis: Object Linking & Embedding for Linux.
Advisor: Steffen van Bakel.


Publications
Journals
1. Shrabastee Banerjee, Chris Dellarocas Chris, and Georgios Zervas
   Interacting User-Generated Content Technologies: How Questions and Answers Affect Consumer
   Reviews.
   Journal of Marketing Research, (2021);58(4): 742-761.
2. Georgios Zervas, Davide Proserpio, and John W. Byers
   A first look at online reputation on Airbnb, where every stay is above average
   Marketing Letters, (2020): 1-16.
3. Giana Eckhardt, Mark Houston, Baojun Jiang, Cait Lamberton, Aric Rindfleisch, and Georgios Zervas
   Marketing in the Sharing Economy
   Journal of Marketing, 83.5 (2019): 5-27.
4. Giana Eckhardt, Mark Houston, Baojun Jiang, Cait Lamberton, Aric Rindfleisch, and Georgios Zervas
   Marketing in the Sharing Economy
   Journal of Marketing, 83.5 (2019): 5-27.
5. Davide Proserpio, Wendy Xu, and Georgios Zervas
   You Get What You Give: Theory and Evidence of Reciprocity in the Sharing Economy
   Quantitative Marketing and Economics, 16(4), (2018): 371-407.
6. Georgios Zervas, Davide Proserpio, and John W. Byers
   The Rise of the Sharing Economy: Estimating the Impact of Airbnb on the Hotel Industry
   Journal of Marketing Research, 54, no. 5 (2017): 687-705.
   – Finalist for the 2018 Paul E. Green Award.




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Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University         3


7. Davide Proserpio and Georgios Zervas
   Online Reputation Management: Estimating the Impact of Management Responses on Consumer
   Reviews
   Marketing Science, 36, no. 5 (2017): 645-665
   – Finalist for the 2018 John D. C. Little Award.

8. Michael Luca, and Georgios Zervas
   Fake It Till You Make It: Reputation, Competition, and Yelp Review Fraud
   Management Science, 62, no. 12 (2016): 3412-3427

Full Papers in Peer-reviewed Conferences with Proceedings
1. Ceren Budak, Sharad Goel, Justin M. Rao, and Georgios Zervas
   Understanding Emerging Threats to Online Advertising
   In Proceedings of the Sixteenth ACM Conference on Economics and Computation (EC ’16). ACM, 2016.

2. John Byers, Michael Mitzenmacher, and Georgios Zervas
   The Daily Deals Marketplace: Empirical Observations and Managerial Implications
   In ACM SIGecom Exchanges, Vol. 11, No. 2, December 2012, Pages 29–31.
3. Joan Feigenbaum, Michael Mitzenmacher, and Georgios Zervas
   An Economic Analysis of User-Privacy Options in Ad-Supported Services
   In Proceedings of the 8th Workshop on Internet & Network Economics, WINE ’12, pages 30–43. Springer
   Berlin Heidelberg, 2012.
4. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   The Groupon Effect on Yelp Ratings: A Root Cause Analysis
   In Proceedings of the 13th ACM Conference on Electronic Commerce, EC ’12, pages 248–265. Valencia, Spain,
   2012. ACM.
5. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Daily Deals: Prediction, Social Diffusion, and Reputational Ramifications
   In Proceedings of the 5th ACM international conference on Web Search and Data Mining, WSDM ’12, pages
   543–552. Seattle, WA, USA, 2012. ACM.
6. John W. Byers, Brent Heeringa, Michael Mitzenmacher, and Georgios Zervas.
   Heapable Sequences and Subsequences
   In Proceedings of the Workshop on Analytic Algorithmics and Combinatorics, ANALCO ’11, pages 33–44, San
   Fransisco, CA, USA, 2011. ACM.
7. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Information asymmetries in pay-per-bid auctions
   In Proceedings of the 11th ACM conference on Electronic Commerce, EC ’10, pages 1–12, New York, NY,
   USA, 2010. ACM.
8. John W. Byers, Michael Mitzenmacher, and Georgios Zervas
   Adaptive Weighing Designs for Keyword Value Computation
   In Proceedings of the third ACM international conference on Web search and data mining, WSDM ’10, pages
   331–340, New York, NY, USA, 2010. ACM.
9. Nikolaos Laoutaris, Georgios Zervas, Azer Bestavros, and George Kollios
   The Cache Inference Problem and its Application to Content and Request Routing
   In Proceedings of the 26th Annual IEEE Conference on Computer Communications, INFOCOM ’07, pages
   848–856, Anchorage, AK, USA, 2007. IEEE.




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      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 688 of 1046

 Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University               4


10. Georgios Zervas, and Stefan M. Rüger
    The Curse of Dimensionality and Document Clustering
    In IEEE Seminar, Searching for Information: Artificial Intelligence and Information Retrieval Approaches, pages
    19/1–19/3, Glasgow, UK, 1999.

 Abstracts in Peer-reviewed Conferences with Proceedings
 1. Greg Lewis and Georgios Zervas
    The Supply and Demand Effects of Review Platforms
    In Proceedings of the 2019 ACM Conference on Economics and Computation (EC ’19)., pp. 197-197. ACM,
    2019.
 2. Shrabastee Banerjee, Chris Dellarocas, and Georgios Zervas
    Interacting User Generated Content Technologies: How Q&As Affect Ratings & Reviews
    In Proceedings of the 2017 ACM Conference on Economics and Computation (EC ’17)., pp. 539-539. ACM,
    2017.
 3. Georgios Zervas, Davide Proserpio, and John W. Byers
    The Impact of the Sharing Economy on the Hotel Industry: Evidence from Airbnb’s Entry Into the
    Texas Market
    In Proceedings of the 2015 ACM Conference on Economics and Computation (EC ’15)., pp. 637-637. ACM,
    2015.
 4. Davide Proserpio and Georgios Zervas
    Online Reputation Management: Estimating the Impact of Management Responses on Consumer
    Reviews
    In Proceedings of the 2015 ACM Conference on Economics and Computation (EC ’15)., pp. 79-79. ACM, 2015.

 Invited Articles
 1. Davide Proserpio and Georgios Zervas
    Replying to Customer Reviews Results in Better Ratings
    Harvard Business Review, Feb. 14, 2018.


 Working Papers
 1. Greg Lewis, Bora Ozaltun, and Georgios Zervas
    Maximum Likelihood Estimation of Differentiated Products Demand Systems
 2. Luis Armona, Greg Lewis, and Georgios Zervas
    Learning Product Characteristics and Consumer Preferences from Search Data
 3. Stephan Seiler, Song Yao, Georgios Zervas
    Causal Inference in Word-of-Mouth Research: Methods and Results
 4. Chiara Farronato and Georgios Zervas
    Consumer Reviews and Regulation: Evidence from NY Restaurants

 5. Greg Lewis and Georgios Zervas
    The Welfare Impact of Consumer Reviews: A Case Study of the Hotel Industry
 6. Greg Lewis and Georgios Zervas
    Supply and Demand Responses to Consumer Review Platforms




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Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University             5


Grants, Awards, & Honors
1. Marketing Science Institute (MSI) Young Scholars                                                        2019
2. Dean’s Research Scholar, Questrom School of Business                                                 08/2018
3. Shahdadpuri Research Award, Questrom School of Business                                              10/2017
4. Hariri Institute Graduate Fellowship                                                                  6/2015
   ($25,000 award)
5. Google Faculty Research Award                                                                         2/2015
   ($35,000 unrestricted gift, plus $10,000 in Google Cloud credits)
6. Hariri Institute Junior Faculty Fellow                                                             2013–2015
7. Hariri Institute Research Grant                                                                       1/2013
   Principal Investigator, with co-PI John W. Byers ($26,500)
8. Departmental Research Achievement Award, Computer Science Dept., Boston U.                         2010–2011


Student Advising
1. Hannah Catabia, PhD Student, Computer Science Dept., Co-advisor                                  2019–to date
2. Philip Zhao, PhD Student, Marketing Dept., Advisor                                               2018–to date
3. Shrabastee Banerjee, PhD Student, Marketing Dept., Advisor                                         2015–2021
   Placement: Tilburg University, Marketing
4. Davide Proserpio, PhD Student, Computer Science Dept., Co-advisor                                  2012–2015
   Placement: USC Marshall, Marketing


Presentations and Invited Talks
Learning Market Structure & Consumer Preferences from Search Data: An Application to Hotel De-
mand Estimation
 Conferences:
 - Marketing Science 2019, Rome, Italy                                                              06/20/2019
Consumer Reviews and Regulation: Evidence from NY Restaurants
 Academia:
 - Technische Universität Berlin, Germany                                                           10/04/2021
 - Universitat zu Koln, Germany                                                                     07/31/2021
 - Brandeis University, Walthman, MA                                                                04/07/2021
 - Yale School of Management, New Haven, CT                                                         10/30/2020
 - University of Miami, Miami, FL                                                                   10/23/2020
 - UMass Amherst Isenberg School of Management, Amherst, MA                                         02/03/2018

 Conferences:
 - Marketing Science 2018, Philadelphia, PA                                                         06/14/2018




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Georgios Zervas, Associate Professor of Marketing, Questrom School of Business, Boston University            6


 - BU Data Science Day, Boston University, Boston MA                                                01/26/2018
 - Digital, Mobile Marketing, and Social Media Analytics Conference, NYU, New York, NY              09/12/2017
 - Marketing Science, USC Marshall, Los Angeles, CA                                                 06/10/2017
 - Health Sector Data Blitz, Questom School of Business, Boston, MA                                 03/11/2017
 - Marketing Analytics and Big Data conference, Columbia University, New York, NY                   16/09/2017
The Welfare Impact of Consumer Reviews: A Case Study of the Hotel Industry
 Academia:
 - HEC, Paris, France                                                                               11/07/2019
 - Duke Fuqua, Durham, North Carolina                                                               05/01/2019
 - Harvard Business School, Boston, MA                                                              03/12/2019
 - NYU Stern, New York, NY                                                                          02/14/2019
 - Columbia GSB, New York, NY                                                                       10/16/2018
 - USC Marshall, Los Angeles, CA                                                                     4/14/2017
 - Stanford GSB, Palo Alto, CA                                                                       4/12/2017
 - Michigan Ross, Ann Arbon, MI                                                                      4/10/2017
 - University of Toronto Rotman, Toronto, ON                                                         2/17/2017
 - University of Chicago Booth, Chicago, IL                                                          1/31/2017
 - Wharton, Philadelphia, PA                                                                         1/25/2017
 - MIT Economics Dept., Cambridge, MA                                                               10/24/2016

 Conferences:
 - QME 2016, Kellogg School of Management, Evanston, IL                                             09/01/2016
 - SCECR 2016, Naxos, Greece                                                                        06/24/2016
 - Greater China Conference on Mobile Big Data Marketing, Hong Kong                                 06/13/2016
 - Marketing Science 2016, Shanghai, China                                                          06/16/2016
Online Reputation Management: Estimating the Impact of Management Responses on Consumer Re-
views.
 Academia:
 - Havard EconCS Seminar, Cambridge, MA                                                             10/02/2015
 - Hebrew University, Computer Science dept., Jerusalem, Israel                                     06/14/2015
The Rise of the Sharing Economy: Estimating the Impact of Airbnb on the Hotel Industry
 Conferences:
 - Open & User Innovation Conference 2015, Harvard Business School, Boston MA                       08/03/2016
 - CODE@MIT, Cambridge MA                                                                           10/16/2015
 - Marketing Science 2015, Baltimore                                                                05/20/2015
 - NYU 2015 Conference on Digital Big Data, Smart Life, Mobile Marketing Analytics                  23/10/2015

 Academia:
 - Simon Business School, University of Rochester                                                   2/29/2016

 Industry:
 - Microsoft Research New England                                                                   11/18/2015




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 Government:
 - Cambridge City Council, Cambridge, MA                                                            7/19/2016
Understanding Emerging Threats to Online Advertising
 Academia:
 - Goizueta Business School, Emory University                                                       02/27/2015
 - MSR/Harvard Game Theory Seminar                                                                  12/17/2014
 - Questrom School of Business, MPPL Seminar                                                        04/17/2015

 Industry:
 - Betaworks, NYC                                                                                   07/23/2015
Fake It Till You Make It: Reputation, Competition, and Yelp Review Fraud
 Conferences:
 - Marketing Science 2014, Emory University, Atlanta                                                06/13/2014
 - WIN 2013: The 5th Workshop on Information in Networks                                            10/04/2013
 - DIMACS Workshop on Economic Aspects of Information Sharing                                       02/08/2013

 Industry:
 - Google, Palo Alto, CA                                                                            02/12/2013
The Groupon Effect on Yelp Ratings: A Root Cause Analysis
 Conferences:
 - Marketing Science 2013, Istanbul, Turkey                                                         07/13/2013
 - SCECR 2012, Montreal, Canada                                                                     06/29/2012
 - ACM EC 2012, Valencia, Spain                                                                     06/05/2012
 - Yale Customer Insights Conference, New Haven, CT                                                 03/15/2013
 - CAOSS 2012: Workshop on Computational and Online Social Science, New York, NY                    10/12/2012

 Academia:
 - Wellesley University, Computer Science Dept                                                      02/27/2012
 - Northeastern University, Computer Science Dept                                                   03/28/2012
 - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     04/16/2012
 - Berkeley University, Computer Science Dept                                                       04/10/2012

 Industry:
 - Microsoft Research New York                                                                      02/27/2013
 - Google, Palo Alto, CA                                                                            04/09/2012
 - Yelp, San Francisco, CA                                                                          04/11/2012
Daily Deals: Prediction, Social Diffusion, and Reputational Ramifications
 Conferences:
 - New York Computer Science and Economics Day (Poster session.)                                    09/16/2011
 - Cambridge Area Economics and Computation Day (Poster session.)                                   11/18/2011
 - ACM WSDM 2012                                                                                    02/11/2012




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  Academia:
  - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     10/20/2011
  - Boston University, Mathematics Dept., Statistics and Probability Seminar                         11/17/2011
  - Columbia University, Computer Science Dept., Seminar                                             12/08/2011

  Industry:
  - IBM Research, Hawthorne, NY, Seminar                                                             12/07/2011
  - Microsoft Research New England, Economics Research Working Group                                 10/14/2011
 Information Asymmetries in Pay-Per-Bid Auctions: How Swoopo Makes Bank
  Conferences:
  - ACM EC 2010                                                                                      06/09/2010

  Academia:
  - Boston University, Computer Science Dept., Theory Seminar                                        03/19/2010
  - Harvard University, School of Eng. & Appl. Sci., Joint EconCS/Theory Seminar                     03/29/2010
  - Northeastern University, Coll. of Comp. & Inf. Sci., Graduate Student Seminar                    04/03/2010
  - Williams College, Computer Science Dept., Invited Colloquium                                     10/22/2010
 Adaptive Weighing Designs for Keyword Value Computation
  Conferences:
  - ACM WSDM 2010                                                                                    02/06/2010

  Academia:
  - Boston University, Computer Science Dept., Networking Reading Group                              02/08/2010
  - Boston University, Computer Science Dept., CS565 Data Mining, Guest Lecture                      03/23/2010


 Teaching
 1. BA810: Supervised Machine Learning (44 students)                                                   Fall 2019
 2. BA810: Supervised Machine Learning (42 students)                                                   Fall 2019
 3. MK476: Machine Learning for Business Analytics (26 students)                                     Spring 2019
 4. MK824: Machine Learning for Business Analytics (44 students)                                     Spring 2019
 5. MK824: Machine Learning for Business Analytics (40 students)                                     Spring 2018
 6. MK824: Machine Learning for Business Analytics (43 students)                                     Spring 2017
 7. MK323: Marketing Management (49 students)                                                        Spring 2017
 8. MK323: Marketing Management (48 students)                                                          Fall 2015
 9. MK323: Marketing Management (50 students)                                                          Fall 2015
10. MK323: Marketing Management (47 students)                                                          Fall 2014
11. MK323: Marketing Management (47 students)                                                          Fall 2014
12. MK323: Marketing Management (49 students)                                                          Fall 2013
13. MK323: Marketing Management (50 students)                                                          Fall 2013




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Course Development
MK476, MK842, and BA810 are courses that I developed that introduce undergraduate, MBA, and MSBA
students to machine learning methods with applications in business analytics.


Service
Editorial Review Board                                                                              2020–to-date
Marketing Science
Steering Committee Member                                                                           2019–to-date
Rafik B. Hariri Institute for Computing, Boston University


Editorial Review Board                                                                              2019–to-date
Journal of Marketing
Editorial Review Board                                                                              2019–to-date
Journal of Marketing Research
Associate Editor                                                                                    2019–to date
ACM Transactions on Economics and Computation

Program committees: EC 2021 (Program Committee), EC 2020 (Senior Program Committee), WebConf
2020, EC 2019 (Senior Program Committee), EC 2018 (Senior Program Committee), EC 2018, WWW 2018,
ICIS 2018, EC 2017 (Senior Program Committee), EC 2016 (Senior Program Committee), WWW 2016
(Senior Program Committee), ICIS 2016, SCECR 2016, EC 2015, WSDM 2015, WWW 2015, AMMA 2015,
COBE 2015, EC 2014, WSDM 2014, WWW 2014, ICWSM 2014, WWW 2013, WSDM 2013, EC 2012.

Ad-hoc reviewer: Management Science, Marketing Science, Journal of Marketing Research, Information
Systems Research, Games and Economic Behavior, Review of Industrial Organization, Operations Let-
ters, Management Information Systems Quarterly, Journal of Public Economics, Manufacturing & Service
Operations Management.


Media coverage
1. Some Smiling Faces in Online Customer Testimonials Are Stock Photos                              05/16/2019
   The Wall Street Journal
2. Why ranting on Yelp is the wrong way to complain about awful service                             04/03/2018
   The Boston Globe
3. Does a ’Sharing Economy’ Foster Better Behavior?                                                 03/27/2018
   PC Magazine
4. For Hotels, Online Reviews Really Matter to the Bottom Line                                      11/18/2016
   The Wall Street Journal
5. Don’t Necessarily Judge Your Next E-Book By Its Online Review                                    10/26/2015
   NPR All Things Considered
6. Five-star fakes                                                                                  10/24/2015
   The Economist




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 7. Ratings Now Cut Both Ways, So Don’t Sass Your Uber Driver                                        01/30/2015
    The New York Times
 8. Airbnb, Uber, Lyft: de l’économie collaborative au business du partage                           08/16/2014
    Le nouvel Observateur

 9. Airbnb versus hotels: Room for all, for now                                                      04/26/2014
    The Economist
10. Keeping crowdsourcing honest: can we trust the reviews?                                          02/18/2014
    BBC News
11. Why It’s So Hard to Figure Out the Sharing Economy’s Winners and Losers                          02/10/2014
    The Atlantic Cities
12. Sharing Is Caring, Unless It Costs You Your Job                                                  02/05/2014
    The New York Times Bits Blog
13. Yelp Reviews: Can You Trust Them?                                                                11/04/2013
    BU Today
14. Fake reviews on Yelp?! Don’t worry, we’ve got your back                                          09/27/2013
    Yelp Official Blog
15. Yelp deems 20% of user reviews ‘suspicious’                                                      09/24/2013
    Marketwatch, The Wall Street Journal
16. Yelp admits a quarter of submitted reviews could be fake                                         09/13/2013
    BBC News
17. Underdog Businesses Are More Likely to Post Fake Yelp Reviews                                    08/30/2013
    Harvard Business Review Blog Network
18. How Good Groupon Leads to Bad Yelp                                                               03/11/2013
    The Freaknomics Blog
19. For Some Businesses, Daily Deals Have A Dark Side                                                07/06/2012
    NPR Morning Edition
20. Using Groupon Deals? Your Yelp Rating May Suffer                                                 04/11/2012
    The Huffington Post
21. Help for Yelp                                                                                    11/09/2011
    BU Today
22. Groupon IPO: An Internet star falls to Earth                                                     10/23/2011
    Christian Science Monitor
23. Is Groupon Bad For Business?                                                                     10/18/2011
    WBUR
24. Groupon: Bad for Business?                                                                       10/05/2011
    BU Today
25. Groupon’s Morning After Problem                                                                  10/04/2011
    Time Magazine




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26. Coupon Sites Are a Great Deal, but Not Always to Merchants                                       10/02/2011
    The New York Times
27. Groupon Deals May Hurt Your Yelp Ratings                                                         09/12/2011
    The Atlantic

28. Study: Daily Deals Hurt Businesses’ Reputations                                                  07/06/2011
    The Wall Street Journal, “In Charge” blog
29. Groupon’s Hidden Influence on Reputation                                                         09/12/2011
    The MIT Technology Review




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                                       APPENDIX B
        LIST OF PRIOR EXPERT TESTIMONY FOR DR. GEORGIOS ZERVAS


Calhoun et al. v. Google LLC, U.S. District Court for the Northern District of California –
San Jose Division, Case No. 5:20-cv-05146
       Expert Report (December 2021) and Deposition Testimony (January 2022).




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                                         Appendix C
                                    Materials Considered
Case Documents
Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States
District Court Northern District of California, February 3, 2022.
Deposition of AbdelKarim Mardini Volume I, November 23, 2021.
Deposition of AbdelKarim Mardini Volume II, November 24, 2021.
Deposition of Glenn Berntson Volume I, March 18, 2022.
Deposition of Huei-Hung (Chris) Liao Volume I, December 2, 2021.
Deposition of Huei-Hung (Chris) Liao Volume II, December 3, 2021.
Deposition of Michael Kleber, March 18, 2022.
Deposition of Rory McClelland, February 18, 2022.
Deposition of Stephen Chung 30(b)(6), March 10, 2022.
Deposition of Steve Ganem, February 11, 2022.
Deposition of Steve Ganem, March 23, 2022.
Deposition of Wing Pan “Bert” Leung, March 4, 2022.


Academic Literature
Kurose, James F. & Ross, Keith W., “Computer Networking: A Top-Down Approach,” 8th
Edition, Pearson, 2021.
Garett, Renee et al., “A Literature Review: Website Design and User Engagement,” Online
journal of communication and media technologies, Vol. 6,3 (2016): 1-14, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4974011/.
Rodden, Kerry et al., “Measuring the User Experience on a Large Scale: User-Centered Metrics
for Web Applications,” ACM Press, April 2010, available at
https://static.googleusercontent.com/media/research.google.com/en//pubs/archive/36299.pdf.


Publicly Available Sources
“[GA4] Activate Google signals for Google Analytics 4 properties,” Analytics Help, Google,
available at https://support.google.com/analytics/answer/9445345?hl=en.
“[GA4] Link Google Ads and Analytics,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9379420?hl=en.
“[GA4] Measure activity across platforms,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/9213390?hl=en.



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available at https://advertising.amazon.com/blog/programmatic-advertising.
“About Advertising Features,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/3450482.
“About Google Tag Manager,” Tag Manager, Google, available at
https://developers.google.com/tag-platform/tag-manager.
“About privacy & messaging,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/10075997?hl=en.
“About publisher provided identifiers,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/2880055?hl=en.
“About the IETF,” Internet Society, available at https://www.internetsociety.org/about-the-ietf/.
“About the User-ID feature,” Analytics Help, Google,
https://support.google.com/analytics/answer/3123662#zippy=%2Cin-this-article.
“Activate Google signals,” Analytics Help, Google, available at
https://support.google.com/analytics/answer/7532985#zippy=%2Cin-this-article.
“Ad Choices for the Google Display Network,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/2695279?hl=en.
“Ad personalization settings in Google’s publisher ad tags,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/7678538.
“Ad selection white paper,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/1143651#zippy=%2Csummary-of-data-types-
table.
“Ad sizes,” Google Publisher Tag, Google, available at https://developers.google.com/publisher-
tag/guides/ad-sizes.
“AdBlock –- best ad blocker,” Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/adblock-%E2%80%94-best-ad-
blocker/gighmmpiobklfepjocnamgkkbiglidom?hl=en-US.
“AdButler,” AdButler, available at https://www.adbutler.com/.
“Add gtag.js to your site,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/gtagjs.
“AdGuard” AdGuard, available at https://adguard.com/en/welcome.html.
“Advertising with Google Ad Manager,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/6022000?hl=en.
“Allow private browsing,” Chrome Enterprise and Education Help, Google, available at
https://support.google.com/chrome/a/answer/9302896?hl=en.



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https://www.adobe.com/analytics/adobe-analytics.html.
“Analyze the customer journey across websites and apps,” PIWIK PRO, available at
https://piwik.pro/.
“APIs: The Proven Tool for Efficient Business Growth,” Axos Bank, July 1, 2020, available at
https://www.axosbank.com/blog/APIs-The-Proven-Tool-for-Efficient-Business-Growth#.
“Block certain ads,”Ads Help, Google, available at
https://support.google.com/ads/answer/2662922?hl=en.
“Browse in private,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/95464?hl=en&co=GENIE.Platform%3DDesktop.
“Browse InPrivate in Microsoft Edge,” Microsoft Support, Microsoft, available at
https://support.microsoft.com/en-us/microsoft-edge/browse-inprivate-in-microsoft-edge-
cd2c9a48-0bc4-b98e-5e46-ac40c84e27e2.
“Build Better Products,” Mixpanel, available at https://mixpanel.com/.
“Choose your privacy settings,” Google Chrome Help, Google, available at
https://support.google.com/chrome/answer/114836?hl=en&co=GENIE.Platform%3DDesktop.
“Chrome DevTools,” Chrome Developers, Google, available at
https://developer.chrome.com/docs/devtools/.
“Client-side Storage,” World Wide Web Consortium, available at
https://www.w3.org/2001/tag/2010/09/ClientSideStorage.html.
“Common Myths about Private Browsing,” Support Mozilla, Mozilla, available at
https://support.mozilla.org/en-US/kb/common-myths-about-private-
browsing?as=u&utm_source=inproduct.
“Computer Cookies: What They Are and How They Work,” HP Tech Takes, November 26,
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“Consent Mode,” Analytics Help, Google, available at
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https://static1.squarespace.com/static/5c17fee58ab722e19b765b9d/t/5ebb2cad66d47b4c5c9f21a
9/1589324990858/Flashtalking_Cookie_Rejection_Report_2020.pdf.
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https://developers.google.com/analytics/devguides/collection/gtagjs/cookies-user-id.
“Cookies and User Identification,” Google Analytics, Google, available at
https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id.
“cookies and website data,” Apple Support, Apple, available at
https://support.apple.com/guide/safari/aside/glos0126d795/15.1/mac/12.0.


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“Disable JavaScript in Chrome, Edge, Firefox, Opera, Internet Explorer on Windows 11/10,”
The Windows Club, available at https://www.thewindowsclub.com/disable-javascript-chrome-ie-
firefox-opera.
“Does firefox prevent sites and javascript code from accessing existing cookies and web sites
data when browsing in Private Browsing mode?” Support Mozilla, Mozilla Corporation,
February 24, 2019, available at https://support.mozilla.org/en-US/questions/1251227.
“Does Safari Web Extensions include Private Browsing?” Developer Forums, Apple, available at
https://developer.apple.com/forums/thread/650294.
“Download NordVPN app for Windows PC,” NordVPN, available at
https://nordvpn.com/download/windows/.
“Enable Google signed-in, cross-device personalized ads,” Google Ad Manager Help, Google,
available at https://support.google.com/admanager/answer/7204537?hl=en.
“Enable Remarketing and Avertising Reporting Features in Analytics,” Analytics Help, Google,
available at https://support.google.com/analytics/answer/2444872.
“Extensions in Private Browsing,” Support Mozilla, Mozilla, available at
https://support.mozilla.org/en-US/kb/extensions-private-browsing.
“Facebook Advertisers: Direct vs Programmatic Buying Trends,” MediaRadar, May 27, 2021,
available at https://mediaradar.com/blog/facebook-advertisers-direct-vs-programmatic/.
“Get started with ads in Google Ad Manager,” Google Ad Manager Help, Google, available at
https://support.google.com/admanager/answer/6027116?hl=en&ref_topic=7506292.
“Get Started with Google Publisher Tags,” Google Publisher Tag, Google, available at
https://developers.google.com/publisher-tag/guides/get-started.
“Google Analytics 4 SDK, and User ID Feature Policy,” Analytics Help, Google, available at
https://developers.google.com/analytics/devguides/collection/ga4/policy.
“Google Analytics 4 tags,” Tag Manager Help, Google, available at
https://support.google.com/tagmanager/answer/9442095.
“Google Analytics alternative that protects your data and your customers’ privacy,” Matomo,
available at https://matomo.org/.
“Google Analytics Cookie Usage on Websites,” Google Analytics, Google,
https://developers.google.com/analytics/devguides/collection/gtagjs/cookie-usage.
“Google Analytics Opt-out Add-on (by Google),” Chrome Web Store, Google, available at
https://chrome.google.com/webstore/detail/google-analytics-opt-
out/fllaojicojecljbmefodhfapmkghcbnh?hl=en.
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1137658824&rd=1#privacy.
“Growing your business with APIs.,” Visa, available at
https://usa.visa.com/content/dam/VCOM/download/partner-with-us/growing-business-api-
whitepaper.pdf
“Guide to Third-party Cookies,” CookieYes, March 24, 2022, available at
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js.
“How Chrome Incognito keeps your browsing private,” Google Chrome Help, Google, available
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Terms, Google, available at https://policies.google.com/technologies/partner-sites.
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“Personalized and non-personalized ads,” Google Ad Manager Help, Google, available at
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US/docs/Web/HTTP/Methods/POST.
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Help, Google, available at https://support.google.com/admanager/answer/9598414#other-tags.



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                                            APPENDIX D

                                   TESTING METHODOLOGY



        1.      This appendix describes technical details and testing methodology related to the

analysis in my report.


I.      PRIVATE BROWSING MODE FUNCTIONALITY TEST

        2.      To evaluate how data transmission differs between Regular and Private Browsing

Modes, I accessed websites identified in the Complaint with testing variations in operating

systems, browsers, and browsing modes. Websites mentioned in the Complaint include: 1

                ●        https://www.nytimes.com/
                ●        https://www.apartments.com/
                ●        https://www.cnn.com/
                ●        https://www.latimes.com/
                ●        https://www.washingtonpost.com/

        3.      I conducted tests on a variety of browser and operating system combinations:


             a. On Windows 10 (version 20H2), I evaluated Chrome (version 100), Firefox
                (version 99), and Edge (version 100).

             b. On macOS (version 12.2.1), I evaluated Chrome (version 100) and Safari (version
                15).

             c. On Android (version 12), I evaluated Chrome (version 100).


1
     I understand that Plaintiffs provide these websites as examples and that these websites do not
     constitute an exhaustive list of all websites Plaintiffs visited during the Class Period. Based on
     my professional experience, I understand the results I present in my report based on these five
     websites would be also applicable to a larger sample of websites that use Google Analytics and
     Google Ad Manager services.

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            d. On iOS (version 15.3.1), I evaluated Chrome (version 99) and Safari (version 15).

       4.      I used Fiddler Everywhere to record data transmission logs. 2 I followed a testing

protocol as outlined below. The protocol is designed to (1) mimic a typical user’s browsing

behavior in that data are not cleared between browsing sessions, and (2) examine data transmitted

during a Private Browsing Session as compared to a Regular Mode Session. I followed the steps

described below for each website I visited in the respective browser-operating system variation:


            a. Open browser in Regular Mode.

            b. Clear all browsing data (i.e., cookies, caches, and other browser information). 3

            c. Check that default browser settings are in place (default cookie settings, all
               extensions disabled) by navigating to the respective settings pages.

            d. Close the Regular Mode session.

            e. “Regular Mode (Initial Session)” recording:

                    i. Enable Fiddler Everywhere transmission recording.

                   ii. Open browser in Regular Mode.

                  iii. Copy the URL into the address bar.

                  iv. Wait for all visible webpage elements to load and scroll to the bottom of the
                       webpage.


2
    Fiddler Everywhere is a software tool similar to Developer Tools in Chrome (which is a built-
    in Chrome browser feature). In contrast to Developer Tools, Fiddler Everywhere can capture
    HTTP transmissions irrespective of whether they occur as a result of web browsing or due to
    any other network transmission activity (e.g., other software running in the background such
    as Spotify). As my testing involved multiple browsers and operating systems, I used Fiddler
    Everywhere to record these tests in a consistent way.
3
    Clearing browsing data before the start of each test serves the purpose of ensuring that all the
    data captured on the browser is directly related to my tests.
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                   v. Close the browser and stop capturing transmissions.

            f. “Regular Mode (Session 1)” recording:

                   i. Repeat steps in (e).

            g. “Private Browsing Mode (Session 1)” recording:

                   i. Open the browser in private browsing mode. 4

                   ii. Copy the URL into the address bar.

                  iii. Wait for all visible webpage elements to load and scroll to the bottom of the
                      webpage.

            h. Close the browser and stop capturing transmissions. “Private Browsing Mode
               (Session 2)” recording:

                   i. Repeat steps in (g).

            i. “Regular Mode (Session 2)” recording:

                   i. Repeat steps in (e).

       5.      I saved the files in an HTTP Archive format (HAR files). I used the Python

programming language to parse and analyze HAR files. My analysis focused on HTTP requests

including and following the initial request to the website of interest (e.g., when accessing


4
    In Windows, I opened a Private Browsing Session in Chrome, Firefox, and Edge by right-
    clicking on the browser icon and selecting to open a Private Browsing Session (the exact phrase
    of the relevant option differs). For macOS, I opened a Safari Private Browsing Session by
    navigating to Preferences and changing the settings for “Safari opens with” from “A new
    window” to “A new private window.” For Chrome in macOS, I was not able to open Incognito
    Mode directly as on Windows. Therefore, I opened Chrome on macOS by first opening a
    Regular Mode Session and then selecting to open an Incognito window through the browser
    menu. In this test case, I closed the Regular Mode Session before starting the Private Browsing
    Session. For iOS and Android, I opened a private browsing session by long-tapping the
    browser icon and selected the drop-down for a Private Browsing Session.

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https://www.nytimes.com/, I analyze all requests starting from the request to nytimes.com domain)

in order to exclude any automatic communications by the browsers that are not tied to Regular

Mode or Private Browsing Sessions and are not directly associated with user browsing activity.


       6.      In my analysis, I focused on cookie values transmitted to Google-associated

domains. 5 Cookie values may be transmitted in two ways. First, cookie values can be sent in an

HTTP request header. Second, cookie values may be transmitted as part of a URL parameter.


       7.      To analyze cookie values transmitted as part of HTTP request headers sent to

Google, I extracted all cookies sent under both “cookies” and “headers” fields in all HTTP requests

to Google domains.


       8.      I also systematically analyzed parameter values contained in the URLs associated

with Google domains. URL parameters have a standardized structure with a parameter key (name)

and an associated value separated by an equal sign (“=”). Key-value pairs for different URL

parameters are separated by the “&” sign. As an example, the following URL with query string

parameters can be found in the HAR file provided in my backup. 6 I highlighted keys with yellow

color and associated values with blue color.


               "url":

       "https://mwcm.nytimes.com/capi/metered_assets/?plat=web&mc=0&mr=1&ma=




5
    Similarly to my analysis in Section IV, I relied on the list of Google domains obtained from
    DuckDuckGo. https://github.com/duckduckgo/tracker-
    radar/blob/main/entities/Google%20LLC.json
6
    File baseline0.har related to my testing of https://www.nytimes.com/ in Chrome on
    Windows.

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       1&counted=false&granted=true&us=anon&context-

       type=&areas=barOne&areas=welcomeAd"


       9.      Although URL parameters can be used to transmit cookie values, they can also be

used to transmit many other types of information unrelated to cookies. Therefore, not all

parameters observed in a URL are associated with a cookie value. Further, even if cookie values

are transmitted, the cookie name is not necessarily the same as the URL parameter name.

Therefore, my approach to identify relevant URL parameters associated with cookie values is

focused on analyzing transmitted values and matching them to the cookie values identified either

in the request or response for all HTTP requests observed in the corresponding HAR file.


       10.     To identify potential cookie values that are passed through URL parameters, I first

recorded all cookie values sent under both “cookies” and “headers” fields in the requests as well

as cookies set under both “cookie” and “headers” fields in the responses (collectively referred to

as “cookie values encountered”) that I observed in a HAR file. I then analyzed all URL parameters

that appear in the requests to Google-associated domains. 7


       11.     For each URL parameter sent to a Google-associated domain, I looked for whether

the value contained in the URL parameter is at least a substring of a value contained in an observed

cookie value, or vice versa (whether a cookie value is at least a substring of any observed URL

parameter). For example, if there was a URL parameter with value “369248429.1649093540”, and

there was a cookie value encountered with a value “GA1.2.369248429.1649093540,” I identified



7
     File Fiddler Everywhere does not capture the contents of a browser’s cookie jar. For
    scenarios where third-party cookies were blocked by default and were passed as a URL
    parameter to Google-associated domains, I further investigated these instances with the
    browser’s developer tools to verify that the cookies were not set in the browser.

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the URL parameter as a substring of the cookie value. If a parameter is not a substring of a cookie

value and there is no cookie value that is a substring of the parameter, I excluded this parameter

from further analysis.


         12.     Among the URL parameters that are identified as being a substring or having a

substring among cookie values, I reviewed each case individually to determine whether the URL

parameter indeed matches with the associated cookie value. For example, a URL parameter with

value “1” would not be matched to a cookie value of “5299123”; however, I would identify

“369248429.1649093540” in the URL parameter as a match with a cookie value of

“GA1.2.369248429.1649093540”. To limit the scope of this review, I did not perform this

matching protocol for URL parameters and cookie values with a value length equal to or less than

three characters. I also excluded from my analysis URL parameters with the following values:

“true”, “false”, and “null.” 8 I did not limit cookies I analyze based on the length of cookie value

as these limitations only apply to matching cookies to respective URL parameters.


         13.     I provided the list of matches that I reviewed manually to determine if the matches

are associated with transmitted cookies in backup production.


II.      SETTINGS AND EXTENSIONS

         14.     In my experiments described in Section V.D, I included the same websites I studied

in Section IV of my report:

                 ●       https://www.nytimes.com/
                 ●       https://www.apartments.com/
                 ●       https://www.cnn.com/

8
      I transformed values to lowercase to avoid case differences.

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                 ●       https://www.latimes.com/
                 ●       https://www.washingtonpost.com/

       15.       I conducted all my tests using Chrome (version 100) on Windows 10 (version

20H2) to illustrate how the settings impact transmissions of At-Issue Data. Based on my

professional experience with browsers and operating systems, similar types of browser settings

and extensions are available on other browser-operating system pairs.


       16.       I tested the following settings in my report:


              a. Cookie blocking: These tests include changing the cookie settings to: “Allow all
                 cookies”, “Block third-party cookies”, and “Block all cookies” settings.

              b. JavaScript: These tests include allowing JavaScript, changing the browser setting
                 to block JavaScript, and using the Sybu extension to block JavaScript.

              c. uBlock Origin extension: These tests include testing the uBlock Origin extension
                 disabled and the uBlock Origin extension enabled.

              d. Google Analytics Opt-out Add-on extension: These tests include testing the Google
                 Analytics Opt-out Add-on disabled and Google Analytics Opt-out Add-on enabled.

       17.       In each of these tests except the Cookie blocking, I used the default cookie settings.

In Regular Mode, Chrome allows all cookies. In Incognito Mode, third-party cookies are blocked

by default.


       18.       I used Fiddler Everywhere to collect HTTP transmissions in both Regular and

Private Browsing Modes following a testing protocol as outlined below. The procedure is repeated

for all website-setting-mode combinations.


              a. Open a browser instance in Regular Mode, clear browsing data (i.e., cookies and
                 cache), and select the setting of interest.

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             b. Close the Regular Mode session.

             c. Start recording data using Fiddler Everywhere and open a respective browsing
                mode session (Regular Mode or Private Browsing Mode, depending on the
                combination being tested).

                    i. Regular Browsing Session is opened by clicking on the Chrome browser
                        icon.

                    ii. Private Browsing Session is opened by right-clicking on the Chrome
                        browser icon and selecting “New Incognito window” to ensure a clean
                        testing procedure.

             d. Visit a website of interest by copying and pasting a respective URL to the address
                bar, wait until the website is finished loading, and scroll down to the bottom of
                the webpage.

             e. Close the browsing session.

             f. Stop data recording and save the associated network transmissions.

             g. Close browser.

       19.       In my analysis, I followed the same procedure to identify cookie values that are

transmitted to Google-associated domains as I described in Section I of this Appendix.




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                                                                                     Appendix E.1: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                            https://www.nytimes.com/

                                                                                                                                 Chrome
                                 Regular Mode                                  Regular Mode                              Private Browsing Mode                          Private Browsing Mode                               Regular Mode
 Cookie Name             (Initial Session)                                       (Session 1)                                (Session 1)                                      (Session 2)                                      (Session 2)
CMID         Ykz9qFbixl0zYMDlDVWocAAA                                                                         Ykz.tYt7nX6Cde0JMwdX0gAA                        Ykz-XIudpbczrmBmwUNZPQAA
DSID                                                           NO_DATA                                                                                        NO_DATA                                        NO_DATA
ID                                                                                                                                                            c22f8f3ad7ec80601fa6b750a5d926

IDE             AHWqTUky1u46zdsEaAU3deV8RhjnfR                 AHWqTUky1u46zdsEaAU3deV8RhjnfR                 AHWqTUkMJQWHRC_U5UKaCaKvAidt_5 AHWqTUlo0BFGBvY8aX3SeDQnI8K-s2                                  AHWqTUky1u46zdsEaAU3deV8RhjnfR
                                                               511=fPz-VCYuOGvFUO5s9Nayx2WnTa

NID             511=fPz-VCYuOGvFUO5s9Nayx2WnTa                 511=tApLKj8llIIlBi8g2-B6Uy9cDs                 511=ExiiSvNJk-unGywfP29E6NTpo4                  511=vkChIJSDR54ydhHjrATi-sz4b9                 511=tApLKj8llIIlBi8g2-B6Uy9cDs
TDID            809893ac-834c-43f9-a196-f08caf                 809893ac-834c-43f9-a196-f08caf                 939aa204-acac-468e-98e7-a48075
                ID=7c31edb0b1f6b5fb-22f09af8f1                                                                ID=5698b91d4059c7fe-228446fbf1

__gads          ID=7c31edb0b1f6b5fb:T=16492128                 ID=7c31edb0b1f6b5fb:T=16492128                 ID=5698b91d4059c7fe:T=16492131                  ID=8d6f0de99d2245c2:T=16492132                 ID=7c31edb0b1f6b5fb:T=16492128
_ga             1952030859.1649212839                          1952030859.1649212839                          1167649907.1649213107                           792126254.1649213278                           1952030859.1649212839
_gcl_au         1383473507.1649212840                          1383473507.1649212840                          1377810974.1649213109                           1221338006.1649213279                          1383473507.1649212840
_gid            332175566.1649212841                           332175566.1649212841                           786669721.1649213110                            2061444676.1649213279                          332175566.1649212841
callback        AYg5qPIZZWZZeR6YI6IL1lliIo6e-3
google_push                                                                                                                                                   AYg5qPK2yaJBJma79bnzsijkiAvShp
nyt-a           s_0MdNi9p7xRpbq6xjM2up                         s_0MdNi9p7xRpbq6xjM2up                         ve6wR5qvDxVt9-VpZu8dNg                          _vc--mENQ998zqoXeypKJ6                         s_0MdNi9p7xRpbq6xjM2up
nyt-jkidd       anon                                           anon                                           anon                                            anon                                           anon
sa-user-id-v2                                                                                                 LaVOXvuwQ6NlWm-zaUakQRQWv7E
test_cookie     CheckForPermission                                                                            CheckForPermission                              CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] The nyt-jkidd cookie is a first-party cookie with a long value. I observed a substring value of this long value, “anon”, which matches a URL parameter sent to www.google-analytics.com. Since my exhibit shows only the substring value that was sent
to Google-associated domains, I reviewed the full nyt-jkidd values across Regular and Private Browsing Mode and found that the values associated with the Private Browsing Mode were always different.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                     Appendix E.2: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                          https://www.apartments.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                      Regular Mode
 Cookie Name              (Initial Session)                                (Session 1)                                         (Session 1)                                (Session 2)                               (Session 2)
IDE          AHWqTUnCq50dsrsWcWGiwNhje5QgTh                     AHWqTUnCq50dsrsWcWGiwNhje5QgTh                  AHWqTUkk6kuPFT9u9mawSGtpgV9Zrq                 AHWqTUm6uOoYkj5acvi6yRqvrapSGi            AHWqTUnCq50dsrsWcWGiwNhje5QgTh
TDID         d88e9dd8-1d1e-4bdf-a7a0-a30d1d                                                                     32e6a398-a910-46e1-b68b-f733ca
_ga          783246969.1649208661                               783246969.1649208661                            435644190.1649208788                           1588341551.1649208869                     783246969.1649208661
_gcl_au      512778226.1649208661                               512778226.1649208661                            1516401421.1649208789                          825676942.1649208869                      512778226.1649208661
_gid         619666159.1649208661                               619666159.1649208661                            134384889.1649208788                           1758351473.1649208869                     619666159.1649208661
test_cookie  CheckForPermission                                                                                 CheckForPermission                             CheckForPermission

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 716 of 1046
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                                                                                     Appendix E.3: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                              https://www.cnn.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                      Regular Mode
Cookie Name           (Initial Session)                                     (Session 1)                                      (Session 1)                                    (Session 2)                              (Session 2)
CMID        YkzwId8kVWVIEzUr1enyzQAA                            YkzwId8kVWVIEzUr1enyzQAA                        YkzyPCucv26xbN-SwMhAQgAA                       YkzzZP6xEQUo.K38vGtZ5wAA                  YkzwId8kVWVIEzUr1enyzQAA
DSID                                                            NO_DATA                                                                                                                                  NO_DATA

IDE             AHWqTUlN2XemEwBMOvR1CCdswNIzna AHWqTUlN2XemEwBMOvR1CCdswNIzna AHWqTUkZVdzlCb6hbCwEXw1OakmuZA AHWqTUmIMxouNbkIFu9fZ8AipATpJs                                                              AHWqTUlN2XemEwBMOvR1CCdswNIzna
SCM                                                                           23d0b713
SCMg                                                                          23d0b713
SCMo                                                                          23d0b713
TDID            a64cfaa5-60ad-4856-9d99-4e4d7f
V               VOKn6p8JHE59
                ID=21321b8f5833ebdf-221e78e7f1                                                               ID=602c6fb315a6db66-22d37eccf1

__gads          ID=21321b8f5833ebdf:T=16492093                  ID=21321b8f5833ebdf:T=16492093                  ID=993a7e023854705a:T=16492099                 ID=602c6fb315a6db66:T=16492102            ID=21321b8f5833ebdf:T=16492093
_kuid_                                                          OwuVbYKy                                                                                                                                 OwuVbYKy
b               624CF042C5558BC40247A47BBLIS
bdswch                                                                                                          570a5b22-d0e5-4b4d-895b-10bd99
bsw_uid                                                                                                         570a5b22-d0e5-4b4d-895b-10bd99
buid                                                                                                            570a5b22-d0e5-4b4d-895b-10bd99
                AYg5qPIHaQpKSgkKTNtxUhpljGWE5N

google_push     AYg5qPJzhfx8nUFpxKFJkdzmmo7yxh

indxexcg        YkzwId8kVWVIEzUr1enyzQAAA8UAAA                  YkzwId8kVWVIEzUr1enyzQAAA8UAAA                  YkzyPCucv26xbN_SwMhAQgAAAHYAAA YkzzZP6xEQUo-K38vGtZ5wAAAm4AAA                            YkzwId8kVWVIEzUr1enyzQAAA8UAAA
ljt_reader      816a3b232f9d6113ebe199fd                                                                        5ad9dfc72e0deb7ba37f88ad
ptrbsw                                                                                                          570a5b22-d0e5-4b4d-895b-10bd99
ptrpp           VOKn6p8JHE59
ptrstk          Hbvo5yhAT-tBWtBWeQd8sxQWv7E
ptrt            a64cfaa5-60ad-4856-9d99-4e4d7f
smaato                                                                                                          23d0b713
suid                                                                                                            0F50A5E59B014584938AC4F51D138D                                                           B2FEF07282D04193B68F5EA7EEFA88
suid_legacy                                                                                                     0F50A5E59B014584938AC4F51D138D
test_cookie     CheckForPermission                                                                              CheckForPermission                             CheckForPermission
ttd             a64cfaa5-60ad-4856-9d99-4e4d7f
tuuid                                                                                                           570a5b22-d0e5-4b4d-895b-10bd99
ug              624cf01e077bc90a3f8d7c0015a21e                  624cf01e077bc90a3f8d7c0015a21e                  624cf23904d1350a3f8d7c0017ed89                 624cf36209593e0a3f8d7c0014c287            624cf01e077bc90a3f8d7c0015a21e
ug1             624cf01e077bc90a3f8d7c0015a21e                                                                  624cf23904d1350a3f8d7c0017ed89                 624cf36209593e0a3f8d7c0014c287

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Cookie “ug1” is set by www.ugdturner.com, which appears to be part of Turner Broadcasting System, Inc., the owner of CNN.
[5] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
                                   Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 717 of 1046
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                                                                                     Appendix E.4: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                            https://www.latimes.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                       Regular Mode
 Cookie Name              (Initial Session)                                      (Session 1)                                   (Session 1)                                    (Session 2)                             (Session 2)
CMID         Ykz5ikM1Nc2ZA2cml8fixQAA                                                                           Ykz6tvu0a-B3CynAXCUx5wAA                       Ykz7TnAwoNyV3DD-2mswHgAA                  Ykz5ikM1Nc2ZA2cml8fixQAA
IDE          AHWqTUlpgYUwZZXA6uyzLnqeO-suso                     AHWqTUlpgYUwZZXA6uyzLnqeO-suso                  AHWqTUnfDOp68cgAcZeRmrrjpMioDf                 AHWqTUnhU2h2z5EiDE2bjFOqxM0HnD            AHWqTUlpgYUwZZXA6uyzLnqeO-suso
TDID         3e69b9cd-4915-49f7-a0a2-d1f66b                                                                     664508e8-946f-4466-b153-986077                 2b04b626-e866-49ad-a54b-0b40a9
__gads       ID=46e39be51c9cbcbf-22b334acf3                     ID=46e39be51c9cbcbf:T=16492117                  ID=32196c0b8623b3ab-2203f19df3                 ID=8b3a99286e550ce3:T=16492122            ID=46e39be51c9cbcbf:T=16492117
_ga          1193657418.1649211785                              1193657418.1649211785                           519042457.1649212085                           1299794117.1649212238                     1193657418.1649211785
_gid         19715939.1649211787                                19715939.1649211787                             145821108.1649212087                           1043966232.1649212238                     19715939.1649211787
permutive-id                                                    8964fad0-627b-44c8-b9c2-566b7b                  96492b17-796f-46bf-9c6f-5c7d5e                 2ff92a75-dba6-495f-b6bc-0fb8f2            8964fad0-627b-44c8-b9c2-566b7b
test_cookie  CheckForPermission                                                                                 CheckForPermission                             CheckForPermission
tuuid                                                                                                                                                          9d538feb-1eb8-4eb3-a392-2bd34f
uuid         0af0b550-a4d0-42c6-be64-5c6ddc                     0af0b550-a4d0-42c6-be64-5c6ddc                  9f668378-c557-44d8-b64d-883f64                 ae24f9ba-b63d-4551-bf3b-f5ddf5            0af0b550-a4d0-42c6-be64-5c6ddc

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                                                                     Appendix E.5: Comparison of Cookie Values Transmitted to Google Domains
                                                                                                    Chrome Version 81 Tested on Windows 10
                                                                                                        https://www.washingtonpost.com/

                                                                                                                                  Chrome
                                 Regular Mode                                  Regular Mode                               Private Browsing Mode                           Private Browsing Mode                        Regular Mode
 Cookie Name               (Initial Session)                                 (Session 1)                                      (Session 1)                                    (Session 2)                                (Session 2)
CMID          Yk0Bla7znBCyE3jSVUPWcQAA                          Yk0Bla7znBCyE3jSVUPWcQAA                        Yk0Cdz7tffL-yDRHsn4thgAA                       Yk0C-TtbNP6aj1pTpFdNUAAA
DSID          NO_DATA                                           NO_DATA                                         NO_DATA                                                                                  NO_DATA
IDE           AHWqTUlyBSbXiAIpbQ_hGEOe0kwVO-                    AHWqTUlyBSbXiAIpbQ_hGEOe0kwVO-                  AHWqTUlwR5X5HtVCF2PqsagUPj85Hj                 AHWqTUnc3EtHmv05lZmd-9BGIzWy9y            AHWqTUlyBSbXiAIpbQ_hGEOe0kwVO-
SCM                                                                                                             30c4b39f                                                                                 faf60ba4
SCMg                                                                                                            30c4b39f                                                                                 faf60ba4
TDID                                                            cd5ef0c9-f84e-44ae-bb70-a207df
__gads                                                          ID=9d636bb76ef88759:T=16492138                                                                                                           ID=9d636bb76ef88759:T=16492138
__uis         445b79fa-0a4a-4782-a07f-f72455
_ga           1860824077.1649213842                             1860824077.1649213842                           868318960.1649214069                           703999429.1649214203                      1860824077.1649213842
_ga_WRCN6
8Y2LD         1649213841                                        1649213967                                      1649214068                                     1649214202                                1649214332
_gaexp        3gY8TfBUQy645wcR55Xl0w.0                          3gY8TfBUQy645wcR55Xl0w.0                        3gY8TfBUQy645wcR55Xl0w.1                       3gY8TfBUQy645wcR55Xl0w.0                  3gY8TfBUQy645wcR55Xl0w.0
_gid          1186922451.1649213842                             1186922451.1649213842                           389324518.1649214069                           1103146517.1649214203                     1186922451.1649213842
b                                                               624D01AAF66E89FF1A1C9586BLIS
google_push                                                                                                                                                                                              AYg5qPIXzk7OqeIZAmA2RwqmB6nI6D
ljt_reader                                                                                                      74c2aff5965bbf92de6ea74a
sa-user-id-v2                                                   b1UCIObYTYpSyWThYO2MFRQWv7E                                                                    _XsLqnjrQUBFn6nzfYJDgRQWv7E
suid                                                            CB39D0D58D484997928027247D632A
test_cookie   CheckForPermission                                                                                CheckForPermission                             CheckForPermission
wp_ak_subs    0|20220331                                                                                        0|20220331
wp_ak_v_m     0|20220331                                        0|20220331                                      0|20220331                                     2|20220331                                0|20220331
wp_geo        US|VA|560||                                       US|VA|560||                                     US|VA|560||                                    US|VA|560||                               US|VA|560||
wp_usp        1---                                              1---                                            1---                                           1---                                      1---

Notes:
[1] Only the first 30 characters of a cookie value or URL parameter sent to Google-associated domains are displayed. The full value is included in file “os_full_value.xlsx” of the backup production.
[2] Bold, italicized cookie names and values denote first-party cookies.
[3] The Google-associated domain that each cookie value is sent is included in file “os_sent_domains.xlsx” of the backup production.
[4] Details on certain cookie values transmitted to Google-associated domains are noted in Appendix F.

Source:
[1] Network transmission data.
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                                           Appendix F
                        Cookies Transmission Supplementary Analysis



In my testing, I further investigated certain cases of cookie values transmitted to Google-associated
domains. A summary of my additional analysis is below.

                               Cookie Transmission Investigation

    Cookie                                            Summary
     Name
 dc_id           I observed dc_id cookie value is attempted to be set by tag.apxlv.com and
                 tag.cogocast.net, and then sent to doubleclick.net. However, the value of this
                 cookie is not stored in memory as confirmed by my test results illustrated in
                 Figures F.1-F.4. In this supplementary test, I visit https://www.cnn.com/ in Safari
                 on macOS in Regular and then Private Browsing Modes to mimic the procedure
                 of the tests in my report. I record transmissions that occur during a Private
                 Browsing Mode session. I observe a dc_id cookie value attempted to be set by
                 apxlv.com as I observed in my main testing. However, when I check browser
                 memory, I do not find this cookie being stored in memory. This confirms my
                 understanding that dc_id cookie is not stored in memory. The cookie values are
                 also different across Regular and Private Browsing Mode sessions which further
                 confirms my conclusions that cookie values are not shared between Regular and
                 Private Browsing Mode sessions
 nyt-jkidd       The nyt-jkidd cookie is a first-party cookie with a long value. I observed that a
                 part of the nyt-jkidd cookie was a substring value of “anon” matching a URL
                 parameter sent to www.google-analytics.com. Since my exhibits showed only the
                 value that was sent to Google-associated domains, I reviewed the full nyt-jkidd
                 values across Regular and Private Browsing Modes and found that the values
                 associated with the Private Browsing Mode session were different. This confirms
                 my conclusions that cookie values are not shared between Regular and Private
                 Browsing Mode sessions.


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    NID           I observed the values of third-party cookies OTZ and NID transmitted in Private
    OTZ           Browsing Mode to Google-associated domains in Firefox on Windows. I
                  understand that Firefox Private Browsing Mode blocks cross-site cookie tracking
                  but not all third-party cookies.1 Values of OTZ and NID cookies that I observe in
                  these instances are not the same across Regular and Private Browsing Mode
                  sessions. This supports my opinion that cookie values are not shared between
                  Regular and Private Browsing Mode sessions.
    TDID          I found that cookie values are transmitted in Private Browsing Mode in some
                  instances where Private Browsing Mode has third-party cookie blocking enabled
                  in default settings (e.g., Chrome on Windows). This transmission is triggered
                  because of a request to https://match.adsrvr.org/ which attempts to set the value
                  of TDID cookie on the browser but is blocked. The browser then transmits the
                  value of the cookie via a redirection to doubleclick.net without setting the third-
                  party cookie on the browser. I observed the "redirectURL" in the "response"
                  header containing the value associated with the TDID cookie which was the same
                  value as was transmitted to cm.g.doubleclick.net:


                  https://match.adsrvr.org/track/cmb/google?g_uuid=&gdpr=0&gdpr_consent=&
                  ttd_tdid=cc96810a-201c-48c3-a8c4-dfdbeb20b04d&google_error=3


                  Even though the value is transmitted to doubleclick.net and is attempted to be set
                  by https://match.adsrvr.org/, it was not set to browser memory.


                  To confirm my understanding, I visited https://www.nytimes.com/ in Chrome on
                  macOS first in Regular Mode. I then closed the Regular Mode session, opened an
                  Incognito session and visited https://www.nytimes.com/ again. I observed that




1
     Firefox private browsing mode blocks third party cookies starting from version 89, released in
     June 2021 (See e.g., Edelstein, Arthur, “Firefox 89 blocks cross-site cookie tracking by default
     in private browsing,” Mozilla Security Blog, Mozilla Corporation, June 1, 2021, available
     at https://blog.mozilla.org/security/2021/06/01/total-cookie-protection-in-private-browsing/).

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             TDID was similarly attempted to be set by https://match.adsrvr.org/ but it did not
             exist in browser memory. The results of my test are presented in Figures F.5-F.8.


             Since the TDID cookie value is different from other sessions, this underscores that
             cookie values are not shared between Regular Mode and Private Browsing Mode
             sessions.
V            I observed the value of a third-party cookie named V transmitted to
             cm.g.doubleclick.net as a URL parameter when visiting https://www.cnn.com/ in
             Private Browsing Mode (Session 2) on Windows.


             The third-party cookie value is contained in an HTTP Response header but not set
             on the browser. When the browser accesses https://www.cnn.com/, there are
             a   series   of   redirected   HTTP    requests   to   different   hosts   including
             cm.g.doubleclick.net. Therefore, this value is transmitted but not being stored to
             browser memory. To confirm my understanding, I visited https://www.cnn.com/
             in Regular Mode. Then I close a Regular Mode session, opened an Incognito Mode
             session and visited https://www.cnn.com/. As confirmed by Figures F.9-F.11, V
             cookie value is attempted to be set but not stored in memory of the browser.


             Since the V cookie values are different between Regular Mode Sessions and
             Private Browsing Session, this supports my opinion that cookie values are not
             shared between Regular Mode and Private Browsing Mode sessions.
wp_ak_subs   I observed the same cookie values in Regular and Private Browsing Modes. I
wp_ak_v_m    understand that the values of these cookies are determined by certain static settings
wp_geo       or parameters (e.g., date when I accessed the website or the area my IP address
wp_usp       was associated with). To illustrate and verify that these values were not shared
             across sessions, I investigated this further by using Developer Tools and visiting
             https://www.washingtonpost.com/. First, I accessed the site with a clean browser
             memory in Regular Mode and looked at the cookies stored in the session. I
             observed these cookies in the browser memory. I then closed the browser and
             opened an Incognito Mode session and checked whether there were any cookies

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         in memory on the browser. I did not observe any cookies stored in the Incognito
         Mode session which confirms my understanding that even though the values are
         the same across sessions, these values are not leaked between Regular and Private
         Browsing Modes. I illustrate my findings in Figures F.12 and F.13 below.




                                   Figure F.1
                             dc_id HTTP Header




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                              Figure F.2
                     dc_id HTTP Header (Enlarged)




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                              Figure F.3
                   dc_id Cookie not Stored in Memory




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                               Figure F.4
              dc_id Cookie not Stored in Memory (Enlarged)




                               Figure F.5
                     TDID HTTP Response Header




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                              Figure F.6
             TDID Cookie HTTP Response Header (Enlarged)




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                              Figure F.7
                   TDID Cookie not Stored in Memory




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                              Figure F.8
              TDID Cookie not Stored in Memory (Enlarged)




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                              Figure F.9
                    V Cookie HTTP Response Header




                             Figure F.10
               V Cookie HTTP Response Header (Enlarged)




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                              Figure F.11
                     V Cookie not Stored in Memory




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                                 Figure F.12
 Cookies Stored after Visiting https://www.washingtonpost.com/ in Regular Mode




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                                        Figure F.13
    No Cookies Stored after Visiting https://www.washingtonpost.com/ in Private Browsing
                                             Mode




s




                                           F-14
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                    EXHIBIT 77

             4/15/22 EXPERT
               REPORT OF
              JONATHAN E.
                HOCHMAN

       Redacted Version of
       Document Sought to
           be Sealed
    Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 734 of 1046

Contains Material Designated “Highly Confidential – Attorneys’ Eyes Only” by Plaintiffs


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                              §
                                              §
                                              §
CHASOM BROWN, WILLIAM BYATT,                  §
JEREMY DAVIS, CHRISTOPHER                     §
CASTILLO, and MONIQUE TRUJILLO,               §
individually and on behalf of all similarly   §
situated,                                     §
                                              §   Case No. 4:20-cv-03664-YGR-SVK
   Plaintiffs,                                §
                 v.                           §
                                              §
GOOGLE LLC,                                   §
                                              §
   Defendant.                                 §
                                              §
                                              §
                                              §
                                              §




                       EXPERT REPORT OF JONATHAN E. HOCHMAN




                                      April 15, 2022
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                    intercepted private browsing communications between users and non-
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                    collected this private browsing information without notifying websites
                    at the time of or in connection with any of the interceptions or providing
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         D.         Google Storage: Throughout the class period, Google stored private
                    browsing information in many Google data sources, sometimes
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         E.         Google Use: Throughout the class period, Google exploited private
                    browsing information to generate revenue for Google by creating
                    profiles, serving ads, tracking conversions, and in other ways that
                    benefited Google ....................................................................................................61

         F.         Google Joinability: Throughout the class period, Google collected and
                    stored private browsing information in ways that can be joined to other
                    Google user information, but Google withheld and destroyed data that
                    would be relevant to further assessing and demonstrating that joinability
                    ................................................................................................................................93

         G.         California: Google designed its systems to provide its California-based
                    employees with access to private browsing information collected


                                                                                                                                                    2
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I.     EXECUTIVE SUMMARY OF OPINIONS

1.     Pursuant to the Court’s Standing Order, this section includes an executive summary of each

opinion to be proffered.

2.     Opinion 1: As described in Section VIII.A, it is my opinion that, throughout the class

period, Google, by way of various tracking beacons, intercepted private browsing communications

between users and non-Google websites while those communications were in transit.

3.     Opinion 2: As described in Section VIII.A, it is my opinion that a major function of the

tracking beacons is to collect highly personal information about users’ browsing activities,

including users who choose a private browsing mode, such as the contents of their communications

with non-Google websites in the form of detailed URL requests, webpage and video interactions,

and more.

4.     Opinion 3: As described in Section VIII.A, it is my opinion that, throughout the class

period, the Google tracking beacons which cause private browsing communications to be

intercepted neither facilitate nor are incidental to the communications between users and non-

Google websites. The Google tracking beacons functioned (and continue to function) to listen in

and collect information from these private browsing communications.

5.     Opinion 4: As described in Section VIII.A, it is my opinion that Google could have at any

point before or during the class period, redesigned Chrome Incognito to either stop or limit

Google’s collection of private browsing information from the private communications between

users and non-Google websites.

6.     Opinion 5: As described in Section VIII.B., it is my opinion that Google, throughout the

class period, intercepted private browsing communications without notifying users or providing a

choice at the time of collection. Google could have provided such notification but did not.



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7.      Opinion 6: As described in Section VIII.C., it is my opinion that Google, throughout the

class period, intercepted private browsing communications without notifying websites or

providing a choice at the time of collection. Google could have done that but did not.

8.      Opinion 7: As described in Section VIII.D., it is my opinion that Google, throughout the

class period, has stored the private browsing information it has collected in many Google data

sources, sometimes permanently.

9.      Opinion 8: As described in Section VIII.D, it is my opinion that Google, within the Special

Master process, did not identify all logs or data sources that contain private browsing information,

omitting key logs.

10.     Opinion 9: As described in Section VIII.D, it is my opinion that Google, throughout the

class period, has not provided an option for users to review or request deletion of their private

browsing information. Google only provided such controls for activities when users are signed

into Google, while giving private browsing users no controls when they are not signed into Google.

11.     Opinion 10: As described in Section VIII.E, it is my opinion that Google, throughout the

class period, created detailed profiles tied to various Google identifiers (that remain undisclosed

to users) based on the private browsing information it collected.

12.     Opinion 11: As described in Section VIII.E, it is my opinion that Google, throughout the

class period, collected valuable data (including private browsing information collected from users’

visits to non-Google websites while signed out of any Google account) to feed and develop

Google’s machine learning algorithms, which Google in turn uses to generate advertising

revenues.




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13.     Opinion 12: As described in Section VIII.E, it is my opinion that Google’s tracking beacons

have, throughout the class period, enabled Google to serve advertisements to users visiting non-

Google websites within their private browsing sessions while not signed into any Google account.

14.     Opinion 13: As described in Section VIII.E, it is my opinion that Google, throughout the

class period, used private browsing information to serve personalized advertisements to private

browsing users, including on non-Google websites and while not signed into any Google account,

using their private browsing information.

15.     Opinion 14: As described in Section VIII.E, it is my opinion that Google, throughout the

class period, used private browsing information to measure and model conversions.

16.     Opinion 15: As described in Section VIII.E, it is my opinion that Google before and during

the class period attempted to circumvent efforts by other companies to block Google tracking

beacons (including with Firefox private browsing’s Tracking Protection and Enhanced Tracking

Protection) and to block tracking cookies (including with Apple’s Intelligent Tracking Prevention).

17.     Opinion 16: As described in Section VIII.E, it is my opinion that Google, throughout the

class period, used private browsing information collected through Google Analytics tracking

beacons for purposes of delivering advertisements, including personalized advertisements and

remarketing.

18.     Opinion 17: As described in Section VIII.E, it is my opinion that Google, throughout the

class period, included private browsing information in the data sets used to enhance Google Search

revenues and to develop and improve other Google products and algorithms.

19.     Opinion 18: As described in Section VIII.F, it is my opinion that, throughout the class

period, information tied to a user’s Google account could be linked to the same individual’s private

browsing information stored within Google logs and data sources.




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20.     Opinion 19: As described in Section VIII.F, it is my opinion that, throughout the class

period, information tied to a user’s account with non-Google websites could be linked to the same

individual’s private browsing information stored within Google logs and data sources.

21.     Opinion 20: As described in Section VIII.F, it is my opinion that Google’s deletion of

certain data (including data Google deleted after this lawsuit was filed) hinders the process of

linking (or joining) a user’s private browsing information to that user’s Google account, and in

some cases may make it impossible to do so where it would have been possible but for Google’s

deletion of the data.

22.     Opinion 21: As described in Section VIII.G, it is my opinion that, throughout the class

period, Google’s systems have provided Google’s California-based employees with access to

private browsing information that Google collected from users nationwide, with Google

employees routinely accessing that information in California.

23.     Opinion 22: As described in Section VIII.H, it is my opinion that there are several ways to

use Google’s records to identify class members. For example, for Class I, the Chrome class,

Google’s records can be used to (1) identify Incognito traffic, and (2) link that Incognito traffic to

users’ Google accounts or to users’ accounts with non-Google websites. As another example, for

both Classes, if users were to come forward and self-identify, Google’s records can be used to

verify that the individual is a Google account holder who visited a non-Google website that

contains Google tracking beacons.

24.     Opinion 23: As described in Section VIII.H, it is my opinion that Google’s

“maybe_chrome_incognito” bit reliably identifies Incognito traffic.




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25.     Opinion 24: As described in Section VIII.H, it is my opinion that Google’s deletion of

certain data throughout the class period will hinder the class identification methods I propose, and

in some cases may make it impossible to identify certain class members.

26.     Opinion 25: As described in Section VIII.H, it is my opinion that Google obstructed the

parties’ discovery efforts within the Special Master process, including by failing to identify logs

that contain private browsing information, producing incomplete log schemas that omitted key

fields, not properly formatting search queries and parameters, and delaying productions.

27.     Opinion 26: As described in Section VIII.I, it is my opinion that Google, throughout the

class period, uniformly attempted to intercept all private browsing communications with non-

Google websites that have a Google tracking beacon—regardless of which private browsing mode

the user employed.

28.     Opinion 27: As described in Section VIII.I, it is my opinion that Google’s tracking beacons

were so ubiquitous throughout the class period that there is a near certainty that almost every

person using the private browsing modes at issue (in Chrome, Safari, and Edge/IE) during the class

period had their private browsing information intercepted by Google, including while visiting non-

Google websites without being signed into any Google account.

29.     Opinion 28: As described in Section VIII.I, it is my opinion that Google does not offer

users any control to escape Google’s tracking beacons, which are almost impossible to avoid for

Internet users in the United States.

30.     Opinion 29: As described in Section VIII.J, it is my opinion that, throughout the class

period, Google’s Chrome Incognito mode functioned in ways that differed from how Google

represented to users that Chrome Incognito functions.




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31.     Opinion 30: As described in Section VIII.K, it is my opinion that Google, before or at any

point during the class period, could have changed Chrome Incognito mode to address what Google

referred to as user misconceptions, but Google did not.

32.     Opinion 31: As described in Section VIII.L, it is my opinion that Google could delete from

its systems records of Chrome Incognito browsing communications. Google could also delete from

its systems records of users’ signed-out browsing communications.

II.     INTRODUCTION

33.      In the United States, Google has for many years been the leading online advertising

platform. To support its online advertising business, Google uses tracking beacons on non-Google

websites. Those Google tracking beacons enable Google to collect information when people

browse the Internet, including information sufficient to identify users and their devices, with high

probability, and to provide Google with a copy of the content that the user has requested from non-

Google websites. Google’s tracking beacons enable Google to collect information and monitor

each user’s interaction with a non-Google website in real time.

34.     Google’s tracking beacons are ubiquitous, present on

websites, including many of the top non-Google websites and many high-traffic sensitive websites.

Examples include: CNN, The New York Times, Tinder, Grindr, Planned Parenthood, Yelp, Zillow,

Reddit, LinkedIn, Alcoholics Anonymous, eBay, National Suicide Prevention Hotline, Lyft, Uber,

Accuweather, the National Rifle Association, Kaiser Permanente, Pornhub, Weedmaps, and PBS.

I provide a list over 80 such websites in Appendix C.

35.     Google offers a product called Chrome, which is a browser that people can use to browse

online and visit websites. A feature of Google’s Chrome browser is the “private browsing” mode

that Google has named “Incognito” mode, which Google has offered continuously since 2008.




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36.     Throughout the class period, one way in which Google has benefited from its Chrome

browser has been by protecting the functionality of Google’s tracking beacons, allowing Google

to collect the data that is the lifeblood of Google’s business.

37.     Information collected with Google’s tracking beacons is beamed directly to Google while

web pages are loaded from a third-party website (i.e., a non-Google website) by the user’s

browser. Importantly, throughout the class period, Google tracking beacons sent data to Google

even when a user is in one of the private browsing modes at issue in this lawsuit (in Chrome,

Safari, Edge, and Internet Explorer).

38.     Based on my analysis of Google’s collection, storage, and use of private browsing

information during the class period, as compared to Google’s disclosures, it is not surprising to me

that Google’s employees internally expressed concerns. While Google promises privacy and

control, throughout the class period, Google in fact tracked and profiled users while they were

browsing privately on non-Google websites.

39.     For example, Google employees internally wrote that Chrome Incognito was “effectively

a lie” (GOOG-BRWN-00630517) and "has always been a misleading name” (GOOG-BRWN-

00475063 at -065) with “people operating under a false sense of privacy” (GOOG-BRWN-

00457255). Google employees described Incognito as “broken” (GOOG-BRWN-00441285), a

“confusing mess” (GOOG-CABR-03827263), and “not truly private” (GOOG-BRWN-

00406065). Google employees recognized, “If we don’t take [Incognito] on, it will fester and

perhaps metastasize, and we will feel like we were derelict in our duty” (GOOG-BRWN-

00630517). One employee even said, “I am going to get back on my old shit of yelling that we

need to stop calling it Incognito and stop using a Spy Guy icon” (GOOG-BRWN-00475063 at -

065).




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40.       Google employees said, “the blame for people’s misconceptions about Incognito mode is

due to that name and branding” (GOOG-CABR-03923580) and noted that the “misconceptions

flow directly from the framing of the feature as ‘Incognito’ (or, for other browsers, ‘Private’)”

(GOOG-CABR-04261880).

41.       In contrast to these internal discussions, Google publicly asserts that users can control their

privacy with Chrome Incognito and the other private browsing modes.

42.       I understand that Plaintiffs have alleged that their contract with Google includes the Google

Privacy Policy and the Google “Search & browse privately” webpage (GOOG-CABR-00060364)

43.       As examples of what Google has told the public, Google’s Privacy Policy states:

         “[A]cross our services, you can adjust your privacy settings to control what we collect and

          how your information is used.”

         “You can use our services in a variety of ways to manage your privacy. For example, . . .

          [y]ou can [] choose to browse the web in a private mode, like Chrome Incognito mode.”

         “Our services include . . . [p]roducts that are integrated into third-party apps and sites, like

          ads, analytics. . .” (https://policies.google.com/privacy?hl=en-US, last accessed April 11,

          2022).

44.       Similarly, Google’s Search & browse privately webpage in the Google Help Center tells

the public that “You’re in control of what information you share with Google when you search.

To        browse      the      web      privately,     you      can      use      private     browsing”

(https://support.google.com/websearch/answer/4540094?hl=en, last accessed April 11, 2022). But

as described in Section A of this report, Google’s tracking and advertising code embedded within

non-Google websites collect users’ browsing information regardless of whether they choose to use

a private browsing mode.



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45.     I also understand that Plaintiffs have alleged that their contract with Google includes the

Chrome Privacy Notice. Within the Google Chrome Privacy Notice, Google states that “Chrome

won’t store . . . Basic browsing history information like URLs, cached page text, or IP addresses

of pages linked from the websites you visit” (https://www.google.com/chrome/privacy/, last

accessed April 11, 2022). In fact, as I describe in Section A and elsewhere in this report, Google

tracking beacons use the Chrome browser to copy and send users’ browsing history to Google

servers. This process involves Chrome, for a time, storing that information. And this happens even

when a user chooses to browse in Incognito. Google continues to collect and store users’ private

browsing information even when the users browse in Incognito mode.

46.     Google documents state that “Users want to be able to browse the web without feeling as

though they are being tracked or having to sacrifice their privacy to do so”, and that “Users want

access to useful features and experiences, and they want to feel as though the privacy/value trade

off is intuitively a fair one (users want to trust that Chrome is doing the right thing by default)”

(GOOG-CABR-05248101 at -104). Meanwhile, aside from a fresh set of cookies, Google tracks

private browsing users in the same way, using tracking beacons, cookies and parameters embedded

in URLs (also called link decorations), as when users are in non-private browsing mode.

47.     Google detects when users are in Chrome Incognito mode, and Google could limit its

collection, storage, and use of private browsing information, yet Google has programmed its

tracking beacons to systematically collect private browsing information for Google and has failed

to provide users or non-Google websites an option that would permit Google to only collect non-

private browsing information.

48.     Throughout the class period, Google could have programmed Chrome to disable Google’s

tracking beacons when a user enters Incognito private browsing mode or taken other steps to




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prevent Google’s storage and use of private browsing information collected from other browsers,

but Google did not do that and still has not done this. Even after this lawsuit was filed, Google

continued to collect, store, and use private browsing information.

49.       Google, other search engines, and website publishers have together adopted the Robot

Exclusion Standard that prevents data from being harvested from websites by search engine robots,

such as Google’s Googlebot, when a publisher opts out.1 Google could have worked with other

browser vendors to create an analogous standard protocol to prevent data from being harvested

from users’ browsers (including non-Chrome browsers) by Google’s tracking beacons when a user

chooses a private browsing mode. The Robot Exclusion Protocol was established in 1994. Twenty-

eight years later, there is still no analogous standard for protecting users from unwanted data

harvesting, with Google systematically harvesting private browsing information.

50.       A specific example of Google failing to work with other browser vendors to establish

privacy standards is the universal Do Not Track (“DNT”) signal, which was first proposed in

2009.2 DNT is a proposed technical standard, analogous to the Robot Exclusion Protocol, that

would allow users to signal that they do not want their data harvested. However, despite Google’s

leading position in the Internet advertising industry and Google’s position as the leading browser

vendor, Google never adopted anything like the DNT signal for its Google tracking beacons with

private browsing. It has been over thirteen years since Google launched Chrome with Incognito

mode, and Google has had thirteen years to address the need for a technical means to provide users

with a way to control Google’s collection, storage, and use of private browsing information, and




1
    https://developers.google.com/search/blog/2019/07/rep-id (Last accessed on April 11, 2022).
2
    https://www.eff.org/issues/do-not-track, (Last accessed on April 11, 2022).



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to provide users with privacy when they chose to use a private browsing mode. As the leader in

Internet advertising, Google has failed to do so.

51.      Throughout the class period, voluminous amounts of private browsing user data

transmitted to Google by Google’s tracking beacons was received and saved by Google.

52.      Throughout the class period, Google used this private browsing information for Google’s

benefit, including to increase Google’s profits. For example, information about the content viewed

by users (including while browsing privately) allows Google to target ads more precisely in

support of higher advertising rates. By tracking user purchases with “conversion tracking”

(including while browsing privately) Google can substantiate the value of advertisers’

expenditures. Conversion tracking data also enables Google’s automated bidding algorithms that

help advertisers bid more efficiently (and spend more money with Google). In addition, Google’s

advertising revenue for certain kinds of ads depends upon collecting documentation of user

behavior, such as watching some percentage of a video ad.

III.     STATEMENT OF LIMITATIONS REGARDING THIS REPORT

53.      I prepared this report for purposes of this case only. It may not be used for any other

purpose. This report contains and refers to information designated as “CONFIDENTIAL” and

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under a Stipulated Protective

Order.

IV.      ENGAGEMENT

54.       Counsel for the Plaintiffs in this action (“Counsel”) retained me to develop and render

opinions concerning the technology and practices at issue in this litigation with respect to several

products (the “Google Products” as described in Appendix A) developed and distributed by

defendant Google, LLC (“Google”), including based on my analysis and review of documents,

testimony, data produced through the Special Master process, Google Product tests and publicly


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available code. The Google Products include those utilizing Google tracking code (e.g., Google

Analytics and conversion tracking code) and Google advertising code (e.g., Google Ad Manager

and Google AdSense advertising code).

55.     I am charging an hourly rate of $800/hour and my associate, Julie Ann Burns, is charging

an hourly rate of $200/hour. Our compensation does not depend upon the outcome of the case. In

the event of any recovery in this case, I understand that Ms. Burns and I will be excluded from any

disbursement of funds.

56.     While I have used many browsers in private browsing mode, both before and throughout

the class period while not signed into any Google account and to visit non-Google websites, and

while I am a Google Analytics and Google Ads customer and a Google Account holder, before

this engagement, I was not aware of Google’s collection, storage, and use of private browsing data.

I only became aware of that through discovery in this case.

57.     I have had full access to every document produced in this case, using a document review

platform provided by International Litigation Services (“ILS”), and also to all of the deposition

transcripts, written discovery responses, and data and information produced through the Special

Master process. I was freely allowed to conduct searches and view any document for the purpose

of preparing this report, and I spent many hours independently searching for and reviewing

documents produced in this case and reviewing the deposition transcripts, written discovery

responses, and data and information produced through the Special Master process.

58.     To the extent any other documents or data are produced or there is any further testimony,

I reserve the right to supplement this report.




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V.        EXPERTISE

59.       I have a Bachelor of Science (BSc.) degree awarded summa cum laude and Master of

Science (MSc.) degree in computer science, both from Yale University. I earned my degrees in

1990, one of four students in my class of 1500 to receive simultaneous degrees. My master’s thesis,

entitled How to Create a Failure Tolerant Distributed System, focused on distributed transaction

processing and the distributed consensus problem. My coursework at Yale included theory of

computation, distributed systems, artificial intelligence, systems programming, and operating

systems. My thesis advisor was Dr. Michael J. Fischer, a renowned computer science professor

known for his work in distributed computing. I was encouraged to attend Yale by, and then studied

with, Dr. Alan Perlis, the first recipient of the Turing Award, the “Nobel Prize of computing.”

60.       Over the last 30 years I have maintained regular correspondence and meetings with my

advisor, Dr. Fischer, which helps me to stay informed about the latest academic work in computer

science. During the fall semester of 2020 I took his course CPSC 467: Cryptography and Security

at Yale, and during the spring semester of 2021 I took his course CPSC 457: Sensitive Information

in a Connected World. The latter course placed a heavy emphasis on the ethical issues related to

the handling of other people’s data.

61.       Dr. Fischer, Dr. Daniel Boffa, and I recently authored an academic paper, Privacy-

Preserving Data Sharing for Medical Research,3 that I presented at the 23rd International

Symposium on Stabilization, Safety, and Security of Distributed Systems in November 2021. I

also presented our work at the Yale Applied Cryptography Laboratory on October 22, 2021. This

paper relates to the ethical handling of other people’s sensitive data and computer security in

general.


3
    https://cpsc.yale.edu/sites/default/files/files/TR1558.pdf



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62.     In August 2022, I will become a Doctoral Candidate at Yale University in the Computer

Science Department. My academic work will be funded by Yale University for at least the first

year of my studies.

63.     I serve as an expert consultant and expert witness in fields relevant to my expertise and

experience, such as software development, technology entrepreneurship, and Internet advertising,

marketing, e-commerce, and security. A complete copy of my curriculum vitae is attached as

Exhibit A. It includes a list of prior cases in which I have testified as an expert at trial or deposition.

As of the date of this report, I have testified in 11 trials and at 39 depositions. I have been qualified

as an expert in two United States District Courts, as well as state courts in California and

Connecticut, four arbitrations, and one court in Israel.

64.     I am the founder of Hochman Consultants, an Internet marketing agency, established in

2004. Hochman Consultants provides clients with marketing strategy, website development,

ecommerce, digital advertising, and Internet security services. Hochman Consultants also provides

advice on search engine optimization and pay-per-click advertising, making websites more user

friendly, increasing traffic, and increasing the value of each visitor. I am a member of the

Association for Computing Machinery, the world’s largest computing society, whose goal is to

advance computing as a science and a profession.

65.     I also am a co-founder of the UNS Project, an Internet security venture to build network

infrastructure services for (a) user authentication, (b) privacy preserving record linking (PPRL),

and (c) Sybil authentication, the detection of fake accounts. I recently gave a presentation about

the UNS Project at the Yale Innovation Summit in May 2019.

66.     I was a co-founder of CodeGuard, a startup information security company. In July 2018

CodeGuard was acquired by Sectigo, an information security company controlled by Francisco




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Partners, for an undisclosed price. CodeGuard had more than 250,000 paying customers as of

2018. The CodeGuard product has since been integrated into the Sectigo Web Security Platform

which is sold worldwide.

67.     From 1999–2004, I served as a Director of Barcoding Inc., a systems integrator, which

develops and provides software, mobile applications, mobile computing, automatic data collection,

and wireless networking. While I was a Director, Barcoding Inc. was named to the Inc. 500,

recognized by Forbes Magazine as one of ten privately held companies to watch, and ranked third

on the Maryland Fast 50. During my work at Barcoding Inc. I was responsible for the company’s

e-commerce platforms.

68.     I presently hold Google Ads search and display certifications. To obtain these certifications

I studied Google’s training materials and passed Google’s exam. I have held Google Ads

certifications and repeated this process when required to renew my certifications.

69.     I work for clients in diverse industries and government roles. My clients have included

major corporations and organizations, such as Apple (on two occasions), Zillow, Delta Air Lines,

U-Haul, the FDIC, and the US Treasury. I have written scores of expert reports for both plaintiffs

and defendants alike without preference for one side or the other. Many of these reports are not

reflected on my CV because many cases settle without my being called to testify.

VI.     PREPARATION

70.     I spent hundreds of hours reviewing materials produced in this case, including documents

that I selected from a database containing over 900,000 documents as well as deposition transcripts

and written discovery responses.

71.     I was actively involved in the Special Master process, through which I obtained access to

information and data concerning Google’s collection, storage, and use of private browsing

information during the class period.


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72.       I also reviewed public materials, such as Google support pages and publicly available

source code for the Google Products.

73.       I reviewed user interfaces of the Chrome, Firefox, Safari, Edge, and Internet Explorer

browsers.

74.       I conducted experiments with a web debugging and proxy tool called Fiddler Classic to

assess how the Google Products function. I also conducted experiments using browser web

developer tools.

75.       Through the Special Master process, tests have been conducted on named Plaintiff and

consultant Mr. Thompson and Dr. Dai’s devices to better understand Google’s logging and storage

systems. These tests have been conducted by the Plaintiffs as well as by consultants accessing

these devices under my direction. Due to limited travel during Covid, we have sometimes remotely

accessed these devices using a remote desktop software called TeamViewer.4

76.       I was assisted in my work by the following consulting experts, who I supervised: Dr. Lillian

Dai, Mr. Jay Bhatia, Mr. Vivek Shinde, Mr. Christopher Thompson, Mr. Jake Taylor, Concur IP

engineers, and Ms. Julie Ann Burns. I also had conversations with Mr. Michael Lasinski and

members of his team, Mr. Steven Weisbrot, and Mr. Bruce Schneier. This report was the

culmination of work performed by me or by others working under my direction and direct

supervision. All opinions rendered in this report are my own.

VII.      BACKGROUND / ASSUMPTIONS

77.       For purposes of my analysis and opinions, I assumed the following:

          1) The operative complaint is the Third Amended Complaint, which is Docket number
             395-2.

          2) The relevant period started on June 1, 2016 and is ongoing (the “class period”).

4
    https://www.teamviewer.com/en-us/ (Last accessed on April 11, 2022).



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        3) Plaintiffs assert claims on behalf of US-based Google Account holders.

        4) Plaintiffs allege two classes: the Chrome Incognito class, and the non-Chrome private
             browsing class (which I understand based on discussions with Counsel to be limited
             to Safari and Edge/Internet Explorer).

VIII. OPINIONS

        A.      Google Interception: Throughout the class period, Google intentionally
                intercepted private browsing communications between users and non-Google
                websites while those communications were in transit

78.     Based on my review of documents and testimony as well as experiments with all of the

private browsing modes at issue, on both desktop and mobile devices, it is my opinion that Google,

throughout the class period, intentionally intercepted private browsing communications between

users and non-Google websites5 while those communications were in transit and collected private

browsing information from those communications. Google intercepted private browsing

communications while users were not signed into any Google account. Google’s interceptions

were systematic and consistent throughout the class period and across class members, regardless

of the user’s type of browser and device.

79.     The Google Products throughout the class period have used certain Google tracking code

(including Google Analytics6, conversion tracking7, and other Google tracking code of a similar


5
 For the purpose of this report, “non-Google websites” (alternatively, “third-party websites”) are
websites not owned and operated by Google.
6
 In this report, I will use the term “Google Analytics” or “Analytics” to include both the free version of
Google Analytics and the premium paid version, Google Analytics 360. Google Analytics 360 offers
more tracking features among other premium services (See e.g., GOOG-BRWN-00490767 at -824, -917,
-924, -932 to -935). “Google Analytics” also includes the various generations of the Google Analytics
product line, including Classic Google Analytics, Universal Analytics, App + Web, and Google Analytics
4 (GA4).
7
  In this report, I will use the term “conversion tracking code” to refer to Google tracking code embedded
in non-Google websites for tracking user activities deemed by websites to be a conversion event (e.g.,
Analytics, Ad Words Conversion Tracking and Floodlight). Since 2017, conversion tracking code have



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nature) and advertising code8 (including Google Ad Manager, Google AdSense, and other Google

advertising code of a similar nature) to accomplish these interceptions and collections. In

Appendix A, I provide a historical overview of Google’s tracking and advertising products and

some of their main tracking and advertising code.

80.     To assess how these Google Products and their tracking and advertising code function in

connection with private browsing modes (e.g., Chrome Incognito, Safari Private Browsing, and

Microsoft Internet Explorer/Edge InPrivate), I conducted certain tests and also reviewed many of

the “Confidential” and “Highly Confidential” documents produced by Google in this case. I

conducted tests using Chrome, Safari, Microsoft Internet Explorer/Edge, and Firefox browsers on

desktop and mobile devices and evaluated the publicly available tracking and advertising code

associated with the tests. I also reviewed deposition transcripts from Google engineers and

Google’s written discovery responses regarding Google’s tracking beacons. That testimony and

Google’s discovery responses also inform and support my opinions.

81.     My opinions are further detailed in the subsections below.




been consolidated under Google’s One Google Tag (OGT) initiative (externally referred to as Global Site
Tag) as well as under Google Tag Manager (GTM) (GOOG-CABR-05305495, GOOG-CABR-
04419756).
8
 In this report, I will use the term “advertising code” to include tracking beacons from Google Ad
Manager, Google Ad Manager 360, Google AdSense, as well as the various generations of these products.
Prior to 2018, Google’s advertising system on non-Google websites (which form Google’s display
advertising network) included DoubleClick Reservation and Exchange (DRX) (also known as
DoubleClick for Publishers (DFP)), Google Display Network (GDN), Google AdSense and Google Ad
Exchange (AdX). In 2018, Google rebranded DRX with the sell-side of AdX (i.e., exchange services for
websites that sell their advertising space) as Google Ad Manager (GOOG-CABR-04819485).



                                                                                                     21
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A.1 Google designed tracking and advertising code to run on non-Google websites for

Google’s interception

82.     As confirmed by my analysis and tests in connection with this case, Google designed its

tracking and advertising code (which I refer to as “tracking beacons”9) to be loaded from non-

Google websites and then run on the user’s device, with Google using such code for Google’s

interception of the user’s communication with the non-Google website to copy and collect

information from those communications, while those communications are in transit. This was

Google’s design and functionality for the entire class period, across all class members.

83.     Google intercepts private browsing information through tracking beacons designed by

Google to intercept and collect information from communications between users and non-Google

websites, including while users are in a private browsing mode. A tracking beacon is implemented

on non-Google websites via a piece of code, such as one written in JavaScript, that is provided by

Google to be embedded on the non-Google websites. Google’s tracking beacons are embedded in

both its Publisher and its Advertiser websites, and even in websites of third parties who are neither

Advertisers nor Publishers of Google’s advertisements.10 On Publisher websites, these Google

tracking beacons track users, their browsing activities, and interactions with advertisements. On

Advertiser websites, these Google tracking beacons similarly track users, their browsing activities,




9
 The term “tracking beacon” is also used by internal Google documentations. See e.g., “Visitor visits a
website and tracking beacon is sent to GA [Google Analytics] collection” (GOOG-CABR-04141705 at -
707) and GOOG-CABR-04678169 referring to analytics and ads tracking as a “dual-beacon system.”
10
  Publishers are those websites that sell advertisement spaces on their webpages (e.g., New York Times)
and Advertisers are those websites that place advertisements on Publisher websites (e.g., Nike places a
Nike shoe advertisement on New York Times). Some Publishers are also Advertisers as they may
advertise their own products and services on other non-Google websites (e.g., New York Times may
place its subscription advertisement on accuweather.com).



                                                                                                      22
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and conversion activities11 (for example, when a user makes a purchase based on a previously

viewed or clicked ad). In addition to Publisher and Advertiser websites, Google tracking beacons

associated with Google Analytics are also embedded in non-Google websites that are independent

of the Google’s advertisement ecosystem to track user browsing activities and gain insights on

users and their behaviors.

84.     As stated in Google’s written discovery responses, “websites choosing to use Google

Analytics or Ads Manager services install Google code in their website for the purpose of

transmitting data to Google so that Google can provide the desired services” (RFA No. 2; see also

Google’s Resp. to RFA 30 (“third party websites choosing to use Google Analytics or Ads

Manager services install Google code in their website for the purpose of transmitting data to

Google so that Google can provide the desired services”). The same is true with respect to the

other Google Products, and this is how these Google Products functioned throughout the class

period. And Google has admitted that “Google designed the code provided to third party websites

for the purpose of providing these services” (RFA 30). Google tracking beacons throughout the

class period had a common functionality in terms of Google’s interception and data collection, not

limited to the Analytics and Ad Manager codes.




11
  As I will explain in more detail in Section E, a conversion is an action that an advertiser defines to be
valuable to their business. For example, an online purchase, a new sign-up, filling out a web form,
downloading an app, or even offline events such as a store visit could all be conversion events. Tracking
conversions is one of the primary ways Google demonstrates the effectiveness of its advertisement
infrastructure to advertisers.



                                                                                                          23
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85.       Throughout the class period, when a user visited a non-Google website12 such as New York

Times, a GET message would be sent from the user’s browser to the non-Google website server.

This GET message contains several pieces of information, including:

             Request URL: the URL of the requested webpage of a specific page, image, video or

              other resources (for example, here is an URL of a specific page on New York Times:

              https://www.nytimes.com/2022/01/20/business/economy/inflation-questions-

              users.html)

             IP address: the IP address of the user’s device making the request

             User-agent: a text string that identifies the user’s device platform (e.g., Windows,

              Android, etc.), browser (e.g., Chrome, Safari, IE/Edge, etc.) and browser version

             Referer13: the URL of the referring page (i.e., URL of the page on which a link is

              clicked, or the page from which a script or image is referenced)14

86.       In response to the GET request communication from the user to the non-Google website,

the non-Google website server sends back instructions and data to load the webpage in the browser

(i.e., fully rendering or displaying the page in the browser). The page load process may take

numerous steps depending on the instructions in the webpage, including additional requests sent

to the non-Google website server to obtain text, icons, images and other resources (also known as

“assets,” e.g., JavaScript files, CSS files, image files).


12
   A user visits a non-Google website by either entering the website URL in the address bar of a browser,
clicking on a link (as a search result or as a link embedded in another website), or clicking on an
advertisement, image, video, or other types of linked resources.
13
  In the HTTP protocol specification, the referrer was accidentally mis-spelled “referer” and then came
into such widespread use that it was impractical to make a correction.
https://en.wikipedia.org/wiki/HTTP_referer#Etymology (Last accessed on April 11, 2022).
14
     See https://www.w3.org/Protocols/rfc2616/rfc2616-sec14.html (Last accessed on April 11, 2022).



                                                                                                          24
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87.     To observe Google tracking beacons embedded on non-Google websites that send

intercepted private communication information to Google, I visited several non-Google websites

in Chrome Incognito mode and used the built-in Chrome Developer Tool to observe the types of

Google tracking beacons that executed on these websites. Those are tools designed to provide

developers with additional information. In my experience, those are not tools that any typical

consumer would use or understand.

88.     For example, on washingtonpost.com (identified by Google as one of the top 25 domains

with the highest website traffic in the U.S. using Google Ad Manager and Google Analytics -

Google’s Supplemental Response to Interrogatory No. 5), at least the following Google tracking

beacons are used: gtm.js, gtag, analytics.js, and gpt.js. Based on the confidential discovery

obtained through this litigation, support documents, and my own experience, I understand that

these are Google tracking beacons used by Google Tag Manager, Google’s global site tag, Google

Analytics, and Google Ad Manager.15




15
   Google Tag Manager (utilizing the gtm.js script) is a method for deploying analytics and conversion
tracking tags (also known as tracking beacons) https://developers.google.com/tag-platform/tag-
manager/web and https://support.google.com/tagmanager/answer/7582054?hl=en. GOOG-CABR-
04419756 at -757 describes gtag as a unified tagging system for implementing analytics and conversion
tracking code, GOOG-BRWN-00149515 at -515 describes analytics.js as a Google Analytics script (also
a tracking beacon), and GOOG-CABR-00059481 at -483 describes gpt.js as a Google Ad Manager
tagging library.



                                                                                                     25
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89.       As another example, on manning.com, at least the following Google tracking beacons are

used: gtm.js, analytics.js, and adsbygoogle.js. These are Google tracking beacons used by Google

Tag Manager, Google Analytics and Google AdSense.16




90.       As another example, on nike.com, at least the following Google tracking beacons are used:

gtm.js, gtag, analytics.js, and conversion_async.js. These tracking beacons are used by Google Tag

Manager, Google’s global site tag, Google Analytics. and for Google’s conversion tracking. 17




16
   GOOG-CABR-04147060 at -065 describes adsbygoogle.js as a Google AdSense tag (yet another
tracking beacon).
17
     GOOG-CABR-04077431 at -433 describes conversion_async.js as a conversion script.



                                                                                                26
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91.       I also visited websites using various browsers and a HTTP proxy tool called Fiddler Classic

to observe Google tracking beacons on Chrome and other browsers in private browsing mode (see

Appendix B for details). As an example, on accuweather.com, at least the following Google

tracking beacons are used: gpt.js, analytics.js, adsbygoogle.js, show_ads_impl_fy2019.js.18




92.       Additional examples of various Google tracking beacons are included in Appendix A and

Appendix B.

93.       In addition, I have examined several websites containing potentially sensitive content and

found Google tracking beacons embedded on these non-Google websites as well. Appendix C

includes a list of websites that I have examined, and a subset of Google tracking beacons found on



18
     GOOG-CABR-04641725 at -728 describes show_ads_impl_fy2019.js as a Google AdSense script.



                                                                                                  27
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the websites. These include websites that provide adult content (pornography), social support (e.g.,

suicide, addiction, abortion, and family planning), news/media/entertainment, social networking,

and dating, government, financial, health, shopping, and transportation services. In most cases,

more than one Google tracking beacon was found on the non-Google website.

94.       Google’s tracking beacons embedded in non-Google websites take up processing, storage,

and power/battery resources to run on user devices; thereby increasing user’s energy and device

costs.19 These Google tracking beacons also cause webpages to load slower. Out of tens to

hundreds of request and response messages sent and received to load a single webpage, it is not

uncommon for a significant portion to be intercepted messages going to Google. Depending on

the number of requests for assets and the number of tracking beacons on the webpage, a single

webpage may take many seconds to load completely.

A.2 Google intercepted (and continues to intercept) private browsing communications

between users and non-Google websites, with Google obtaining personal information from

those communications

95.       I analyzed the functionality of the private browsing modes at issue in the two classes (in

Chrome, Safari, and Edge/Internet Explorer), and it is my opinion that Google throughout the class

period has intercepted (and continues to intercept) private browsing communications between

users and non-Google websites, including with respect to the individuals who would be members

in the two alleged classes. When Google tracking beacons are run by one of the browsers at issue

on the user’s computer, these tracking beacons turn the user’s computer into tracking device.

96.       In these private browsing modes, when a user’s browser requests a webpage from a non-

Google website via a GET request, Google’s tracking beacons embedded in the web page cause


19
     See also, https://www.mdpi.com/2227-7080/8/2/18/htm (Last accessed on April 11, 2022).



                                                                                                 28
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information to be copied from that communication and sent to Google’s servers concurrently with

the user’s private communication with the non-Google website. Webpages typically have

numerous assets that are retrieved during the process of rendering the page. In terms of the

information copied and collected by Google from these private communications with third parties,

this information includes, without limitation, the URL of the specific webpage visited by the user

(including the full URL viewed by the user on the non-Google website, which would include

folders, subfolders, and precise file requested from the webserver), the user’s IP address, and the

user agent string of the user’s browser, among other information. Google used its tracking beacons

to collect this private browsing information throughout the class period.

97.     In the case of Chrome Incognito, throughout the class period, Google treated the

interception slightly differently by not sending a particular HTTP header called the X-Client-Data

header to Google.20 The lack of the X-Client-Data header indicates to Google that the user could

be engaged in Incognito browsing, as recognized by many Google employees.21 Google also

developed algorithms that combine information about the X-Client-Data header with the user agent

string to detect whether a user is in Incognito mode.22 Google’s logfiles even include a bit that




20
  See Google’s Request for Admission No. 12 (“Google further admits that [data generated by Incognito
users’ visits to websites that use Google’s Analytics and Ad Manager services] does not include the X-
Client-Data Header.”); Google’s Response to Interrogatory No. 30 (“If Chrome is used in Incognito
mode, Chrome will not send the X-Client Data Header to doubleclick.com or any other domain used by
Google Ad Manager or AdSense”).
21
  See GOOG-CABR-03667366 (noting that the “starting point” to detect use of Incognito mode “will be
the (absence of) X-Client-Data header.”)
22
  See Leung Depo. 47: 13-17 (“My role in this doc is to come up with the heuristic approximation of—I
mean, part of that is to come up with the heuristic approximation to—for identifying whether the request
may be coming from Chrome incognito); id. at 61: 19-21; 62: 2-5 (describing a “proposal” to “compute
an enum and if the maybe_Chrome_incognito bit separately than log them into relevant logs” that was
“implemented sometime after” the proposal was described in an internal Google document).



                                                                                                       29
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indicates whether the user appears to be in Incognito mode.23 Sections D, F and H of this report

and Appendices G to I include additional information.

98.     As described in Appendices A and B, when Google tracking beacons execute in private

browsing mode in Chrome, Safari, and Edge/Internet Explorer, these Google tracking beacons

operate in substantially the same manner in terms of transmitting users’ private browsing

information to Google server(s) as they do in non-private browsing mode.

99.     My analysis and experiments confirmed that Google throughout the class period collected

personal information (as detailed below) from intercepted private browsing communications using

the Google tracking beacons, including without limitation URLs, IP addresses, user agent, referer,

and other information from the user’s private browsing communications. Google did this

systematically with the private browsing modes for Chrome, Safari, and Edge/Internet Explorer,

with common code used for these Google tracking beacons across non-Google websites,

notwithstanding whether users chose to browse privately.

100.    My opinions are consistent with Google’s discovery responses and admissions. In Google’s

response to Interrogatory No. 30, Google admits that “When a user (in any browser) visits a

website that uses Google Ad Manager or AdSense, Google Ad Manager or AdSense may receive:

(1) cookies that specific Google domains previously set on the user’s browser; (2) the HTTP

request sent by the user’s browser, including the hostname, browser type, and language, and

depending on the browser used, Java support, Flash support, and screen resolution; (3) the URL

of the website making the ad request to Google Ad Manager or AdSense, and/or the referrer URL;

(4) the IP address assigned to the device on which the browser is running; (5) the request for an ad



23
 Leung Depo 175:8-19 (confirming that browser detection dashboard was likely drawing from
maybe_Chrome_incognito bit and other fields added to logs).



                                                                                                 30
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to be served on a non-Google website and the ad slot to be filled; (6) event data such as impressions

or clicks; and (7) if the user is in Chrome and a mode other than Incognito, the browser’s X-Client-

Data Header.” See also Google’s Response to RFA No. 52 (“Google admits that if a user visits a

webpage that includes at least some of the identified Google AdSense tags, those tags will cause

the user’s browser to attempt to transmit to Google the URL of the webpage that a user is currently

visiting.”).

101.    In its Answer ¶ 63, “Google admits that when a browser is used to visit a third party

publisher website that is using certain Google services, such as Google Analytics or Google Ad

Manager, then those Google services may receive information related to that specific browser

website visit. Google avers that the information that these Google services receive through this

data-flow may include: GET request (referer header and URL), IP address, HTTP headers (which

may contain information about the user’s browser or device (i.e., “user-agent”)), “User-ID” issued

by the website publisher, and Google cookies set for relevant domains.” (page 8).

102.    In response to RFA No. 6: “Google admits that, since at least June 1, 2016, depending on

(1) the particular website visited, (2) the particular Google service(s) the website uses, (3) the

website’s specific settings and selections for each of its Google services, and (4) the user settings,

browser settings, and other software settings and plug-ins, Google may receive through a service

certain data generated by a user’s interactions with the service, which data may include: IP address;

the web page the user viewed; referral URL; and search queries. Google admits that, to the extent

it receives such data, Google receives the data regardless of whether the user is in Incognito mode.”

And Google’s designated 30(b)(6) Google Analytics witness testified that the process of logging

information Google receives when the Google Analytics JavaScript executes is “agnostic” to

whether the visitor to a webpage is using a private browsing mode. See Chung Tr. 20:6-10.




                                                                                                   31
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103.   In response to Interrogatory No. 1, Google stated that “The fact alone that a user is in

private browsing mode does not change the types of data collected when Chrome users visit a

third-party website that uses Google Analytics or Ad Manager while not logged in to their Google

Accounts . . . Therefore, depending on (1) the particular website visited, (2) the particular Google

service(s) the website uses, (3) the website’s specific settings and selections for each of its Google

services, and (4) the user settings, browser settings, and other software settings and plug-ins,

Google may receive through a service certain data generated by a user’s interactions with the

service, which data may include: IP address; the web page the user viewed; referral URL; and

search queries. To the extent it receives such data, Google receives the data regardless of whether

the user is in Incognito mode.” Moreover, “the foregoing response applies when users visit

websites that use Google Analytics and Ad Manager services in non-Chrome browsers’ private

browsing modes” (Id.). Google Chrome engineer Halavati confirmed that Google stores this data

it receives when a user is in private browsing mode on Google’s servers. Based on my own

experience as a Chrome user, and as confirmed by Halavati, Google does not give users the option

to delete this data. See Halavati Tr. 88:14-89:3. According to Google’s internal documents, CEO

Sundar Pichai’s stated position is that “if you don’t want to share your data with Google, Chrome

might not be the right browser for you” (GOOG-CABR-00427432 at -447). This position

statement does not appear in any public document on the internet indexed by the Google search

engine, nor has it been reported in any news source that I can find.

104.   In addition, Google employee Brian Rakowski, the so-called “father of Incognito”

(Rakowski Tr. 19:19-20:2), testified during his deposition that Google receives an “HTTP request”

“in any situation where a request came to a Google server,” which include circumstances when the

webpage a user requests “embeds content from Google” (e.g., Analytics, Ad Manager, AdSense,




                                                                                                   32
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conversion tracking) (Rakowski Tr. 51:3-22). The request received by Google “contains . . . all the

standard browser header information, including IP address, user-agent string.” Id. 81:12-82:2. Mr.

Rakowski likewise testified that Google did not design Chrome Incognito mode “to prevent

Google from receiving any personally identifiable information.” Id. 60:8-15. He testified that

Chrome Incognito mode “was never about changing logging behavior, period.” Id. 238:14-18. Mr.

Rakowski was also not aware of any controls that allow a user to prevent all server logging by

Google while they’re browsing in Incognito mode. Id. 316:23-317:1; see also id. 46:19-25

(explaining that Google receives the IP address and user agent from users that visit Google

Analytics or Ad Manager websites within a non-Google private browsing mode).

105.   It is my opinion that an IP address, especially when combined with a user-agent string,

constitutes personally identifiable information (“PII”) because this data can be used to uniquely

identify a user with a high probability of success. “Personally identifiable information (PII) is any

data that could potentially identify a specific individual. Any information that can be used to

distinguish one person from another and can be used to deanonymize previously anonymous data

is considered PII,”24

106.   Google employees also recognized, consistent with my analysis and opinions, that the

intercepted and collected information in private browsing mode are sensitive, personal

information. Google’s internal document acknowledges that “Personal information includes data

such as IP address, cookie/device ID, PII, postal address, geo-location data etc.” per California

Consumer Privacy Act (GOOG-BRWN-00026989 at -991) and “Fingerprinting techniques rely on

collecting several unique attributes about a user’s device such as operating system, browser



24
  Google Quick Answer, referencing https://www.techtarget.com/searchsecurity/definition/personally-
identifiable-information-PII (Last accessed on April 11, 2022).



                                                                                                      33
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version, IP address, browser language, fonts installed, screen resolution and more. Combined,

those details create a unique profile of a user’s device and, by proxy, the user. Users can’t see that

this data is being collected, nor can they delete it by clearing cookies.” (GOOG-BRWN-00026989

at -992). Google engineers wrote “I believe that preventing the data collection is better for the

user” and that Google is “making privacy worse by collecting Incognito when the user has clearly

told Chrome that it wants to be private. That is the fundamental reason for trying to strengthen

Incognito and allow Google services to actually deliver on the promise of being private.” (GOOG-

CABR-00501220 at -220 and -221). Google employees also recognized that until Google made

changes that it never made (including “[r]emove IP address, user agent, and cookie IDs from

Incognito data”), Google could not claim that it “does not save personal information from your

Incognito session” (GOOG-CABR-00421851 at -851 and -852).

107.    Google has also received other personally identifying information and identifiers from

private browsing communications with non-Google websites that can be used to identify users.

These include various information about users (email, name, phone number, home address, etc.

obtained, for example, from forms users fill in on non-Google websites25) as well as User IDs

(“UIDs”) used to track individual users logged into non-Google websites and Publisher Provided

IDs (“PPIDs”) used to track individual users logged into websites that use Google Ad Manager




25
   GOOG-CABR-05405676 at -691 and -692: Enhanced conversion “works for Web Conversions in
Google Ads. EC relies on hashed customer data for matching, attributing and measuring conversions …
For the best match results, please consider sending email address in addition to other fields: Email address
(recommended), Phone number, Name & Home Address (which is a combination of the below, all must
be included – First name, Last name, Street, City, Region, Postal code, Country” and GOOG-BRWN-
00549861 at -862: “Enhanced UID enables the use of a User-ID as a SHA256 hashed version of email
address, phone number, or mailing address.”



                                                                                                         34
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360. 26 In addition, Google receives a myriad of fingerprinting information, including details

regarding the user’s screen resolution, screen color depth, time zone, language, and Internet

connection bandwidth/speed.27 Google collects this information not only from regular browsing

but also when users are privately browsing non-Google websites without being signed-in to any

Google services. This detailed information obtained by Google from users’ private browsing

activities allows Google, or somebody who comes to possess Google’s data, to know precisely

what a person was viewing within a private browsing session.

108.     Another important set of information received by Google through these interceptions and

throughout the class period is web cookies, which are pieces of “text stored by a user’s web

browser”28 containing identifying information and used by Google for tracking and advertising

purposes. Google uses the “uniquely generated ID that is stored in a web cookie in browsers to

identify a user” (GOOG-BRWN-00844093 at -095). I would give a more precise definition of web

cookie than the one Google quoted. A web cookie is a small file sent by a web server or set by a


26
  User IDs include, but are not limited to, PPID, Analytics User ID and Google Ads User ID (also known
as CRM-ID). See e.g., GOOG-CABR-04772394 at -394: “(PPID) has existed in the Ad Manager product
for a number of years (go/xfpppid from 2012)”; GOOG-CABR-05136994 at -996: “PPID/CRM_ID-based
cross device effort is to leverage the login information from 3rd party publishers. 3rd party publishers gain
access to user login on their sites and can send requests to doubleclick.net in the form of ad request
(A.K.A. PPID) or remarketing request (A.K.A. CRM ID) with the user’s login information appended.
Subsequently, our network has simultaneous access to both the 3rd party login and the biscotti id and thus
can use 3rd party login as the bridge to connect biscotti ids from different devices, apps and browsers.”;
GOOG-CABR-05673102 at -103: “User ID was called CRM-ID before” and at -104: “When a user visits
the advertiser’s website, a smart pixel ping is fired to google, user id, account_id and biscotti cookies are
sent to EventFE [Event Front End]”; GOOG-CABR-04691939 at -939: “If clients can identify the user
(via user ID), they’ll be able to use Universal Analytics with User ID track that person as a unique user
instead of a unique visitor which was previously linked to a browser/device”; and GOOG-BRWN-
00711561 at -561: “Enabling the User-ID feature lets Analytics present a cross-platform, cross-device
view of your users’ behavior…analytics creates a single user journey from all the data that is associated
with the same user ID.”
27
     See e.g., GOOG-CABR-05454633, GOOG-CABR-04410117, and GOOG-BRWN-00033024.
28
     GOOG-BRWN-00562313 at -316



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tracking beacon and saved by a browser, containing identifying data that can subsequently be sent

back to the same domain that sent or set the cookie. In effect, cookies allow websites and entities

such as Google to store data on the user’s computer that helps to identify the user or know

something about the user during a sequence of interactions. Web cookies can be valid for a short

period of time (a session cookie) or can be persistent for longer periods of time, such as 365 days.

Many websites rely on cookies to provide continuity during a web experience. For instance,

cookies enable websites to remember that a user has logged in, or to keep track of items in a user’s

shopping cart. Without cookies, some of the existing web features would not function.

109.      Cookies may be sent to a user’s browser from Google servers while users are visiting non-

Google websites that contain Google’s tracking beacons. When the user visits non-Google

websites, Google cookies (or the identifiers contained within the cookies) may be sent back to

Google along with information from the intercepted communication. Google uses more than

different types of cookies across its Analytics and advertising products to track and identify users’

browsing activities across the Internet,29 including when users are visiting non-Google websites in

private browsing modes without being signed into any Google account. I discuss some of these

cookies in Appendix D, along with a description of the impact of browsers enabling cookie

blocking.

A.3 Google designed its tracking beacons to collect information by intercepting

communications while they were in transit

110.      Google designed its tracking beacons to collect information by intercepting

communications while they were in transit. When a webpage is in the process of loading, the

browser retrieves multiple assets from the web server. During this process, Google tracking


29
     A subset of the cookies Google uses are listed at GOOG-CABR-05435664.



                                                                                                  36
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beacons are loaded and used by Google to intercept communications between users and non-

Google websites to obtain information that is contemporaneously copied from the initial GET

message and sent to Google servers. This occurred continuously throughout the class period.

111.    Google instructs non-Google websites to install Google’s tracking beacons on their

webpages to be executed during the page load process for this purpose, so that while the

communication between the user and the non-Google website (the requests to and responses from

the website consisting of all the data required for the user’s browser to assemble the requested web

page) are in transit, Google can intercept the communication contemporaneously. Google requires

its tracking beacons to be installed “immediately after the <head> tag on every page of [their]

website.”30 Putting tracking beacons in the “head” section that comes first in a webpage (rather

than in the “body” section which comes after the “head” section) ensures that the Google tracking

beacons start to be executed right away, while the initial user communication is in transit and

before a web page loads completely, even if a user starts to navigate away from the page before

the page fully loads. Furthermore, putting the Google tracking beacons on every page of a website

ensures that users are tracked at every step along the way as they browse a website as soon as they

try to load a webpage.

112.    In its Answer, “Google admits that . . . [the] Google Analytics scripts . . . provide services

as soon as a page is loading.” Google’s Answer ¶ 74. Google also admits that, “if a user visits a

website publisher that uses Google Ad Manager services and includes specific Ad Manager scripts

in their website’s code, . . . a resource request can be initiated to a Google Ad Manager domain


30
  https://developers.google.com/analytics/devguides/collection/gtagjs,
https://developers.google.com/publisher-tag/guides/get-started

https://developers.google.com/publisher-tag/guides/general-best-practices,
https://support.google.com/adsense/answer/9274516?hl=en (Last accessed on April 11, 2022).



                                                                                                   37
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before the content for the webpage has fully loaded.” Google Answer ¶ 80. Similarly, Google

admits that its tracking beacons are “retrieved and executed by the browser as part of rendering

the publisher’s website” (RFA No. 31). “The browser retrieves the embedded code and executes

it as part of rendering the website. When executed, this code instructs the user’s browser to request

content directly from the third-party servers. In making these requests, a copy of the GET request

along with certain basic information necessary to provide the service (e.g., IP address, user-agent

field, referral URL, applicable cookies, and other information) may be included to facilitate

processing the request and providing the requested content. When received, the browser

incorporates the requested content into place as necessary to present a seamless webpage.”

(Google’s Response to Interrogatory 40).

A.4 Google's tracking beacons neither facilitate nor are they incidental to communications

between users and non-Google websites

113.   Moreover, Google’s tracking beacons do not facilitate the transmission of communications

between the user’s browser and the non-Google websites. The communications flow back and

forth between the user’s browser and the non-Google website’s server irrespective of the Google

tracking beacons. Similarly, Google’s tracking beacons are not incidental to the user’s

communications with non-Google websites’ servers (i.e., users can communicate with non-Google

websites irrespective of the tracking beacons, including if non-Google websites serve

advertisements to users, possibly through advertising technology vendors). In fact, without

Google’s tracking beacons, webpages will load faster and consume less battery energy and

bandwidth on the user’s device and network. Google tracking beacons harm Plaintiffs and class

members by occupying bandwidth on their devices, slowing the performance of the devices, and




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cause the devices to consume more power, which is especially significant on battery-powered

devices.31

114.   My position regarding how these Google tracking beacons do not facilitate and are not

incidental to the communications is consistent with the fact that Firefox Private Browsing mode

has, since 2015 and by default, blocked Google tracking beacons from causing information to be

sent from the user’s browser to Google analytics and advertising servers, yet the browser can still

communicate with and access webpages.

115.   For example, the screenshot below is from Firefox private browsing mode with the bottom

half of the screen showing the Firefox Developer Tool. As can be observed, the New York Times

page loaded just fine while Firefox blocked the Google tracking beacons attempting to send

information to doubleclick.net. In addition, Google Analytics and Google Ad Manager tracking

beacons were prevented from operating. Thus, I did not observe any Google ads on the New York

Times page when browsing in Firefox private browsing mode.




31
  For example, https://blog.mozilla.org/en/products/firefox/firefox-private-browsing-vs-chrome-
incognito/ (Last accessed on April 11, 2022) shows Firefox’s private browsing with Tracking Protection
blocking tracking beacons loads webpages 2.4 times faster than Chrome Incognito mode.



                                                                                                     39
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Firefox shows that Google tracking beacons are prevented from sending data to several Google

domains as I have underlined in red below.




                                                                                         40
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116.   In contrast, Chrome Incognito does not block Google tracking beacons. Thus, the very first

thing a user sees when visiting New York Times in Chrome Incognito mode is Google ads right at

the top of the page as shown in the screenshot below.




A.5 This functionality was not an accident; Google designed its tracking and advertising code

this way

117.   Google designed its tracking beacons to intercept communications, even while users were

in private browsing modes. This was not an accident, as this was how Google designed this to

work. See Berntson 30(b)(6) June Tr. 282:11-15 (“Incognito mode was designed so that no system

like ads or Google Analytics can know whether or not you’re in incognito mode . . .”). Similarly,

Brian Rakowski testified that “just like [Incognito mode] doesn't control server logging for any

site, it doesn’t control server logging for Google” (Rakowski Tr. 141:14-18).




                                                                                              41
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118.    Google also designed this process to work such that Google does not offer websites one set

of tracking beacons with restricted functions for private browsing mode and another set of tracking

beacons for non-private browsing mode. Instead, throughout the class period, Google offered

websites just a single set of tracking beacons that perform the same functions whether the user is

in private browsing or non-private browsing.32

119.    Google has admitted in this case that “Google code provided to third party websites for the

purpose of providing these services is not designed to differentiate between private

browsing/Incognito modes and other browsing modes.”33

A.6 Google could have designed its products differently

120.    Google as a technical matter could have at any point before or during the class period

redesigned its various products – including Chrome Incognito – to either stop or limit the

information collected by Google by way of Google’s tracking beacons embedded within non-

Google websites while users were using private browsing modes. The following discusses changes

to Chrome Incognito mode first and then changes that would impact Google’s collection of private

browsing information across the different private browsing modes.

121.    Google could have at any point redesigned Chrome Incognito to prevent the Chrome

browser from sending information to Google when a user visits a website that uses Google

services, such as Google Analytics or Google Ad Manager. See Google response to Interrogatory



32
  See e.g., Ganem Depo 40:15-24 (testifying that, as Google Analytics product manager, he was not
aware of any information Google provided to its customers that would have allowed them to configure
tags on their sites to only sent hits to Google when a visitor is not in private browsing mode).
33
  RFA No. 2; see also Resp. to Interrogatory 1 (“The fact alone that a user is in private browsing mode
does not change the types of data collected when Chrome users visit a non-Google website that uses
Google Analytics or Ad Manager while not logged in to their Google Accounts . . .”); Google’s Answer,
Dkt. 387 ¶ 5 (“Google admits that scripts for Google services that third party publishers choose to include
in their websites’ code are not designed to differentiate between browser modes.”).



                                                                                                        42
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29 (“Google has not contended in this case that it is impossible to redesign Chrome Incognito to

prevent the Chrome browser from sending information to Google when a user visits a website that

uses Google services, such as Google Analytics or Google Ad Manager.”).

122.    Indeed, since 2015, the private browsing mode for Mozilla’s Firefox browser attempts to

block ads and analytics tracking beacons by default, including Google tracking beacons. This

“Tracking Protection” feature blocks tracking beacons such that Google cannot serve

advertisements to Firefox private browsing users who visit non-Google websites with embedded

Google tracking beacons.34 Firefox private browsing also attempts to block Google Analytics and

conversion tracking beacons. See, e.g., GOOG-BRWN-00027314 at -314 (internal Google

document describing how Google conversion tracking beacons “are all blocked by [Firefox]

Private Browsing mode”). Firefox later rolled out Enhanced Tracking Protection (ETP), which

includes blocking tracking content in private browsing mode along with third-party cookie

blocking and other features.35

123.    Firefox is an open-source project. Therefore, Google could simply download the Firefox

code base and adopt whatever method Firefox has successfully deployed to block tracking beacons

in private browsing mode. Instead, both before and throughout the class period, Google chose to

allow Chrome Incognito users’ private browsing data to be intercepted by Google tracking beacons

on non-Google websites. Google at various times considered changes to Chrome Incognito (e.g.,

GOOG-CABR-04511160 at -160 (discussing proposal for Incognito that would “block[] all 3P

trackers AND more”)), but Google did not implement those changes.


34
  https://blog.mozilla.org/en/products/firefox/firefox-gives-you-more-control-over-your-data-in-private-
browsing/ (Last accessed on April 11, 2022).
35
 https://support.mozilla.org/en-US/kb/enhanced-tracking-protection-firefox-desktop (Last accessed on
April 11, 2022).



                                                                                                       43
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124.    Based on my analysis, there were many viable changes to Chrome Incognito mode that

Google could have made before the class period – including many changes that Google employees

actually proposed but that were never implemented. Those technical changes to Chrome Incognito

mode would have limited Google’s collection and storage of Incognito browsing information.

125.    As one example, while Google finally began blocking third-party cookies by default within

Incognito mode in May 2020 (project                         , see Appendix D), Google could have as a

technical matter implemented this change far earlier. Former Google engineer Justin Schuh

admitted that Google could have as a technical matter blocked third-party cookies by default within

Incognito mode when Chrome launched in 2008 (Schuh January 6, 2022 Tr. 148:10-20 (“So when

you ask me if Google could technically block third-party cookies on – at any point in the history

– like, could Chrome had launched without third-party cookies, the answer is technically, yes.”).

Google employees considered implementing third-party cookie blocking by default far earlier than

2020, but Google ultimately waited until 2020, long after other browsers had already done so.36

126.    Numerous Google employees within the Chrome group also considered a proposal for

Chrome Incognito whereby “Server-side logs will be initially anonymized and then removed at the

end of the Incognito session when the user enables this feature.” GOOG-BRWN-00164056 at -

057. This proposal “was the consensus opinion of our Chrome privacy team in general” and yet

Google never implemented it (Kleber March 18, 2022 Tr. 19:6-7-21:6; see also Mardini November


36
  See also GOOG-BRWN-00410076 at -076 (internal Google email from 2008 noting: The most
compatible behavior here is to match Safari exactly. Safari has third party cookie blocking on by default
(albeit with a different policy than ours). If I were to optimize for compatibility, I would recommend
enabling third-party cookie blocking by default and matching Safari’s behavior exactly. I realize that
there are other reasons why we’re not doing this (pressure from the ads team, for example), but it seems
eminently reasonable to allow users to opt in to matching Safari’s cookie behavior.”); GOOG-BRWN-
00397243 at -244 (August 2016 email from Just Schuh stating that “I realize that this is subject is fraught
with peril, but maybe it's time to take another crack at a phasing third-party cookie blocking into Chrome
by default?”).



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24, 2021 Tr. 383:21-384:1 (admitting that Chrome “should work on a plan to send [a] signal to

Google to delete logs” generated while users are browsing in Incognito mode)).

127.      In another example, Google could have the browser set a header in Incognito mode that

Google could check to see whether its tracking beacons should run, and if any data transmitted by

tracking beacons should be stored. See Palmer Tr. 105:8-16 (confirming that the “client-side

software can send or not send certain pieces of information, including a do not track header” so it

would be “technically possible” for Chrome Incognito to add a Do Not Track Header).

128.      Google employees also considered but never implemented an

which would “introduce anti-tracking features—including invasive anti-fingerprinting measures”

(GOOG-CABR-05269357.R at -79); see also id. at -91 (defining “tracking” as “third-parties

following a user’s browsing behavior”).37 Google employee Michael Kleber explained that




                                                                      (Kleber March 18, 2022 Tr.

23:16-24:11). “[E]verybody involved in the discussion was in favor of figuring out ways in which

we could provide this sort of protection” and yet Google never implemented that

             (id. 27:21-25).

129.       Google also considered but never implemented a proposal to

                                                                       (GOOG-BRWN-00650016

at -16). The goal of this proposal was



37
     Google relatedly considered but never implemented an         that would
                                                                (GOOG-BRWN-00155943 at -943).



                                                                                                45
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(Kleber March 18, 2022 Tr. 43:20-44:4, 47:2-11). Internal Google documents also describe how

adopting this proposal would mean that

                                                           (GOOG-BRWN-00650016 at -016). Mr.

Kleber also explained that “I think everybody [within Chrome] is in favor of IP privacy” (Kleber

March 18, 2022 Tr. 51:8-10). But unlike Safari, which has already implemented an “IP blinding

system,” Chrome has not yet introduced such protections (id. 54:4-15).

130.      Google has also considered but never implemented a different kind of Incognito that would

not allow what Google refers to as “session-based” tracking. Instead of multiple Incognito

windows . . . “hav[ing] [a] shared state, in that what happens in one of them might influence what

happens in another one later,” “two different Incognito windows inside the same browser [would]

behave[] independently of each other and more like Incognito windows in two different unrelated

Chrome browsers” (Kleber March 18, 2022 Tr. 56:17-58:6; GOOG-BRWN-00555073 at -084).

With Safari’s private browsing mode, “browsing initiated in one tab is isolated from browsing

initiated in other tabs, so websites can’t track browsing across multiple sessions.”38 It is my opinion

that Google could revise Chrome Incognito to function in the same way, and Google employees

have considered such a change. But Google has not implemented this change.

131.      Furthermore, Google could have before or during the class period built a toggle on the

Incognito screen (sometimes referred to by Google employees as the New Tab Page or NTP)

giving users “the option to opt in to signal Google and only Google of their Incognito browsing

sessions, so that on the Google web services, the web server could be aware of that . . . session

being an Incognito one and, therefore, could treat that session’s data differently, either through not


38
     https://www.apple.com/safari/docs/Safari_White_Paper_Nov_2019.pdf



                                                                                                    46
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capturing it in the first place or limiting it to lifespan” (McClelland Tr. 87:14-89:6).39 Google had

even built a browser meter for selected users called Panelists. This browser meter was able to

recognize Incognito mode and prevent data collection in Incognito mode.40 But Google never

implemented this approach to Incognito more generally.

132.    Google could have also made changes to its tracking beacons with respect to how those

tracking beacons would operate on other private browsing modes. For example, Google could have

respected a Do Not Track protocol (“DNT”) analogous to the Robot Exclusion Protocol. Chrome

is and has been since at least 2016 the leading browser by market share,41 which places Google in

a position of industry leadership. But Google instead chose not to honor such a signal because it

would hurt Google’s revenues (McClelland Tr. 126:14-127:21, 131:12-132:13). Additionally, a

Google tracking beacon using JavaScript could place a message on the user’s screen within the

browser window to request permission for collecting and sending data to Google.

133.    Finally, Google could have described its interception and collection of user data on non-

Google websites while the user is in private browsing mode. Google employees recognized this

option, including with a proposal to design an icon that makes clear “You are not protected from




39
   Google’s internal documents suggest that the Chrome team went so far as to consider implementing
such a change. See e.g., Halavati Depo. 98: 9-16 (“I worked on the possibility of telling Google that user
is in more private browsing mode. . . We had a very long discussion about it, more than a year”); see also
id. at 102 11-14 (“So assuming that Google services log things when users is in Incognito because they
don’t know user is in Incognito, if we had told Google that user is in Incognito, they could be more
protective about it.”).
40
  “Browser meter is an extension installed on a browser. It collects browsing activities and cookies from
the browser after panelist signing into the meter. It does not collect data in incognito mode or in “guest
mode” (used by a guest who is not a panelist).” (GOOG-CABR-04073287 at -291)
41
  https://gs.statcounter.com/browser-market-share/all/united-states-of-america#monthly-201601-202202
(Last accessed on April 11, 2022).



                                                                                                         47
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Google.” (GOOG-BRWN-00048773); see also infra, Section K, for more examples of how Google

could have described its interception and collection of private browsing information.

        B.      User Notification & Choice: Throughout class period, Google collected this
                private browsing information without notifying users or offering a choice at
                the time of or in connection with any of the interceptions

134.    When visiting a non-Google website containing Google tracking beacons in a private

browsing mode, users are not notified of the Google tracking beacons or Google’s collection of

private browsing information or given a choice regarding that collection. I visited each of the top

25 websites42 identified by Google for Google Analytics and for Google Ad Manager as well as

other websites outlined in Appendix C in private browsing modes, including Chrome Incognito,

and none of those websites had any such pop-up notification – or any process by which users

would be informed that Google would collect and exploit their private browsing information or

any option to prevent such collection. Google’s internal documentation, when discussing that

Google wants to say “You have full control over the data Google collects about you. You may

dictate how Google can use that information about you, and at any time can stop Google from

collecting that data about you”, acknowledges that “From a Product perspective…We would not

be able to say this because we will collect AdID, IP address, browser headers, searches etc

regardless of setting (both signed in and signed out). We *Collect* this data regardless of the user

settings” (GOOG-BRWN-00466617 at -637).

135.    Based on my analysis, Google has systematically failed to provide users in the United

States with any such notification of Google’s interception, collection and use of private browsing

information when they visit non-Google websites, and that has been consistent throughout the class


42
  Google, in its SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5, has identified
howto.gov as one of the 25 top-level domains registered in U.S. time zones with the highest traffic for
Google Analytics. However, this domain does not appear to exist on the Internet.



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period, across class members, and across all websites containing these Google tracking beacons.

These Google tracking beacons do not announce themselves to the user or allow the user to choose

whether to send the user’s private browsing data to Google, and then to be exploited by Google.

Google could have included either a pop-up notification or a choice to users at the time collection,

but it did not. The developer tools (such as the Chrome Dev Tools) that I used to conduct my

analysis are not designed for use by typical Internet users, and they in any case do not provide

information regarding exactly what private browsing information is collected by Google, what

private browsing information is stored by Google, and/or how that private browsing information

is exploited by Google. Google does not enable users to turn off its data vacuum in private

browsing modes such as Chrome Incognito.

       C.      Website Notification & Choice: Throughout class period, Google collected
               this private browsing information without notifying websites at the time of or
               in connection with any of the interceptions or providing websites with a
               choice

136.   Google does not provide non-Google websites with Google tracking beacons any option to

turn off interception and collection in private browsing mode on any browser, including the

Chrome browser, including prior to the interception. I am a Google Analytics and Google Ads

customer, and Google has not provided me with an option to ensure that its tracking and advertising

code would avoid collecting data from private browsing sessions.

137.   While Google sends itself Incognito usage signals when users browse in Incognito mode

(see Section H and Appendix G), Google prevents any other website from being able to distinguish

Incognito and regular Chrome browsing communications. Google provides tracking beacons to

non-Google websites on a take it or leave it, all or nothing basis with regard to Google’s collection




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of private browsing information, while telling websites that Google respects privacy.43 Google

does not enable non-Google website operators to selectively turn off Google’s data vacuum for

users in private browsing modes such as Chrome Incognito, and that has been Google’s practice

continuously throughout the class period and across websites.

        D.      Google Storage: Throughout the class period, Google stored private
                browsing information in many Google data sources, sometimes permanently

138.    Based on my analysis in this case, including in connection with the data-focused discovery

and productions by Google both through the Special Master process and otherwise, I conclude that

Google stores private browsing information collected from users’ private browsing activities, and

that Google has done this systematically throughout the class period and across the classes when

users are visiting non-Google websites. Google stores private browsing information in many

Google data sources (including Google logs), sometimes permanently. The following provides

additional information regarding this Google storage.

139.    Google’s internal document acknowledges that “Display ads and its protos store a wealth

of information about users (visiting advertiser or publisher web page urls). This can be explicit i.e.

can be in the form of cookies (biscotti/zwieback/gaia etc), hardware (android log id) or software

id (user agent), location, ip addresses etc.” (GOOG-CABR-04141174). Browsing in private

browsing mode does not prevent Google from logging intercepted and collected private browsing

information. As Google’s own documents state, “Incognito also does not prevent server-side




43
  See https://policies.google.com/technologies/partner-sites?hl=en-US (“Google uses the information
shared by sites and apps to deliver our services, maintain and improve them, develop new services,
measure the effectiveness of advertising, protect against fraud and abuse, and personalize content and ads
you see on Google and on our partners’ sites and apps. See our Privacy Policy to learn more about how
we process data for each of these purposes and our Advertising page for more about Google ads, how
your information is used in the context of advertising, and how long Google stores this information.”
(emphasis added)).



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logging” (GOOG-CABR-05149122 at 124); see also GOOG-BRWN-00153850.C. at -856 (“‘Just

for you sounds like Google doesn’t log your activity in Incognito – but we do.”); Google’s

Response to Request for Admission 43 (“Google stores the data at issue in this case in Analytics

and Ad Manager protocol buffer logs . . .”).

D.1 With the Special Master process, Google identified some but not all sources that include

private browsing information

140.   Through the confidential discovery in this case, I was able to investigate and understand

the processes by which Google collects, stores, and uses private browsing information. This

discovery process was in part supervised by a Special Master, who assisted with those efforts in

terms of identifying and producing information regarding Google’s logging of information,

including private browsing information. I was directly involved in these efforts, including by

evaluating the information and data produced by Google. Those efforts were a core part of my

analysis in terms of developing opinions regarding Google’s collection, storage, and use of the

private browsing information at issue in this lawsuit, for the class and across the class period.

141.   Throughout the class period, Google collected the intercepted private communication

information and stored them in various Google data sources, including many Google logs. On

September 17, 2021, pursuant to a Court order, Google identified        logs as “potentially relevant

sources of ESI [Electronically Stored Information],” including a short description for these

sources. On September 24, 2021, again pursuant to Court order, Google provided a list of schema

/ fields for some of those   data sources (limiting the fields to the top 100 fields for certain logs).

On November 22, 2021, Google identified         additional data sources and provided lists of schema

/ fields for some additional data sources within the initial   provided on September 24, 2021.




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142.     Subsequently, through discovery, Plaintiffs identified additional data sources not included

in the       data sources identified by Google. This included a Google data source named

                      , which Google engineers used to perform log-level Incognito detection of

Chrome traffic, right around the same time that this lawsuit was filed (GOOG-CABR-05280756);

see also Google’s Supplemental Response to Interrogatory No. 34 (identifying this log as one of

the logs studied for Google’s Incognito-detection analysis). Google provided the top 100 fields for

                       on December 16, 2021. Belatedly, on March 17, 2022, Google identified for

the first time      other logs that Google engineers considered in their log-level based Incognito

detection study (Google’s Supplemental Response to Interrogatory No. 34). These Google logs

had not previously been identified to the Special Master.

143.     Two weeks before discovery closed, in response to requests from Plaintiffs for Google to

produce Google engineer Bert Leung’s documents, Google produced documents indicating that

Google is actively logging an Incognito detection field called “maybe_chrome_incognito” in

certain Google ads logs.44

144.     On or about March 11, 2021, Google employees drafted a logging proto to implement this

“maybe_chrome_incognito” field (Stipulation Regarding Google’s ‘Maybe_Chrome_Incognito’

Field). Google began logging this field in nineteen specific Google logs by July 4, 2021 (Id.)

145.     This “maybe_chrome_incognito” field contains two values: TRUE and FALSE. It is

FALSE when an event was determined by Google to be not “maybe_chrome_incognito” and

TRUE when an event was determined by Google to be “maybe_chrome_incognito” (Liu Tr. 20:6-

8). Through logging this field, Google has since July 2021 been tracking user browsing activities



44
  GOOG-BRWN-00845312 at -318: “Bert Leung, 2021-09-13 14:58:47: are we already logging maybe-
chrome-incognito in search already? Mandy Liu, 2021-09-13 14:58:54: yes”



                                                                                                 52
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in Chrome Incognito mode, designating those activities as “maybe_chrome_incognito” for

Google’s own internal purposes - but without any efforts by Google to use that field to stop

Google’s collection, logging, and use of any private browsing information.

146.      On March 1, 2022, in response to requests from Plaintiffs, Google provided the names of

the             Google log sources containing the “maybe_chrome_incognito” field.45 Only             of

these log sources                                   and                                       had been

previously identified by Google, with the other                 Google log sources having been omitted

from Google’s prior disclosures. And for the              logs that were identified, Google omitted the

“maybe_chrome_incognito” field from the schema that was produced to the Special Master and

Plaintiffs.46

147.      With my involvement in this Special Master process, Plaintiffs would have identified these

       log sources as important logs to search for Plaintiffs’ data months earlier had Google produced

full schema for these logs, but Google instead produced just the (purportedly) largest 100 fields –

leaving out the “maybe_chrome_incognito” field. Google could have produced more fields for

these        logs, as Google did for other logs (e.g.       fields for                        fields for
                                                7
                  , and     fields for DBL          ). Even if somehow the top 100 fields were easier to

provide, Google could have at a minimum added the “maybe_chrome_incognito” field in the

schema, given its significance, but Google did not. Thus, for months we were led down different

paths, searching other logs while Google kept hidden this “maybe_chrome_incognito” field.




45
     2022-03-01 Brown v. Google - Google Letter re                       Monitoring Dashboard.pdf
46
     Brown - 3.8-3.9 Field Names
47
     2021-11-18 Brown Omnibus Sheet.xlsx and 2021-12-06 Brown - Special Master Submission.xlsx



                                                                                                     53
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148.    On March 4, 2022, when asked to produce the schema for the                log sources containing

the “maybe_chrome_incognito” field, Google continued to produce just the purportedly largest

100 fields for these log sources, leaving out the “maybe_chrome_incognito” field in all but one of

the    logs.

149.    On March 11, 2022, for each of the           logs containing the “maybe_chrome_incognito”

field as well as    ads logs and one Analytics log, Google produced additional schema / fields

pursuant to an order by the Special Master. This time, the schema produced showed the presence

of the “maybe_chrome_incognito” field in          of the    logs.48 In addition, this production revealed

the presence of an “is_chrome_non_incognito_mode” field in                     of the logs that Google

engineers used for their log-based Incognito detection study. See Google’s Supplemental Response

to Interrogatory No. 34. This additional Incognito detection field was omitted from the prior

schema production for these         logs.

150.    The logs containing “maybe_chrome_incognito” were not the only logs that Google failed

to identify. Google logs such as the Chrome Sync logs and                            logs containing an

“is_chrome_non_incognito_mode” field were also omitted by Google. I first learned about this

field in Chrome Sync logs in connection with a Special Master live demo session on March 4,

2022, attended by two of the consultants I worked with in connection with this report (Dr. Dai and

Mr. Thompson). I understand that Google still has not identified all logs containing this field.

Based on my review of the documents produced by Google, it remains unclear how Google assigns

a value to this field and how it is used by Google. The only reference to the existence of this field

I found in Google’s productions is in             logs (GOOG-BRWN-00176433), which is a Google



48
  Because the schema / fields were generated through data searching using just three identifiers, the
schema thus generated is not a full set of schema contained in each log.



                                                                                                        54
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                                                              (GOOG-BRWN-00536949). Google also

produced User Metrics Analysis (“UMA”) data containing this field in January 2022, but Google

has not yet provided any explanation as to how this field relates to UMA data.49

151.      On March 11, 2022, Google engineer Dr. Sadowski for the first time disclosed the existence

of                logs – t    containing an “is_chrome_non_incognito” field and          containing an

“is_chrome_incognito” field.50 Dr. Sadowski testified that these Incognito fields have been in use

by Google in            logs since 2017 and are still in active use (Sadowski Tr. 70:11-19). On March

31, 2022, Google produced the top 100 fields of the five identified            logs, which, once again,

left out the “is_chrome_incognito” field. The “is_chrome_non_incognito_mode” field appeared in

three logs along with user location information.51

152.      On April 1, 2022, Google provided the proto comment for these fields.52 For the

“is_chrome_incognito” field, the proto comment states

                                                      and for the “is_chrome_non_incognito_field”, the

proto comments states

                                                                         Google has not produced

                                                in its document production.

153.      Google’s internal documentation reveals many other logs that may contain private

browsing information. Other logs Google withheld from discovery are included in Appendix E.



49
  Google’s counsel wrote a letter in response to questions Plaintiffs raised about this
“is_chrome_non_incognito_mode” field. But Google failed to provide any explanation about why or how
this field appeared in the raw UMA log. See 2022-03-04 SM Letter Follow Up - Google edits.pdf
50
     Final Sadowski Reference Sheet.pdf
51
     GOOG-BRWN-00848368
52
     2022-04-01 Brown v. Google - Google Letter.pdf



                                                                                                    55
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D.2 Google keeps some private browsing information permanently, with no option for users

to review or request deletion of that information

154.      Based on my investigation in connection with the Special Master process, I understand that

Google keeps some of the information it collects from users’ private browsing activities

permanently (including ad queries, ad views and conversion data)53, with no option for users to

review or request deletion of that private browsing information.

155.      Google offers users the ability to delete certain data from their browsing history, including

URLs and page names.54 However, this control is only offered to logged-in Google users, and does

not affect data stored while a user is in a private browsing mode while not logged-into Google. In

any event, when a user deletes activity from their Google account, they will see the activity as

deleted from their Google account; however, the data is not immediately purged from Google’s

logs, which may take up to                  for deletion.55

156.      As for the private browsing information at issue in this case – where class members are not

signed into any Google account – Google stores the data in a way that people have no ability to

review or delete that information – with various identifying information that could be linked to

class members and their devices. Google provides no process to review and delete that private

browsing information from Google’s servers – or preventing Google’s use. Even Google’s Senior

Software Engineer for Chrome testified that he did not think Google provides users an option to


53
 Data Source Information Provided Reconciliation - Brown.xlsx; see also Google’s Response to RFA
No. 46 (“Google further admits that some of this data [at issue in this case] is retained permanently.”).
54
     https://support.google.com/accounts/answer/7028918 (Last accessed on April 11, 2022).
55
  GOOG-BRWN-00432838 at -840: “user activity history deleted from                  UI …The
corresponding information is tombstoned in PLogs in the             windows”. Google engineers at
“Commented[7]” asks why deleting data in logs can’t be instant as well. “If we tell users that we will
give them more control on their ads experience by deleting their history. They may have an expectation of
immediately seeing their targeting change after a deletion.”



                                                                                                            56
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prevent Google logging while they are in Incognito or private browsing mode (Halavati Depo.

101:15-25); see also McClelland Tr. 320:8-14 (“The My Accounts section is only there to control

authenticated data. Q. So a user does not have a way to delete unauthenticated data from Google

logs, correct? . . . A. That is my understanding.”).

157.    Internal Google documents also confirm this. For example, as one Google engineer

explained, “As a signed-in user, I have tools to see what data Google has collected on me,

selectively delete data items, and even ‘take it out’. As a signed-out user, we provide nothing like

this” (GOOG-BRWN-00433503 at -504); see also Berntson March 18, 2022 Tr. 171:17-19 (“So

to answer your question, is there a way for a user to go back and view the data associated with an

Incognito session, no, because all of the IDs have been deleted when they close the Incognito

session.”); GOOG-BRWN-00153850.C. at -56 (“Incognito mode (when you haven’t signed in),

your history is stored to a non-account identifier and you don’t have the ability to see or delete

it”); Fair Tr. 209:8-20, 210:8-18 (admitting that logged-in users have “more robust” control over

their data than logged-out users).

158.    Because there is no way for a user to subsequently exercise control over the private

browsing information collected by Google (either to view it or request deletion), in effect, Google

provides signed-out users (including all class members in this case) with less control over their

privacy in the private browsing mode than when they are logged into Google in normal browsing

mode.

159.    Google could have offered users the ability to have Google delete their Incognito browsing

information while signed-out of their Google account. Google employees recognized that

providing that option would be a way for Google to make good on a “key promise” to Incognito

users that Google does not “collect data from the Incognito session”. GOOG-BRWN-00147864 at




                                                                                                 57
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–865 and at –866 (recognizing offering a signal at the end of the Incognito session could give

Google a way to “de-identify/delete/anonymize all Incognito session data”). In GOOG-CABR-

05881692 at –692 and at -693, Google describes an architecture where “signed-out user can request

‘view’ and ‘deletion’. Sign-in is not required.” This includes a “new browser UI [user interface]”

where “the user can instruct all ad tech companies [such as Google] to delete all user data, or user

data in selected categories.”

160.    Google distinguishes between signed-in and signed-out modes by using different cookies

(GOOG-CABR-03716577 at -586), and Google stores the intercepted data in different logs

depending on the signed-in vs. signed-out mode. Google uses GAIA cookies for signed-in mode

and what Google calls “pseudonymous” cookies such as Zwieback and Biscotti cookies for signed-

out mode (which, in fact, can be linked to users through fingerprinting information Google collects

in its logs, such as IP address, user agents, websites visited, and more). In GAIA Mode (also called

signed-in mode), Google logs data to what it refers to as personal logs (P logs); in signed-out mode,

Google logs data to Biscotti logs (B logs) for display ads data and Zwieback logs for search ads

data (though that is not limited to just google.com searching).

161.    The signed-out mode represents a great majority of the use cases for private browsing

usage. When a user starts a new private browsing session, they are automatically signed-out of any

signed-in Google account and most users do not then sign into Google in the private browsing

session.56 One Google engineer explains, for example, “Users in incognito mode usually don’t



56
  GOOG-BRWN-00697719 at -719: “If you’re browsing in Chrome Incognito mode, you are, by default,
not signed into any accounts or sites”, GOOG-BRWN-00027102 at -103: “GAIA identifier is not used in
incognito mode unless the user explicitly logs in”, “Safari’s Private Browsing mode creates a completely
new session for each private tab — or “new private window” — you open. These temporary private
sessions are completely isolated from one another as well as from your primary browsing window. That
means: You won’t be signed in to any of your accounts…” (https://www.avast.com/c-how-to-go-



                                                                                                      58
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sign-in with gaia, thus their clicks/conversions are all sign-out” (GOOG-CABR-04959606 at -

609). Other documents indicate that Google sign-in represents a small fraction of traffic in private

browsing mode (e.g., GOOG-BRWN-00148029 at -050 indicating that                        of Incognito search

queries are logged-out). Unlike signed-in mode, a user has no ability to review or actively delete

any of their signed-out mode data.57

D.3 Google merged private and non-private browsing information in its logs and other data

sources

162.    Throughout the class period, Chrome Incognito mode did not sandbox individual windows

and tabs. Instead, Google designed Chrome Incognito to function in a way where cookies were

shared across all Incognito windows and tabs open at the same time. 58 This “means that if you

open an Incognito tab inside of Chrome and then you open a second Incognito window inside of

Chrome while the first one is still open, then the relationship between those two Chrome windows

is the normal relationship between two different Chrome windows in the same browser. That is,


incognito-safari Last accessed on April 11, 2022). I have observed the same signed-out behavior on
Microsoft Edge’s InPrivate mode as well as on Incognito and Safari Private Browsing.
57
  Even in the scenario where a publisher website demands Google to delete data associated with a
particular PPID, Google appears to merely delete the link association between the PPID and mapped
Biscotti, leaving the actual private browsing data stored in logs intact (GOOG-CABR-04696292 at -301):
“PPID based user data in      and          records can be ignored once the PPID to Biscotti mapping is
broken”. (This is a working draft document, but the quotation is not contradicted by anything else I have
seen, and this behavior was “Confirmed with legal”. See Id. at FN 9.)
58
  GOOG-BRWN-00663644 at -701: “incognito sessions are shared among tabs and windows…Many
users are unaware of session based tracking” and at -703: “We can isolate incognito sessions per tab,
instead of sharing the cookie jar across Incognito tabs and windows

Benefits:

- Isolated cookie jars, prevents the need to educate users about the importance of their session length

- No ad personalization across tabs/windows

- Follows the trend of optimizing for privacy over convenient browsing set by Safari and Firefox”



                                                                                                          59
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it’s possible for what happens in one of those windows to potentially influence what happens in -

- later on in the other window” (Kleber March 18, 2022 Tr. 56:17-25). Accordingly, if there are

two open Incognito windows and in each window there are three tabs, all six tabs are sharing the

same state (Id. 57:12-16).

163.    By contrast, Safari’s Private Browsing mode was designed to not share cookies across all

open windows and tabs.59

164.    Google’s design choice has had implications in terms of what data Google logs versus user

privacy notifications and choices. Google employees wrote, for example “Most users are not aware

of session-based tracking” (GOOG-BRWN-00042388). Another internal Google document notes

“‘Sign out’ is an ambiguous, loaded term that generally means only a portion of what users

probably want. Cookies span signed in and signed out sessions, so Google and 3rd-party products

can connect the dots even if they can‘t write data to a person‘s account” (GOOG-BRWN-

00060463). The result is Google logging browsing data on non-Google websites from private-

browsing and non-private browsing sessions within the same GAIA logs.60

165.    In addition, Google stores a user’s logged-in identifier on non-Google websites (e.g.,

Publisher Provided ID (“PPID”), Analytics User ID and Google Ads User ID) in its logs. PPID is

mapped to a PPID-mapped-Biscotti ID, which is used to key user data.61 Whenever a user logs-in


59
  GOOG-CABR-04508088 at -088: “even IF a user understands what a session (within a window) is,
many users are still not aware that they need to close the full window in order to reset the session. This
approach is a solution because every tab is isolated, therefore more private. (Safari functions like this)”
60
   GOOG-BRWN-00072051 at -052 and -053: “if you sign in to your Google Account while in the
Incognito session: Data associated with the temporary ID gets saved to your Google Account; Your
additional activity in this Incognito session also gets saved to your Google Account. In other words, if
you sign in to your Google Account from within an Incognito session, from Google’s perspective, it’s as
if you aren’t in Incognito mode anymore.”
61
  GOOG-CABR-04705124 at -124: “1. PPID is a publisher owned and provided identifier. 2. User
profiles generated using PPID are scoped to a single publisher network only… We can use PPID for



                                                                                                              60
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on non-Google websites, whether in private browsing or non-private browsing mode, the same

identifier is associated with the data Google collects from a user’s browsing activities on that

website. Google further logs all such data (private and non-private) within the same logs and uses

these data for serving personalized ads.62

           E.         Google Use: Throughout the class period, Google exploited private browsing
                      information to generate revenue for Google by creating profiles, serving ads,
                      tracking conversions, and in other ways that benefited Google

166.       Based on my review of the information and data obtained through the Special Master

process, internal Google documentation, deposition testimony, and written discovery, it is my

opinion that Google, throughout the class period, collected and kept a massive amount of

information about its users, with Google reportedly recording                    of [log] entries a day,”63

including private browsing information Google collected during the class period by intercepting

users’ private browsing communications with non-Google websites while those users were not



features like f-capping and personalized advertising. By personalized advertising, we mean targeting
based on demographics, IBA [Interest Based Advertising] and similar audiences, and publisher’s audience
profiles… We would use the traversal history of the user on the publisher’s network of sites to create an
IBA profile”; GOOG-BRWN-00149849 at -852: “The PPID is mapped to a new biscotti ID the first time
we see an ad request where the publisher specified a PPID. The PPID is hashed and stored in a table
mapping PPIDs to biscotti IDs”; and Liao December 3, 2021 Tr. - 55: 12-24 (            , I believe, sends the
mapped PPID—sorry the PPID mapped Biscottis ID, along with other pieces of data, onwards to the rest
of display serving system, including                ..              along with its own back ends,
collectively are responsible for some parts of ad serving.”); id. at 57: 10-20 (“under some circumstances,
             can log the information, including this mapped PPID. . . There are many different logs that
the              writes, so I’m not aware of all of them, but one of the different types of logs in this case
will be ad query logs.”)
62
  GOOG-BRWN-00149849 at -849: “Publisher provided identifiers allow the publisher to send DFP an
identifier to be used in place of the DoubleClick cookie. The advantage in this case is that the publisher
may have a consistent identifier across different devices” and at -852: “Any time a PPID is specified in
the request, the ad selection will consider the audience segments associated with the mapped biscotti ID
and DoubleClick cookie if the user also has a separate DoubleClick cookie on the browser”. GOOG-
CABR-04122554 at -575 shows ad personalization with PPID recovers              of ad revenue loss due to
Apple’s Intelligent Tracking Prevention (ITP) on Safari browsers.
63
     Dkt. 119 at 3.



                                                                                                          61
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signed into Google. Google used and continues to use this information for a variety of purposes,

including creating detailed profiles about the users, serving ads to users (including targeted and

personalized ads), tracking and modeling conversions from that user activity to enhance its

advertising revenues, providing analytics information to customers based on user activities, and

for algorithm development and training, reporting, process improvement and more.

E.1 Google Tracking & Profiling: Throughout the class period, Google tracked private

browsing communications to create detailed profiles

167.    To deliver targeted advertising to users, throughout the class period, Google built and used

detailed profiles tied to each user’s identifiers, including when the user is in private browsing

mode. Based on my analysis in connection with this litigation, I now understand that Google has

done this even when users are privately browsing non-Google websites and when the user is not

signed into Google, using various undisclosed Google identifiers to track and target users.

168.    Throughout the class period, Google created and then benefited from its use of various user

profiles, including while users were in private browsing mode visiting non-Google websites and

not signed into Google.64 Google explains that “data collection is extremely valuable because it

allows advertising businesses to create a profile based on your browsing history. The more data

these businesses have, the more accurately they can target you with advertisements, which

(indirectly) means higher revenue for the company” (GOOG-CABR-04006287 at -287). Based on

users’ browsing activities, Google creates user profiles based on (GOOG-CABR-05864545):


64
  See Halavati Depo. 113:18-25 (confirming Chrome Incognito mode’s implementation creates off-the
record profiles of users and has since at least August 2016 when testifying engineer started working on
Chrome); GOOG-BRWN-00207020 at -23 (describing scenario in which significant other sees “targeted
ads for engagement rings or weddings” following Incognito searches for engagement rights, and
explaining: “Unfortunately Incognito mode doesn’t prevent this awkward moment. Since IP address is a
common signal and Incognito sessions build zwieback based profiles, this can, and as has been suggested
by some users, and does happen”).



                                                                                                     62
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   The user’s interests or hobbies (what Google refers to as the user’s “affinity”) – Google’s

    internal document (GOOG-BRWN-00229628) shows                   interest categories. These

    include the following top-level categories:




   What the user is actively searching/browsing with an intent to purchase (what Google refers

    to as “in-market”) – Google’s internal document (GOOG-BRWN-00229632) shows

    in-market categories. These include the following top-level categories:




                                                                                            63
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        User “Demographics” (e.g., the user’s age, gender, parental status – inferred based on

         user’s browsing history on non-Google websites) (GOOG-CABR-03742530). Thus, even

         if users do not provide demographics information, Google can “estimate it from the user

         behavior” using machine learning algorithms (GOOG-BRWN-00535100 at -134).

        User “Life Events” (e.g., whether the user is graduating from college, moving homes, or

         getting married).

        Custom Intent Segments - Auto-created custom user intent segment for targeting a specific

         vertical or landing page.

        User past interactions with a website.

        User remarketing – people who have previously visited an advertiser’s website.

        Similar Audience – people who are similar to those on the remarketing list, generated using

         Google’s machine learning algorithm.65




65
   GOOG-CABR-04626237 at -238: “Similar Audience can be considered as the expansion of
Remarketing. Remarketing is the work of retargeting a group of users, called seedlist, who have visited a
site before. Similar Audience is the work to find and target users who are similar to ones in the seedlist.
We started the Similar Audience project for GDA in 2009 and later for DV3 in 2014. The core part of the
project is using machine learning algorithms to model or learn the similarity between display audiences.”



                                                                                                         64
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169.      There may be several Google user profiles associated with a user, including GAIA-keyed

user data and Biscotti-keyed user data. These detailed profiles are core to Google’s business, and

Google uses these user profiles for ad targeting, frequency capping, and logging.66

170.      A significant amount of user data, including data collected by Google during the class

period from users’ private browsing on non-Google websites while not signed into Google, are

stored in (among other places) two Google data repositories called                    and     .67 These are

enormous Google data repositories, which Google used during the class period to store user data,

including commingled data collected by Google from users’ private and non-private browsing

activities. Google explains that Google’s “DBL” logs in both of these Google storage locations

(DBL              and DBL        contain user data “keyed to unauthenticated IDs” that Google uses

with “various display ads products for targeting, personalization, user controls and measurement

like use cases.”68 The following table includes information provided by Google regarding these

two Google data sources:




66
  GOOG-CABR-04695672 at -673: “we look up user profiles using Biscotti id as a key and then use the
data for targeting, frequency capping, and logging.” Google states that this is a “grossly oversimplified
view,” but their caveats discuss policy limitations on what data and identifiers can be used when. Policy
limitations are not an assurance of privacy because policy can change (“Don’t be evil” was phased out),
threat actors do not follow policy, and government or legal intervention is not subject to corporate policy.
67
     Google has been moving some          data over to    (See e.g., GOOG-CABR-04207454).
68
     “Data Source Information Provided Reconciliation - Brown.xlsx”



                                                                                                          65
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171.    “DBL” stands for DoubleClick. In these DBL logs, Google stores data in tables, with rows

and columns. Each column in the DBL table is keyed by a user’s Biscotti ID, which is a unique

identifier generated by Google in connection with a user's browsing activities.69 The data Google

associates with a particular Biscotti ID represents data Google collected during the particular user

browsing session, where that Biscotti ID is generated and used to track the user’s browsing

activities. The Biscotti ID generated by Google can be from various sources, all tied to the user

browsing activity, including the IDE cookie, PPID-mapped-Biscotti, GFP-mapped-Biscotti or

other Biscotti ID sources (GOOG-CABR-04423260 at -269). Google generates and uses these

unique Biscotti IDs for the purpose of tracking and profiling users’ browsing activities, including

without limitation the private browsing activities of Google account holders visiting non-Google

websites while not signed into Google, and does this for Google’s own benefit.




69
   GOOG-CABR-00892264 at -265: “The Biscotti Id is a number that uniquely identifies a browser or
other device. Browsing history and other activities associated with a given Biscotti Id are aggregated over
time, allowing models and ‘user profiles’ to be built… the Biscotti Id is extracted from the Biscotti cookie
and used as the key to lookup the user profile in          , and the user profile is then used to help select the
best ad.” And GOOG-CABR-04423260 at -266: “We use                     to store user data … Different
‘tables’ for different key-spaces (e.g. logged in data, vs doubleclick data). We use the ‘dbl’ table for
doubleclick data. Row key is ‘biscotti id’, columns represent different data about a single cookie”



                                                                                                              66
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172.      Google’s DBL       data repository also stores data in a table format, with     columns70,

each column containing many subfields. Google did not provide any explanation as to the content

of the columns and what subfields are contained within. While I have attempted to describe in this

report the many ways in which Google uses the private browsing information at issue in this

lawsuit, this description is necessarily incomplete because Google has not provided full

transparency in terms of its data collection and storage, and that information is not otherwise

available.

173.      A small subset of the columns in Google’s DBL          match the names of logs stored in

another Google data storage called               Assuming that these Google logs contain similar (if

not the same) data, then Google’s DBL          and Google’s              store at least data based on

user browsing activities that relate to user interest profiles for Google ad targeting as well as

Google’s user behavior profiles (such as a “clickiness” profile), which Google uses to count “how

many times a user saw or clicked on ads”.




70
     “2021-12-06 Brown - Special Master Submission.xlsx” tab “#6 DBL



                                                                                                  67
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174.     Google provided some of Plaintiffs’ DBL          data containing user profile information.

These data were generated in Chrome Incognito mode while not signed-into Google. For example,

                                     contains user profile keyed to Plaintiff Chasom Brown’s

Biscotti ID that Google generated from Brown’s browsing activities on non-Google websites in

Incognito mode while not signed-into any Google account.71 This Google file (with Google

collecting and then through the Special Master process providing                        of data from

Incognito browsing activities at the end of February and beginning of March 2022) contains a

myriad of personal information and private browsing activities, including

     




71
  From Second Iterative Search of the Special Master process, “2022-03-14 Brown v. Google - DBL
– AEO” production for “Biscotti Extracted from IDE”. The Biscotti ID value                      is a
hexadecimal value converted from Biscotti ID                           . Decimal to Hexadecimal value
conversion can be done using https://www.rapidtables.com/convert/number/decimal-to-hex.html for
example (Last accessed on April 11, 2022). Additional support information can be found in Appendix
H.1.



                                                                                                   68
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     




175.      The browsing information that Google collected and then produced, just from DBL

also includes keywords72 on or related to websites that he has visited (e.g.,

                                                                      at rows 116093-116796), affinity

and in-market interest segments and a weighting factor for each segment, and more. Some of the

in-market interest segments for Brown include




                                                  , among many others – the names of these segments

are determined from GOOG-BRWN-00229632. Some of the affinity interest segments for Brown

include



                          among many others – the names of these segments are determined from




72
  GOOG-CABR-04761793 at -796 explaining that Phil clusters are the “major concepts used on the
page”, Content verticals are the “primary topics of a page and the site”, Felix criteria are “Keywords on
the page or related to the page” and Label classifiers are “the tone of the page”.



                                                                                                            69
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GOOG-BRWN-00229628. User profiles Google generated for other Plaintiffs while they were

browsing in Incognito mode and not signed into Google contain similar information.73

176.    Based on the productions made through the Special Master process and other discovery,

Google does not appear to distinguish private and non-private browsing when it comes to user

profile generation. The stored user profile information from Incognito sessions contains similar

content as user profile information from non-Incognito sessions based on my review of Plaintiffs’

data.74 Indeed, Google explained in an Interrogatory response that, as to all of the data sources that

Google identified during the Special Master process, Google’s “uses [of the data stored therein]

do not differ based on whether or not a user has enabled Chrome’s Incognito mode” (Google’s

Response to Interrogatory No. 22).

177.    On non-Google websites that use PPID, Google also stores user profiles keyed to a PPID-

mapped-Biscotti ID. As discussed earlier, PPID and the corresponding PPID-mapped-Biscotti that

Google maintains uniquely identifies a user on a particular non-Google website. The same

identifier is used when a user signs into her non-Google website account on any device, in any

browser and in both private and non-private browsing modes. Google explains that “The data

collection and profile creation is namespaced by ppid & network_id” (GOOG-CABR-04122554



73
  See e.g., From the “2022-03-14 Brown v. Google - DBL          – AEO” production,
                        contains Plaintiff William Byatt’s Incognito user profile information associated
with Biscotti ID                           Additional support information can be found in Appendix H.2.
As another example,                                      contains Plaintiff Jeremy Davis’s Incognito user
profile information associated with Biscotti ID                         . Additional support information
can be found in Appendix H.3.
74
  See e.g., From the “2022-03-14 Brown v. Google - DBL         – AEO” production,
                         contains Plaintiff Jeremy Davis’s Chrome regular mode user profile information
associated with Biscotti ID                          Additional support information can be found in
Appendix H.4. As another example,                                       contains Plaintiff Monique
Trujillo’s Chrome regular mode user profile information associated with Biscotti ID
                        . Additional support information can be found in Appendix H.5.



                                                                                                        70
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at -571), where the “network_id” identifies the particular non-Google website. For example,

                                contains Plaintiff Monique Trujillo’s user profile keyed to a PPID-

mapped-Biscotti ID generated from Trujillo’s browsing activities on                                while

not signed-into Google. Importantly, Trujillo logged into her                                    account

while browsing in both Incognito and non-Incognito mode, including while signed out of Google,

and all such browsing activity is used to generate her user profile associated with

                          .75

178.      Aside from DBL        , other ads logs also contain user information, including sensitive

information derived from visited websites in private browsing modes. For example, Google

produced schema / fields for       ads logs, including signed-out display and search logs and signed-

in display and search logs.76 The schema contain fields such as:




                            These sensitive fields are associated with a user’s identity in GAIA

signed-in logs and pseudonymous identity in signed-out logs.




75
                                    is associated with PPID-mapped-Biscotti ID:
which is a hexadecimal value associated with PPID-mapped-Biscotti ID:                        . In
“2022-03-04 Brown Second Iterative Searches - PPID.xlsx”, row 32, Google represented that this PPID-
mapped-Biscotti ID is mapped from Trujillo’s PPID

                                                       on                         As I show in
Appendix H.6, Trujillo logged into                        in Incognito and non-Incognito mode while
not signed-into Google and the same PPID is sent to Google in both modes.
76
     2022-03-11 Production containing schema from searching   logs using three Plaintiff IDs for each log.



                                                                                                       71
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E.2 Advertising: Throughout the class period, Google used private browsing information to

serve ads (including targeted ads)

179.   Throughout the class period, Google used the private browsing information at issue in this

lawsuit to serve users with ads (including targeted ads) in that private browsing session (and thus

earn money for Google from serving those ads). This was demonstrated by the various tests

performed at my direction in connection with the Special Master process. Further, as Google’s

internal document explains, “Targeted advertising occurs based on data from current Incognito

session (tracking) cookies can be placed while Incognito” (GOOG-BRWN-00147873 at -877).

180.   Targeted ads can be personalized or non-personalized and can appear on non-Google

websites, for example as banner ads or within embedded YouTube videos. “Google considers ads

to be personalized when they are based on previously collected or historical data to determine or

influence ad selection, including a user's previous search queries, activity, visits to sites or apps,

demographic information, or location. Specifically, this would include, for example: demographic

targeting, interest category targeting, remarketing, targeting Customer Match lists, and targeting

audience lists uploaded in Display & Video 360 or Campaign Manager 360… Non-personalized

ads are ads that are not based on a user’s past behavior. They are targeted using contextual

information, including coarse (such as city-level, but not ZIP/postal code) geo-targeting based on

current location, and content on the current site or app or current query terms” (GOOG-BRWN-

00016645).

181.   Google’s internal documents confirm that Google personalizes advertisements based on

private browsing activities, with Google employees recognizing (in connection with Chrome) that

“Users overestimate the protections that Incognito provides and are unaware of the personalization

and data collection that occurs when it is on” (GOOG-BRWN-00529122). As another example,




                                                                                                   72
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Google employee AbdelKarim Mardini confirmed that, “during the time-span of one incognito

session personalization can happen based on the activities happening in that incognito session”

(Mardini November 24, 2021 Tr. [294:4-8]). Google likewise admits that when Google receives

data from a user’s Incognito session, “Google may use the data associated with cookies to

personalize advertisements displayed to the user.” (Google’s Response to Request for Admission

No. 7).77 And when asked during his deposition “How do cookies within Incognito mode help

monetize a publisher’s site,” now-retired engineer Justin Schuh answered “the same way they do

when you’re not in Incognito mode. They give you or they – they can be used to deliver targeted

advertising’ (Schuh January 6, 2022 Tr. 156:14-24).

182.   Google personalization, in terms of targeted advertisements, includes advertisements by

any advertiser “in any private browsing mode on any browser.” (Mardini November 24, 2021, Tr.

at [294:9-13]). Google’s internal documents also reveal Google’s concerns about such

personalization of private browsing, noting “privacy risks: … Session-based personalization, Use

of non-personal data for personalization, i.e. location” (GOOG-CABR-00411167 at -170).

183.   To implement personalization, Google uses             targeting label sources,        targeting

machine learning models, and            data pipelines to generate audience lists for personalized

advertising. These labels include past user interests (e.g., past ad clicks, conversions), current user

interests as well as predicted future interests (GOOG-CABR-04616196 at -215, -217, and -222).

Google’s machine learning algorithms use various signals, including contextual signals, location,

browser, etc. to predict users’ future interests (GOOG-CABR-04616196 at -221 to -223). Predicted

future interests account for more than half of Google’s Display Ads revenue and are used to


77
  See also Google’s Response to RFA No. 11 (“Google admits that . . . Google may have been able to
display ads using data Google received while a user was in Incognito mode.”); Google’s Response to
RFA No. 40 (similar).



                                                                                                     73
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compensate for cookie loss (GOOG-CABR-04616196 at -223). Machine learning tools relevant

for ad serving include Sibyl for ad ranking, Laser for personalization, and SmartASS78 (Smart Ad

Selection System). Google tells its new employees that SmartASS “Makes a LOT of money. This

most likely pays your salary!” (GOOG-BRWN-00535100 at -156). There are many SmartASS

related fields in the ads log schema produced through the Special Master process.79 The above

machine learning systems utilize data that Google collects about users’ online activities, including

users’ private browsing activities.

184.      When a user visits a non-Google website with embedded Google advertising code, ad

request messages are sent to Google along with the user’s identifiers for that browsing session.

However, Google does not just serve ads based on those identifiers alone. Its ad serving

infrastructure takes one or more IDs from the current session and “retrieves all associated IDs”

(GOOG-CABR-04126517 at -522). Such ID associations (achieved through linking identifiers

Google estimates to belong to the same user on the same device and across different devices) are

“used extensively in ads personalization” and other ads related functions (GOOG-CABR-

00543864 at -884 to -890 and -902 to -905). Through Google’s server-side processes such as the



                          ), Unified ID linkage Storage (for storing and querying ID linkage data81),




78
     Google seems to fancy ironic acronyms.
79
  For example, the following fields are in the log schema of the logs containing the
“maybe_chrome_incognito” field:
                                                                                       (2022-03-10
Brown v. Google – Fields for      Logs – AEO.xlsx)
80
     GOOG-CABR-00543864 at -872 and -877
81
     GOOG-CABR-00399988 at -991 and -992



                                                                                                     74
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                                                                                      ) and others,

Google creates “a single-view of the user in all Display products” for ad targeting and

measurement purposes (GOOG-CABR-03652751 at -752).

185.     As a part of serving targeted ads, Google uses its dynamic remarketing tracking beacon on

non-Google advertiser websites to send Google GAIA or Biscotti cookies along with a “list of

products on the page (as keyvalues)” (GOOG-CABR-04763333 at -336). Google then stores this

data (from the user’s browsing activities) in Google’s              data repositories. “Later, when

the user is on a publisher page, ad request with the [GAIA or Biscotti cookie] is sent to Google

server. If a dynamic remarketing adgroup wins, then [Google] will fill the creative with products

user saw and other ‘related products’ based on [machine learning] models” (GOOG-CABR-

04763333 at -337).

186.     While dynamic remarketing aims to show products to users who have visited an

advertiser’s website, Google uses what it calls “dynamic prospecting” to generate Google revenues

by showing products to new users. “Dynamic prospecting uses machine learning to get an idea for

what potential buyers are looking for. Once the system knows what the user is after, it combines

that possible intent with demographics-based information such as age, gender, and household

income to match the user with a product” in an advertiser’s list of products and services uploaded

to Google.83




82
  GOOG-CABR-03652751 at -752:
                   -756:                                                     and at -769 “Infer
Same Device Links from    – Build heuristic rules based on cookie attributes – Achieve high
prediction accuracy”.
83
     GOOG-CABR-05876730 and GOOG-CABR-05876831



                                                                                                  75
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187.   With the loss of certain Google cookies (e.g., due to blocking of certain Google cookies

based on Apple’s Intelligent Tracking Prevention (“ITP”) or Google’s                          changes

to Chrome Incognito mode), Google mitigates targeting loss by relying on first-party identifiers,

such as the PPID available for Google Ad Manager 360 Publishers. This identifier is used to

identify users that log into publisher websites, and it uniquely identifies a user across all of the

user’s devices, browsers, and browsing sessions, including private browsing sessions. While for

purposes of Chrome Incognito, cookies such as Biscotti are specific to a particular session, PPIDs,

on the other hand, are similar to GAIA in that it is a persistent identifier for a particular user used

across sessions and devices. This is illustrated in the screenshot below from one of the documents

produced by Google in this litigation, showing different DCLK (Biscotti IDs) but the same PPID

across different devices (GOOG-CABR-04609856 at -857) for the same publisher (in this case,

LinkedIn).




                                                                                                    76
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188.    PPIDs can be set by the publisher or managed by Google (“Managed PPID”). Managed

PPIDs are dropped by Google’s tracking beacons through JavaScript (GOOG-CABR-04118321 at

-333). PPIDs are used to “create user profiles from traversal history of the user on sites in the

publisher network” and for remarketing ads (GOOG-CABR-04118321 at -330). The “traversal

history of the user on sites in the publisher network (can be cross device, and cross domain)”

(GOOG-CABR-04118321 at -331).

189.    Google explains that the “main benefit of using PPID as the basis for an Audience segment

member is to be able to target users across devices and browsers, or in cookie-less and similar

environments… The PPID is mapped to a new biscotti ID the first time [Google sees] an ad request

where the publisher specified a PPID. The PPID is hashed and stored in a table mapping PPIDs to

biscotti IDs. Any time a PPID is specified in the request, the ad selection will consider the audience

segments associated with the mapped biscotti ID and DoubleClick cookie if the user also has a

separate DoubleClick cookie on the browser” (GOOG-CABR-04609856 at –859 and at -860); see

also Berntson March 18, 2022 Tr. 131:4-9 (“[S]o if the same publisher is interacting with you on

the web and interacting with you on your phone, we’ll see you as the same person across those

devices for that one publisher with PPID. And we designed it that way.”).84

190.    The implication of PPIDs for the private browsing at issue in this litigation is that the same

PPID-mapped-biscotti is used by Google to key all user data associated with a user’s private and

non-private browsing sessions on a publisher website. Thus, a user’s browsing activity within a




84
  See also Berntson March 18, 2022 Tr. 120:17-22 (describing the PPID as something that “is, to the
publisher, a unique representation of the user”); id. 126:4-6 (“[O]ne of the things that is used fairly
commonly when there is a way to identify a user, like with a PPID, is frequency capping . . .” (emphasis
added)).



                                                                                                      77
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private browsing session can be used by Google to create an even more robust user profile and

personalize ads in a non-private browsing session.

191.     Aside from ads targeting, Google also uses (and throughout the class period has used) the

private browsing information at issue for ad frequency capping (i.e., limiting the frequency of

showing a particular ad), sequencing advertisements and spam detection (GOOG-CABR-

04423260 at -262, -277). PPID, and another 1P Google ID set by the Ad Manager tracking beacon

in a GFP cookie, are both used for frequency capping.85

E.3 Conversion Tracking: Throughout the Class Period, Google used private browsing

information to track conversions

192.     Throughout the class period, Google also used the private browsing information at issue in

this lawsuit to track what Google refers to as “conversions.” A conversion is any action, or goal,

that an advertiser seeks to encourage through online advertising. A conversion “occurs whenever

a user takes any action that is identified as important or relevant to a given advertiser/marketer,”

(GOOG-CABR-03738741 at -41) including signing up for something, making a purchase, or

filling out a web form.86 Google’s conversion tracking applies alike to ads shown on publisher

websites (display ads conversions), YouTube (YouTube ad conversion), and Google Search

(search ad conversion). See Berntson March 18, 2022, Tr. 154:22-155:4 (noting that the process

for tracking display conversions relative to Google Search conversions is, “if it is not the same, it

is similar”).




85
     GOOG-CABR-04118321 at -330, -337, -339 and GOOG-BRWN-00162235 at -242.
86
  See also March, 18 2022 Berntson 30(b)(6) Tr. 62:2-8 (“conversion generally, in the advertising space,
refers to if an ad is displayed that wants the user to take some action, did the action take place? The vast
majority of cases, what ads are doing in terms of seeking that conversion, is to purchase something”).



                                                                                                          78
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193.     Conversion tracking has been and continues to be one of the primary ways for Google to

demonstrate its value to advertisers (meaning, to justify the payments Google receives from

advertisers). Google’s conversion tracking is also heavily reliant on Google obtaining and

analyzing user browsing information, including from users’ private communications with non-

Google websites in private browsing modes.

194.     Google’s conversion tracking focuses on tracking user activities. For example, if a user is

shown an advertisement and then makes a purchase, that could qualify as a conversion. Another

example of a conversion might be a user clicking an ad, arriving at the advertiser’s website, and

then signing up to receive special offers via email. Advertisers are generally willing to pay more

for advertising when Google can demonstrate the effectiveness of its advertising by tracking

conversions (Kleber January 14, 2022 Tr. 168:1-19). Appendix F contains a discussion of

conversion tracking history at Google and conversion tracking methods.

195.     Google’s conversion tracking involves tracking user activities on non-Google websites.

When a user sees an ad, clicks on an ad or otherwise interacts with an ad (e.g., watches a video ad)

on non-Google or Google websites alike and later performs a conversion action on an advertiser’s

webpage or offline, that user is considered to have “converted”. User activities on non-Google

websites are tracked by Google tracking beacons embedded on advertiser webpages87, including

users’ private browsing activities. For example, “The user clicks an ad, they are redirected to a

Google-owned domain where a cookie is set, then finally redirected to the customer’s landing page

[a non-Google website]. When a user later converts [i.e., buys something on the website], the

conversion tracking beacon picks up the conversion cookie from the Google-owned domain

(which in that context is third-party [i.e., non-Google]) and the conversion can then be joined back


87
     GOOG-CABR-05876763



                                                                                                 79
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to the original click.” (GOOG-CABR-00903677 at -77). Google tracks conversions by way of

Google conversion tracking code embedded within non-Google websites, which cause the user’s

browser to transmit to Google the information contained within the HTTP request, including the

user agent (Berntson March 18, 2022 Tr. 76:23-77:2). Appendix A includes a discussion of

Google’s conversion tracking code.

196.   Tracking conversions is an important part of how Google makes money, with Google using

that information to prove to the advertiser that Google’s advertising campaign is working and that

it therefore makes sense for the advertiser to pay Google for the service. For example, consistent

with my analysis and opinions, one Google employee testified:

       Showing an advertiser that a conversion happened is a way for the advertiser to realize that
       this particular ad was a good ad for them to have chosen to show, right? So advertisers
       have to make decisions about how to spend their money, and I think they tend to spend
       their money on advertising that seems to be a good financial investment for them, right,
       where the money they make later on is worth the advertising cost that they invested. So
       knowing that a conversion happened is important to advertisers because it lets them better
       choose how to allocate their ad spending budget in the future.

Kleber January 14, 2022 Tr. 168:5-19.

Similarly, testifying as Google’s corporate representative, Dr. Glenn Berntson explained:

       And specifically, Google collects the conversion data because when an advertiser comes
       to Google says, “You know, I -- I want to reach N number of users and I want to drive sales
       for this particular product. So Google, I want to use your system to serve an ad," whether
       that's Ad Words or DV3, in order to for Google to actually meet the objectives of the
       advertiser, we have to be able to measure the conversions that map to the objectives of the
       advertiser, and then be able to provide that data back to the advertiser.

Berntson March 18, 2022 Tr. 63:12-23,

197.   Dr. Berntson likewise testified during a prior 30(b)(6) deposition that “an advertiser will

create a campaign that says, I’d like to serve this 7-up ad and here - here are the criteria for where

I want the ad to show up . . . and then if they want to actually see how many people then buy that

soda because they saw the ad, what we provide back to the advertiser is not a list of IDs of users



                                                                                                   80
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that converted, but just how many conversions happened because of their campaign.” (Berntson

June 16, 2021 Tr. 200:6-19). Google’s ability to highlight these conversions for its advertising

customers depends on Google’s systematic tracking of users’ browsing activities, including the

private browsing activities at issue in this lawsuit over the class period.

198.      When Google provides conversion statistics to advertisers for purposes of “being able to

demonstrate to an advertiser with we helped them meet their objectives”, Google “basically just

share[s] an aggregate number” (Berntson March 18, 2022 Tr. 64:3-21).

199.      Google’s conversion tracking continued throughout the class period, with limited changes.

In 2017, Google unified Analytics and other conversion tracking beacons (e.g. AdWords

conversion tracking and Floodlight) under the One Google Tag (OGT), also called Global Site Tag

(gtag.js) – thus “gtag.js is Google’s new conversion tracking, analytics, remarketing etc. tag – all

in one”.88 Google tells websites to install this Google tracking beacon on every page of their

website (a process known as site-wide tagging).89 Site-wide tagging can also be implemented

through Google Tag Manager (GTM) and Google Analytics. Google explains the benefits of site-

wide tagging as providing “more accurate conversion tracking” (GOOG-BRWN-00026913 at -

920). “When 3P [e.g., Google cookies that are blocked by third-party cookie blocking browsers]

cookies are not available, sitewide tags allow accurate conversion measurement with 1P [e.g.,

Google cookies that are not blocked by third-party cookie blocking] cookies” (GOOG-BRWN-



88
   GOOG-CABR-04419756 at -761 and at -756: “gtag.js aims to unify Google's ads & marketing site
measurement tools under a single implementation, where advertisers can use a common tag on their sites
to implement various analytics and advertising product features, such as conversion tracking and
remarketing. Currently, different Google products use different tags. This has led to a confusing,
fragmented ecosystem of Google products for our customers. gtag.js consolidates all of these differences
into a single tagging solution, making it significantly easier to measure website actions and send that data
to the correct location.”
89
     https://developers.google.com/analytics/devguides/collection/gtagjs (Last accessed on April 11, 2022).



                                                                                                          81
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00026913 at -921).90 Appendix D discusses the difference between 1P and 3P cookies in more

detail.

200.      Google’s tracking code, together with cookies and parameters that Google embeds in

URLs, can be used by Google to connect conversion events on non-Google websites with

particular ads seen or clicked by a user, regardless of whether that ad was seen or clicked on

Google’s search results page, in YouTube videos, or on other non-Google websites. GOOG-

CABR-04324934 describes tracking conversions for Search ads, YouTube ads and Display ads

using sitewide tagging, conversion cookies, and server-side conversion tracking (SSCT).

201.      Google’s conversion tracking (including with the private browsing information at issue in

this lawsuit) plays an important role in generating Google revenue. As noted above, Google uses

conversion tracking to justify advertising spend. Advertising generates                        of dollars in

revenue for Google every year. As one example of the value Google recognizes from conversion

tracking, focusing on sitewide tagging from Google Analytics alone in 2018, those “conversions

are used in powering         [Google Ads] auto-bidding spend” (GOOG-CABR-04081967).

202.      Moreover, in the process of tracking conversions, Google amasses valuable data to feed

Google’s machine learning algorithms, the engine to Google’s                                  advertisement

business. Since machine learning algorithms build models by learning and generalizing from data.

Even if data is not used to monetize transactions related to a specific user, the data helps Google

better monetize the transactions of its user population, or of users similar to the specific user.




90
   See Chung Tr. 69: 3-12; 16-18 (describing addition of gclid to the GA cookie which can be used by
Google advertising products “along with the data coming in with Analytics—to parse and determine
whether a conversion occurred” even when third-party cookies are blocked); see also Chung Tr. 76:14-
77:14 (confirming that even when third-party cookies are blocked in Incognito mode, Google Analytics
still receives and stores in logs “the interaction, the behavior that the visitor executes on the website”).



                                                                                                               82
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203.    Conversion data can also be monetized through manual or auto bidding. Manual bidding

requires the “Advertisers download conversion reports and use it to manually adjust bids or

budgets” (GOOG-BRWN-00144320 at -330). Advertisers may also view conversion data in the

Google Ads online interface and then manually adjust their bids. In my opinion based on my

analysis in this case and my experience as a Google Ads advertiser, Google does not distinguish

between private and non-private browsing activities in those Google Ads online interfaces, with

Google providing customers with comingled conversion data without separately identifying

private browsing conversions. I have not seen or heard of an option to segment the data reported

by Google to show private browsing and standard browsing activity separately, despite the fact

that Google offers a very large number of different ways to segment data in both Google Ads and

Google Analytics reports.

204.    Bids can also be adjusted automatically through machine learning algorithms.91 With

autobidding, “advertisers describe the outcomes that they want, rather than being in full control of

the targeting, and then say to Google, ‘You figure out how to target this campaign. You figure out

the best places to show ads, and I want you to maximize my outcomes,’ which could be up -- you

know, the number of conversions” (Berntson March 18, 2015 Tr. 69:11-18).

205.    Google’s machine learning algorithms analyze millions of user signals, including users’

browsing history, search queries, location, device, age, gender, demographics, interests, operating

system, browser and much more, all “within the blink of an eye” (GOOG-CABR-04786706 at -

732). In such a machine learning system, knowing the characteristics of a user who does not


91
  Machine learning algorithms are used across a wide array of Google products, including generating
user profiling (e.g., finding similar audiences, in-market audiences, detailed demographics, affinity
audiences), creating responsive display and search ads that tailor the ad message “for every moment, for
every user”, and “adjusting bids for each and every [ad] auction” (GOOG-CABR-04786706 at -729 and -
730)



                                                                                                      83
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convert is valuable in predicting which users will convert, and thus allows Google to maximize

the value of its advertising program for itself, its advertisers and its publishers. As of year 2020,

Google was the leader in online advertising in the United States with a 28.9% market share.92

206.    One type of conversion is a same-session conversion, which can occur while a user is in

Chrome Incognito mode. See GOOG-CABR-00547295 at -95 (referring to a “conversion [that]

happens in the same incognito session”). A same-session conversion occurs when a user views an

advertisement and then takes some desired action within the same browsing session, including the

same Chrome Incognito browsing session. Importantly, the user need not convert right away after

viewing or clicking on the ad. For example, within a single Chrome Incognito browsing session, a

user may browse on a non-Google website, see an ad, later see the same ad on a different non-

Google website, click on it and make a purchase. A user may also see an ad on a non-Google

website, decide to do some research on the product by doing some searches and additional

browsing, before eventually making a purchase. See Rakowski Tr. 191: 13-19 (“If it starts in

Incognito and completed the conversion in Incognito, that would appear normally in the Adwords

conversion track…tracking report.”).

207.    Google has implemented various mechanisms to track these conversion events, including

in Chrome Incognito mode. Within the same Chrome Incognito browsing session, Google’s

conversion tracking works the same way as conversion tracking in non-private Chrome browsing

mode.93 Google further explains, “On the path to conversion, customers may interact with multiple


92
  https://www.statista.com/statistics/242549/digital-ad-market-share-of-major-ad-selling-companies-in-
the-us-by-revenue/ (last accessed on February 17, 2022)
93
  GOOG-CABR-03662975 at -978: “I was reading the latest on Chrome blocking 3P cookies by default
in incognito mode and its effect on measurement. … I understood that we were able to track same session
conversions in Chrome incognito mode across 1P/3P cookies”; see also Berntson March 18, 2022 Tr.
145:7-14 (“I don't think it’s possible for Google Scripts -- whether it’s Google scripts supporting Ad



                                                                                                     84
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ads from the same advertiser… Most advertisers are used to measuring the success of their online

advertising on a ‘last click’ basis. This means they give all the credit for a conversion to the last-

clicked ad”.94 Other attribution models are also possible, such as equal attribution for all clicked

ads, or all credit to the first clicked ad.

208.    Google also tracks cross-device or cross-session conversions. These conversions occur

when a user completes the conversion event on a different device (or within a different private

browsing session) from the device/session in which the user initially viewed the advertisement.

For example, within a private browsing session, a user may browse on a non-Google website on a

laptop, see an ad, later browse on a mobile device and make a purchase related to the ad she viewed

earlier. A user may also see an ad while browsing in one private browsing session and later convert

in a different private browsing session. In these cases, Google tracks the conversion using

persistent identifiers or personally identifiable information (PII) across different devices or

sessions.

209.    For example, through Enhanced Conversions in Analytics and Ads, non-Google websites

send personally identifying information such as a user’s email address (user’s name, home address,

and phone number may also be used) to Google to be matched against the same user’s Google

account information containing the same identifying information along with the user’s GAIA ID



Manager, Google Analytics, or our advertiser products, OGT -- I don't think it's possible for those client-
side scripts to change what they do based on the knowledge of whether private browsing has been enabled
in Chrome”).
94
  https://support.google.com/google-ads/answer/6259715?hl=en (Last accessed on April 11, 2022)
“Note: Currently, attribution models (both "Data-driven" and non-last click models) are available for
Search campaign performance reporting and bidding optimization. In the coming months, we’ll be
upgrading attribution models to also cover ad interactions on YouTube and Google Display Ads. As a
result, you might see conversion credit shift between and within your Search, Shopping, YouTube, and
Google Display Ads campaigns. Some traffic will still be reported using the "Last click" model, such as
Display campaigns using pay for conversions billing.”



                                                                                                          85
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(GOOG-CABR-04763527). With Enhanced Conversions, Google can track cross-device

conversions when a user performs a conversion event in private browsing mode and is not signed

into Google.

210.   Even when Google is unable to track all of the conversions, Google recovers these “lost

conversions” through conversion modeling.95 While “measur[ing]” conversions refers to “actually

see[ing] that [a conversion] happened and account[ing] for the fact that a conversion happened,”

“Modeled conversions are conversions that we estimate took place without actually measuring

them.” (Berntson March 18, 2022 Tr. 65:4-16). For example, “imagine somebody walks into your

store and you see how tall they are, and then you can go look up this historical data and see what

the relationship is between height and arm length, ‘Oh, they're that tall, I bet their arm is this

long.’” (Id. 66:18-23). “Sometimes, [Google] will be able to . . . make those measurements of the

conversions and build such a model to infer the likelihood of a conversion having taken place

without being able to measure it directly” (Id. 67:11-16).

211.   In a September 2020 email, a Google employee explained that Google was developing a

“modeling gap . . . to fill all the conversions that do not happen within the same incognito session”

(GOOG-CABR-00547295 at -295). One tool that Google uses is Google’s                      program.96

With




95
 GOOG-CABR-00547295 at -295: “Chrome in incognito still supports 1P cookies, without TTL. So, the
modeling gap is to fill all the conversions that do not happen within the same incognito session”.
96
  GOOG-CABR-04959606 at 609: “Incognito: Users in incognito mode usually don’t sign-in with gaia,
thus their clicks/conversions are all sign-out. Those sign-out XD [cross-device] convs are already
recovered by           XD modeling.”



                                                                                                  86
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(GOOG-CABR-03670580). See Appendix F for a discussion of                    as well as other cross-

device conversion modeling tools used by Google.

E.4 Google has attempted to circumvent the blocking of Google tracking beacons by

Firefox’s private browsing mode and blocking of cookies by Apple’s Intelligent Tracking

Prevention (ITP)

212.   As discussed above in Section A, Firefox private browsing mode attempts to block, by

default, all third-party trackers, including Google tracking beacons. Rather than praise Firefox for

actually attempting to provide users with a private browsing experience, or adopting similar

functionality for Chrome Incognito, Google has viewed Firefox private browsing as a problem—

focusing on how its features diminish Google revenues. For example, in a July 2019 internal

Google presentation titled “Firefox Private Browsing”, Google employees discussed a “conversion

tracking gap in FF private browsing” and the estimated impact of “           of Google’s revenue”

“once google.com gets blocked by FF” (GOOG-CABR-04695140 at -143, -148 and -151). The

Google presentation specifically discussed ideas for a “short term client side fix” as well ideas to

implement “ground-truth for modeling” (Id. at -143, -151). With this presentation, Google

employees acknowledged that Google was still generating revenues from its collection of Firefox

private browsing sessions, and Google’s desire to continue generating those revenues even once

Firefox made changes to no longer permit Google to collect that information.

213.   The work around Google devised to circumvent the protections afforded to users with

Firefox private browsing mode is to send conversion tracking information to a google.com domain

that is not blocked by Firefox (GOOG-BRWN-00027314 at -320). For example, I have observed

conversion tracking information being sent to Google even in Firefox private browsing mode. As




                                                                                                 87
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shown in the screenshot below, visiting paypal.com while in Firefox private browsing mode,

conversion information sent to google.com is not blocked (this is highlighted in the red box below).




214.   Google’s circumvention of the Firefox private browsing protections is not an isolated

response by Google. Rather, Google has consistently responded to other browser’s privacy features

by developing work arounds. For example, in response to Apple’s Intelligent Tracking Prevention

(“ITP”) initiative, limiting tracking via cookies, Google developed and has used several work

arounds under an internal project called         (GOOG-CABR-04697357). As Google states in

GOOG-CABR-05362596 at -596:



                                                              I discuss these Google work arounds

in Appendix F.




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E.5 Analytics: Throughout the class period, Google used private browsing information to

provide information to Google’s Analytics customers and increase Google’s total ads

revenues

215.    In addition to ads (discussed above), Google throughout the class period systematically

tracked user activities and benefited from that tracking by way of Google Analytics, including with

regards to the private browsing information at issue in this lawsuit. “Google Analytics is the most

widely used analytics solution in the world…covering about               of the web” and it is “one of

the largest products at Google” (GOOG-BRWN-00424253 at -279 and at -295). As of 2021,

Google maintained                             of the total web analytics market share.97 As shown in

the figure below, as well as in internal documents throughout the class period, Google Analytics

is installed on                  of the top               websites and is a significant contributor to

Google’s                 advertising business.98 Within the United States, “[t]here are

[Google Analytics] Accounts,” and “[a]ccounts may be associated with more than one website”

(Google’s March 17 Response to Interrogatory No. 33).

216.    There are two versions of Google Analytics, one offered for free and one where customers

pay Google (Google Analytics 360), with annual revenue from Google Analytics 360 totaling over

              in 2020 and Analytics impacting                       of dollars of Google’s advertising




97
  https://www.statista.com/statistics/1258557/web-analytics-market-share-technology-worldwide/ (Last
accessed on April 11, 2022); see also Chung Tr. 139:1-5 (“That                is the market penetration
I’ve been told over the past year and a half I’ve been on the Google analytics team. . . To my
understanding, this would still be true.”).
98
 GOOG-BRWN-00490767 at -772 (Last updated Nov. 2020). Similar statistics are shown in GOOG-
CABR-00381312 at -321 (Last updated Nov. 2019), GOOG-BRWN-00491711 at -718 (Last updated
Mar. 2018), and GOOG-BRWN-00424253 at -279 and -295 (Last updated Sept. 2017).



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business. Google’s internal presentations confirm the broad adoption of Google Analytics and

benefit to Google, including:




217.   Google Analytics’ key role in generating advertising revenue for Google is reflected in

other internal documents. For example, on internal Google presentation notes: “Google Analytics

is a free service, but that doesn't stop it from making money. Rather than providing a direct source

of revenue (by charging for the service), Analytics generates more Google ad revenue. It’s pretty

simple: the more successful an advertiser considers an online ad, the more money that advertiser

is willing to spend on that ad and similar ads. Google Analytics offers the information that can

prove the success of those ads” (GOOG-BRWN-00026812 at -813). Providing advertisers proof

of efficacy is a well-established method for an advertising network, such as Google, to increase

revenues.




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218.    As discussed elsewhere in this report, Google has tightly integrated Google Analytics with

Google’s ad serving infrastructure.99 Google designed its systems so that, throughout the class

period, analytics data has been shared with ads in real time through a series of HTTP redirects (i.e.,

join beacons) shown below for targeted advertising and remarketing (GOOG-CABR-05404845 at

-855).100 Google refers to these join beacons as                  and                        (GOOG-CABR-

05404845 at -863).




99
  GOOG-CABR-04678169 (Last updated: 2013/06/19) at -169 describes Analytics and ads
(DoubleClick) integration through a “dual-beacon system” and at -170: “By including the DoubleClick
integration in analytics.js directly, we risk 'tainting' Google Analytics, which has a reputation for
anonymous web analytics tracking via first-party cookies, with DoubleClick, which does not.
100
   See Chung Tr. 111: 8-9, 21-22, 112: 13-18 (affirming Analytics client ID exists in a
with “DoubleClick or Biscotti” advertising identifiers and identifying at least three such
from GOOG-BRWN-00029378)




                                                                                                        91
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219.   Remarketing is an important part of Google’s business, and how Google makes money,

providing a way to serve targeted ads to users who have visited particular non-Google websites.

There are two types of remarketing:

      Remarketing Lists for Search Ads (RLSA) where search ads are shown on google.com to
       past visitors of non-Google websites. For example, suppose a user visits a “website that
       sells safety razors, www.wilkinsonsword.co.uk, but didn't buy. The next time they look up
       in Google, say, ‘blades’, they're shown” Wilkinson ads (GOOG-CABR-00377968).
      Standard Google Display Network (GDN) Remarketing where remarketing ads are shown
       on other non-Google websites. For example, the same user, having visited
       www.wilkinsonsword.co.uk now visits “beardedgospelmen.net, and there they’re shown
       [Wilkinson] ads about … safety razors – as [Google] assume that a website talking about
       beards is a place where people may be interested in seeing these type of ads” (GOOG-
       CABR-00377968).

220.   Google’s Analytics and advertisement tracking beacons both track users to create

“Remarketing lists” for use by Google. Users are added to particular remarketing lists based on

their past browsing activities on non-Google websites, including browsing in private browsing

modes. In the case of Remarketing List for Search Ads (RLSA), a user’s Zwieback cookie is added

to the list and in the case of Google Display network (GDN) remarketing, a user’s Biscotti cookie

is added to the list (GOOG-CABR-00377968 at -972). These lists are used during ad serving time

to serve remarketing ads to the user.

E.6 Google also used private browsing information to enhance Search revenue and develop

and improve other Google products and algorithms

221.   Google’s internal document indicates that “users exposed to display ads might search

more” (GOOG-CABR-04618590 at -593). Thus, users browsing activities on non-Google websites

not only generate Display ad revenue for Google but also generate more Search ad revenue as well.

In addition, as discussed earlier, remarketing is a powerful tool to increase search ad revenue based

on users’ past visits to non-Google websites.



                                                                                                  92
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222.    Google likewise admitted that “Google has used some of the data it collects, including

some of the data at issue in this case, to improve its services.” (Google’s Response to Request for

Admission No. 47). I am not aware of Google providing any list of all of the ways Google benefits,

such as all of the “services” that have purportedly been improved, but one key way in which

Google develops and improves its various services is with data-driven algorithms and

development.

        F.     Google Joinability: Throughout the class period, Google collected and stored
               private browsing information in ways that can be joined to other Google user
               information, but Google withheld and destroyed data that would be relevant
               to further assessing and demonstrating that joinability

223.    Based on my analysis of the case discovery, including with the Special Master process, and

my experiments, it is my opinion that Google throughout the class period and across the two classes

systematically collected and stored detailed private browsing data that constitutes what is

commonly understood to be sensitive fingerprinting data, which can be used to identify users and

join data. As Google explains, “Fingerprinting is worse than cookies in some aspects: (1)

fingerprinting normally doesn’t store anything onto your computer, so you can’t clear or reset the

tracking data, (2) fingerprinting is done silently without users’ consent” (GOOG-CABR-04006287

at -288). Regardless of whether or not Google actively “fingerprints” its users, the voluminous

amount of fingerprinting data it collects and stores – including from private browsing – certainly

allows data to be tied to individual users.

224.    Some of the fingerprinting data collected by Google from private browsing throughout the

class period include IP address, user agent, type of browser, device, screen resolution, location,

time zone, language, cookies and more.101 My opinion that this constitutes fingerprinting data is


101
  For example, from the Second Iterative Search, production 2022-03-14 Brown v. Google -
AEO, file                                               contains Plaintiff William Byatt’s Incognito



                                                                                                       93
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consistent with the sworn testimony by several Google employees as well as many internal Google

documents discussing private browsing and fingerprinting, as discussed below.

225.    For example, one Google internal document confirms that information obtained from

Incognito browsing can be used for fingerprinting, noting “Incognito mode and regular mode

should not be linkable…This is to some extent violated by fingerprinting” (GOOG-BRWN-

00047390 at -392). Further, Google’s internal documents acknowledge that “The idea that users

behind Zwieback UID is not identifiable if one were to use all of the data we have available is

laughable.” (GOOG-BRWN-00433503 at -503). Discussing this document during his Rule

30(b)(6) deposition, Google engineer Michael Kleber explained that “from the point of view of

Zweiback [Zwieback] cookies, . . . they work the same in Chrome Incognito mode and Chrome

regular mode and other browsers. It’s all the same” (Kleber March 18, 2022 Tr. 66:16-23).

226.    Another internal Google document explains that “data collected while Incognito is strictly

NOT anonymous. When using a Google service, data (e.g. search queries) is tied to a

pseudonymous ID (e.g. zwieback) that is then stored with the user’s IP address, user agent, and



browsing data based on a search of his Biscotti ID:                             within the
                     . Each event record includes the time the event is generated, the URL of the page
within the             field, IP address within the “                field, “Referer:”, “UserAgent:”,
language within “                  and                fields indicating the language is English, Biscotti
cookie value that Google used to find this log entry, and other information, such as ad query and ad click
information. As another example, an Analytics log called                         contains Plaintiff William
Byatt’s Incognito browsing data based on a search of his Analytics CID: 3                            . This
log, from production 2022-03-15 Brown v. Google -                            – AEO, contains visited

                                                                    among many other pieces of
information. Analytics CID                          and Biscotti ID                       are shown to
be associated with the same event in production 2022-03-25 Brown v. Google – Analytics          data –
AEO, file                                                                                           ”,
Row 88. Column M of Row 88 contains the CID and Column A of the same row contains Biscotti cookie
value:                                                                                            .
Google shows that the Biscotti ID embedded in this cookie is                       in “2022-03-02
Brown v. Google - Decode IDE.pdf”, page 1, item 9. Additional support information can be found in
Appendix H.7.



                                                                                                         94
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other metadata (everything in the gwslog proto). While we don’t connect it to a user’s identity and

there are many internal policies to ensure it does not happen, it’s not impossible. Further, under

the GDPR [General Data Protection Regulation], data tied to unauthenticated identifiers IS

considered to be personal data… That means everything a user does while signed out of Google

services is considered to be personal data” (GOOG-CABR-00501220 (emphasis in original)).102

227.    IP address and User Agent are important fingerprinting data, which can be used to identify

users. As Google explains, “IP address is a viable tracking vector and as such poses a risk to the

privacy of users browsing the web.” (GOOG-BRWN-0072761). Google’s internal documents

acknowledge that “IP addresses often uniquely identify users” (GOOG-BRWN-00613409), “IP

address + UA (user agent) can reveal individual user with high probability.” (GOOG-CABR-

03611484 at -485), “the User-Agent and IP address will often uniquely identify a particular user’s

browser” (GOOG-CABR-04006287 at -288), and “’combining IP with other data’ can be trivial

when it comes to things like your user agent” (GOOG-BRWN-00157001) and “connect regular

and incognito sessions…doable using IP addresses and if Google turns evil” (GOOG-CABR-

05737898 at -901). These documents are consistent with my analysis and opinion that Google can

readily use the data at issue in this lawsuit (collected from private browsing during the class period)

to identify users and their devices.




102
   See GOOG-BRWN-00572220 at -248 (noting that IP addresses “can be used as join keys for linking
Incognito:Zwieback activity to GAIA”); GOOG-CABR-00228748 at -48 (Within Incognito, “[u]sers who
perform a Google search, it is logged against a Zweiback (lifetime    ) that is identifiable by IP
address”); GOOG-BRWN-00467569 (“Incognito mode … does not anonymize IP address despite a
common misconception that it does”); GOOG-BRWN-00613802 (“[W]e actually keep all of these
zwieback-keyed logs tied to IP address for          ”).



                                                                                                    95
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228.        There are two versions of IP addresses in common use throughout the class period – IPv4

and IPv6.103 IPv4 has 32 bits, which defines approximately 4 billion IP addresses (2^32). IPv6 has

128 bits, which defines approximately 3.4 x 1038 IP addresses (2^128) – equivalent to

approximately 43 quadrillion-trillion IP addresses for every individual in this world. Google

collects statistics about IPv6 usage and reports that within the United States, IPv6 adoption rate is

approximately           .104

229.        Within Google’s various logs and storage, IP address, particularly IPv6, can be used to link

data from different logs storing signed-out data collected from private browsing and non-private

browsing modes to a particular user’s device and to the user’s signed-in identity and data. As

Google explains, “Access to third-party [non-Google] content (such as advertising) hosted on a

page can be correlated by IP address. For instance, if ads hosted by adtech.com [for example,

Google] are displayed on several sites (say foo.com and bar.com), adtech.com will be able to

correlate those ad views across pages by source IP addresses. Furthermore, if the user visits

adtech.com with the same IP address, any identity information from that visit (login, cookies) can

be correlated with ad views on third-party [non-Google] sites, even if the browser is configured to

block or periodically flush third-party [non-Google] cookies.” (GOOG-CABR-04215325 at-328).

During his deposition, Google engineer Michael Kleber described IP address as “one [] tool that

could be used to recognize the same browser as it visits different websites” and predicted that as

“third-party [non-Google] cookies go away,” actors who like “collecting [] cross-site activity”

might use IP addresses to do so (Kleber January 14, 2022 Tr. 74:17-75:8). And Brian Rakowski,




103
      https://www.google.com/intl/en/ipv6/statistics.html (Last accessed on April 11, 2022).
104
      Id.



                                                                                                     96
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the so-called “Father” of Incognito, admitted that IP address can be used for fingerprinting

(Rakowski Tr. 50:16-18).

230.    Different devices from the same household may share the same public IPv4 address. These

devices can be differentiated by their User Agent – which identifies the type of device (Windows,

Mac, Android, iPhone, etc.), browser (Chrome, Edge, Firefox, Safari, etc.) and version.105 In

addition, browsers such as Chrome use User Agent Client Hint (UACH), which specifies the

browser brand name (e.g., “Google Chrome”, “Microsoft Edge”, etc.).106 Under typical usage

scenarios, it is practically impossible for two different users to have the exact same combinations

of IP address and User Agent at all times during the class period. Google engineer Michael Kleber

testified that “the user-agent string is automatically included in every request that the browser

makes to a web server. And if your hope is limiting the amount of, like, finger-printable

information that might be learned about a web browser, then that's sort of a worst-case scenario,

right? Here's a bunch of information, it might be different on [the] different browsers [of different

users], and it's, like, automatically sent and given out to every web server that the browser talks

to” (Kleber January 14, 2022 Tr. 161:3-13 (emphasis added)).

231.    One metric for user identifiability is called entropy, measured in number of bits of data

needed to uniquely identify a person. With a little less than 8 billion people on earth, 33 bits of




105
   GOOG-CABR-04639899 “User agents identify themselves to servers as part of each HTTP request via
the `User-Agent` header. This header's value has grown in both length and complexity over the years…
There's a lot of entropy wrapped up in the UA string that is sent to servers by default, for all first- and
third-party requests. This makes it an important part of fingerprinting schemes of all sorts, as servers can
[passively](https://w3c.github.io/fingerprinting-guidance/#dfn-passive-fingerprinting) capture this
information without the user agent’s, or more importantly the user’s, awareness or ability to intervene or
prevent such collection.”
106
   https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/Sec-CH-UA (Last accessed on April
11, 2022).



                                                                                                         97
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data is needed to uniquely identify a person (2^33 = 8.6 billion).107 With around 330 million people

in the United States, 29 bits of data is more than sufficient to identify a person (2^29 = 537 million).

Google engineers measure that IP address alone contributes to                      of entropy (GOOG-

BRWN-00601937).

232.      Because of its “highly identifying surface”, Google engineers “propose[d] NOT recording

the client’s public IP address” (GOOG-CABR-00059774 at -780). Similarly, Google’s Privacy

and Data Protection Office proposed “masking IP addresses” within Chrome Incognito “to deliver

stronger guarantees to users” such that “the user’s behavior would be private with respect to their

ISP and origins, as well as to Google to the extent possible” (GOOG-BRWN-00650016 at -16).

Testifying about this document, Google engineer Michael Kleber described how a “goal” of this

proposal was to “keep[] your activity from being observed by somebody who can watch the

Internet traffic coming or going to your browser (Kleber March 18, 2022 Tr. 43:20-44:4).

233.      However, Google has continued to collect and store IP addresses in logs, including IP

addresses that Google collected throughout the class period from private browsing. Together, IP

address and User Agent “carries             ” of entropy (GOOG-CABR-04635379 at -380), which

is more than sufficient to uniquely identify individuals in the United States. And this does not even

account for cookies, screen resolution, and the myriad other information Google collects from its

users and stores on Google’s servers. Google’s internal documents recognize that “[a] typical user's

browser currently sends enough entropy to allow for fingerprinting, regardless of what GWS IDs

we send” (GOOG-CABR-00487012 at -022). In other words, even without any Google identifiers,

Google’s logs contain enough high-entropy data to re-identify a person whose activity has been

tracked, including those users who were in a private browsing mode, such as Chrome Incognito.


107
      GOOG-CABR-00800511 at -512:            of information is enough to specifically identify a person”



                                                                                                       98
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234.    As Google explains in GOOG-CABR-04417613 at -616, IP address is the join key across

“Authenticated (i.e gaia)” and “unauthenticated (zwieback, biscotti…)” ID spaces. This is

corroborated by the data obtained through the Special Master process. For example, GOOG-

BRWN-00819830 shows Plaintiff Jeremy Davis’s Google Account ID:                                   , name,

email address, IP address:                    and user agent.108 This same IP address and user agent

are logged in his GAIA, and Biscotti (display ads) logs.109 On a different device, Mr. Davis’s

Zwieback (search ads) and Biscotti logs containing Incognito traffic on non-Google websites while

he is not signed-into his Google account also contain the same IP address and user agent.110 As

another example, the same IP address and user agent are logged in GAIA, Biscotti and Zwieback



108
   Several different user agent strings are associated with Mr. Davis’ IP address                 depending
on the device he used and the type and version of the browser at the time of his logged activity. Each IP
address and user-agent string pair is associated with a timestamp in GOOG-BRWN-00819830. For
example, Timestamp:                                ; IP Address:              ; Activity:      ; and User
Agents:

109
   For example, a preserved GAIA log:                                                       contains a
           field in row 2 equal to           . This integer is converted to IP address
https://www.browserling.com/tools/dec-to-ip. The same row contains “user_agent:

                     Produced from the First Iterative Search in the Special Master process, GOOG-
BRWN-00826550 contains Mr. Davis’ signed-out data in                    associated with Biscotti ID
                   which contains the same IP address and user agent. For example, row 2 of
GOOG-BRWN-00826550 contains IP address in RemoteHost: "                    and UserAgent:
"
                                          The user agent corresponds to a Windows device and
Chrome browser.
110
  For example, from the Second Iterative Search, production 2022-03-14 Brown v. Google -
AEO, Zwieback log                                          and Biscotti logs

                                     , and                                            all contain the same
IP address in the RemoteHost field as                  and the same UserAgent:

                                              These logs contain data from Incognito sessions while
Mr. Davis was not signed into his Google account. The user agent corresponds to a Mac device and
Chrome browser. Additional support information can be found in Appendix H.8.



                                                                                                         99
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logs while Dr. Dai is in Incognito mode and not signed into Google.111 Thus, while Google’s

Zwieback and Biscotti cookies are “pseudonymous” identifiers (e.g., Kleber January 14, 2022 Tr.

47:18-48:15), it is possible to re-identify the user these IDs are associated with using IP address

and user agent string, as demonstrated by the analysis I conducted in this case.

235.       IP address is also the join key between private browsing and non-private browsing data.

For example, Google engineers explain that “Currently we are logging all user activities in

incognito mode server-side, and that is more or less linkable to users signed-in data” (GOOG-

BRWN-00184875), “we already consider it possible for Google to join regular and Incognito

sessions” (GOOG-CABR-00489377 at -384), and “IP can be used to join the authenticated and

incognito sessions” (GOOG-BRWN-00157001); see also McClelland Tr. 212:13-212:24 (“Q. Do

you still agree with the statement, it’s possible for Google to join regular and Incognito sessions?

. . . A. As far as I know, assuming nothing has changed, then, yes, it should still be possible.”).




111
      For example, GAIA log from the First Iterative search
                                                      ” contains a          field in row 2 equal to
               which is converted to IP address               The same row contains user_agent:

                                                Also from the First Iterative Search process, GOOG-
BRWN-00826529                              GOOG-BRWN-00826530                           , GOOG-BRWN-
00826531                       , GOOG-BRWN-00826532                          , GOOG-BRWN-00826534
                         GOOG-BRWN-00826535                                                , GOOG-
BRWN-00826536                              , GOOG-BRWN-00826537                                    and
GOOG-BRWN-00840745                              contain Dr. Dai’s Incognito signed-out data associated
with Biscotti ID                        . GOOG-BRWN-00826130                                  contains Dr.
Dai’s Incognito signed-out data associated with Zwieback ID 0                         All of these
Incognito signed-out Display and Search ad logs contain the same IP address and user agent as that in the
GAIA log: RemoteHost:                  or client_ips:              and UserAgent:

                                               The user agent corresponds to a Mac device and Chrome
browser. Additional support information can be found in Appendix H.9.



                                                                                                       100
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236.    Continuing with the previous example using Mr. Davis’s data in Google logs, it is apparent

that the same IP address and user agent appear in both Chrome Incognito logs and regular mode

logs – permitting joinability and identification.112

237.    I was not provided access to data concerning all class members, and the Special Master

process only provided limited data access. Based on that analysis, it is clear to me that Google can

link private browsing data and identify class members based on the data Google stores. One issue

in that respect, however, is preservation. Had Google preserved IP addresses and User Agent

strings at the beginning of this litigation, it would have been possible to use IP addresses and User

Agent strings to join a user’s private browsing activities on non-Google websites with the user’s

Google account identity for a longer period of time. However, I understand that Google did not

preserve this information and that Google has continued deleting data even after this lawsuit was

filed in June 2020.

238.    Not only did Google collect sensitive and fingerprinting private browsing data throughout

the class period, which can be used to join user data across ID spaces and across private browsing

mode and non-private mode, it has also stored the data in a way that can be linked to a user’s

identity even if the user is not signed into Google. This is clear from Plaintiffs’ data obtained

through the Special Master process and Google’s internal documentation. For example, in mid-

2016, Google began a multiyear overhaul of their Display Ads system to enable the association of


112
   For example, from the Second Iterative Search, production 2022-03-14 Brown v. Google -
AEO, “                                           (search log) and
                                            (display log) contain Mr. Davis’s browsing data in Chrome
regular mode while he was not signed into his Google account. Both logs contain the same IP address
within the “               field:              ". This is also the same IP address shown earlier in his
Incognito data logs from the Second Iterative Search. Furthermore, the same User Agent

                                               appears in these Incognito and Regular mode data logs as
well. Additional support information can be found in Appendix H.10.



                                                                                                      101
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user data to their Google account information. This effort was codenamed                  (abbreviated

as

239.    Under the               architecture, Google chose to store encrypted Biscotti IDs within

GAIA logs, with the decryption key being available for              ; similarly, Google chose to store

encrypted GAIA IDs within Biscotti logs (GOOG-CABR-04773853 at -888). As one example, if

an Incognito user browses non-Google websites while signed out of Google, but later within the

session signs into a Google account, then a subsequent ad request could “carry both the Gaia cookie

and th[e] signed-out [Biscotti] cookie” (March 18, 2022 Berntson Tr. 113:2-9).113

240.    Google engineers point out that this Google storage structure deterministically links GAIA

and Biscotti (thereby linking a user’s pseudonymous identity to their Google account identity):

“narnia will happen at some point (linking gaia and biscotti)” (GOOG-BRWN-00161432 at -434)

and “deterministic join between GAIA and Biscotti ID: After the                  look back window a

linkage between G->B can be obtained based on data that is <                          (GOOG-CABR-

04724084 at -106). Google engineers also indicate that Google executives could authorize the

Biscotti IDs stored in GAIA logs to be decrypted: “display ads personal logs contain encrypted

biscotti, so you could technically see if the same biscotti exists in [both] personal and non personal

logs” (GOOG-BRWN-00471401 at -401). Just because an ID is encrypted does not mean it is

secure. Google acknowledges that “we don’t yet have a crypto-erasure guaranteed key

management system fully integrated with all ID joinability-sensitive encryption keys. This will be

critical in our ability to guarantee the satisfaction of privacy safety constraints in terms of avoiding


113
   When asked during his deposition “would it bother me if I had learned that there was a pseudonymous
cookie that was attached to the user’s account,” Martin Shelton, former Google user experience
researcher, responded “I personally... wouldn’t be in love with that.” Shelton Tr. 100:9-16. With at
Google, Mr. Shelton authored a document titled “Five Ways People Misunderstand Incognito and Private
Browsing.” See GOOG-BRWN-00061607.



                                                                                                    102
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risks due potentially to internal misconfiguration and/or external inquiries.” (GOOG-CABR-

04706890 at -893 (emphasis omitted)).

241.   Through a series of slides in GOOG-CABR-04773853, Google engineers showed that

Google’s            architecture with GAIA and Biscotti IDs stored in the same log (called Option

2) had significant subpoena and joinability risks and an alternative implementation (Option 1) was

markedly superior in these respects. However, in choosing between the more privacy preserving

Option 1 vs. the less costly Options 2, Google chose to implement Option 2 irrespective of its

privacy risks (GOOG-CABR-04724084 at -106).

242.   Google’s collection and logging practices create a risk for users that Google will be

required to produce their private browsing activity in response to a subpoena. Google retains

encryption keys for Biscotti identifiers from signed-out browsing in Google’s logs for signed-in

browsing (“p-logs”) for           (GOOG-CABR-04773853, -854, -888). With those encryption

keys, Google can decrypt Biscotti identifiers in personal logs, and then search the signed-out logs

for that same identifier (GOOG-CABR-04773853, -854, -867). Because the encryption key

facilitates this join between signed-out and signed-in data, Google would be required to produce

signed-out data for a Google account-holder in response to a subpoena for that account (GOOG-

CABR-04773853, -54; GOOG-CABR-03652549, -552). Google recognized the risk that its data

collection and logging practices would require it to produce this signed out browsing activity—

including private browsing activity (GOOG-CABR-03652549, -552-53). I have not found in any

of Google’s records from Google’s production that indicate Google implemented double-logging

for ads or another privacy feature that would prevent this outcome.

243.   Google’s              storage architecture has been demonstrated through Plaintiffs’ data.

Initially, Google asked the Special Master to withhold the production of a particular GAIA log




                                                                                               103
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                                                 . When data from this log was finally produced to

Plaintiffs on February 23, 2022, it was apparent that data from this GAIA log can be associated

with Biscotti IDs. In fact, Google named each produced file not by the GAIA ID but by the

corresponding Biscotti ID.114 Through a user’s GAIA ID, Google can obtain the user’s Biscotti

IDs that were generated during the same browsing sessions, even if the user is signed out of Google

during a portion of the same sessions.

244.     This is another example of where the lack of preservation impacts the potential to identify

class members individually. Although this can be done for some period of time, had Google

preserved Biscotti encryption keys, which are used to decrypt the encrypted id,115 it would have

been possible to locate additional user’s signed-out private browsing activities via their GAIA IDs

for users who may have, on occasion, signed into their Google account in a private browsing

session. However, Google did not preserve this information.

245.     In addition to IP address, User Agent string and GAIA IDs, another way Google’s logs link

user identity to signed-out private browsing data is through signed-in identities on non-Google



114
   For example, from the First Iterative Search, production 20220223 Brown v. Google - personal-
                           GAIA log “
contains “gaia_id:                ”. This GAIA ID belongs to Plaintiff Jeremy Davis as discussed in the
running example. His Biscotti ID appears as                   within the same log. The file name of the
                                       GAIA log contains the decrypted Biscotti ID:
                       . GOOG-BRWN-00826401 contains Mr. Davis’s signed-out data in
                   associated with the same Biscotti ID and the same IP address and user agent. As
another example, GAIA log                                                                    contains
“gaia_id:                 with the encrypted version of Biscotti ID                          stored within
the same log. This GAIA ID belongs to Dr. Dai. GOOG-BRWN-00826529 contains her Incognito
browsing data in                       associated with the Biscotti ID                          Additional
support information can be found in Appendix H.9.
115
      GOOG-BRWN-00433264 at -272:
                                                        and GOOG-CABR-04773853 at -867 “Google
could be compelled to decrypt all Biscotti IDs in P-logs records for this GAIA ID and then have to return
all records (for all time) with those Biscotti IDs.”



                                                                                                      104
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websites such as Publisher Provided ID (“PPID”) and Analytics User ID.116 Throughout the class

period, when a user logs-in on non-Google websites that enable signed-in identifiers, whether in

private browsing or non-private browsing mode and on any browser and device, the same identifier

is associated with the data Google collects from a user’s browsing activities on that website.

Google further logs all such data within the same logs and uses these data for serving personalized

ads. As a senior Google Ads engineer testified, “if the same PPID is supplied by the same publisher

in a subsequent user interaction, the same mapping entry will be used to ensure the same PPID is

mapped to the same Biscottis ID. . . . [O]nce the mapping entry has been created in subsequent

times,      will be looking up that entry and therefore obtaining the same mapped Biscottis value

for subsequent uses” (Liao Depo. 44: 22; 48:24 - 49:2). Google then stored these data in logs

along with other detailed fingerprinting information tied to the users and their devices, including

IP addresses, User Agent, cookies and time stamps.117 Similarly, Google stores Analytics User ID

and other identifiers such as Analytics CID and Biscotti cookies within the same logs.118 Thus,

through a user’s signed-in identifiers on non-Google websites, Google can obtain the user’s

Biscotti IDs that took place in the same browsing sessions.

246.     Using Mr. Davis’ Analytics data from the Second Iterative search as an example, I have

been able use his Analytics User ID to locate his Biscotti ID                                  generated


116
  Both PPID and Analytics User ID have been in use since at least 2014 (GOOG-CABR-03622146,
GOOG-CABR-04691939 at -940).
117
   See Halavati Depo. 147: 22-25 (“Besides the ID and zwieback cookie we also record the browser site,
which is the user agent” (referencing GOOG-CABR-00832014)); Liao Depo. 69: 18-20 (“I believe there
generally is a timestamp associated with entries in the [PPID Biscotti] mapping table.”).
118
   “2022-03-17 Brown - Letter to Mao re Chung Deposition Follow-up” acknowledge that the Analytics
User ID, CID and Biscotti ID are stored together in two logs:
                ” and “                                                                               see
also Chung Depo. 113: 3-9 (stating that signed-in User ID can be stored in Analytics logs with client
device ID).



                                                                                                      105
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from Chrome Incognito browsing. From the Biscotti ID, one can examine Google logs containing

X-Client-Data or the maybe_chrome_incognito field to determine Mr. Davis’ Chrome Incognito

browsing activities.119 In addition, I have been able to use the same Analytics User ID to locate

Mr. Davis’ Biscotti ID                                  generated from non-Incognito browsing; thus

demonstrating that the same Analytics User ID can join data from Incognito and non-Incognito

browsing.120

247.       From the First Iterative Search in the Special Master process, I have observed PPID-

mapped-biscotti associated with regular Biscotti (IDE) data. For example, GOOG-BRWN-




119
   From the Second Iterative Search, production “2022-03-25 Brown v. Google – Analytics                  data
– AEO”, Google produced Plaintiffs’ Analytics data. For example, file “By
                                                                   ” row 2246 corresponds to Plaintiff Mr.
Davis’ Analytics User ID                                                ” from
Column M of the same row contains a request URL containing his Analytics CID from
                                                       ”. This same CID is found in the file
                                                                                   , for example, row 5 and
column M. The same row, in column A contains Mr. Davis’ Biscotti cookie
                                                                           . The embedded Biscotti ID in this
cookie is shown in “2022-03-02 Brown v. Google - Decode IDE.pdf”, page 4, item 33 as
                       . I have discussed earlier that this Biscotti ID is associated with
                                                          data from Incognito sessions while Mr. Davis was
not signed into his Google account. The same Biscotti ID is associated with other ads logs such as

                                                       and                                             . As
of April 11, 2022, Google has yet to produce Plaintiffs’ full data from the logs containing the
maybe_chrome_incognito field and other ads logs requested for the Second Iterative Search.
120
      For example, file
                                      ” row 2237 corresponds to Plaintiff Mr. Davis’ Analytics User ID
                                              from                        . Column M of the same row
contains a request URL containing his Analytics CID from
                              . This same CID is found in the file
                                                                    , for example, row 131 and column M.
The same row, in column A contains Mr. Davis’ Biscotti cookie
                                                                                                   The
embedded Biscotti ID in this cookie is shown in “2022-03-02 Brown v. Google - Decode IDE.pdf”, page
5, item 38 as                        . I have discussed earlier that this Biscotti ID is associated with
                                             containing data from a Chrome non-Incognito session.



                                                                                                         106
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00840745121 contains Dr. Dai’s Incognito data associated with Biscotti ID

in the                   log. Row 208 in GOOG-BRWN-00840745, corresponding to a single entry

in the log, contains 20 page of data (See Exhibit C), among which is a

                       . This indicates that PPID (which identifies a signed-in user on non-Google

websites) is joinable with the same user’s private browsing information associated with regular

Biscotti IDs in the same way Analytics User IDs are. As of April 11, 2022, Google has not

produced data from ads logs containing PPID related information from the Second Iterative Search

and subsequent searches. Google has also not produced full data from logs containing

“maybe_chrome_incognito”, nor any data from                logs containing “is_chrome_incognito”

and “is_chrome_non_incognito” fields. I reserve my rights to supplement this report should

Google produce the requested data later.

248.      Had Google preserved users’ signed-in IDs on non-Google websites, which uniquely

identify a user, as well as associated logs, it would have been possible to locate additional records

of user’s signed-out private browsing activities. However, Google did not preserve this

information.

249.      In addition to storing IDs from different ID spaces in the same log, which allows data to

be joined, Google also includes IDs from different ID spaces, such as “authenticated” IDs,

“unauthenticated” IDs and signed-in IDs on non-Google websites, within the same URL link.

Through the Special Master process, I have observed that embedded IDs within URL links, which

Google receives along with intercepted private browsing data, have been decrypted.122 This reveals



121
  GOOG-BRWN-00840745 was produced as a part of the First Interactive Search on Jan. 31, 2022 in
PROD71 containing data in            logs.
122
      2022-03-14 Brown v. Google - Dycrypted URLs - AEO.xlsx



                                                                                                 107
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a single URL link carrying both GAIA and encrypted signed-out ID. In addition, PPID, Biscotti

ID and an Ad Manager first party cookie called GFP cookie are also carried in the same URL.

Other ID combinations are also possible.123

250.    These IDs, along with other cookies and information intercepted and transmitted to Google,

reach Google servers and are accessed by a single entity called the

Google describes

                                                                                        (GOOG-CABR-

00543864 at -872).                                                           (GOOG-CABR-00543864

at -876 and -877)

(GOOG-CABR-00543864 at -884).



                                                                                      ” (GOOG-CABR-

05876612 at -612).

251.    Yet another example of joinability is through common data and information stored in the

various logs, such as common identifiers and event IDs.124 For example, search and display logs

are joinable through common identifiers stored within, such as the advertiser user ID (AUID). As

Google’s internal document explains, “AUID causing cross-id-space joinability: Each AUID can




123
   GOOG-CABR-04126517 at -517: “User IDs are an important part of an ad serving system. Despite the
simplified view that each request has a single user identifier, we have a great deal of complexity when it
comes to determining user identifier(s) for each request. Each request may come with one or more IDs
encoded in a cookie or sent as a request param. We call these request IDs. Examples include biscotti id
(from biscotti cookie), DFP PPID, iOS IDFA, and Android Advertiser ID. In some cases, we map a
request ID to a canonical Google ID at server side. Examples are mapping a mobile device ID (such as
IDFA) or PPID to a server-side biscotti ID.”
124
   For example, GOOG-CABR-03653330 at -351 and -353 describes Event IDs and other information
stored in logs as “Potential deterministic join key”.



                                                                                                      108
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be mapped to multiple Gclids. And the Gclids can be associated with different id types. Gclid is

only encrypted for signed-in clicks, so even without decryption this could lead to Biscotti-

Zwieback joinability, if the user has both Display and Search clicks” (GOOG-CABR-04076570 at

-573). Indeed, Dr. Glenn Berntson testified that an AUID is mapped to a click ID, which itself can

be mapped to a Biscotti or Zwieback (March 18, 2022 Berntson Tr. 83:19-84:4).

252.   For private browsing data that Google has already deleted from its logs, had Google

preserved a subset of that data, including the various identifiers, their encryption keys and

linkage/mapping tables, it would have been possible to link users’ signed-out private browsing

activities with their signed-in identity on non-Google websites or with their search activities.

253.   In addition to storing private browsing data in a way that can be joined with a user’s identity

-across search and display logs, Google also proactively connects collected data under a “User ID

Relation Graph” for conversion attributions and other use cases. Google explains that “User Id

relation graph is a graph … that relates user-id with other identifiers (device-id physical, aaid, idfa,

phone, email)” (GOOG-CABR-04782308 at -309). As the following figure shows (GOOG-

CABR-04732430 at -434), the User ID Relation graph links personally identifying information

with signed-out IDs, which admittedly presents a “privacy problem.”




                                                                                                    109
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254.   Google also maintains a “User Trust Graph” in connection with Publisher and Advertiser

data as shown in the Figure below (GOOG-CABR-04732430 at -445). “The user id’s are nodes of

the graph. Aggregated information about user activity and information about the user is anchored

on the node as an attribute” (GOOG-CABR-04782100 at -101). This graph effectively combines

signed-in and signed-out data. Google considers this graph to not increase its privacy risk since

the “AdSpam team already has event level logs access across id spaces” (GOOG-CABR-04732430

at -433). Thus, interconnecting user data is simply a matter of authorization control within Google.

It is not a question of whether data is joinable (it is), but simply a matter of who within Google

can have access to the joined data.




                                                                                                110
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255.    Another significant source of fingerprinting data Google collects is User Metrics Analysis

(“UMA”) data. UMA is a built-in feature in Chrome that reports extremely detailed Chrome usage

information to Google, including Incognito mode usage. This includes highly sensitive and

fingerprinting information125 that is sent to Google every                   from desktop devices and

even more frequently on mobile devices126:




125
   GOOG-BRWN-00032906, GOOG-CABR-00000015, “2021-11-18 Brown Omnibus Sheet.xlsx”, and
Plaintiff’s data.
126
  GOOG-CABR-04970427 at -433: “UMA information is sent every                     ” and GOOG-CABR-
04899841 “for mobile it is     based on if user is on wifi or cellular.”
127
   GOOG-CABR-00374449 showing UMA demographics data launched in 2019 and GOOG-CABR-
03710192 at -193: “increasing the appeal of Chrome to Gen-Z users has been identified as an important
goal for Chrome. The demographics data in UMA will be critical in that effort because it will allow us to
conduct experiments targeted at Gen-Z users as well as track their usage of various features of Chrome.”



                                                                                                      111
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256.    Prior to mid-2016, users had to opt-in to report UMA information; however, Google

changed this to opt-out in 2016 to gain “competitive edge” over its competitors.128 After this

change, Google saw UMA participation rates increase significantly.129

257.    UMA data is highly identifying and can be joined with other data logs containing user’s

private browsing information. Google engineers recognize that storing so much identifying

information with a stable UMA ID is a joinability risk and urges restraint in data collection.130 As


128
   GOOG-CABR-03710213 at -213: “Currently, across all platforms, users have to explicitly opt-in to
send usage metrics to Chrome. These usage metrics are critical for teams to understand both how users
are using Chrome and how Chrome is performing in the wild… By moving UMA to opt-out, we hope to
reduce our bias by capturing metrics for a much greater set of users, particularly those who are willing to
share data but don’t explicitly opt-in in the current system.”
129
   See e.g, GOOG-CABR-03717199 at -201: UMA opt-in rate at     on Windows and Mac and
on Android and iOS in 2014. And GOOG-CABR-04743125 at -126: % of users not opt-out of UMA
being           on different platforms and        on Android in 2021.
130
   GOOG-CABR-04293141 at -143: “I'm wondering, how do you think about the problem of stable
(hardware) entropy, specifically on Chrome OS where we collect rich hardware information (e.g.
                                                                              , ...)? Should we limit the
amount of hardware configuration information we collect? … Personally, I'm not happy with the situation
we're in, and I wonder whether we could evolve UMA in a direction that reduces joinability risks.
Concretely, I believe a large part of the problem stems from the large amount of data keyed to a single,
stable client id. … I do understand that there are significant advantages to a monolithic data set from the
data analysis point of view, but this same property that enables a wealth of analysis, also seems to



                                                                                                        112
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one Google engineer explained, “the main concern is making it difficult to join UMA and Google

logs. I agree … that fundamentally this is a policy issue. Indeed, I think joined these data sets can

already be done by malicious insiders with access to the underlying logs ... I think it's likely that

by looking at a fingerprint of activity--what sites are visited which days--for a particular client, it

will be possible to join that client ID to Google logs. In short, I agree the statement that developers

should not join UMA and Google logs is a policy. From the technical side, it's likely already

possible” (GOOG-BRWN-00232201 at -202 and -203).

258.    Another Google document acknowledges that it is possible to join a UMA ID with a user’s

Google account GAIA ID using omnibox search user action and timestamp.131 This is significant

since a user’s Google account GAIA ID uniquely identifies a class member across any of a user’s

devices, old or new. Even if a user can no longer locate their UMA ID in an old device that they

no longer possess or if the user factory resets a device, it is possible for Google to find a user’s

UMA ID by correlating the user’s Gaia logs and UMA logs with search actions and timestamps.

Knowing that detailed event level data are stored with timestamps, IP address and user agent in

these logs, it is my opinion that UMA can be joined with ads event logs.




preclude others because (in my opinion) we need to show restraint with regards to the amount of
hardware information that we can include.” See also GOOG-BRWN-00699534 ("we can consider a
scenario w[h]ere each piece of UMA stats collected is not identifying user, but putting them all together
gives a good sketch.")
131
   GOOG-CABR-00430662 at -662: “UMA/Gaia join: some worry that experimentids could allow a join
between a UMA-users Finch (Chrome install) id and a Gaia id. In fact it is probably easier to do this join
today with the timestamps of omnibox interactions which result in a search.”



                                                                                                       113
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        G.      California: Google designed its systems to provide its California-based
                employees with access to private browsing information collected nationwide,
                and Google employees routinely access that information in California

259.    Throughout the class period, Google employees in California have had ready access to the

private browsing data at issue in this lawsuit. Google designed its servers in a way that they are in

various locations but with access granted to its employees in its headquarters in California. Google

has admitted that “Google employees, including those based in California, may access user

browsing data provided they have proper access permissions” (RFA No. 44). And Google has

agreed to amend its response to RFA No. 44 to clarify that this “user browsing data” includes data

collected by Google from users’ visits to Google Analytics and Google Ad Manager, which would

include the private browsing data at issue in this lawsuit, collected across both classes and

throughout the class period.

260.    In my experience, Google’s server strategy is typical. Many tech companies have servers

located in various locations, but with access to the data from their headquarters. This is in part to

protect against power outages or other events that can impact specific geographic areas, and in part

to avoid network congestion by placing servers closer to the markets they serve. Google has

similarly designed a way to store data in various locations but to ensure access in California. This

has been the case for the entire class period, and across the various sets of data at issue in this

lawsuit.

261.    For example, Dr. Berntson’s deposition testimony shows that Google stores data in ways

that enables access to data in California. Dr. Berntson testified that “there is at least one data center

in California” (Berntson Tr. June 16, 2021, 41: 14-20). Google engineer Chris Liao testified that

Google’s data storage are accessible by employees in California (Liao December 3, 2021 Tr. 14:8-

17:8). Furthermore, both Chris Liao and Bert Leung testified that they are located in California

and that their teams in California have access to at least servers related to display ads and ads


                                                                                                     114
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identity (e.g.,        and the                                    which process all display ads traffic,

including traffic from private browsing).132 And as explained by Dr. Berntson, when an ad request

comes into Google’s systems,             analyzes all of this incoming data, and it's the thing that

basically sets all of the rules in terms of whether downstream systems can access and use user

identifiers” (Berntson March 18, 2022 Tr. 95:21-97:15).

        H.        Class Member Identification: Throughout the class period, Google collected
                  private browsing information in ways that can be used to identify class
                  members, though Google also withheld and destroyed data relevant to that
                  identification

262.    Through its tracking beacons, and throughout the class period, Google collected private

browsing information and stored this information in numerous Google logs and data repositories,

including IP address, device/browser type and version, cookies and IDs, date and time, and

websites visited as I discussed in Section D of this report. In addition, Google collected detailed

Incognito usage information as well as used Incognito signals in live traffic to determine and log

Incognito usage. Based on my analysis of the discovery in this case, it is my opinion that such

information can readily be used to identify individual class members. However, it is my

understanding and opinion that Google also withheld and destroyed relevant data that could be

used as part of that identification, including during the discovery process. The data destroyed by

Google could have been used to identify additional class members.


132
   Leung Tr. 82:21-25 (works in California), id. 18:24-25 (“UIS is part of my responsibility”), id. 263:14-
16 (“I am part of the ads infrastructure team, which part of our responsibility is . . . ownership of   ,
develop and maintain it”); id. 41:12-19 (“I am in the team who is responsible for building a dashboard to
monitor certain browser for some of Chrome . . . .”); id. 16:19-21 (supervised by Chris Liao); Liao
December 3 Tr. 15:18-16:1 (works in California); Liu Tr. 16:13-14 (Bert Leung and Chris Liao knew
about the maybe_chrome_incognito field), id. 21:23-25 (“I was working with Bert and Chris on this third-
party cookie blocking browser project”), id. 23:9-10 (“I was told by Bert to do this project”), id. 46:22-
47:1 (Bert Leung is in charge of approvals for using the maybe_chrome_incognito field); Factual
Stipulation Re: maybe_chrome_incognito (confirming that Bert Leung made the decision to implement
the maybe_chrome_incognito field within        Google logs, and that the third-party cookie blocking
dashboard uses this field); Porter-Felt November 16, 2021 Tr. 9:17-19 (business address is California)



                                                                                                       115
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263.    I understand that the Court has scheduled an evidentiary hearing to address certain

allegations regarding Google’s discovery conduct and that the Court may make certain findings of

fact and conclusions of law in connection with that evidentiary hearing. I provide the below

opinions and information based on my current understanding. As noted previously, I reserve the

right to update my opinions based on any subsequent developments, including with respect to that

evidentiary hearing and any future findings or rulings from the Court.

H.1 Google’s Lack of Production and Preservation

264.    Google’s production is deficient in several aspects as I describe in this section.

H.1.1 Lack of Production

265.    Google provided a list of over 200 Google employees with relevant information to this case

(GOOG-BRWN-00023909), but Google left out three employees whose work on Incognito

detection are important to this case. Through persistent discovery efforts (e.g., requesting

hyperlinked documents, briefing the need for additional document production, and deposition

testimony), it has gradually and eventually come to light that Google engineers Quentin Fiard, Bert

Leung and Mandy Liu are key Google employees who developed and implemented Incognito

detection capabilities on Google’s server side.133

266.    On March 4, 2022, during Mr. Leung’s deposition, Plaintiffs learned that his Incognito

detection logic was implemented in Google’s frontend server called                    in a module called

                                                      and that logic was used by Google on live traffic

(including based on the browsing activities of Class Members) to generate Incognito detection


133
   Leung Depo. 47:13-17 (“My role in this doc is to come up with the heuristic approximation of -- I
mean, part of that is to come up with the heuristic approximation to -- for identifying whether the request
may be coming from Chrome incognito”); id. at 76:19-77:6 (identifying Mandy Liu as the engineer who
implemented the browser detection dashboard and Bert Leung as Mandy Liu’s title manager). Sadowski
Tr. 87:20-23 (identifying Quentin Fiard as the engineer “who knows about              logs”).



                                                                                                        116
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Dashboard metrics (See Leung Depo. 186:25-187:6, 195:4-6).134 On February 18, 2022, Google

produced a document containing a vague reference by Mr. Leung to Ms. Liu in January 2021

stating that “You can reference how we did that before in                    (GOOG-BRWN-00845569).

It now appears that Google has been actively using live traffic for Incognito detection for some

time now since Mr. Leung’s initial Incognito detection study in the spring of 2020. This was

followed by Ms. Liu’s implementation for Google to log the “maybe_chrome_incognito” field in

various Google logs, including for display and search ads. Yet Google did not disclose these key

witnesses to Plaintiffs.

267.    Google has failed to identify many relevant log sources in connection with the Special

Masters process. Google has not responded to Plaintiffs’ questions as to what other logs may

contain fields with “incognito” in fieldnames. Similarly, Google has not responded to Plaintiffs’

questions as to what logs contain X-Client-Data header information. Even for some of the logs that

Google did disclose, Google did not provide fields contained in the logs nor field descriptions for

most of the logs. See Appendix E for a list of logs Google has disclosed to date and additional logs

that Google did not disclose that may contain private browsing information.




134
   See also Leung Depo. 183:25-184:15 (testifying that “in the previous                        analysis, there
were an online monitoring dashboard that was trying to use the information passively received in the
       server to compute that heuristic approximation maybe_Chrome_incognito bit. . . . [H]ere the
         is running both, which as I said before, is one of the Google ads front-end server which means it -
- when they serve -- where they are receiving certain requests from browsers, mainly Chrome, they may
have access to their user agent or X-Client-Data header”); id. at 184:16-185:1, 185:7-8 (describing text
reading, “"First check, from a Chrome browser; 2, Exclude Android WebView; 3, Exclude iOS"; and "4,
Check X-Client-Data"” header as “path logic being add to             previously to -- for a computation of
that approximate heuristic signal” and that, “as far as [he] can remember, those logic was added during
the                     analysis.”)



                                                                                                          117
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H.1.2 Lack of Preservation

268.      Google initially identified     log sources as relevant to this case – some with retention

period of days and others, months.135 On March 10, 2022, Google disclosed                   additional logs,

three      containing     an   “is_chrome_non_incognito”          field    and              containing        an

“is_chrome_incognito” field. These Google logs have retention periods ranging from                       to

         Three days before the close of discovery, Google further identified            logs and identified

these, as well as two previously identified logs, as containing the “maybe_chrome_incongnito”

field. My understanding is that Google has not changed the retention period of any of these log

sources for the purpose of this litigation. Instead, in March 2021, long before Plaintiffs learned

about these logs and their Incognito detection fields, Google took the position that it would be

unduly burdensome for Google to “suspend its regular retention policies on the data stored in logs

that record information received when a user visits a website that employs Google Ad Manager or

Google Analytics services” (Dkt. 119 at 3).136 I understand that Google did not at that time disclose

to Plaintiffs that Google has already been logging the “is_chrome_incognito” and

“is_chrome_non_incognito” fields since 2017 (Sadowski Tr. 70:11-18) and was in the process of

developing and implementing the “maybe_chrome_incongnito” field in                  logs.

269.      Google’s cookies and encryption keys for ID linkage purposes also expire after a preset

number of days or months.137 Also, IP addresses may be redacted from certain logs after several


135
      Data Source Information Provided Reconciliation - Brown.xlsx
136
    See id. (“Google estimates that suspending preservation of these logs—even if possible to do safely,
without jeopardizing the data or Google’s systems—would require storing over a
                                   . Even if it were feasible, suspending the regular retention periods for
the Disputed Logs and safely hosting the ever increasing data would take
                                       ).
137
   For example, Biscotti cookies expire in        or              (GOOG-CABR-04206179 at -182) and
the encryption key for the Biscotti ID in GAIA logs expire in         (GOOG-CABR-04773853 at -888).



                                                                                                          118
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months (GOOG-BRWN-00029002). While Google has enriched itself with the collected data prior

to their expiration or redaction, it appears Google did not make any effort to preserve this

information for the purpose of class member identification in this case.

270.       On or about February 28, 2022, I first learned that a set of signed-in data was preserved for

the named Plaintiffs. On March 2, 2022, Google admitted that signed-in data in          different signed-

in GAIA logs were preserved.138 There was no explanation as to why a corresponding set of signed-

out data was not similarly preserved for the Brown Plaintiffs. As I have explained in Section F of

this report, Biscotti IDs used in the same browsing sessions as the GAIA IDs are stored in GAIA

logs. Google can decrypt the Biscotti IDs at the time of GAIA data preservation to similarly

preserve data associated with the Biscotti IDs. Furthermore, GAIA logs contain IP address and

user agent information, which may be used to identify signed-out logs containing the same IP

address and user agent for preservation.

271.       Google could have preserved a set of data for the purpose of identifying class members in

this litigation, but Google did not.

          UMA data: Google represented that the raw UMA log containing UMA user-action and
           histogram data is retained for           .139 However, Google’s internal document indicates
           that Google retained this log indefinitely prior to early 2017 and changed its retention
           policy to           only towards the end of 2017.140 Certainly, this means that Google could
           have retained this log indefinitely for class identification in this lawsuit; however, they did
           not.




138
      2022-03-02 List of Preserved Data Sources.pdf
139
      Data Source Information Provided Reconciliation - Brown.xlsx
140
   GOOG-CABR-04801490 “We're planning to change the retention of Chrome UMA weblogs (raw
logs) to be       . This will specifically affect                                    log source & type.
You might remember seeing a similar email earlier in the year - where we changed retention to the current
value of



                                                                                                      119
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          Further, Google implements a sampling approach for UMA data collection. Google
          explains that “[t]he metrics team controls how many of the consenting users actually upload
          data to Google. Currently (Dec 2019) these are roughly: Android -         , Windows -
          Mac -        iOS -     ” (GOOG-CABR-04477378 at -381). Not only did Google refuse to
          retain collected raw UMA information for the entire duration of this lawsuit (deleting
          records past 1.5 years), it also did not change its sampling policy to retain key UMA
          information for US Chrome users for the duration of this lawsuit. At a minimum, Google
          could have collected UMA client_id2 from all US Chrome users, IP address, device
          information and the few user actions and histograms it uses to compute Incognito statistics.
          For example, Google could have preserved just the user actions within Incognito window
          open and exit events; as well, Google could have preserved just the histogram actions
          related to page load counts in Incognito and non-Incognito modes. Google knows what
          these metrics are and their importance to class identification; yet Google did not collect or
          retain these data.

                 Logs: Google engineer Dr. Sadowski testified that the          search location logs
          have been logging “is_chrome_non_incognito” and “is_chrome_incognito” since 2017
          (Sadowski Tr. 70:11-18). The default retention period of these logs are just            .141
          These location logs contain IP address information and other identifiers (GOOG-BRWN-
          00848368) that could be used to identify class members along with the Incognito signals.
          Google could have preserved these logs for class identification, but Google did not.

         Incognito Detection Ads Logs:
             o As discussed earlier, Google has been transmitting an X-Client-Data header in
                 Chrome regular mode and not in Incognito mode. Google logs X-Client-Data
                 information in certain ads logs, including at least                          and
                                     both of which were used by Google engineers in their log-
                 based Incognito detection study in 2020.142 It is my understanding that Google has
                 not provided information regarding the default retention period for
                                    . The                           log has a default retention period
                              143
                 of          . Google could have preserved these logs, along with other logs
                 containing X-Client-Data information for class identification, but Google did not.


141
      FINAL SADOWSKI REFERENCE SHEET
142
   E.g., GOOG-BRWN-00204684 at – 687, titled “How to Detect Chrome Incognito Mode?” and
GOOG-CABR-05280756 “While UserAgent is generally logged, HttpHeaders are not (It’s only logged in
a few log sources). In go       -monitor, I am using                    and
                        .”
143
      Data Source Information Provided Reconciliation - Brown.xlsx



                                                                                                   120
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                   In     addition,   both      of   the     aforementioned       logs     contain    an
                                                             144
                   “is_chrome_non_incognito_mode” field. This particular field is in what Google
                   refers to as                    , which is a data structure that can be shared among
                   numerous logs as listed in GOOG-CABR-04408590.145 Thus, even logs that do not
                   contain       X-Client-Data        can        be       populated        with      the
                   “is_chrome_non_incognito_mode” field for class identification purposes,
                   including                 , which stores display ad request information.146

               o Since at least July 4, 2021, Google has been logging a “maybe_chrome_incognito”
                 field into temporary ads logs.147        of these logs have a default retention period
                 of just          . Google has not informed the Plaintiffs the default retention period
                 of all of rest of the logs. Google could have preserved these logs since July 2021
                 for class identification, but Google did not.

          Logs containing user sign-in identifiers on non-Google websites:
             o Analytics User ID: Google has represented that the Analytics User ID, which
                 identifies a signed-in user on particular non-Google websites, is stored in several
                 Analytics logs.148 Many of these logs also contain Biscotti IDs as well as IP address
                 and User Agent.149 The default retention period for these Analytics logs ranges
                 between                   .150 As I have shown in Section F, identifiers in these
                 Analytics logs may be used, in conjunction with the Incognito Detection Ads Logs
                 listed above to identify class members. Google could have preserved these logs for
                 class identification, but Google did not.
             o PPID: As discussed earlier, PPID identifies a signed-in user on particular non-
                 Google websites. Through the Special Master process, I learned of PPID-mapped-

144
      2022-03-10 Brown v. Google – Fields for     Logs - AEO.xlsx
145
      The file name of GOOG-CABR-04408590 is “                           reimport list for
                                                                        ” and GOOG-CABR-00059481 at -
531 explains that “[a] proto is a way we represent data at Google! It’s essentially just a structured array,
an element in position N should always mean the same thing.”
146
    For example, GOOG-CABR-04737403 at -414 explains “                             has a
field to log     specific data. log list. Most  flows log                              . (CAT2|XFP|XFA)
                                                                                     etc.”
147
      STIPULATION REGARDING GOOGLE’S “MAYBE_CHROME_INCOGNITO” FIELD
148
      2022-03-17 Brown - Letter to Mao re Chung Deposition Follow-up.pdf
149
      See e.g., Plaintiffs’ data in 2022-03-25 Brown v. Google – Analytics         data – AEO
150
      Data Source Information Provided Reconciliation - Brown.xlsx



                                                                                                        121
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                biscotti ID in the                    log along with other identifiers such as Biscotti
                    151
                ID. This log has a default retention period of                .152 Google could have
                preserved this and other logs containing PPID or PPID-mapped-biscotti for class
                identification, but Google did not.
              o Other logs containing user sign-in identifiers on non-Google websites: Google has
                not identified other logs containing other user sign-in identifiers. Dr. Berntson
                testified that there is at least a CRM-ID or Google Ads User ID that also identifies
                signed-in users on non-Google websites. See Berntson March 18, 2022 Tr. 118:6-
                11, 130:5-7, 131:10-132:1 Google could have preserved these logs for class
                identification, but Google did not.


         Data in Logs: Not all ads and Analytics data is needed for class identification. Only a
          small subset of fields is needed including (1) identifiers, 2) IP address and user agent, (3)
          HTTP header containing X-Client-Data, (4) URL, (5) date and time, and (6) “incognito”-
          titled field (e.g., “maybe_chrome_incognito”) or field containing Incognito-detection
          (e.g., “browser_info_state” fields containing “maybe_chrome_incognito”). Google knows
          which of its logs contain Incognito signals (logs containing the X-Client-Data header or
          Incognito detection fields such as “maybe_chrome_incongnito”, “is_chrome_incognito”,
          and “is_chrome_non_incognito_mode”) and could have preserved just those logs for the
          purpose of Chrome class identification in this case.


         IDs: Google knows which of its logs contain ID linkages and mappings or join keys and
          encryption keys useful for class identification purposes and could have preserved those
          data.

H.2 Google’s Obstruction Throughout the Special Master Process

272.      Google obstructed the data production being overseen by Special Master Brush. In my

opinion, the most egregious obstructions include: 1. Not identifying certain logs; 2. Producing log

schemas that omit key Incognito detection fields; 3. Not formatting search queries and search

parameters needed to produce data; 4. Delaying Google’s productions; and 5. Failing to preserve




151
      For example, data from the First Iterative Search in GOOG-BRWN-00840745.
152
      Data Source Information Provided Reconciliation - Brown.xlsx



                                                                                                   122
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Biscotti data tied to the Plaintiffs’ GAIA data. Google’s obstruction has made it more difficult for

me to obtain relevant data.

273.      First, Google did not identify to Plaintiffs and the Special Master numerous Google logs

that Google’s own employees used to analyze Incognito traffic, as well as logs that contain fields

dedicated to detecting Incognito traffic. As I discuss in Appendix G, in 2020, Google engineer

Bert Leung undertook a log-based analysis of Incognito traffic, aiming to identify and quantify

Incognito traffic within Google’s advertising logs. Mr. Leung specifically focused on           logs:

                                                                                                 and

                            (Google’s Response to Interrogatory No. 34) and March 17, 2022

Supplemental Response to Interrogatory No. 34). Yet Google omitted the latter four logs from its

submission in response to the Court’s September 17, 2021 Order for Google to “identify to the

Special Master and Plaintiffs all databases and data logs (collectively, ‘data sources’) that may

contain responsive information” (Dkt. 273).

274.      Likewise, Google had been logging a “maybe_chrome_incognito” field in        ads logs since

at least June and July 2021.               of these log sources had not been previously identified by

Google. Google had also been logging “is_chrome_incognito” and “is_chrome_non_incognito”

fields in               location logs since at least 2017. As Google’s letter on April 1, 2022 shows,

the “is_chrome_incognito” field is used to represent “if an entry comes from a Chrome web

browser in the incognito mode” and the “is_chrome_non_incognito” field is “True if the event

originates from Chrome in non-Incognito mode.”153 Google did not identify any of these

logs in response to the September 17, 2021 order.




153
      2022-04-01 Brown v. Google - Google Letter.pdf



                                                                                                 123
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275.      Nor did Google supplement its production to include any of these missing logs even after

the Court issued another order on November 12, 2021, requiring Google to “provide a declaration,

under penalty of perjury from Google, not counsel, that 1. To the best of its knowledge, Google

has provided a complete list of data sources that contain information relevant to Plaintiffs’ claims”

(Dkt. 331, Ex. 1). This Order noted that one of the purposes of the Special Master process is

provide “Plaintiffs the tools to identify class members using Google’s data” (Id. at 4). I would have

accordingly expected Google to identify data sources that its own employees had selected to use

for the purpose of identifying and quantifying Incognito traffic, as well as the data sources where

Google had chosen to implement an “Incognito” detection field.

276.      As a result, with my involvement and input on the Special Master process, Plaintiffs did

not select any of the logs containing “Incognito” in field names nor the       additional logs Google

identified on March 17, 2022 that Google reviewed during their log-based Incognito detection

study for the First Iterative Search of the Special Master process. Had Google timely identified all

of the logs that Google studied as well as the logs with “Incognito” detection fields, and produced

complete schema for them, I would have advised Counsel to select those logs for the First Iterative

Search.

277.      Second, for the logs that Google did identify, Google omitted the incognito detection fields

from the log schema before producing them to Plaintiffs and the Special Master. For example, logs

named                                    and                                           contain    the

“maybe_chrome_incognito” field, but the schema for these logs that Google produced to Plaintiffs

and the Special Master omitted this field.154 Had the schema been properly produced by Google

with the “maybe_chrome_incognito” field, I would have advised Counsel to select these logs for


154
      See schema from the “Brown - 3.8-3.9 Field Names” production.



                                                                                                  124
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Search 1. But because Google did not provide an accurate and complete schema, Plaintiffs did not

select these logs for the First Iterative Search. In fact, for the First Iterative Search, the effect of

Google’s obstruction was that Plaintiffs did not select (and therefore did not receive data from)

any log that contains the “maybe_chrome_incognito” field. While the Plaintiffs selected one of the

logs containing the “maybe_chrome_incognito” field for the Second Iterative Search, Google has

yet to produce complete data for that log.

278.       Similarly, when Google produced schema for                                 and, pursuant to a

Special Master directive, produced a schema for                              in December 2021, both

schema omitted an “is_chrome_non_incognito_mode” field. I did not learn that these logs

contained this field until on or after March 10, 2022, when Google made a supplemental production

showing more fields in the schema.

279.      Google’s excuse for omitting these fields from the schema is that its                 tool only

includes any given log’s top-100 fields for a schema. This excuse is implausible for a few reasons.

First, as I discussed in Section D of this report, Google produced more than 100 fields for the

                       and                 , both of these logs are stored in a data repository called

            just like the other ads logs for which Google only produced the top 100 fields.155 Second,

the fact that Google later produced supplemental schema for the                              log and the

                        log shows that Google was at all times capable of producing schema with

more than 100 fields.156 It is my opinion that Google could have readily produced complete schema

for all of these logs initially. At the very least, Google could have added the “Incognito” detection


155
   GOOG-BRWN-00029378 contains some of the logs that are stored in                . In production “2022-
03-25 Brown v. Google –    data – AEO”, Google lists both                           and

156
      2022-03-10 Brown v. Google – Fields for   Logs - AEO.xlsx



                                                                                                      125
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fields to their production, and had Google done so, Plaintiffs would have learned about the

“Incognito” detection fields far sooner.

280.       In short, Google undermined the Special Master process from the very beginning by

withholding important logs altogether and redacting fields from schema spreadsheets, which made

it far more difficult to select logs for searches. And as a result of Google’s obstruction, I am still

lacking data from the            logs that contain the “maybe_chrome_incognito” field or the

“is_chrome_incognito” or “is_chrome_non_incognito” fields.157 I likewise have not received data

from the additional         logs that Bert Leung studied for his Incognito-detection analysis. Finally,

it is my understanding that Google has yet to confirm whether there are any other field names

within Google logs that contain “Incognito.”

281.      Third, Google undermined the Special Master process by not properly formatting search

queries and search parameters. For the First Iterative Search, Google did not disclose that Analytics

CID and UID searches require a corresponding web property ID. Neither did Google identify ways

for extracting PPID. As a result, when search results were either empty or non-sensical, it was

impossible for me to assess what was the cause. For the Second Iterative Search, Google

introduced an error into the search that Plaintiffs proposed for IP addresses and user agents. Google

modified the user-agent search term that Plaintiffs proposed by changing a semi-colon to an

apparent hex value, which resulted in no results being returned.158 Further, Google did not append

a “,gzip(gfe)” string to the end of user-agent search term as these strings are stored in Google’s


157
   Google has produced a limited set of data for some of the      logs containing
“maybe_chrome_incognito”. These include a limited set of live demo data (2022-03-04 Brown v. Google
- Live         Queries.xlsx) and data in selected ten fields as a way for Plaintiffs to understand the
content of some of these fields, given Google has not produced any field descriptions for these logs
(2022-03-18 Brown v. Google - Field Values.xlsx).
158
      2022-03-17 Brown v. Google - UserAgent_IP Search Script – AEO.pdf



                                                                                                   126
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logs.159 I would expect Google to know how to search its own data sources and to craft searches

to ensure they return responsive results. But Google failed to do so. I understand that Google will

correct this error in later productions, but not in time before this report is due.

282.    Fourth, Google undermined the process through its delay. According to the November 12

Order, Plaintiffs were entitled to conduct four separate, iterative searches (Dkt. 331, Ex. 1). Yet

Google completed just one of those searches before it was time for me to submit this report. Under

the order, Google should have completed the First Iterative Search of 4 by November 26, and yet

Google did not even purport to finish the First Iterative Search until February 2022. Google did

not provide any excuse for its delay aside from claiming that certain engineers were busy and/or

on vacation.

283.     Google has yet to complete the Second Iterative Search, particularly because Google

delayed in producing data where it claimed to need publishers’ consent. Google also has not

produced full data from the “maybe_chrome_incognito” logs.

284.    Fifth, Google undermined the Special Master process by first neglecting to inform the

Plaintiffs about a set of preserved GAIA-keyed data for the named Plaintiffs. This became apparent

during a Special Master live demo session when preserved data for the Calhoun Plaintiffs was

discussed. Second, Google neglected to preserve Biscotti-keyed data associated with the Plaintiffs’

GAIA-keyed data, some of which were preserved. I reviewed the production of preserved GAIA-

keyed data (GOOG-BRWN-00847947 and GOOG-BRWN-00847948), and found that it included

encrypted                 Biscotti               identifiers                marked            with

“encrypted_userid_DO_NOT_ACCESS_WITHOUT_PRIVACY_REVIEW                                        {….



159
   2022-03-25 Brown v. Google - UserAgent_IP UMA Search Script - AEO.pdf and 2022-03-17 Brown
v. Google - UserAgent_IP Search Script – AEO.pdf



                                                                                               127
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encryption_reasons: ENCRYPTION_REASON_BISCOTTI_JOINABILITY}.” Yet Google

represented that it did not search for and preserve any data tied to these Biscotti identifiers. That

data would have been relevant for my analysis, but I was unable to review that data because Google

did not preserve the data nor the Biscotti encryption key.

H.3 Class Identification

285.     Throughout the class period, Google collected private browsing information from class

members when they were not signed-into their Google accounts, and there are several ways to

identify members of both Class I (Chrome class) and Class II (Non-Chrome class).

286.     Google did not provide full access to its logs and data, with a Special Master process

focused on data for the named Plaintiffs, so I was not able to at this point individually identify

members of the two Classes – but that could be readily done in various ways using the data that

Google stores and possibly in combination with some form of notification to potential class

members.

H.3.1 Class I (Chrome Class)

287.     As I will explain in the following paragraphs Google’s internal logs and data repositories

can be queried for purposes of identifying class members.

288.     As described in more detail in Appendix G, Google has developed various server-side

signals to detect Incognito traffic within its logs. For example, since at least July 4, 2021, Google

has been logging a “maybe_chrome_incognito” field in         Google logs.160 This field is a Boolean

field, meaning that the value will always be either “true” or “false” (Liu Tr. 20:5-8). Google

engineer     Mandy     Liu,   the   engineer   principally    responsible    for   developing    the

“maybe_chrome_incognito” field, testified that it would be possible for a Google employee with


160
      STIPULATION REGARDING GOOGLE’S “MAYBE_CHROME_INCOGNITO” FIELD



                                                                                                 128
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certain permissions and access to these logs to run a query to find “every single log entry where

maybe_chrome_incognito shows up as a true” (Liu Tr. 41:25-42:12, 15:2-8). Based on my analysis

of the data at issue, I agree with Ms. Liu that such a query is possible. The      fields where the

“maybe_chrome_incognito” bit is being logged include each of Search ads, Display ads, and GAIA

ads logs.161 Accordingly, to find instances of users browsing within Incognito on non-Google

website while signed out of Google, the query for maybe_chrome_incognito = “true” could be run

on Google’s Display ads logs. Moreover, Ms. Liu built a monitoring dashboard, which “uses” the

“maybe_chrome_incognito” field and can thus be likewise used to query and isolate Incognito

traffic.162

289.      It is also my opinion that this query, whether through the logs or by way of Ms. Liu’s

dashboard, would accurately isolate traffic from Chrome Incognito users as opposed to non-

Incognito users. As described in more detail in Appendix G, Google engineers drastically

improved the accuracy of the “maybe_chrome_incognito” field over time, eventually reaching a

point in February 2022 when data from the field matched well with Google Chrome’s UMA

“ground truth” metrics for Incognito usage.163

290.      Specifically, from 2020 and onward, Google engineers working on detecting Incognito

traffic within Google server-side logs, as well as the “maybe_chrome_incognito” field, were

hoping to reach a point where the server-side detection logic would result in data showing that

          of traffic was coming from Incognito, which was the figure shown to be the “ground truth”


161
      2022-03-01 Brown v. Google - Google Letter re                  Monitoring Dashboard.pdf
162
  Stipulation Regarding Google’s ‘Maybe_Chrome_Incognito’ Field; Liu Tr. 36:16-37: 4; GOOG-
CABR-05876933 (screenshot from the third-party cookie blocking dashboard); Liu Tr. 45:5-18).
163
   See GOOG-CABR-03849022 at -022 (Google engineer Bert Leung says: “we do have more updated
stats from UMA…I believe we can use it as the ‘ground truth’ for [Incognito detection] analysis”).



                                                                                                 129
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via UMA data (GOOG-CABR-04795991 at -996). Ms. Liu and Google achieved that goal in

February 2022 after eliminating webview traffic from mobile apps164 (Liu Tr. 40:3-20). Thereafter,

Engineer Ms. Liu reported to her manager, Bert Leung, “Good news: Chrome incognito rate is

           (GOOG-BRWN-00846508 at -508). Thus, Google engineers achieved extremely high

accuracy with their Incognito detection logic. I describe in Appendix H.11 and Appendix I that the

limited “maybe_chrome_incognito” production from Google demonstrates that the field

accurately identifies Incognito data from the Second Iterative Search in the Special Masters

process.

291.      As this Incognito detection logic relies on X-Client-Data and user-agent that are readily

available in Google’s ads logs, the same logic could be applied retroactively to Google’s ads logs

containing X-Client-Data and user-agent (such as the logs Google engineers reviewed and

analyzed in their log-based Incognito detection study in 2020165) to identify class members. I

describe in Appendix H.11 and Appendix I that applying Google’s Incognito detection

methodology using X-Client-Data and user agent accurately identifies Incognito data from the

Second Iterative Search in the Special Masters process.

292.      The “maybe_chrome_incognito” field is not the only field that Google engineers have

developed to detect Incognito traffic within Google server-side logs that rely on the absence of the

X-Client-Data header. Others include “is_chrome_incognito” and “is_chrome_non_incognito.”166

As noted above, Google engineer Dr. Sadowski testified about                       logs that contain the


164
      Webview are embedded Chrome browser instances in mobile apps and are not a part of this case.
165
   Google’s Response to Interrogatory No. 34 and March 17, 2022 Supplemental Response to
Interrogatory No. 34
166
   See e.g., Final Sadowski Reference Sheet listing several         logs containing is_chrome_incognito
and is_chrome_non_incognito fields.



                                                                                                      130
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“is_chrome_non_incognito” field and two such logs that contain the “is_chrome_incognito”

field.167 These Incognito fields have been in use by Google in           logs since 2017 and are still

in active use (Sadowski Tr. 70:11-18). As discussed earlier, on April 1, 2022, Google provided the

proto comment for these fields. For the “is_chrome_incognito” field, the proto comment states

                                                                                          and for the

“is_chrome_non_incognito_field”, the proto comments states
                                     168



293.      It is possible to use the fields identified above and Google dashboards to find event-level

traffic attributable to Chrome Incognito, and those log entries can then be linked to people

(including members of the Chrome class). I explained above in the Joinability section (Section F

of this report) how various datapoints from Google log entries can be used to attribute particular

log entries to people. For example, the combination of IP address and User Agent, or signed-in

identifiers on non-Google websites (e.g., PPID and Analytics User ID), can be used to identify

users. The       logs that contain the “maybe_chrome_incognito” field as well as the

logs containing “incognito” detection fields contain identifiers that can be used to find logs

containing the same identifiers that track and store the user’s IP address and User Agent.

Accordingly, for any Google log entry where maybe_chrome_incognito is equal to “true,” the

combination of identifiers and the IP address and user agent for that log entry can be used to

identify class members. Moreover, as noted above, the IP addresses and User Agent strings can be

used to join a user’s private browsing activities on non-Google websites with the user’s Google




167
      Final Sadowski Reference Sheet.pdf
168
      2022-04-01 Brown v. Google - Google Letter.pdf



                                                                                                  131
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account identity, and Google could then notify the class member via the email address associated

with that Google account.169

294.    To be sure, this method I have outlined will only work for the whole class period insofar

as Google retained the necessary data. But I understand that Google is routinely deleting data from

many     of   its   server-side   logs,    including    from    the         logs    that   contain    the

“maybe_chrome_incognito” field. Google could have preserved a set of data for the purpose of

identifying class members in this litigation, but Google did not.

H.3.2 All Class Members

295.    There are other ways to identify class members. Because both Classes are limited to Google

Account holders, they are necessarily limited to individuals where Google currently has (or at least

at some point had) contact information. Google both before and throughout the class period

collected information from individuals when they signed up for a Google Account. Also, Google

Account holders have an associated email address, where Google will have records of that email

and other contact information.

296.    Given that Google should have email addresses for all or almost all class members (the

exception being people who canceled their Google Account and Google therefore deleted that

record), one easy way to identify class members would be by sending emails to those email

addresses. There are various ways to limit that email notification to individuals who are likely

members of the two Classes. As one initial step, notification could be limited to email accounts

associated with people in the United States, based on Google’s own records. Based on my analysis



169
   Plaintiffs can obtain their IP address and user agent from their devices, GAIA/Biscotti/Zwieback logs
and UMA logs as discussed earlier. Plaintiffs can also obtain their IP address and user agent from Google
Take Out. For example, Exhibit D contains Plaintiffs’ Google Take Out files containing their Google
Account information, IP address and user agent.



                                                                                                      132
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in this case, given the broad usage of the private browsing modes throughout the class period, it is

my opinion that most of those people would be class members. If required, it would also be

possible to use Google data to further limit email notification to accounts associated with some

private browsing behavior.

297.   In addition to email notification, or as an alternative, for Class I, Google could provide

notification to Chrome Incognito users by way of the Incognito screen. For example, if someone

started using Chrome Incognito, the screen that Google shows could be updated to provide

notification and a link to additional information.

298.   Alternatively, Google could require non-Google websites to provide pop-up notifications

whenever users visit websites for which Google will collect private browsing information,

providing another way for Class Members to receive notification.

299.   I understand that Counsel has retained a class notification expert who will offer additional

opinions regarding other forms of notification, including publication.

300.   After notification, there are various ways to assess the extent to which Google collected

private browsing information during the class period such that the person would be a Class

Member. For example, individuals could provide additional information regarding their private

browsing during the class period, or those users could provide certain identifying information to

be used to search for records in Google’s data sources. Google’s data could readily be used to

verify whether that user was a Google Account holder during the class period and otherwise assess

any response to any notifications.

301.   Both before and throughout the class period, Google assigned every Google account holder

a unique GAIA ID associated with their email address. Through the Special Master process,

Google produced the GAIA IDs of all the Plaintiffs. For example, GOOG-BRWN-00819269




                                                                                                133
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shows the GAIA ID associated with Plaintiff Chasom Brown’s email address. Google further

stores the date and time of Google account creation, IP address at the time of account creation, as

well as IP address, user agent, and date and time of Google account log-in and log-out activities in

both private browsing and non-private browsing modes (e.g., GOOG-BRWN-00817563, GOOG-

BRWN-00819272,          GOOG-BRWN-00819441,          GOOG-BRWN-00819830,           GOOG-BRWN-

00820370).

302.     Class members could provide additional information about their private browsing history,

such as by identifying non-Google websites they visited during the class period and any available

IP address and user agent information. If the IP address and user agent are not available, this

information may be obtained from Google’s own GAIA records as discussed above. The IP address

and user agent in the GAIA records would be the same IP address and user agent when the user is

signed-out of their Google account while connected to the same network. Signing into or out of a

Google Account does not change a device’s IP address and user agent.

303.     It would also be possible to search Google’s signed-out logs to verify the existence of

records corresponding to the user and establishing membership in one or both Classes. Every one

of the located records would be from browsing activities on websites containing at least one

Google tracking beacon – since that’s how Google intercepted the data contained in those logs in

the first place.

304.     If a user has signed into their Google Account in private browsing mode within the

       , then Google can also retrieve the user’s Biscotti IDs from GAIA logs and use those Biscotti

IDs to locate the user’s private browsing records while they are not signed into Google from the

Biscotti logs.




                                                                                                134
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305.   In addition, from any private browsing session (Incognito in Chrome or private browsing

mode in other browsers), a user can (with the help of technology professionals) extract cookies

from their browsers in private browsing mode (e.g., Biscotti cookies, GFP cookies and _ga cookies

containing Analytics CIDs). These cookies are unique to that private browsing session and can be

used to identify the user’s browsing activities in that session. Upon receiving these cookies, it is

possible to locate the user’s private browsing data in Google logs and identify every website visited

during that session that Google tracks.

306.   Furthermore, a user can extract their non-Google sign-in IDs (with the help of technology

professionals) from websites that they visit in private browsing mode, including PPID, Analytics

User ID and Google Ads User ID. Upon receiving these IDs, Google can locate the user’s private

browsing data from those websites in logs.

307.   I provide a more in-depth discussion of the different ways to identify the Chrome Incognito

class, including Google’s own Incognito detection methods, in Appendix G.

       I.      Attempt: Google’s attempted interception and collection uniformly impacted
               all class members

308.   Even without Google preserving or providing data on specific users and specific

interceptions, Google throughout the class period and for all class members at a minimum

attempted to intercept and collect data from those private browsing communications. Google

designed its tracking and advertising code to be embedded on any website and to be agnostic to

the specific browser and device for web browsing (Berntson March 18, 2022 Tr. 141:5-142:15).

309.   Google’s tracking and advertising code are embedded on such a large percentage of

websites that it is effectively impossible for any user browsing in private browsing mode –

including all class members in this action – to not encounter at least one Google tracking or

advertising code while browsing privately. My analysis in this case confirms that these Google



                                                                                                 135
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tracking and advertising code would have functioned in a way that at a minimum attempted to

intercept and obtain information from the private browsing communications at issue in this lawsuit

when people visited non-Google websites.

310.       Several Google and third-party studies show that Google tracking beacons are prevalent on

the Internet. A 2020 report by DuckDuckGo shows that “Google-owned trackers are on over 85%

of the top 50K sites”.170 From DuckDuckGo’s survey of 29,578 websites, Google’s display ad

“doubleclick.net is being used on sites not owned by Google ~98% of the time.”171 Another study

by Ghostery shows that in 2017 and 2020, Google was on ~64% and ~86% of US websites

respectively.172 Yet another study by Princeton University in 2016 shows that Google trackers are

on more than 70% of the top million websites.173 Google's internal documents show that Analytics

tracking beacons alone are installed on                        of the top            websites throughout

the class period—to say nothing of the many other tracking beacons at issue, such as Ad Manager

AdSense, and conversion tracking beacons.174

311.       Estimating        of websites visited in private browsing mode use at least one Google

tracking beacon, then the probability of hitting at least one Google tracking website as a function,

F, of the number of websites visited, n, is F(n) = 1 – (1 – 0.7)n. Thus, if a user visits just 2 non-


170
      https://spreadprivacy.com/duckduckgo-tracker-radar/ (Last accessed on April 11, 2022).
171
      https://spreadprivacy.com/duckduckgo-tracker-radar/ (Last accessed on April 11, 2022).
172
   https://www.ghostery.com/blog/tracking-the-trackers-2020-web-trackings-opaque-business-model-of-
selling-users (Last accessed on April 11, 2022).
173

https://www.cs.princeton.edu/~arvindn/publications/OpenWPM_1_million_site_tracking_measurement.p
df (Last accessed on April 11, 2022).
174
  GOOG-BRWN-00490767 at -772 (Last updated Nov. 2020), GOOG-CABR-00381312 at -321 (Last
updated Nov. 2019), GOOG-BRWN-00491711 at -718 (Last updated Mar. 2018), and GOOG-BRWN-
00424253 at -295 (Last updated Sept. 2017).



                                                                                                    136
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Google websites, the probability of hitting at least one Google tracking beacon is            ; 4 non-

Google websites, the probability is         ; and 10 websites, the probability is          . Google’s

own metric shows that the average number of Incognito sessions per user within just a           period

is between             (GOOG-CABR-04648434 at -442). Even if a user visits just one non-Google

website per week, over the course of the class period, it is virtually impossible to not come across

at least one non-Google website with at least one Google tracking beacon.

312.      Meanwhile, Google does not provide users with any tool to escape these Google tracking

beacons on non-Google websites. The Plaintiffs in this case are alleging that Google portrayed

private browsing mode, including Incognito mode, as the control to prevent Google from tracking

them across non-Google websites. But Google tracking beacons nevertheless uniformly attempt to

intercept users’ private browsing information during their visits to non-Google websites, including

while signed out of any Google account.

313.      Google through its pervasive tracking amasses massive amounts of user data. One internal

Google presentation explained that “Google is a data driven company” and that “Google’s mission

is to organize the world’s information and make it universally accessible and useful” (GOOG-

BRWN-00561172 at -75). That same presentation explained that Google “crossed                        of

data in 2017” and that           of [this] data is User Data”—i.e.,                 . Assuming very

conservatively that       of this user data is from users’ private browsing sessions, Google was

storing               of private browsing information. And just            is the equivalent to “about

                                                            .”175 All of the data Google collects and

stores, including private browsing information collected from users’ visits to non-Google websites



175
  https://adeptia.com/blog/surprising-things-you-dont-know-about-big-data (Last accessed on April 11,
2022).



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while signed out of any Google account, contributes to the machine learning algorithms and

modeling discussed above, which Google relies on to market itself to advertisers and generate

revenue.

314.   Google’s Supplemental Response to Interrogatory No. 5 lists “the 25 top-level domains

with the highest website traffic, as measured by total Ad Manager Ad Requests, for Ad Manager

publishers with a U.S. time zone and billing address for June 2, 2020”:




315.   Google further lists, for Google Analytics “the 25 top-level domains registered in US time

zones with the highest traffic, as measured by visits from unique Client IDs, for June 2, 2020”:




                                                                                               138
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316.   Google’s internal document GOOG-CABR-05280050 titled “Publishers by Chrome

Incognito %” lists            US publishers according to the                                field.

This document shows that Google keeps detailed Incognito usage information broken down by

country and publishers. All these websites implement at least one Google tracking beacon.

317.   Google’s MARCH 17, 2022 Supplemental Response to Interrogatory No. 33 lists

            Google Analytics Accounts and                      Google Ad Manager Publisher IDs

with at least one query and a billing address in the United States. Each of these entities may be

associated with more than one website (GOOG-CABR-04294727 states “many publishers have

50+ sites”). All these websites implement at least one Google tracking beacon.

       J.      Incognito Functionality: Throughout the class period, Google’s Chrome
               Incognito mode functioned in ways that were different than represented

318.   Throughout the class period, Google’s Chrome Incognito mode functioned in ways that

differed from how Google represented it would function.

J.1 The Incognito Splash Screen

319.   Currently, when a user opens a Chrome Incognito window, they are automatically shown

the Incognito Splash Screen below. On iOS devices, the “Block third-party cookies” section (i.e.,

              ) is not shown since                 was never launched on iOS devices (GOOG-

CABR-04986312). The                    switch is also not shown prior to May 2020 on all devices

(GOOG-CABR-04820567 at -577). Previous versions of the Incognito splash screen message can

be found in GOOG-BRWN-00555223. Google has admitted in this case that “since June 1, 2016,

a version of the full-page Incognito Notice (which Plaintiffs refer to as Incognito Splash Screen)

is designed to be shown to a user every time a user chooses to enter Incognito mode using the

Chrome browser. Based on a reasonable investigation conducted by Google to date, Google admits

that, since June 1, 2016, a version of the full-page Incognito Notice appeared to every user each



                                                                                              139
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time they enabled Google’s Incognito mode” (Google’s Response to RFA No. 26). Likewise,

Google’s internal documents state that “we show the user every time they open the Incognito tab

about what they're guaranteed” (GOOG-CABR-00429070 at 186).




320.   The Incognito Splash Screen represents that “Chrome won’t save the following

information: Your browsing history, cookies and site data, information entered in forms.” This

statement is false as a technical matter. In fact, Chrome does save browsing history as well as

cookies and site data within Incognito sessions—at a minimum for the duration of the Incognito

session. This is significant in part because that is part of how Google intercepts and collects private

browsing information – by Chrome collecting, saving and then delivering that information to

Google’s servers, where Google then stores and exploits that information. As former Google

engineer Rory McClelland explained, “I would argue that we do store it, just in memory only. One

of the main misunderstanding we have with IM [Incognito Mode] is with people not closing their


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sessions, which would be reasonable if they believed we never store the data…it does have impact

on the accumulation of cookies (and sign-ins) that allow the user to be tracked, even in Incognito

mode” (GOOG-BRWN-00699213 at -214). While the Chrome browser itself may clear certain

browsing data after a user closes all Incognito windows, Chrome certainly sends browsing

information, cookies, and site data to Google servers while the user is browsing within the

Incognito session. These data are logged in various logs and storage as I have described in Section

D of this report.

321.     In addition, since June 1, 2016, Google has consistently identified “websites you visit”,

“employer” and “internet service provider” as entities to whom browsing information may be

visible. Conspicuously, Google itself is left out from the list. “Google admits that, since June 1,

2016, the full-page Incognito Notice (which Plaintiffs refer to as Incognito Splash Screen) has not

specifically identified Google by name as an entity that ‘can view a user’s activity in private

browsing mode” (Google’s Response to RFA No. 27). Meanwhile, Google’s internal

documentation admits “Chrome Incognito mode: … does not provide anonymity/invisibility

towards any other party (such as the websites you visit, or Google)” (GOOG-BRWN-00390418 at

-418).

322.     Google’s internal documents recognize the existence of “common misconceptions about

private mode” including that it “hides browsing activity from Google” - noting “Participants don’t

want Google to collect data in Incognito, especially data tied to their identity” and that “Users are

concerned about (Google) collecting data in Incognito” and “Given that participants overestimate




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private mode protections, participants are surprised and feel misled when made aware of private

mode vulnerabilities” (GOOG-BRWN-00051239 at -267, -272, and -273).176

323.    Google has been actively tracking Incognito usage, including through UMA,

location logs, and, more recently, through the logging of a maybe_chrome_incognito bit in various

ads event logs as I have discussed earlier. As Google engineers agree, the availability of an

Incognito tracking signal “violates the concept of Incognito” (GOOG-BRWN-00845585) and “is

a PR nightmare waiting to happen” (GOOG-BRWN-00176481 in connection to discussion of the

“extra header to identify Incognito sessions” in GOOG-BRWN-00176433).

324.    The current version of the Incognito Splash Screen (shown above) contains a

               toggle that by default blocks “third-party cookies.” Google launched this feature in

May 2020 as mentioned earlier. Google’s representation that “sites can’t use cookies that track

you across the web” does not inform users that                    does not block Google’s first-party

cookies set on non-Google websites. Given the broad coverage of Google’s tracking beacons, most

highly visited websites have Google’s first-party cookies set177; thus, while                 prevents

some non-Google service providers from tracking users across the web, it does not prevent Google

from tracking users across the web. Indeed, a Google Chrome engineer characterized the notion

that Incognito prevents “ad tracking -- ad targeting and tracking” as “one of the highest

misconceptions” (Halavati Depo. 76: 1-4 testifying in reference to GOOG-BRWN-00042388).




176
  See also Halavati Depo. 77: 17-21 (affirming that for participants in study referenced in GOOG-
BRWN-00042388, the belief that incognito mode hides browsing activity from Google is one of the
common misconceptions among users).
177
   E.g., GOOG-BRWN-00490767 at -772 showing Google Analytics’ tracking beacons installed on
      of the top     websites. These tracking beacons set and use first party cookies. And GOOG-
CABR-04118321 at -336 showing first party cookies set by Google’s Ad Manager and AdSense tracking
beacons.



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J.2 Google’s Chrome Incognito mode functioned in ways that were different than how

Google represented it

325.     Google’s internal documents acknowledge that “The Incognito Problem… Incognito

Confuses People” (GOOG-BRWN-00140297 at -297 and -298), “Users value Incognito, but are

confused by it…Incognito is widely known and appreciated, but misunderstood” (GOOG-BRWN-

00166360 at -367) and “Private browsing has a problem. In both internal and external research,

we’ve seen that the privacy properties of Incognito aren’t well understood, to say the least”

(GOOG-BRWN-00164626). In describing Incognito, Google often must perform “mental and

linguistic gymnastics”178: Google CEO Sundar Pichai was told: “Do not use the words private,

confidential, anonymous, off-the-record when describing benefits of Incognito mode; These words

run the risk of exacerbating known misconceptions about protections Incognito mode provides”

(GOOG-BRWN-00048967.C at -968.C). Mr. Pichai ultimately decided that he did not “want to

put incognito under the spotlight” (GOOG-BRWN-00388293 at -293). Similarly, Google

employees lament, “We are limited in how strongly we can market Incognito because it’s not truly

private, thus requiring really fuzzy, hedging language that is almost more damaging” (GOOG-

BRWN-00406065 at -067).

326.    These misconceptions start from the name Incognito itself and the spy guy icon. As Google

engineer Christopher Palmer admitted, "the blame for people's misconceptions about Incognito

Mode is due to that name and branding, as I have argued repeatedly” (GOOG-CABR-03958924

at -925). Another Google engineer says “we need to stop calling it Incognito and stop using a Spy

Guy icon… I know the ‘incognito’ war was waged and lost years ago, but do you remember why?



178
   GOOG-CABR-04177585: “we have to do a bunch of mental and linguistic gymnastics when talking
about incognito logging”



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It has always been a misleading name” (GOOG-BRWN-00475063 at -065). Other Google

engineers   opine   “regardless   of   the   name,   the   icon   should   always   have    been

http://simpsons.wikia.com/wiki/Guy_Incognito...which also accurately conveys the level of

privacy it provides I think.” And “They didn’t believe me that people would get confused”

(GOOG-BRWN-00475063 at -065).




327.   Other Google documents state: “Yes, to begin at the beginning, I tried typing ‘define

incognito’ into Google search… seems the name itself may be a cause of confusion: ‘1. (of a

person) having one’s true identity concealed’” (GOOG-BRWN-00061607) and “common

misconceptions exist … Research tells us the current Incognito icon is not alleviating the

misconceptions” (GOOG-BRWN-00072055 at -070 and 071). Studies have also shown that “many

users believe private browsing gives them anonymity”, “many users believe private browsing

obscures location”, “many users believe private browsing actively blocks ad tracking”, “many

users believe private browsing prevents search engines from remembering their searches”, “most

users believe that their private browsing activity won’t be remembered by Google, even after they

sign into their account” (GOOG-BRWN-00061607), and “Users believe that they can protect




                                                                                             144
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themselves against bad actors or hackers by logging-in to sensitive accounts in Incognito” (GOOG-

BRWN-00165706 at -712).

328.   These Google-created user misconceptions lead users to “overestimate the privacy

protections that Incognito/private browsing provide, potentially putting users at risk in the

moments when they expect the most privacy. We’ve seen these misconceptions consistently in

product research, academic research, and several            studies. From the brand perspective,

Incognito mode is seen as ‘private’ but still might be overpromising (most users grasp the basics,

but there is still confusion around what it does and expectations around being ‘anonymous’)”

(GOOG-BRWN-00156752 at -788).

329.   Google’s internal documents also acknowledge: “The idea that Incognito can provide

anonymity creates a false sense of security in returning Incognito users”, that “Users may not do

the things they need to do in order to remain safe online” (GOOG-CABR-04489649 at -655). For

example, “The misconception that Incognito can obscure location can lead users to ineffectively

avoid danger…E.g., Users who are fleeing abusive partners may not take the appropriate steps to

turn-off geolocation settings because they believe that IM [Incognito Mode] is doing this already”

(GOOG-CABR-05145417 at -421 to -422).

330.   In addition to the branding message, Incognito’s features are also sources of

misconceptions. As Google acknowledges, “There is a gap between our promises about Chrome

Incognito mode, their delivery, and user expectations. This is partly because of not being able to

transfer the message to the users, and partly due to missing/incomplete features” (GOOG-BRWN-

00047399). Google engineers expressed what they wished “were different about Incognito -More

privacy, -It was more clear on what it does/doesn’t do Google and others are still tracking me –

it’s not truly private…Each tab a segregated sandbox…what happens in an Incognito tab is trapped




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in an Incognito tab (Incognito cookies can’t be read across Incognito tabs) -It was easier to

understand…-That        is   were     anonymized…-I         wish     Incognito     fulfilled   the    privacy

expectations…That it protected my data from Google and other websites” (GOOG-BRWN-

00148738 at -745 and -746). As Incognito is designed, Google certainly tracks users and does not

protect user data from Google.

331.    To the point about Incognito tabs, Google did not implement each Incognito tab as a

“segregated sandbox” such that “what happens in an Incognito tab is trapped in an Incognito tab”

and Incognito cookies are not shared across different tabs (GOOG-BRWN-00028052 at -072).

Instead, Chrome implements a shared cookie jar across all Incognito windows and tabs (referred

to as session-based tracking).179 As a “user continues using Incognito, websites can start writing

cookies and store different sort of information about the user in the browser's storage, and these

can be used for further tracking while user has not still closed the Incognito session.” As a result,

if a user goes to a website “in Incognito mode and continue[s the] Incognito session and go[es] to

that website again, they may know that [the user is] the previous person and continue serving to

[the user] as the previous person” (Halavati Depo. 78: 3-14). This means a user needs to close

every Incognito window to end the Incognito session and clear the cookies and browsing history

accumulated during the session.180


179
    GOOG-BRWN-00605636 at -636: “Closing Incognito will clear all cookies and site info related to the
session Many users are unaware of session based tracking” and Halavati Depo. 113: 10-17 (recognizing
differences between Chrome and Safari in that, in Chrome, Google “consider[s] all tabs in one window in
a common session, but in Safari, they consider each tab a separate, isolated session. . . Yes. It can result in
more privacy [in reference to question about tracking protection like Safari’s], but less functionality”
(citing GOOG-CABR-00545997)).
180
   See Halavati Depo. 81: 1-3 (confirming understanding that from August 2016 until the addition of
third-party cookie blocking in Incognito mode, incognito mode did not prevent session-based tracking
including through the use of third-party cookies).




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332.   Google’s internal document shows that “Most users are not aware of session-based

tracking”, “Majority of user [sic] expect no session-based tracking” and “Many users don’t

understand and are not aware of session-based tracking” (GOOG-BRWN-00051239 at -282). A

Google engineer wrote “another common issue we encounter is that users don’t recognize that

closing an Incognito browser window is not sufficient to clear the session tokens…all Incognito

browser windows must be closed, even minimized or background windows the user hasn’t

interacted with” (GOOG-BRWN-00410821at -826). This is a significant problem, because “There

may already be Incognito…windows open that the user doesn’t see, which could have unintended

consequences for the user if they end up sharing state with an existing Incognito…session”

(GOOG-BRWN-00410821 at -824). For example, “a previous user may have left one [window]

open and hidden, possibly getting the new user to leak data into the previous user’s accounts

without realizing it” (GOOG-BRWN-00410821at -825). While Chrome Guest mode has an “’Exit

Guest’ button in the user menu (chip in the top-right corner) which closes all Guest windows”

(GOOG-BRWN-00410821 at -826), Chrome Incognito mode does not have a button for users to

close all Incognito windows. Furthermore, “The more time [a user spends] in an Incognito session,

the more cookies and trackers are accumulated, which can make the experience less private …

Anonymity decays as you spend more time in Incognito ← hard to explain without freaking people

out” (GOOG-BRWN-00571757 at -758 and -761).

333.    Another aspect of Incognito is Google’s tracking behavior when a user is signed into their

Google account in Incognito mode. “Many users believe private browsing gives them anonymity

. . . prevents Google from seeing their activity, even after they sign into their account” (GOOG-

BRWN-00186446 at -448). Apparently, this is unknown even for Google engineers, “Incognito on

google.com… Users don’t know how Incognito works when they sign in to google.com. Neither




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do we!” (GOOG-BRWN-00166360 at -393). Unlike Chrome regular mode where a user’s account

icon shows up on every tab and window when signed-in, in Incognito mode, when a user signs

into their Gmail in one tab or window, for example, other Incognito tabs and windows do not show

the user’s Google account icon. Instead, the user sees an Incognito icon on all other tabs and

windows. See screen capture below of two Incognito windows, one overlaid on top of another. In

this example, the user is signed-into Google in the bottom Incognito window but the top Incognito

window has no indication of this sign-in activity in the other window. It would not be unreasonable

to consider the top window to be not signed-into Google; however, Google deems browsing

activities on all tabs and windows where the user did not sign into Google to be “authenticated”

and stores private communication on those tabs and windows in GAIA logs.




334.   As Google’s own study reveals, there is a fundamental “Misalignment between back-end

functionality and user’s mental models of Incognito mode” (GOOG-CABR-05163088 at -091). In

an internal presentation, a Google employee used the following image to summarize Incognito

mode (GOOG-CABR-05756666 at -684):




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       K.      Incognito Changes: Google could have changed Chrome Incognito mode to
               match user expectations and address misconceptions, but Google chose not to

335.   Google engineers appear to have understood user expectations around Incognito and called

for Google to honor that expectation: “When a user asks for Incognito, it’s a huge gift, it’s a

vulnerable moment, the user is telling us I feel at risk. We need to make a better commitment in

respecting that intent” (GOOG-BRWN-00466897). In internal Google documentations, Google

engineers also appear to frequently express exasperation about the misleading nature of Incognito.

The question raised by Google engineers is this “I know there’s sometimes a mismatch between

actual/expected behavior when users are in Incognito mode. Are we trying to realign the mismatch

by making incognito more…functionally incognito? Or by rebranding to make it clear that

Incognito doesn’t promise too much?” (GOOG-CABR-05741188 at -189). Along these two veins

– Incognito functionality and promise, Google engineers have proposed many solutions, which

would be viable in my opinion, to no avail.




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336.   One Google document states the Incognito misconceptions “could give users the false

impression of privacy in a moment when they expect it most, leading them to inadvertently share

sensitive personal data. We therefore must be bolder about saying who sees what as we browse the

web, particularly during these moments. This should begin with creative changes to naming

conventions, iconography, explanation strings, and/or the function of Incognito itself” (GOOG-

CABR-04466637). Around this “bolder” “who sees what” issue, Google could have made it clear

to users that Incognito is not protecting users from Google as illustrated by Google engineers

(GOOG-BRWN-00048773). I agree with this analysis by Google’s own engineers.




337.   Google rejected this iconography proposal, McClelland Tr. at 58:19-59:6, even though

Google knew there was a user “misconception” that “private browsing mode would protect” users

from Google, id. at 45:24-46:10, and that “[w]here there is, in any product, a gap between what

actually happens and the user’s mental model, there is a risk that the user makes a misinformed

decision around the use of their data with privacy.” Id. at 46:11–47:13.


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338.   Other engineers suggest “Rachet Down Incognito” – “Use less loaded terms and

iconography      (e.g.   ‘Temporary   Mode’,   Recycle   Icon,   or   whatever).   Simplify   the

disclosure/disclaimer as a result. Benefit: No longer over-promising and under-delivering”

(GOOG-BRWN-00140297 at -315). Some recommend that Google fix “real problems” like

“publishing exactly what data we normally collect and how we will use it, now and forever (which

we do NOT sufficiently do IMO) …” (GOOG-BRWN-00226894). Some recommend “extend

InCognito mode so that it is high privacy by default (all the privacy options are basically turned

on). This would really be the easiest way to provide users with a mode that instantly provides

them with complete privacy!” (GOOG-BRWN-00408322). I agree with this analysis by Google’s

own engineers.

339.    Still other Google engineers proposed numerous feature changes. In one document,

Google employees recognized that changes including disabling all cookies, disabling pixels,

detecting and warning users of sign-in actions or when their personally identifying information is

entered, hiding IP addresses, and disabling location sharing, could more closely align Incognito

features with user expectations (GOOG-BRWN-00152199 at -203). Another document suggests

“Set a default cookie expiration when cookies are set in Incognito…Remove user agent strings

from logs; Remove any of the data that is use[d] for fingerprinting…Warn users that logging in

makes their identity known on both Google and any other site…Fuzz data collection (timestamps,

etc) when Incognito” (GOOG-BRWN-00157528 at -528). Other feature changes included

“Incognito: Users should have the ability to opt out of personalized experiences and data sharing,

and can do so without any difficulty (that is much more effective than today)” (GOOG-CABR-

05280966 at -022), “reduce fingerprinting vectors to the point where few people are individually

distinguishable” (GOOG-BRWN-00475063 at -064), “”mask[] IP address” to “deliver stronger




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guarantees” (GOOG-BRWN-00650016), “remove the IP address, the user agent, and the cookie

ID from the logs after the Incognito session is over…I really like the idea that we eventually don’t

know that a given log entry was from an Incognito session” (GOOG-BRWN-00615433 at -434),

“We could consider dropping all incognito-mode queries from

          , or, later, not including them in

       …when a user goes incognito, we could alto-request a deletion directly after every search is

done” (GOOG-BRWN-00615433 at -435), and “We are looking at a proposal where we stop

logging data from Incognito sessions” (GOOG-BRWN-00615433 at -435). In my opinion these

approaches would be helpful and viable.

340.      One Google document titled “a few thoughtful ideas” suggests “Create a true incognito

mechanism – no tracking, no cookies, nada”, “Start all new Chrome tabs in incognito mode. Make

tracking opt in, not opt out”, and “Make it easy and simple for people to take-out their data”

(GOOG-BRWN-00847949 at -951). The custodian of this document is Lorraine Twohill, Google’s

Chief Marketing Officer. This approach matches my understanding of what online privacy means,

which Google never provided.

341.      Google was aware of the issues with Incognito long before the class period; however,

Google did not make changes suggested by its engineers. Even after this lawsuit began, Google

continued to track users in private browsing modes and used private communication data to fuel

its               advertisement business. The obvious inference I can make is that Google values

its advertising business more than the privacy of its                        of users in the United

States.




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       L.      Google can change its processes going forward and purge its systems of
               private browsing information

342.   As discussed earlier, there are various changes that Google could make that would allow

for privacy going forward, with Google no longer collecting, storing, and using private browsing

mode information.

343.   As noted above, Google has begun logging event-level data as Incognito traffic in at least

    Google logs         logs with the “maybe_chrome_incognito” field,                 logs with the

“is_chrome_non_incognito” field, and             logs with the “is_chrome_incognito” field). I

understand that Google has not clarified one way or the other whether there are any other fields

(aside from X-Client-Data) in Google logs that track “incognito” traffic. Also as noted above,

Google could run a query to locate event-level data where these fields show up as either “true” or

“false.” For Incognito events, Google can identify the associated pseudonymous identifiers on non-

Google websites and thus delete from its systems data that it should have never collected in the

first place. Even if Google is sometimes unable to distinguish between private browsing data and

non-private browsing data, they still have the ability to delete all private browsing data by deleting

any data that might be private browsing data.

344.   In addition, traces of users’ private browsing information (from Incognito mode and other

browsers) are not limited to event-level traffic within Google logs. Google has also used private

browsing information to build and improve Google’s algorithms and models, which Google

continues to use. To prevent further benefits from Google’s past collection of private browsing

information, these Google algorithms and models would need to be deleted and rebuilt—this time

without any private browsing information.

345.   For example, to effectuate personalized advertising, Google’s machine learning algorithms

use various signals to predict users’ future interests (GOOG-CABR-04616196 at -221 to -223).



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Machine learning algorithms are also used extensively for serving advertisements. Relevant

machine learning tools include Sibyl for ad ranking, Laser for personalization, SmartASS for ad

selection, among others (GOOG-BRWN-00535100 at -156). These tools have benefited from and

rely upon all browsing information, including private browsing information.

346.   It is not possible at this point to “unring the bell” with these tools. Instead, these tools

would need to be deleted and rebuilt or retrained, otherwise Google would still be benefiting from

the private browsing data that it collected.

347.   As another example, also as discussed above, Google relies on machine learning algorithms

to model and predict conversions, and these algorithms likewise rely on both private and non-

private browsing information. One specific tool is Google’s              program, through which

Google uses Google’s large volume of “observed conversions” to build models for Google to

estimate cross-device conversions when direct conversion tracking cannot be observed (See,

GOOG-CABR-03670580). GOOG-CABR-03669893 at -900 shows simulated or modeled

conversions are based in part on “unattributed conversions”, which may include private browsing

information. It would not be possible for Google to strip out from         or any similar tool only

the private browsing information that has been used to build and perfect it. Instead, to the extent

there is a need to address how Google continues to benefit from the conduct at issue with

and similar tools and algorithms, those tools and algorithms would need to be deleted and rebuilt

from scratch—this time without the benefit of private browsing information.

348.   These examples are not exhaustive. I understand that Counsel sought discovery from

Google concerning the full scope of Google’s “use of information collected from users within a

private browsing mode for purposes of improving and developing Google services, products, and

algorithms” (Dkt. 411-1 at 12). But Google objected, claiming that “This topic is overly broad and




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amorphous and would implicate dozens of Google business units and products” (Id.). Although I

have not been provided with information about these “dozens of Google business units and

products,” this Google statement does not surprise me. As illustrated by the above examples,

Google uses the information it collects from users’ browsing sessions, private or regular, to

improve and develop Google products and algorithms.

349.    I have not formulated any opinions regarding what, if any, changes Google might make to

any disclosures in connection with any injunctive relief.

IX.     CONCLUSION & RIGHT TO SUPPLEMENT

350.    My investigation is ongoing. I reserve the right to update or supplement this report in

reliance upon whatever further information becomes available.


Respectfully submitted by,


/s/ Jonathan E. Hochman
JE Hochman & Associates LLC
Date: April 15, 2022




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        EXPERT REPORT OF JONATHAN E. HOCHMAN

                          APRIL 15, 2022




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I.      INTRODUCTION

1.      In this Appendix, I discuss several Google tracking codes and advertising codes used

during the class period. While the names and specific features of these Google tracking and

advertising codes have changed to some extent over time, the fundamental operation of these

Google tracking and advertising codes as related to the interception of the private browsing

information at issue in this lawsuit remained consistent throughout the class period and across

class members.

2.      While I have invested significant effort to identify Google tracking and advertising code

that intercept private browsing communications and result in Google’s collection of private

browsing information, it is possible that some relevant code has either been left out of Google’s

productions or has not been explicitly identified. I reserve my right to evaluate other Google

tracking and advertising code not listed in this Appendix should Google contend other tracking or

advertising code that intercepts and collects private browsing information is somehow not within

the scope of this case.

II.     GOOGLE TRACKING CODE

3.      Google tracking code includes Google Analytics and conversion tracking code, which I

will discuss in this section.

        A.      Google Analytics Tracking Code

4.      Google Analytics is currently in its fourth generation. The first generation of Google

Analytics began in 2005, with Google’s acquisition of Urchin, a web traffic analysis tool

developed by Urchin Software Corporation (GOOG-CABR-04420253 at -260). The underlying

tracking beacon was called urchin.js. I used Urchin in 2005 and even spoke with one of the

founders of Urchin (Paul Muret) once when I contacted Urchin for technical support.



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5.      The second generation of Google Analytics, commonly referred to as Classic Analytics,

was launched in 2007 with a new ga.js tracking beacon.1

6.      In 2012, the third generation of Google Analytics called Universal Analytics was launched

along with a new tracking beacon, analytics.js.2

7.      In 2015, Google introduced the Accelerated Mobile Pages (AMP) project for faster

webpage loads in mobile browsers3 and implemented an amp-analytics tag.

8.      In 2017, Google launched gtag.js, which is referred to externally as the Global Site Tag

and internally as One Google Tag (OGT). This was an architectural update that incorporated

various Google tracking beacons under one single framework, including both Google Analytics

and conversion tracking beacons. As Google explains, “gtag.js aims to unify Google’s ads &

marketing site measurement tools under a single implementation, where advertisers can use a

common tag on their sites to implement various Google analytics and advertising product features,

such as conversion tracking and remarketing.” (GOOG-CABR-04419756 at -757).

9.      In October 2020, Google launched the fourth generation of Google Analytics and named it

Google Analytics 4 (GA4).4 Google built GA4 “on the foundation of the App + Web property”

introduced in beta the year before. While the previous generations of Google Analytics supported

websites alone, GA4 is a unified product that can be used for websites, apps, or both.

10.     By the end of 2020,                             websites had been tagged with Google Analytics

tracking beacons. These include large and small non-Google websites spanning numerous industry

verticals, including retail, travel, news media, healthcare, finance, automotive and technology. One


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1
  https://analytics.googleblog.com/2007/12/announcing-new-graphing-tools-gajs.html (Last accessed on April 11,
2022).
2
   https://onward.justia.com/history-of-google-analytics/ (Last accessed on April 12, 2022).
3
   https://blog.google/products/search/introducing-accelerated-mobile-pages/ (Last accessed on April 11, 2022).
4
   https://blog.google/products/marketingplatform/analytics/new_google_analytics/ (Last accessed on April 11,
2022).

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Google presentation (GOOG-BRWN-00490767 at -778) includes the following image identifying

some of the many non-Google websites that use Google Analytics:




11.     According to Google’s analysis, Google Analytics tracking beacons have been found on

           of the top        third-party websites throughout the class period. (GOOG-CABR-

04080249 at -251; GOOG-BRWN-00490767 at -772 and –777 and -778).

12.     In its internal documentation, Google explained that Google Analytics tracking and

collection is “[r]esponsible for working on scripts … that send the data from browsers, apps and

devices. Also responsible for receiving the data and storing it in logs.” (GOOG-CABR-05404845

at -846, emphasis removed). This 2017 Google document further explains under “Tracking”,

“analytics.js is the official script and probably the biggest source of data…AMP and Measurement

Protocol are small but important sources; ga.js, urchin.js are the legacy but supported scripts”

(GOOG-CABR-05404845 at -848).

13.     Google Analytics tracking beacons are installed on non-Google webpages using a few

different mechanisms, including: (1) copying and pasting a script on every webpage; (2)




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dynamically inserting a script on webpages; (3) using plug-ins; or (4) using Google Tag Manager.5

Google Tag Manager (GTM) is a tag management system that allows website developers to

manage, update and selectively fire tracking beacons, including Google Analytics and conversion

tracking beacons. GTM uses a gtm.js tracker and an iframe embedded on non-Google websites

(GOOG-CABR-03718295). An iframe is a HTML document that is embedded within another

HTML document. For example, iframe can be a non-JavaScript piece of code embedded in a

<noscript> section on a webpage that loads an embedded webpage. 6 It sends private

communication data to Google even when JavaScript is disabled.

14.     While a Google Analytics tracking beacon executes, it creates a unique identifier (if one

has not already been created) to distinguish the user from other users who visit the same website.7

This identifier is known as a CID (client ID), also called a device ID, and it is stored as a first-

party Google Analytics (GA) cookie (cookie name: _ga)8 and remains stable for the visitor until

the cookie is deleted or purged (Chung Depo. 122: 4-11). Because Google sets the GA cookie as

a first-party cookie, browsers that implement third-party cookie blocking would not be able to

block Google’s GA cookie (Kleber January 14, 2022 Tr. 175:23-177:11). The GA cookie contains

a version value, a random number and a timestamp of when the user first visited the website. The

random number and the timestamp together constitute the CID9 and identifies the user on the




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5
  https://support.google.com/analytics/answer/1008080?hl=en&ref_topic=1008079#zippy=%2Cin-this-article (Last
accessed on April 11, 2022).
6
  In GTM implementation, this embedded webpage is set to be invisible to the user (GOOG-CABR-05305495 at -
502).
7
  https://support.google.com/analytics/answer/6083646 (Last accessed on April 11, 2022).
8
  The GA cookie is set by analytics.js and gtag.js tracking beacons. Legacy tracking beacons set different cookies
that perform similar functions. See e.g., GOOG-CABR-03626440 at -440 and -441;
https://developers.google.com/analytics/devguides/collection/gtagjs/cookie-usage and
https://developers.google.com/analytics/devguides/collection/ga4/cookie-usage (Last accessed on April 11, 2022).
9
  “…we use the full value (<rand>.<timestamp>) as the &cid value sent to the backend” (GOOG-CABR-03793740)

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particular website they visit. 10 One of Google’s 30(b)(6) designees explained that “Google

Analytics uses CID as the first-party cookie they use to support publishers who want to understand

individual user behavior, and within Google Analytics using CID and all of the information about

a user that is keyed off CID, they can create user profiles” (Berntson June 16, 2021 Tr. 81:3-9).

15.      Subsequent browsing activities by a user on the same website are tracked by the same CID

until the user deletes the GA cookie or until private browsing tabs or windows are closed. In

Chrome Incognito, this Google tracking continues until all Incognito windows are closed.

Furthermore, this tracking process repeats for every webpage a user visits.

16.      In addition to CIDs, which can track users across a single website (or multiple domains

owned by the same entity) in the same browsing session, non-Google websites can also specify an

Analytics User ID that uniquely identifies a user logged into the website.11 This User ID is a

“unique” identifier “for a particular user” that is created by the website (“for example, if a user

logs into their account for the website)” (Google’s Response to RFA No. 14). This allows Google

to track user activities on the website across all of the user’s devices and across multiple sessions,

including different private browsing and non-private browsing sessions. In addition, Google

Analytics has a Session Unification feature that allows Analytics data (called “hits”) collected

before a user logs into a non-Google website to be associated with the Analytics User ID.12

17.      Google Analytics tracking beacons intercept private communication between the user and

the non-Google website’s server and send the intercepted communication to Google. By default,


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10
   Google Analytics supports cross-domain tracking by passing CID in link URLs. GOOG-CABR-04082275 at -294:
“When tracking sessions across multiple domains, the Client-ID value has to be transferred from one domain to the
other. To do this, the Analytics tracking code has linking features that allow the source domain to place the Client-
ID in the URL parameters of a link, where the destination domain can access it.”
11
   https://support.google.com/analytics/answer/3123662?hl=en#zippy=%2Cin-this-article (Last accessed on April
11, 2022).
12
   https://support.google.com/analytics/answer/4574780?hl=en&ref_topic=3123660#zippy=%2Cin-this-article (Last
accessed on April 11, 2022).

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Google Analytics tracking beacons send Google a hit type called pageview.13 There are many other

hit types, including screen view (content users are viewing within an app), event (user interactions

with webpage content), transaction (ecommerce transaction containing values such as revenue,

shipping cost, and tax on a purchase), item (individual products in a shopping cart), social (the

number of times users click on social buttons embedded in webpages), exception (the number and

type of crashes or errors), and timing (page load time and other custom timing information)

(GOOG-BRWN-00043738). Moreover, Google’s tracking beacons can monitor when a user

scrolls up and down a page, whether they play 25%, 50%, 75%, or 100% of a video, whether video

sound is on or muted, and other types of interactions with a page. This surveillance of the user

occurs while the page is loading and may then continue while the user is interacting with content

on the page.

18.      The default pageview hit type includes the URL of the webpage or the path portion of a

URL identifying the webpage a user is viewing14 along with many other parameters such as CID,

User ID (GOOG-BRWN-00543304), screen resolution, screen color depth, viewport size, and user

language (GOOG-CABR-00055916).

19.      Google Analytics hits are transmitted via HTTP requests to https://www.google-

analytics.com/g/collect and include information in the original GET request, including the Request

URL, User-agent, and Referrer. Appendix B shows sample Google Analytics Hits collected in

private browsing mode.

20.      As Google states to website developers (generally, without disclosing that Google will also

collect information from private browsing activities):



                                    
13
   https://developers.google.com/analytics/devguides/collection/gtagjs/pages (Last accessed on April 12, 2022).
14
   https://developers.google.com/analytics/devguides/collection/analyticsjs/pages (Last accessed on April 12, 2022).

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       “When you add … these tags to your website, you send a pageview for each page your users
       visit. Google Analytics processes this data and can infer a great deal of information
       including:
           x    The total time a user spends on your site.
           x    The time a user spends on each page and in what order those pages were visited.
           x    What internal links were clicked (based on the URL of the next pageview).


       In addition: The IP address, user agent string, and initial page inspection that analytics.js
       performs when creating a new tracker object is used to determine things like:
           x    The geographic location of the user.
           x    What browser and operating system are being used.
           x    Screen size and whether Flash or Java is installed.
           x    The referring site.”15
                

21.        Other automatically collected events include each time a customer clicks on a link, a

customer downloads a file, the first time a customer visits a website, a page scroll, when a webpage

is in focus, etc. (GOOG-BRWN-00004729). Thus, not only does Google intercept private

communications contemporaneously, but the Google Analytics tracking beacons also continue to

track user interactions with a webpage after the webpage is loaded, while the user remains engaged

with the page.

22.        Below is a screenshot of what is reported for Analytics customers. Note that Analytics

customers are not notified of whether a user’s browsing activity is generated in private browsing

mode.




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15
     https://developers.google.com/analytics/devguides/collection/analyticsjs (Last accessed on April 12, 2022).

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Figure1:GoogleAnalyticsReportShowingthatGoalCompletions(Conversions)areAssociatedwithaURL




         B.        Google Conversion Tracking Code

23.      “Conversion Tracking started its life at Google in 2003 as a project to enable advertisers to

track post-click activity on their site, and tie them back to the clicks.” (GOOG-CABR-04608745

at -746). I discuss conversion tracking mechanisms in more detail in Section E of the main report

and Appendix F.

24.      Google’s earlier conversion tracking code (e.g., conversion.js, conversion_async.js and

floodlight.js) were implemented on specified conversion pages to track conversion events (e.g., on

a purchase confirmation page).16 After Google acquired Urchin Software in 2005 (later named



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16
  GOOG-CABR-00903677 at -678 and 679; GOOG-CABR-04076570 at -574; and GOOG-CABR-05436515 at -
515

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Google Analytics as mentioned earlier), the Google tracking beacons allowed Google to not only

track specific conversion pages but also every page on their site. Google Analytics worked in

conjunction with other conversion tracking code “so that it was able to get information about clicks

that led to a site tracked by GA, and also be able to report on what Google ad campaigns drove

what conversions. However, because GA is installed on every page including the landing page

where the user came in, GA was also able to see what other traffic sources (e.g. other ad networks,

search engines, etc) drove conversions” (GOOG-CABR-04608745 at -746).

25.     Independent of other conversion tracking code, Google Analytics tracks two conversion

events: Goals (e.g., user completing a signup) and Transactions (e.g., user making a purchase)

(GOOG-BRWN-00547856 at -856). Thus, an advertiser could implement Google Analytics and

other conversion tracking code alone or in combination for conversion tracking purposes.

26.     By 2008, Google had “multiple conversion products that the advertiser has to choose

from” 17 , including AWCT (AdWords Conversion tracking), Google Analytics, and what was

called Spotlight from the DoubleClick acquisition (later replaced by Floodlight conversion

tracking in 2010 18 ). AWCT has been used by Google with Google Ads (formerly Google

AdWords) across Search, YouTube and Display. Google’s Floodlight conversion tracking is used

by Google’s Display and Video 360, Google’s Search 360 and Campaign Manager 360 for Search,

YouTube and Display campaigns. 19 With the launch of the Global Site Tag and Google Tag

Manager, AWCT and Floodlight conversion tracking codes were installed on every page, rather

than on specific conversion pages. Installing tracking code on every webpage within a website is

referred to by Google as “Site-wide Tagging” (GOOG-BRWN-00026913 at -919 to -921). 

                                  
17
   GOOG-CABR-04608745 at -747
18
   GOOG-CABR-00892610 at -645
19
   https://support.google.com/searchads/answer/2404957?hl=en and
https://support.google.com/displayvideo/answer/2697097?hl=en (Last accessed on April 11, 2022).

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27.      Google’s conversion tracking beacons on advertiser websites track conversion events

irrespective of whether an ad leading to a conversion was a Search ad, YouTube ad or Display ad.

Google’s conversion tracking uses several cookies and IDs, including Advertiser User ID (AUID)

and a non-Google website signed-in User ID (GOOG-BRWN-00716876; GOOG-BRWN-

00426704 at -736)).

28.      Google uses conversion tracking code to intercept private communication information on

Advertiser websites and send information in the original GET request, including the user’s

requested URL (the “Request URL”), the user’s IP address, the user’s “User-agent” string, the

Referer, and cookies tied to the user’s browsing activities. Appendix B shows sample intercepted

messages by conversion tracking code in private browsing mode.



III.     GOOGLE ADVERTISING CODE

29.      Google advertising code includes Google Ad Manager and Google AdSense tracking

beacons. Because Google has gone through several rebranding efforts within the class period, I

first describe the history of Google’s display ad ecosystem and then describe Google’s JavaScript

and non-JavaScript advertising code.

         A.     History of Google’s Display Ad Ecosystem

30.      Google serves both the sell-side and buy-side of the display ads ecosystem in addition to

being the ad exchange (GOOG-CABR-00543864 at -923). On the sell-side (also called the supply

side), publishers with advertisement space (also called inventory) sign up with Google services

such as the Google Ad Manager and Google AdSense to market their advertising space. On the

buy-side (also called the demand side), advertisers use a variety of Google products to manage

their advertisements and bid or purchase advertisement space, including Google Ads, Display and

Video 360 (DV360) and Campaign Manager. Sitting in the middle brokering between the sell-side

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and the buy-side are the Google Display Network (GDN) and Google’s ad exchange. The latter

was rebranded in 2018 as the Google Ad Manager on the sell-side and Authorized Buyers on the

buy-side.

31.     Google’s first buy-side product called AdWords was launched in 2000. Initially, this

enabled advertisers to specify how much they were willing to pay for selected keywords. When

those keywords matched a user’s search query, ads with higher bids were shown on the google.com

search results page. Google charged advertisers different prices for ad impressions on top, middle,

and bottom ad unit positions.20 In 2002, Google introduced cost-per-click (CPC) based pricing as

well as ad ranking based on a combination of bids and relevance score.21 I have used Google

AdWords (now known as Google Ads) since 2003 for hundreds of different clients and thousands

of different campaigns.

32.     Google launched content-targeted advertising service in March 200322 and soon announced

Google AdSense after acquiring Applied Semantics in April 2003.23 As Google explained in their

2003 blog post, AdSense was “a program that enables website publishers to serve ads precisely

targeted to the specific content of their individual web pages. With Google AdSense, publishers

serve text-based Google AdWords ads on their site and Google pays them for clicks on these ads”.

Thus, advertisers within the AdWords program saw their ads appear on google.com and on non-

Google websites.

33.     In 2005, Google offered conversion tracking for AdWords customers. As Google explained

to advertisers, “[a]fter placing a snippet of code on your site’s confirmation page (usually the


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20
   http://googlepress.blogspot.com/2000/10/google-launches-self-service.html (Last accessed on April 11, 2022).
21
   http://googlepress.blogspot.com/2002/02/google-introduces-new-pricing-for.html (Last accessed on April 12,
2022).
22
   http://googlepress.blogspot.com/2003/03/google-builds-worlds-largest.html (Last accessed on April 11, 2022).
23
   http://googlepress.blogspot.com/2003/06/google-expands-advertising-monetization.html (Last accessed on April
12, 2022).

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‘Thank you for your order’ page that users see after they purchase something), when a user clicks

on your ad, a cookie is placed on their computer. If, when they visit your site, they end up on this

confirmation page, the cookie is recognized and a conversion is reported. In your account, you’ll

be able to view conversion data all the way down to the keyword level or run custom reports to

view additional conversion statistics.”24

34.     In September 2007, Google announced a Conversion Optimizer for AdWords, which used

historical information about a campaign and automatically generated optimal cost-per-conversion

bids for each auction.25

35.     In 2008, Google purchased DoubleClick, a leading company in the image and video ad

serving (or ad delivery) business. DoubleClick’s main product line was called DART (Dynamic

Advertising, Reporting, and Targeting) and included DART for Advertisers and DART for

Publishers. As Google explained, “DART for Advertisers is an ad server that gives

advertisers/agencies the tools to plan, deliver and report on their online ads. DART for Publishers

gives publishers the tools to place ads on their site, optimize them, and assess placement to make

the best use of their ad inventory.” 26 Google subsequently released DoubleClick's DART for

Publishers for large publishers and Google Ad Manager for growing publishers. Whereas Google

was primarily in the business of selling ads, and DoubleClick serving ads, after the acquisition

Google became both the ad seller and ad server.

36.     In 2009, Google added personalized targeting called interested-based advertising (IBA) to

AdSense based on users’ browsing activities.27 By 2013, more than 2 million publishers sold their


                                  
24
   https://adwords.googleblog.com/2005/09/advertise-smarter.html (Last accessed on April 11, 2022).
25
   https://adwords.googleblog.com/2007/09/new-cpa-bidding-product-available.html (Last accessed on April 12,
2022).
26
   https://googleblog.blogspot.com/2007/06/why-were-buying-doubleclick.html (Last accessed on April 11, 2022).
27
   https://adsense.googleblog.com/2009/03/driving-monetization-with-ads-that.html (Last accessed on April 12,
2022).

                                                                                                             13
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ad inventory through AdSense.28 These publishers formed the backbone of the Google Display

Network (GDN), comprising all of the websites where advertisers can buy ads through Google.29

37.     Also in 2009, Google announced the DoubleClick Ad Exchange, “a real-time marketplace

that helps large online publishers on one side; and ad networks and agency networks on the other,

buy and sell display advertising space.” 30 As Google shows in the diagram below 31 , large

publishers and advertisers can participate in this exchange directly. Smaller publishers can

participate through AdSense and smaller advertisers can participate through Google AdWords.

The Ad Exchange (AdX) gathers bids from different AdX buyers, including AdWords, runs a

second price auction32 and returns a winning ad in real time each time an ad request comes in.

Each of the buy-side platforms may run its own auction through a process called Real-time bidding

(RTB) before submitting a bid to AdX.33




                                  
28
   https://blog.google/technology/ads/celebrating-10-years-of-shared-success/ (Last accessed on April 12, 2022).
29
   https://adsense.googleblog.com/2010/06/introducing-google-display-network.html (Last accessed on April 12,
2022).
30
   https://googleblog.blogspot.com/2009/09/doubleclick-ad-exchange-growing-display.html (Last accessed on April
11, 2022).
31
   https://static.googleusercontent.com/media/www.google.com/en//adexchange/AdExchangeOverview.pdf (Last
accessed on April 11, 2022).
32
   In 2019, Google Ad Manager changed to first price auction where the highest bidder wins
https://blog.google/products/admanager/rolling-out-first-price-auctions-google-ad-manager-partners/ and in 2021,
Google AdSense announced the same https://blog.google/products/adsense/our-move-to-a-first-price-auction/ (Last
accessed on April 11, 2022).
33
   GOOG-CABR-04129758 at -771 and -772

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38.     In 2010, Google retired the DART brand and announced DoubleClick for Publishers (DFP)

for large online publishers and moved Google Ad Manager customers to DFP Small Business.34

39.     In 2014, Google internally merged the DFP and AdX teams into DoubleClick Reservation

and Exchange (DRX) as the ad serving system became increasingly complex. In 2016, Google

reported AdX handling                    queries per day with close to            sellers and

buyers participating in the exchange.35 By 2017, AdX traffic grew to                                      queries

per day.36

40.     In 2018, Google rebranded again. This time, Google retired the DoubleClick and Ad

Exchange brands and combined the sell-side of Ad Exchange into DRX to create Google Ad

Manager for small businesses and Google Ad Manager 360 for premium accounts. 37 Google

                                   
34
   https://googleblog.blogspot.com/2010/02/next-generation-of-ad-serving-for.html (Last accessed on April 12,
2022).
35
   GOOG-CABR-04129758 at -762, -763, -774, -775
36
   GOOG-CABR-04142717 at -732
37
   GOOG-CABR-04819485 at -485 and -486

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      Case 4:20-cv-03664-YGR Document 908-5 Filed 03/21/23 Page 905 of 1046
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explained that “[p]ublishers run their digital advertising businesses with Ad Manager in two

primary ways: directly managed sales (including direct sales to advertisers and deals with other ad

tech platforms) and programmatic sales with Ad Manager.”38 There are different ways publishers

and advertisers can transact in Ad Manager.39 “Some features are available only for Ad Manager

360 accounts, including Audience Solutions, data transfer reporting, open bidding, publisher

provided identifiers, special ad units, access to Teams, and more.”40

41.     Google describes AdSense as an ad network for publishers that would like to monetize

their websites, blogs, or forums. 41 Google describes its new Google Ad Manager as “an ad

management platform for large publishers who have significant direct sales. Ad Manager provides

granular controls and supports multiple ad exchanges and networks, including AdSense, Ad

Exchange, third-party networks, and third-party exchanges.”42 Google AdSense can be integrated

with Google Ad Manager so that when there is unsold inventory in Google Ad Manager, Google

AdSense will ensure that the publisher will always have an ad to serve in an undersold situation.43

42.     Google’s advertising code includes Google tracking beacons on non-Google publisher

websites, implemented either as JavaScript calls or tracking pixels. Google tracking beacons are

used to make requests for advertisements, render advertisements in designated ad spaces and track

user browsing activities, such as interactions with advertisements. As Google explains, “every web

ad request begins and ends with a tag… [These tags (or tracking beacons)] run on the user’s

machine and the publisher’s page, so it can gather signals that the servers otherwise couldn’t see.

                                  
38
   https://blog.google/products/admanager/news-publishers-make-money-ad-manager/ (Last accessed on April 11,
2022).
39
   https://support.google.com/admanager/answer/9248464 (Last accessed on April 11, 2022).
40
   https://support.google.com/admanager/answer/6022000?hl=en (Last accessed on April 11, 2022).
41
   https://support.google.com/admanager/answer/76231?hl=en&ref_topic=7506091 and
https://support.google.com/admanager/answer/9234653 (Last accessed on April 11, 2022).
42
   https://support.google.com/admanager/answer/6022000?hl=en (Last accessed on April 12, 2022).
43
   https://support.google.com/admanager/answer/112641?hl=en&ref_topic=7506091 (Last accessed on April 11,
2022).

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[The tags are run] before the ad request is sent, so it can decide what requests to send and when.

(Queries aren’t a constant! We [Google] control them)” (GOOG-CABR-04147060 at -064).

        B.      Google Ad Manager and AdSense JavaScript

43.     Google Ad Manager tracking beacons include Google Publisher Tag (GPT), 44 AMP

(Accelerated Mobile Page) Tag, Ad Exchange Tag, and Google Publisher Tag for Video and

Audio. 45 Google AdSense tracking beacons include adsbygoogle.js and AMP tags (GOOG-

CABR-04147060 at -065). Google considers these publisher tags to be their “foothold in the

browser” and “first point of interaction with the user” (GOOG-CABR-04147060 at -062). These

tags run “on the user’s machine and the publisher’s page, so it can gather signals that [Google’s]

servers otherwise couldn’t see” (GOOG-CABR-04147060 at -064). These adverting codes are

activated whenever an advertisement is requested during the loading of a webpage. 

44.     The GPT tag sets a first-party cookie called the GFP cookie (_gads), which is used for

frequency capping (limiting the number of times an ad is shown to a user) and ad rotation (GOOG-

CABR-00400183). Google Ad Manager tracking beacons also set signed-in IDs on non-Google

websites, called Publisher Provided IDs (PPIDs) (GOOG-CABR-04118321 at -333), which are

used for frequency capping, user profiling and ad personalization, cross-site conversion tracking,

and remarketing among other uses (GOOG-CABR-04774064 at -069).

45.     On non-Google publisher websites, Google’s advertising code intercepts private

communication between the user and the non-Google website’s server during the webpage loading

process and sends the intercepted portion of the communication to Google. For example, the

tracking beacons cause the device to send HTTP Ad Request messages to Google that include



                                 
44
   The GPT tag consists of two JavaScript codes gpt.js and pubads_impl_###.js. (GOOG-CABR-00059481 at -483).
45
   https://support.google.com/admanager/answer/177207?hl=en#options-for-each-tag-type (Last accessed on April
11, 2022).

                                                                                                           17
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information in the original GET message, including the Request URL, IP address, User-agent, and

Referer. Many other parameters can be sent with the Ad Request message, including cookies,

Google Analytics IDs, and Publisher Provided IDs (PPID for Google Ad Manager 360 customers).

Appendix B shows sample private browsing information sent to Google in private browsing mode

by Google’s advertising code.

46.     The Google tracking beacons for display ads, Google AdSense and Google Ad Manager

ad tags are functionally equivalent for the purposes of the claims in this case. Google has admitted

that “if a user visits a webpage that includes at least some of the [aforementioned] Google AdSense

tags, those tags will cause the user’s browser to attempt to transmit to Google the URL of the

webpage that a user is currently visiting” (Google’s response to RFA 52).

47.     The information that AdSense tracking beacons cause to be sent to Google is the same as

the information that the Ad Manager tracking beacons cause to be sent to Google for purposes of

this case. Google has explained in a verified Interrogatory Response: “When a user (in any

browser) visits a website that uses Google Ad Manager or AdSense, Google Ad Manager or

AdSense may receive: (1) cookies that specific Google domains previously set on the user’s

browser; (2) the HTTP request sent by the user’s browser, including the hostname, browser type,

and language, and depending on the browser used, Java support, Flash support, and screen

resolution; (3) the URL of the website making the ad request to Google Ad Manager or AdSense,

and/or the referrer URL; (4) the IP address assigned to the device on which the browser is running;

(5) the request for an ad to be served on a non-Google website and the ad slot to be filled; (6) event

data such as impressions or clicks; and (7) if the user is in Chrome and a mode other than Incognito,

the browser’s X-Client-Data Header” (Google’s Response to Interrogatory No. 30).




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48.     After a response to the Ad Request message is received, Google sends back an ad with an

embedded JavaScript. When the ad is rendered, this JavaScript is executed and an AdView

message is sent to Google again containing intercepted private data.46




49.     AdView is distinguished from Active View.47 Active View has been offered by Google

since 2014 to track not only whether an ad has been seen by a user but also whether at least 50%

of the ad’s pixels are visible on screen for at least 1 second. This is built into the Google Display

Ads tracking beacons such as tracking beacons embedded on webpages (e.g., gpt.js and

adsbygoogle.js) and tracking beacons embedded in ads.48 These Google tracking beacons detect

the position of the ad relative to the browser window (viewport)49 and report metrics such as the

size of the viewport and time statistics of an ad on screen for certain percentages of an ad (GOOG-

CABR-03678409 at -411). Thus, not only do Google Display Ads tracking beacons intercept

                                   
46
   GOOG-CABR-03735812 at -812: “Delayed impressions work by injecting a snippet of javascript into the creative
that gets returned to the browser. Upon the creative being rendered, the javascript is executed, which fires a ping
back to Google servers. This ping is logged, and is later used in reporting to count the number of impressions. This
differs from the traditional means of counting impressions, in which an impression is counted upon the creative
being returned to the browser. We refer to these as “served” impressions, vs “rendered” impressions that are counted
via delayed impressions.” And GOOG-CABR-03744195 at -197: “Once the browser receives the response, it’ll
render that ad, which contains an AdView element, an img [image] tag with the AdView url as the src. When the
browser renders that, it sends a request to our server, which logs that the AdView was received.”
47
   https://support.google.com/google-ads/answer/6085471?hl=en (Last accessed on April 12, 2022).
48
   GOOG-CABR-00399513 and GOOG-CABR-04425690
49
   GOOG-CABR-04782411 at -414

                                                                                                                 19
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private communications during the page load, they also continue to track user interactions with a

webpage as the user interacts with the page. Google’s tracking beacons may contemporaneously

collect information about these additional communications, such as the streaming of a video, or

the action of scrolling down a page, or pressing a button, that causes additional page content to

load to the browser.

50.     When a user clicks on an ad, the user is not immediately taken to the advertiser’s website.

Instead, Google constructed ad URLs such that Google receives information about the ad click

first. After logging the click information, Google then redirects the user to the advertiser’s website.

Once on advertiser websites, Google’s tracking beacons there once again intercept private

communication and send the intercepted communication to Google. These include Google

Analytics tracking beacons as well as the Google conversion tracking beacons discussed earlier.

Thus, Google uses the Google tracking beacons to track user activities from publisher websites to

advertiser websites and also to websites that do not participate in the advertisement ecosystem.

        C.     Tracking Pixels

51.     In addition to JavaScript, Google also uses tracking pixels to track users, including users

who, during the class period, browsed using one of the private browsing modes at issue. A tracking

pixel (also called 1x1 pixel, pixel tag, or beacon) is a tiny graphic (1 pixel square) that is loaded

when a user visits a webpage. Because it is so small and usually transparent, it’s not visible to

visitors of a website. The purpose of embedding this image is to cause the user’s browser to send

a request to a server that contains information about the user. This transmission of data is a

“beacon” of data used for “tracking” the users. This is why I and others refer to code that collects

data and inserts such images into web pages as “tracking beacons.”




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52.     For example, Google Ad Manager 360 uses pixel tags to track users on webpages where

there are no JavaScript tags.50 When the browser encounters the image resource, it automatically

makes an HTTP request to the URL specified by the “src” attribute. In the case of Google tracking

pixels, this URL is a Google domain and the HTTP request sends intercepted private browsing

information to Google. 

53.     Google tracking pixels collect private browsing information without any notification to the

user. Because tracking pixels cannot be seen with the naked eye, to identify the presence of a

tracking pixel on a page, a user would need to inspect the network traffic coming from their

browser or the page’s HTML source, which requires technical knowhow and is not something that

an average consumer would do.

54.     One of the most common uses of tracking pixels is to follow user’s activity across multiple

websites and even devices (e.g., “follow me” ads). Browsers lack a mechanism to outright block

tracking pixels, because any image (or other embedded file) of arbitrary size, type, or name could

serve as a tracking beacon. In this sense, tracking pixels are similar to the iframe discussed earlier;

and similar to iframe, tracking pixels still function even when JavaScript is disabled.

55.     Cookies and other persistent identifiers (such as IDFA or AdID, or even publisher provided

identifiers, such as User IDs) have played an integral role in the collection of data using tracking

pixels. These persistent identifiers allow the server processing the tracking pixel request to easily

identify the user and/or browser instance requesting the pixel and combine that information with

any new information received from the pixel request. These identifiers make it possible to target

users across devices by combining the various signals to determine that two different requests are



                                 
50
  https://support.google.com/admanager/answer/2508388?hl=en#zippy=%2Cforecasting-for-audience-pixels (Last
accessed on April 12, 2022).

                                                                                                         21
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

coming from the same user.51 Once a user requests a tracking pixel, Google automatically adds

that user’s identifiers to a particular segment, allowing for targeting and further tracking.




                                     
51
     https://support.google.com/admanager/answer/2508388?hl=en (Last accessed on April 12, 2022).

                                                                                                     22

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               EXPERT REPORT OF JONATHAN E. HOCHMAN

                                     APRIL 15, 2022




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I.         INTRODUCTION

1.         To observe the execution of Google tracking and advertising code in private browsing

mode, I have worked with the consultants listed in Section VI of my report to perform two sets of

tests: (1) Data capture on different devices (desktop and mobile) and using different browsers

(Chrome, Safari, Microsoft Edge and Firefox) while visiting websites in private browsing mode

and not signed in to Google. These data captures are done using a Debugging Proxy Tool called

Fiddler Classic.1 Fiddler Classic is used by web developers to view HTTP traffic for debugging

purposes. The output of these captures is shown in Section II of this Appendix and in video and

data output in Exhibit B; (2) Data capture on a Macbook Air laptop in Incognito mode using




1
    https://www.telerik.com/fiddler (Last accessed on April 11, 2022).

                                                                                                                                                  1

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Chrome’s Developer Tool designed to be used by web developers to view Internet traffic on

Chrome. The output of these captures is shown in Section III of this Appendix.



II.     DATA CAPTURES USING FIDDLER CLASSIC

2.      First, the following clean devices are set up: (a) Lenovo (PC) laptop running the Microsoft

Windows 11 operating system, (b) iPad tablet running the iOS 15.x operating system connected to

the Lenovo laptop using an Apple lightning cable, and (c) Motorola “Moto g Play” phone running

the Android 11 operating system connected to the Lenovo laptop using a USB-C cable.

3.      On the Lenovo laptop, Fiddler Classic is installed. The observed traffic includes HTTP

requests, responses, and HTTP headers which contain cookies, user agent and other information.

4.      The Lenovo laptop has Chrome, Firefox and Microsoft Edge browsers installed. The iPad

tablet had Safari, Chrome and Microsoft Edge browsers installed. The Moto G phone has Chrome

and Microsoft Edge browser installed.

5.      Before using each of the above browsers on each device listed, browser data (cache, visits,

cookies, etc.) have been cleared.



The following web pages have been visited using the browser, operating system, and device

combination listed in Table B-1.




 Web Page URL           Browser         Operatin     Device      Google Tracking Beacon(s)
                                        g System                 observed
 https://www.vogue. Chrome              Windows      PC          gtm.js*, gpt.js*, analytics.js*
 com/
 https://www.vogue. Chrome              Windows      PC          gtm.js, gpt.js, analytics.js
 com/article/pamela

                                                                                                   2

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 -anderson-new-
 style-era
 https://www.world     Chrome         Windows      PC         analytics.js, adsbygoogle.js,
 ometers.info/                                                gtag, show_ads_impl.js
 https://www.accuw     Chrome         Windows      PC         gpt.js, analytics.js,
 eather.com/                                                  adsbygoogle.js*,
                                                              show_ads_impl_fy2019.js*
 https://cbslocal.co   Chrome         Windows      PC         ga.js*, gpt.js, analytics.js,
 m/
 https://www.conde     Chrome         Windows      PC         analytics.js, gtm.js
 nast.com/
 https://home.nra.o    Chrome         Windows      PC         Analytics.js, gtm.js, gpt.js,
 rg/                                                          conversion_async.js,
 https://www.yelp.c    Chrome         Windows      PC         conversion.js*,
 om/                                                          conversion_async.js*
 https://www.yelp.c    Chrome         Windows      PC         conversion.js,
 om/biz/rubirosa-                                             conversion async.js
 new-york-2
 https://www.vogue. Edge              Windows      PC         gtm.js, gpt.js, analytics.js
 com/
 https://www.world     Edge           Windows      PC         analytics.js, adsbygoogle.js,
 ometers.info/                                                gtag, show_ads_impl_fy2019.js
 https://www.accuw     Edge           Windows      PC         gpt.js, analytics.js,
 eather.com/                                                  adsbygoogle.js,
                                                              show_ads_impl_fy2019.js
 https://www.vogue.c   FireFox        Windows      PC         None
 om/

 https://www.worldo    FireFox        Windows      PC         None
 meters.info/

 https://www.accuwe    FireFox        Windows      PC         None
 ather.com/

 https://www.vogue. Chrome            Android      Mobile     gtm.js, gpt.js, analytics.js
 com/




                                                                                              3

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 https://www.world     Chrome         Android      Mobile     analytics.js, adsbygoogle.js,
 ometers.info/                                                gtag, show_ads_impl_fy2019.js
 https://www.accuw     Chrome         Android      Mobile     gpt.js, analytics.js,
 eather.com/                                                  adsbygoogle.js,
                                                              show_ads_impl_fy2019.js
 https://www.vogue. Edge              Android      Mobile     gtm.js, gpt.js, analytics.js
 com/
 https://www.world     Edge           Android      Mobile     analytics.js, adsbygoogle.js,
 ometers.info/                                                gtag, show_ads_impl_fy2019.js
 https://www.accuw     Edge           Android      Mobile     gpt.js, analytics.js,
 eather.com/                                                  adsbygoogle.js,
                                                              show_ads_impl_fy2019.js
 https://www.vogue. Chrome            iOS          iPad       gtm.js, gpt.js, analytics.js
 com/
 https://www.world     Chrome         iOS          iPad       analytics.js, adsbygoogle.js,
 ometers.info/                                                gtag, show_ads_impl_fy2019.js
 https://www.accuw     Chrome         iOS          iPad       gpt.js, analytics.js,
 eather.com/                                                  adsbygoogle.js,
                                                              show_ads_impl_fy2019.js
 https://www.vogue. Safari            iOS          iPad       analytics.js, ga,js
 com/
 https://www.world     Safari         iOS          iPad       Adsbygoogle.js, analytics.js,
 ometers.info/                                                gtm.js,
                                                              show_ads_impl_fy_2019.js
 https://www.accuw     Safari         iOS          iPad       gtm.js, conversion_asynch,js,
 eather.com/                                                  analytics.js
 https://www.vogue. Edge              iOS          iPad       gtm.js, gpt.js, analytics.js
 com/
 https://www.world     Edge           iOS          iPad       gtm.js, gpt.js, ga.js
 ometers.info/
 https://www.accuw     Edge           iOS          iPad       gpt.js, analytics.js,
 eather.com/                                                  adsbygoogle.js,
                                                              show_ads_impl_fy2019.js
                                          Table B-1


                                                                                              4

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6.         Each web page listed in Table B-1 has been visited in private browsing mode while not

signed into Google, with the Fiddler Classic tool capturing Internet traffic between the device and

the Internet. For each page visited, page interactions include scrolling to the bottom of each page

and clicking on advertisements served by Google. At the same time, a video of the webpage

interaction is captured and network traffic from Fiddler Classic is saved. The video screen file and

network traffic file for each experiment is available in Exhibit B-1.

7.         Files related to additional experiments conducted for this report are included separately in

Exhibit B-3.



           A.    Observations from Analysis of Google Tracking Beacons Sending Private
           Browsing Data to the Google Analytics Server

8.         Google’s Supplemental Response to Interrogatory No. 5 lists www.accuweather.com,

www.vogue.com (a Conde Nast brand2) and www.wordlometers.info as Google Analytics enabled

websites.

9.         Using vogue.com webpages listed in Table B-1 on Lenovo laptop in Incognito mode as

examples, the vogue.com webpages include at least the following Google tracking beacons:

analytics.js, ga.js, gpt.js, gtm.js. The webpage loading sequence confirms that the Google tracking

beacons intercept and transmit the intercepted private browsing information to Google Analytics

servers while the visited page is being loaded. Additional events that occur after the page is loaded

(such as video viewing, scrolling of the page, ad clicks, etc.) are sent to the Google Analytics

server once the event occurs.




2
    https://www.condenast.com/brands/vogue (Last accessed on April 11, 2022).

                                                                                                     5

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10.        The Google tracking beacons transmit private browsing information to google-

analytics.com server(s) by the sending a HTTP GET request with various parameters included with

the request. For example, the PageLoad and PageView events are sent to the www.google-

analytics.com server for every webpage visited by the user in private browsing mode. These

transmissions include the full URL of the webpage visited, several IDs associated with the user,

user language, screen resolution, screen color depth, whether the user’s platform is Java-enabled,

etc., as parameters.

11.        The Google Analytics measurement parameters transmitted to the Google servers by the

Google tracking beacons as part of the HTTP GET request are consistent with the Google

documentation available at “Measurement Protocol Parameter Reference                                |   Analytics

Measurement Protocol | Google Developers”, a support webpage of Google Analytics for web

developers.3




3
    https://developers.google.com/analytics/devguides/collection/protocol/v1/parameters (Last accessed on: April
15, 2022).

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12.       For example, the Google tracking beacons transmit user events such as that images from

carousal have been viewed, or that the user has scrolled the webpage visited, even when the user

is browsing in private browsing mode while not signed into their Google account. These events

are transmitted to the www.google-analytics.com server as seen in the screenshots below. The

transmissions of the user actions are consistent with the Google documentation available at Scroll

Depth trigger - Tag Manager Help (google.com).4




4
    https://support.google.com/tagmanager/answer/7679218?hl=en&ref_topic=7679108 (Last accessed on: April
15, 2022).

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13.     The above specific exemplary screenshots are of Internet traffic observed while accessing

the vogue.com webpages in Incognito mode using the Fiddler tool on the laptop. The complete set

of video and traffic capture files for all of the sites and devices using the Fiddler tool as listed in

Table B-1 are included in Exhibit B-1. The fundamental operation of the Google tracking beacon

for the purpose of intercepting private browsing information at issue in the case is independent of

the device and browser.

14.     As I have discussed in the main report, while Google’s tracking beacons attempt to transmit

intercepted private browsing communication to Google, some of these transmissions are blocked

in Firefox private browsing mode. I have observed Google’s transmissions to google-

analytics.com being blocked while visiting websites as listed in Table B-1 in Firefox private

browsing mode. This is consistent with Firefox’s description of their Enhanced Tracking

Protection (ETP) feature for desktop devices, which “automatically blocks trackers that follow you

around online to collect information about your browsing habits and interests without breaking site

functionality. It also includes protections against harmful scripts, such as malware that drains your




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battery.”5 The default Standard privacy setting in Firefox blocks “Tracking content in Private

Windows” as shown in the screenshot below.




15.     Several older versions of Firefox from 2016-2019 have also been downloaded and installed

on the laptop. Google’s transmissions to google-analytics.com are similarly blocked while visiting

websites as listed in Table B-1 in Firefox private browsing mode. Firefox has enabled Tracking

Protection by default in private browsing mode since 2015.6



        B.    Observations from Analysis of Google Tracking Beacons Sending Private
        Browsing Data to the Google Doubleclick.net Server

16.     Google’s Supplemental Response to Interrogatory No. 5 lists www.accuweather.com as

one of the top 25 Google Ad Manager enabled websites. The www.accuweather.com webpage

includes at least the following Google tracking beacons: gpt.js, analytics.js, adsbygoogle.js,



5
  https://support mozilla.org/en-US/kb/enhanced-tracking-protection-firefox-desktop (Last accessed on: April 11,
2022).
6
  https://blog.mozilla.org/en/products/firefox/firefox-now-offers-a-more-private-browsing-experience/ (Last
accessed on: April 11, 2022).

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show_ads_impl_fy2019.js. Thus, accuweather.com contains at least Google Ad Manager,

Analytics and AdSense tracking beacons.

17.     These Google tracking beacons intercept and transmit various private browsing

information, including events and status (scroll event, pageview event, ad interactions, ad view,

ad click, etc.) when the user is accessing the webpage resource while the webpage is still being

loaded. The Google tracking beacons also transmit user events such as ad click, user viewing a

video, user completing a form, etc., which may occur after the webpage is loaded. The Google

tracking beacons transmit the gathered information to google-analytics.com and g.doubleclick.net

servers by sending a HTTP GET request with various parameters included with the request even

in the private-browsing mode.

18.     Additional information transmitted to the Google googleads.g.doubleclick.net server

includes various user interactions with the advertisements. These interactions include: ads being

loaded (show_ads), ad loaded (video_ad_loaded), ads view created (vast_createview), part of the

ad viewed (part2viewed), user volume is muted (admute), video_skip_shown, percentage of video

displayed to the user (videoplaytime25, videoplaytime50, videoplaytime75, or videoplaytime100),

and whether the ad is in focus (window_focus) for each advertisement that user has interacted

with.




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19.     For example, when an ad is confirmed to be “viewable”, i.e., 50% of the creative has been

in the browser view area for 1 continuous second for image or 2 seconds for video ad, Google

tracking    beacons     on    vogue.com      pages    sends     an    activeview     ping    to   the

pagead2.googlesyndication.com server with information such as ad slot id (adk), browser’s

viewport (resolution in pixel size) (bs), time on the screen (mtos), and the position of the ad (p) in

pixel edge coordinates. Information about Google’s active view is available on the Google Support

webpage at https://support.google.com/admanager/answer/6123557?hl=en.




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20.     As another example, when a user sees an ad but does not interact with it, the Google

tracking beacon (e.g., conversion_async.js on nra.com webpages) transmits to Google’s

googleads.g.doubleclick.net server as a “view through conversion” event including the URL of the

webpage the Google ad was seen by the user but did not interact with. The details of such “view

through    conversion”     is   available    at   the    Google     support    documents      at

https://support.google.com/google-ads/answer/7320922?hl=en                                  and

https://support.google.com/google-ads/answer/6270625.




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21.     As another example, when a user clicks on an ad, the Google tracking beacon (e.g.,

conversion.js or conversion_async.js on yelp.com webpages) transmits the webpage URL where

the ad was seen to the Google www.googleadservices.com server as a conversion.




22.     As another example, when a user clicks on an advertisement, the Google tracking beacon

transmits ad click event information to Google’s adclick.g.doubleclick.net server with the

parameters of the adclick including the adurl as seen below in the exemplary screenshot.




23.     The above specific screenshots are exemplary. The complete set of video and traffic

capture files for all of the sites and devices listed in Table B-1 using the Fiddler tool are included

in Exhibit B-1.



                                                                                                   15

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24.        Exemplary Google tracking beacons identified with * and bolded font in Table B-1 were

extracted using the Fiddler tool. Publicly available documents indicate that Google uses the

Closure compiler tool to make JavaScript download and run faster.7 This tool makes the JavaScript

code obfuscated and unreadable. An online JavaScript Beautifier service available at Online

JavaScript beautifier was used to reformat the exemplary Google tracking beacons.8 Exemplary

Google tracking beacon JavaScript files identified in Table B-1 by * bold format are produced in

Exhibit B-2.

25.        Similar to Google Analytics, I have also observed Google’s transmissions to various

Google ads domains (including doubleclick.net) being blocked while visiting websites as listed in

Table B-1 in Firefox private browsing mode. Google’s advertising codes are blocked from

transmission on the current version of Firefox as well as on several older versions of Firefox from

2016-2019 that have been downloaded and installed on the laptop.



III.       DATA CAPTURES USING THE CHROME DEVELOPER TOOL

26.        I and the consulting experts visited several non-Google websites in Chrome Incognito

mode while not signed in to Google and used the Chrome Developer Tool built for web developers

to capture intercepted private communication information sent to Google. In each subsection

below, a screenshot of the non-Google website visited is shown along with the intercepted URL

of the page, user agent, user agent client hint (sec-ch-ua), and referer. These key pieces of

information are highlighted in yellow. Note that the IP address of the user is sent in the IP protocol

header in every transmission and is not captured by the Developer Tool.




7
    https://developers.google.com/closure (Last accessed on April 11, 2022).
8
    https://beautifier.io/ (Last accessed on April 11, 2022).

                                                                                                   16

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   t-ukrainerussia%3Bcollections-russia-ukraine%3Blinkbox-russiaukraine%3Baudio-
   article%3Bcoverage-active&cd18=(not%20set)&cd19=2022-02-
   18T07%3A30%3A42.639Z&cd20=wp_ak_v_nav%3A1%7CB%3Bwp_ak_bt%3A1%7C202
   00518%3Bwp_ak_bfd%3A1%7C20201222%3Bwp_ak_tos%3A1%7C20211110%3Bwp_ak
   _btap%3A1%7C20211118%3Bwp_ak_pp%3A1%7C20210310%3Bakaas_magnet-
   test%3A&cd21=wp_ak_v_nav%3A1%7CB%3Bwp_ak_bt%3A1%7C20200518%3Bwp_ak_
   bfd%3A1%7C20201222%3Bwp_ak_tos%3A1%7C20211110%3Bwp_ak_btap%3A1%7C20
   211118%3Bwp_ak_pp%3A1%7C20210310%3Bakaas_magnet-
   test%3A&cd22=(not%20set)&cd23=(not%20set)&cd24=null&cd25=null&cd26=Mozilla%2
   F5.0%20(Macintosh%3B%20Intel%20Mac%20OS%20X%2010_15_7)%20AppleWebKit%
   2F537.36%20(KHTML%2C%20like%20Gecko)%20Chrome%2F98.0.4758.80%20Safari%2
   F537.36&cd27=(not%20set)&cd28=(not%20set)&cd29=(not%20set)&cd36=1---
   &cd37=(not%20set)&cd38=ebox.net&cd39=EBOX%20Inc.&cd40=load&cd41=pagebuilder
   -fusion&cd42=hp-top-table-
   main&cd43=undefined&cd44=1&cd45=2&cd46=2&cd47=(not%20set)&cd48=&cd49=(not
   %20set)&cd50=en&cd51=website&cd52=pagebuilder-
   fusion&cd53=Europe%3BWorld%3BNational%20Security&cd54=(not%20set)&cd55=(not
   %20set)&cd56=boa_fail&cd57=%2Fworld%2Feurope&cd58=https%3A%2F%2Fwww.wash
   ingtonpost.com%2F&cd59=www.washingtonpost.com&cd60=(not%20set)&cd61=(not%20s
   et)&cd62=(not%20set)&cd63=(not%20set)&cd64=site-onpage-scroll-
   start&cd65=50&cd66=(not%20set)&cd68=aud%3Bvid%3A0%3B&cd69=(not%20set)&cd7
   0=(not%20set)&cd71=3f7b86fd-f7b3-4f8f-a33e-
   b71c59cb7e2d&cd72=(not%20set)&cd73=(not%20set)&cd74=(not%20set)&cd75=(not%20s
   et)&cd76=(not%20set)&cd77=(not%20set)&cd78=(not%20set)&cd79=&cd80=(not%20set)
   &cd81=(not%20set)&cd82=(not%20set)&cd83=(not%20set)&cd84=(not%20set)&cd85=(no
   t%20set)&cd86=(not%20set)&cd87=(not%20set)&cd88=(not%20set)&cd89=(not%20set)&c
   d90=(not%20set)&cd91=(not%20set)&cd92=(not%20set)&cd93=(not%20set)&cd94=(not%
   20set)&cd95=(not%20set)&cd96=(not%20set)&cd97=(not%20set)&cd98=(not%20set)&cd9
   9=(not%20set)&cd100=(not%20set)&cd101=(not%20set)&cd102=GA1.2.1008623723.1645
   211606&cd103=(not%20set)&cd104=mty0ntixmjizodq4ng&cd105=(not%20set)&cd106=(n
   ot%20set)&cd107=(not%20set)&cd108=(not%20set)&cd109=(not%20set)&cd110=(not%20
   set)&cd111=(not%20set)&cd112=(not%20set)&cd113=(not%20set)&cd115=(not%20set)&c
   d116=(not%20set)&cd117=(not%20set)&cd118=(not%20set)&cd119=(not%20set)&cd120=
   (not%20set)&cd121=(not%20set)&cd122=(not%20set)&cd123=(not%20set)&cd124=(not%
   20set)&cd125=(not%20set)&cd128=(not%20set)&cd131=0&cd132=CA&cd138=(not%20se
   t)&cd139=(not%20set)&cd140=GTM-
   WHNNX8B&cd141=(not%20set)&cd142=(not%20set)&cd143=(not%20set)&cd150=(not%
   20set)&cd152=pageview&cd154=(not%20set)&cd156=(not%20set)&cd171=&cd172=0&cd
   173=CA%7CQC%7C%7C%7C&cd183=60%2C66%2C65&z=1329750903
2. Request Method:
    POST
3. Status Code:

                                                                                            18

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       200
   4. Remote Address:
       172.217.13.110:443
   5. Referrer Policy:
       strict-origin-when-cross-origin
2. Response Headers
   1. access-control-allow-credentials:
       true
   2. access-control-allow-origin:
       https://www.washingtonpost.com
   3. alt-svc:
       h3=":443"; ma=2592000,h3-29=":443"; ma=2592000,h3-Q050=":443"; ma=2592000,h3-
       Q046=":443"; ma=2592000,h3-Q043=":443"; ma=2592000,quic=":443"; ma=2592000;
       v="46,43"
   4. cache-control:
       no-cache, no-store, must-revalidate
   5. content-length:
       2
   6. content-type:
       text/plain
   7. cross-origin-resource-policy:
       cross-origin
   8. date:
       Fri, 18 Feb 2022 19:24:00 GMT
   9. expires:
       Fri, 01 Jan 1990 00:00:00 GMT
   10. last-modified:
       Sun, 17 May 1998 03:00:00 GMT
   11. pragma:
       no-cache
   12. server:
       Golfe2
   13. x-content-type-options:
       nosniff
3. Request Headers
   1. :authority:

                                                                                               19

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   www.google-analytics.com
2. :method:
    POST
3. :path:
     /j/collect?v=1&_v=j96&a=638078257&t=pageview&_s=1&dl=https%3A%2F%2Fwww.was
     hingtonpost.com%2Fworld%2F2022%2F02%2F18%2Frussia-ukraine-
     updates%2F&dr=https%3A%2F%2Fwww.washingtonpost.com%2F&ul=en-ca&de=UTF-
     8&dt=Russia-Ukraine%20live%20updates%20and%20latest%20news%20-
     %20The%20Washington%20Post&sd=24-
     bit&sr=1920x1080&vp=454x933&je=0&_u=QACAAAABAAAAAC~&jid=424272958&gj
     id=75550379&cid=1008623723.1645211606&tid=UA-133956668-
     1&_gid=606548055.1645211606&_r=1&gtm=2wg2g0WHNNX8B&cd1=russia-ukraine-
     updates&cd2=world&cd3=world%20-%20europe&cd4=story%20-%20live-all&cd5=the-
     washington-
     post&cd6=andrew%20jeong%3Bsteve%20hendrix%3Bjohn%20wagner&cd7=staff%20write
     r&cd8=jeongh%3Bhendrixjenkinssb%3Bwagnerjm&cd9=foreign%3Bforeign%3Bpolitics&c
     d10=seoul%20hub%3Bmiddle%20east%3Bbreaking%20news&cd11=ellipsis&cd12=(not%2
     0set)&cd13=5NQRUCZQKRE5RGTAGQ4DD4GUSE&cd14=default&cd15=(not%20set)&
     cd16=(not%20set)&cd17=methode-draft%3Bstory-has-edit-
     branch%3Bcreated%20from%20template%20id%20j6kf6mtel5fwbapz6c5fr5nfua%3Bmagne
     t-ukrainerussia%3Bcollections-russia-ukraine%3Blinkbox-russiaukraine%3Baudio-
     article%3Bcoverage-active&cd18=(not%20set)&cd19=2022-02-
     18T07%3A30%3A42.639Z&cd20=wp_ak_v_nav%3A1%7CB%3Bwp_ak_bt%3A1%7C202
     00518%3Bwp_ak_bfd%3A1%7C20201222%3Bwp_ak_tos%3A1%7C20211110%3Bwp_ak
     _btap%3A1%7C20211118%3Bwp_ak_pp%3A1%7C20210310%3Bakaas_magnet-
     test%3A&cd21=wp_ak_v_nav%3A1%7CB%3Bwp_ak_bt%3A1%7C20200518%3Bwp_ak_
     bfd%3A1%7C20201222%3Bwp_ak_tos%3A1%7C20211110%3Bwp_ak_btap%3A1%7C20
     211118%3Bwp_ak_pp%3A1%7C20210310%3Bakaas_magnet-
     test%3A&cd22=(not%20set)&cd23=(not%20set)&cd24=null&cd25=null&cd26=Mozilla%2
     F5.0%20(Macintosh%3B%20Intel%20Mac%20OS%20X%2010_15_7)%20AppleWebKit%
     2F537.36%20(KHTML%2C%20like%20Gecko)%20Chrome%2F98.0.4758.80%20Safari%2
     F537.36&cd27=(not%20set)&cd28=(not%20set)&cd29=(not%20set)&cd36=1---
     &cd37=(not%20set)&cd38=ebox.net&cd39=EBOX%20Inc.&cd40=load&cd41=pagebuilder
     -fusion&cd42=hp-top-table-
     main&cd43=undefined&cd44=1&cd45=2&cd46=2&cd47=(not%20set)&cd48=&cd49=(not
     %20set)&cd50=en&cd51=website&cd52=pagebuilder-
     fusion&cd53=Europe%3BWorld%3BNational%20Security&cd54=(not%20set)&cd55=(not
     %20set)&cd56=boa_fail&cd57=%2Fworld%2Feurope&cd58=https%3A%2F%2Fwww.wash
     ingtonpost.com%2F&cd59=www.washingtonpost.com&cd60=(not%20set)&cd61=(not%20s
     et)&cd62=(not%20set)&cd63=(not%20set)&cd64=site-onpage-scroll-
     start&cd65=50&cd66=(not%20set)&cd68=aud%3Bvid%3A0%3B&cd69=(not%20set)&cd7
     0=(not%20set)&cd71=3f7b86fd-f7b3-4f8f-a33e-

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   2F2&prev_iu_szs=2x1%7C320x50%7C300x50&prev_scp=zeus_rendercount%3D1%26zeus
   _slot%3Dslug_fixedBottom.init.dsk%26pos%3DfixedBottom%26ctr%3Dzeus_fixedBottom
   %26wp_ad_refresh%3D0%26wp_refresh%3DfixedBottom_0%26pwt%3DfixedBottom_nav
   _1%26amznbid%3D1rf69ds%26amznp%3D1oastts%26amzniid%3DItONyJWuvWSJ0Xj9E
   66P9ssAAAF_Dl5qgQEAAAvhAQA3VNg%26amznsz%3D300x50%26IOM%3D320x50_1
   3%26ix_id%3D_nOfECDpD%26zeus_rubicon%3D27%26zeus_auctionid_rubicon%3D9850
   75b9-e0f8-4730-a9e7-616b063635db%26id%3D5b8c80a5-90f3-11ec-a227-
   022c27143013%26vw%3D40%2C50%2C60%2C70%2C80%2C90%26grm%3D40%2C50%
   2C60%2C70%2C80%26zeus_trustx%3D64%26zeus_auctionid_trustx%3Dda9d0983-6ce7-
   4235-a95d-
   a011349643cc&eri=1&cust_params=zeus%3Dapplied%26zeus_701%3Dwww.washingtonp
   ost.com%26ksg%3D%26kuid%3Dw5mv5i5ht%26itid_temp%3Dhp-top-table-
   main%26itid%3Dhp-top-table-
   main%26j_tid%3Dmty0ntixmzuznzm1ma%26j_ucid%3D3f7b86fd-f7b3-4f8f-a33e-
   b71c59cb7e2d%26sub%3Dno%26wp_ref%3Ddirect%26embed_domain%3Dwashingtonpost
   .com%26wp_fusion%3D1%26ca%3Dtrue%252Caewws_m%252Ca4hju_l%252Cae338_l%2
   52Caxo3s_l%252Ca3890_l%252Cavede_m%252Cacgj7_l%252Carug0_m%252Ca7uxb_m
   %252Cruhu4_l%252Crpdc1_m%252Crji6k_l%252Cr8ehi_h%252Cryiv4_l%252Carpd6_l%
   252Cazq8t_l%252Cakmbl_l%252Crqu0i_l%252Crh8wp_l%252Cr23bw_l%252Crmoni_l%2
   52Crtjog_l%252Crw2w8_l%252Cr694n_l%252Cr2u3w_m%252Crj2cv_l%252Ca76vp_l%2
   52Ca6hso_l%252Capnuh_l%252Can5qm_l%252Cak1k5_l%252Ca7she_l%252Cruyy2_l%2
   52Creuzn_l%252Crmur4_l%252Crc3n4_l%252Crhzoh_m%252Cr5r3n_l%252Crin3h_l%25
   2Crv6ho_l%252Crlexu_l%252Cr8xdx_l%252Cr9gkk_l%252Crqnju_l%252Crg5ju_l%252Cr
   rf3t_l%252Crkc7c_l%252Crotdf_l%252Crlnsm_l%252Crpdne_l%252Crf2hq_l%252Crqpw
   k_l%252Crxwdk_l%252Caee49_l%252Cawav3_l%252Cagmdl_l%252Car4qa_l%252Ca71z
   j_l%252Cajrla_l%252Caa2l6_l%252Cacf9e_l%252Cas6xz_l%252Caqhbz_l%252Cawzsm_l
   %252Cabeh0_l%252Cr82ip_l%252Crdj51_l%252Cr82zg_l%252Cr6ght_l%252Crge9m_l%
   252Cr24ld_l%252Cal2af_l%252Caodep_l%252Cabxfo_l%252Cags65_l%252Caxcgn_l%25
   2Caumda_l%252Caufsu_l%252Cr0yi0_l%252Crbbho_l%252Cajqy8_l%252Caf191_l%252
   Cava6u_l%252Caalab_l%252Ca5tfs_l%252Ca01tp_l%252Crbjm0_l%252Crpp0h_l%252Cre
   est%252Crcisc%252Cr1zb8%252Crjqr5%252Crnfyo%252Cruvaj%252Crk4hi%252Crddr6
   %252Cr71he%252Crqlce%252Cryiid%252Cr63ky%252Cr8kl5%252Cr1djc%252Crj98c%2
   52Cr82mu%252Crp6mz%252Crzh20%252Crh5hz%252Cr0yv2%252Crvt6h%252Cr6x7c%2
   52Crohf5%252Crqqn2%252Crhwk9%252Cr2ob4%252Crf3mi%252Cr6iq7%252Crhwg4%2
   52Cr35cx%252Crt96h%252Cr6jbe%252Cryx8n%252Cr6g4r%252Cr03o4%252Crjl3v%252
   Cr02mg%252Crtdlb%252Cr35ap%252Crz25l%252Crsmxd%252Crp9h4%252Cr7tmu%252
   Crva7x%252Cr4avn%252Cr3bxp%252Cr694n%252Crsjjy%252Crhfzk%252Crqs5o%252Cr
   4t4y%252Cr35lh%252Crr25v%252Crxvz3%252Cr48wg%252Crj2ns%252Crfz4c%252Crvu
   4h%252Crj67t%252Cr8hz2%252Crgepe%252Cr2qxu%252Crh5xk%252Cra7me%252Cr1fn
   e%252Cratb5%252Cr5hej%252Crhll0%252Crs47a%252Ca4snn%252Cavede%252Cam3fu
   %252Cajqy8%252Ca7uxb%252Caewws%252Caqo9p%252Caodep%252Cag14e%26pdm%
   3Daab%26beh%3Dex0%252Ctv3%26ct%3Dtrue%252Ca4snn%252Cavede%252Cam3fu%2
   52Cajqy8%252Ca7uxb%252Caewws%252Caqo9p%252Caodep%252Cag14e%26wpnode%

                                                                                            23

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   https://www.washingtonpost.com
3. alt-svc:
    h3=":443"; ma=2592000,h3-29=":443"; ma=2592000,h3-Q050=":443"; ma=2592000,h3-
    Q046=":443"; ma=2592000,h3-Q043=":443"; ma=2592000,quic=":443"; ma=2592000;
    v="46,43"
4. cache-control:
    no-cache, must-revalidate
5. content-encoding:
    br
6. content-length:
    10975
7. content-type:
    text/plain; charset=UTF-8
8. cross-origin-resource-policy:
    cross-origin
9. date:
    Fri, 18 Feb 2022 19:45:43 GMT
10. expires:
    Fri, 01 Jan 1990 00:00:00 GMT
11. google-creative-id:
    138314199243
12. google-lineitem-id:
    5409491911
13. google-mediationgroup-id:
    -2
14. google-mediationtag-id:
    -2
15. p3p:
    policyref="https://googleads.g.doubleclick.net/pagead/gcn_p3p_.xml", CP="CURa ADMa
    DEVa TAIo PSAo PSDo OUR IND UNI PUR INT DEM STA PRE COM NAV OTC NOI
    DSP COR"
16. pragma:
    no-cache
17. server:
    cafe
18. timing-allow-origin:
                                                                                            25

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       *
   19. x-content-type-options:
       nosniff
   20. x-xss-protection:
       0
3. Request Headers
   1. :authority:
        securepubads.g.doubleclick.net
   2. :method:
       GET
   3. :path:
        /gampad/ads?pvsid=4248935816135651&correlator=2710734627569278&eid=31064905%2
        C31064966%2C21067496&output=ldjh&gdfp_req=1&vrg=2022021401&ptt=17&impl=fifs
        &us_privacy=1---&sc=1&sfv=1-0-
        38&ecs=20220218&iu_parts=701%2Cwpni.world%2Ceurope&enc_prev_ius=%2F0%2F1%
        2F2&prev_iu_szs=2x1%7C320x50%7C300x50&prev_scp=zeus_rendercount%3D1%26zeus
        _slot%3Dslug_fixedBottom.init.dsk%26pos%3DfixedBottom%26ctr%3Dzeus_fixedBottom
        %26wp_ad_refresh%3D0%26wp_refresh%3DfixedBottom_0%26pwt%3DfixedBottom_nav
        _1%26amznbid%3D1rf69ds%26amznp%3D1oastts%26amzniid%3DItONyJWuvWSJ0Xj9E
        66P9ssAAAF_Dl5qgQEAAAvhAQA3VNg%26amznsz%3D300x50%26IOM%3D320x50_1
        3%26ix_id%3D_nOfECDpD%26zeus_rubicon%3D27%26zeus_auctionid_rubicon%3D9850
        75b9-e0f8-4730-a9e7-616b063635db%26id%3D5b8c80a5-90f3-11ec-a227-
        022c27143013%26vw%3D40%2C50%2C60%2C70%2C80%2C90%26grm%3D40%2C50%
        2C60%2C70%2C80%26zeus_trustx%3D64%26zeus_auctionid_trustx%3Dda9d0983-6ce7-
        4235-a95d-
        a011349643cc&eri=1&cust_params=zeus%3Dapplied%26zeus_701%3Dwww.washingtonp
        ost.com%26ksg%3D%26kuid%3Dw5mv5i5ht%26itid_temp%3Dhp-top-table-
        main%26itid%3Dhp-top-table-
        main%26j_tid%3Dmty0ntixmzuznzm1ma%26j_ucid%3D3f7b86fd-f7b3-4f8f-a33e-
        b71c59cb7e2d%26sub%3Dno%26wp_ref%3Ddirect%26embed_domain%3Dwashingtonpost
        .com%26wp_fusion%3D1%26ca%3Dtrue%252Caewws_m%252Ca4hju_l%252Cae338_l%2
        52Caxo3s_l%252Ca3890_l%252Cavede_m%252Cacgj7_l%252Carug0_m%252Ca7uxb_m
        %252Cruhu4_l%252Crpdc1_m%252Crji6k_l%252Cr8ehi_h%252Cryiv4_l%252Carpd6_l%
        252Cazq8t_l%252Cakmbl_l%252Crqu0i_l%252Crh8wp_l%252Cr23bw_l%252Crmoni_l%2
        52Crtjog_l%252Crw2w8_l%252Cr694n_l%252Cr2u3w_m%252Crj2cv_l%252Ca76vp_l%2
        52Ca6hso_l%252Capnuh_l%252Can5qm_l%252Cak1k5_l%252Ca7she_l%252Cruyy2_l%2
        52Creuzn_l%252Crmur4_l%252Crc3n4_l%252Crhzoh_m%252Cr5r3n_l%252Crin3h_l%25
        2Crv6ho_l%252Crlexu_l%252Cr8xdx_l%252Cr9gkk_l%252Crqnju_l%252Crg5ju_l%252Cr
        rf3t_l%252Crkc7c_l%252Crotdf_l%252Crlnsm_l%252Crpdne_l%252Crf2hq_l%252Crqpw
        k_l%252Crxwdk_l%252Caee49_l%252Cawav3_l%252Cagmdl_l%252Car4qa_l%252Ca71z
        j_l%252Cajrla_l%252Caa2l6_l%252Cacf9e_l%252Cas6xz_l%252Caqhbz_l%252Cawzsm_l

                                                                                               26

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   %252Cabeh0_l%252Cr82ip_l%252Crdj51_l%252Cr82zg_l%252Cr6ght_l%252Crge9m_l%
   252Cr24ld_l%252Cal2af_l%252Caodep_l%252Cabxfo_l%252Cags65_l%252Caxcgn_l%25
   2Caumda_l%252Caufsu_l%252Cr0yi0_l%252Crbbho_l%252Cajqy8_l%252Caf191_l%252
   Cava6u_l%252Caalab_l%252Ca5tfs_l%252Ca01tp_l%252Crbjm0_l%252Crpp0h_l%252Cre
   est%252Crcisc%252Cr1zb8%252Crjqr5%252Crnfyo%252Cruvaj%252Crk4hi%252Crddr6
   %252Cr71he%252Crqlce%252Cryiid%252Cr63ky%252Cr8kl5%252Cr1djc%252Crj98c%2
   52Cr82mu%252Crp6mz%252Crzh20%252Crh5hz%252Cr0yv2%252Crvt6h%252Cr6x7c%2
   52Crohf5%252Crqqn2%252Crhwk9%252Cr2ob4%252Crf3mi%252Cr6iq7%252Crhwg4%2
   52Cr35cx%252Crt96h%252Cr6jbe%252Cryx8n%252Cr6g4r%252Cr03o4%252Crjl3v%252
   Cr02mg%252Crtdlb%252Cr35ap%252Crz25l%252Crsmxd%252Crp9h4%252Cr7tmu%252
   Crva7x%252Cr4avn%252Cr3bxp%252Cr694n%252Crsjjy%252Crhfzk%252Crqs5o%252Cr
   4t4y%252Cr35lh%252Crr25v%252Crxvz3%252Cr48wg%252Crj2ns%252Crfz4c%252Crvu
   4h%252Crj67t%252Cr8hz2%252Crgepe%252Cr2qxu%252Crh5xk%252Cra7me%252Cr1fn
   e%252Cratb5%252Cr5hej%252Crhll0%252Crs47a%252Ca4snn%252Cavede%252Cam3fu
   %252Cajqy8%252Ca7uxb%252Caewws%252Caqo9p%252Caodep%252Cag14e%26pdm%
   3Daab%26beh%3Dex0%252Ctv3%26ct%3Dtrue%252Ca4snn%252Cavede%252Cam3fu%2
   52Cajqy8%252Ca7uxb%252Caewws%252Caqo9p%252Caodep%252Cag14e%26wpnode%
   3Dworld%252Feurope%26page%3Dlive-
   blog%26pageId%3D5NQRUCZQKRE5RGTAGQ4DD4GUSE%26wp_pub_date%3D2%25
   2C7%252C30%252C90%26author%3Dandrew_jeong%252Csteve_hendrix%252Cjohn_wag
   ner%26spon_con%3D%26wp_tag%3Dmethode-draft%252Cstory-has-edit-
   branch%252Ccreatedfromtemplateidj6kf6mtel5fwbapz6c5fr5nfua%252Cmagnet-
   ukrainerussia%252Ccollections-russia-ukraine%252Clinkbox-russiaukraine%252Caudio-
   article%252Ccoverage-
   active%26email_spon%3Dnull%26crd%3Ddirect%26pcr%3Dn_e%26se%3D%26j_cid%3D
   1008623723.1645211606%26zeus_insights%3D8jo%252Cmtb%252C7tb%252C4ss%252C5
   1y%252Ckmg%252Cusr%252Cbs0%26adt%3DveryLow%26alc%3DveryLow%26dlm%3D
   veryLow%26drg%3DveryLow%26hat%3DveryLow%26off%3DveryLow%26vio%3Dlow%
   26fr%3Dfalse%26ias-
   kw%3DIAS_568_2105_KW%252CIAS_2060_KW%252CIAS_8600_KW%252CIAS_2058
   _KW%252CIAS_6676_KW%252CIAS_7045_KW&cookie=ID%3D5710424a050b01cb%3
   AT%3D1645211606%3AS%3DALNI_MZBLd6aGES6nturpQCzBwq7ipFeKA&bc=31&ab
   xe=1&dt=1645213543151&lmt=1645210839&dlt=1645213535912&idt=6274&frm=20&bi
   w=454&bih=933&oid=2&adxs=0&adys=2944&adks=1983721507&ucis=1&ifi=1&u_his=6
   &u_h=1080&u_w=1920&u_ah=1055&u_aw=1920&u_cd=24&u_sd=2&u_tz=-
   300&flash=0&dmc=8&url=https%3A%2F%2Fwww.washingtonpost.com%2Fworld%2F202
   2%2F02%2F18%2Frussia-ukraine-
   updates%2F&ref=https%3A%2F%2Fwww.washingtonpost.com%2F&vis=1&scr_x=0&scr_
   y=2061&psz=454x-1&msz=454x-
   1&ga_vid=1008623723.1645211606&ga_sid=1645213543&ga_hid=1420059900&ga_fc=tr
   ue&fws=512&ohw=0&btvi=0&uach=WyJtYWNPUyIsIjExLjYuMiIsIng4NiIsIiIsIjk4LjAuN
   Dc1OC44MCIsW10sbnVsbCxudWxsLCI2NCIsW1siIE5vdCBBO0JyYW5kIiwiOTkuMC4
   wLjAiXSxbIkNocm9taXVtIiwiOTguMC40NzU4LjgwIl0sWyJHb29nbGUgQ2hyb21lIiwiO

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      12245933&biw=454&bih=933&scr_x=0&scr_y=0&eid=42531398%2C44750773%2C3106
      3222%2C44758227%2C44758229%2C21067496&oid=2&pvsid=3209249916109084&pem
      =499&tmod=1871541083&uas=0&nvt=1&ref=https%3A%2F%2Fwww.manning.com%2F
      &eae=2&fc=1920&brdim=1934%2C25%2C1934%2C25%2C1920%2C25%2C1322%2C10
      12%2C469%2C933&vis=1&rsz=%7C%7Cs%7C&abl=NS&fu=32768&bc=31&ifi=1&uci=a
      !1&fsb=1&dtd=1046
   2. Request Method:
       GET
   3. Status Code:
       200
   4. Remote Address:
       172.217.13.162:443
   5. Referrer Policy:
       strict-origin-when-cross-origin
2. Response Headers
   1. alt-svc:
       h3=":443"; ma=2592000,h3-29=":443"; ma=2592000,h3-Q050=":443"; ma=2592000,h3-
       Q046=":443"; ma=2592000,h3-Q043=":443"; ma=2592000,quic=":443"; ma=2592000;
       v="46,43"
   2. content-encoding:
       br
   3. content-length:
       46
   4. content-type:
       text/html; charset=UTF-8
   5. cross-origin-resource-policy:
       cross-origin
   6. date:
       Fri, 18 Feb 2022 20:02:09 GMT
   7. p3p:
       policyref="https://googleads.g.doubleclick.net/pagead/gcn_p3p_.xml", CP="CURa ADMa
       DEVa TAIo PSAo PSDo OUR IND UNI PUR INT DEM STA PRE COM NAV OTC NOI
       DSP COR"
   8. server:
        cafe
   9. timing-allow-origin:
        *

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   10. x-content-type-options:
       nosniff
   11. x-xss-protection:
       0
3. Request Headers
   1. :authority:
        googleads.g.doubleclick.net
   2. :method:
       GET
   3. :path:
        /pagead/ads?client=ca-pub-
        9702019192198904&output=html&adk=3046330955&adf=2044148826&lmt=1645214529
        &plat=2%3A16777216%2C3%3A32%2C4%3A32%2C9%3A32768%2C16%3A8388608%2
        C17%3A32%2C24%3A32%2C25%3A32%2C30%3A1048576%2C32%3A32&format=0x0
        &url=https%3A%2F%2Fwww.manning.com%2Fwrite-a-
        book&ea=0&flash=0&pra=5&wgl=1&uach=WyJtYWNPUyIsIjExLjYuMiIsIng4NiIsIiIsIjk4
        LjAuNDc1OC44MCIsW10sbnVsbCxudWxsLCI2NCIsW1siIE5vdCBBO0JyYW5kIiwiOTk
        uMC4wLjAiXSxbIkNocm9taXVtIiwiOTguMC40NzU4LjgwIl0sWyJHb29nbGUgQ2hyb21lI
        iwiOTguMC40NzU4LjgwIl1dXQ..&dt=1645214528246&bpp=16&bdt=891&idt=912&shv=
        r20220216&mjsv=m202202090102&ptt=9&saldr=aa&abxe=1&cookie=ID%3Dca01698149
        7b5ba3-
        22b476d006d000a9%3AT%3D1645214098%3ART%3D1645214098%3AS%3DALNI_Ma
        ZRAVGeSSNG1MDycow9imeXwSJ5w&nras=1&correlator=4205640310988&frm=20&pv
        =2&ga_vid=1179962693.1645214098&ga_sid=1645214529&ga_hid=1123995141&ga_fc=1
        &u_tz=-
        300&u_his=8&u_h=1080&u_w=1920&u_ah=1055&u_aw=1920&u_cd=24&u_sd=2&dmc=
        8&adx=-12245933&ady=-
        12245933&biw=454&bih=933&scr_x=0&scr_y=0&eid=42531398%2C44750773%2C3106
        3222%2C44758227%2C44758229%2C21067496&oid=2&pvsid=3209249916109084&pem
        =499&tmod=1871541083&uas=0&nvt=1&ref=https%3A%2F%2Fwww.manning.com%2F
        &eae=2&fc=1920&brdim=1934%2C25%2C1934%2C25%2C1920%2C25%2C1322%2C10
        12%2C469%2C933&vis=1&rsz=%7C%7Cs%7C&abl=NS&fu=32768&bc=31&ifi=1&uci=a
        !1&fsb=1&dtd=1046
   4. :scheme:
        https
   5. accept:
       text/html,application/xhtml+xml,application/xml;q=0.9,image/avif,image/webp,image/apng,*
       /*;q=0.8,application/signed-exchange;v=b3;q=0.9
   6. accept-encoding:
       gzip, deflate, br

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   3. content-disposition:
       attachment; filename="f.txt"

   4. content-encoding:
       gzip

   5. content-length:
       63

   6. content-type:
       text/javascript; charset=UTF-8

   7. cross-origin-resource-policy:
       cross-origin

   8. date:
       Mon, 28 Mar 2022 18:38:44 GMT

   9. expires:
       Fri, 01 Jan 1990 00:00:00 GMT

   10. p3p:
       policyref="https://googleads.g.doubleclick.net/pagead/gcn p3p .xml", CP="CURa ADMa
       DEVa TAIo PSAo PSDo OUR IND UNI PUR INT DEM STA PRE COM NAV OTC NOI
       DSP COR"

   11. pragma:
       no-cache

   12. server:
       café

   13. timing-allow-origin:
       *

   14. x-content-type-options:
       nosniff

   15. x-xss-protection:
       0

3. Request Headers
   1. :authority:
        googleads.g.doubleclick.net



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                 Appendix D Google’s Cookies and the Impact of Cookie Blocking


1.        Throughout the class period, Google has made extensive use of cookies to track users

(including Plaintiffs and class members) across the Internet. Broadly speaking, Google uses its

cookies to associate an identifier, and other data, with either a signed-in user or a signed-out user.

Google uses GAIA (Google Accounts and ID Administration) cookies to identify users signed –in

to their Google account, where each GAIA cookie is uniquely mapped to a user’s Google account

(GOOG-CABR-00050450). There are two types of GAIA cookies – e.g., an SID cookie that is set

on google.com for search ads and a DSID cookie that is set on doubleclick.net for display ads.

Google uses Zwieback and Biscotti cookies to identify signed-out users. The Zwieback cookie

(e.g., NID cookie) is set on google.com for search ads and the Biscotti cookie (e.g., IDE cookie)

is set on doubleclick.net for display ads.1 Both Zwieback and Biscotti cookies contain identifiers

that are unique to a user’s signed-out browsing session. In particular, Biscotti cookies have been

used by Google throughout the class period to track a user across non-Google websites that have

embedded Google advertising beacons.

2.        Cookies are also distinguished as first party (1P) or third party (3P). Whether a cookie is

1P or 3P depends on the website domain the cookie is set on. Thus, a Zwieback cookie set on

google.com is 1P to Google whereas it is 3P to New York Times (nytimes.com). Similarly, a

Biscotti cookie set on doubleclick.net is 1P to Google and 3P to all non-Google websites. When

third-party cookie blocking is enabled (e.g., by                      which was launched by Google in

May of 2020 to block third party cookies by default in Incognito mode), the Biscotti cookie (3P to

nytimes.com) is blocked when a user visits nytimes.com.



                                  
1
    On YouTube, Google uses an ID called Visitor ID (GOOG-CABR-04727043 at -044).

                                                                                                   1
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
3.       Unlike Zwieback and Biscotti (which are created by Google servers and sent to user’s

browsers), Google tracking beacons embedded on non-Google websites can set Google cookies

on non-Google domains and save those cookies in the user’s browsers. These types of cookies are

also called JavaScript cookies.2 For example, Google Analytics (e.g., analytics.js) can set a 1P

cookie on nytimes.com. Other JavaScript 1P cookies set by Google tracking beacons include

conversion cookies (e.                                              and ads cookies (e.g.,               GFP). Even

though these are Google’s cookies, Google considers them to be “first-party” on non-Google

websites, and they are therefore not blocked by                             or other third-party cookie blocking

mechanisms when a user visits non-Google domains on which these cookies are set. See Kleber

Tr. 177:7-10 (“So blocking third-party cookies by default within incognito has no effect on the

Google Analytics processes you just described, correct? . . . I believe that's correct, yes.”).

4.       Mr. Kleber testified that it is “somewhat confusing” that Google cookies are sometimes

classified as first-party even on non-Google websites (Kleber Tr. 176:2-3). A Google internal

document acknowledges that “All Google cookies may be seen as 3P trackers even though they

may be mostly used in 1P context” (GOOG-BRWN-00844166 at -169).

5.       When Google launched third-party cookie blocking by default in Incognito, Chrome was

far behind other browsers’ efforts to block third-party cookies. Apple launched its Intelligent

Tracking Prevention (ITP) program in September 2017 which, over the subsequent three years,

put limitations on the use of third-party and first-party cookies on the Safari browser.3 This move

                                     
2
  GOOG-CABR-04766321 at -333: “In general, 1P cookies are those set in the same domain of the website where
the user navigated to, while 3P cookies are set on a different domain. For instance, if a user navigates to the site
example.com and a cookie is set on the example.com domain, that is a 1P cookie. If another cookie is set on
“googleadservices.com” or “doubleclick.net”, that would be a 3P cookie… The global site tag on the advertisers
landing page uses javascript to store the gclid in a first party cookie which can then only be read on the advertisers
site. In this case, its possible to measure conversions when 3P cookies aren't available.”
3
  GOOG-CABR-03841719 “Safari ITP Impact History”, GOOG-CABR-04693821 at -825 and GOOG-CABR-
04766321 at -324: “Safari’s latest release, ITP 3.0, was announced on 24 March 2020 rendering all 3P cookies

                                                                                                                        2
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
caused major concerns for Google with “$xxB at risk across ads use cases: e.g., conversions &

personalization” and “Future risk of domino effect: Others may follow Apple’s lead” (GOOG-

CABR-04693821 at -824). Other browsers did follow suit, with Firefox launching Enhanced

Tracking Protection (ETP) in the fall of 2019 and Edge launching Tracking Prevention (TP) in

early 2020. Chrome’s own third-party cookie blocking solution,                                 , was not launched

until May 2020, and was limited to just the Incognito mode (GOOG-CABR-04820567 at -577).

Google previously announced its intent to fully block 3P cookies for all of Chrome in 2022, but

later changed that to late 2023.4

6.       When Chrome is compared against other major browsers, as shown in the diagram below,

I agree with Google engineers that “Chrome look terrible from a privacy perspective in a side-by-

side comparison with other browsers” (GOOG-CABR-04766321 at -3225). According to Google

engineer Michael Kleber, “But until we can get rid of 3p cookies, I don’t know any realistic way

to combat that idea. We are acting differently from other browsers in this area, and it is because

we understand the implications to the Ads ecosystem better than they do and that is because of our

ties to the Ads team” (GOOG-BRWN-00475278 at -279).




                                    
immediately unavailable when a user is using a Safari browser, impacting our ability to measure 3P conversions.
Additionally, a previous announcement (ITP 2.2) reduced the lifetime of 1P client-side cookies — i.e. those cookies
set in advertiser/publisher’s own domains — to one day... In October 2018, Mozilla announced a set of features
similar to ITP called Enhanced Tracking Protection (ETP) which limit the ability to user 3P cookies. In September
2019, Firefox announced that ETP is now live by default for all users that upgrade to the latest version of Firefox.”
4
  https://blog.google/products/chrome/updated-timeline-privacy-sandbox-milestones/ (Last accessed on April 11,
2022) and GOOG-CABR-04820567 at -580.
5
  EVC = Engaged-view conversion for YouTube

                                                                                                                   3
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                                                         





7.      Google could have implemented third-party cookie blocking by default prior to June 1,

2016, for all modes or just for Incognito. In fact, Google had previously considered doing so. Now-

retired Google engineer Justin Schuh explained in an August 2016 email that “I realize that this is

subject is fraught with peril, but maybe it’s time to take another crack at a phasing third-party

cookie blocking into Chrome by default?”6 In a later email within the same thread, Mr. Schuh

explained that “Safari has been moving the needle here for several years now. . . So, I think we

should start pushing too.”7 Mr. Schuh likewise testified in this case that “as a technical matter, the




                                 
6
  GOOG-BRWN-00397243 at -44; see also GOOG-CABR-05372789 at -89 (November 2018 email from Google
employee noting that he was “actively considering at the moment” “blocking 3rd party cookies by default (in
Incognito mode”).)
7
  Id. at -43.

                                                                                                             4
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
hard part is not making the change,” and he confirmed that Google could have blocked third-party

cookies by default as early as June 2016 (the start of the Class Period) and probably earlier.8

8.       Moreover, when browsers implemented privacy protection measures, Google

circumvented these efforts with countermeasures of their own to protect their bottom line. These

have included increased scope for site-wide tagging to track users across entire websites rather

than specific webpages and increased usage of 1P cookies, Google sign-in and third-party user

sign-in IDs, among others, as shown in the chart below (GOOG-CABR-04820567 at -595).




                                    
8
  Schuh Tr. 146:21-148:18 see also GOOG-BRWN-00410076 (July 2008 email from Adam Barth stating that, “The
most compatible behavior here is to match Safari exactly. Safari has third party cookie blocking on by default
(albeit with a different policy than ours). If I were to optimize for compatibility, I would recommend enabling third-
party cookie blocking by default and matching Safari’s behavior exactly. I realize that there are other reasons why
we’re not doing this (pressure from the ads team, for example), but it seems eminently reasonable to allow users to
opt in to matching Safari’s cookie behavior.”).

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                                  Appendix F Conversion Tracking at Google

Content

I.    Google’s Conversion Tracking with 1P and 3P Cookies ..................................................................... 1
II.   Google’s Signed-Out Cross Device Conversion Tracking and Conversion Modeling ........................ 6



I.        GOOGLE’S CONVERSION TRACKING WITH FIRST-PARTY AND THIRD-
          PARTY COOKIES

1.        Conversion tracking is the ability to match a user’s interaction with an event (e.g., seeing

the ad, clicking on the ad, etc.) with the user’s ultimate conversion action on the advertiser’s

website. For this match to happen, Google has traditionally used the following techniques (GOOG-

CABR-00894548 at -557 to -561):

          x    Tracking beacons – embedded on publisher and advertiser websites, which are used
               to create first-party cookies, read URL content, and send data to Google, among other
               functions.
          x    Cookies – first-party (1P) or third-party (3P) cookies to identify a particular user or
               browser session within a domain or across multiple domains. See Appendix D for an
               explanation of the difference between 1P and 3P cookies.
          x    Link Decorations – embedded identifying information (e.g., identifying a particular
               ad, identifying a particular click action, or identifying the particular user) in URL links.

2.        As explained by Google engineer Dr. Glenn Berntson during his 30(b)(6) deposition

(Berntson March 18, 2022 Tr. 154:22-155:4) and demonstrated by Google’s internal

documentation, Google conversion tracking beacons on non-Google websites work in

fundamentally the same way for the purpose of this case regardless of whether an advertisement

is viewed or clicked on Google search pages, non-Google websites, YouTube.com, or embedded

videos on non-Google websites.1


1
 See e.g., GOOG-CABR-03738741 at -745 to -751 describing conversion tracking with AdWords, Google
Analytics and Floodlight; GOOG-CABR-04795482 at -484 to -497 describing YouTube conversion and logging
architecture; GOOG-CABR-00399412 at -413: “View-through conversions (VTCs) are fundamentally different


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3.       As Google explains, “conversion tracking has been done via third-party cookies. The user

clicks an ad, they are redirected to a Google-owned domain where a cookie is set, then finally

redirected to the customer's landing page. When a user later converts, the conversion tracking

beacon picks up the conversion cookie from the Google-owned domain (which in that context is

third-party) and the conversion can then be joined back to the original click” (GOOG-CABR-

00903677 at -677).

4.       With the loss of third-party (3P) cookies, Google increasingly relied on their own first-

party (1P) cookies for conversion tracking. Google explains that, for their customers (i.e., non-

Google websites), “[f]irst-party conversion tracking relies on cookies set on the customer’s

domain. Conversion ids are passed between Google-owned domains and customer-owned domains

via URL parameters. In order to set a cookie on the customer’s domain, [Google] need[s]

JavaScript on the customer’s page that executes in a first-party context. Ideally these scripts are

placed on all pages of the customer’s site, but minimally they must be present on all possible

landing pages. Google's existing AdWords and Floodlight tags are not typically deployed site-

wide, but Google Analytics scripts, GTM, and OGT are” (GOOG-CABR-00903677 at -678 to -

679).

5.       There are some important differences between 1P and 3P cookie-based conversion

tracking. Google explains the main differences between first-party cookie-based conversion

tracking (1PCT) and third-party cookie-based conversion tracking (3PCT) as follows (GOOG-

CABR-00903677 at -679 and -680):

     x   “1PCT works when third-party cookies are blocked or otherwise disabled.” This applies to
                      where third-party cookies are now blocked by default in Incognito mode.



from click-through conversions (CTCs) as they are attributed to an impression (normal or delayed with a view)
instead of a click.”

                                                                                                                2
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         However,                     does not prevent Google from using first-party cookies to track
                       2
         conversions.
     x   “3PCT works even when a customer’s website spans multiple domains. 1PCT can only
         work across domains if the first-party cookies are copied across domains via URL
         parameters (e.g., by using GA’s cross-domain linker feature.)”
     x   “1PCT requires more end-user bandwidth since the conversion cookies are sent to the first-
         party server on every HTTP request. A typical website can have ~100 such requests on
         each page. Since these cookies are not needed/used by the first-party server the extra
         bandwidth used to transmit them is wasted.”
     x   “1PCT storage is limited by the number of first-party cookies a particular end user has
         stored for a customer's domain. 3PCT storage is limited by the total number of conversion
         cookies an end user has stored for all Google’s customers. This limit can be as low as 4k
         which results in other cookies being prematurely discarded by the browser.”
     x   “1PCT cookies can be read by any other script running in a first-party context. This means
         it is possible for a (read, write, copy, delete, etc.) [Note that non-Google scripts can already
         read &gclid directly from landing page URLs - this broadens that beyond landing pages.]”


6.       Google has developed other ways to mitigate 3P cookie loss and circumvent privacy

measures implemented by other browsers. For example,

                                                                (GOOG-CABR-04958035 at -037).

                                                                                                  (GOOG-CABR-

04958035 at -038),



(GOOG-CABR-04693821 at -829).

7.       Google’s ANID cookie has a Biscotti ID embedded within it but is set on google.com rather

than on doublelick.net. When a user visits google.com, “a pixel is fired from OGB

(OneGoogleBar) or SERP (Search Engine Results Page) into google.com . . . . Upon receiving the

pixel, it redirects to doubleclick.net and . . .google.com” (GOOG-CABR-04957994 at -998). If


2
  GOOG-CABR-03662975 at -977 Google engineers explain that to mitigate loss of 3P cookies for conversion
tracking, “the actions for sales to take here are: 1) move to gTag / GTM if you aren't on it already 2) use Enhanced
Conversions to recover view based conversions”

                                                                                                                       3
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there was no ANID set on google.com before, a new ANID cookie is set containing a Biscotti ID

(GOOG-CABR-04693821 at -831 and -832). This ANID is then used by Google as an

“AdsIdentity Token” and is passed as a URL parameter on doubleclick.net. Thus, Google gets

around the 3P cookie loss on ITP browsers by using its 1P cookie and passing the embedded

Biscotti ID in URLs when serving Display ads. A diagram of how ANID is used is shown below

(GOOG-CABR-03695549 at -567).




8.      Google’s server-side conversion tracking (GOOG-CABR-04765137 at -142) leverages

Google identifiers such as Zwieback on the server side. When a user clicks on an ad, Google sets

a third-party conversion cookie on the browser as usual. With SSCT, this Google conversion

cookie is keyed by Zwieback3 on the server side. When the user performs a conversion action, if

the conversion cookie is present, then the conversion cookie is used for conversion attribution.

However, if the conversion cookie is absent, Google redirects to google.com to obtain the

Zwieback cookie and uses this Zwieback cookie to look up the conversion cookie (GOOG-CABR-

04765137 at -140).


3
 For display ads, the conversion cookie is keyed by Biscotti ID (stored in ANID) and for YouTube ads, by Visitor
ID (resolving conversion via Zwieback and Visitor ID association) (GOOG-CABR-04765137 at -140).

                                                                                                                   4
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9.       Another development after ITP was the increasing role Sitewide Tagging and 1P cookies

played in conversion tracking (GOOG-CABR-04678695.R at -700.R). In response to ITP, “Google

has moved to using gclid as first party cookies to track conversion”4 for Google’s ads products.

Google’s 1P conversion tracking involves writing the Google Click ID (GCLID) or a Display Click

ID (DCLID5) to 1P cookies (e.g,                              and             ) site-wide by Google Analytics,

Google Tag Manager (GTM), and the One Google Tag (OGT gtag.js) (GOOG-CABR-04418137

at -138). “On conversion, AWCT and Floodlight tags (often deployed via GTM/OGT) will read

these cookies and send them server-side as query parameters” (GOOG-CABR-00903677 at -679

and -680). Since 1P conversion tracking uses 1P cookies, third-party cookie blocking

implementations such as                         do not impact such conversions.




4
  GOOG-CABR-04622340 at -341.
5
  GOOG-CABR-03719284 and GOOG-CABR-04413020: “We’re incredibly excited to announce the launch of new
capabilities to track display and video conversions on DV3 and CM [Campaign Manager]. This launch allows
Floodlight on both platforms to better track click through conversions on display and video ads in cases where we do
not have access to a third party cookie. Why is this important? Changes in the ads ecosystem (including ITP) have
begun to limit our access to the Biscotti cookie for attribution analysis. Last year we launched support for GCLIDs,
which enabled Floodlight to measure click-through attribution on search ads. This launch now extends that
capability to display and video ads using DCLIDs. Customers who rely on click-through attribution will now have
more accurate and comprehensive information for their campaigns. How does this work? When a user clicks on an
ad, our click tracker will dynamically create a DCLID and link it to the particular ad placement. This DCLID value
is then appended to the landing page URL as a new parameter. On the landing page, the Global Site Tag will read
the DCLID and pass it back to us, along with a unique first party cookie ID. On conversion, Floodlight will also pass
along the first party cookie ID. Attribution will then be able to link the first party cookie ID with the originating
placement information to determine the click-through attribution. This works for both last click and non last click
attribution. How do I get started? Customers must first deploy the Global Site Tag. . . . Once deployed, customers
must then enable a new setting on the Floodlight Config called ‘Enhanced Attribution.’ Enabling this will begin
adding the DCLID as described above.”
6
  In 2021, Google launched a new identifier for 1P conversion tracking – AUID (Advertiser User ID). AUID is used
“across Google Ads conversion tracking and Floodlight. The primary behavior is to mimic the concept used in
Google Analytics by providing a pseudonymous identifier that represents a user and stored in a 1P cookie. When a
user clicks on an ad and navigates to a customer's website, attribution information (GCLID) is added to the URL
parameters. This has traditionally been stored in a 1P cookie and sent at conversion time. In order to support non-last
click (NLC) attribution, this GCLID will now be included in a join beacon along with the AUID and no longer be
required to be stored in a 1P cookie. AUID will then be sent along with conversions” (GOOG-CABR-03718357 at -
357 and -358). The AUID is stored in a new 1P cookie named _gcl_au and Google has plans to deprecate other click
ID cookies (_gac_*, _gcl_aw, _gcl_dc) (GOOG-CABR-04418137 at -138, -142 and -143).

                                                                                                                     5
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II.     GOOG/E’S SIGNED-OUT CROSS DEVICE CONVERSION TRACKING AND
         CONVERSION MODELING

10.      Cross-device conversions refer to conversions where the user clicks or views an

advertisement but performs the conversion event on a different device. For example, the user views

an advertisement within an Incognito browsing session and then later on, on a different device,

purchases the item in the viewed advertisement. Other conversion scenarios include users

converting on a different browser on the same device, or within a different private browsing

session. Tracking conversions within one private browsing session and on the same device is much

easier than tracking them across different sessions and devices. Thus, Google has developed

proprietary programs to track cross-device conversions.

11.      Cross-device conversion tracking in private browsing mode while the user is signed-out

uses Google’s internal tools such as                                   and           These Google

tools utilize a user’s activities while signed in to Google to form an association between different

signed-out identifiers. As such, when a user is signed-out of their Google account at a later time,

the pre-established association between the signed-out identifiers across different private browsing

sessions or across different devices can be used by Google to track conversions.

12.             is one tool Google has used throughout the class period to associate signed-out IDs

on different devices. As Google explains,




        (GOOG-CABR-04755930 at -931). The idea is to assign a GAIA alternative called TAID

          Temporal ID) and a Biscotti alternative called AID            ID). While Google claims




                                                                                                  6
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that it does not link Gaia IDs and Biscotti IDs, it apparently sees no issues with linking the

alternative TAID and AIDs as shown in the diagram below (GOOG-CABR-03662096 at -100).




13.     Suppose a user signs in on two different devices within a certain period of time. The GAIA

alternative, TAID, forms an association across the two devices and links the Biscotti alternatives,

AIDs on both devices as shown in the diagram below. By doing so, even after the user signs out

on both devices, the AIDs on both devices continue to be associated within the same          group

(GOOG-CABR-03662096 at -102). “Tracking cross-device conversions is pretty easy with

Graph in the arsenal, since AID cookies are available at both ad click and conversion ping time. .

. .[A]t conversion ping time, all clicks keyed by AIDs belonging to an appropriate          Group

(a connected component in            graph) are fetched and last-click-attribution is performed”

(GOOG-CABR-03662096 at -105).




                                                                                                 7
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14.      Google feeds the signed-out ID linkages created by          into another Google process

called               , which Google also used throughout the class period. Several other Google

processes also provide input data to                       (GOOG-CABR-03652751 at -754).

               “has been serving as the most commonly used infrastructure to



                                                                        ...               remains

valuable for signed-out . . . links” (GOOG-CABR-00399928 at -929).

15.      Google models any cross-device conversions that cannot be tracked. Modeling allows

Google to use data from signed-in users “to predict similar behavior from signed-out users”

(GOOG-BRWN-00143334 at -335). This “modeling enables Google to quantify the impact of

marketing investments where observed conversions are not possible, creating an aggregate view

of customer behavior. It also provides a more robust foundation, not just for measurement, but for

campaign optimization, allowing advertisers to bid with confidence” (GOOG-BRWN-00143334

at -334). Google uses modeling in their bidding algorithms, audience targeting, and conversion

projections (GOOG-BRWN-00143334 at -335).

16.      Google’s         was one such modeling tools used by Google to “estimate the number of

cross-device conversions that          would observe if: all the display ad queries were sent by

                                                                                                8
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GAIA users” (GOOG-CABR-04092489 at -490). For search ads, Google used a similar tool called

           for conversion modeling (GOOG-CABR-04009739) .

17.     Google’s

                                                                             .7 For any particular signed-out

click or conversion event in a Private Browsing session, there is no requirement that the user be

signed-in at any point within the session. Google uses all the past data it collected from its users

while they were signed-in to model signed-out conversions. As the chart8 below shows, with

         , Google simulates conversions if either the click or the conversion event is in signed-out

mode.




18.     With             , Google uses at least the following information collected from users,

including from private browsing modes: customer ID, ad network (search/display/YouTube),

conversion tracking ID, mobile browser class, country, web property, adgroup ID, campaign ID,

conversion lag (in days) and conversion type (GOOG-CABR-03670580 at -586). Google explains

that “for all ad clicks that are not signed into a Google service, the model creates an expected cross-

device conversion rate based on important signals (device type, country/language, landing page,

conversion type, time of click and conversion)” (GOOG-CABR-03618860 at -861).


7
  GOOG-CABR-04626120 at -121 and -122:                  takes Gaia-based x-device click-through conversions that we
can only partially observe because users aren’t always logged in at click or conversion time and estimates how many
conversions there would be if we had full coverage.”
8
  GOOG-CABR-03670580 at -583.

                                                                                                                 9
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19.     In April 2019, Google launched the ability for Google Analytics to export cross-device

conversions to Google Ads with a feature that is analogues to              “With Google Signals

enabled for a Google Analytics property, Google Analytics first determines cross-device click-

through conversions for users that are logged into their Google Accounts (GAIA). This is a partial

observation because users aren’t always logged in at click or conversion time; therefore, a machine

learning model estimates how many conversions there would be if there was full login coverage.

The result is simulated additional cross-device conversions that are then exported to Google Ads

to be reported or used for bidding” (GOOG-BRWN-00749001 at -004).




                                                                                                10
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               EXPERT REPORT OF JONATHAN E. HOCHMAN

                                     APRIL 15, 2022




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                                       Appendix G Chrome Class Identification

Content

Appendix G.1 User Metrics Analysis (UMA) .............................................................................................. 1
Appendix G.2 Incognito Signals in Logs ...................................................................................................... 7



1.         There are a number of ways to identify members of Class I based on the information

collected and stored by Google, and Google employees have admitted as much in internal

discussions. Throughout the class period, Google has detected, monitored, and logged Incognito

browsing activities through two primary means: (1) UMA; and (2) x-client-data in combination

with user agent. Google has implemented several internal “Dashboards” to monitor and display

Incognito browsing traffic, both in terms of individual events and in terms of aggregate statistics.

These Google Dashboards, as well as the logic used to implement Incognito detection on Google’s

server side, can be used to identify the Chrome Incognito class (Class I). I will describe these

methods and the Dashboards in this Appendix.



APPENDIX G.1 USER METRICS ANALYSIS (UMA)

2.         It is my opinion that Google can use its records of UMA data to identify members of Class

I. This class identification method will not work for all members of Class I because not every

Chrome instance is selected by Google to upload UMA data.1 And this method is being impaired

by Google’s ongoing deletion of private browsing information. The data is only retained for

          .2




1
   GOOG-CABR-04477378 at -381: “The metrics team controls how many of the consenting users actually upload
data to Google.”
2
  GOOG-CABR-04801490

                                                                                                                                             1

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3.      As discussed in Section F of the main report, UMA is a built-in feature in Chrome that

reports extremely detailed Chrome usage information to Google, including Incognito mode usage.

UMA has been in existence throughout the class period, with Google obtaining information

regarding Incognito mode usage throughout the class period. Users have no ability to delete their

sensitive data stored in Google’s UMA logs (raw or aggregated).3

4.      Each Chrome instance or install is associated with a unique identifier called the UMA ID

or            . The UMA                  identifier is a stable identifier that is created when a user installs

a Chrome instance and does not opt-out of UMA data collection.4 A user can obtain their UMA

ID                 by typing                               in a Chrome browser URL box and copying the

            value under                                    . This ID can be retrieved for each device that a

user owns. When multiple user accounts exist on a device, each user can retrieve their own UMA

ID by signing into their own device account.

5.      For each UMA ID, Google can look up the raw UMA data periodically uploaded to Google

from the user’s device in a UMA log called the                                                          . This log



          This raw UMA data log is one of the key Google logs for identifying Incognito usage on

an individual user basis.




3
  GOOG-BRWN-00032906andGOOG-CABR-00484121at -121: “The retention policy for the received data is 1.5
years. But we do keep aggregates of it indefinitely … The existing collected data cannot be deleted by the user”
4
  There are a few limited scenarios when UMA ID is reset, including when a user factory resets the device or toggles
off the consent for UMA data collection. For the vast majority of the use cases, the UMA ID does not change. See
e.g., GOOG-CABR-04486185 at -186: “There are multiple reasons why UMA client ID can be reset, one of which
includes the device being powerwashed (also known as a factory reset and switch to Dev mode). In these instances,
new UMA client ID is created after a device is powerwashed…” and Footnote 3: “UMA Client IDs can also be reset
by entering Dev mode, switching channels (i.e. from Stable to Beta), when entering recovery mode, or by opting out
and subsequently opting back into UMA consent”.
5
  Data Source Information Provided Reconciliation - Brown.xlsx

                                                                                                                  2

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6.       UMA user action events record every user interaction with the Chrome browser along with

the exact time of each of these interactions. These events include window and tab open, close, and

switching events as well as searches and page loads. Some of the user action events pertaining to

Incognito usage are listed in GOOG-CABR-00000015 at -22 and -23. These include an

“                                 action which marks the start of an Incognito session and an

                                 action which marks the end of an Incognito session. 6 Thus, within

Google’s raw UMA logs, Google keeps track of the exact time when a user has an active Incognito

session. This data is not only associated with the user’s UMA ID but also with the IP address and

the user agent of the user’s device.7

7.       An example UMA user-action sequence is shown below extracted from Plaintiff William

Byatt’s UMA data produced from the Second Iterative Search of the Special Master process.8 This

user-action sequence indicates the start of an Incognito session along with the timestamp of when

the Incognito actions occurred. In addition, the UMA data file contains Mr. Byatt’s IP address, and

user-agent.9




6
  GOOG-CABR-00000015 at -22 and -23 shows many other Incognito related user actions, including several that
are specific to the Chrome browser app on mobile devices.
7
  2021-11-18 Brown Omnibus Sheet.xlsx tab ‘3.6                                            ’. The user’s IP address is
stored at least in the             and                 fields. The user agent is stored in the             field.
8
  The original produced UMA data is contained within “                                                        produced on
March 25, 2022 as a part of the Second Iterative Search. The field names have been decoded and included in
Exhibit E titled “                                                                          The full decoded file contains
                        lines. The short user-action sequence shown above are from lines 932660 to 932686.
9
  For example, line 67128 of Exhibit E shows an IP address of                      and a user agent of

                          This IP address and user agent pair appears in a
                                               – e.g., row 24) produced on the same day. As I describe in Appendix
H, this log record, with Biscotti ID                         is associated with Mr. Byatt’s Incognito browsing
activities. The same IP address and user agent pair also appears in Mr. Byatt’s Google account information
associated with his GAIA ID and e-mail addresses as shown in Exhibit D in file “wmjbyatt.SubscriberInfo.html”.

                                                                                                                        3

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8.      In addition to detailed UMA user actions, Google also obtains aggregated information from

each user’s Chrome browser in the form of Histograms. Some of the Histogram events pertaining

to Incognito usage are listed in GOOG-CABR-00000015. In particular, Google has a webpage

load-counting metric called                                               , which is considered by Google

engineers as the “most precise measure of incognito usage.”10 In mid-2020, the name of this metric

was changed to                                              .11 This metric is used to separately report the

number of webpage loads in Incognito and non-Incognito modes during each UMA upload


10
   GOOG-BRWN-00455104 “I think the most precise measure of incognito usage is based on
                                      UMA.”
11
    GOOG-BRWN-00183909. Google engineer explains at
https://source.chromium.org/chromium/chromium/src/+/main:tools/metrics/histograms/metadata/navigation/histogra
ms.xml (Last accessed on April 11, 2022) that the                                       metric is “The browser
profile type for each main-frame navigation, recorded after navigation completion, including NTP [New Tab Page].”
                      is specified at
https://source.chromium.org/chromium/chromium/src/+/main:components/profile_metrics/browser_profile_type.h?q
=BrowserProfileType (Last accessed on April 11, 2022). GOOG-CABR-03717247 at -253 explains histogram
buckets.

                                                                                                               4

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interval. 12 For        example,      Mr.        Byatt’s   UMA     data       contains   the    histogram      event




9.       Aside from the raw UMA log                                                            Google also keeps

aggregated        UMA         data         in     other    logs      such        as

                                       ,        and                                               which      include

aggregated data processed from the raw log.14 The                       log retains approximately
                                                                          5
data while the                       logs are retained                        These logs are used for generating

aggregate statistics across all users that upload UMA data, such as the number of page loads in

Incognito mode and the number of Incognito users. Google uses an UMA Dashboard to extract

these aggregate Incognito usage statistics (see e.g., GOOG-CABR-05876937).




12
    GOOG-CABR-04486714 showing the raw page load counts in Chrome regular and Incognito modes based on
                                       .
13
   Taken from lines 1034962 to 1024973 of Exhibit E. Each UMA upload contains
                    which marks the time duration of histogram counts (e.g., lines 1090087 to 1090096 of Exhibit
E).
14
    GOOG-BRWN-00032906 at -906
15
    GOOG-BRWN-00032906 at -906 and GOOG-CABR-04801490: “The data shown on UMA dashboards is
powered by processed tables - usually either the Timeline table (which will continue to keep indefinitely since it
does not have client ids) or the full dynamic table               which will continue to have           retention.”

                                                                                                                      5

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10.       UMA is considered by Google engineers to be the “ground-truth” for Chrome usage and

Incognito statistics.16 “UMA is the only reliable source for incognito usage statistics at Google…If

someone asked me how to find out about incognito usage statistics, I would tell them ‘[Y]ou should

use UMA’” (Sadowski Tr. 28:18-23:6-8). Google reports aggregated 7-day and 28-day statistics

based on UMA, including the number of page loads, sessions, and unique users in Incognito and

non-Incognito modes across desktop, Android, iOS, and other device platforms.17

11.       Google’s raw UMA log,                                           , contains data that can readily

be used to identify members of the Chrome class. Those class members selected to upload their

UMA data can furnish their UMA ID (                 ) and Google account email for verification. UMA

data from the previous                is stored in the raw UMA log if the user’s device was selected

for UMA upload. I understand from Counsel that Google represented to the Special Master that

the types of data stored within the               are the same as more recent data.

12.       Once a Google account holder’s UMA data has been located in the raw UMA log, the

following information can be obtained:

      x   User’s IP address and user-agent. The geographical location of the user (e.g., United
          States) can be obtained from the IP address.
      x   The number of Incognito page loads for each upload period as well as the time duration
          within which the pageloads were measured.
      x   The start and end times of every Incognito session along with user browser interaction
          events within each Incognito session.

13.       These metrics identify a Google account holder as an Incognito user in the United States

within the previous              and her Incognito page load counts during those sessions. Combined



16
   GOOG-CABR-03849022 at -022 Google engineer Bert Leung says: “we do have more updated stats from
UMA…I believe we can use it as the "ground truth" for analysis.” and GOOG-BRWN-00438510 at -510: “in the
area of measuring incognito usage I’d strongly suggest believing the UMA data”.
17
   See e.g., GOOG-BRWN-00164509, GOOG-CABR-04483323, GOOG-CABR-04648434, GOOG-BRWN-
00164509

                                                                                                           6

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with the fact that users rarely sign in to their Google account in Incognito mode18 and the fact that

Google tracking beacons are so prevalent on the Internet, the probability of an Incognito user

identified in this way being a member of the Chrome class is close to certain.

14.       The time-stamped UMA data can be used in conjunction with private browsing information

stored in Google ads and Analytics logs to confirm that the user is a member of the class. The ads

and Analytics logs can be used to identify specific non-Google websites the user visited during

each Incognito session while not signed in to Google. This can be done as follows:

      x   Identify the relevant log sources through either: (1) IP address and user agent; (2) User’s

          non-Google website sign-in identifiers (such as PPID, Analytics User ID, or Google Ads

          User ID); (3) Biscotti cookies; (4) Analytics CIDs; or (5) any combination or all of the

          above.

      x   For each relevant log source, identify timestamped events stored in the log that took place

          within each Incognito session duration as identified by UMA. If any such event is found in

          signed-out logs, then the user has visited a non-Google website while not signed in to

          Google. Some of these logs also contain explicit Incognito signals tied to individual events

          as I will discuss in the next subsection.



APPENDIX G.2 INCOGNITO SIGNALS IN LOGS

15.       It is my opinion that Google can also use its records of advertising data to identify members

of Class I. As with the UMA method described above, this method is being impaired by Google’s

ongoing deletion of private browsing information. I understand from Counsel that Google has



18
  GOOG-CABR-04959606 at 609: “Incognito: Users in incognito mode usually don’t sign-in with gaia” and
GOOG-BRWN-00035610 at -616: “Even in Incognito mode, some users do choose to sign in and search. Signed in
searches do represent a small fraction of all Incognito searches, however.”

                                                                                                         7

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represented that it did not change the routine deletion period for any log or data source that contains

private browsing information.

16.      Google has been tracking Incognito usage not only through UMA but also through an

Incognito signal called x-client-data that is only accessible by Google.19 This x-client-data field is

only sent in non-Incognito mode from Chrome browsers to Google and is not sent in Incognito

mode.20 Thus the x-client-data field can be used to detect Incognito mode, and indeed Google has

been using the x-client-data field for Incognito detection since at least 2014.21 Several Google ads

event logs store x-client-data (or contain an empty field indicating its absence) along with event

timestamp, URL visited, IP address, user agent, and a plethora of other information.22


19
   GOOG-CABR-00890415 at -417: “This is the X-Client-Data header which gets sent to google as well as some of
these domains: {". android.com ", ". doubleclick.com ", ". doubleclick.net ", ". ggpht.com ", ". googleadservices.com
", ". googleapis.com ", ". googlesyndication.com ", ". googleusercontent.com ", ". googlevideo.com ", ". gstatic.com
", ". ytimg.com "” and GOOG-BRWN-00035610 at -610: “Finch is the Chrome experiments framework. In order to
facilitates understanding the impact of Chrome experiments on user behavior on Google properties, Finch
experiments can report their state to certain Google top level domains. This is accomplished by sending back an
additional HTTP header – the X-Client-Data header (which was called X-Chrome-Variations before M33). This
header contains a serialized, base64 encoded ChromeVariation proto”
20
   Absent Google code, which they have refused to provide, I have examined publicly available code for Chromium
browsers (upon which the Chrome browser is built) and found that the browser implements logic to only transmit
the x-client-data header for non-Incognito profiles in the browser. See
https://chromium.googlesource.com/chromium/src.git/+/62.0.3178.1/components/variations/net/variations_http_hea
ders.cc?autodive=0%2F%2F%2F (Last accessed on April 11, 2022).: “Note the criteria for attaching client
experiment headers: 1. We only transmit to Google owned domains which can evaluate experiments…2. Only
transmit for non-Incognito profiles.” This is validated by Google documentations (e.g., GOOG-BRWN-00035610 at
-610 “These headers are ONLY transmitted when the request is not coming from an Incognito windows”).
21
   See e.g., GOOG-BRWN-00035610 at -610: “we can determine the fraction of Chrome searches from Incognito
windows by looking at searches that have HTTP headers logged but do not have the X-Client-Data”, GOOG-
BRWN-00536949 “Incognito traffic from Chrome on Android can be detected from the absence of an X-Client-Data
header in search requests” and GOOG-BRWN-00204684 on “How to Detect Incognito Mode” demonstrating
Incognito detection for both search and display ads traffic.
22
   Through the Special Master process, three logs containing x-client-data have been identified, including
                                            , and                        . Two of these logs have been used by Bert
Leung in his Incognito detection study. See, GOOG-CABR-05280756 at -756: “Right now log analysis of Chrome
Incognito is only possible for logs with both UserAgent and HttpHeaders logged. While UserAgent is generally
logged, HttpHeaders are not (It’s only logged in a few log sources.). In go/               -monitor, I am using
                        and                          ” The Plaintiffs have repeatedly requested Google to disclose
other logs containing x-client-data. Google has not responded to those requests. On March 17, 2022, Google
disclosed for the first time three additional logs that Google has reviewed, analyzed, or searched as
part of Google’s efforts to conduct a “log analysis of Chrome Incognito” in and around mid-2020:
                       , and a                         SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.
34). Google has not provided schema for these logs and it is unclear whether these logs contains x-client-data header
information.

                                                                                                                   8

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17.      In 2014, a Google internal document shows Google using the x-client-data header to

“determine the fraction of Chrome searches from incognito window by looking at searches that

have HTTP headers logged but do not have the X-Client-Data” (GOOG-BRWN-00035610 at -

610). This effort included an identification of user-agent from browsers that “are not capable of

sending the X-Client-Data header” (GOOG-BRWN-00035610 at Table 1).

18.      In 2020, just before this lawsuit was filed, Google engineers were engaged in detecting

Incognito traffic from traffic Google intercepted, collected, and stored in ads event logs. By

looking at the x-client-data field in various logs, Google engineers were able to determine

Incognito usage with a high degree of accuracy. This effort culminated in a Dashboard23 that

Google engineering teams used to monitor Incognito traffic starting at least in the middle of 2020.

19.      Subsequently, Google engineers made improvements on the Incognito detection logic and

developed a more sophisticated                                Monitoring Dashboard. This follow-on work

included logging a “maybe_chrome_incognito” field into               event logs, including four signed-out

Display ad logs.24 Google engineers initially referred to this field as the “is_incognito” field and

changed the name to “maybe_chrome_incognito” in July 2020 after this lawsuit began.25

20.      Elsewhere in the Google infrastructure, x-client-data-based Incognito fields are referred to

as “is_chrome_incognito” and “is_chrome_non_incognito.” 26 These two fields have been logged

in                logs since 2017.27 In addition to relying on the absence of the x-client-data header,

the “is_chrome_incognito” and “is_chrome_non_incognito” fields may also rely on the absence

of the X-Geo header (GOOG-BRWN-00536949 discussing                           logs and noting that “Chrome



23
   GOOG-CABR-03662990 at -992
24
   2022-03-01 Brown v. Google - Google Letter re                     Monitoring Dashboard.pdf
25
   GOOG-CABR-00547295 at -296
26
   See e.g., Final Sadowski Reference Sheet listing several     logs containing is_chrome_incognito and
is_chrome_non_incognito fields
27
   Id.

                                                                                                          9

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on Android attaches location to Omnibox search queries via a header (X-Geo header) except in

Incognito mode.”; Sadowski Tr. 71:8-23).

21.     As Google engineers explain in a document titled “How to Detect Incognito Mode?”, “The

starting point will be the (absence of) X-Client-Data header. Chrome uses Finch (go/finch)

framework for A/B experiments. It sends experiment IDs via the special HTTP header X-Client-

Data to Google servers (including doubleclick.net). While Chrome doesn’t send this header in

Incognito Mode, there are other cases where Chrome also doesn’t send this header and that

therefore need to be excluded as well - the majority of which are Android Webviews and other

Chromium-based browsers.”28

22.     While there are limited cases where Chrome does not send x-client-data for non-Incognito

traffic, the Google engineers were able to apply filters to eliminate many of the false positives (i.e.,

a determination of Incognito traffic based on the absence of x-client data when in fact the traffic

was not generated in Incognito mode).

23.     Throughout the month of May 2020, Google engineer Bert Leung and others were able to

progressively reduce the Incognito detection error rate for their Incognito detection analysis as

they sought to achieve a statistic consistent with UMA pageload data.29 Mr. Leung’s colleague

Chris Liao remarked that “I think these are very good results indeed.”30 Their presentation in June

2020 stated: “Incognito detection accuracy improved materially over the past two weeks”. When

compared to UMA Incognito statistics, which Google engineers considered to be the ground truth

as discussed earlier, Incognito traffic from log-based analysis was                         compared to UMA


28
   GOOG-CABR-04485508 at -508
29
   See e.g., GOOG-CABR-00546721 at -721: “Update: I have driven the number down to              using a strict regex
based filter…I believe this method should be pretty much the limit of current methodology and should be good
enough for short-term monitoring.” (May 28. 2020). GOOG-CABR-03663606 at ‘609: “If we use a heuristic to de-
dup spam clicks by query_id, …overall incognito request % drops down to           based on        of data, further
closer to Chris’ number.”
30
   GOOG-CALH-00376260 at -510

                                                                                                                 10

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Incognito data at            .31 Google engineers then improved on this result by eliminating webview

traffic32, which was the main source of error.33 Engineer Mandy Liu reported to her manager, Bert

Leung, “Good news: Chrome incognito rate is                    !” (GOOG-BRWN-00846508 at -508). Ms. Liu

testified that this was “good news” because this result was “closer to the number Bert [Leung] told

me” (i.e., the UMA                   figure), and she explained that Google achieved this result by

successfully excluding mobile app traffic from Chrome traffic (Liu Tr. 39:14-16, 40:15-17). Thus,

Google engineers achieved extremely high accuracy with their Incognito detection logic, which

can also be used to identify class members.

24.      The “maybe_chrome_incognito” field is now being used by a Google dashboard (Factual

Stipulation re: maybe_chrome_incognito). With the “maybe_chrome_incognito” field already

good enough for Google’s internal use, any residual error rate on an event-by-event basis is merely

the worst one can do based on the specific scenario Google analyzed. For the purpose of class

identification, x-client-data-based Incognito detection can achieve even higher accuracy for at least

the following reasons:

      1. The percentage of Incognito traffic Google engineers reported counts every traffic event
         independently of other events from the same browsing session. For class identification
         purposes, we need to look at the total volume of data belonging to the same user stored
         across several different logs, instead of individual traffic events. Based on Google’s
         storage architecture, all signed-out data from a particular user in a particular Incognito
         session is keyed to the same Biscotti ID. As long as there exists a single event entry
         containing x-client-data in any of the x-client-data containing logs, we can be sure that
         the associated Biscotti ID was generated in Chrome non-Incognito mode. Hence, it does
         not matter if some of the entries do not contain x-client-data or even if a subset of the x-

31
   GOOG-CABR-04795991 at -996
32
   Webview are embedded browser instances in mobile apps and are not a part of this case.
33
   GOOG-BRWN-00846942 at -942: “It was discovered when building up the                                  dashboard
(go/bi-dash) that                  V1 traffic rate is exceptionally high. After looking into some captures, it appears
that the majority of the traffic is not identified as WebView, but has ; wv in their user agents (example).
                V1 detection for Display Ads traffic relies on WebView detection in            , as WebView traffic
should be excluded. But the i                          signal we are using to determine                V1 only reflects
requests from web WebView (i.e. WebView as a page containing ads), leaving the ones from app WebView (i.e.
WebView as an ad slot).”

                                                                                                                      11

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           client-data containing logs do not contain x-client-data. As long as there exists a single
           event entry with x-client-data, the associated Biscotti ID was generated in non-Incognito
           mode.
       2. Google’s Incognito traffic reports are for world-wide traffic, not limited to traffic from
          the United States. Google has not provided an error rate study specifically for traffic from
          the United States, but according to Bert Leung, some of the false positives are due to
          traffic from other countries (e.g., Japan) (GOOG-CABR-03662990 at -991).
       3. In July 2020, Chrome launched User Agent Client Hints (UACH).34 This is another
          HTTP Header field that explicitly states that “Google Chrome” is the browser used, and
          is distinguished from other browsers. Thus, at least since July 2020, Chrome traffic can
          be further distinguished from other Chromium browser traffic using UACH, thereby
          eliminating much of the false positives from other non-Chrome browsers.
       4. For users with UMA data uploaded, event data logs can be matched with UMA data logs
          using IP address, user agent, and timestamp to further demonstrate Incognito usage at a
          particular time by a particular user.
25.        In Appendix H.11 and Appendix I, I discuss using x-client-data in ads logs to identify

Incognito traffic and show that for data from the Second Iterative Search, Incognito detection

accuracy is 100%. Furthermore, Google’s “maybe_chrome_incognito” field is also 100% accurate

for that set of data.

26.        Through the Special Master process, I have observed x-client-data in Plaintiffs’ data. For

example, Biscotti ID                                 is associated with a Biscotti cookie collected from

Mr. Byatt’s Chrome regular mode session, and Biscotti ID                                         associated

with a Biscotti cookie collected from Mr. Byatt’s Chrome Incognito mode session. Comparing the

display ads interaction data that Google collected and stored for these two Biscotti IDs,35 it is clear

that x-client-data sent from the browser is logged in Chrome regular mode and not present in




34
     GOOG-CABR-00398813 at -814 UA-CH is scheduled to be release to stable on July 14th with Chrome M84”
35
     E.g., in the “2022-03-14 Brown v. Google -    – AEO” production, within
                                               and

                                                                                                           12

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Chrome Incognito mode.36 Both the Incognito and non-Incognito mode logs store Mr. Byatt’s IP

address, user-agent, and time stamp for ads events.

27.      Google engineer Dr. Glenn Berntson identified four scenarios he described as “false

positives” in which the x-client-data header would not be sent within a non-Incognito session.

These four scenarios range from merely theoretical to exceedingly rare.

28.      First, Dr. Berntson testified that the x-client data header would not be sent for a “new

browser instance” (Berntson June 16 Tr. 379:6-7). But he clarified that this would only apply until

“the call that Chrome makes to retrieve the variation IDs is successful” (Id. 379:10-12). And this

process would be completed almost instantaneously. At worst, “if it’s a slow network connection

it can [] taker a minute or two” (Id. 380:14-16).

29.      The second “false positive” scenario described by Dr. Berntson is when a browser has been

inactive for 30 days or more—the x-client data header “is considered to be stale and just purged

and no x-client data header is passed.” Id. 375:8-12. But Dr. Berntson conceded that, like with his

first scenario, this scenario would, at worst, apply only for a minute or two (based on a slow

connection). Id. 381:22-23.

30.      The third example he gave is “if the variation IDs that are carried in the x-client data header,

if too many are returned to Chrome to prevent the requests coming from Chrome from being too

large, they just delete them all and so you’d see no x-client data header.” Id. 375:13-19. But when

directly asked, “how often” this occurs, he admitted that “I have not seen this flagged as a

problem.” Id. 385:4-5.


36
   In logs associated with Incognito data, two different x-client-data fields sometimes appear together within the
same event entry: “                 ” and “
                                                   Within such Incognito log, the
      ” field is always empty, which accurately reflects that the browsing activities are from Incognito mode where x-
client-data header is not sent. In contrast, logs associated with Chrome Regular mode data contain x-client-data sent
from the browser (See e.g., row 16 of                                                   showing “


                                                                                                                   13

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31.     Dr. Berntson’s fourth example was “the presence of a firewall,” which he said “can also

prevent Chrome . . . from getting the variation IDs that are used to populate the X-Client Data

header.” Id. 375:20-376:11. This, he explained, was due to a particular Google server endpoint

being blocked by the firewall. Dr. Berntson did not identify the particular Google server endpoint

and whether this server endpoint has been identified by any firewall to be a security risk. The

reality is that Google engineers were able to detect Incognito traffic with an extremely high degree

of accuracy. Any hypothetical error from a firewall blocking particular Google servers is unlikely

to materially impact Incognito identification.




                                                                                                 14

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               EXPERT REPORT OF JONATHAN E. HOCHMAN

                                     APRIL 15, 2022




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                                                     Appendix H Data Analysis

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1.         Within the main body of my report, I have presented a few examples of Google’s logs and

joinability risks using data produced from the Special Master process. In this Appendix, I provide

additional supporting information for those examples. In addition, I demonstrate in Section H.11

that using Google’s Incognito detection signals in logs achieves 100% accuracy for data produced

in the Second Iterative Search.


Appendix H.1 Plaintiff Chasom Brown’s Incognito User Profile in


2.         From the “2022-03-14 Brown v. Google - DBL                                                – AEO” production,

                                       contains Plaintiff Chasom Brown’s Incognito user profile information

associated with Biscotti ID                                                         Mr. Brown’s private browsing information

associated with this Biscotti ID is used to build his profile stored in DBL




                                                                                                                                                      1
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3.         The Biscotti ID value                                is a hexadecimal value converted from the

decimal Biscotti ID                                     . This decimal to hexadecimal value conversion is

shown below.1




4.         Google has represented that this Biscotti ID corresponds to four Biscotti cookies.2 While

the cookie values have changed over time, the embedded uid (Biscotti ID) has not.

    Item    Biscotti Cookie                                         uid                           Creation
                                                                                                  Timestamp
    1

    2


    90

    98


5.         By way of example, Biscotti cookie (IDE) corresponding to item 2 in the table



                               was extracted from Mr. Brown’s computer in Incognito mode. In one

instance, this Biscotti cookie was sent to Google’s doubleclick.net server on

                    , while visiting a page on                  in Incognito mode and not signed into his




1
    https://www.rapidtables.com/convert/number/decimal-to-hex.html (Last accessed on April 11, 2022).
2
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                                                                                                              2
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Google account                       Note that in Chrome Incognito mode, X-Client-Data was

not sent to Google.




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Appendix H.2 Plaintiff William Byatt’s Incognito User Profile in


6.         From the “2022-03-14 Brown v. Google - DBL                        – AEO” production,

                               contains Plaintiff William Byatt’s Incognito user profile information

associated with Biscotti ID                                    . Mr. Byatt’s private browsing information

associated with this Biscotti ID are used to build his profile stored in DBL

7.         The Biscotti ID value                             is a hexadecimal value converted from Biscotti

ID                                  . This decimal to hexadecimal value conversion is shown below.3




3
    https://www.rapidtables.com/convert/number/decimal-to-hex.html (Last accessed on April 11, 2022).


                                                                                                         4
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8.         Google has represented that this Biscotti ID corresponds to eight Biscotti cookies.4 While

the cookie values have changed over time, the embedded uid (Biscotti ID) has not.

    Item    Biscotti Cookie                                 uid                        Creation
                                                                                       Timestamp
    9

    10

    12

    13

    14


    15

    91

    96                                                      2473481056910508240



9.         By way of example, Biscotti cookie (IDE) corresponding to item 9 in the table



was extracted from Mr. Byatt’s computer in Incognito mode. In one instance, this Biscotti cookie

was sent to Google’s doubleclick.net server on                                       , while visiting


4
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                                                                                                   5
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             in Incognito mode and not signed into his Google account (No GAIA DSID cookie).

Note that in Chrome Incognito mode, X-Client-Data was not sent to Google.




                                                                                           6
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Appendix H.3 Plaintiff Jeremy Davis’s Incognito User Profile in


10.        From the “2022-03-14 Brown v. Google - DBL                        – AEO” production,

                               contains Plaintiff Jeremy Davis’s Incognito user profile information

associated with Biscotti ID                                    . Mr. Davis’s private browsing information

associated with this Biscotti ID are used to build his profile stored in DBL

11.        The Biscotti ID value                                  is a hexadecimal value converted from

Biscotti ID                                   . This decimal to hexadecimal value conversion is shown

below.5




12.        Google has represented that this Biscotti ID corresponds to five Biscotti cookies.6 While

the cookie values have changed over time, the embedded uid (Biscotti ID) has not.

    Item    Biscotti Cookie                                         uid                           Creation
                                                                                                  Timestamp
    33


    34

    35
                                           Omby9OvrYXh79G


5
    https://www.rapidtables.com/convert/number/decimal-to-hex.html (Last accessed on April 11, 2022).
6
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 36

 37




13.     By way of example, Biscotti cookie (IDE) corresponding to item 35 in the table



was extracted from Mr. Davis’s computer in Incognito mode. In one instance, this Biscotti cookie

was sent to Google’s doubleclick.net server on                                 , while visiting a

specific page on               in Incognito mode and not signed into his Google account

                     Note that in Chrome Incognito mode, X-Client-Data was not sent to Google.




                                                                                               8
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Appendix H.4 Plaintiff Jeremy Davis’s Regular Mode User Profile in


14.        From the “2022-03-14 Brown v. Google - DBL                        – AEO” production,

                               contains Plaintiff Jeremy Davis’s Chrome regular mode user profile

information associated with Biscotti ID                                         Mr. Davis’s Chrome regular

mode browsing information associated with this Biscotti ID are used to build his profile stored in

DBL         .

15.        The Biscotti ID value                             is a hexadecimal value converted from Biscotti

ID                                ”. This decimal to hexadecimal value conversion is shown below.7




16.        Google has represented that this Biscotti ID corresponds to five Biscotti cookies.8 While

the cookie values have changed over time, the embedded uid (Biscotti ID) has not.

    Item    Biscotti Cookie                                         uid                           Creation
                                                                                                  Timestamp
    38

    39



7
    https://www.rapidtables.com/convert/number/decimal-to-hex.html (Last accessed on April 11, 2022).
8
    2022-03-02 Brown v. Google - Decode IDE.pdf


                                                                                                              9
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 40

 41

 42



17.     By way of example, Biscotti cookie (IDE) corresponding to item 38 in the table



was extracted from Mr. Davis’s computer in regular mode. In one instance, this Biscotti cookie

was sent to Google’s doubleclick.net server on                                   while visiting

              in Chrome regular mode and not signed into his Google account

                    . Note that in Chrome regular mode, X-Client-Data was sent to Google.




                                                                                            10
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Appendix H.5 Plaintiff Monique Trujillo’s Regular Mode User Profile in


18.        From the “2022-03-14 Brown v. Google - DBL                        – AEO” production,

                             ” contains Plaintiff Monique Trujillo’s Chrome regular mode user profile

information associated with Biscotti ID                                      . Ms. Trujillo’s Chrome regular

mode browsing information associated with this Biscotti ID are used to build her profile stored in

DBL         .

19.        The Biscotti ID value                                  is a hexadecimal value converted from

Biscotti ID                                     This decimal to hexadecimal value conversion is shown

below.9




9
    https://www.rapidtables.com/convert/number/decimal-to-hex.html (Last accessed on April 11, 2022).


                                                                                                         11
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20.        Google has represented that this Biscotti ID corresponds to six Biscotti cookies.10 While

the cookie values have changed over time, the embedded uid (Biscotti ID) has not.

 Item       Biscotti Cookie                                 uid                       Creation
                                                                                      Timestamp
 79

 80

 81

 82

 85

 99



21.        By way of example, Biscotti cookie (IDE) corresponding to item 79 in the table



                              was extracted from Ms. Trujillo’s computer in regular mode. In one

instance, this Biscotti cookie was sent to Google’s doubleclick.net server on

                   , while visiting a page on                     in Chrome regular mode and not




10
     2022-03-02 Brown v. Google - Decode IDE.pdf


                                                                                                  12
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signed into her Google account                    . Note that in Chrome regular mode, X-Client-

Data was sent to Google.




                                                                                            13
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Appendix H.6 Plaintiff Monique Trujillo’s User Profile in
                       Associated with PPID-Mapped-Biscotti

22.        From the “2022-03-14 Brown v. Google - DBL                        – AEO” production,

                               contains Plaintiff Monique Trujillo’s user profile information associated

with PPID-mapped-Biscotti ID                                           The PPID-mapped-Biscotti value is

associated with both Incognito and Chrome regular mode browsing data.

23.        The Biscotti ID value                                  is a hexadecimal value converted from

Biscotti ID                                     This decimal to hexadecimal value conversion is shown

below.11




11
     https://www.rapidtables.com/convert/number/decimal-to-hex.html (Last accessed on April 11, 2022).


                                                                                                         14
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24.        Google has represented that this PPID-mapped-Biscotti ID corresponds to PPID:



                                                                                                 from

                                      .12 This PPID was sent to Google when visiting

in both Incognito and Regular mode and signed into Mr. Trujillo’s                        account.

25.        By                   way                    of              example,                PPID:



                                                                     was extracted from Ms. Trujillo’s

computer from both regular and Incognito modes. In one instance, this PPID was sent to Google’s

doubleclick.net server on                                        , while visiting                   in

Chrome regular mode, signed into her                          account, and not signed into her Google

account                               Note that in Chrome regular mode, X-Client-Data was sent to

Google.




12
     2022-03-04 Brown Second Iterative Searches – PPID.xlsx


                                                                                                    15
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26.     In          another           instance,             the           same             PPID:

“

                                                              ”    was    sent    to   Google’s

doubleclick.net server on                                  , while visiting                    in

Incognito mode, signed into her                   account, and not signed into her Google account

(No GAIA cookie). Note that in Chrome Incognito mode, X-Client-Data was not sent to Google.




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                                                                                           17
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Appendix H.7 Plaintiff William Byatt’s Incognito Ads and Analytics Data

27.      In Appendix H.2, I have discussed Mr. Byatt’s Biscotti ID:                             as

generated    from   Incognito   mode.   By       way   of   another   example,   Biscotti   cookie



was extracted from Mr. Byatt’s computer in Incognito mode. In one instance, this Biscotti cookie

was sent to Google’s doubleclick.net server on                              , while visiting a page

on            in Incognito mode and not signed into his Google account (No GAIA DSID cookie).

Note that in Chrome Incognito mode, X-Client-Data was not sent to Google.




                                                                                                18
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28.      In another instance, the same Biscotti cookie was sent to Google along with Google

Analytics CID:                             from                         . For example, both

identifiers were sent to Google’s doubleclick.net server on                                , while

visiting                   in Incognito mode and not signed into his Google account (No GAIA

DSID cookie). Note that in Chrome Incognito mode, X-Client-Data was not sent to Google.




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Appendix H.8 Plaintiff Jeremy Davis’s Incognito Search and Display Ads Data

29.        From the “2022-03-14 Brown v. Google -                                    – AEO” production,

                                                      contains Plaintiff Jeremy Davis’s Incognito search

data based on a search of his Zwieback ID:                                   . Mr. Davis’s Incognito search

data associated with this Zwieback ID are stored in                                 , which is one of the logs

Google used for their 2020 log-based Incognito detection study.

30.        Google has represented that this Zwieback ID corresponds to eight Zwieback cookies.13

While the cookie values have changed over time, the embedded uid (Zwieback ID) has not.

 Row        Zwieback Cookie                                                          uid
 50



 51




 56




 57




 191



 192



 193



13
     2022-03-04 Brown v. Google - Second Iterative Searches - Decrypted NIDs.xlsx


                                                                                                           20
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 194




31.      By way of example, Zwieback cookie corresponding to row 50 in the table




                             was extracted from Mr. Davis’s computer in Incognito mode. In one

instance, this Zwieback cookie was sent to Google’s           server on

        while searching on            in Incognito mode and not signed into his Google account

(No GAIA cookie). Note that in Chrome Incognito mode, X-Client-Data was not sent to Google.




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32.      From the “2022-03-14 Brown v. Google -                            – AEO” production,



                                             and                                           contain

Plaintiff Jeremy Davis’s Incognito browsing data based on a search of his Biscotti ID:

                           . Mr. Davis’s private browsing information associated with this Biscotti

ID     are   stored   in                                                                and

                       I have shown, in Appendix H.3, that Mr. Davis’s Biscotti ID

                           was extracted from Incognito mode while he was not signed into Google.


Appendix H.9 Consultant Dr. Dai’s Incognito Search and Display Ads Data

33.      From the First Iterative Search, GOOG-BRWN-00826529                               GOOG-

BRWN-00826530                          , GOOG-BRWN-00826531                              , GOOG-

BRWN-00826532                            ,    GOOG-BRWN-00826534

GOOG-BRWN-00826535                                                 GOOG-BRWN-00826536 (

                      , GOOG-BRWN-00826537                                    and GOOG-BRWN-

00840745                            contain Dr. Dai’s Incognito signed-out data associated with

Biscotti ID

34.      Google has represented that this Biscotti ID corresponds to three Biscotti cookies (GOOG-

BRWN-00825709). While the cookie values have changed over time, the embedded uid (Biscotti

ID) has not.




                                                                                                22
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 Row     Biscotti Cookie                                               uid
 2

 5

 6



35.      By way of example, Biscotti cookie corresponding to row 6 in the table

                                                                                             was

extracted from Dr. Dai’s computer in Incognito mode. In one instance, this Biscotti cookie was

sent to Google’s doubleclick.net server on                              while visiting a page on

            in Incognito mode and not signed into her Google account                       . Note

that in Chrome Incognito mode, X-Client-Data was not sent to Google.




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36.      From the First Iterative Search, GOOG-BRWN-00826130                          contains

Dr. Dai’s Incognito signed-out Google search data associated with Zwieback ID

                     . Google has represented that this Zwieback ID corresponds to two Zwieback

cookies (GOOG-BRWN-00825708). While the cookie values have changed over time, the

embedded uid (Zwieback ID) has not.

 Row     Zwieback Cookie                                               uid
 372




 373




37.      By way of example, Zwieback cookie corresponding to row 373 in the table




                                                                    was extracted from Dr.



                                                                                            24
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Dai’s computer in Incognito mode. In one instance, this Zwieback cookie was sent to Google’s

             server on                               , while searching on            in Incognito

mode and not signed into her Google account (No GAIA cookie).




Appendix H.10 Plaintiff Jeremy Davis’s Regular Mode Search and Display Ads Data

38.      As I have shown in Appendix H.4, Biscotti ID                           is associated with

Plaintiff Jeremy Davis’s Chrome regular mode data.

39.      From the “2022-03-14 Brown v. Google -                             – AEO” production,

                                         contains Plaintiff Jeremy Davis’s regular mode search

data based on a search of his Zwieback ID:                       .




                                                                                               25
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40.        Google has represented that this Zwieback ID corresponds to eleven Zwieback cookies.14

While the cookie values have changed over time, the embedded uid (Zwieback ID) has not.

 Row        Zwieback Cookie                                                         uid
 52




 53




 54




 55



                                        0KKmda9Jgp-MPbsJ7Jj1r4-23zeAng-

 58




 189




 190




 195




14
     2022-03-04 Brown v. Google - Second Iterative Searches - Decrypted NIDs.xlsx


                                                                                              26
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 196




 197




 198




41.      By way of example, Zwieback cookie corresponding to row 52 in the table




                                                                   was extracted from Mr.

Davis’s computer in regular mode. In one instance, this Zwieback cookie was sent to Google’s

            server on                               , while searching on             in regular

mode and not signed into his Google account (No GAIA cookie). Note that in Chrome regular

mode, X-Client-Data was sent to Google.




                                                                                            27
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                                                                                           28
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Appendix H.11 Incognito Detection for Data Produced in Second Iterative Search

42.      During the Second Iterative Search of the Special Master process, Plaintiffs submitted

Biscotti cookies values for data search across several Google display ads logs. Google represented

that these Biscotti cookies correspond to          unique Biscotti IDs.15

43.      On March 4, 2022, during a live demo session, Google engineers produced

maybe_chrome_incognito field values for                       display ads logs

                                                                            for a small number of Biscotti

IDs.16 maybe_chrome_incognito = true means that a particular event is browsing activity in

Incognito mode and maybe_chrome_incognito = false means that a particular event is browsing

activity in non-Incognito mode. I have summarized these results in Appendix I, Results tab,

columns M to P. For all eight Biscotti IDs with “maybe_chrome_incognito” data, I note that for

this sample, the accuracy is 100% (i.e., every event produced from these logs is accurately

associated with the Incognito mode or regular mode browsing and that there are no false positive

or false negative results).17 As of April 11, 2022, Google has yet to produce full responsive search

results for all of the “maybe_chrome_incognito” logs. I reserve my right to supplement this report

should Google produce more data at a later date.

44.      I have also analyzed log data for                           ads logs containing x-client-data:

                                                     and                               . Following Google




15
   2022-03-02 Brown v. Google - Decode IDE.pdf
16
   2022-03-04 Brown v. Google - Live             Queries.xlsx
17
   The accuracy of “maybe_chrome_incognito” is in comparison with the actual browsing mode for each Biscotti ID.
Each Biscotti cookie is extracted from either regular mode or Incognito mode and the decrypted Biscotti ID is thus
associated with either regular mode or Incognito mode as indicated. I have included HTTP extractions taken from
browsers on the client side in Appendices H and I. The full HTTP traffic captures are included in Exhibit F.


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engineers’ algorithm for Incognito detection using x-client-data and user agent, I conducted

Incognito detection for each Biscotti ID.18

45.      First, for every event entry in these three logs that contain data, x-client-data information

is extracted and shown in Appendix I,                                        ” tab along with IP address and

user agent. There are three variants of x-client-data in Google logs: (1) lower case x-client-data,

(2) X-Client-Data with capitalization, and (3) X-Google-GFE-Original-X-Client-Data as shown in

columns C to E of the                                    ” tab. A “null” value indicates that the particular

variant of x-client-data does not appear in the event entry; an empty cell indicates that the particular

variant of x-client-data appears in the event entry but does not contain a value. In particular, X-

Client-Data and X-Google-GFE-Original-X-Client-Data sometimes appear in the same event

entry. In that case, X-Google-GFE-Original-X-Client-Data stores the true x-client-data value sent

from the browser.

46.      Next, IP addresses that do not correspond to submitted IP addresses are marked in column

H with a value of “0”.19 For the remaining log entries marked in column H with a value of “1”, I

marked in Column I “Yes” if either the “x-client-data” or “X-Google-GFE-Original-X-Client-

Data” contains a value other than “null” or empty; and “No” otherwise. Column J simply contains

a “1” if column I is “Yes” and “0” otherwise for ease of computation.

47.      A summary of the number of events containing x-client-data is shown in column N for

each Biscotti ID. Column N contains the number of event entries that have valid IP address and

Column P contains the total number of event entries for each Biscotti ID. In Column Q, I determine




18
   The Incognito detection steps outlined in GOOG-BRWN-00204684 at -685 are: Absence of x-client-data header,
Chrome browser, not Webview and not iOS.
19
   It appears that some log events contain IP addresses that belong to Google or other data servers. One of the IP
addresses                    appears in an internal document GOOG-CABR-04204890 at -901 that discusses test
queries.


                                                                                                                30
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the Biscotti ID to be from Incognito mode if Column N contains “0” (i.e., no x-client-data) and

from Regular mode if Column N contains a positive integer (i.e., has x-client-data). Two of the

Biscottis are from iPhone devices. In keeping with Google’s Incognito detection to exclude iOS

devices, I have marked these two Biscottis as “iPhone”.

48.      Incognito detection results based on x-client-data are shown in the “Results” tab in Column

I. Comparing this detection result with the actual browsing mode to be Incognito or regular mode

in columns D and E, one can see that the detection accuracy is 100% across this data subset.




                                                                                                 31
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         EXPERT REPORT OF JONATHAN E. HOCHMAN
                           APRIL 15, 2022




                            APPENDIX I
                       Produced Electronically
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                 EXPERT REPORT OF JONATHAN E. HOCHMAN

                                   APRIL 15, 2022




                                     EXHIBIT A

                                  Curriculum Vitae




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                                          JONATHAN E. HOCHMAN
                                             jonathan@hochmanconsultants.com
                                                   Tel +1-203-699-2628


    CURRENT POSITIONS

       2004 – Present   HOCHMAN CONSULTANTS – Partner
                        Founded Internet and search marketing agency as outgrowth of prior position. Provides
                        consulting and software development services to more than 30 active clients, including technology
                        companies, publishers, ecommerce providers and web development firms.

      2018 – Present    UNS PROJECT – Co-Founder, CFO
                        Invented and raised initial capital for user authentication service utilizing asymmetric cryptography
                        and distributed systems as a means of securing web sites, apps and IoT devices.

    PAST POSITIONS

        2010 – 2018     CODEGUARD, INC. – Co-Founder – Acquired by Comodo CA
                        Invented web site security service, built working prototype, and raised initial capital.

        2008 – 2019     SEMNE (SEARCH ENGINE MARKETING NEW ENGLAND) – Chair and
                        Founding member of search marketing association in New England.

        1999 – 2004     BARCODING INC. – Director
                        Systems integrator provides software, bar code technology, RFID technology, and wireless
                        networks to commercial, manufacturing, warehousing, and government sectors. Named to the Inc.
                        500 (Nov 2004). Recognized by Forbes Magazine as one of ten privately held companies to watch
                        (Feb 2004). Ranked third on the Maryland Fast 50. Raised 50% of initial funding to grow the
                        business from two to sixty employees.

        1999 – 2003     UNITED ALLOYS CORPORATION – General Manager
                        Imported specialty metals and chemicals for sale in North America on
                        behalf of Russian producers.

        1996 – 1999     INDUSTRIAL METALS & CHEMICALS CORPORATION – General Manager
                        Sales and marketing of specialty metals and chemicals representing Russian producer worldwide.

        1990 – 1996     NORTH ATLANTIC RESOURCES, INC. – President
                        Consulting firm assisted Russian companies with foreign trade in Europe, North America, Middle
                        East, and Asia. Products sold included mainframe computers, software, office equipment,
                        consumer electronics, consumer packaged goods, and construction materials.
    EDUCATION

        1990 – 1991     COLUMBIA LAW SCHOOL
                        Completed first year of law school, then departed to spend time managing own venture.

        1986 – 1990     YALE UNIVERSITY
                        Simultaneous BSc. and MSc. degrees in Computer Science awarded summa cum laude,
                        distinction in the major, Tau Beta Pi (The Engineering Honor Society), Barge Mathematics Prize,
                        Henry Edwards Ellsworth Memorial prize for significant research.




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    ACADEMIC PAPERS

       1.   Fischer M.J., Hochman J.E., Boffa D. (2021) Privacy-Preserving Data Sharing for Medical Research. In: Johnen
            C., Schiller E.M., Schmid S. (eds) Stabilization, Safety, and Security of Distributed Systems. SSS 2021. Lecture
            Notes in Computer Science, vol 13046. Springer, Cham. https://doi.org/10.1007/978-3-030-91081-5_
       2.   How to Create a Failure Tolerant Distributed System, Jonathan E. Hochman, Yale University Department of
            Computer Science Tech Report 799, April 1990

    PUBLISHED ARTICLES

       1. New Wave of Referrer Spam Wrecking Google Analytics Data, Marketing Land, December 8, 2016
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       3. A Proposal for Ethical Ad Blocking, Marketing Land, October 5, 2015
       4. Web Overload: Why Digital Advertising Needs to Hit the Reset Button, Marketing Land, September 25, 2015
       5. Pay-to-Unpublish Sites Practice 'Digital Blackmail', Internet Evolution, November 6, 2013
       6. Why Google Should Crack Down Harder On The Mugshot Extortion Racket, Search Engine Land, Feb. 6, 2013
       7. How to Avoid Enterprise Password Danger, Internet Evolution, June 27, 2012
       8. Tech Group's Open Letter to Its Congressman, Internet Evolution, January 19, 2012
       9. SEO Service Spammers: Combating Disinformation, Search Marketing Standard, Winter 2011/2012
       10. Deconstructing Microsoft AdCenter’s Missed Opportunities, Search Engine Land, February 17, 2011
       11. What Every Search Marketer Needs to Know About Web Security, Search Engine Land, December 30, 2010
       12. 5 SEO Tips You Can Usually Ignore, Search Marketing Standard, Summer 2010
       13. How To Avoid Getting Your Search Rankings Trashed by Malware, Search Engine Land, Sept. 4, 2009
       14. Google Turns Blind Eye to Scam Ads, Internet Evolution, Aug. 21, 2009
       15. Nasty Malware Attack Targets Web Developers, Internet Evolution, Aug. 19, 2009
       16. An Open Letter to Online Ad Networks, SEOBOOK, July 28, 2009
       17. Simple Security Steps to Stop Server Spam, Internet Evolution, July 23, 2009
       18. How to Protect Your Web Marketing Assets, Internet Evolution, March 4, 2009
       19. An Update on JavaScript Menus And SEO, Search Engine Land, January 9, 2009
       20. Is Wikipedia Transparent Enough?, Search Marketing Standard, Winter 2008/2009
       21. Google SearchWiki - Opportunity or Headache, Search Marketing Standard, Spring 2009
       22. Microsoft Announces adCenter Desktop Beta during SMX Advanced Keynote, Search Engine Land, June 2, 2008
       23. Twelve Simple Ways to Write Search-Friendly HTML Code, Search Engine Land, May 30, 2008
       24. Legitimate, Useful Subversion for Search Engine Marketers, Search Engine Land, April 8, 2008
       25. Using Wikipedia to Reveal Web Traffic Data, Search Engine Land, March 12, 2008
       26. Virtual Blight & The Ten Commandments for Online Marketers, Search Engine Land, February 18, 2008
       27. URL Rewriting & Custom Error Pages in ASP.NET 2.0, Search Engine Land, September 21, 2007
       28. Microsoft adCenter Offers Appealing Upgrade, Search Engine Land, September 10, 2007
       29. Tracking Hot Topics on Wikipedia, Search Engine Land, September 10, 2007
       30. Search Marketing & Web Page Download Speed, Search Engine Land, September 5, 2007
       31. How to Get More Pages into Google's Index, Search Engine Watch, August 1, 2007

    SELF-PUBLISHED ARTICLES

       1. The Cost of Pay Per Click Advertising— PPC Trends and Analysis
       2. 302 Redirect vs. 301 Redirect: Which is Better?
       3. How to Get Google Sitelinks
       4. How to Standardize Multiple Domains for SEO Using 301 Redirects
       5. How to Write Meta Descriptions (Code Sample Included)
       6. The Cost of Banner Advertising – Trends and Analysis
       7. Basic SEO Tips
       8. The Benefits of Clean URLs
       9. Best Content Management Systems and SEO
       10. Best Practices for Managing Online Reviews
       11. The Cost of SEO Services
       12. External Links & SEO

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       13. Adobe Flash and SEO
       14. The Google Sandbox Effect
       15. How to Block Part of a Page from Being Indexed by Google or Other Search Engines
       16. The Internet Marketing Process
       17. The Danger of Deadlines in Web Development
       18. Spam Prevention Techniques

    SPEAKING

       1. 23rd International Symposium on Stabilization, Safety, and Security of Distributed Systems, November 2021
       2. Yale Innovation Summit, New Haven, May 2019
       3. VT Web Marketing Summit, Burlington, VT, November 2017
       4. National Expert Witness Conference, Clearwater Beach, FL, May 2017
       5. International Printing & Imaging Conference, Henderson, NV, July 2016
       6. VT Web Marketing Summit, Burlington, VT, November 2015
       7. VT/NH Marketing Group, Woodstock, VT, May 2015
       8. VT Web Marketing Summit, Burlington, VT, November 2014
       9. VT Web Marketing Summit, Burlington, VT, November 2013
       10. VT/NH Marketing Group, Whitefield, NH, June 2013
       11. VT Web Marketing Summit, Burlington, VT, November 2012
       12. SMX East, New York, October 2012
       13. SMX Advanced, Seattle, June 2012
       14. SMX West, San Jose, Feb 2012
       15. SMX Advanced, London, May 2011
       16. SMX Toronto, April 2011
       17. SMX West, San Jose, March 2011
       18. SMX West, Santa Clara, March 2010
       19. IWLA Marketing and Sales Conference, Chicago, July 2009
       20. SMX Advanced, Seattle, June 2009
       21. Web 2.0 Expo, San Francisco April 2009
       22. Web 2.0 Summit, November 2008
       23. SMX East, New York, October 2008
       24. SMX Advanced, Seattle, June 2008
       25. SMX Social Media, Long Beach, April 2008
       26. Search Engine Strategies, San Jose, August 2007
       27. Search Engine Strategies, New York, April 2007
       28. Search Engine Strategies, Chicago 2006
       29. IWLA Marketing and Sales Conference, Chicago, July 2006

    PATENTS AND PATENT APPLICATIONS

       1.   Systems and Methods for Secure Data Sharing, Provisional US Patent Application 63280955
       2.   User Authentication System, U.S. Patent Application No. 16856213
       3.   Systems and methods for automated retrieval, monitoring, and storage of online content
            Patent number: 9069885
       4.   Wireless collection of battery performance metrics system, method, and computer program product
            Publication number: 20050027466




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     TRIAL TESTIMONY

        1. Client 5 v Party 5, American Arbitration Association, Case 01-20-15-5410.
        2. Social Tokens v. VDOPIA, Tel Aviv-Jaffa Magistrate’s Court (2021).
        3. Boppers v. Rosenay, HHD-CV19-60104115-S, Connecticut Superior Court, Judicial District of Hartford.
        4. Loytr v. TinyCo, CGC-16-551519, Superior Court of California, County of San Francisco.
        5. Borg v. Cloutier, FST-CV-XX-XXXXXXX-S, Connecticut Superior Court, Judicial District of Stamford.
        6. Client 2 v Party 2, binding private arbitration, Glendale, CA.
        7. Party 3 v Client 3, binding private arbitration, Austin, TX.
        8. The H&M Law Firm v. Venning, BC577241, Superior Court of California, County of Los Angeles.
        9. General Steel v. Chumley, 13-00769, US District Court for the District of Colorado.
        10. PODS v. U-Haul, 8:12-01479, US District Court for the Middle District of Florida.
        11. Client 1 v Party 1, binding private arbitration, Miami, FL.

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        1.  Legno Bastone v Provenza Floors, 20-CA01486, Circuit Court, 20th Judicial Circuit, Collier County, Florida.
        2.  Drips v Teledrip, 5:19-CV-02789, US District Court for the Northern District of Ohio, Eastern Division.
        3.  Lane v Elyassnia, et al., CGC-20-586918, Superior Court of California, County of San Francisco.
        4.  Take 5 Media, et al. v. Advantage Sales & Marketing, et al., AAA No. 01-19-0002-7532.
        5.  Honey Baked Ham Inc. v. Honey Baked Ham Company LLC, 8:19-cv-01538, US District Court, Central
            District of California, Southern Division.
        6. National Rifle Association of America v. Ackerman McQueen Inc et al, 3:19-cv-02074, US District Court,
            Northern District of Texas, Dallas Division.
        7. Evox v AOL, 20-cv-02907, US District Court for the Central District of California.
        8. Party 4 v Client 4, binding private arbitration.
        9. Zillow v IBM, IPR2020-01656, USPTO, Patent Trial and Appeal Board.
        10. Zillow v IBM, IPR2020-01655, USPTO, Patent Trial and Appeal Board.
        11. FurnitureDealter.Net v Amazon.com and COA Inc, 18-cv-00232, US District Court, Minnesota.
        12. H. Roske v Christian Burghart, 657328/2017, Supreme Court of New York, New York County.
        13. RingCentral v Nextiva, 19-cv-02626, US District Court for the Northern District of California.
        14. Davis and Azar v Yelp, 18-cv-00400, US District Court for the Northern District of California.
        15. Jayda Cheaves v Walgreens, 19-cv-02970, US District Court for the Northern District of Georgia.
        16. Penn Engineering v Peninsula Components, 19-cv-00513, US District Court, Eastern District of Pennsylvania.
        17. American Airlines v Delta Air Lines, 19-cv-01053, US District Court for the Northern District of Texas.
        18. Troubleshooter Network v HomeAdvisor, 18-cv-02362, US District Court for the District of Colorado.
        19. Hotel Airport v Best Western International, 2:19-cv-01393, US District Court for the District of Arizona.
        20. Dreamstime v Google, 3:18-cv-01910, US District Court for the Northern District of California.
        21. In re Snap Securities Litigation (for lead plaintiffs and the class), 2:17-cv-03679, US District Court, Central
            District of California.
        22. Gree v Supercell, IPR2019-00086, USPTO, Patent Trial and Appeal Board.
        23. Gree v Supercell, IPR2019-00083, USPTO, Patent Trial and Appeal Board.
        24. Ascente v Digital River, 18-cv-00138, US District Court for the District of Minnesota.
        25. Williamson v Google, 3:15-cv-00966, US District Court for the Northern District of California.
        26. Tempur-Pedic v Mattress Firm, 4:17-cv-1068, US District Court for the Southern District of Texas.
        27. Leadership Studies v. Blanchard, 15-cv-1831, US District Court for the Southern District of California.
        28. Loytr v TinyCo, CGC-16-551519, Superior Court of California, County of San Francisco.
        29. Borg v Cloutier, FST-CV-XX-XXXXXXX-S, Connecticut Superior Court, Judicial District of Stamford.
        30. Linkepic v Wittstrom and Tannehill, 12-cv-9058, US District Court for the Northern District of Illinois.
        31. Hooked Media Group v Apple, 114CV265819, Superior Court of California, County of Santa Clara.
        32. Pensler v Fox Television, 11 L 009425, Circuit Court of Cook County, IL.
        33. Client 2 v Party 2, binding private arbitration.
        34. Telebrands v Tinnus Enterprises, PGR2015-00016, USPTO, Patent Trial and Appeal Board.
        35. Edible Arrangements v 1-800-Flowers.Com, 3:14-01744, US District Court for the District of Connecticut.
        36. Concordia Partners v Marcelle Pick, 2:14-00009, US District Court for the District of Maine.
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      37. General Steel v Ethan Daniel Chumley, 14-01932, US District Court for the District of Colorado.
      38. Client 1 v Party 1, binding private arbitration.
      39. Kelly-Brown v Oprah Winfrey, 1:11-07875, US District Court for the Southern District of New York.
      40. PODS v U-Haul, 8:12-01479, US District Court for the Middle District of Florida.

      Retaining parties shown in bold.




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values: "pos_animal_cruelty"
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